                             Case 24-10856-JKS                         Doc 1       Filed 04/25/24            Page 1 of 733

 Fill in this information to identify the case:

  United States Bankruptcy Court for the:


                            District of Delaware
                                        (State)
  Case number (If known):                                       Chapter 11
                                                                                                                                           Check if this is an
                                                                                                                                          amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Sticky’s Holdings LLC



 2.   All other names debtor used                 Sticky’s Finger Joint
      in the last 8 years                         Sticky’s
      Include any assumed names,
      trade names, and doing business
      as names



 3.   Debtor’s federal Employer
                                                  4 6 - 2 1            5    3 5 8 6
      Identification Number (EIN)



 4.   Debtor’s address                            Principal place of business                                Mailing address, if different from principal place
                                                                                                             of business

                                              24              East 23rd Street
                                              Number          Street                                         Number      Street



                                                                                                             P.O. Box

                                              New York                     NY           10010
                                              City                              State      ZIP Code          City                         State      ZIP Code


                                                                                                             Location of principal assets, if different from
                                                                                                             principal place of business
                                              New York County
                                              County
                                                                                                             Number      Street




                                                                                                             City                        State        ZIP Code




 5.   Debtor’s website (URL)                      https://stickys.com/




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 1
                              Case 24-10856-JKS                 Doc 1         Filed 04/25/24                Page 2 of 733

Debtor        Sticky’s Holdings LLC                                                             Case number (if known)
              Name




 6.   Type of debtor                          Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                              Partnership (excluding LLP)
                                              Other. Specify:


                                          A. Check one:
 7.   Describe debtor’s business
                                              Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                              Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                              Railroad (as defined in 11 U.S.C. § 101(44))
                                              Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                              Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                              Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                              None of the above


                                          B. Check all that apply:

                                              Tax-exempt entity (as described in 26 U.S.C. § 501)
                                              Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                              Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               7    2      2    5

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
                                              Chapter 7
      debtor filing?
                                               Chapter 9
                                               Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                               aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                           affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                          recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                           income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                             11 U.S.C. § 1116(1)(B).
      check the second sub-box.                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                statement of operations, cash-flow statement, and federal income tax return, or if
                                                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(B).

                                                                A plan is being filed with this petition.

                                                                Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                              Chapter 12




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
                                Case 24-10856-JKS               Doc 1        Filed 04/25/24            Page 3 of 733

Debtor        Sticky’s Holdings LLC                                                          Case number (if known)
               Name



 9.   Were prior bankruptcy cases         No
      filed by or against the debtor
                                                  District                            When                            Case number
      within the last 8 years?            Yes.
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                              District                            When                            Case number
                                                                                              MM / DD / YYYY


 10. Are any bankruptcy cases             No
      pending or being filed by a
                                                  Debtor See Attachment 1                                             Relationship
      business partner or an              Yes.
      affiliate of the debtor?                    District                                                            When
                                                                                                                                      MM / DD / YYYY
      List all cases. If more than 1,
      attach a separate list.                     Case number, if known


 11. Why is the case filed in this      Check all that apply:
      district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                           district.

                                            A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have            No
      possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                       Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                     Other



                                                 Where is the property?
                                                                             Number          Street




                                                                             City                                                    State   ZIP Code

                                                 Is the property insured?

                                                     No
                                                     Yes. Insurance agency


                                                             Contact name

                                                             Phone




              Statistical and administrative information




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 3
                             Case 24-10856-JKS                  Doc 1          Filed 04/25/24             Page 4 of 733

Debtor       Sticky’s Holdings LLC                                                              Case number (if known)
             Name




                                         Check one:
 13. Debtor’s estimation of
     available funds                          Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.



                                              1-49                                1,000-5,000                              25,001-50,000
 14. Estimated number of
                                              50-99                               5,001-10,000                             50,001-100,000
     creditors
                                              100-199                             10,001-25,000                            More than 100,000
                                              200-999

                                              $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 15. Estimated assets                         $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                              $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                              $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


                                              $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 16. Estimated liabilities
                                              $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                              $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                              $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion



             Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of             petition.
     debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.



                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on 04/25/2024
                                                            MM / DD / YYYY

                                           /s/ Jamie Greer                                                Jamie Greer
                                             Signature of authorized representative of debtor              Printed name

                                             Title CEO




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 4
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Debtor      Sticky’s Holdings LLC                                                     Case number (if known)
             Name




 18. Signature of attorney           /s/ John W. Weiss                                           Date         04/25/2024
                                       Signature of attorney for debtor                                        MM / DD / YYYY



                                       John W. Weiss
                                       Printed name
                                       Pashman Stein Walder Hayden, P.C.
                                       Firm name
                                       1007           North Orange Street, 4th Floor, Suite #183
                                       Number         Street
                                       Wilmington                                                     DE              19801
                                       City                                                           State           ZIP Code

                                       302-592-6497                                                   jweiss@pashmanstein.com
                                       Contact phone                                                  Email address



                                       4160                                                           DE
                                       Bar number                                                     State




 Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 5
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                                           Attachment 1

                   Pending or Current Bankruptcy Cases Filed by Affiliates

       On April 25, 2024, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed a voluntary petition for relief under title 11 of the United States Code in the
United States Bankruptcy Court for the District of Delaware. A motion has been filed with the
Court requesting that the chapter 11 cases of these entities be jointly administered for procedural
purposes only.

 Entity Name                                        Federal Employer Identification Number
                                                    (EIN)
 Sticky’s Holdings LLC                              XX-XXXXXXX
 Sticky Fingers LLC                                 XX-XXXXXXX
 Sticky Fingers II LLC                              XX-XXXXXXX
 Sticky Fingers III LLC                             XX-XXXXXXX
 Sticky Fingers IV LLC                              XX-XXXXXXX
 Sticky Fingers V LLC                               XX-XXXXXXX
 Sticky Fingers VI LLC                              XX-XXXXXXX
 Sticky’s BK 1 LLC                                  XX-XXXXXXX
 Sticky’s NJ 1 LLC                                  XX-XXXXXXX
 Sticky Fingers VII LLC                             XX-XXXXXXX
 Sticky’s NJ II LLC                                 XX-XXXXXXX
 Sticky Fingers IX LLC                              XX-XXXXXXX
 Sticky’s NJ III LLC                                XX-XXXXXXX
 Sticky Fingers VIII LLC                            XX-XXXXXXX
 Sticky’s NJ IV LLC                                 XX-XXXXXXX
 Sticky’s WC 1 LLC                                  XX-XXXXXXX
 Sticky’s Franchise LLC                             XX-XXXXXXX
 Sticky’s PA GK I LLC                               XX-XXXXXXX
 Stickys Corporate LLC                              XX-XXXXXXX
 Sticky’s IP LLC                                    XX-XXXXXXX
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Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 8 of 733
Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 9 of 733
                                    Case 24-10856-JKS                   Doc 1         Filed 04/25/24              Page 10 of 733


       Fill in this information to identify the case:

       Debtor name   Sticky’s Holdings LLC, et al.
       United States Bankruptcy Court for the:                              District of Delaware
                                                                                       (State)
                                                                                                                                                      Check if this is an
       Case number (If known):                                                                                                                        amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
    Claims and Are Not Insiders                                                        12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.

     Name of creditor and complete               Name, telephone number, and         Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code         email address of creditor           (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                 contact                             debts, bank loans,    contingent,   claim amount. If claim is partially secured, fill in
                                                                                     professional          unliquidated, total claim amount and deduction for value of
                                                                                     services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                     government
                                                                                     contracts)                            Total claim, if    Deduction for      Unsecured
                                                                                                                           partially          value of           claim
                                                                                                                           secured            collateral or
                                                                                                                                              setoff

     US Foods                                    Attn: Mark Tarr
1    1051 Amboy Avenue                           Telephone: 267-251-9936             Trade                                                                       $449,963.00
     Perth Amboy, NJ 08861                       Email: mark.tarr@usfoods.com

     Leason Ellis LLP                            Attn: Cameron Reuber
2    One Barker Avenue                           Telephone: 914-288-0022             Legal Services                                                              $247,193.00
                                                 Email: Accounting@leasonellis.com
     White Plains, NY 10601
                                                 Attn: A. Goldblatt
     Michael Best & Friedrich LLP     Telephone: 312-222-0800
3    444 West Lake Street, Suite 3200 Email:                      Legal Services                                                                                  $49,947.00
     Chicago, IL 60606                MICHAELBEST_billing@igdsyst
                                                 ems.com
     Rockfeld Group One Madison LLC
                                                 Attn: George Rrukaj
     C/O JSRE Management, LLC
4    550 5th Avenue 4th Floor                    Telephone: 212-756-8094             Lease                 CUD                                                    $48,579.00
     New York, NY 10036                          Email: georger@jsrellc.com
     ResQ
     18 King St. East St 700                     Attn: Coby Stronach
5    Toronto ON                                  Telephone: 844-737-7349       Trade                                                                              $35,425.00
     Canada                                      Email: accounting@getresq.com

                                                 Attn: Daniel Dingerson
     Davis & Gilbert LLP
                                                 Telephone: 212-468-4800
6    1675 Broadway
                                                 Email:
                                                                                     Legal Services                                                              $17,209.00
     New York, NY 10019
                                                 jheatherton@dglaw.com
                                     Attn: Gina Ratini
     Restaurant365, LLC
                                     Telephone: 630-217-8566
7    500 Technology Drive, Suite 200
                                     Email:
                                                                                     Trade                                                                       $13,895.00
     Irvine, CA 92618
                                     gratini@restaurant365.com
     AmTrust North America, Inc.                 Attn: Kathleen Mangulabnan
                                                 Telephone: 877-528-7878
8    PO Box 6939                                 Email:
                                                                            Insurance                                                                             $8,232.00
     Cleveland, OH 44101                         service@amtrustgroup.com


    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                        page 1
                                  Case 24-10856-JKS                Doc 1          Filed 04/25/24             Page 11 of 733


     Debtor       Sticky’s Holdings LLC, et al.                                                     Case number (if known)
                  Name

      Name of creditor and complete         Name, telephone number, and           Nature of the claim   Indicate if   Amount of unsecured claim
      mailing address, including zip code   email address of creditor contact     (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                  debts, bank loans,    contingent,   claim amount. If claim is partially secured, fill in
                                                                                  professional          unliquidated, total claim amount and deduction for value of
                                                                                  services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                  government
                                                                                                                        Total claim, if    Deduction for      Unsecured
                                                                                  contracts)
                                                                                                                        partially          value of           claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff

      DoorDash, Inc.                        Attn: Amanda Resendes
9     303 2nd Street                        Telephone: 508-269-6909               Trade                                                                        $5,750.00
      San Francisco, CA 94107               Email: amanda.resendes@doordash.com


      Ludlow Creative                       Attn: Luca Rietti
10 48 Lawridge Drive                        Telephone: 914-329-9538               Trade                                                                       $5,200.00
      New York, NY 10573                    Email: lr@ludlowcreative.com

      Restaurant Technologies, Inc.         Attn: Jose Mieles
11 12962 Collections Center Dr              Telephone: 1-888-769-4997             Vendor                                                                      $4,611.00
      Chicago, IL 60693                     Email: jmieles@rti-inc.com
                                            Attn: Mike Gualtier
   W.B. Mason Company Inc.
                                            Telephone: 1-888-926-2766
12 59 Centre Street
                                            Email:
                                                                                  Vendor                                                                      $4,069.00
   Brockton, MA 02303
                                            mike.gualtier@wbmason.com
      Con Ed (Consolidated Edison
                                            Attn:
      Company of New York, Inc.)
13
      PO Box 1701
                                            Telephone: 1-800-752-6633             Utility                                                                     $3,640.00
                                            Email: ConEd-bill@emailconed.com
      New York, NY 10116
   Science On Call (Science                 Attn: Ken Tsang
   Retail Inc.)                             Telephone: 1-312-868-0664
14                                                                                Vendor                                                                      $2,587.00
   1 N Dearborn St #1750                    Email:
   Chicago, IL 60602                        Support@scienceoncall.com

      Spectrotel, Inc               Attn: Peter Karoczki
15    104 West 40th Street, 400/500 Telephone: 917-410-1522                       Vendor                                                                      $2,392.00
      New York, NY10018             Email: peterk@gothamcloud.com

      Chubb Limited               Attn: John Lupica
16    1133 Avenue of the Americas Telephone: 212-703-7000                         Insurance                                                                   $2,363.00
      New York, NY 10036          Email: customercare@chubb.com

      Orkin, LLC                            Attn: Eldon Wayne Dempsey III
17    2170 Piedmont Rd. NE.                 Telephone: 888-675-4662       Vendor                                                                              $2,276.00
      Atlanta, GA 30324                     Email: wdempsey@rollins.com

   PSE&G (Public Service
                                            Attn:
   Enterprise Group, Inc)
18                                          Telephone: 1-855-249-7734             Utility                                                                     $1,930.00
   PO Box 1444                              Email: myaccount@pseg.com
   New Brunswick, NJ 08906
   ELK 33 EAST 33RD LLC                     Attn: Morry Kalimian
   (Delaware (US))                                                                Pending
19                                          Telephone:                                                  CUD                                                   Undetermined
   489 5TH AVE, 7TH FL                                                            Litigation
   New York, NY 10017                       Email:
   Sticky Fingers Restaurants, LLC
   311 Johnnie Dodds Blvd
   Mt. Pleasant, SC 29464                   Attn: Laura-Michelle Horgan
                                            Telephone: 212-603-6365               Pending
20                                                                                                      CUD                                                   Undetermined
      Leech Tishman
                                            Email:                                Litigation
                                            lmhorgan@leechtishman.com
      875 Third Avenue, 9th Floor
      New York, NY 10022

       Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 2
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


 In re                                              Chapter 11

 Sticky’s Holdings LLC,                             Case No. 24-

                        Debtor.


     CORPORATE OWNERSHIP STATEMENT AND LIST OF EQUITY HOLDERS

         Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure, the following are equity holders, other than governmental units, that directly or

indirectly own 10% of more of any class of the Debtor’s equity interests:

 Name and last known address or place of Percentage of Ownership
 business of holder
 James Robert Hart III                   11.40%
 524 Jersey St.
 San Francisco, CA 94114

 EBK IV 2015 Revocable Trust                     10.90%
 Physical Address Unknown
 Email: bkrumrei@gmail.com
                                 Case 24-10856-JKS                Doc 1           Filed 04/25/24               Page 13 of 733

 Fill in this information to identify the case and this filing:


 Debtor Name     Sticky’s Holdings LLC
 United States Bankruptcy Court for the:                             District of Delaware
                                                                                 State)

  Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature



          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule

              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

              Other document that requires a declaration          Corporate Ownership Statement




         I declare under penalty of perjury that the foregoing is true and correct.


        Executed on         04/25/2024                        /s/ Jamie Greer
                            MM / DD / YYYY                        Signature of individual signing on behalf of debtor




                                                                  Jamie Greer
                                                                  Printed name


                                                                  CEO
                                                                  Position or relationship to debtor




Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
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                  Balance      Sheet
                    As of 12/25/2023

All Accessible

                                                       YTD

ASSETS

   Current Asset

     Total Cash                                        361,514.28

     Total Accounts Receivable                           5,762.34

     Total Other Current Assets                        473,610.77

   Total Current Asset                                 840,887.39

   Inventory

     Total Inventory                                    92,532.20

     Total Non-Count Inventory                          46,809.27

   Total Inventory                                     139,341.47

   Fixed Asset

     Total Fixed Asset                               9,379,133.23

     1590-00 - Accumulated Depreciation              -6,022,821.34
   Total Fixed Asset                                 3,356,311.89

   Other Asset

     Total Intangible Assets                           112,758.73

     Total Security Deposits                         1,304,878.50

   Total Other Asset                                 1,417,637.23

Total ASSETS                                         5,754,177.98

LIABILITIES & EQUITY

 Liabilities

   Accounts Payable

     2000-00 - Accounts Payable                      1,465,781.34

   Total Accounts Payable                            1,465,781.34

   Current Liability

     Total Company Charge Cards                         22,950.76
     2100-00 - Sales Tax Payable                       119,419.62

     Total Accrued Compensation                        175,348.78

     Total Tips                                          2,681.85

     Total Accrued Expenses                             93,486.95

     Total Accrued Interest                             30,182.53

     2420-01 - Defer Rent                              271,317.55

     2520-00 - Gift Certificates Outstanding            17,151.11

     2540-00 - Future Order Deposit                        555.51

     2565-00 - Chubb Liability                          14,176.53

   Total Current Liability                             747,271.19

   Long Term Liability

     2735-00 - EIDL Loan                               300,000.00

     2740-00 - Slim Capital Loan - First Utah Bank      15,969.87

     2740-65 - Slim Capital Loan - Cross County         83,736.10

     2745-00 - Slim Capital Loan - Hitachi              20,618.69

     2755-00 - Navitas- Cross County                    13,607.20

     2760-00 - Slim Capital Loan- Hoboken               95,700.36

     2810-00 - Convertible Notes                     1,934,791.65

   Total Long Term Liability                         2,464,423.87

 Total Liabilities                                   4,677,476.40

 Equity

   Equity
     Total Capital                                   8,013,208.97

     3400-00 - Retained Earnings                     -6,408,658.29
     YTD Income                                       -527,849.10

   Total Equity                                      1,076,701.58
 Total Equity                                        1,076,701.58

Total LIABILITIES & EQUITY                           5,754,177.98


               Powered by Restaurant365                                                                        1/23/2024 10:10:16 PM
                         Case 24-10856-JKS                Doc 1         Filed 04/25/24   Page 15 of 733


                         Monthly Cash Flow
                                     12/25/2023
                                        Consolidated

                                                              Period 12, 2023
Sales                                                  1,938,594.10             100.0%
Net Profit                                              -200,338.98             -10.3%



Change in Non-Cash Current Assets & Liabilities
Accounts Payable                                         184,976.82               9.5%
Other Changes in Non-Cash Current Assets &
                                                          18,680.88               1.0%
Liabilities
Total Change                                             203,657.70              10.5%


Cash Flow from Operations                                  3,318.72               0.2%


Investing
Total Fixed Asset                                        -27,063.49              -1.4%

Other Assets                                              49,817.50               2.6%
Total Cash Flow from Investing Activities                 22,754.01               1.2%


Financing
Loans                                                    869,586.64              44.9%
Member Contributions/(Distributions)                    -884,791.65             -45.6%
Total Cash Flow from Financing Activities                -15,205.01              -0.8%


Cash Net Change                                           10,867.72               0.6%


Cash - Beginning Balance
 Undeposited Funds                                        38,385.70               2.0%
 Chase Checking 80 - 6833                                105,573.61               5.4%
 Chase Depository 82 - 0739                              154,783.44               8.0%
 Chase Checking 83 - 3113                                 32,813.40               1.7%
 Register Banks                                           13,500.00               0.7%
 Change Banks                                              5,515.41               0.3%
Cash - Beginning Balance Total                           350,646.56              18.1%


Cash - Ending Balance
 Undeposited Funds                                        56,580.15               2.9%
 Chase Checking 80 - 6833                                 56,074.80               2.9%
 Chase Depository 82 - 0739                              197,055.52              10.2%
 Chase Checking 83 - 3113                                 32,813.40               1.7%

 Register Banks                                           13,500.00               0.7%
 Change Banks                                              5,415.41               0.3%
Cash - Ending Balance Total                              361,514.28              18.6%


Accounts Payable                                       1,465,781.34              75.6%

Company Charge Cards                                      22,950.76               1.2%
Sales Tax Payable                                        119,419.62               6.2%
Deferred Rent                                            271,317.55              14.0%
Current Cash Needs                                     1,879,469.27              97.0%


Cash Excess/(Shortage)                                 -1,517,954.99            -78.3%




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                                                                    Profit & Loss - Period and YTD
                                                                               Period Ending 12/25/2023

Show All: All Locations


                                                             YTD
Income

 4390-00 - Gross Sales                              23,775,529.79    100.00%

 4400-00 - Sales Discounts                          -1,194,417.71     -5.02%

 4505-00 - Order Adjustments                           -10,985.93     -0.05%

Total Income                                        22,570,126.15     94.93%

Cost of Goods Sold
 5000-00 - COGS                                      5,920,912.40     24.90%

 5070-00 - Purchases - Paper                          817,492.31      3.44%

Total Cost of Goods Sold                             6,738,404.71     28.34%

Labor Cost
 6000-00 - Compensation                              4,954,408.59     20.84%

 6500-00 - Employer Taxes & Benefits                  595,599.50      2.51%

Total Labor Cost                                     5,550,008.09     23.34%

Prime Margin                                        10,281,713.35     43.25%

Expenses

 7000-00 - Direct Operating Expenses                  404,567.86      1.70%

 7120-00 - Supplies                                   363,739.59      1.53%

 7200-00 - Delivery Expenses                         1,145,364.09     4.82%

 7220-00 - Delivery Company Fees                      128,996.34      0.54%

 7400-00 - Utilities                                  600,070.92      2.52%

 7600-00 - General & Admin Expenses                    69,379.90      0.29%

 7619-00 - Credit Card Charges                        373,223.93      1.57%

 7700-00 - Repairs & Maintenance                      394,727.27      1.66%

 7800-00 - Occupancy                                 3,990,427.98     16.78%

Total Expenses                                       7,470,497.88     31.42%

Store Level Operating Income                         2,811,215.47     11.82%

Other Expense

 8000-00 - Other Expenses                              24,707.54      0.10%

 8900-00 - Prior Year Adjustment                       22,426.75      0.09%

Total Other Expense                                    47,134.29      0.20%

Corporate Overhead & Other

 96000-05 - Corp - Compensation, Taxes & Benefits    1,645,845.70     6.92%


 97000-00 - Corp - Direct Operating Expenses          169,016.59      0.71%

 97300-00 - Corp - Marketing                           77,843.68      0.33%

 97600-00 - Corp - General & Admin Expenses          1,293,828.23     5.44%

 97619-00 - Corp - Credit Card                            -353.10     0.00%

 97800-00 - Corp - Occupancy                             1,396.95     0.01%

 97920-00 - Corp - Fines & Penalties                      380.00      0.00%

 98000-00 - Corp - Other Expenses                      -10,572.46     -0.04%

 98930-00 - Corp - Franchising Expenses                30,003.98      0.13%

Total Corporate Overhead & Other                     3,207,389.57     13.49%

Other
 99999-00 - Other                                      84,540.71      0.36%

Total Other                                            84,540.71      0.36%

Net Profit                                            -527,849.10     -2.22%




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           APRIO, LLP
           2002 SUMMIT BOULEVARD, SUITE 120
           ATLANTA, GA 30319




                       STICKYS HOLDINGS, LLC
                       24 E 23RD STREET
                       NEW YORK, NY 10010

                       !100108!




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                                         CLIENT'S COPY
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SEPTEMBER 12, 2023


STICKYS HOLDINGS, LLC
24 E 23RD STREET
NEW YORK, NY 10010


STICKYS HOLDINGS, LLC:

ENCLOSED ARE YOUR 2022 PARTNERSHIP TAX RETURNS, AS FOLLOWS…

2022 U.S. RETURN OF PARTNERSHIP INCOME

2022 NEW JERSEY RETURN OF PARTNERSHIP INCOME

2022 NEW YORK RETURN OF PARTNERSHIP INCOME

2022 NEW YORK CITY RETURN OF PARTNERSHIP INCOME

2022 NEW YORK LLC/LLP FILING FEE PAYMENT FORM - DE

2022 NEW JERSEY CORPORATION BUSINESS TAX - PARTNERSHIP RETURN

WE PREPARED THE RETURNS FROM INFORMATION YOU FURNISHED US WITHOUT
VERIFICATION. UPON EXAMINATION OF THE RETURNS BY TAXING AUTHORITIES, REQUESTS
MAY BE MADE FOR UNDERLYING DATA. WE THEREFORE RECOMMEND THAT YOU PRESERVE
ALL RECORDS WHICH YOU MAY BE CALLED UPON TO PRODUCE IN CONNECTION WITH SUCH
AN EXAMINATION.

WE SINCERELY APPRECIATE THE OPPORTUNITY TO SERVE YOU. PLEASE CONTACT US IF
YOU HAVE ANY QUESTIONS CONCERNING THE TAX RETURNS.

YOUR COPY SHOULD BE RETAINED FOR YOUR FILES.

SINCERELY,



JESSICA HUSSAIN, CPA
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                 2022 TAX RETURN FILING INSTRUCTIONS
                        U.S. RETURN OF PARTNERSHIP INCOME

                               FOR THE YEAR ENDING
                                DECEMBER 31, 2022

PREPARED FOR:

            STICKYS HOLDINGS, LLC
            24 E 23RD STREET
            NEW YORK, NY 10010

PREPARED BY:

            APRIO, LLP
            2002 SUMMIT BOULEVARD, SUITE 120
            ATLANTA, GA 30319

TO BE SIGNED AND DATED BY:

            A MEMBER OF THE LLC

AMOUNT OF TAX:

            NOT APPLICABLE

MAIL TAX RETURN TO:

            THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. TO HAVE IT
            TRANSMITTED ELECTRONICALLY TO THE IRS, PLEASE SIGN, DATE, AND
            RETURN FORM 8879-PE TO OUR OFFICE. WE WILL THEN SUBMIT YOUR
            ELECTRONIC RETURN.

FORMS TO BE DISTRIBUTED TO PARTNERS:

            ENCLOSED ARE COPIES OF SCHEDULE K-1 TO BE DISTRIBUTED TO THE
            MEMBERS.

RETURN MUST BE MAILED ON OR BEFORE:

            RETURN FEDERAL FORM 8879-PE TO US BY SEPTEMBER 15, 2023.

SPECIAL INSTRUCTIONS:

            DO NOT MAIL THE PAPER COPY OF THE RETURN TO THE IRS.
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   NEW JERSEY                                           Property Apportionment Detail Worksheet                                           2022
   STICKYS HOLDINGS, LLC                                                                                                          XX-XXXXXXX


                                                                              Within                                        Everywhere


                                                          Beginning of Year             End of Year     Beginning of Year                 End of Year

   Inventories ~~~~~~~~~~~~~~~~~                                                            53,903.          220,617.                       183,148.
   Land ~~~~~~~~~~~~~~~~~~~
   Buildings ~~~~~~~~~~~~~~~~~                             2,889,949.                  3,020,230.       8,876,170.                       9,340,108.
   Buildings - accumulated depreciation ~~~~~
   Machinery ~~~~~~~~~~~~~~~~~
   Equipment    ~~~~~~~~~~~~~~~~
   Machinery and equipment - accumulated
      depreciation   ~~~~~~~~~~~~~~
   Furniture and fixtures ~~~~~~~~~~~~
   Furniture and fixtures - accumulated depreciation
   Transportation/delivery equipment ~~~~~~
   Transportation/delivery equipment - accumulated
      depreciation   ~~~~~~~~~~~~~~
   Other depreciable assets   ~~~~~~~~~~
   Other depreciable assets - accumulated
      depreciation   ~~~~~~~~~~~~~~
   Depletable assets ~~~~~~~~~~~~~~
   Depletable assets - accumulated depletion ~~~
   Leasehold improvements ~~~~~~~~~~
   Leasehold improvements - accumulated
      amortization   ~~~~~~~~~~~~~~
   Supplies    ~~~~~~~~~~~~~~~~~
   Other tangible property ~~~~~~~~~~~
   Buildings - construction in progress   ~~~~~
   Machinery - construction in progress ~~~~~
   Equipment - construction in progress ~~~~~
   Transportation/delivery - construction in progress
   Other - construction in progress ~~~~~~~
   Less: Total construction in progress   ~~~~~
   Miscellaneous other    ~~~~~~~~~~~~
   Subtotals ~~~~~~~~~~~~~~~~~                             2,889,949.                  3,074,133.       9,096,787.                       9,523,256.
   Average property ~~~~~~~~~~~~~~                                                     2,982,041.                                        9,310,022.
   Real property rented - rental expense (multiplied
      by applicable factor) ~~~~~~~~~~~                                                4,458,440.                                   31,044,608.
   Tangible property rented - rental expense
      (multiplied by applicable factor) ~~~~~~
   Miscellaneous rental expense (multiplied by
      applicable factor) ~~~~~~~~~~~~


   Total property ~~~~~~~~~~~~~~~                                                      7,440,481.                                   40,354,630.




   * - Not Applicable




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   NEW YORK                                             Property Apportionment Detail Worksheet                                            2022
   STICKYS HOLDINGS, LLC                                                                                                           XX-XXXXXXX


                                                                              Within                                         Everywhere


                                                          Beginning of Year              End of Year     Beginning of Year                 End of Year

   Inventories ~~~~~~~~~~~~~~~~~                               220,617.                    129,245.           220,617.                       183,148.
   Land ~~~~~~~~~~~~~~~~~~~
   Buildings ~~~~~~~~~~~~~~~~~                             5,963,836.                   6,297,493.       8,876,170.                       9,340,108.
   Buildings - accumulated depreciation ~~~~~
   Machinery ~~~~~~~~~~~~~~~~~
   Equipment    ~~~~~~~~~~~~~~~~
   Machinery and equipment - accumulated
      depreciation   ~~~~~~~~~~~~~~
   Furniture and fixtures ~~~~~~~~~~~~
   Furniture and fixtures - accumulated depreciation
   Transportation/delivery equipment ~~~~~~
   Transportation/delivery equipment - accumulated
      depreciation   ~~~~~~~~~~~~~~
   Other depreciable assets   ~~~~~~~~~~
   Other depreciable assets - accumulated
      depreciation   ~~~~~~~~~~~~~~
   Depletable assets ~~~~~~~~~~~~~~
   Depletable assets - accumulated depletion ~~~
   Leasehold improvements ~~~~~~~~~~
   Leasehold improvements - accumulated
      amortization   ~~~~~~~~~~~~~~
   Supplies    ~~~~~~~~~~~~~~~~~
   Other tangible property ~~~~~~~~~~~
   Buildings - construction in progress   ~~~~~
   Machinery - construction in progress ~~~~~
   Equipment - construction in progress ~~~~~
   Transportation/delivery - construction in progress
   Other - construction in progress ~~~~~~~
   Less: Total construction in progress   ~~~~~
   Miscellaneous other    ~~~~~~~~~~~~
   Subtotals ~~~~~~~~~~~~~~~~~                             6,184,453.                   6,426,738.       9,096,787.                       9,523,256.
   Average property ~~~~~~~~~~~~~~                                                      6,305,596.                                        9,310,022.
   Real property rented - rental expense (multiplied
      by applicable factor) ~~~~~~~~~~~                                                26,586,168.                                   31,044,608.
   Tangible property rented - rental expense
      (multiplied by applicable factor) ~~~~~~
   Miscellaneous rental expense (multiplied by
      applicable factor) ~~~~~~~~~~~~


   Total property ~~~~~~~~~~~~~~~                                                      32,891,764.                                   40,354,630.




   * - Not Applicable




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   PENNSYLVANIA                                         Property Apportionment Detail Worksheet                                               2022
   STICKYS HOLDINGS, LLC                                                                                                              XX-XXXXXXX


                                                                              Within                                            Everywhere


                                                          Beginning of Year            End of Year          Beginning of Year                 End of Year

   Inventories ~~~~~~~~~~~~~~~~~                                              0.                     0.          220,617.                       183,148.
   Land ~~~~~~~~~~~~~~~~~~~
   Buildings ~~~~~~~~~~~~~~~~~                                   22,385.                   22,385.          8,876,170.                       9,340,108.
   Buildings - accumulated depreciation ~~~~~
   Machinery ~~~~~~~~~~~~~~~~~
   Equipment    ~~~~~~~~~~~~~~~~
   Machinery and equipment - accumulated
      depreciation   ~~~~~~~~~~~~~~
   Furniture and fixtures ~~~~~~~~~~~~
   Furniture and fixtures - accumulated depreciation
   Transportation/delivery equipment ~~~~~~
   Transportation/delivery equipment - accumulated
      depreciation   ~~~~~~~~~~~~~~
   Other depreciable assets   ~~~~~~~~~~
   Other depreciable assets - accumulated
      depreciation   ~~~~~~~~~~~~~~
   Depletable assets ~~~~~~~~~~~~~~
   Depletable assets - accumulated depletion ~~~
   Leasehold improvements ~~~~~~~~~~
   Leasehold improvements - accumulated
      amortization   ~~~~~~~~~~~~~~
   Supplies    ~~~~~~~~~~~~~~~~~
   Other tangible property ~~~~~~~~~~~
   Buildings - construction in progress   ~~~~~
   Machinery - construction in progress ~~~~~
   Equipment - construction in progress ~~~~~
   Transportation/delivery - construction in progress
   Other - construction in progress ~~~~~~~
   Less: Total construction in progress   ~~~~~
   Miscellaneous other    ~~~~~~~~~~~~
   Subtotals ~~~~~~~~~~~~~~~~~                                   22,385.                   22,385.          9,096,787.                       9,523,256.
   Average property ~~~~~~~~~~~~~~                                                         22,385.                                           9,310,022.
   Real property rented - rental expense (multiplied
      by applicable factor) ~~~~~~~~~~~                                                              0.                                 31,044,608.
   Tangible property rented - rental expense
      (multiplied by applicable factor) ~~~~~~
   Miscellaneous rental expense (multiplied by
      applicable factor) ~~~~~~~~~~~~


   Total property ~~~~~~~~~~~~~~~                                                          22,385.                                      40,354,630.




   * - Not Applicable




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   NEW YORK CITY                                        Property Apportionment Detail Worksheet                                            2022
   STICKYS HOLDINGS, LLC                                                                                                           XX-XXXXXXX


                                                                              Within                                         Everywhere


                                                          Beginning of Year              End of Year     Beginning of Year                 End of Year

   Inventories ~~~~~~~~~~~~~~~~~                               220,617.                    120,381.           220,617.                       183,148.
   Land ~~~~~~~~~~~~~~~~~~~
   Buildings ~~~~~~~~~~~~~~~~~                             5,963,836.                   5,875,326.       8,876,170.                       9,340,108.
   Buildings - accumulated depreciation ~~~~~
   Machinery ~~~~~~~~~~~~~~~~~
   Equipment    ~~~~~~~~~~~~~~~~
   Machinery and equipment - accumulated
      depreciation   ~~~~~~~~~~~~~~
   Furniture and fixtures ~~~~~~~~~~~~
   Furniture and fixtures - accumulated depreciation
   Transportation/delivery equipment ~~~~~~
   Transportation/delivery equipment - accumulated
      depreciation   ~~~~~~~~~~~~~~
   Other depreciable assets   ~~~~~~~~~~
   Other depreciable assets - accumulated
      depreciation   ~~~~~~~~~~~~~~
   Depletable assets ~~~~~~~~~~~~~~
   Depletable assets - accumulated depletion ~~~
   Leasehold improvements ~~~~~~~~~~
   Leasehold improvements - accumulated
      amortization   ~~~~~~~~~~~~~~
   Supplies    ~~~~~~~~~~~~~~~~~
   Other tangible property ~~~~~~~~~~~
   Buildings - construction in progress   ~~~~~
   Machinery - construction in progress ~~~~~
   Equipment - construction in progress ~~~~~
   Transportation/delivery - construction in progress
   Other - construction in progress ~~~~~~~
   Less: Total construction in progress   ~~~~~
   Miscellaneous other    ~~~~~~~~~~~~
   Subtotals ~~~~~~~~~~~~~~~~~                             6,184,453.                   5,995,707.       9,096,787.                       9,523,256.
   Average property ~~~~~~~~~~~~~~                                                      6,090,080.                                        9,310,022.
   Real property rented - rental expense (multiplied
      by applicable factor) ~~~~~~~~~~~                                                25,542,520.                                   31,044,608.
   Tangible property rented - rental expense
      (multiplied by applicable factor) ~~~~~~
   Miscellaneous rental expense (multiplied by
      applicable factor) ~~~~~~~~~~~~


   Total property ~~~~~~~~~~~~~~~                                                      31,632,600.                                   40,354,630.




   * - Not Applicable




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   NEW JERSEY            Payroll and Sales Apportionment Detail Worksheet                                          2022
   STICKYS HOLDINGS, LLC                                                                                        XX-XXXXXXX

   Payroll Apportionment
                                                                                                  Within           Everywhere

      Cost of goods sold ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Cost of operations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Compensation of officers ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Salesmen's salaries ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Salesmen's commissions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      General and administrative wages and salaries ~~~~~~~~~~~~~~~~~~~~~~~~~~                 1,279,741.         4,565,084.
      Repairs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Others ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Miscellaneous other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


      Total payroll ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   1,279,741.         4,565,084.


   Sales Apportionment
                                                                                                  Within           Everywhere

      Sales of tangible personal property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       22,067,743.
      - Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Sales from outside the state to within the state ~~~~~~~~~~~~~~~~~~~~~~~~~~              4,985,348.
      Sales from within the state to within the state ~~~~~~~~~~~~~~~~~~~~~~~~~~                       0.
      Sales from within the state to U.S. government    ~~~~~~~~~~~~~~~~~~~~~~~~~
      Sales from within the state to nontaxable jurisdictions   ~~~~~~~~~~~~~~~~~~~~~~
      Interest    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Dividends    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Gain from sales of real and tangible personal property ~~~~~~~~~~~~~~~~~~~~~~
      Gain from sales of intangibles ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Service income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Other receipts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              0.         10,538.
      Miscellaneous other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


      Total sales ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    4,985,348.        22,078,281.




       * - Not Applicable




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   NEW YORK              Payroll and Sales Apportionment Detail Worksheet                                        2022
   STICKYS HOLDINGS, LLC                                                                                      XX-XXXXXXX

   Payroll Apportionment
                                                                                                  Within         Everywhere

      Cost of goods sold ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Cost of operations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Compensation of officers ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Salesmen's salaries ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Salesmen's commissions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      General and administrative wages and salaries ~~~~~~~~~~~~~~~~~~~~~~~~~~                 3,285,343.       4,565,084.
      Repairs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Others ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Miscellaneous other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


      Total payroll ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   3,285,343.       4,565,084.


   Sales Apportionment
                                                                                                  Within         Everywhere

      Sales of tangible personal property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     22,067,743.
      - Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Sales from outside the state to within the state ~~~~~~~~~~~~~~~~~~~~~~~~~~             17,082,395.
      Sales from within the state to within the state ~~~~~~~~~~~~~~~~~~~~~~~~~~                       0.
      Sales from within the state to U.S. government    ~~~~~~~~~~~~~~~~~~~~~~~~~
      Sales from within the state to nontaxable jurisdictions   ~~~~~~~~~~~~~~~~~~~~~~
      Interest    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Dividends    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Gain from sales of real and tangible personal property ~~~~~~~~~~~~~~~~~~~~~~
      Gain from sales of intangibles ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Service income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Other receipts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      10,538.          10,538.
      Miscellaneous other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


      Total sales ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   17,092,933.      22,078,281.




       * - Not Applicable




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   NEW YORK CITY         Payroll and Sales Apportionment Detail Worksheet                                        2022
   STICKYS HOLDINGS, LLC                                                                                      XX-XXXXXXX

   Payroll Apportionment
                                                                                                  Within         Everywhere

      Cost of goods sold ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Cost of operations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Compensation of officers ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Salesmen's salaries ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Salesmen's commissions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      General and administrative wages and salaries ~~~~~~~~~~~~~~~~~~~~~~~~~~                 3,058,913.       4,565,084.
      Repairs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Others ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Miscellaneous other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


      Total payroll ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   3,058,913.       4,565,084.


   Sales Apportionment
                                                                                                  Within         Everywhere

      Sales of tangible personal property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     22,067,743.
      - Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Sales from outside the state to within the state ~~~~~~~~~~~~~~~~~~~~~~~~~~             16,358,613.
      Sales from within the state to within the state ~~~~~~~~~~~~~~~~~~~~~~~~~~
      Sales from within the state to U.S. government    ~~~~~~~~~~~~~~~~~~~~~~~~~
      Sales from within the state to nontaxable jurisdictions   ~~~~~~~~~~~~~~~~~~~~~~
      Interest    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Dividends    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Gain from sales of real and tangible personal property ~~~~~~~~~~~~~~~~~~~~~~
      Gain from sales of intangibles ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Service income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Other receipts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       10,538.
      Miscellaneous other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


      Total sales ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   16,358,613.      22,078,281.




       * - Not Applicable




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   PROPERTY FACTOR                        Apportionment Summary Worksheet                       2022
   STICKYS HOLDINGS, LLC                                                                     XX-XXXXXXX
                                            WITHIN          EVERYWHERE       UNWEIGHTED        WEIGHTED
   Alabama     ~~~~~~~~~~~~~~~~~
   Alaska     ~~~~~~~~~~~~~~~~~~
   Arizona ~~~~~~~~~~~~~~~~~~
   Arkansas ~~~~~~~~~~~~~~~~~
   California ~~~~~~~~~~~~~~~~~
   Colorado ~~~~~~~~~~~~~~~~~
   Connecticut ~~~~~~~~~~~~~~~~
   Delaware ~~~~~~~~~~~~~~~~~
   District of Columbia   ~~~~~~~~~~~~
   Florida ~~~~~~~~~~~~~~~~~~
   Georgia ~~~~~~~~~~~~~~~~~~
   Hawaii     ~~~~~~~~~~~~~~~~~~
   Idaho ~~~~~~~~~~~~~~~~~~~
   Illinois   ~~~~~~~~~~~~~~~~~~
   Indiana ~~~~~~~~~~~~~~~~~~
   Iowa ~~~~~~~~~~~~~~~~~~~
   Kansas ~~~~~~~~~~~~~~~~~~
   Kentucky ~~~~~~~~~~~~~~~~~
   Louisiana ~~~~~~~~~~~~~~~~~
   Maine ~~~~~~~~~~~~~~~~~~~
   Maryland ~~~~~~~~~~~~~~~~~
   Massachusetts ~~~~~~~~~~~~~~~
   Michigan ~~~~~~~~~~~~~~~~~
   Minnesota ~~~~~~~~~~~~~~~~~
   Mississippi ~~~~~~~~~~~~~~~~
   Missouri    ~~~~~~~~~~~~~~~~~
   Montana     ~~~~~~~~~~~~~~~~~
   Nebraska ~~~~~~~~~~~~~~~~~
   Nevada ~~~~~~~~~~~~~~~~~~
   New Hampshire ~~~~~~~~~~~~~~
   New Jersey ~~~~~~~~~~~~~~~~             7,467,433.       40,354,630.           .185045         .185045
   New Mexico ~~~~~~~~~~~~~~~~
   New York ~~~~~~~~~~~~~~~~~             32,891,764.       40,354,630.           .815068         .815068
   North Carolina ~~~~~~~~~~~~~~~
   North Dakota    ~~~~~~~~~~~~~~~
   Ohio ~~~~~~~~~~~~~~~~~~~
   Oklahoma ~~~~~~~~~~~~~~~~~
   Oregon ~~~~~~~~~~~~~~~~~~
   Pennsylvania    ~~~~~~~~~~~~~~~
   Rhode Island    ~~~~~~~~~~~~~~~
   South Carolina ~~~~~~~~~~~~~~~
   South Dakota    ~~~~~~~~~~~~~~~
   Tennessee ~~~~~~~~~~~~~~~~~
   Texas ~~~~~~~~~~~~~~~~~~~
   Utah ~~~~~~~~~~~~~~~~~~~
   Vermont     ~~~~~~~~~~~~~~~~~
   Virginia ~~~~~~~~~~~~~~~~~~
   Washington ~~~~~~~~~~~~~~~~
   West Virginia   ~~~~~~~~~~~~~~~
   Wisconsin ~~~~~~~~~~~~~~~~~
   Wyoming ~~~~~~~~~~~~~~~~~
   Foreign ~~~~~~~~~~~~~~~~~~
   Other ~~~~~~~~~~~~~~~~~~~


   Total ~~~~~~~~~~~~~~~~~~~                 N/A                N/A              N/A             1.000113
   210731
   04-01-22


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   PROPERTY FACTOR       Apportionment Summary Worksheet (Continued)                               2022
   STICKYS HOLDINGS, LLC                                                                        XX-XXXXXXX

                                                WITHIN         EVERYWHERE       UNWEIGHTED        WEIGHTED
   * Albion ~~~~~~~~~~~~~~~~~
   * Battle Creek ~~~~~~~~~~~~~~~
   * Benton Harbor ~~~~~~~~~~~~~~
   * Big Rapids ~~~~~~~~~~~~~~~~
   * Detroit ~~~~~~~~~~~~~~~~~
   * East Lansing ~~~~~~~~~~~~~~~
   * Flint ~~~~~~~~~~~~~~~~~~
   * Grand Rapids ~~~~~~~~~~~~~~
   * Grayling ~~~~~~~~~~~~~~~~~
   * Hamtramck ~~~~~~~~~~~~~~~
   * Highland Park ~~~~~~~~~~~~~~
   * Hudson ~~~~~~~~~~~~~~~~~
   * Ionia ~~~~~~~~~~~~~~~~~~
   * Jackson ~~~~~~~~~~~~~~~~~
   * Lansing ~~~~~~~~~~~~~~~~~
   * Lapeer ~~~~~~~~~~~~~~~~~
   * Muskegon ~~~~~~~~~~~~~~~~
   * Muskegon Heights ~~~~~~~~~~~~
   * Pontiac ~~~~~~~~~~~~~~~~~
   * Port Huron ~~~~~~~~~~~~~~~
   * Portland ~~~~~~~~~~~~~~~~~
   * Saginaw ~~~~~~~~~~~~~~~~~
   * Springfield ~~~~~~~~~~~~~~~~
   * Walker~~~~~~~~~~~~~~~~~~
   * New York City ~~~~~~~~~~~~~~              5,919,581.       9,108,139.           .783865         .783865
   * New York - MCTD ~~~~~~~~~~~~~


   * Not included in everywhere totals




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   04-01-22


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   PAYROLL FACTOR                         Apportionment Summary Worksheet                       2022
   STICKYS HOLDINGS, LLC                                                                     XX-XXXXXXX
                                            WITHIN          EVERYWHERE       UNWEIGHTED        WEIGHTED
   Alabama     ~~~~~~~~~~~~~~~~~
   Alaska     ~~~~~~~~~~~~~~~~~~
   Arizona ~~~~~~~~~~~~~~~~~~
   Arkansas ~~~~~~~~~~~~~~~~~
   California ~~~~~~~~~~~~~~~~~
   Colorado ~~~~~~~~~~~~~~~~~
   Connecticut ~~~~~~~~~~~~~~~~
   Delaware ~~~~~~~~~~~~~~~~~
   District of Columbia   ~~~~~~~~~~~~
   Florida ~~~~~~~~~~~~~~~~~~
   Georgia ~~~~~~~~~~~~~~~~~~
   Hawaii     ~~~~~~~~~~~~~~~~~~
   Idaho ~~~~~~~~~~~~~~~~~~~
   Illinois   ~~~~~~~~~~~~~~~~~~
   Indiana ~~~~~~~~~~~~~~~~~~
   Iowa ~~~~~~~~~~~~~~~~~~~
   Kansas ~~~~~~~~~~~~~~~~~~
   Kentucky ~~~~~~~~~~~~~~~~~
   Louisiana ~~~~~~~~~~~~~~~~~
   Maine ~~~~~~~~~~~~~~~~~~~
   Maryland ~~~~~~~~~~~~~~~~~
   Massachusetts ~~~~~~~~~~~~~~~
   Michigan ~~~~~~~~~~~~~~~~~
   Minnesota ~~~~~~~~~~~~~~~~~
   Mississippi ~~~~~~~~~~~~~~~~
   Missouri    ~~~~~~~~~~~~~~~~~
   Montana     ~~~~~~~~~~~~~~~~~
   Nebraska ~~~~~~~~~~~~~~~~~
   Nevada ~~~~~~~~~~~~~~~~~~
   New Hampshire ~~~~~~~~~~~~~~
   New Jersey ~~~~~~~~~~~~~~~~             1,279,741.        4,565,084.           .280332         .280332
   New Mexico ~~~~~~~~~~~~~~~~
   New York ~~~~~~~~~~~~~~~~~              3,285,343.        4,565,084.           .719668         .719668
   North Carolina ~~~~~~~~~~~~~~~
   North Dakota    ~~~~~~~~~~~~~~~
   Ohio ~~~~~~~~~~~~~~~~~~~
   Oklahoma ~~~~~~~~~~~~~~~~~
   Oregon ~~~~~~~~~~~~~~~~~~
   Pennsylvania    ~~~~~~~~~~~~~~~
   Rhode Island    ~~~~~~~~~~~~~~~
   South Carolina ~~~~~~~~~~~~~~~
   South Dakota    ~~~~~~~~~~~~~~~
   Tennessee ~~~~~~~~~~~~~~~~~
   Texas ~~~~~~~~~~~~~~~~~~~
   Utah ~~~~~~~~~~~~~~~~~~~
   Vermont     ~~~~~~~~~~~~~~~~~
   Virginia ~~~~~~~~~~~~~~~~~~
   Washington ~~~~~~~~~~~~~~~~
   West Virginia   ~~~~~~~~~~~~~~~
   Wisconsin ~~~~~~~~~~~~~~~~~
   Wyoming ~~~~~~~~~~~~~~~~~
   Foreign ~~~~~~~~~~~~~~~~~~
   Other ~~~~~~~~~~~~~~~~~~~


   Total ~~~~~~~~~~~~~~~~~~~                 N/A                N/A              N/A             1.000000
   210731
   04-01-22


22470912 795476 95517                                 2022.04020 STICKYS HOLDINGS, LLC                 95517__1
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                                          Apportionment Summary Worksheet (Continued)                2022
   STICKYS HOLDINGS, LLC                                                                          XX-XXXXXXX

   PAYROLL FACTOR                                WITHIN         EVERYWHERE       UNWEIGHTED         WEIGHTED
   * Albion ~~~~~~~~~~~~~~~~~
   * Battle Creek ~~~~~~~~~~~~~~~
   * Benton Harbor ~~~~~~~~~~~~~~
   * Big Rapids ~~~~~~~~~~~~~~~~
   * Detroit ~~~~~~~~~~~~~~~~~
   * East Lansing ~~~~~~~~~~~~~~~
   * Flint ~~~~~~~~~~~~~~~~~~
   * Grand Rapids ~~~~~~~~~~~~~~
   * Grayling ~~~~~~~~~~~~~~~~~
   * Hamtramck ~~~~~~~~~~~~~~~
   * Highland Park ~~~~~~~~~~~~~~
   * Hudson ~~~~~~~~~~~~~~~~~
   * Ionia ~~~~~~~~~~~~~~~~~~
   * Jackson ~~~~~~~~~~~~~~~~~
   * Lansing ~~~~~~~~~~~~~~~~~
   * Lapeer ~~~~~~~~~~~~~~~~~
   * Muskegon ~~~~~~~~~~~~~~~~
   * Muskegon Heights ~~~~~~~~~~~~
   * Pontiac ~~~~~~~~~~~~~~~~~
   * Port Huron ~~~~~~~~~~~~~~~
   * Portland ~~~~~~~~~~~~~~~~~
   * Saginaw ~~~~~~~~~~~~~~~~~
   * Springfield ~~~~~~~~~~~~~~~~
   * Walker~~~~~~~~~~~~~~~~~~
   * New York City ~~~~~~~~~~~~~~               3,058,913.       4,565,084.             .670067        .670067
   * New York - MCTD ~~~~~~~~~~~~~


   * Not included in everywhere totals




   210732
   04-01-22


22470912 795476 95517                                     2022.04020 STICKYS HOLDINGS, LLC                  95517__1
                              Case 24-10856-JKS    Doc 1   Filed 04/25/24   Page 33 of 733

   SALES FACTOR                           Apportionment Summary Worksheet                       2022
   STICKYS HOLDINGS, LLC                                                                     XX-XXXXXXX
                                            WITHIN          EVERYWHERE       UNWEIGHTED        WEIGHTED
   Alabama     ~~~~~~~~~~~~~~~~~
   Alaska     ~~~~~~~~~~~~~~~~~~
   Arizona ~~~~~~~~~~~~~~~~~~
   Arkansas ~~~~~~~~~~~~~~~~~
   California ~~~~~~~~~~~~~~~~~
   Colorado ~~~~~~~~~~~~~~~~~
   Connecticut ~~~~~~~~~~~~~~~~
   Delaware ~~~~~~~~~~~~~~~~~
   District of Columbia   ~~~~~~~~~~~~
   Florida ~~~~~~~~~~~~~~~~~~
   Georgia ~~~~~~~~~~~~~~~~~~
   Hawaii     ~~~~~~~~~~~~~~~~~~
   Idaho ~~~~~~~~~~~~~~~~~~~
   Illinois   ~~~~~~~~~~~~~~~~~~
   Indiana ~~~~~~~~~~~~~~~~~~
   Iowa ~~~~~~~~~~~~~~~~~~~
   Kansas ~~~~~~~~~~~~~~~~~~
   Kentucky ~~~~~~~~~~~~~~~~~
   Louisiana ~~~~~~~~~~~~~~~~~
   Maine ~~~~~~~~~~~~~~~~~~~
   Maryland ~~~~~~~~~~~~~~~~~
   Massachusetts ~~~~~~~~~~~~~~~
   Michigan ~~~~~~~~~~~~~~~~~
   Minnesota ~~~~~~~~~~~~~~~~~
   Mississippi ~~~~~~~~~~~~~~~~
   Missouri    ~~~~~~~~~~~~~~~~~
   Montana     ~~~~~~~~~~~~~~~~~
   Nebraska ~~~~~~~~~~~~~~~~~
   Nevada ~~~~~~~~~~~~~~~~~~
   New Hampshire ~~~~~~~~~~~~~~
   New Jersey ~~~~~~~~~~~~~~~~             4,985,348.       22,078,281.           .225803         .225803
   New Mexico ~~~~~~~~~~~~~~~~
   New York ~~~~~~~~~~~~~~~~~             17,092,933.       22,078,281.           .774197         .774197
   North Carolina ~~~~~~~~~~~~~~~
   North Dakota    ~~~~~~~~~~~~~~~
   Ohio ~~~~~~~~~~~~~~~~~~~
   Oklahoma ~~~~~~~~~~~~~~~~~
   Oregon ~~~~~~~~~~~~~~~~~~
   Pennsylvania    ~~~~~~~~~~~~~~~
   Rhode Island    ~~~~~~~~~~~~~~~
   South Carolina ~~~~~~~~~~~~~~~
   South Dakota    ~~~~~~~~~~~~~~~
   Tennessee ~~~~~~~~~~~~~~~~~
   Texas ~~~~~~~~~~~~~~~~~~~
   Utah ~~~~~~~~~~~~~~~~~~~
   Vermont     ~~~~~~~~~~~~~~~~~
   Virginia ~~~~~~~~~~~~~~~~~~
   Washington ~~~~~~~~~~~~~~~~
   West Virginia   ~~~~~~~~~~~~~~~
   Wisconsin ~~~~~~~~~~~~~~~~~
   Wyoming ~~~~~~~~~~~~~~~~~
   Foreign ~~~~~~~~~~~~~~~~~~
   Other ~~~~~~~~~~~~~~~~~~~


   Total ~~~~~~~~~~~~~~~~~~~                 N/A                N/A              N/A             1.000000
   210731
   04-01-22


22470912 795476 95517                                 2022.04020 STICKYS HOLDINGS, LLC                 95517__1
                                  Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 34 of 733

   SALES FACTOR          Apportionment Summary Worksheet (Continued)                               2022
   STICKYS HOLDINGS, LLC                                                                        XX-XXXXXXX

                                                WITHIN         EVERYWHERE       UNWEIGHTED        WEIGHTED
   * Albion ~~~~~~~~~~~~~~~~~
   * Battle Creek ~~~~~~~~~~~~~~~
   * Benton Harbor ~~~~~~~~~~~~~~
   * Big Rapids ~~~~~~~~~~~~~~~~
   * Detroit ~~~~~~~~~~~~~~~~~
   * East Lansing ~~~~~~~~~~~~~~~
   * Flint ~~~~~~~~~~~~~~~~~~
   * Grand Rapids ~~~~~~~~~~~~~~
   * Grayling ~~~~~~~~~~~~~~~~~
   * Hamtramck ~~~~~~~~~~~~~~~
   * Highland Park ~~~~~~~~~~~~~~
   * Hudson ~~~~~~~~~~~~~~~~~
   * Ionia ~~~~~~~~~~~~~~~~~~
   * Jackson ~~~~~~~~~~~~~~~~~
   * Lansing ~~~~~~~~~~~~~~~~~
   * Lapeer ~~~~~~~~~~~~~~~~~
   * Muskegon ~~~~~~~~~~~~~~~~
   * Muskegon Heights ~~~~~~~~~~~~
   * Pontiac ~~~~~~~~~~~~~~~~~
   * Port Huron ~~~~~~~~~~~~~~~
   * Portland ~~~~~~~~~~~~~~~~~
   * Saginaw ~~~~~~~~~~~~~~~~~
   * Springfield ~~~~~~~~~~~~~~~~
   * Walker~~~~~~~~~~~~~~~~~~
   * New York City ~~~~~~~~~~~~~~             16,358,613.      22,078,281.           .740937         .740937
   * New York - MCTD ~~~~~~~~~~~~~


   * Not included in everywhere totals




   210732
   04-01-22


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                              Case 24-10856-JKS   Doc 1   Filed 04/25/24    Page 35 of 733

   SUMMARY                                Apportionment Summary Worksheet                        2022
   STICKYS HOLDINGS, LLC                                                                      XX-XXXXXXX
   SUMMARY OF FACTORS                      PROPERTY         PAYROLL             SALES        APPORTIONMENT
   Alabama     ~~~~~~~~~~~~~~~~~
   Alaska     ~~~~~~~~~~~~~~~~~~
   Arizona ~~~~~~~~~~~~~~~~~~
   Arkansas ~~~~~~~~~~~~~~~~~
   California ~~~~~~~~~~~~~~~~~
   Colorado ~~~~~~~~~~~~~~~~~
   Connecticut ~~~~~~~~~~~~~~~~
   Delaware ~~~~~~~~~~~~~~~~~
   District of Columbia   ~~~~~~~~~~~~
   Florida ~~~~~~~~~~~~~~~~~~
   Georgia ~~~~~~~~~~~~~~~~~~
   Hawaii     ~~~~~~~~~~~~~~~~~~
   Idaho ~~~~~~~~~~~~~~~~~~~
   Illinois   ~~~~~~~~~~~~~~~~~~
   Indiana ~~~~~~~~~~~~~~~~~~
   Iowa ~~~~~~~~~~~~~~~~~~~
   Kansas ~~~~~~~~~~~~~~~~~~
   Kentucky ~~~~~~~~~~~~~~~~~
   Louisiana ~~~~~~~~~~~~~~~~~
   Maine ~~~~~~~~~~~~~~~~~~~
   Maryland ~~~~~~~~~~~~~~~~~
   Massachusetts ~~~~~~~~~~~~~~~
   Michigan ~~~~~~~~~~~~~~~~~
   Minnesota ~~~~~~~~~~~~~~~~~
   Mississippi ~~~~~~~~~~~~~~~~
   Missouri    ~~~~~~~~~~~~~~~~~
   Montana     ~~~~~~~~~~~~~~~~~
   Nebraska ~~~~~~~~~~~~~~~~~
   Nevada ~~~~~~~~~~~~~~~~~~
   New Hampshire ~~~~~~~~~~~~~~
   New Jersey ~~~~~~~~~~~~~~~~                .185045           .280332           .225803          .230393
   New Mexico ~~~~~~~~~~~~~~~~
   New York ~~~~~~~~~~~~~~~~~                 .815068           .719668           .774197          .769644
   North Carolina ~~~~~~~~~~~~~~~
   North Dakota    ~~~~~~~~~~~~~~~
   Ohio ~~~~~~~~~~~~~~~~~~~
   Oklahoma ~~~~~~~~~~~~~~~~~
   Oregon ~~~~~~~~~~~~~~~~~~
   Pennsylvania    ~~~~~~~~~~~~~~~
   Rhode Island    ~~~~~~~~~~~~~~~
   South Carolina ~~~~~~~~~~~~~~~
   South Dakota    ~~~~~~~~~~~~~~~
   Tennessee ~~~~~~~~~~~~~~~~~
   Texas ~~~~~~~~~~~~~~~~~~~
   Utah ~~~~~~~~~~~~~~~~~~~
   Vermont     ~~~~~~~~~~~~~~~~~
   Virginia ~~~~~~~~~~~~~~~~~~
   Washington ~~~~~~~~~~~~~~~~
   West Virginia   ~~~~~~~~~~~~~~~
   Wisconsin ~~~~~~~~~~~~~~~~~
   Wyoming ~~~~~~~~~~~~~~~~~
   Foreign ~~~~~~~~~~~~~~~~~~
   Other ~~~~~~~~~~~~~~~~~~~


   Total ~~~~~~~~~~~~~~~~~~~                 1.000113          1.000000          1.000000         1.000037
   210731
   04-01-22


22470912 795476 95517                                 2022.04020 STICKYS HOLDINGS, LLC                  95517__1
                                  Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 36 of 733

   SUMMARY               Apportionment Summary Worksheet (Continued)                                2022
   STICKYS HOLDINGS, LLC                                                                         XX-XXXXXXX

   SUMMARY OF FACTORS                          PROPERTY         PAYROLL            SALES        APPORTIONMENT
   * Albion ~~~~~~~~~~~~~~~~~
   * Battle Creek ~~~~~~~~~~~~~~~
   * Benton Harbor ~~~~~~~~~~~~~~
   * Big Rapids ~~~~~~~~~~~~~~~~
   * Detroit ~~~~~~~~~~~~~~~~~
   * East Lansing ~~~~~~~~~~~~~~~
   * Flint ~~~~~~~~~~~~~~~~~~
   * Grand Rapids ~~~~~~~~~~~~~~
   * Grayling ~~~~~~~~~~~~~~~~~
   * Hamtramck ~~~~~~~~~~~~~~~
   * Highland Park ~~~~~~~~~~~~~~
   * Hudson ~~~~~~~~~~~~~~~~~
   * Ionia ~~~~~~~~~~~~~~~~~~
   * Jackson ~~~~~~~~~~~~~~~~~
   * Lansing ~~~~~~~~~~~~~~~~~
   * Lapeer ~~~~~~~~~~~~~~~~~
   * Muskegon ~~~~~~~~~~~~~~~~
   * Muskegon Heights ~~~~~~~~~~~~
   * Pontiac ~~~~~~~~~~~~~~~~~
   * Port Huron ~~~~~~~~~~~~~~~
   * Portland ~~~~~~~~~~~~~~~~~
   * Saginaw ~~~~~~~~~~~~~~~~~
   * Springfield ~~~~~~~~~~~~~~~~
   * Walker~~~~~~~~~~~~~~~~~~
   * New York City ~~~~~~~~~~~~~~                 .783865           .670067          .740937          .740000
   * New York - MCTD ~~~~~~~~~~~~~


   * Not included in everywhere totals




   210732
   04-01-22


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                                    Case 24-10856-JKS                          Doc 1    Filed 04/25/24         Page 37 of 733

                                                      E-file Authorization for Form 1065
            8879-PE
                                                                                                                                                    OMB No. 1545-0123

   Form                                          (For return of partnership income or administrative adjustment request)


   Department of the Treasury
   Internal Revenue Service
                                                        ERO must obtain and retain completed Form 8879-PE.
                                                       Go to www.irs.gov/Form8879PE for the latest information.                                      2022
                                     For calendar year 2022, or tax year beginning           , 2022, ending                ,20      .
   Name of partnership                                                                                                           Employer identification number
                         STICKYS HOLDINGS, LLC                                                                                   XX-XXXXXXX
    Part I            Form 1065 Information (Whole dollars only)
     1 Gross receipts or sales less returns and allowances (Form 1065, line 1c) ~~~~~~~~~~~~~~~~~~~                                     1       22,084,935.
     2 Gross profit (Form 1065, line 3) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         2       14,222,720.
     3 Ordinary business income (loss) (Form 1065, line 22) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               3       -3,211,890.
     4 Net rental real estate income (loss) (Form 1065, Schedule K, line 2) ~~~~~~~~~~~~~~~~~~~~~~                                      4
     5 Other net rental income (loss) (Form 1065, Schedule K, line 3c)                                          5
    Part II           Declaration and Signature Authorization of Partner or Member or Partnership Representative
   I declare under penalties of perjury that:
     1a. If the Form 1065 is being transmitted as part of a return of partnership income, I am a partner or member of the named
         partnership.
      b. If the Form 1065 is being transmitted as part of an administrative adjustment request (AAR), I am the partnership representative
         (PR) of the named partnership.
     2 I have examined a copy of the partnership's electronic Form 1065 (whether used as return or AAR) and accompanying forms,
         schedules, and statements, and to the best of my knowledge and belief, it/they is/are true, correct, and complete.
     3 I am fully authorized to sign the return or AAR on behalf of the partnership.
     4 The amounts shown in Part I above are the amounts shown on the electronic copy of the partnership's Form 1065.
     5 I consent to allow my electronic return originator (ERO), transmitter, or intermediate service provider to transmit the partnership's
         return or AAR to the IRS and to receive from the IRS (a) an acknowledgment of receipt or reason for rejection of the transmission
         and (b) the reason for any delay in processing the return or AAR.
     6 I have selected a personal identification number (PIN) as my signature for the partnership's electronic return of partnership income
         or AAR.

   Partner's or Member or PR PIN: check one box only

            X I authorize APRIO, LLP                                                                                        to enter my PIN               15252
                                                                 ERO firm name                                                                      Don't enter all zeros
                as my signature on the partnership's 2022 electronically filed return of partnership income or AAR.
                As a Partner or Member or PR of the partnership, I will enter my PIN as my signature on the partnership's 2022 electronically filed
                return of partnership income or AAR..
   Partner or Member or PR signature:
   Title:      MANAGING PARTNER                                                                                                             Date:

    Part III          Certification and Authentication

   ERO's EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.              67627252152
                                                                                                         Don't enter all zeros
   I certify that the above numeric entry is my PIN, which is my signature on the 2022 electronically filed return of partnership income or AAR for the
   partnership indicated above. I confirm that I am submitting this return or AAR in accordance with the requirements of Pub. 3112, IRS e-file Application
   and Participation, and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business Returns.


   ERO's signature:             JESSICA HUSSAIN, CPA                                                             Date:   09/12/23


                                                ERO Must Retain This Form - See Instructions
                                        Don't Submit This Form to the IRS Unless Requested To Do So
   For Paperwork Reduction Act Notice, see instructions.                                                                                      Form 8879-PE (2022)




   LHA
   221031 12-07-22


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   Form
           7004
   (Rev. December 2018)
                                               Application for Automatic Extension of Time To File Certain
                                                 Business Income Tax, Information, and Other Returns                                                              OMB No. 1545-0233
   Department of the Treasury                               | File a separate application for each return.
   Internal Revenue Service                    | Go to www.irs.gov/Form7004 for instructions and the latest information.
                     Name                                                                                                                                 Identifying number


   Print             STICKYS HOLDINGS, LLC                                                                                                                   XX-XXXXXXX
                     Number, street, and room or suite no. (If P.O. box, see instructions.)
   or
   Type              24 E 23RD STREET
                     City, town, state, and ZIP code (If a foreign address, enter city, province or state, and country (follow the country's practice for entering postal code).)


                     NEW YORK, NY                     10010
   Note: File request for extension by the due date of the return. See instructions before completing this form.
    Part I Automatic Extension for Certain Business Income Tax, Information, and Other Returns. See instructions.
   1  Enter the form code for the return listed below that this application is for  09
   Application                                                                      Form         Application                                                                   Form
   Is For:                                                                          Code         Is For:                                                                       Code
   Form 706-GS(D)                                                                     01         Form 1120-ND (section 4951 taxes)                                                  20
   Form 706-GS(T)                                                                     02         Form 1120-PC                                                                       21
   Form 1041 (bankruptcy estate only)                                                 03         Form 1120-POL                                                                      22
   Form 1041 (estate other than a bankruptcy estate)                                  04         Form 1120-REIT                                                                     23
   Form 1041 (trust)                                                                  05         Form 1120-RIC                                                                      24
   Form 1041-N                                                                        06         Form 1120S                                                                         25
   Form 1041-QFT                                                                      07         Form 1120-SF                                                                       26
   Form 1042                                                                          08         Form 3520-A                                                                        27
   Form 1065                                                                          09         Form 8612                                                                          28
   Form 1066                                                                          11         Form 8613                                                                          29
   Form 1120                                                                          12         Form 8725                                                                          30
   Form 1120-C                                                                        34         Form 8804                                                                          31
   Form 1120-F                                                                        15         Form 8831                                                                          32
   Form 1120-FSC                                                                      16         Form 8876                                                                          33
   Form 1120-H                                                                        17         Form 8924                                                                          35
   Form 1120-L                                                                        18         Form 8928                                                                          36
   Form 1120-ND                                                                       19
    Part II       All Filers Must Complete This Part
   2      If the organization is a foreign corporation that does not have an office or place of business in the United States,
          check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |
   3      If the organization is a corporation and is the common parent of a group that intends to file a consolidated return,
          check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |
          If checked, attach a statement listing the name, address, and employer identification number (EIN) for each member
          covered by this application.
   4      If the organization is a corporation or partnership that qualifies under Regulations section 1.6081-5, check here                      ~~~~~~~~~~~~ |
   5 a The application is for calendar year 2022 , or tax year beginning                                                          , and ending
     b Short tax year. If this tax year is less than 12 months, check the reason:                         Initial return               Final return
                Change in accounting period                Consolidated return to be filed                Other (See instructions - attach explanation.)


   6      Tentative total tax    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       6                                  0.

   7      Total payments and credits. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              7


   8 Balance due. Subtract line 7 from line 6. See instructions                                                            8
   LHA For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                                        Form 7004 (Rev. 12-2018)

                                                      DEPARTMENT OF THE TREASURY
                                                      INTERNAL REVENUE SERVICE CENTER
                                                      KANSAS CITY, MO 64999-0019




   219741 04-01-22


22470912 795476 95517                                                                 2022.04020 STICKYS HOLDINGS, LLC                                                         95517__1
                                                                                 Case 24-10856-JKS                                Doc 1          Filed 04/25/24                       Page 39 of 733
                                                                              EXTENSION GRANTED TO 09/15/23
Form
                                                 1065                                               U.S. Return of Partnership Income                                                                                          OMB No. 1545-0123


Department of the Treasury
Internal Revenue Service
                                                                              For calendar year 2022, or tax year beginning                             ,
                                                                                              Go to www.irs.gov/Form1065 for instructions and the latest information.
                                                                                                                                                                        , ending                         ,             .
                                                                                                                                                                                                                                  2022
A                                               Principal business activity                   Name of partnership                                                                                                          D Employer identification
                                                                                                                                                                                                                               number

RESTAURANT                                                                                  STICKYS HOLDINGS, LLC                                                                                                           XX-XXXXXXX
                                                                                     Type Number, street, and room or suite no. If a P.O. box, see instructions.
B                                       Principal product or service                  or                                                                                                                                   E Date business started
                                                                                     Print 24 E 23RD STREET                                                                                                                 03/20/2012
FOOD SERVICES                                                                                City or town, state or province, country, and ZIP or foreign postal code
                                                                                                                                                                                                                           F   Total assets
                                                                                                                                                                                                                               (see instr.)
C                                       Business code number
722513                                                                                      NEW YORK                                                                                   NY 10010                            $   8,167,612.
G                                               Check applicable boxes:   (1)       Initial return  (2)       Final return     (3)        Name change (4)                                          Address change (5)                Amended return
H                                               Check accounting method: (1)        Cash            (2)  X Accrual             (3)        Other (specify)
I                                               Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year                                                  21
J                                               Check if Schedules C and M-3 are attached 
K                                               Check if partnership:          (1)          Aggregated activities for section 465 at-risk purposes                 (2)             Grouped activities for section 469 passive activity purposes
  Caution: Include only trade or business income and expenses on lines 1a through 22 below. See instructions for more information.
       1 a Gross receipts or sales ~~~~~~~~~~~~~~~~~~~~~~~~~~~                           1a      22,084,935.
                                                      b Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~            1b
                                                      c Balance. Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                               1c         22,084,935.
                                                  2     Cost of goods sold (attach Form 1125-A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2           7,862,215.
                                                                                                                                                                                                                            14,222,720.
   Income




                                                  3     Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            3
                                                  4     Ordinary income (loss) from other partnerships, estates, and trusts (attach statement)                                     ~~~~~~~~~~~                   4
                                                  5     Net farm profit (loss) (attach Schedule F (Form 1040)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       5
                                                  6     Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~                                                                6               5,793.
                                                  7                                                            SEE STATEMENT 2
                                                        Other income (loss) (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                7              10,538.
                                                  8     Total income (loss). Combine lines 3 through 7                                                                             8          14,239,051.
                                                  9     Salaries and wages (other than to partners) (less employment credits) ~~~~~~~~~~~~~~~~~~~                                                                9           7,149,571.
Deductions (see instructions for limitations)




                                                10      Guaranteed payments to partners                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    10             19,014.
                                                11      Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        11            518,055.
                                                12      Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                               12
                                                13      Rent ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                 13            3,880,577.
                                                14                                                   SEE STATEMENT 3
                                                        Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                          14              963,838.
                                                15      Interest (see instructions)                                                                                     15               98,198.
                                                16 a Depreciation (if required, attach Form 4562) ~~~~~~~~~~~~~~~~~ 16a         699,358.
                                                   b Less depreciation reported on Form 1125-A and elsewhere on return ~~~~ 16b          16c                                                                                         699,358.
                                                17 Depletion (Do not deduct oil and gas depletion.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~        17
                                                18      Retirement plans, etc. ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                       18
                                                19      Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                       19            202,589.
                                                20                                                           SEE STATEMENT 4
                                                        Other deductions (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  20          3,919,741.
                                                21      Total deductions. Add the amounts shown in the far right column for lines 9 through 20                                                         21         17,450,941.
                                                22      Ordinary business income (loss). Subtract line 21 from line 8                                                                     22         -3,211,890.
                                                23      Interest due under the look-back method-completed long-term contracts (attach Form 8697) ~~~~~~~~                                                        23
                                                24      Interest due under the look-back method-income forecast method (attach Form 8866) ~~~~~~~~~~~                                                            24
   Tax and Payment




                                                25      BBA AAR imputed underpayment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             25
                                                26      Other taxes (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                   26
                                                27      Total balance due. Add lines 23 through 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              27
                                                28      Payment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                      28
                                                29      Amount owed. If line 28 is smaller than line 27, enter amount owed ~~~~~~~~~~~~~~~~~~~~                                                                  29
                                                30      Overpayment. If line 28 is larger than line 27, enter overpayment                                                                   30
                                                            Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge
                                                            and belief, it is true,correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all information of
Sign                                                        which preparer has any knowledge.
                                                                                                                                                                                                                May the IRS discuss this return with
Here                                                                                                                                                                                                            the preparer shown below?
                                                              Signature of partner or limited liability company member                                                      Date                                See instr.
                                                                                                                                                                                                                                  X Yes              No
                                                            Print/Type preparer's name                                   Preparer's signature                                  Date                 Check         if       PTIN
                                                           JESSICA HUSSAIN, CPA JESSICA HUSSAIN, CPA 09/12/23 self-employed                                                                                                 P01278178
Paid                                                         Firm's name

Preparer                                                      APRIO, LLP                                                                                                                           Firm's EIN     XX-XXXXXXX
Use Only                                                             2002 SUMMIT BOULEVARD, SUITE 120
                                                             Firm's address
                                                              ATLANTA, GA 30319                                                                                                                    Phone no.    (404) 892-9651
LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                 211001 12-19-22                                                                 Form 1065 (2022)
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   Form 1065 (2022)       STICKYS HOLDINGS, LLC                                                                                                 XX-XXXXXXX                  Page 2
     Schedule B           Other Information
     1       What type of entity is filing this return? Check the applicable box:                                                                                    Yes         No
         a       Domestic general partnership                                 b         Domestic limited partnership
         c   X Domestic limited liability company                             d         Domestic limited liability partnership
         e       Foreign partnership                                          f         Other
     2       At the end of the tax year:
         a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-
             exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
             loss, or capital of the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule
             B-1, Information on Partners Owning 50% or More of the Partnership                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     X
         b   Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
             the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information
             on Partners Owning 50% or More of the Partnership                                                                              X
     3       At the end of the tax year, did the partnership:
         a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
             stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions.
             If "Yes," complete (i) through (iv) below                 X
                               (i) Name of Corporation                 (ii) Employer
                                                                                     (iii) Country of (iv) Percentage
                                                                                                   Identification                                                   Owned in
                                                                                                  Number (if any)                 Incorporation                    Voting Stock




         b   Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
             or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
             interest of a trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below      X
                       (i) Name of Entity                         (ii) Employer      (iii) Type of Entity              (iv) Country of     (v) Maximum
                                                                    Identification Number                                                                      Percentage Owned in
      SEE STATEMENT 5                                                        (if any)                                              Organization                Profit, Loss, or Capital




     4       Does the partnership satisfy all four of the following conditions?                                                                                       Yes        No
         a   The partnership's total receipts for the tax year were less than $250,000.
         b   The partnership's total assets at the end of the tax year were less than $ 1 million.
         c   Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
             extensions) for the partnership return.
         d   The partnership is not filing and is not required to file Schedule M-3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                X
             If "Yes," the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065;
             or item L on Schedule K-1.
     5       Is this partnership a publicly traded partnership, as defined in section 469(k)(2)?                                                          X
     6       During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified
             so as to reduce the principal amount of the debt?                                                                             X
     7       Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
             information on any reportable transaction?                                                                                 X
     8       At any time during calendar year 2022, did the partnership have an interest in or a signature or other authority over
             a financial account in a foreign country (such as a bank account, securities account, or other financial account)?
             See instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and
             Financial Accounts (FBAR). If "Yes," enter the name of the foreign country                                                                                           X
     9       At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
             transferor to, a foreign trust? If "Yes," the partnership may have to file Form 3520, Annual Return To Report
             Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions                                                          X
   10 a      Is the partnership making, or had it previously made (and not revoked), a sec. 754 election? See instr. for details regarding a sec. 754 election ~                  X
         b   Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If "Yes,"
             attach a statement showing the computation and allocation of the basis adjustment. See instructions                                                     X
         c   Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a substantial built-in loss
             (as defined under section 743(d)) or substantial basis reduction (as defined under section 734(d))? If "Yes," attach a statement showing the
             computation and allocation of the basis adjustment. See instruction                                                                X
   211011 12-19-22                                                                      2                                                                   Form 1065 (2022)
22470912 795476 95517                                                                2022.04020 STICKYS HOLDINGS, LLC                                                  95517__1
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   Form 1065 (2022)        STICKYS HOLDINGS, LLC                                                                                   XX-XXXXXXX              Page 3
     Schedule B            Other Information (continued)
   11       Check this box if, during the current or prior tax year, the partnership distributed any property received in a                           Yes    No
            like-kind exchange or contributed such property to another entity (other than disregarded entities wholly
            owned by the partnership throughout the tax year)             
   12       At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
            undivided interest in partnership property?                                                            X
   13       If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect to Foreign
            Disregarded Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached. See
            instructions     
   14       Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's
            Information Statement of Section 1446 Withholding Tax, filed for this partnership                                                         X
   15       Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
            to this return 
   16 a     Did you make any payments in 2022 that would require you to file Form(s) 1099? See instructions ~~~~~~~~~~~~~~~                            X
        b   If "Yes," did you or will you file required Form(s) 1099?                                              X
   17       Enter the number of Forms 5471, Information Return of U.S. Persons With Respect to Certain Foreign
            Corporations, attached to this return 
   18       Enter the number of partners that are foreign governments under section 892 
   19       During the partnership's tax year, did the partnership make any payments that would require it to file Form 1042
            and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)?                                  X
   20       Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions
            for Form 8938                                                                            X
   21       Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1(b)(14)?                              X
   22       During the tax year, did the partnership pay or accrue any interest or royalty for which one or more partners are
            not allowed a deduction under section 267A? See instructions          ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           X
            If "Yes," enter the total amount of the disallowed deductions                          $
   23       Did the partnership have an election under section 163(j) for any real property trade or business or any farming
            business in effect during the tax year? See instructions                                                     X
   24       Does the partnership satisfy one or more of the following? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~                                     X
        a   The partnership owns a pass-through entity with current, or prior year carryover, excess business interest expense.
        b   The partnership's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
            preceding the current tax year are more than $27 million and the partnership has business interest expense.
        c   The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
            If "Yes" to any, complete and attach Form 8990.
   25       Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund?       ~~~~~~~~~~~~~~~~~~~~~~                                  X
            If "Yes," enter the amount from Form 8996, line 15                                 $
   26       Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
            interest in the partnership or of receiving a distribution from the partnership 
            Complete Schedule K-3 (Form 1065), Part XIII, for each foreign partner subject to section 864(c)(8) on a transfer or distribution.
   27       At any time during the tax year, were there any transfers between the partnership and its partners subject to the
            disclosure requirements of Regulations section 1.707-8?                                                       X
   28       Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties
            constituting a trade or business of your partnership, and was the ownership percentage (by vote or value) for
            purposes of section 7874 greater than 50% (for example, the partners held more than 50% of the stock of
            the foreign corporation)? If "Yes," list the ownership percentage by vote and by value. See instructions.
            Percentage:                                                      By vote                          By value                                       X
   29       Reserved for future use 
   30       Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions                              X
            If "Yes," the partnership must complete Sch. B-2 (Form 1065). Enter the total from Sch. B-2, Part III, line 3
           If "No," complete Designation of Partnership Representative below.
   Designation of Partnership Representative (see instructions)
   Enter below the information for the partnership representative (PR) for the tax year covered by this return.
   Name of PR        JONATHAN SHERMAN
                        25 FOX DEN ROAD                                                             U.S. phone
   U.S. address of PR
                        MOUNT KISCO, NY                              10549                          number of PR         917-755-1770
   If the PR is an entity, name of the designated individual for the PR
                                                                                                    U.S. phone
   U.S. address of                                                                                  number of
   designated                                                                                       designated
   individual                                                                                       individual

   211021 12-19-22                                                                                                                               Form 1065 (2022)


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   Form 1065 (2022)                      STICKYS HOLDINGS, LLC                                                                            XX-XXXXXXX            Page 4
      Schedule K                         Partners' Distributive Share Items                                                                      Total amount
                           1     Ordinary business income (loss) (page 1, line 22)    ~~~~~~~~~~~~~~~~~~~~~~~~~~                          1      -3,211,890.
                           2     Net rental real estate income (loss) (attach Form 8825)                           2
                           3 a Other gross rental income (loss) ~~~~~~~~~~~~~~~~~~~                  3a
                             b Expenses from other rental activities (attach statement) ~~~~~~~               3b
                               c Other net rental income (loss). Subtract line 3b from line 3a                      3c
                           4
                                 Guaranteed
                                 payments:      a Services   4a                19,014.          b Capital 4b
                                 c Total. Add lines 4a and 4b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       4c           19,014.
      Income (Loss)




                                                                       SEE STATEMENT 6
                           5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  5          168,957.
                           6     Dividends and dividend equivalents:       a Ordinary dividends                      6a
                                 b Qualified dividends 6b                              c Dividend equivalents 6c
                           7     Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 7
                           8     Net short-term capital gain (loss) (attach Schedule D (Form 1065)) ~~~~~~~~~~~~~~~~~~                    8
                           9 a Net long-term capital gain (loss) (attach Schedule D (Form 1065))                       9a
                             b Collectibles (28%) gain (loss) ~~~~~~~~~~~~~~~~~~~~                   9b
                             c Unrecaptured section 1250 gain (attach statement) ~~~~~~~~~           9c
                          10     Net section 1231 gain (loss) (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             10
                          11     Other income (loss) (see instructions) Type                                                             11
                          12     Section 179 deduction (attach Form 4562)       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            12
      Deductions




                                                                              SEE STATEMENT 7
                          13 a Contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                13a            1,036.
                             b Investment interest expense ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          13b
                               c Section 59(e)(2) expenditures: (1) Type                                                  (2) Amount    13c(2)
                             d Other deductions (see instructions) Type  HEALTH INSURANCE PREMIUMS                                       13d          19,014.
                                                                                                                                                       1,124.
    Employ-




                          14 a Net earnings (loss) from self-employment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   14a
     ment
     Self-




                               b Gross farming or fishing income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     14b
                               c Gross nonfarm income                                             14c          79,136.
                          15 a Low-income housing credit (section 42(j)(5)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                15a
                             b Low-income housing credit (other) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      15b
      Credits




                               c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) ~~~~~~~    15c
                               d Other rental real estate credits (see instructions) Type                                                15d
                               e Other rental credits (see instructions)             Type                                                15e
                               f Other credits (see instructions)                    Type              SEE STATEMENT 8                   15f          16,003.
                          16     Attach Schedule K-2 (Form 1065), Partners' Distributive Share Items-International, and check
      national
       Inter-




                                 this box to indicate that you are reporting items of international tax relevance   ~~~~~~~~      X

                          17a Post-1986 depreciation adjustment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        17a         -67,132.
   Minimum Tax
   (AMT) Items




                            b Adjusted gain or loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             17b
   Alternative




                               c Depletion (other than oil and gas) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   17c
                               d Oil, gas, and geothermal properties - gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                            17d
                               e Oil, gas, and geothermal properties - deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~                             17e
                               f Other AMT items (attach statement)                                     17f
                          18 a Tax-exempt interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          18a
                                                                              SEE STATEMENT 9
                             b Other tax-exempt income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            18b     1,807,694.
      Other Information




                                                                             SEE STATEMENT 10
                               c Nondeductible expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           18c        16,253.
                          19 a Distributions of cash and marketable securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               19a
                             b Distributions of other property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      19b
                          20 a Investment income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               20a         168,957.
                             b Investment expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              20b
                            c Other items and amounts (attach statement)                  STMT 11
                          21 Total foreign taxes paid or accrued                                        21
   211041 12-19-22                                                                                                                                  Form 1065 (2022)




                                                                                               4
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                  STICKYS HOLDINGS, LLC
   Form 1065 (2022)                                                                                                                                          XX-XXXXXXX             Page 5
   Analysis of Net Income (Loss) per Return
   1 Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of Schedule K, lines 12 through 13d, and 21          1       -3,043,969.
   2 Analysis by                                              (ii) Individual                (iii) Individual                                       (v) Exempt                  (vi)
                                 (i) Corporate                    (active)                       (passive)                (iv) Partnership         Organization            Nominee/Other
       partner type:
     a General partners
     b Limited partners                                                                    -511,454. -2,496,219.                                                             -36,296.

     Schedule L               Balance Sheets per Books
                                                                                      Beginning of tax year                                              End of tax year
                             Assets
                                                                                (a)                                (b)                            (c)                         (d)
     1 Cash ~~~~~~~~~~~~~~~~                                                                               1,964,844.                                                        771,895.
     2a Trade notes and accounts receivable ~                                 116,632.                                                           148,223.
      b Less allowance for bad debts ~~~~                                                                        116,632.                                                    148,223.
     3 Inventories ~~~~~~~~~~~~~                                                                                 220,617.                                                    183,148.
     4 U.S. government obligations ~~~~~
     5 Tax-exempt securities ~~~~~~~~
     6 Other current assets (attach statement) ~                 STATEMENT 12                                    673,700.                                                    448,871.
     7a Loans to partners (or persons related to partners) ~
      b Mortgage and real estate loans ~~~
     8 Other investments (attach statement) ~
     9a Buildings and other depreciable assets                          8,876,169.                                                              9,277,609.
        b Less accumulated depreciation ~~~                             3,351,025.                         5,525,144.                           4,044,590.            5,233,019.
   10a Depletable assets ~~~~~~~~~~
     b Less accumulated depletion ~~~~~
   11 Land (net of any amortization) ~~~~
   12a Intangible assets (amortizable only) ~~                        123,838.                                                                   140,254.
     b Less accumulated amortization ~~~                               32,090.                                91,748.                             52,431.                87,823.
   13 Other assets (attach statement) ~~~                        STATEMENT 13                                955,274.                                                 1,294,633.
   14 Total assets ~~~~~~~~~~~~~                                                                           9,547,959.                                                 8,167,612.
           Liabilities and Capital
   15 Accounts payable ~~~~~~~~~~                                                                          1,539,660.                                                 1,077,615.
   16    Mortgages, notes, bonds payable in less than 1 year

   17 Other current liabilities (attach statement) ~             STATEMENT 14                                    927,706.                                                    889,439.
   18 All nonrecourse loans ~~~~~~~~
   19a Loans from partners (or persons related to partners)
     b Mortgages, notes, bonds payable in 1 year or more                                                   2,544,361.                                                 2,754,809.
   20 Other liabilities (attach statement) ~~
   21 Partners' capital accounts ~~~~~~                                    4,536,232.                              3,445,749.
   22 Total liabilities and capital                                  9,547,959.                              8,167,612.
     Schedule M-1                 Reconciliation of Income (Loss) per Books With Analysis of Net Income (Loss) per Return
                                  Note: The partnership may be required to file Schedule M-3. See instructions.
    1    Net income (loss) per books ~~~~~~~                               -1,090,483. 6 Income recorded on books this year not included
    2    Income included on Schedule K, lines 1, 2, 3c,                                                       on Schedule K, lines 1 through 11 (itemize):
         5, 6a, 7, 8, 9a, 10, and 11, not recorded on books                                                 a Tax-exempt interest $
         this year (itemize):          STMT 16                                        13,797.                  STMT 18                          1,807,694.            1,807,694.
    3 Guaranteed payments (other than health                                                              7 Deductions included on Schedule K, lines 1
      insurance) ~~~~~~~~~~~~~~~~                                                                           through 13d, and 21, not charged against
    4   Expenses recorded on books this year not included on                                                  book income this year (itemize):
        Schedule K, lines 1 through 13d, and 21 (itemize):                                                  a Depreciation $
         STMT 17                                    16,253.                                                    STMT 19                            175,842.              175,842.
     a Depreciation $                                                                                     8 Add lines 6 and 7 ~~~~~~~~~~~~                            1,983,536.
     b Travel and entertainment $                16,253. 9 Income (loss) (Analysis of Net Income (Loss),
    5 Add lines 1 through 4     -1,060,433.     line 1). Subtract line 8 from line 5                                                               -3,043,969.
     Schedule M-2 Analysis of Partners' Capital Accounts
    1 Balance at beginning of year ~~~~~~~  5,678,256. 6 Distributions: a Cash ~~~~~~~~~
    2 Capital contributed: a Cash ~~~~~~~                                                                                    b Property ~~~~~~~~
                           b Property ~~~~~~                                                              7 Other decreases (itemize):
    3 Net income (loss) (see instructions) ~~~~                            -3,043,969.      STMT 21                                                  16,253.
    4 Other increases (itemize): STMT 20                                    1,807,694. 8 Add lines 6 and 7 ~~~~~~~~~~~~                              16,253.
    5 Add lines 1 through 4                                      4,441,981. 9 Balance at end of year. Subtract line 8 from line 5  4,425,728.
   211042 12-19-22                                                                   5                                                            Form 1065 (2022)
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SCHEDULE K-2                                                  Partners' Distributive Share Items - International                                                                            OMB No. 1545-0123
(Form 1065)

                                                                                                                                                                                              2022
                                                                                                 Attach to Form 1065.
Department of the Treasury
Internal Revenue Service                                            Go to www.irs.gov/Form1065 for instructions and the latest information.

Name of partnership                                                                                                                                                               Employer identification number (EIN)
STICKYS HOLDINGS, LLC                                                                                                                                                                    XX-XXXXXXX
 A       Is the partnership a withholding foreign partnership?                                                B    Is the partnership (including the home office or any branch) a qualified derivatives dealer?
            Yes        X No         If "Yes," enter your WP-EIN                                                        Yes     X No        If "Yes," enter your QI-EIN

 C       Check to indicate the parts of Schedule K-2 that apply.
                                                                                                 Yes   No                                                                                                 Yes       No
           1   Does Part I apply? If "Yes," complete and attach Part I    ~~~~~~          1            X           7     Does Part VII apply? If "Yes," complete and attach Part VII    ~~~         7               X
           2   Does Part II apply? If "Yes," complete and attach Part II ~~~~~~           2      X                 8     Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~          8               X
           3   Does Part III apply? If "Yes," complete and attach Part III ~~~~~          3            X           9     Does Part IX apply? If "Yes," complete and attach Part IX ~~~~             9               X
           4   Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~            4            X          10     Does Part X apply? If "Yes," complete and attach Part X       ~~~~       10                X
           5   Does Part V apply? If "Yes," complete and attach Part V ~~~~~~             5            X          11     Does Part XI apply? If "Yes," complete and attach Part XI ~~~~           11                X
           6   Does Part VI apply? If "Yes," complete and attach Part VI             6            X          12     Reserved for future use                             12
 Part I        Partnership's Other Current Year International Information
Check box(es) for additional specified attachments. See instructions.
     1. Gain on personal property sale                       5. High-taxed income                              8. Form 5471 information                             11. Dual consolidated loss
     2. Foreign oil and gas taxes                            6. Section 267A disallowed deduction              9. Other forms                                       12. Reserved for future use
     3. Splitter arrangements                                7. Form 8858 information                          10. Partner loan transactions                        13. Other international items
     4. Foreign tax translation                                                                                                                                          (attach description and statement)

 Part II Foreign Tax Credit Limitation
Section 1 - Gross Income
                                                                                                               Foreign Source
                                                        (a) U.S. source                                                                                                    (f) Sourced by
                      Description                                           (b) Foreign branch          (c) Passive             (d) General            (e) Other                partner                 (g) Total
                                                                             category income         category income         category income    (category code       )

  1 Sales
     A            US                                 22,090,728.                           0.                     0.                       0.                      0.                    0. 22,090,728.
     B
    C
  2 Gross income from performance of services
     A
     B
    C
  3 Gross rental real estate income
     A
     B
    C
  4 Other gross rental income
     A
     B
     C
For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                                                                                Schedule K-2 (Form 1065) 2022
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Schedule K-2 (Form 1065) 2022                                                                                                                                                     Page 2
Name of partnership                                                                                                                                    EIN
STICKYS HOLDINGS, LLC                                                                                                                                           XX-XXXXXXX
 Part II  Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                             Foreign Source
                                            (a) U.S. source                                                                                     (f) Sourced by
                   Description                                (b) Foreign branch      (c) Passive        (d) General           (e) Other             partner               (g) Total
                                                               category income     category income    category income   (category code      )

  5 Guaranteed payments          
  6 Interest income
    A             US                          168,957.                       0.                 0.                 0.                      0.                  0.         168,957.
    B
    C
  7 Ordinary dividends (exclude amount on
     line 8)
    A
    B
    C
  8 Qualified dividends
    A
    B
   C
 9 Reserved for future use 
10 Royalties and license fees
    A
    B
   C
11 Net short-term capital gain
    A
    B
   C
12 Net long-term capital gain
    A
    B
   C
13 Collectibles (28%) gain
    A
    B
   C
14 Unrecaptured section 1250 gain
    A
    B
    C
                                                                                                                                                             Schedule K-2 (Form 1065) 2022
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Schedule K-2 (Form 1065) 2022                                                                                                                                                   Page 3
Name of partnership                                                                                                                                  EIN
STICKYS HOLDINGS, LLC                                                                                                                                         XX-XXXXXXX
 Part II  Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                           Foreign Source
                                          (a) U.S. source                                                                                     (f) Sourced by
                   Description                              (b) Foreign branch      (c) Passive        (d) General           (e) Other             partner               (g) Total
                                                             category income     category income    category income   (category code      )

15 Net section 1231 gain
    A
    B
   C
16 Section 986(c) gain 
17 Section 987 gain 
18 Section 988 gain 
19 Section 951(a) inclusions
    A
    B
   C
20 Other income (see instructions)
    A             US                          10,538.                      0.                 0.                 0.                      0.                  0.           10,538.
    B
   C
21 Reserved for future use
    A
    B
   C
22 Reserved for future use
    A
    B
   C
23 Reserved for future use
    A
    B
    C
24 Total gross income (combine lines 1
   through 23)                22,270,223.                                                                                                            22,270,223.
    A             US                     22,270,223.                       0.                 0.                 0.                      0.                  0. 22,270,223.
    B
    C
                                                                                                                                                           Schedule K-2 (Form 1065) 2022




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Schedule K-2 (Form 1065) 2022                                                                                                                                                          Page 4
Name of partnership                                                                                                                                         EIN
STICKYS HOLDINGS, LLC                                                                                                                                                XX-XXXXXXX
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions
                                                                                                   Foreign Source
                                                  (a) U.S. source                                                                                    (f) Sourced by
                  Description                                       (b) Foreign branch      (c) Passive        (d) General           (e) Other            partner               (g) Total
                                                                     category income     category income    category income   (category code     )

25 Expenses allocable to sales income           24,515,602.                                                                                                             24,515,602.
26 Expenses allocable to gross income
     from performances of services 
27 Net short-term capital loss 
28 Net long-term capital loss 
29 Collectibles loss 
30 Net section 1231 loss 
31 Other losses 
32 Research & experimental (R&E) expenses
    A SIC code:                   
    B SIC code:                   
   C SIC code:                    
33 Allocable rental expenses -
     depreciation, depletion, and amortization
34 Allocable rental expenses - other than
   depreciation, depletion, and amortization
35 Allocable royalty and licensing
   expenses - depreciation, depletion,
     and amortization   
36 Allocable royalty and licensing
   expenses - other than depreciation,
     depletion, and amortization 
37 Depreciation not included on line 33
   or 35                            699,358.                                                                                                                   699,358.
38 Charitable contributions                    1,036.                                                                                                                     1,036.
39 Interest expense specifically allocable
     under Regulations section 1.861-10(e)
40 Other interest expense specifically
   allocable under Regulations section
     1.861-10T                          98,196.                                                                                                                    98,196.
41 Other interest expense - business 
42 Other interest expense - investment 
43 Other interest expense - passive activity
44 Section 59(e)(2) expenditures, excluding
     R&E expenses on line 32     
45 Foreign taxes not creditable but
   deductible 
224144 12-07-22                                                                                                                                                   Schedule K-2 (Form 1065) 2022
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Schedule K-2 (Form 1065) 2022                                                                                                                                                                                   Page 5
Name of partnership                                                                                                                                                                  EIN
STICKYS HOLDINGS, LLC                                                                                                                                                                       XX-XXXXXXX
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions (continued)
                                                                                                            Foreign Source
                                                    (a) U.S. source                                                                                                          (f) Sourced by
                   Description                                           (b) Foreign branch         (c) Passive             (d) General                (e) Other                  partner                (g) Total
                                                                          category income        category income         category income     (category code            )

46 Section 986(c) loss 
47 Section 987 loss 
48 Section 988 loss 
49 Other allocable deductions (see
      instructions) 
50 Other apportioned share of
   deductions (see instructions)      
51 Reserved for future use 
52 Reserved for future use 
53 Reserved for future use 
54 Total deductions (combine lines 25
      through 53)                    25,314,192.                                                                                                                                       25,314,192.
55 Net income (loss) (subtract line 54
   from line 24)        -3,043,969.                                                                                                                                                    -3,043,969.
 Part III Other Information for Preparation of Form 1116 or 1118
 Section 1 - R&E Expenses Apportionment Factors
                                                                                                    Foreign Source
                                                                                                                                              (e) Other                    (f) Sourced by
           Description                 (a) U.S. source        (b) Foreign branch          (c) Passive              (d) General                                                  partner                 (g) Total
                                                               category income         category income          category income       (category code               )

                                                                                                                                      (country code                )

  1 Gross receipts by SIC code
    A SIC code:
      B   SIC code:
      C   SIC code:
      E   SIC code:
      E   SIC code:
      F   SIC code:
  2       Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
      A   R&E expense with respect to activity performed in the United States
            (i) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(i)
           (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(ii)
          (iii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(iii)
      B   R&E expense with respect to activity performed outside the United States
            (i) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(i)
           (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(ii)
          (iii) SIC code:                                                                                                 2B(iiI)
224145 12-07-22                                                                                                                                                                            Schedule K-2 (Form 1065) 2022
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                                      Statement for Revenue Procedure 2021-48

   Taxpayer's Name    STICKYS HOLDINGS, LLC
   Taxpayer's Address 24 E 23RD STREET
                      NEW YORK, NY 10010
   Taxpayer's SSN/EIN XX-XXXXXXX


   The taxpayer is applying the following sections of Revenue Procedure 2021-48 of tax year   2022   :
   SECTION 3.01(3)

                                                                                                                             Was the loan
                                                                                                                              forgiven as
                                                                                                                             of the date of
   Year of                                                                                                                   the return is
    Loan                                            Description                                          Tax-Exempt Income        filed?

  2021 PPP LOAN FORGIVENESS                                                                                 1,807,694.            Y




   203801 04-01-22


                                                                         11
22470912 795476 95517                                                 2022.04020 STICKYS HOLDINGS, LLC                           95517__1
                                         Case 24-10856-JKS               Doc 1    Filed 04/25/24          Page 50 of 733

   Form          1125-A                                             Cost of Goods Sold
   (Rev. November 2018)                                | Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.                                OMB No. 1545-0123
   Department of the Treasury                         | Go to www.irs.gov/Form1125A for the latest information.
   Internal Revenue Service
   Name                                                                                                                             Employer Identification number

            STICKYS HOLDINGS, LLC                                                                                                      XX-XXXXXXX
   1     Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1              220,617.
   2     Purchases       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   2            7,824,746.
   3     Cost of labor       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                3
   4     Additional section 263A costs (attach schedule)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 4
   5     Other costs (attach schedule)     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         5
   6     Total. Add lines 1 through 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              6                8,045,363.
   7     Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               7                  183,148.
   8     Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
         appropriate line of your tax return. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              8                7,862,215.
   9 a Check all methods used for valuing closing inventory:
         (i)          Cost
         (ii)     X Lower of cost or market
         (iii)        Other (Specify method used and attach explanation) |


       b Check if there was a writedown of subnormal goods ~~~~~~~~~~~~~~~~~~~~~~~                                                     |
       c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) ~~~~~~~~~~~~~~~~~~~~ |
       d If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
         under LIFO ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               9d
       e If property is produced or acquired for resale, do the rules of Section 263A apply to the entity? See instructions ~~~~~~~~~~~~~~             Yes X No
       f Was there any change in determining quantities, cost, or valuations between opening and closing inventory? ~~~~~~~~~~~~~~~                    Yes X No
         If "Yes," attach explanation.


   For Paperwork Reduction Act Notice, see separate instructions.                                                                   Form 1125-A (Rev. 11-2018)




   224441
   04-01-22         LHA
                                                                                12
22470912 795476 95517                                                        2022.04020 STICKYS HOLDINGS, LLC                                             95517__1
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              4562                                                     Depreciation and Amortization                                                                                         OMB No. 1545-0172

   Form


   Department of the Treasury
                                                                           (Including Information on Listed Property)
                                                                                            Attach to your tax return.
                                                                                                                                                          OTHER                       1
                                                                                                                                                                                               2022
                                                                                                                                                                                               Attachment
   Internal Revenue Service                              Go to www.irs.gov/Form4562 for instructions and the latest information.                                                               Sequence No. 179
   Name(s) shown on return                                                                                             Business or activity to which this form relates                      Identifying number



   STICKYS HOLDINGS, LLC                                                                                                                                   XX-XXXXXXX
    Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
    1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            1  1,080,000.
    2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                      2    333,529.
    3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                       3  2,700,000.
    4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                               4          0.
    5 Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions  5  1,080,000.
    6                                        (a) Description of property                                       (b) Cost (business use only)              (c) Elected cost




    7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
    8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                       8
    9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                   9
   10 Carryover of disallowed deduction from line 13 of your 2021 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                               10                 114,680.
   11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                11                       0.
   12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                        12
   13 Carryover of disallowed deduction to 2023. Add lines 9 and 10, less line 12                                                   13                  114,680.
   Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
    Part II             Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
   14 Special depreciation allowance for qualified property (other than listed property) placed in service during
      the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                           14
   15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                         15
   16 Other depreciation (including ACRS)                                                                                                 16
    Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                   Section A
   17 MACRS deductions for assets placed in service in tax years beginning before 2022                                                                           17                 618,525.
   18                                                                                                        
            If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                      Section B - Assets Placed in Service During 2022 Tax Year Using the General Depreciation System
                                                                           (b) Month and        (c) Basis for depreciation
                      (a) Classification of property                        year placed        (business/investment use            (d) Recovery      (e) Convention      (f) Method       (g) Depreciation deduction
                                                                              in service         only - see instructions)              period


   19a           3-year property
        b        5-year property                                                                       333,529. 5                                         HY          200DB                          66,706.
        c        7-year property
        d        10-year property
        e        15-year property                                                                      272,515. 15                                        HY          SL                             14,127.
        f        20-year property
        g        25-year property                                                                                                   25 yrs.                                 S/L
                                                                                  /                                                27.5 yrs.              MM                S/L
        h        Residential rental property
                                                                                  /                                                27.5 yrs.              MM                S/L
                                                                                  /                                                 39 yrs.               MM                S/L
        i        Nonresidential real property
                                                                  /                                                 MM         S/L
                                    Section C - Assets Placed in Service During 2022 Tax Year Using the Alternative Depreciation System
   20a           Class life                                                                                                                                                 S/L
     b           12-year                                                                                                             12 yrs.                                S/L
     c           30-year                                                          /                                                  30 yrs.              MM                S/L
     d           40-year                                                          /                                                  40 yrs.              MM                S/L
    Part IV             Summary (See instructions.)
   21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            21
   22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
            Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                        22                 699,358.
   23 For assets shown above and placed in service during the current year, enter the
      portion of the basis attributable to section 263A costs                                                            23
   216251 12-08-22         LHA For Paperwork Reduction Act Notice, see separate13
                                                                               instructions.                                                                                                    Form 4562 (2022)
22470912 795476 95517                                                                               2022.04020 STICKYS HOLDINGS, LLC                                                                       95517__1
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   Form 4562 (2022)                 STICKYS HOLDINGS, LLC                                                                XX-XXXXXXX                                                  Page 2
    Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
               entertainment, recreation, or amusement.)
               Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
               24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                  Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles. )
   24a Do you have evidence to support the business/investment use claimed?                 Yes              No 24b If "Yes," is the evidence written?                      Yes        No
                 (a)                 (b)              (c)                (d)                         (e)             (f)          (g)             (h)                              (i)
         Type of property            Date          Business/                               Basis for depreciation
                                                                                                                  Recovery     Method/       Depreciation                      Elected
                                  placed in       investment           Cost or
        (list vehicles first)                                       other basis
                                                                                           (business/investment
                                                                                                                   period    Convention       deduction                      section 179
                                   service      use percentage                                    use only)
                                                                                                                                                                                 cost
   25 Special depreciation allowance for qualified listed property placed in service during the tax year and
      used more than 50% in a qualified business use                                                        25



                                         ! !
   26 Property used more than 50% in a qualified business use:



                                         ! !
                                                             %



                                         ! !
                                                             %
                                                             %



                                         ! !
   27 Property used 50% or less in a qualified business use:



                                         ! !
                                                             %                                                             S/L -



                                         ! !
                                                             %                                                             S/L -
                                                             %                                                             S/L -
   28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28
   29 Add amounts in column (i), line 26. Enter here and on line 7, page 1                                                               29
                                                            Section B - Information on Use of Vehicles
   Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
   to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                         (a)                 (b)               (c)               (d)                        (e)                     (f)
   30 Total business/investment miles driven during the                Vehicle             Vehicle           Vehicle           Vehicle                    Vehicle                 Vehicle
      year (don't include commuting miles) ~~~~~~~
   31 Total commuting miles driven during the year ~
   32 Total other personal (noncommuting) miles
       driven~~~~~~~~~~~~~~~~~~~~~
   33 Total miles driven during the year.
      Add lines 30 through 32 ~~~~~~~~~~~~
   34 Was the vehicle available for personal use                  Yes          No       Yes         No     Yes     No       Yes        No          Yes          No          Yes         No
      during off-duty hours? ~~~~~~~~~~~~
   35 Was the vehicle used primarily by a more
      than 5% owner or related person? ~~~~~~
   36 Is another vehicle available for personal
      use? 
                               Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
   Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
   more than 5% owners or related persons.
   37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                                   Yes        No
      employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
      employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
   39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   40 Do you provide more than five vehicles to your employees, obtain information from your employees about
       the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
      Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
    Part VI Amortization
                         (a)                               (b)                (c)                    (d)         (e)                                                        (f)
                      Description of costs                Date amortization           Amortizable                 Code                 Amortization                  Amortization
                                                               begins                  amount                    section           period or percentage              for this year




                                                               ! !
   42 Amortization of costs that begins during your 2022 tax year:
   STICKYS HOLDINGS-SOFTWARE 120522                                                        2,592.             197                     36                                       72.

                                                               ! !
   STICKYS HOLDINGS-SOFTWARE 120622                                                       13,824.             197                     36                                      384.
   43 Amortization of costs that began before your 2022 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       43                       19,884.
   44 Total. Add amounts in column (f). See the instructions for where to report                                               44                       20,340.
   216252 12-08-22                                                                                                                                                       Form 4562 (2022)
                                                                                       14
22470912 795476 95517                                                               2022.04020 STICKYS HOLDINGS, LLC                                                               95517__1
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                                                                                                                                                                 OMB No. 1545-0184
                                                                 Sales of Business Property
Form       4797                           (Also Involuntary Conversions and Recapture Amounts Under Sections 179 and 280F(b)(2))
                                                                                                                                                                  2022
Department of the Treasury                                                Attach to your tax return.
                                                                                                                                                                 Attachment
Internal Revenue Service                            Go to www.irs.gov/Form4797 for instructions and the latest information.                                      Sequence No.   27
Name(s) shown on return                                                                                                              Identifying number


      STICKYS HOLDINGS, LLC                                                                                                           XX-XXXXXXX
 1a Enter the gross proceeds from sales or exchanges reported to you for 2022 on Form(s) 1099-B or 1099-S
    (or substitute statement) that you are including on line 2, 10, or 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1a
     b Enter the total amount of gain that you are including on lines 2, 10, and 24 due to the partial dispositions of
       MACRS assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            1b
     c Enter the total amount of loss that you are including on lines 2 and 10 due to the partial dispositions of MACRS
       assets                                                                               1c
  Part I          Sales or Exchanges of Property Used in a Trade or Business and Involuntary Conversions From Other
                  Than Casualty or Theft - Most Property Held More Than 1 Year (see instructions)
                                                                                                               (e) Depreciation        (f) Cost or other            (g) Gain or (loss)
 2                                                 (b) Date          (c) Date            (d) Gross                                       basis, plus                 Subtract (f) from
                  (a) Description of                 acquired            sold              sales price
                                                                                                            allowed or allowable      improvements and            the sum of (d) and (e)
                      property                     (mo., day, yr.)   (mo., day, yr.)                          since acquisition        expense of sale




 3      Gain, if any, from Form 4684, line 39 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   3
 4      Section 1231 gain from installment sales from Form 6252, line 26 or 37           ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        4
 5      Section 1231 gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    5
 6      Gain, if any, from line 32, from other than casualty or theft       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               6
 7      Combine lines 2 through 6. Enter the gain or (loss) here and on the appropriate line as follows      ~~~~~~~~~~~~~~~~~                              7
        Partnerships and S corporations. Report the gain or (loss) following the instructions for Form 1065, Schedule K,
        line 10, or Form 1120-S, Schedule K, line 9. Skip lines 8, 9, 11, and 12 below.
        Individuals, partners, S corporation shareholders, and all others. If line 7 is zero or a loss, enter the amount
        from line 7 on line 11 below and skip lines 8 and 9. If line 7 is a gain and you didn't have any prior year section
        1231 losses, or they were recaptured in an earlier year, enter the gain from line 7 as a long-term capital gain on
        the Schedule D filed with your return and skip lines 8, 9, 11, and 12 below.

 8      Nonrecaptured net section 1231 losses from prior years. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                8
 9      Subtract line 8 from line 7. If zero or less, enter -0-. If line 9 is zero, enter the gain from line 7 on line 12 below. If
        line 9 is more than zero, enter the amount from line 8 on line 12 below and enter the gain from line 9 as a long-term
        capital gain on the Schedule D filed with your return. See instructions                                                 9

  Part II         Ordinary Gains and Losses (see instructions)
10       Ordinary gains and losses not included on lines 11 through 16 (include property held 1 year or less):
PARTIAL DISPOSITION - LHI
                    123121041522                                                        168,000.                    5,793.              168,000.                         5,793.


11      Loss, if any, from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        11 (                            )
12      Gain, if any, from line 7 or amount from line 8, if applicable ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   12
13      Gain, if any, from line 31 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        13
14      Net gain or (loss) from Form 4684, lines 31 and 38a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           14
15      Ordinary gain from installment sales from Form 6252, line 25 or 36             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       15
16      Ordinary gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     16
17      Combine lines 10 through 16 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         17            5,793.
18      For all except individual returns, enter the amount from line 17 on the appropriate line of your return and skip lines
        a and b below. For individual returns, complete lines a and b below.
     a If the loss on line 11 includes a loss from Form 4684, line 35, column (b)(ii), enter that part of the loss here. Enter the
       loss from income-producing property on Schedule A (Form 1040), line 16. (Do not include any loss on property used
        as an employee.) Identify as from "Form 4797, line 18a." See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              18a
     b Redetermine the gain or (loss) on line 17 excluding the loss, if any, on line 18a. Enter here and on Schedule 1
       (Form 1040), Part I, line 4                                                                          18b
 LHA       For Paperwork Reduction Act Notice, see separate instructions.                                                                                          Form 4797 (2022)
218001
12-14-22
STICKYS HOLDINGS,
              CaseLLC
                   24-10856-JKS                                            Doc 1        Filed 04/25/24               Page 54 of 733                        XX-XXXXXXX
Form 4797 (2022)                                                                                                                                                           Page 2
  Part III         Gain From Disposition of Property Under Sections 1245, 1250, 1252, 1254, and 1255 (see instructions)
                                                                                                                                              (b) Date acquired     (c) Date sold
                                                                                                                                               (mo., day, yr.)      (mo., day, yr.)
 19 (a) Description of section 1245, 1250, 1252, 1254, or 1255 property:
   A
   B
   C
   D
        These columns relate to the properties on
        lines 19A through 19D.                                                  Property A               Property B             Property C                   Property D
 20     Gross sales price (Note: See line 1a before completing.)     20
 21     Cost or other basis plus expense of sale ~~~~~~              21
 22     Depreciation (or depletion) allowed or allowable ~~~         22
 23     Adjusted basis. Subtract line 22 from line 21 ~~~~           23


 24     Total gain. Subtract line 23 from line 20              24
 25     If section 1245 property:
      a Depreciation allowed or allowable from line 22 ~~~           25a
   b Enter the smaller of line 24 or 25a                     25b
 26 If section 1250 property: If straight line depreciation
        was used, enter -0- on line 26g, except for a corporation
        subject to section 291.
      a Additional depreciation after 1975 ~~~~~~~~~                 26a
      b Applicable percentage multiplied by the smaller of
        line 24 or line 26a   ~~~~~~~~~~~~~~~                        26b
      c Subtract line 26a from line 24. If residential rental
        property or line 24 isn't more than line 26a, skip lines
        26d and 26e ~~~~~~~~~~~~~~~~~~                               26c
      d Additional depreciation after 1969 and before 1976 ~         26d
      e Enter the smaller of line 26c or 26d ~~~~~~~~                26e
      f Section 291 amount (corporations only) ~~~~~~                26f
      g Add lines 26b, 26e, and 26f                       26g
 27     If section 1252 property: Skip this section if you didn't
        dispose of farmland or if this form is being completed for
        a partnership.
      a Soil, water, and land clearing expenses ~~~~~~               27a
      b Line 27a multiplied by applicable percentage ~~~~            27b
      c Enter the smaller of line 24 or 27b                  27c
 28     If section 1254 property:
      a Intangible drilling and development costs, expenditures
        for development of mines and other natural deposits,
        mining exploration costs, and depletion ~~~~~~               28a
      b Enter the smaller of line 24 or 28a                  28b
 29     If section 1255 property:
      a Applicable percentage of payments excluded from
        income under section 126 ~~~~~~~~~~~~                        29a
  b Enter the smaller of line 24 or 29a   29b
Summary of Part III Gains. Complete property columns A through D through line 29b before going to line 30.

 30     Total gains for all properties. Add property columns A through D, line 24 ~~~~~~~~~~~~~~~~~~~~~~~~~                                     30


 31     Add property columns A through D, lines 25b, 26g, 27c, 28b, and 29b. Enter here and on line 13      ~~~~~~~~~~~~~~                      31
 32     Subtract line 31 from line 30. Enter the portion from casualty or theft on Form 4684, line 33. Enter the portion
        from other than casualty or theft on Form 4797, line 6                                                 32
  Part IV          Recapture Amounts Under Sections 179 and 280F(b)(2) When Business Use Drops to 50% or Less
                   (see instructions)
                                                                                                                                (a) Section                  (b) Section
                                                                                                                                    179                       280F(b)(2)
 33     Section 179 expense deduction or depreciation allowable in prior years     ~~~~~~~~~~~~~~                          33
 34     Recomputed depreciation. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              34
 35     Recapture amount. Subtract line 34 from line 33. See the instructions for where to report                    35
218002
12-14-22                                                                                                                                                         Form 4797 (2022)
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             8846
                                              Credit for Employer Social Security and Medicare Taxes                                      OMB No. 1545-0123


                                                                                                                                            2022
   Form                                                    Paid on Certain Employee Tips
                                                                            Attach to your tax return.
   Department of the Treasury                                                                                                              Attachment
   Internal Revenue Service                                 Go to www.irs.gov/Form8846 for the latest information.                         Sequence No. 846
   Name(s) shown on return                                                                                                          Identifying number

   STICKYS HOLDINGS, LLC                                                                                                                XX-XXXXXXX
   Note: Claim this credit only for employer social security and Medicare taxes paid by a food or beverage employer where tipping is customary for
   providing food or beverages. See the instructions for line 1.


     1    Tips received by employees for services on which you paid or incurred employer social security and Medicare taxes
          during the tax year (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             1            209,185.

     2    Tips not subject to the credit provisions (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                2
     3    Creditable tips. Subtract line 2 from line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         3            209,185.
     4    Multiply line 3 by 7.65% (0.0765). If you had any tipped employees whose wages (including tips) exceeded
          $147,000, see instructions and check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 4              16,003.
     5    Credit for employer social security and Medicare taxes paid on certain employee tips from partnerships
          and S corporations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         5
     6    Add lines 4 and 5. Partnerships and S corporations, report this amount on Schedule K. All others, report this amount on
          Form 3800, Part III, line 4f                                                   6              16,003.
   LHA For Paperwork Reduction Act Notice, see instructions.                                                                                     Form 8846 (2022)




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                                            Limitation on Business Interest Expense
   Form   8990
   (Rev. December 2022)
                                                      Under Section 163(j)                                                             OMB No. 1545-0123
                                                                       Attach to your tax return.
   Department of the Treasury
   Internal Revenue Service           Go to www.irs.gov/Form8990 for instructions and the latest information.
   Taxpayer name(s) shown on tax return                                                                                   Identification number
          STICKYS HOLDINGS, LLC                                                                                              XX-XXXXXXX
      A     If Form 8990 relates to an information return for a foreign entity (for example, Form 5471), enter:
                 Name of foreign entity
                 Employer identification number, if any
                 Reference ID number
      B     Is the foreign entity a CFC group member? See instructions       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              Yes         No
      C     Is this Form 8990 filed by the specified group parent for an entire CFC group? See instructions ~~~~~~~~~~~~                Yes         No
      D     Has a CFC or a CFC group made a safe harbor election? If yes, see instructions for which lines of Form 8990
            to complete                                                            Yes         No
    Part I        Computation of Allowable Business Interest Expense
    Part I is completed by all taxpayers subject to section 163(j). Schedule A and Schedule B need to be completed before Part I when the
    taxpayer is a partner or shareholder of a pass-through entity subject to section 163(j).

   Section I - Business Interest Expense
      1      Current year business interest expense (not including floor plan
             financing interest expense), before the section 163(j) limitation ~~~~~~~               1             98,198.
      2      Disallowed business interest expense carryforwards from prior
             years. (Does not apply to a partnership) ~~~~~~~~~~~~~~~~~~                             2
      3      Partner's excess business interest expense treated as paid or
             accrued in current year (Schedule A, line 44, column (h)) ~~~~~~~~~~                    3
      4      Floor plan financing interest expense. See instructions     ~~~~~~~~~~
                                                                               4
      5      Total business interest expense. Add lines 1 through 4                                  5              98,198.
   Section II - Adjusted Taxable Income

                                                                          Tentative Taxable Income

      6      Tentative taxable income. See instructions                                        6      -3,062,983.

                                    Additions (adjustments to be made if amounts are taken into account on line 6)

      7      Any item of loss or deduction that is not properly allocable to a trade or
             business of the taxpayer. See instructions    ~~~~~~~~~~~~~~~~                          7
      8      Any business interest expense not from a pass-through entity. See instr.        ~       8             98,198.
      9      Amount of any net operating loss deduction under section 172        ~~~~~~              9
    10       Amount of any qualified business income deduction allowed under
             section 199A ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           10
    11       Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~                                     11
    12       Amount of any loss or deduction items from a pass-through entity.
             See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         12
    13       Other additions. See instructions ~~~~~~~~~~~~~~~~~~~~~                                13
    14       Total current year partner's excess taxable income (Schedule A, line
             44, column (f)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         14
    15       Total current year S corporation shareholder's excess taxable
             income (Schedule B, line 46, column (c))     ~~~~~~~~~~~~~~~~~                         15
    16       Total. Add lines 7 through 15                                             16             98,198.

                                    Reductions (adjustments to be made if amounts are taken into account on line 6)

    17       Any item of income or gain that is not properly allocable to a trade
             or business of the taxpayer. See instructions ~~~~~~~~~~~~~~~                          17 (                  )
    18       Any business interest income not from a pass-through entity. See instructions          18 (          168,957.)
    19       Amount of any income or gain items from a pass-through entity.
             See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         19 (                  )
    20       Other reductions. See instructions   ~~~~~~~~~~~~~~~~~~~~                              20 (                  )
    21       Total. Combine lines 17 through 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          21 (          168,957.)
    22       Adjusted taxable income. Combine lines 6, 16, and 21. See instructions                          22
   LHA For Paperwork Reduction Act Notice, see the instructions.                          223211 01-25-23                       Form 8990 (Rev. 12-2022)
                                                                                18
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   Form 8990 (Rev. 12-2022)                                                                                                                              Page 2

   Section III - Business Interest Income
    23      Current year business interest income. See instructions ~~~~~~~~~~                  23            168,957.
    24      Excess business interest income from pass-through entities (total of
            Schedule A, line 44, column (g), and Schedule B, line 46, column (d)) ~~~~          24
    25      Total. Add lines 23 and 24                                                    25           168,957.
   Section IV - Section 163(j) Limitation Calculations

                                                         Limitation on Business Interest Expense

    26      Multiply the adjusted taxable income from line 22 by the applicable
            percentage. See instructions ~~~~~~~~~~~~~~~~~~~~~~~                                26
    27      Business interest income (line 25) ~~~~~~~~~~~~~~~~~~~~~                            27            168,957.
    28      Floor plan financing interest expense (line 4) ~~~~~~~~~~~~~~~~                     28
    29      Total. Add lines 26, 27, and 28                                                 29           168,957.

                                                           Allowable Business Interest Expense

    30      Total current year business interest expense deduction. See instructions                              30             98,198.

                                                                         Carryforward

    31      Disallowed business interest expense. Subtract line 29 from line 5. (If zero or less, enter -0-.)              31
    Part II     Partnership Pass-Through Items
    Part II is only completed by a partnership that is subject to section 163(j). The partnership items below are allocated to the partners
    and are not carried forward by the partnership. See the instructions for more information.

                                                             Excess Business Interest Expense

    32      Excess business interest expense. Enter amount from line 31                                     32

                                  Excess Taxable Income (If you entered an amount on line 32, skip lines 33 through 37.)

    33      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      33
    34      Subtract line 33 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              34
    35      Divide line 34 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              35
    36      Excess taxable income. Multiply line 35 by line 22                                        36

                                                             Excess Business Interest Income

    37      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
            less, enter -0-.)                                                       37             70,759.
    Part III S Corporation Pass-Through Items
    Part III is only completed by S corporations that are subject to section 163(j). The S corporation items below are allocated to the shareholders.
    See the instructions for more information.

                                                                   Excess Taxable Income

    38      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      38
    39      Subtract line 38 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              39
    40      Divide line 39 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              40
    41      Excess taxable income. Multiply line 40 by line 22                                        41

                                                             Excess Business Interest Income

    42      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
            less, enter -0-.)                                                       42
                                                                                                                                    Form 8990 (Rev. 12-2022)




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STICKYS HOLDINGS, LLC                      Business Interest Expense                                                                         XX-XXXXXXX
                                                             Prior Disallowed    Business Interest   Business Interest   Limited Business      Disallowed
                             Description                     Business Interest                                                              Business Interest
                                                                                     Expense          Expense Ratio      Interest Expense
                                                                 Expense                                                                        Expense

                                                                                         98,198.          1.000000              98,198.




Total ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    98,198.          1.000000              98,198.                   0.

                                                                                                                                                 223301 04-01-22


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   Determination of Each Partner's Deductible Business Interest Expense
   and Section 163(j) Excess Items - Worksheet A                                                                      Keep for Your Records


    Before you begin:      u Complete Form 8990 before beginning this worksheet.
                           u This worksheet provides space for up to three partners. If there are more than three partners, use more than
                              one worksheet. The total column should reconcile to amounts for all partners.
                                                                                 Partner 1          Partner 2             Partner 3            Total
    Step 1: Partnership - level calculation required by section 163(j)(4)(A).
     1. Partnership's Adjusted Taxable Income (ATI) (Form 8990, line 22)                                                                            0.
     2. Partnership's business interest income (Form 8990, line 25) ~                                                                         168,957.
     3. Partnership's business interest expense (Form 8990, subtract
        line 4 from line 5) ~~~~~~~~~~~~~~~~~~~~~~                                                                                             98,198.
     4. Partnership's deductible business interest expense (Form 8990,
        subtract line 4 from line 30) ~~~~~~~~~~~~~~~~~                                                                                        98,198.
     5. Partnership's excess business interest expense (Form 8990, line 32) ~                                                                       0.
     6. Partnership's excess taxable income (Form 8990, line 36) ~~                                                                                 0.
     7. Partnership's excess business interest income (Form 8990, line 37)                                                                    70,759.
    Step 2: Determine each partner's section 163(j) items.
     8. Partner's allocable ATI. See instructions ~~~~~~~~~~~                            0.                     0.               0.                 0.
     9. Partner's allocable business interest income. See instructions                 185.                   939.           6,843.           168,957.
    10. Partner's allocable business interest expense. See instructions                107.                   546.           3,977.            98,198.
    Step 3: Partner - level comparison of business interest income and business interest expense.
    11. Subtract line 10 from line 9. (If zero or less, enter -0-.) ~~~~~                78.                  393.           2,866.            70,759.
    12. Subtract line 9 from line 10. (If zero or less, enter -0-.)                  0.                    0.               0.                 0.
    Step 4: Matching partnership and aggregate partner excess business interest income.
    13. Divide line 11 by the line 11 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                               .11 %                  .56 %            4.05 %         100.00 %
    14. Multiply line 13 by the line 12 total column amount ~~~~~~                                                                                 0.
    15. Subtract line 14 from line 11. (If zero or less, enter -0-.)                 78.                  393.           2,866.           70,759.
    Step 5: Remaining business interest expense determination.
    16. Divide line 12 by the line 12 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                  %                     %           .00 %
    17. Multiply line 16 by the line 11 total column amount ~~~~~~                                                                                   0.
    18. Subtract line 17 from line 12. (If zero or less, enter -0-.)                                                                             0.
    Step 6: Determination of final allocable ATI.
    19. If line 8 is greater than or equal to $0, enter the amount from
        line 8. Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~                                      0.                 0.                    0.               0.
    20. If line 8 is less than $0, enter the absolute value of line 8.
        Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~~~~                                           0.                 0.                    0.               0.
    21. Divide line 19 by the line 19 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                  %                     %           .00 %
    22. Multiply line 21 by the line 20 total column amount ~~~~~~                                                                                   0.
    23. Subtract line 22 from line 19. (If zero or less, enter -0-.)                                                                             0.
    Step 7: Partner - level comparison of the applicable percentage of ATI and remaining business interest expense.
    24. Multiply line 23 by the applicable percentage (defined earlier) ~                                                                              0.
    25. Subtract line 18 from line 24. (If zero or less, enter -0-.) ~~~~                                                                              0.
    26. Subtract line 24 from line 18. (If zero or less, enter -0-.)                                                                               0.




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   Determination of Each Partner's Deductible Business Interest Expense
   and Section 163(j) Excess Items - Worksheet A - Continued                                                           Keep for Your Records


                                                                                       Partner 1       Partner 2           Partner 3           Total
    Step 8: Partner priority right to ATI capacity excess determination.
    27a. Is the line 5 total column amount greater than zero?            Yes X No
    27b. Is the line 20 total column amount greater than zero?           Yes X No
    27c. Is the line 26 total column amount greater than zero?           Yes X No
    27d. Are lines 27(a), 27(b), and 27(c) all "Yes"? ~~          Yes X No
    28.    If line 27d is "No," enter the amount from line 25. Otherwise,
           complete Worksheet B ~~~~~~~~~~~~~~~~~~~                                                                                                    0.
    29.    If line 27d is "No," enter the amount from line 26. Otherwise,
           complete Worksheet B         ~~~~~~~~~~~~~~~~~~                                                                                             0.
    30.    If line 27d is "No," enter -0-. Otherwise, complete
           Worksheet B                                                                                                          0.
    Step 9: Matching partnership and aggregate partner excess taxable income.
    31.    Divide line 28 by the line 28 total column amount. (If the total
           column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %                   %           .00 %
    32.    Multiply line 31 by the line 29 total column amount ~~~~~                                                                                 0.
    33.    Subtract line 32 from line 28. (If zero or less, enter -0-.)                                                                           0.
    Step 10: Match partnership and aggregate partner excess business interest expense.
    34.    Divide line 29 by the line 29 total column amount. (If the total
           column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %                   %           .00 %
    35.    Multiply line 34 by the line 28 total column amount ~~~~~                                                                                 0.
    36.    If line 30 is greater than zero, enter the amount from line 30.
           Otherwise, subtract line 35 from line 29. (If zero or less, enter -0-.)                                                                    0.
    Step 11: Final section 163(j) excess item and deductible business interest expense allocation.
    37.    Partner's deductible business interest expense. Subtract line
           36 from line 10 ~~~~~~~~~~~~~~~~~~~~~~~                                           107.            546.             3,977.           98,198.
    38.    Partner's excess business interest expense. Enter the amount
           from line 36 ~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                       0.
    39.    Partner's excess taxable income. Multiply line 33 by (10/3) ~                                                                               0.
    40.    Partner's excess business interest income. Enter the amount
           from line 15                                               78.            393.             2,866.           70,759.




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   Determination of Each Partner's Deductible Business Interest Expense
   and Section 163(j) Excess Items - Worksheet A                                                                     Keep for Your Records


    Before you begin:      u Complete Form 8990 before beginning this worksheet.
                           u This worksheet provides space for up to three partners. If there are more than three partners, use more than
                              one worksheet. The total column should reconcile to amounts for all partners.
                                                                                 Partner 1          Partner 2            Partner 3            Total
    Step 1: Partnership - level calculation required by section 163(j)(4)(A).
     1. Partnership's Adjusted Taxable Income (ATI) (Form 8990, line 22)                                                                           0.
     2. Partnership's business interest income (Form 8990, line 25) ~                                                                        168,957.
     3. Partnership's business interest expense (Form 8990, subtract
        line 4 from line 5) ~~~~~~~~~~~~~~~~~~~~~~                                                                                            98,198.
     4. Partnership's deductible business interest expense (Form 8990,
        subtract line 4 from line 30) ~~~~~~~~~~~~~~~~~                                                                                       98,198.
     5. Partnership's excess business interest expense (Form 8990, line 32) ~                                                                      0.
     6. Partnership's excess taxable income (Form 8990, line 36) ~~                                                                                0.
     7. Partnership's excess business interest income (Form 8990, line 37)                                                                   70,759.
    Step 2: Determine each partner's section 163(j) items.
     8. Partner's allocable ATI. See instructions ~~~~~~~~~~~                          0.                  0.                    0.                0.
     9. Partner's allocable business interest income. See instructions             3,713.              4,281.                  971.          168,957.
    10. Partner's allocable business interest expense. See instructions            2,158.              2,489.                  564.           98,198.
    Step 3: Partner - level comparison of business interest income and business interest expense.
    11. Subtract line 10 from line 9. (If zero or less, enter -0-.) ~~~~~          1,555.              1,792.                  407.           70,759.
    12. Subtract line 9 from line 10. (If zero or less, enter -0-.)               0.                  0.                    0.                0.
    Step 4: Matching partnership and aggregate partner excess business interest income.
    13. Divide line 11 by the line 11 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                             2.20 %              2.53 %                .58 %         100.00 %
    14. Multiply line 13 by the line 12 total column amount ~~~~~~                                                                                0.
    15. Subtract line 14 from line 11. (If zero or less, enter -0-.)           1,555.              1,792.                  407.          70,759.
    Step 5: Remaining business interest expense determination.
    16. Divide line 12 by the line 12 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                  %                    %           .00 %
    17. Multiply line 16 by the line 11 total column amount ~~~~~~                                                                                  0.
    18. Subtract line 17 from line 12. (If zero or less, enter -0-.)                                                                            0.
    Step 6: Determination of final allocable ATI.
    19. If line 8 is greater than or equal to $0, enter the amount from
        line 8. Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~                                      0.                 0.                   0.               0.
    20. If line 8 is less than $0, enter the absolute value of line 8.
        Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~~~~                                           0.                 0.                   0.               0.
    21. Divide line 19 by the line 19 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                  %                    %           .00 %
    22. Multiply line 21 by the line 20 total column amount ~~~~~~                                                                                  0.
    23. Subtract line 22 from line 19. (If zero or less, enter -0-.)                                                                            0.
    Step 7: Partner - level comparison of the applicable percentage of ATI and remaining business interest expense.
    24. Multiply line 23 by the applicable percentage (defined earlier) ~                                                                             0.
    25. Subtract line 18 from line 24. (If zero or less, enter -0-.) ~~~~                                                                             0.
    26. Subtract line 24 from line 18. (If zero or less, enter -0-.)                                                                              0.




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   Determination of Each Partner's Deductible Business Interest Expense
   and Section 163(j) Excess Items - Worksheet A - Continued                                                           Keep for Your Records


                                                                                       Partner 1       Partner 2           Partner 3           Total
    Step 8: Partner priority right to ATI capacity excess determination.
    27a. Is the line 5 total column amount greater than zero?            Yes X No
    27b. Is the line 20 total column amount greater than zero?           Yes X No
    27c. Is the line 26 total column amount greater than zero?           Yes X No
    27d. Are lines 27(a), 27(b), and 27(c) all "Yes"? ~~          Yes X No
    28.    If line 27d is "No," enter the amount from line 25. Otherwise,
           complete Worksheet B ~~~~~~~~~~~~~~~~~~~                                                                                                    0.
    29.    If line 27d is "No," enter the amount from line 26. Otherwise,
           complete Worksheet B         ~~~~~~~~~~~~~~~~~~                                                                                             0.
    30.    If line 27d is "No," enter -0-. Otherwise, complete
           Worksheet B                                                                                                          0.
    Step 9: Matching partnership and aggregate partner excess taxable income.
    31.    Divide line 28 by the line 28 total column amount. (If the total
           column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %                   %           .00 %
    32.    Multiply line 31 by the line 29 total column amount ~~~~~                                                                                 0.
    33.    Subtract line 32 from line 28. (If zero or less, enter -0-.)                                                                           0.
    Step 10: Match partnership and aggregate partner excess business interest expense.
    34.    Divide line 29 by the line 29 total column amount. (If the total
           column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %                   %           .00 %
    35.    Multiply line 34 by the line 28 total column amount ~~~~~                                                                                 0.
    36.    If line 30 is greater than zero, enter the amount from line 30.
           Otherwise, subtract line 35 from line 29. (If zero or less, enter -0-.)                                                                    0.
    Step 11: Final section 163(j) excess item and deductible business interest expense allocation.
    37.    Partner's deductible business interest expense. Subtract line
           36 from line 10 ~~~~~~~~~~~~~~~~~~~~~~~                                       2,158.          2,489.                  564.          98,198.
    38.    Partner's excess business interest expense. Enter the amount
           from line 36 ~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                       0.
    39.    Partner's excess taxable income. Multiply line 33 by (10/3) ~                                                                               0.
    40.    Partner's excess business interest income. Enter the amount
           from line 15                                          1,555.          1,792.                  407.          70,759.




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   Determination of Each Partner's Deductible Business Interest Expense
   and Section 163(j) Excess Items - Worksheet A                                                                      Keep for Your Records


    Before you begin:      u Complete Form 8990 before beginning this worksheet.
                           u This worksheet provides space for up to three partners. If there are more than three partners, use more than
                              one worksheet. The total column should reconcile to amounts for all partners.
                                                                                 Partner 1          Partner 2             Partner 3            Total
    Step 1: Partnership - level calculation required by section 163(j)(4)(A).
     1. Partnership's Adjusted Taxable Income (ATI) (Form 8990, line 22)                                                                            0.
     2. Partnership's business interest income (Form 8990, line 25) ~                                                                         168,957.
     3. Partnership's business interest expense (Form 8990, subtract
        line 4 from line 5) ~~~~~~~~~~~~~~~~~~~~~~                                                                                             98,198.
     4. Partnership's deductible business interest expense (Form 8990,
        subtract line 4 from line 30) ~~~~~~~~~~~~~~~~~                                                                                        98,198.
     5. Partnership's excess business interest expense (Form 8990, line 32) ~                                                                       0.
     6. Partnership's excess taxable income (Form 8990, line 36) ~~                                                                                 0.
     7. Partnership's excess business interest income (Form 8990, line 37)                                                                    70,759.
    Step 2: Determine each partner's section 163(j) items.
     8. Partner's allocable ATI. See instructions ~~~~~~~~~~~                            0.                0.                    0.                 0.
     9. Partner's allocable business interest income. See instructions                 881.            1,138.                2,015.           168,957.
    10. Partner's allocable business interest expense. See instructions                512.              661.                1,171.            98,198.
    Step 3: Partner - level comparison of business interest income and business interest expense.
    11. Subtract line 10 from line 9. (If zero or less, enter -0-.) ~~~~~              369.                   477.              844.           70,759.
    12. Subtract line 9 from line 10. (If zero or less, enter -0-.)                 0.                     0.                0.                0.
    Step 4: Matching partnership and aggregate partner excess business interest income.
    13. Divide line 11 by the line 11 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                               .52 %                  .67 %            1.19 %         100.00 %
    14. Multiply line 13 by the line 12 total column amount ~~~~~~                                                                                 0.
    15. Subtract line 14 from line 11. (If zero or less, enter -0-.)               369.                   477.              844.          70,759.
    Step 5: Remaining business interest expense determination.
    16. Divide line 12 by the line 12 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                  %                     %           .00 %
    17. Multiply line 16 by the line 11 total column amount ~~~~~~                                                                                   0.
    18. Subtract line 17 from line 12. (If zero or less, enter -0-.)                                                                             0.
    Step 6: Determination of final allocable ATI.
    19. If line 8 is greater than or equal to $0, enter the amount from
        line 8. Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~                                      0.                 0.                    0.               0.
    20. If line 8 is less than $0, enter the absolute value of line 8.
        Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~~~~                                           0.                 0.                    0.               0.
    21. Divide line 19 by the line 19 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                  %                     %           .00 %
    22. Multiply line 21 by the line 20 total column amount ~~~~~~                                                                                   0.
    23. Subtract line 22 from line 19. (If zero or less, enter -0-.)                                                                             0.
    Step 7: Partner - level comparison of the applicable percentage of ATI and remaining business interest expense.
    24. Multiply line 23 by the applicable percentage (defined earlier) ~                                                                              0.
    25. Subtract line 18 from line 24. (If zero or less, enter -0-.) ~~~~                                                                              0.
    26. Subtract line 24 from line 18. (If zero or less, enter -0-.)                                                                               0.




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   Determination of Each Partner's Deductible Business Interest Expense
   and Section 163(j) Excess Items - Worksheet A - Continued                                                           Keep for Your Records


                                                                                       Partner 1       Partner 2           Partner 3           Total
    Step 8: Partner priority right to ATI capacity excess determination.
    27a. Is the line 5 total column amount greater than zero?            Yes X No
    27b. Is the line 20 total column amount greater than zero?           Yes X No
    27c. Is the line 26 total column amount greater than zero?           Yes X No
    27d. Are lines 27(a), 27(b), and 27(c) all "Yes"? ~~          Yes X No
    28.    If line 27d is "No," enter the amount from line 25. Otherwise,
           complete Worksheet B ~~~~~~~~~~~~~~~~~~~                                                                                                    0.
    29.    If line 27d is "No," enter the amount from line 26. Otherwise,
           complete Worksheet B         ~~~~~~~~~~~~~~~~~~                                                                                             0.
    30.    If line 27d is "No," enter -0-. Otherwise, complete
           Worksheet B                                                                                                          0.
    Step 9: Matching partnership and aggregate partner excess taxable income.
    31.    Divide line 28 by the line 28 total column amount. (If the total
           column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %                   %           .00 %
    32.    Multiply line 31 by the line 29 total column amount ~~~~~                                                                                 0.
    33.    Subtract line 32 from line 28. (If zero or less, enter -0-.)                                                                           0.
    Step 10: Match partnership and aggregate partner excess business interest expense.
    34.    Divide line 29 by the line 29 total column amount. (If the total
           column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %                   %           .00 %
    35.    Multiply line 34 by the line 28 total column amount ~~~~~                                                                                 0.
    36.    If line 30 is greater than zero, enter the amount from line 30.
           Otherwise, subtract line 35 from line 29. (If zero or less, enter -0-.)                                                                    0.
    Step 11: Final section 163(j) excess item and deductible business interest expense allocation.
    37.    Partner's deductible business interest expense. Subtract line
           36 from line 10 ~~~~~~~~~~~~~~~~~~~~~~~                                           512.            661.             1,171.           98,198.
    38.    Partner's excess business interest expense. Enter the amount
           from line 36 ~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                       0.
    39.    Partner's excess taxable income. Multiply line 33 by (10/3) ~                                                                               0.
    40.    Partner's excess business interest income. Enter the amount
           from line 15                                              369.            477.                844.          70,759.




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   Determination of Each Partner's Deductible Business Interest Expense
   and Section 163(j) Excess Items - Worksheet A                                                                     Keep for Your Records


    Before you begin:      u Complete Form 8990 before beginning this worksheet.
                           u This worksheet provides space for up to three partners. If there are more than three partners, use more than
                              one worksheet. The total column should reconcile to amounts for all partners.
                                                                                 Partner 1          Partner 2            Partner 3            Total
    Step 1: Partnership - level calculation required by section 163(j)(4)(A).
     1. Partnership's Adjusted Taxable Income (ATI) (Form 8990, line 22)                                                                           0.
     2. Partnership's business interest income (Form 8990, line 25) ~                                                                        168,957.
     3. Partnership's business interest expense (Form 8990, subtract
        line 4 from line 5) ~~~~~~~~~~~~~~~~~~~~~~                                                                                            98,198.
     4. Partnership's deductible business interest expense (Form 8990,
        subtract line 4 from line 30) ~~~~~~~~~~~~~~~~~                                                                                       98,198.
     5. Partnership's excess business interest expense (Form 8990, line 32) ~                                                                      0.
     6. Partnership's excess taxable income (Form 8990, line 36) ~~                                                                                0.
     7. Partnership's excess business interest income (Form 8990, line 37)                                                                   70,759.
    Step 2: Determine each partner's section 163(j) items.
     8. Partner's allocable ATI. See instructions ~~~~~~~~~~~                            0.                0.                   0.                 0.
     9. Partner's allocable business interest income. See instructions                 554.            4,354.               3,589.           168,957.
    10. Partner's allocable business interest expense. See instructions                322.            2,531.               2,086.            98,198.
    Step 3: Partner - level comparison of business interest income and business interest expense.
    11. Subtract line 10 from line 9. (If zero or less, enter -0-.) ~~~~~              232.            1,823.               1,503.            70,759.
    12. Subtract line 9 from line 10. (If zero or less, enter -0-.)                 0.                0.                   0.                 0.
    Step 4: Matching partnership and aggregate partner excess business interest income.
    13. Divide line 11 by the line 11 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                               .33 %             2.58 %               2.12 %         100.00 %
    14. Multiply line 13 by the line 12 total column amount ~~~~~~                                                                                0.
    15. Subtract line 14 from line 11. (If zero or less, enter -0-.)               232.            1,823.               1,503.           70,759.
    Step 5: Remaining business interest expense determination.
    16. Divide line 12 by the line 12 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                  %                    %           .00 %
    17. Multiply line 16 by the line 11 total column amount ~~~~~~                                                                                  0.
    18. Subtract line 17 from line 12. (If zero or less, enter -0-.)                                                                            0.
    Step 6: Determination of final allocable ATI.
    19. If line 8 is greater than or equal to $0, enter the amount from
        line 8. Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~                                      0.                 0.                   0.               0.
    20. If line 8 is less than $0, enter the absolute value of line 8.
        Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~~~~                                           0.                 0.                   0.               0.
    21. Divide line 19 by the line 19 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                  %                    %           .00 %
    22. Multiply line 21 by the line 20 total column amount ~~~~~~                                                                                  0.
    23. Subtract line 22 from line 19. (If zero or less, enter -0-.)                                                                            0.
    Step 7: Partner - level comparison of the applicable percentage of ATI and remaining business interest expense.
    24. Multiply line 23 by the applicable percentage (defined earlier) ~                                                                             0.
    25. Subtract line 18 from line 24. (If zero or less, enter -0-.) ~~~~                                                                             0.
    26. Subtract line 24 from line 18. (If zero or less, enter -0-.)                                                                              0.




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   Determination of Each Partner's Deductible Business Interest Expense
   and Section 163(j) Excess Items - Worksheet A - Continued                                                           Keep for Your Records


                                                                                       Partner 1       Partner 2           Partner 3           Total
    Step 8: Partner priority right to ATI capacity excess determination.
    27a. Is the line 5 total column amount greater than zero?            Yes X No
    27b. Is the line 20 total column amount greater than zero?           Yes X No
    27c. Is the line 26 total column amount greater than zero?           Yes X No
    27d. Are lines 27(a), 27(b), and 27(c) all "Yes"? ~~          Yes X No
    28.    If line 27d is "No," enter the amount from line 25. Otherwise,
           complete Worksheet B ~~~~~~~~~~~~~~~~~~~                                                                                                    0.
    29.    If line 27d is "No," enter the amount from line 26. Otherwise,
           complete Worksheet B         ~~~~~~~~~~~~~~~~~~                                                                                             0.
    30.    If line 27d is "No," enter -0-. Otherwise, complete
           Worksheet B                                                                                                          0.
    Step 9: Matching partnership and aggregate partner excess taxable income.
    31.    Divide line 28 by the line 28 total column amount. (If the total
           column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %                   %           .00 %
    32.    Multiply line 31 by the line 29 total column amount ~~~~~                                                                                 0.
    33.    Subtract line 32 from line 28. (If zero or less, enter -0-.)                                                                           0.
    Step 10: Match partnership and aggregate partner excess business interest expense.
    34.    Divide line 29 by the line 29 total column amount. (If the total
           column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %                   %           .00 %
    35.    Multiply line 34 by the line 28 total column amount ~~~~~                                                                                 0.
    36.    If line 30 is greater than zero, enter the amount from line 30.
           Otherwise, subtract line 35 from line 29. (If zero or less, enter -0-.)                                                                    0.
    Step 11: Final section 163(j) excess item and deductible business interest expense allocation.
    37.    Partner's deductible business interest expense. Subtract line
           36 from line 10 ~~~~~~~~~~~~~~~~~~~~~~~                                           322.        2,531.               2,086.           98,198.
    38.    Partner's excess business interest expense. Enter the amount
           from line 36 ~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                       0.
    39.    Partner's excess taxable income. Multiply line 33 by (10/3) ~                                                                               0.
    40.    Partner's excess business interest income. Enter the amount
           from line 15                                              232.        1,823.               1,503.           70,759.




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   Determination of Each Partner's Deductible Business Interest Expense
   and Section 163(j) Excess Items - Worksheet A                                                                     Keep for Your Records


    Before you begin:      u Complete Form 8990 before beginning this worksheet.
                           u This worksheet provides space for up to three partners. If there are more than three partners, use more than
                              one worksheet. The total column should reconcile to amounts for all partners.
                                                                                 Partner 1          Partner 2            Partner 3            Total
    Step 1: Partnership - level calculation required by section 163(j)(4)(A).
     1. Partnership's Adjusted Taxable Income (ATI) (Form 8990, line 22)                                                                           0.
     2. Partnership's business interest income (Form 8990, line 25) ~                                                                        168,957.
     3. Partnership's business interest expense (Form 8990, subtract
        line 4 from line 5) ~~~~~~~~~~~~~~~~~~~~~~                                                                                            98,198.
     4. Partnership's deductible business interest expense (Form 8990,
        subtract line 4 from line 30) ~~~~~~~~~~~~~~~~~                                                                                       98,198.
     5. Partnership's excess business interest expense (Form 8990, line 32) ~                                                                      0.
     6. Partnership's excess taxable income (Form 8990, line 36) ~~                                                                                0.
     7. Partnership's excess business interest income (Form 8990, line 37)                                                                   70,759.
    Step 2: Determine each partner's section 163(j) items.
     8. Partner's allocable ATI. See instructions ~~~~~~~~~~~                          0.                  0.                   0.                 0.
     9. Partner's allocable business interest income. See instructions            71,639.              3,207.               1,335.           168,957.
    10. Partner's allocable business interest expense. See instructions           41,636.              1,865.                 775.            98,198.
    Step 3: Partner - level comparison of business interest income and business interest expense.
    11. Subtract line 10 from line 9. (If zero or less, enter -0-.) ~~~~~         30,003.              1,342.                  560.           70,759.
    12. Subtract line 9 from line 10. (If zero or less, enter -0-.)               0.                  0.                    0.                0.
    Step 4: Matching partnership and aggregate partner excess business interest income.
    13. Divide line 11 by the line 11 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                           42.40 %               1.90 %                .79 %         100.00 %
    14. Multiply line 13 by the line 12 total column amount ~~~~~~                                                                                0.
    15. Subtract line 14 from line 11. (If zero or less, enter -0-.)          30,003.              1,342.                  560.          70,759.
    Step 5: Remaining business interest expense determination.
    16. Divide line 12 by the line 12 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                  %                    %           .00 %
    17. Multiply line 16 by the line 11 total column amount ~~~~~~                                                                                  0.
    18. Subtract line 17 from line 12. (If zero or less, enter -0-.)                                                                            0.
    Step 6: Determination of final allocable ATI.
    19. If line 8 is greater than or equal to $0, enter the amount from
        line 8. Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~                                      0.                 0.                   0.               0.
    20. If line 8 is less than $0, enter the absolute value of line 8.
        Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~~~~                                           0.                 0.                   0.               0.
    21. Divide line 19 by the line 19 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                  %                    %           .00 %
    22. Multiply line 21 by the line 20 total column amount ~~~~~~                                                                                  0.
    23. Subtract line 22 from line 19. (If zero or less, enter -0-.)                                                                            0.
    Step 7: Partner - level comparison of the applicable percentage of ATI and remaining business interest expense.
    24. Multiply line 23 by the applicable percentage (defined earlier) ~                                                                             0.
    25. Subtract line 18 from line 24. (If zero or less, enter -0-.) ~~~~                                                                             0.
    26. Subtract line 24 from line 18. (If zero or less, enter -0-.)                                                                              0.




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   Determination of Each Partner's Deductible Business Interest Expense
   and Section 163(j) Excess Items - Worksheet A - Continued                                                           Keep for Your Records


                                                                                       Partner 1       Partner 2           Partner 3           Total
    Step 8: Partner priority right to ATI capacity excess determination.
    27a. Is the line 5 total column amount greater than zero?            Yes X No
    27b. Is the line 20 total column amount greater than zero?           Yes X No
    27c. Is the line 26 total column amount greater than zero?           Yes X No
    27d. Are lines 27(a), 27(b), and 27(c) all "Yes"? ~~          Yes X No
    28.    If line 27d is "No," enter the amount from line 25. Otherwise,
           complete Worksheet B ~~~~~~~~~~~~~~~~~~~                                                                                                    0.
    29.    If line 27d is "No," enter the amount from line 26. Otherwise,
           complete Worksheet B         ~~~~~~~~~~~~~~~~~~                                                                                             0.
    30.    If line 27d is "No," enter -0-. Otherwise, complete
           Worksheet B                                                                                                          0.
    Step 9: Matching partnership and aggregate partner excess taxable income.
    31.    Divide line 28 by the line 28 total column amount. (If the total
           column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %                   %           .00 %
    32.    Multiply line 31 by the line 29 total column amount ~~~~~                                                                                 0.
    33.    Subtract line 32 from line 28. (If zero or less, enter -0-.)                                                                           0.
    Step 10: Match partnership and aggregate partner excess business interest expense.
    34.    Divide line 29 by the line 29 total column amount. (If the total
           column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %                   %           .00 %
    35.    Multiply line 34 by the line 28 total column amount ~~~~~                                                                                 0.
    36.    If line 30 is greater than zero, enter the amount from line 30.
           Otherwise, subtract line 35 from line 29. (If zero or less, enter -0-.)                                                                    0.
    Step 11: Final section 163(j) excess item and deductible business interest expense allocation.
    37.    Partner's deductible business interest expense. Subtract line
           36 from line 10 ~~~~~~~~~~~~~~~~~~~~~~~                                      41,636.          1,865.                  775.          98,198.
    38.    Partner's excess business interest expense. Enter the amount
           from line 36 ~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                       0.
    39.    Partner's excess taxable income. Multiply line 33 by (10/3) ~                                                                               0.
    40.    Partner's excess business interest income. Enter the amount
           from line 15                                         30,003.          1,342.                  560.          70,759.




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   Determination of Each Partner's Deductible Business Interest Expense
   and Section 163(j) Excess Items - Worksheet A                                                                      Keep for Your Records


    Before you begin:      u Complete Form 8990 before beginning this worksheet.
                           u This worksheet provides space for up to three partners. If there are more than three partners, use more than
                              one worksheet. The total column should reconcile to amounts for all partners.
                                                                                 Partner 1          Partner 2             Partner 3            Total
    Step 1: Partnership - level calculation required by section 163(j)(4)(A).
     1. Partnership's Adjusted Taxable Income (ATI) (Form 8990, line 22)                                                                            0.
     2. Partnership's business interest income (Form 8990, line 25) ~                                                                         168,957.
     3. Partnership's business interest expense (Form 8990, subtract
        line 4 from line 5) ~~~~~~~~~~~~~~~~~~~~~~                                                                                             98,198.
     4. Partnership's deductible business interest expense (Form 8990,
        subtract line 4 from line 30) ~~~~~~~~~~~~~~~~~                                                                                        98,198.
     5. Partnership's excess business interest expense (Form 8990, line 32) ~                                                                       0.
     6. Partnership's excess taxable income (Form 8990, line 36) ~~                                                                                 0.
     7. Partnership's excess business interest income (Form 8990, line 37)                                                                    70,759.
    Step 2: Determine each partner's section 163(j) items.
     8. Partner's allocable ATI. See instructions ~~~~~~~~~~~                                0.                 0.                    0.            0.
     9. Partner's allocable business interest income. See instructions                       0.               752.                    0.      168,957.
    10. Partner's allocable business interest expense. See instructions                      0.               438.                    0.       98,198.
    Step 3: Partner - level comparison of business interest income and business interest expense.
    11. Subtract line 10 from line 9. (If zero or less, enter -0-.) ~~~~~                    0.               314.                    0.       70,759.
    12. Subtract line 9 from line 10. (If zero or less, enter -0-.)                     0.                 0.                    0.            0.
    Step 4: Matching partnership and aggregate partner excess business interest income.
    13. Divide line 11 by the line 11 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %               .44 %                    %      100.00 %
    14. Multiply line 13 by the line 12 total column amount ~~~~~~                                                                                 0.
    15. Subtract line 14 from line 11. (If zero or less, enter -0-.)                                      314.                            70,759.
    Step 5: Remaining business interest expense determination.
    16. Divide line 12 by the line 12 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                  %                     %           .00 %
    17. Multiply line 16 by the line 11 total column amount ~~~~~~                                                                                   0.
    18. Subtract line 17 from line 12. (If zero or less, enter -0-.)                                                                             0.
    Step 6: Determination of final allocable ATI.
    19. If line 8 is greater than or equal to $0, enter the amount from
        line 8. Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~                                      0.                 0.                    0.               0.
    20. If line 8 is less than $0, enter the absolute value of line 8.
        Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~~~~                                           0.                 0.                    0.               0.
    21. Divide line 19 by the line 19 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                  %                     %           .00 %
    22. Multiply line 21 by the line 20 total column amount ~~~~~~                                                                                   0.
    23. Subtract line 22 from line 19. (If zero or less, enter -0-.)                                                                             0.
    Step 7: Partner - level comparison of the applicable percentage of ATI and remaining business interest expense.
    24. Multiply line 23 by the applicable percentage (defined earlier) ~                                                                              0.
    25. Subtract line 18 from line 24. (If zero or less, enter -0-.) ~~~~                                                                              0.
    26. Subtract line 24 from line 18. (If zero or less, enter -0-.)                                                                               0.




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   Determination of Each Partner's Deductible Business Interest Expense
   and Section 163(j) Excess Items - Worksheet A - Continued                                                           Keep for Your Records


                                                                                       Partner 1       Partner 2           Partner 3           Total
    Step 8: Partner priority right to ATI capacity excess determination.
    27a. Is the line 5 total column amount greater than zero?            Yes X No
    27b. Is the line 20 total column amount greater than zero?           Yes X No
    27c. Is the line 26 total column amount greater than zero?           Yes X No
    27d. Are lines 27(a), 27(b), and 27(c) all "Yes"? ~~          Yes X No
    28.    If line 27d is "No," enter the amount from line 25. Otherwise,
           complete Worksheet B ~~~~~~~~~~~~~~~~~~~                                                                                                    0.
    29.    If line 27d is "No," enter the amount from line 26. Otherwise,
           complete Worksheet B         ~~~~~~~~~~~~~~~~~~                                                                                             0.
    30.    If line 27d is "No," enter -0-. Otherwise, complete
           Worksheet B                                                                                                          0.
    Step 9: Matching partnership and aggregate partner excess taxable income.
    31.    Divide line 28 by the line 28 total column amount. (If the total
           column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %                   %           .00 %
    32.    Multiply line 31 by the line 29 total column amount ~~~~~                                                                                 0.
    33.    Subtract line 32 from line 28. (If zero or less, enter -0-.)                                                                           0.
    Step 10: Match partnership and aggregate partner excess business interest expense.
    34.    Divide line 29 by the line 29 total column amount. (If the total
           column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %                   %           .00 %
    35.    Multiply line 34 by the line 28 total column amount ~~~~~                                                                                 0.
    36.    If line 30 is greater than zero, enter the amount from line 30.
           Otherwise, subtract line 35 from line 29. (If zero or less, enter -0-.)                                                                    0.
    Step 11: Final section 163(j) excess item and deductible business interest expense allocation.
    37.    Partner's deductible business interest expense. Subtract line
           36 from line 10 ~~~~~~~~~~~~~~~~~~~~~~~                                                           438.                              98,198.
    38.    Partner's excess business interest expense. Enter the amount
           from line 36 ~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                       0.
    39.    Partner's excess taxable income. Multiply line 33 by (10/3) ~                                                                               0.
    40.    Partner's excess business interest income. Enter the amount
           from line 15                                                              314.                              70,759.




   223222 04-01-22
                                                                                      32
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   Determination of Each Partner's Deductible Business Interest Expense
   and Section 163(j) Excess Items - Worksheet A                                                                     Keep for Your Records


    Before you begin:      u Complete Form 8990 before beginning this worksheet.
                           u This worksheet provides space for up to three partners. If there are more than three partners, use more than
                              one worksheet. The total column should reconcile to amounts for all partners.
                                                                                 Partner 1          Partner 2            Partner 3            Total
    Step 1: Partnership - level calculation required by section 163(j)(4)(A).
     1. Partnership's Adjusted Taxable Income (ATI) (Form 8990, line 22)                                                                           0.
     2. Partnership's business interest income (Form 8990, line 25) ~                                                                        168,957.
     3. Partnership's business interest expense (Form 8990, subtract
        line 4 from line 5) ~~~~~~~~~~~~~~~~~~~~~~                                                                                            98,198.
     4. Partnership's deductible business interest expense (Form 8990,
        subtract line 4 from line 30) ~~~~~~~~~~~~~~~~~                                                                                       98,198.
     5. Partnership's excess business interest expense (Form 8990, line 32) ~                                                                      0.
     6. Partnership's excess taxable income (Form 8990, line 36) ~~                                                                                0.
     7. Partnership's excess business interest income (Form 8990, line 37)                                                                   70,759.
    Step 2: Determine each partner's section 163(j) items.
     8. Partner's allocable ATI. See instructions ~~~~~~~~~~~                                0.                 0.             0.                  0.
     9. Partner's allocable business interest income. See instructions                       0.                 0.        62,561.            168,957.
    10. Partner's allocable business interest expense. See instructions                      0.                 0.        36,360.             98,198.
    Step 3: Partner - level comparison of business interest income and business interest expense.
    11. Subtract line 10 from line 9. (If zero or less, enter -0-.) ~~~~~                    0.                 0.        26,201.             70,759.
    12. Subtract line 9 from line 10. (If zero or less, enter -0-.)                     0.                 0.             0.                  0.
    Step 4: Matching partnership and aggregate partner excess business interest income.
    13. Divide line 11 by the line 11 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                  %          37.03 %          100.00 %
    14. Multiply line 13 by the line 12 total column amount ~~~~~~                                                                                0.
    15. Subtract line 14 from line 11. (If zero or less, enter -0-.)                                                  26,201.            70,759.
    Step 5: Remaining business interest expense determination.
    16. Divide line 12 by the line 12 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                  %                    %           .00 %
    17. Multiply line 16 by the line 11 total column amount ~~~~~~                                                                                  0.
    18. Subtract line 17 from line 12. (If zero or less, enter -0-.)                                                                            0.
    Step 6: Determination of final allocable ATI.
    19. If line 8 is greater than or equal to $0, enter the amount from
        line 8. Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~                                      0.                 0.                   0.               0.
    20. If line 8 is less than $0, enter the absolute value of line 8.
        Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~~~~                                           0.                 0.                   0.               0.
    21. Divide line 19 by the line 19 total column amount. (If the total
        column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                  %                    %           .00 %
    22. Multiply line 21 by the line 20 total column amount ~~~~~~                                                                                  0.
    23. Subtract line 22 from line 19. (If zero or less, enter -0-.)                                                                            0.
    Step 7: Partner - level comparison of the applicable percentage of ATI and remaining business interest expense.
    24. Multiply line 23 by the applicable percentage (defined earlier) ~                                                                             0.
    25. Subtract line 18 from line 24. (If zero or less, enter -0-.) ~~~~                                                                             0.
    26. Subtract line 24 from line 18. (If zero or less, enter -0-.)                                                                              0.




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                                                                                33
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   Determination of Each Partner's Deductible Business Interest Expense
   and Section 163(j) Excess Items - Worksheet A - Continued                                                           Keep for Your Records


                                                                                       Partner 1       Partner 2           Partner 3           Total
    Step 8: Partner priority right to ATI capacity excess determination.
    27a. Is the line 5 total column amount greater than zero?            Yes X No
    27b. Is the line 20 total column amount greater than zero?           Yes X No
    27c. Is the line 26 total column amount greater than zero?           Yes X No
    27d. Are lines 27(a), 27(b), and 27(c) all "Yes"? ~~          Yes X No
    28.    If line 27d is "No," enter the amount from line 25. Otherwise,
           complete Worksheet B ~~~~~~~~~~~~~~~~~~~                                                                                                    0.
    29.    If line 27d is "No," enter the amount from line 26. Otherwise,
           complete Worksheet B         ~~~~~~~~~~~~~~~~~~                                                                                             0.
    30.    If line 27d is "No," enter -0-. Otherwise, complete
           Worksheet B                                                                                                          0.
    Step 9: Matching partnership and aggregate partner excess taxable income.
    31.    Divide line 28 by the line 28 total column amount. (If the total
           column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %                   %           .00 %
    32.    Multiply line 31 by the line 29 total column amount ~~~~~                                                                                 0.
    33.    Subtract line 32 from line 28. (If zero or less, enter -0-.)                                                                           0.
    Step 10: Match partnership and aggregate partner excess business interest expense.
    34.    Divide line 29 by the line 29 total column amount. (If the total
           column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %                   %           .00 %
    35.    Multiply line 34 by the line 28 total column amount ~~~~~                                                                                 0.
    36.    If line 30 is greater than zero, enter the amount from line 30.
           Otherwise, subtract line 35 from line 29. (If zero or less, enter -0-.)                                                                    0.
    Step 11: Final section 163(j) excess item and deductible business interest expense allocation.
    37.    Partner's deductible business interest expense. Subtract line
           36 from line 10 ~~~~~~~~~~~~~~~~~~~~~~~                                                                          36,360.            98,198.
    38.    Partner's excess business interest expense. Enter the amount
           from line 36 ~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                       0.
    39.    Partner's excess taxable income. Multiply line 33 by (10/3) ~                                                                               0.
    40.    Partner's excess business interest income. Enter the amount
           from line 15                                                                             26,201.            70,759.




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                                                                                      34
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                                       Worksheet for Figuring Net Earnings (Loss) From Self-Employment

   Name of partnership                                                                                                           Employer identification number


       STICKYS HOLDINGS, LLC                                                                                                        XX-XXXXXXX
   1 a Ordinary income (loss) (Schedule K, line 1) ~~~~~~~~~~~~~~~~~~~~                                  1a   -3,211,890.
     b Net income (loss) from CERTAIN rental real estate activities ~~~~~~~~~~~~~                        1b
     c Net income (loss) from other rental activities (Schedule K, line 3c) ~~~~~~~~~~                   1c
     d Net loss from Form 4797, Part II, line 17, included on line 1a above. Enter as a positive
       amount ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       1d
     e Other additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  1e
     f Combine lines 1a through 1e ~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1f   -3,211,890.
   2 a Net gain from Form 4797, Part II, line 17, included on line 1a above ~~~~~~~~~~                   2a        5,793.
     b Other subtractions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                2b
     c Add lines 2a and 2b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               2c        5,793.
   3 a Subtract line 2c from line 1f. If line 1f is a loss, increase the loss on line 1f by the amount
       on line 2c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    3a   -3,217,683.
     b Part of line 3a allocated to limited partners, estates, trusts, corporations, exempt
       organizations, and IRAs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~         3b  -3,199,793.
     c Subtract line 3b from line 3a     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         3c              -17,890.
   4 a Guaranteed payments to partners (Schedule K, line 4a) derived from a trade or business
       as defined in section 1402(c)     ~~~~~~~~~~~~~~~~~~~~~~~~~~                                      4a       19,014.
     b Part of line 4a allocated to individual limited partners for other than services and to
       estates, trusts, corporations, exempt organizations, and IRAs ~~~~~~~~~~~~                        4b
    c Subtract line 4b from line 4a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             4c                 19,014.
   5 Net earnings (loss) from self-employment. Combine lines 3c and 4c. Enter here and on Schedule K, line 14a       5                   1,124.




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                                                                                      35
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                                              Worksheet for Adjusted Current Earnings Adjustments


   Name of partnership                                                                                                Employer identification number


       STICKYS HOLDINGS, LLC                                                                                             XX-XXXXXXX
   1. Additions to AMTI:
      a. Depreciation recomputed for AMT purposes ~~~~~~~~~~~~~~~~~~~~~~~~~                               766,490.
      b. Tax-exempt interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      c. Amortization of IRC 173 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      d. Depletion for post-1989 properties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      e. Intangible drilling costs deducted from AMTI ~~~~~~~~~~~~~~~~~~~~~~~~


      f. Total additions to AMTI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 766,490.

   2. Deductions:
      a. Depreciation recomputed for ACE purposes     ~~~~~~~~~~~~~~~~~~~~~~~~~                           766,490.
      b. Depletion recomputed for ACE purposes ~~~~~~~~~~~~~~~~~~~~~~~~~~~
      c. ACE intangible drilling costs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


      d. Total deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     766,490.

   3. Other adjustments:
      a. Basis adjustments from sales or exchanges    ~~~~~~~~~~~~~~~~~~~~~~~~~
      b. Other adjustments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


      c. Total other adjustments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


   4. Total adjustments to AMTI for ACE calculation. Combine lines 1f, 2d and 3c                                        0.




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                                                                                 36
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                                    FOOTNOTES                      STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  52/53 WEEK TAX YEAR INFORMATIONAL FOOTNOTE:

  THE TAXPAYER HAS IN PLACE AN ELECTION UNDER THE PROVISIONS
  OF IRC SECTION 411(F) TO USE A 52-53 WEEK FISCAL YEAR.
  THE FOLLOWING INFORMATION IS SUBMITTED AS IT RELATES TO THE
  CURRENT YEAR TAX RETURN FILLING:

  YEAR BEGINNING: DECEMBER 28, 2021
  YEAR ENDING: DECEMBER 26, 2022


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1065                        OTHER INCOME                    STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  OTHER INCOME                                                                        10,538.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO FORM 1065, LINE 7                                                          10,538.
                                                                               ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1065                        TAX EXPENSE                     STATEMENT 3
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  EMPLOYER TAXES                                                                     296,340.
  LESS FORM 8846 CREDIT                                                              -16,003.
  LICENSES & PERMITS                                                                  12,964.
  OTHER STATE TAXES                                                                    5,706.
  PAYROLL TAXES                                                                      527,320.
  REAL ESTATE TAXES                                                                  137,511.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO FORM 1065, LINE 14                                                        963,838.
                                                                               ~~~~~~~~~~~~~~




                                           39                  STATEMENT(S) 1, 2, 3
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  FORM 1065                      OTHER DEDUCTIONS                  STATEMENT 4
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  ADVERTISING                                                                        171,360.
  AMORTIZATION EXPENSE                                                                20,340.
  BANK & CC FEES                                                                     349,333.
  CASH SHORT                                                                          12,015.
  DE MINIMIS EQUIPMENT EXPENSE                                                        47,913.
  DELIVERY FEE EXPENSE                                                             1,335,234.
  DUES & SUBSCRIPTIONS                                                               170,277.
  EXPENSE ADJUSTMENTS/REIMBURSEMENTS                                                 -77,823.
  GENERAL EXPENSES                                                                    16,223.
  INSURANCE                                                                            2,575.
  KITCHEN EXPENSE                                                                    291,851.
  LINEN & UNIFORM                                                                     30,000.
  MEALS NOT SUBJECT TO LIMITATION                                                      1,990.
  MISCELLANEOUS EXPENSE                                                                   970.
  OFFICE SUPPLIES                                                                     27,962.
  OPERATING EXPENSES                                                                 146,176.
  PAYROLL PROCESSING FEES                                                             85,084.
  PROFESSIONAL FEES                                                                  342,125.
  SUPPLIES                                                                            29,020.
  TRAVEL                                                                              74,380.
  UTILITIES AND TELEPHONE                                                            842,736.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO FORM 1065, LINE 20                                                      3,919,741.
                                                                               ~~~~~~~~~~~~~~




                                           40                        STATEMENT(S) 4
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                       THE ENTITY OWNS 20% OR MORE DIRECTLY OR     STATEMENT 5
                    50% OR MORE OVERALL OF PARTNERSHIPS OR TRUSTS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

               NAME OF ENTITY                EIN NUMBER
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}
                                          COUNTRY OF ORGANIZATION                    PCT OWNED
                                      }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                 }}}}}}}}}}
  STICKY FINGERS LLC                         XX-XXXXXXX
                                      UNITED STATES                                    100.00
  STICKY FINGERS II LLC                      XX-XXXXXXX
                                      UNITED STATES                                    100.00
  STICKY FINGERS III LLC                     XX-XXXXXXX
                                      UNITED STATES                                    100.00
  STICKY FINGERS IV LLC                      XX-XXXXXXX
                                      UNITED STATES                                    100.00
  STICKY FINGERS V LLC                       XX-XXXXXXX
                                      UNITED STATES                                    100.00
  STICKY FINGERS VI LLC                      XX-XXXXXXX
                                      UNITED STATES                                    100.00
  STICKY FINGERS VII LLC                     XX-XXXXXXX
                                      UNITED STATES                                    100.00
  STICKY FINGERS VIII LLC                    XX-XXXXXXX
                                      UNITED STATES                                    100.00
  STICKY FINGERS IX LLC                      XX-XXXXXXX
                                      UNITED STATES                                    100.00
  STICKYS BK I LLC                           XX-XXXXXXX
                                      UNITED STATES                                    100.00
  STICKYS NJ I LLC                           XX-XXXXXXX
                                      UNITED STATES                                    100.00
  STICKYS NJ II LLC                          XX-XXXXXXX
                                      UNITED STATES                                    100.00
  STICKYS NJ III LLC                         XX-XXXXXXX
                                      UNITED STATES                                    100.00
  STICKYS NJ IV LLC                          XX-XXXXXXX
                                      UNITED STATES                                    100.00
  STICKYS WC I LLC                           XX-XXXXXXX
                                      UNITED STATES                                    100.00




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K                     INTEREST INCOME                   STATEMENT 6
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                U.S. BONDS               OTHER
  }}}}}}}}}}}                                              }}}}}}}}}}}}}}         }}}}}}}}}}}}}}
  INTEREST INCOME                                                                       168,957.
                                                           }}}}}}}}}}}}}}         }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K, LINE 5                                                           168,957.
                                                           ~~~~~~~~~~~~~~         ~~~~~~~~~~~~~~




                                              41                     STATEMENT(S) 5, 6
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K                 CHARITABLE CONTRIBUTIONS              STATEMENT 7
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                            TYPE              AMOUNT
  }}}}}}}}}}}                                   }}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}
  CHARITY                                       CASH (60%)                    1,036.
                                                                        }}}}}}}}}}}}
  TOTALS TO SCHEDULE K, LINE 13A                                              1,036.
                                                                        ~~~~~~~~~~~~


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  SCHEDULE K                        OTHER CREDITS                  STATEMENT 8
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  CREDIT FOR SOC. SEC. AND MEDICARE TAXES PAID                                        16,003.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K, LINE 15F                                                       16,003.
                                                                               ~~~~~~~~~~~~~~


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  SCHEDULE K                 OTHER TAX-EXEMPT INCOME               STATEMENT 9
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                             1,807,694.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K, LINE 18B                                                    1,807,694.
                                                                               ~~~~~~~~~~~~~~


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  SCHEDULE K                  NONDEDUCTIBLE EXPENSE                STATEMENT 10
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  PENALTIES                                                                               250.
  TAX DEDUCTION ADJUSTMENT FOR FORM 8846                                              16,003.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K, LINE 18C                                                       16,253.
                                                                               ~~~~~~~~~~~~~~




                                           42              STATEMENT(S) 7, 8, 9, 10
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K                       OTHER ITEMS                     STATEMENT 11
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME                                                     70,759.
  GROSS RECEIPTS FOR SECTION 448(C)                                               22,253,892.
  SECTION 199A - ORDINARY INCOME (LOSS)                                           -3,211,890.
  SECTION 199A W-2 WAGES                                                           4,565,084.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                                          9,174,684.
  BUSINESS INTEREST EXPENSE                                                           98,198.
  SEC 179 EXPENSE DISALLOWED DUE TO TRADE OR BUSINESS INCOME
  LIMIT                                                                              114,680.




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L                  OTHER CURRENT ASSETS                 STATEMENT 12
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                          BEGINNING OF    END OF TAX
  DESCRIPTION                                               TAX YEAR         YEAR
  }}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CORPORATE ACCOUNTS                                                 0.        52,007.
  ERTC CREDIT RECEIVABLE                                       540,215.              0.
  PREPAID EXPENSES                                             133,485.       396,864.
                                                         }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 6                                  673,700.       448,871.
                                                         ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L                      OTHER ASSETS                     STATEMENT 13
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                          BEGINNING OF    END OF TAX
  DESCRIPTION                                               TAX YEAR         YEAR
  }}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  SECURITY DEPOSITS                                            955,274.     1,294,633.
                                                         }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 13                                 955,274.     1,294,633.
                                                         ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                           43               STATEMENT(S) 11, 12, 13
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L                OTHER CURRENT LIABILITIES              STATEMENT 14
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                          BEGINNING OF    END OF TAX
  DESCRIPTION                                               TAX YEAR         YEAR
  }}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ACCRUED EXPENSES                                             798,582.       301,468.
  CREDIT CARD PAYABLE                                          -10,151.        65,797.
  DEFERRED MARKETING                                                 0.        14,705.
  DEFERRED RENT                                                      0.       339,700.
  GIFT CARD LIABILITY                                           11,896.        13,797.
  SALES TAX PAYABLE                                            127,379.       127,141.
  TIPS PAYABLE                                                       0.        14,579.
  TRAVELER'S INSURANCE                                               0.        12,252.
                                                         }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 17                                 927,706.       889,439.
                                                         ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                           44                       STATEMENT(S) 14
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1065             PARTNERS' CAPITAL ACCOUNT SUMMARY          STATEMENT 15
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  PARTNER    BEGINNING         CAPITAL       SCHEDULE M-2        WITH-           ENDING
  NUMBER      CAPITAL        CONTRIBUTED     LNS 3, 4 & 7       DRAWALS          CAPITAL
  }}}}}}}   }}}}}}}}}}}}     }}}}}}}}}}}}    }}}}}}}}}}}}     }}}}}}}}}}}}     }}}}}}}}}}}}

        1        16,266.                          -1,368.                           14,898.


        2       -37,888.                          -6,966.                          -44,854.


        3        89,631.                         -50,726.                           38,905.


        4        59,837.                         -27,528.                           32,309.


        5       269,725.                         -31,736.                          237,989.


        6        58,096.                          -7,194.                           50,902.


        7        55,532.                          -6,533.                           48,999.


        8        67,239.                          -8,438.                           58,801.


        9       126,930.                         -14,935.                          111,995.


       10        33,196.                          -4,111.                           29,085.


       11       242,231.                         -32,279.                          209,952.


       12       132,424.                         -26,602.                          105,822.


       13     2,063,681.                        -531,081.                        1,532,600.


       14        96,995.                         -23,778.                           73,217.


       15        38,454.                          -9,896.                           28,558.


       16               0.                              0.                               0.


       17        28,119.                          -5,576.                           22,543.




                                           45                       STATEMENT(S) 15
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  STICKYS HOLDINGS, LLC                                                             XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                                             }}}}}}}}}}
       18             0.                                    0.                              0.


          19             0.                                 0.                              0.


          20             0.                                 0.                              0.


          21     2,337,788.                        -463,781.                         1,874,007.


               }}}}}}}}}}}}   }}}}}}}}}}}}      }}}}}}}}}}}}      }}}}}}}}}}}}     }}}}}}}}}}}}
  TOTAL          5,678,256.                      -1,252,528.                         4,425,728.
               ~~~~~~~~~~~~   ~~~~~~~~~~~~      ~~~~~~~~~~~~      ~~~~~~~~~~~~     ~~~~~~~~~~~~




                                              46                       STATEMENT(S) 15
22470912 795476 95517                      2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 85 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-1        INCOME NOT RECORDED ON BOOKS THIS YEAR       STATEMENT 16
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  GIFT CARD INCOME                                                                    13,797.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-1, LINE 2                                                       13,797.
                                                                               ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-1 EXPENSES RECORDED ON BOOKS NOT DEDUCTED IN RETURN   STATEMENT 17
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  ADJUSTMENT FOR FORM 8846 CREDIT                                                     16,003.
  PENALTIES                                                                               250.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-1, LINE 4                                                       16,253.
                                                                               ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-1   INCOME RECORDED ON BOOKS NOT INCLUDED ON RETURN   STATEMENT 18
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                             1,807,694.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-1, LINE 6                                                    1,807,694.
                                                                               ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-1    DEDUCTIONS ON RETURN NOT CHARGED AGAINST BOOKS   STATEMENT 19
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  DEFERRED PAYROLL TAXES                                                              75,388.
  DEFERRED RENT                                                                      100,454.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-1, LINE 7                                                      175,842.
                                                                               ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-2                   OTHER INCREASES                   STATEMENT 20
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  OTHER TAX-EXEMPT INCOME                                                          1,807,694.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-2, LINE 4                                                    1,807,694.
                                                                               ~~~~~~~~~~~~~~



                                           47       STATEMENT(S) 16, 17, 18, 19, 20
22470912 795476 95517                   2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 86 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-2                   OTHER DECREASES                   STATEMENT 21
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  NONDEDUCTIBLE EXPENSES                                                              16,253.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-2, LINE 7                                                       16,253.
                                                                               ~~~~~~~~~~~~~~




                                           48                       STATEMENT(S) 21
22470912 795476 95517                   2022.04020 STICKYS HOLDINGS, LLC     95517__1
        1                              Case 24-10856-JKS                               Doc 1             Filed 04/25/24                                 Page 87 of 733

                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                   -3,512. A                                            0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                            17.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                         -73.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                              185.           nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                     1,977.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                        17.
                    -4851                                                                                          6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  PAUL ABRAHAMIAN
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                         185.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *                107.
                member-manager                                               member                                                                                          Z        *                STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *                 77.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *             24,334.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *                STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 0.1928050 %                                             0.1093462 %
       Loss                   0.1928050 %                                             0.1093462 % 11 Other income (loss)
       Capital                0.1251850 %                                             0.1279123 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                               9,479. $                                 5,163.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                   1.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 16,266.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                             -1,368.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          14,898.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                   -5,566.
      Ending  $                                    -5,566.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                                1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1          OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                   AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 1,977.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                1,977.
                                                                               ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                      AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                  }}}}}}}}}}}}}}
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             17.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   17.
                                                                               ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                   AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                         107.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                  107.
                                                                               ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -3,512.
     W-2 WAGES                                                                         4,992.
     UNADJUSTED BASIS OF ASSETS                                                       10,032.




                                           50                      PARTNER NUMBER 1
22470912 795476 95517                   2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                   AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                           125.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                      AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                  }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                           77.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                       77.
                                                                               ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                   AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    24,334.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   24,334.
                                                                               ~~~~~~~~~~~~~~




                                           51                      PARTNER NUMBER 1
22470912 795476 95517                   2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                AMOUNT         TOTALS
  }}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -3,512.
  INTEREST INCOME                                                  185.
  OTHER TAX-EXEMPT INCOME                                        1,977.
                                                         }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                            -1,350.

  CHARITABLE CONTRIBUTIONS                                          -1.
  NONDEDUCTIBLE EXPENSES                                           -17.
                                                         }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                  -18.
                                                                               }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                  -1,368.
                                                                               ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                  0.
  BUSINESS INTEREST EXPENSE                                                              107.
  BUSINESS INTEREST INCOME                                                               185.

  GROSS RECEIPTS FOR 12/31/2019                                                       13,122.
  GROSS RECEIPTS FOR 12/31/2020                                                       16,470.
  GROSS RECEIPTS FOR 12/31/2021                                                       19,732.




                                           52                      PARTNER NUMBER 1
22470912 795476 95517                   2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                              -4851
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      PAUL ABRAHAMIAN
24 E 23RD STREET
NEW YORK, NY 10010
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2      X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
   For IRS Use Only




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LHA




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Schedule K-3 (Form 1065) 2022                                                                                                                                                                         Page 2
Name of partnership                                                 EIN                              Name of partner                                                      SSN or TIN
STICKYS HOLDINGS, LLC                             XX-XXXXXXX                PAUL ABRAHAMIAN                                                                                            -4851
 Part I Partner's Share of Partnership's Other Current Year International Information
Check box(es) for additional specified attachments. See instructions.
    1. Gain on personal property sale                  5. High-taxed income                             8. Form 5471 information                            11. Dual consolidated loss
    2. Foreign oil and gas taxes                       6. Section 267A disallowed deduction             9. Other forms                                      12. Form 8865 information
    3. Splitter arrangements                           7. Form 8858 information                         10. Partner loan transactions                       13. Other international items
    4. Foreign tax translation                                                                                                                                   (attach description and statement)

 Part II Foreign Tax Credit Limitation
Section 1 - Gross Income
                                                                                                        Foreign Source
                   Description                    (a) U.S. source                                                                                                 (f) Sourced by
                                                                        (b) Foreign branch       (c) Passive          (d) General              (e) Other               partner              (g) Total
                                                                         category income      category income      category income      (category code       )

  1 Sales
    A             US                                  24,155.                          0.                   0.                   0.                        0.                   0.          24,155.
    B
    C
  2 Gross income from performance of services
    A
    B
    C
  3 Gross rental real estate income
    A
    B
    C
  4 Other gross rental income
    A
    B
    C
  5 Guaranteed payments          
  6 Interest income
    A             US                                        185.                       0.                   0.                   0.                        0.                   0.                 185.
    B
    C
  7 Ordinary dividends (exclude amount on
     line 8)
    A
    B
    C
                                                                                                                                                                              Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                Page 3
Name of partnership                                      EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                    XX-XXXXXXX                   PAUL ABRAHAMIAN                                                             -4851
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                          Foreign Source
                                                                                                                                              (f) Sourced by
                  Description          (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other            partner            (g) Total
                                                            category income     category income      category income   (category code     )

  8 Qualified dividends
    A
    B
   C
 9 Reserved for future use 
10 Royalties and license fees
    A
    B
   C
11 Net short-term capital gain
    A
    B
   C
12 Net long-term capital gain
    A
    B
   C
13 Collectibles (28%) gain
    A
    B
   C
14 Unrecaptured section 1250 gain
    A
    B
   C
15 Net section 1231 gain
    A
    B
    C
                                                                                                                                                         Schedule K-3 (Form 1065) 2022




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                                           Case 24-10856-JKS                Doc 1      Filed 04/25/24         Page 94 of 733

Schedule K-3 (Form 1065) 2022                                                                                                                                                   Page 4
Name of partnership                                        EIN                           Name of partner                                                SSN or TIN
STICKYS HOLDINGS, LLC                                      XX-XXXXXXX                   PAUL ABRAHAMIAN                                                              -4851
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                            Foreign Source
                                                                                                                                                 (f) Sourced by
                   Description           (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other             partner            (g) Total
                                                              category income     category income      category income   (category code      )

16 Section 986(c) gain 
17 Section 987 gain 
18 Section 988 gain 
19 Section 951(a) inclusions
    A
    B
   C
20 Other income (see instructions)
    A             US                                 12.                    0.                  0.                  0.                      0.                0.                     12.
    B
   C
21 Reserved for future use
    A
    B
   C
22 Reserved for future use
    A
    B
   C
23 Reserved for future use
    A
    B
    C
24 Total gross income (combine lines 1
   through 23)                    24,352.                                                                                                                      24,352.
    A             US                         24,352.                        0.                  0.                  0.                      0.                0.          24,352.
    B
    C
                                                                                                                                                            Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                        Page 5
Name of partnership                                              EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                            XX-XXXXXXX                   PAUL ABRAHAMIAN                                                             -4851
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions
                                                                                                  Foreign Source
                  Description                  (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other       (f) Sourced by          (g) Total
                                                                    category income     category income      category income   (category code     )
                                                                                                                                                           partner

25 Expenses allocable to sales income             26,807.                                                                                                                     26,807.
26 Expenses allocable to gross income
     from performances of services 
27 Net short-term capital loss 
28 Net long-term capital loss 
29 Collectibles loss 
30 Net section 1231 loss 
31 Other losses 
32 Research & experimental (R&E) expenses
    A SIC code:                  
    B SIC code:                  
   C SIC code:                   
33 Allocable rental expenses - depreciation,
     depletion, and amortization 
34 Allocable rental expenses - other than
   depreciation, depletion, and amortization
35 Allocable royalty and licensing
   expenses - depreciation, depletion, and
     amortization 
36 Allocable royalty and licensing
   expenses - other than depreciation,
     depletion, and amortization 
37 Depreciation not included on line 33 or
   35                                  765.                                                                                                                        765.
38 Charitable contributions                         1.                                                                                                                          1.
39 Interest expense specifically allocable
     under Regulations section 1.861-10(e)
40 Other interest expense specifically
   allocable under Regulations section
     1.861-10T                             107.                                                                                                                        107.
41 Other interest expense - business 
42 Other interest expense - investment 
43 Other interest expense - passive activity
44 Section 59(e)(2) expenditures, excluding
     R&E expenses on line 32    
45 Foreign taxes not creditable but
   deductible 
224175 12-07-22                                                                                                                                                  Schedule K-3 (Form 1065) 2022
                                                           Case 24-10856-JKS               Doc 1        Filed 04/25/24            Page 96 of 733

Schedule K-3 (Form 1065) 2022                                                                                                                                                                                     Page 6
Name of partnership                                                     EIN                                Name of partner                                                             SSN or TIN
STICKYS HOLDINGS, LLC                                                    XX-XXXXXXX                       PAUL ABRAHAMIAN                                                                             -4851
 Part II  Foreign Tax Credit Limitation (continued)
 Section 2 - Deductions (continued)
                                                                                                              Foreign Source
                                                                                                                                                                               (f) Sourced by
                      Description                     (a) U.S. source      (b) Foreign branch         (c) Passive             (d) General                (e) Other                  partner                (g) Total
                                                                            category income        category income         category income     (category code            )

 46 Section 986(c) loss 
 47 Section 987 loss 
 48 Section 988 loss 
 49 Other allocable deductions (see
          instructions)   
 50 Other apportioned share of
    deductions (see instructions) 
 51 Reserved for future use 
 52 Reserved for future use 
 53 Reserved for future use 
 54 Total deductions (combine lines 25
          through 53)                           27,680.                                                                                                                                          27,680.
 55 Net income (loss) (subtract line 54
    from line 24)             -3,328.                                                                                                                                                            -3,328.
 Part III Other Information for Preparation of Form 1116 or 1118
 Section 1 - R&E Expenses Apportionment Factors
                                                                                                      Foreign Source
                                                                                                                                                (e) Other                    (f) Sourced by
              Description                (a) U.S. source        (b) Foreign branch          (c) Passive              (d) General                                                  partner                 (g) Total
                                                                                         category income          category income       (category code               )
                                                                 category income
                                                                                                                                        (country code                )

  1 Gross receipts by SIC code
    A SIC code:
      B     SIC code:
      C     SIC code:
      E     SIC code:
      E     SIC code:
      F     SIC code:
  2         Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
      A     R&E expense with respect to activity performed in the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(ii)
             (iii) SIC code:               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 2A(iii)
      B     R&E expense with respect to activity performed outside the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(ii)
             (iii) SIC code:                                                                                                2B(iii)
224176 12-07-22                                                                                                                                                                               Schedule K-3 (Form 1065) 2022
       2                              Case 24-10856-JKS                               Doc 1             Filed 04/25/24                           Page 97 of 733

                                                                                                                                                                                                 651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                         2022
                                                                            For calendar year 2022, or tax year
                                                                                                                                     Final K-1                Amended K-1
                                                                                                                                 Part III Partner's Share of Current Year Income,
                                                                                                                                                                                        OMB No. 1545-0123

Internal Revenue Service                                                                                                                  Deductions, Credits, and Other Items
                            beginning                                       ending                                    1 Ordinary business income (loss)              14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                   -17,858. A                                        1,124.
Credits, etc.                          See separate instructions.                                                     2 Net rental real estate income (loss) C                            79,136.
  Part I Information About the Partnership                                                                                                                           15 Credits
  A Partnership's employer identification number                                                                      3 Other net rental income (loss)               N                             89.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                        4a Guaranteed payments for services                16 Schedule K-3 is attached if
                                                                                                                                                  19,014.               checked                 X
  STICKYS HOLDINGS, LLC                                                                                           4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                   A                           -374.
  NEW YORK, NY 10010                                                                                              4c Total guaranteed payments
  C IRS center where partnership filed return:                                                                                                    19,014.
  E-FILE                                                                                                              5 Interest income                              18 Tax-exempt income and
  D            Check if this is a publicly traded partnership (PTP)                                                                                      939.            nondeductible expenses
   Part II         Information About the Partner                                                                  6a Ordinary dividends                              B*                   10,050.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                 C*                      STMT
                     1191                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                             19 Distributions
                                                                                                                  6c Dividend equivalents
  JONATHAN SHERMAN
                                                                                                                      7 Royalties                                    20 Other information
                                                                                                                                                                     A                        939.
  G X General partner or LLC                                                Limited partner or other LLC              8 Net short-term capital gain (loss)           N      *                 546.
               member-manager                                               member                                                                                   Z      *                 STMT
  H1 X Domestic partner                                      Foreign partner                                      9a Net long-term capital gain (loss)               AF     *                 394.
  H2   If the partner is a disregarded entity (DE), enter the partner's:                                                                                             AG     *             123,729.
      TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                  AH     *                 STMT
  I1 What type of entity is this partner?           INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                   9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                   Ending                           10 Net section 1231 gain (loss)
      Profit                 2.8997650 %                                             0.5559912 %
      Loss                   2.8997650 %                                             0.5559912 % 11 Other income (loss)
      Capital                1.0017210 %                                             1.0782696 %
      Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                               Beginning                                  Ending                  12 Section 179 deduction                           21 Foreign taxes paid or accrued
      Nonrecourse  $                          142,562. $                                 26,253.
      Qualified nonrecourse                                                                                       13 Other deductions
      financing  $                                                  $                                   A                                          6.
      Recourse  $                               95,384. $                                            0. M                                     19,014.
      Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                         Partner's Capital Account Analysis                                                    22                     More than one activity for at-risk purposes*
                                                                                                                  23                     More than one activity for passive activity purposes*
      Beginning capital account ~~~~~~~~~ $                                              -37,888.                                *See attached statement for additional information.
      Capital contributed during the year ~~~~~~ $
      Current year net income (loss) ~~~~~~~~ $                                             -6,966.
      Other increase (decrease) (attach explanation) ~ $
                                                                                                                  For IRS Use Only




      Withdrawals and distributions ~~~~~~~~ $ (                                                              )
      Ending capital account          ~~~~~~~~~~ $                                       -44,854.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                123,505.
      Ending  $                                 123,505.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                             www.irs.gov/Form1065              Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                        2
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                   AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                10,050.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                               10,050.
                                                                               ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                      AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                  }}}}}}}}}}}}}}
  PENALTIES                                                                                2.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             89.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   91.
                                                                               ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                   AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                         546.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                  546.
                                                                               ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                          -17,858.
     SELF-EMPLOYMENT EARNINGS(LOSS)                                                  -17,890.
     HEALTH INSURANCE PAYMENTS                                                        19,014.
     W-2 WAGES                                                                        25,381.
     UNADJUSTED BASIS OF ASSETS                                                       51,011.




                                           60                      PARTNER NUMBER 2
22470912 795476 95517                   2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                   AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                           638.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                      AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                  }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                           394.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                       394.
                                                                               ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                   AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                   123,729.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                  123,729.
                                                                               ~~~~~~~~~~~~~~




                                           61                      PARTNER NUMBER 2
22470912 795476 95517                   2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -17,858.
  INTEREST INCOME                                                   939.
  OTHER TAX-EXEMPT INCOME                                        10,050.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                             -6,869.

  CHARITABLE CONTRIBUTIONS                                           -6.
  NONDEDUCTIBLE EXPENSES                                            -91.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                   -97.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                   -6,966.
                                                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                               546.
  BUSINESS INTEREST INCOME                                                                939.

  GROSS RECEIPTS FOR 12/31/2019                                                        66,718.
  GROSS RECEIPTS FOR 12/31/2020                                                        83,742.
  GROSS RECEIPTS FOR 12/31/2021                                                       100,332.




                                            62                      PARTNER NUMBER 2
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                                1191
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      JONATHAN SHERMAN
24 E 23RD STREET
NEW YORK, NY 10010
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2      X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
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LHA




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Schedule K-3 (Form 1065) 2022                                                                                                                                                                         Page 2
Name of partnership                                                 EIN                              Name of partner                                                      SSN or TIN
STICKYS HOLDINGS, LLC                             XX-XXXXXXX                JONATHAN SHERMAN                                                                                           -1191
 Part I Partner's Share of Partnership's Other Current Year International Information
Check box(es) for additional specified attachments. See instructions.
    1. Gain on personal property sale                  5. High-taxed income                             8. Form 5471 information                            11. Dual consolidated loss
    2. Foreign oil and gas taxes                       6. Section 267A disallowed deduction             9. Other forms                                      12. Form 8865 information
    3. Splitter arrangements                           7. Form 8858 information                         10. Partner loan transactions                       13. Other international items
    4. Foreign tax translation                                                                                                                                   (attach description and statement)

 Part II Foreign Tax Credit Limitation
Section 1 - Gross Income
                                                                                                        Foreign Source
                   Description                    (a) U.S. source                                                                                                 (f) Sourced by
                                                                        (b) Foreign branch       (c) Passive          (d) General              (e) Other               partner              (g) Total
                                                                         category income      category income      category income      (category code       )

  1 Sales
    A             US                                122,823.                           0.                   0.                   0.                        0.                   0.          122,823.
    B
    C
  2 Gross income from performance of services
    A
    B
    C
  3 Gross rental real estate income
    A
    B
    C
  4 Other gross rental income
    A
    B
    C
  5 Guaranteed payments          
  6 Interest income
    A             US                                        939.                       0.                   0.                   0.                        0.                   0.                 939.
    B
    C
  7 Ordinary dividends (exclude amount on
     line 8)
    A
    B
    C
                                                                                                                                                                              Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                Page 3
Name of partnership                                      EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                    XX-XXXXXXX                   JONATHAN SHERMAN                                                            -1191
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                          Foreign Source
                                                                                                                                              (f) Sourced by
                  Description          (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other            partner            (g) Total
                                                            category income     category income      category income   (category code     )

  8 Qualified dividends
    A
    B
   C
 9 Reserved for future use 
10 Royalties and license fees
    A
    B
   C
11 Net short-term capital gain
    A
    B
   C
12 Net long-term capital gain
    A
    B
   C
13 Collectibles (28%) gain
    A
    B
   C
14 Unrecaptured section 1250 gain
    A
    B
   C
15 Net section 1231 gain
    A
    B
    C
                                                                                                                                                         Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                   Page 4
Name of partnership                                        EIN                           Name of partner                                                SSN or TIN
STICKYS HOLDINGS, LLC                                      XX-XXXXXXX                   JONATHAN SHERMAN                                                             -1191
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                            Foreign Source
                                                                                                                                                 (f) Sourced by
                   Description           (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other             partner            (g) Total
                                                              category income     category income      category income   (category code      )

16 Section 986(c) gain 
17 Section 987 gain 
18 Section 988 gain 
19 Section 951(a) inclusions
    A
    B
   C
20 Other income (see instructions)
    A             US                                 58.                    0.                  0.                  0.                      0.                0.                     58.
    B
   C
21 Reserved for future use
    A
    B
   C
22 Reserved for future use
    A
    B
   C
23 Reserved for future use
    A
    B
    C
24 Total gross income (combine lines 1
   through 23)                  123,820.                                                                                                                     123,820.
    A             US                       123,820.                         0.                  0.                  0.                      0.                0.        123,820.
    B
    C
                                                                                                                                                            Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                        Page 5
Name of partnership                                              EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                            XX-XXXXXXX                   JONATHAN SHERMAN                                                             1191
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions
                                                                                                  Foreign Source
                  Description                  (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other       (f) Sourced by          (g) Total
                                                                    category income     category income      category income   (category code     )
                                                                                                                                                           partner

25 Expenses allocable to sales income           136,304.                                                                                                                    136,304.
26 Expenses allocable to gross income
     from performances of services 
27 Net short-term capital loss 
28 Net long-term capital loss 
29 Collectibles loss 
30 Net section 1231 loss 
31 Other losses 
32 Research & experimental (R&E) expenses
    A SIC code:                  
    B SIC code:                  
   C SIC code:                   
33 Allocable rental expenses - depreciation,
     depletion, and amortization 
34 Allocable rental expenses - other than
   depreciation, depletion, and amortization
35 Allocable royalty and licensing
   expenses - depreciation, depletion, and
     amortization 
36 Allocable royalty and licensing
   expenses - other than depreciation,
     depletion, and amortization 
37 Depreciation not included on line 33 or
   35                              3,888.                                                                                                                      3,888.
38 Charitable contributions                       6.                                                                                                                          6.
39 Interest expense specifically allocable
     under Regulations section 1.861-10(e)
40 Other interest expense specifically
   allocable under Regulations section
     1.861-10T                             546.                                                                                                                        546.
41 Other interest expense - business 
42 Other interest expense - investment 
43 Other interest expense - passive activity
44 Section 59(e)(2) expenditures, excluding
     R&E expenses on line 32    
45 Foreign taxes not creditable but
   deductible 
224175 12-07-22                                                                                                                                                  Schedule K-3 (Form 1065) 2022
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Schedule K-3 (Form 1065) 2022                                                                                                                                                                                     Page 6
Name of partnership                                                     EIN                                Name of partner                                                             SSN or TIN
STICKYS HOLDINGS, LLC                                                    XX-XXXXXXX                       JONATHAN SHERMAN                                                                              1191
 Part II  Foreign Tax Credit Limitation (continued)
 Section 2 - Deductions (continued)
                                                                                                              Foreign Source
                                                                                                                                                                               (f) Sourced by
                      Description                     (a) U.S. source      (b) Foreign branch         (c) Passive             (d) General                (e) Other                  partner                (g) Total
                                                                            category income        category income         category income     (category code            )

 46 Section 986(c) loss 
 47 Section 987 loss 
 48 Section 988 loss 
 49 Other allocable deductions (see
          instructions)   
 50 Other apportioned share of
    deductions (see instructions) 
 51 Reserved for future use 
 52 Reserved for future use 
 53 Reserved for future use 
 54 Total deductions (combine lines 25
          through 53)                           140,744.                                                                                                                                       140,744.
 55 Net income (loss) (subtract line 54
    from line 24)           -16,924.                                                                                                                                                           -16,924.
 Part III Other Information for Preparation of Form 1116 or 1118
 Section 1 - R&E Expenses Apportionment Factors
                                                                                                      Foreign Source
                                                                                                                                                (e) Other                    (f) Sourced by
              Description                (a) U.S. source        (b) Foreign branch          (c) Passive              (d) General                                                  partner                 (g) Total
                                                                                         category income          category income       (category code               )
                                                                 category income
                                                                                                                                        (country code                )

  1 Gross receipts by SIC code
    A SIC code:
      B     SIC code:
      C     SIC code:
      E     SIC code:
      E     SIC code:
      F     SIC code:
  2         Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
      A     R&E expense with respect to activity performed in the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(ii)
             (iii) SIC code:               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 2A(iii)
      B     R&E expense with respect to activity performed outside the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(ii)
             (iii) SIC code:                                                                                                2B(iii)
224176 12-07-22                                                                                                                                                                               Schedule K-3 (Form 1065) 2022
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                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                              -130,078. A                                               0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                         649.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                   -2,718.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                        6,843.               nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                  73,210.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
                      7273                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  MICHAEL P SHERMAN
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                     6,843.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *            3,977.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *            2,865.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          901,261.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 4.5441060 %                                             4.0498997 %
       Loss                   4.5441060 %                                             4.0498997 % 11 Other income (loss)
       Capital                4.1439540 %                                             4.1600925 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                          223,404. $                              191,231.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                42.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 89,631.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                          -50,726.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          38,905.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                264,548.
      Ending  $                                 264,548.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                                3
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 73,210.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                73,210.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                10.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             649.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   659.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                        3,977.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                 3,977.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                          -130,078.
     W-2 WAGES                                                                        184,882.
     UNADJUSTED BASIS OF ASSETS                                                       371,565.




                                            70                      PARTNER NUMBER 3
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                          4,644.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                         2,865.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                     2,865.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    901,261.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   901,261.
                                                                                ~~~~~~~~~~~~~~




                                            71                      PARTNER NUMBER 3
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                       -130,078.
  INTEREST INCOME                                                 6,843.
  OTHER TAX-EXEMPT INCOME                                        73,210.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                            -50,025.

  CHARITABLE CONTRIBUTIONS                                          -42.
  NONDEDUCTIBLE EXPENSES                                           -659.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                  -701.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                  -50,726.
                                                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                             3,977.
  BUSINESS INTEREST INCOME                                                              6,843.

  GROSS RECEIPTS FOR 12/31/2019                                                       485,988.
  GROSS RECEIPTS FOR 12/31/2020                                                       609,988.
  GROSS RECEIPTS FOR 12/31/2021                                                       730,827.




                                            72                      PARTNER NUMBER 3
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                                7273
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      MICHAEL P SHERMAN
24 E 23RD STREET
NEW YORK, NY 10010
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2      X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
   For IRS Use Only




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LHA




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Schedule K-3 (Form 1065) 2022                                                                                                                                                                         Page 2
Name of partnership                                                 EIN                              Name of partner                                                      SSN or TIN
STICKYS HOLDINGS, LLC                             XX-XXXXXXX                MICHAEL P SHERMAN                                                                                            7273
 Part I Partner's Share of Partnership's Other Current Year International Information
Check box(es) for additional specified attachments. See instructions.
    1. Gain on personal property sale                  5. High-taxed income                             8. Form 5471 information                            11. Dual consolidated loss
    2. Foreign oil and gas taxes                       6. Section 267A disallowed deduction             9. Other forms                                      12. Form 8865 information
    3. Splitter arrangements                           7. Form 8858 information                         10. Partner loan transactions                       13. Other international items
    4. Foreign tax translation                                                                                                                                   (attach description and statement)

 Part II Foreign Tax Credit Limitation
Section 1 - Gross Income
                                                                                                        Foreign Source
                   Description                    (a) U.S. source                                                                                                 (f) Sourced by
                                                                        (b) Foreign branch       (c) Passive          (d) General              (e) Other               partner              (g) Total
                                                                         category income      category income      category income      (category code       )

  1 Sales
    A             US                                894,652.                           0.                   0.                   0.                        0.                   0.          894,652.
    B
    C
  2 Gross income from performance of services
    A
    B
    C
  3 Gross rental real estate income
    A
    B
    C
  4 Other gross rental income
    A
    B
    C
  5 Guaranteed payments          
  6 Interest income
    A             US                                    6,843.                         0.                   0.                   0.                        0.                   0.             6,843.
    B
    C
  7 Ordinary dividends (exclude amount on
     line 8)
    A
    B
    C
                                                                                                                                                                              Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                Page 3
Name of partnership                                      EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                    XX-XXXXXXX                   MICHAEL P SHERMAN                                                            7273
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                          Foreign Source
                                                                                                                                              (f) Sourced by
                  Description          (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other            partner            (g) Total
                                                            category income     category income      category income   (category code     )

  8 Qualified dividends
    A
    B
   C
 9 Reserved for future use 
10 Royalties and license fees
    A
    B
   C
11 Net short-term capital gain
    A
    B
   C
12 Net long-term capital gain
    A
    B
   C
13 Collectibles (28%) gain
    A
    B
   C
14 Unrecaptured section 1250 gain
    A
    B
   C
15 Net section 1231 gain
    A
    B
    C
                                                                                                                                                         Schedule K-3 (Form 1065) 2022




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                                          Case 24-10856-JKS                Doc 1      Filed 04/25/24         Page 114 of 733

Schedule K-3 (Form 1065) 2022                                                                                                                                                   Page 4
Name of partnership                                        EIN                           Name of partner                                                SSN or TIN
STICKYS HOLDINGS, LLC                                      XX-XXXXXXX                   MICHAEL P SHERMAN                                                             7273
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                            Foreign Source
                                                                                                                                                 (f) Sourced by
                   Description           (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other             partner            (g) Total
                                                              category income     category income      category income   (category code      )

16 Section 986(c) gain 
17 Section 987 gain 
18 Section 988 gain 
19 Section 951(a) inclusions
    A
    B
   C
20 Other income (see instructions)
    A             US                               427.                     0.                  0.                  0.                      0.                0.                427.
    B
   C
21 Reserved for future use
    A
    B
   C
22 Reserved for future use
    A
    B
   C
23 Reserved for future use
    A
    B
    C
24 Total gross income (combine lines 1
   through 23)                  901,922.                                                                                                                     901,922.
    A             US                       901,922.                         0.                  0.                  0.                      0.                0.        901,922.
    B
    C
                                                                                                                                                            Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                        Page 5
Name of partnership                                              EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                            XX-XXXXXXX                   MICHAEL P SHERMAN                                                            7273
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions
                                                                                                  Foreign Source
                  Description                  (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other       (f) Sourced by          (g) Total
                                                                    category income     category income      category income   (category code     )
                                                                                                                                                           partner

25 Expenses allocable to sales income           992,858.                                                                                                                    992,858.
26 Expenses allocable to gross income
     from performances of services 
27 Net short-term capital loss 
28 Net long-term capital loss 
29 Collectibles loss 
30 Net section 1231 loss 
31 Other losses 
32 Research & experimental (R&E) expenses
    A SIC code:                  
    B SIC code:                  
   C SIC code:                   
33 Allocable rental expenses - depreciation,
     depletion, and amortization 
34 Allocable rental expenses - other than
   depreciation, depletion, and amortization
35 Allocable royalty and licensing
   expenses - depreciation, depletion, and
     amortization 
36 Allocable royalty and licensing
   expenses - other than depreciation,
     depletion, and amortization 
37 Depreciation not included on line 33 or
   35                            28,323.                                                                                                                     28,323.
38 Charitable contributions                     42.                                                                                                                         42.
39 Interest expense specifically allocable
     under Regulations section 1.861-10(e)
40 Other interest expense specifically
   allocable under Regulations section
     1.861-10T                         3,977.                                                                                                                      3,977.
41 Other interest expense - business 
42 Other interest expense - investment 
43 Other interest expense - passive activity
44 Section 59(e)(2) expenditures, excluding
     R&E expenses on line 32    
45 Foreign taxes not creditable but
   deductible 
224175 12-07-22                                                                                                                                                  Schedule K-3 (Form 1065) 2022
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Schedule K-3 (Form 1065) 2022                                                                                                                                                                                     Page 6
Name of partnership                                                     EIN                                Name of partner                                                             SSN or TIN
STICKYS HOLDINGS, LLC                                                    XX-XXXXXXX                       MICHAEL P SHERMAN                                                                             7273
 Part II  Foreign Tax Credit Limitation (continued)
 Section 2 - Deductions (continued)
                                                                                                              Foreign Source
                                                                                                                                                                               (f) Sourced by
                      Description                     (a) U.S. source      (b) Foreign branch         (c) Passive             (d) General                (e) Other                  partner                (g) Total
                                                                            category income        category income         category income     (category code            )

 46 Section 986(c) loss 
 47 Section 987 loss 
 48 Section 988 loss 
 49 Other allocable deductions (see
          instructions)   
 50 Other apportioned share of
    deductions (see instructions) 
 51 Reserved for future use 
 52 Reserved for future use 
 53 Reserved for future use 
 54 Total deductions (combine lines 25
          through 53)                    1,025,200.                                                                                                                                        1,025,200.
 55 Net income (loss) (subtract line 54
    from line 24)          -123,278.                                                                                                                                                         -123,278.
 Part III Other Information for Preparation of Form 1116 or 1118
 Section 1 - R&E Expenses Apportionment Factors
                                                                                                      Foreign Source
                                                                                                                                                (e) Other                    (f) Sourced by
              Description                (a) U.S. source        (b) Foreign branch          (c) Passive              (d) General                                                  partner                 (g) Total
                                                                                         category income          category income       (category code               )
                                                                 category income
                                                                                                                                        (country code                )

  1 Gross receipts by SIC code
    A SIC code:
      B     SIC code:
      C     SIC code:
      E     SIC code:
      E     SIC code:
      F     SIC code:
  2         Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
      A     R&E expense with respect to activity performed in the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(ii)
             (iii) SIC code:               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 2A(iii)
      B     R&E expense with respect to activity performed outside the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(ii)
             (iii) SIC code:                                                                                                2B(iii)
224176 12-07-22                                                                                                                                                                               Schedule K-3 (Form 1065) 2022
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                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -70,591. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                         351.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                   -1,476.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                        3,713.               nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                  39,729.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
                      9345                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  PAUL TIETZ
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                     3,713.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *            2,158.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *            1,556.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          489,092.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 2.0675390 %                                             2.1977823 %
       Loss                   2.0675390 %                                             2.1977823 % 11 Other income (loss)
       Capital                2.1729660 %                                             2.1687135 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                          101,647. $                              103,776.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                23.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 59,837.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                          -27,528.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          32,309.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                125,885.
      Ending  $                                 125,885.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                                4
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 39,729.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                39,729.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 5.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             351.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   356.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                        2,158.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                 2,158.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -70,591.
     W-2 WAGES                                                                        100,330.
     UNADJUSTED BASIS OF ASSETS                                                       201,640.




                                            80                      PARTNER NUMBER 4
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                          2,521.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                         1,556.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                     1,556.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    489,092.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   489,092.
                                                                                ~~~~~~~~~~~~~~




                                            81                      PARTNER NUMBER 4
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -70,591.
  INTEREST INCOME                                                 3,713.
  OTHER TAX-EXEMPT INCOME                                        39,729.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                            -27,149.

  CHARITABLE CONTRIBUTIONS                                          -23.
  NONDEDUCTIBLE EXPENSES                                           -356.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                  -379.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                  -27,528.
                                                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                             2,158.
  BUSINESS INTEREST INCOME                                                              3,713.

  GROSS RECEIPTS FOR 12/31/2019                                                       263,734.
  GROSS RECEIPTS FOR 12/31/2020                                                       331,026.
  GROSS RECEIPTS FOR 12/31/2021                                                       396,602.




                                            82                      PARTNER NUMBER 4
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                                9345
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      PAUL TIETZ
24 E 23RD STREET
NEW YORK, NY 10010
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2      X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
   For IRS Use Only




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LHA




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Schedule K-3 (Form 1065) 2022                                                                                                                                                                         Page 2
Name of partnership                                                 EIN                              Name of partner                                                      SSN or TIN
STICKYS HOLDINGS, LLC                             XX-XXXXXXX                PAUL TIETZ                                                                                                   9345
 Part I Partner's Share of Partnership's Other Current Year International Information
Check box(es) for additional specified attachments. See instructions.
    1. Gain on personal property sale                  5. High-taxed income                             8. Form 5471 information                            11. Dual consolidated loss
    2. Foreign oil and gas taxes                       6. Section 267A disallowed deduction             9. Other forms                                      12. Form 8865 information
    3. Splitter arrangements                           7. Form 8858 information                         10. Partner loan transactions                       13. Other international items
    4. Foreign tax translation                                                                                                                                   (attach description and statement)

 Part II Foreign Tax Credit Limitation
Section 1 - Gross Income
                                                                                                        Foreign Source
                   Description                    (a) U.S. source                                                                                                 (f) Sourced by
                                                                        (b) Foreign branch       (c) Passive          (d) General              (e) Other               partner              (g) Total
                                                                         category income      category income      category income      (category code       )

  1 Sales
    A             US                                485,506.                           0.                   0.                   0.                        0.                   0.          485,506.
    B
    C
  2 Gross income from performance of services
    A
    B
    C
  3 Gross rental real estate income
    A
    B
    C
  4 Other gross rental income
    A
    B
    C
  5 Guaranteed payments          
  6 Interest income
    A             US                                    3,713.                         0.                   0.                   0.                        0.                   0.             3,713.
    B
    C
  7 Ordinary dividends (exclude amount on
     line 8)
    A
    B
    C
                                                                                                                                                                              Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                Page 3
Name of partnership                                      EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                    XX-XXXXXXX                   PAUL TIETZ                                                                   9345
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                          Foreign Source
                                                                                                                                              (f) Sourced by
                  Description          (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other            partner            (g) Total
                                                            category income     category income      category income   (category code     )

  8 Qualified dividends
    A
    B
   C
 9 Reserved for future use 
10 Royalties and license fees
    A
    B
   C
11 Net short-term capital gain
    A
    B
   C
12 Net long-term capital gain
    A
    B
   C
13 Collectibles (28%) gain
    A
    B
   C
14 Unrecaptured section 1250 gain
    A
    B
   C
15 Net section 1231 gain
    A
    B
    C
                                                                                                                                                         Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                   Page 4
Name of partnership                                        EIN                           Name of partner                                                SSN or TIN
STICKYS HOLDINGS, LLC                                      XX-XXXXXXX                   PAUL TIETZ                                                                    9345
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                            Foreign Source
                                                                                                                                                 (f) Sourced by
                   Description           (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other             partner            (g) Total
                                                              category income     category income      category income   (category code      )

16 Section 986(c) gain 
17 Section 987 gain 
18 Section 988 gain 
19 Section 951(a) inclusions
    A
    B
   C
20 Other income (see instructions)
    A             US                               231.                     0.                  0.                  0.                      0.                0.                231.
    B
   C
21 Reserved for future use
    A
    B
   C
22 Reserved for future use
    A
    B
   C
23 Reserved for future use
    A
    B
    C
24 Total gross income (combine lines 1
   through 23)                  489,450.                                                                                                                     489,450.
    A             US                       489,450.                         0.                  0.                  0.                      0.                0.        489,450.
    B
    C
                                                                                                                                                            Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                        Page 5
Name of partnership                                              EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                            XX-XXXXXXX                   PAUL TIETZ                                                                   9345
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions
                                                                                                  Foreign Source
                  Description                  (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other       (f) Sourced by          (g) Total
                                                                    category income     category income      category income   (category code     )
                                                                                                                                                           partner

25 Expenses allocable to sales income           538,799.                                                                                                                    538,799.
26 Expenses allocable to gross income
     from performances of services 
27 Net short-term capital loss 
28 Net long-term capital loss 
29 Collectibles loss 
30 Net section 1231 loss 
31 Other losses 
32 Research & experimental (R&E) expenses
    A SIC code:                  
    B SIC code:                  
   C SIC code:                   
33 Allocable rental expenses - depreciation,
     depletion, and amortization 
34 Allocable rental expenses - other than
   depreciation, depletion, and amortization
35 Allocable royalty and licensing
   expenses - depreciation, depletion, and
     amortization 
36 Allocable royalty and licensing
   expenses - other than depreciation,
     depletion, and amortization 
37 Depreciation not included on line 33 or
   35                            15,371.                                                                                                                     15,371.
38 Charitable contributions                     23.                                                                                                                         23.
39 Interest expense specifically allocable
     under Regulations section 1.861-10(e)
40 Other interest expense specifically
   allocable under Regulations section
     1.861-10T                         2,158.                                                                                                                      2,158.
41 Other interest expense - business 
42 Other interest expense - investment 
43 Other interest expense - passive activity
44 Section 59(e)(2) expenditures, excluding
     R&E expenses on line 32    
45 Foreign taxes not creditable but
   deductible 
224175 12-07-22                                                                                                                                                  Schedule K-3 (Form 1065) 2022
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Schedule K-3 (Form 1065) 2022                                                                                                                                                                                     Page 6
Name of partnership                                                     EIN                                Name of partner                                                             SSN or TIN
STICKYS HOLDINGS, LLC                                                    XX-XXXXXXX                       PAUL TIETZ                                                                                    9345
 Part II  Foreign Tax Credit Limitation (continued)
 Section 2 - Deductions (continued)
                                                                                                              Foreign Source
                                                                                                                                                                               (f) Sourced by
                      Description                     (a) U.S. source      (b) Foreign branch         (c) Passive             (d) General                (e) Other                  partner                (g) Total
                                                                            category income        category income         category income     (category code            )

 46 Section 986(c) loss 
 47 Section 987 loss 
 48 Section 988 loss 
 49 Other allocable deductions (see
          instructions)   
 50 Other apportioned share of
    deductions (see instructions) 
 51 Reserved for future use 
 52 Reserved for future use 
 53 Reserved for future use 
 54 Total deductions (combine lines 25
          through 53)                           556,351.                                                                                                                                       556,351.
 55 Net income (loss) (subtract line 54
    from line 24)           -66,901.                                                                                                                                                           -66,901.
 Part III Other Information for Preparation of Form 1116 or 1118
 Section 1 - R&E Expenses Apportionment Factors
                                                                                                      Foreign Source
                                                                                                                                                (e) Other                    (f) Sourced by
              Description                (a) U.S. source        (b) Foreign branch          (c) Passive              (d) General                                                  partner                 (g) Total
                                                                                         category income          category income       (category code               )
                                                                 category income
                                                                                                                                        (country code                )

  1 Gross receipts by SIC code
    A SIC code:
      B     SIC code:
      C     SIC code:
      E     SIC code:
      E     SIC code:
      F     SIC code:
  2         Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
      A     R&E expense with respect to activity performed in the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(ii)
             (iii) SIC code:               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 2A(iii)
      B     R&E expense with respect to activity performed outside the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(ii)
             (iii) SIC code:                                                                                                2B(iii)
224176 12-07-22                                                                                                                                                                               Schedule K-3 (Form 1065) 2022
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                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -81,380. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                         406.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                   -1,701.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                        4,281.               nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                  45,802.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
                      0556                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  JAMES R HART III
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                     4,281.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *            2,488.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *            1,792.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          563,854.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit               15.3564970 %                                              2.5337341 %
       Loss                 15.3564970 %                                              2.5337341 % 11 Other income (loss)
       Capital               4.9725590 %                                              5.3913480 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                          754,979. $                              119,640.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                26.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                              269,725.                                *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                          -31,736.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                       237,989.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                155,276.
      Ending  $                                 155,276.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                                5
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 45,802.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                45,802.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 7.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             406.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   413.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                        2,488.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                 2,488.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -81,380.
     W-2 WAGES                                                                        115,667.
     UNADJUSTED BASIS OF ASSETS                                                       232,462.




                                            90                      PARTNER NUMBER 5
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                          2,906.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                         1,792.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                     1,792.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    563,854.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   563,854.
                                                                                ~~~~~~~~~~~~~~




                                            91                      PARTNER NUMBER 5
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -81,380.
  INTEREST INCOME                                                 4,281.
  OTHER TAX-EXEMPT INCOME                                        45,802.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                            -31,297.

  CHARITABLE CONTRIBUTIONS                                          -26.
  NONDEDUCTIBLE EXPENSES                                           -413.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                  -439.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                  -31,736.
                                                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                             2,489.
  BUSINESS INTEREST INCOME                                                              4,281.

  GROSS RECEIPTS FOR 12/31/2019                                                       304,048.
  GROSS RECEIPTS FOR 12/31/2020                                                       381,626.
  GROSS RECEIPTS FOR 12/31/2021                                                       457,227.




                                            92                      PARTNER NUMBER 5
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                                0556
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      JAMES R HART III
24 E 23RD STREET
NEW YORK, NY 10010
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2      X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
   For IRS Use Only




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LHA




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Schedule K-3 (Form 1065) 2022                                                                                                                                                                         Page 2
Name of partnership                                                 EIN                              Name of partner                                                      SSN or TIN
STICKYS HOLDINGS, LLC                             XX-XXXXXXX                JAMES R HART III                                                                                             0556
 Part I Partner's Share of Partnership's Other Current Year International Information
Check box(es) for additional specified attachments. See instructions.
    1. Gain on personal property sale                  5. High-taxed income                             8. Form 5471 information                            11. Dual consolidated loss
    2. Foreign oil and gas taxes                       6. Section 267A disallowed deduction             9. Other forms                                      12. Form 8865 information
    3. Splitter arrangements                           7. Form 8858 information                         10. Partner loan transactions                       13. Other international items
    4. Foreign tax translation                                                                                                                                   (attach description and statement)

 Part II Foreign Tax Credit Limitation
Section 1 - Gross Income
                                                                                                        Foreign Source
                   Description                    (a) U.S. source                                                                                                 (f) Sourced by
                                                                        (b) Foreign branch       (c) Passive          (d) General              (e) Other               partner              (g) Total
                                                                         category income      category income      category income      (category code       )

  1 Sales
    A             US                                559,721.                           0.                   0.                   0.                        0.                   0.          559,721.
    B
    C
  2 Gross income from performance of services
    A
    B
    C
  3 Gross rental real estate income
    A
    B
    C
  4 Other gross rental income
    A
    B
    C
  5 Guaranteed payments          
  6 Interest income
    A             US                                    4,281.                         0.                   0.                   0.                        0.                   0.             4,281.
    B
    C
  7 Ordinary dividends (exclude amount on
     line 8)
    A
    B
    C
                                                                                                                                                                              Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                Page 3
Name of partnership                                      EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                    XX-XXXXXXX                   JAMES R HART III                                                             0556
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                          Foreign Source
                                                                                                                                              (f) Sourced by
                  Description          (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other            partner            (g) Total
                                                            category income     category income      category income   (category code     )

  8 Qualified dividends
    A
    B
   C
 9 Reserved for future use 
10 Royalties and license fees
    A
    B
   C
11 Net short-term capital gain
    A
    B
   C
12 Net long-term capital gain
    A
    B
   C
13 Collectibles (28%) gain
    A
    B
   C
14 Unrecaptured section 1250 gain
    A
    B
   C
15 Net section 1231 gain
    A
    B
    C
                                                                                                                                                         Schedule K-3 (Form 1065) 2022




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                                          Case 24-10856-JKS                Doc 1      Filed 04/25/24         Page 134 of 733

Schedule K-3 (Form 1065) 2022                                                                                                                                                   Page 4
Name of partnership                                        EIN                           Name of partner                                                SSN or TIN
STICKYS HOLDINGS, LLC                                      XX-XXXXXXX                   JAMES R HART III                                                              0556
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                            Foreign Source
                                                                                                                                                 (f) Sourced by
                   Description           (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other             partner            (g) Total
                                                              category income     category income      category income   (category code      )

16 Section 986(c) gain 
17 Section 987 gain 
18 Section 988 gain 
19 Section 951(a) inclusions
    A
    B
   C
20 Other income (see instructions)
    A             US                               267.                     0.                  0.                  0.                      0.                0.                267.
    B
   C
21 Reserved for future use
    A
    B
   C
22 Reserved for future use
    A
    B
   C
23 Reserved for future use
    A
    B
    C
24 Total gross income (combine lines 1
   through 23)                  564,269.                                                                                                                     564,269.
    A             US                       564,269.                         0.                  0.                  0.                      0.                0.        564,269.
    B
    C
                                                                                                                                                            Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                        Page 5
Name of partnership                                              EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                            XX-XXXXXXX                   JAMES R HART III                                                             0556
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions
                                                                                                  Foreign Source
                  Description                  (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other       (f) Sourced by          (g) Total
                                                                    category income     category income      category income   (category code     )
                                                                                                                                                           partner

25 Expenses allocable to sales income           621,160.                                                                                                                    621,160.
26 Expenses allocable to gross income
     from performances of services 
27 Net short-term capital loss 
28 Net long-term capital loss 
29 Collectibles loss 
30 Net section 1231 loss 
31 Other losses 
32 Research & experimental (R&E) expenses
    A SIC code:                  
    B SIC code:                  
   C SIC code:                   
33 Allocable rental expenses - depreciation,
     depletion, and amortization 
34 Allocable rental expenses - other than
   depreciation, depletion, and amortization
35 Allocable royalty and licensing
   expenses - depreciation, depletion, and
     amortization 
36 Allocable royalty and licensing
   expenses - other than depreciation,
     depletion, and amortization 
37 Depreciation not included on line 33 or
   35                            17,720.                                                                                                                     17,720.
38 Charitable contributions                     26.                                                                                                                         26.
39 Interest expense specifically allocable
     under Regulations section 1.861-10(e)
40 Other interest expense specifically
   allocable under Regulations section
     1.861-10T                         2,488.                                                                                                                      2,488.
41 Other interest expense - business 
42 Other interest expense - investment 
43 Other interest expense - passive activity
44 Section 59(e)(2) expenditures, excluding
     R&E expenses on line 32    
45 Foreign taxes not creditable but
   deductible 
224175 12-07-22                                                                                                                                                  Schedule K-3 (Form 1065) 2022
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Schedule K-3 (Form 1065) 2022                                                                                                                                                                                     Page 6
Name of partnership                                                     EIN                                Name of partner                                                             SSN or TIN
STICKYS HOLDINGS, LLC                                                    XX-XXXXXXX                       JAMES R HART III                                                                              0556
 Part II  Foreign Tax Credit Limitation (continued)
 Section 2 - Deductions (continued)
                                                                                                              Foreign Source
                                                                                                                                                                               (f) Sourced by
                      Description                     (a) U.S. source      (b) Foreign branch         (c) Passive             (d) General                (e) Other                  partner                (g) Total
                                                                            category income        category income         category income     (category code            )

 46 Section 986(c) loss 
 47 Section 987 loss 
 48 Section 988 loss 
 49 Other allocable deductions (see
          instructions)   
 50 Other apportioned share of
    deductions (see instructions) 
 51 Reserved for future use 
 52 Reserved for future use 
 53 Reserved for future use 
 54 Total deductions (combine lines 25
          through 53)                           641,394.                                                                                                                                       641,394.
 55 Net income (loss) (subtract line 54
    from line 24)           -77,125.                                                                                                                                                           -77,125.
 Part III Other Information for Preparation of Form 1116 or 1118
 Section 1 - R&E Expenses Apportionment Factors
                                                                                                      Foreign Source
                                                                                                                                                (e) Other                    (f) Sourced by
              Description                (a) U.S. source        (b) Foreign branch          (c) Passive              (d) General                                                  partner                 (g) Total
                                                                                         category income          category income       (category code               )
                                                                 category income
                                                                                                                                        (country code                )

  1 Gross receipts by SIC code
    A SIC code:
      B     SIC code:
      C     SIC code:
      E     SIC code:
      E     SIC code:
      F     SIC code:
  2         Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
      A     R&E expense with respect to activity performed in the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(ii)
             (iii) SIC code:               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 2A(iii)
      B     R&E expense with respect to activity performed outside the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(ii)
             (iii) SIC code:                                                                                                2B(iii)
224176 12-07-22                                                                                                                                                                               Schedule K-3 (Form 1065) 2022
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                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -18,451. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                            92.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                        -385.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                              971.           nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                  10,385.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
                      3657                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  RYAN N COTTON
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                       971.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *              564.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *              407.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          127,839.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 3.1677180 %                                             0.5744534 %
       Loss                   3.1677180 %                                             0.5744534 % 11 Other income (loss)
       Capital                1.0675680 %                                             1.1522685 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                          155,735. $                                 27,125.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                   6.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 58,096.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                             -7,194.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          50,902.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                   33,149.
      Ending  $                                    33,149.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                                6
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 138 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 10,385.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                10,385.
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  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 1.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                              92.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                    93.
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  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                          564.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                   564.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -18,451.
     W-2 WAGES                                                                         26,225.
     UNADJUSTED BASIS OF ASSETS                                                        52,704.




                                            100                     PARTNER NUMBER 6
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



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  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                            658.



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  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                            407.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                        407.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    127,839.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   127,839.
                                                                                ~~~~~~~~~~~~~~




                                            101                     PARTNER NUMBER 6
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -18,451.
  INTEREST INCOME                                                   971.
  OTHER TAX-EXEMPT INCOME                                        10,385.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                             -7,095.

  CHARITABLE CONTRIBUTIONS                                           -6.
  NONDEDUCTIBLE EXPENSES                                            -93.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                   -99.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                   -7,194.
                                                                                ~~~~~~~~~~~~~~




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  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                               564.
  BUSINESS INTEREST INCOME                                                                971.

  GROSS RECEIPTS FOR 12/31/2019                                                        68,935.
  GROSS RECEIPTS FOR 12/31/2020                                                        86,523.
  GROSS RECEIPTS FOR 12/31/2021                                                       103,663.




                                            102                     PARTNER NUMBER 6
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                           Case 24-10856-JKS                    Doc 1      Filed 04/25/24              Page 141 of 733

                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                                3657
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      RYAN N COTTON
24 E 23RD STREET
NEW YORK, NY 10010
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2      X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
   For IRS Use Only




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LHA




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Schedule K-3 (Form 1065) 2022                                                                                                                                                                         Page 2
Name of partnership                                                 EIN                              Name of partner                                                      SSN or TIN
STICKYS HOLDINGS, LLC                             XX-XXXXXXX                RYAN N COTTON                                                                                                3657
 Part I Partner's Share of Partnership's Other Current Year International Information
Check box(es) for additional specified attachments. See instructions.
    1. Gain on personal property sale                  5. High-taxed income                             8. Form 5471 information                            11. Dual consolidated loss
    2. Foreign oil and gas taxes                       6. Section 267A disallowed deduction             9. Other forms                                      12. Form 8865 information
    3. Splitter arrangements                           7. Form 8858 information                         10. Partner loan transactions                       13. Other international items
    4. Foreign tax translation                                                                                                                                   (attach description and statement)

 Part II Foreign Tax Credit Limitation
Section 1 - Gross Income
                                                                                                        Foreign Source
                   Description                    (a) U.S. source                                                                                                 (f) Sourced by
                                                                        (b) Foreign branch       (c) Passive          (d) General              (e) Other               partner              (g) Total
                                                                         category income      category income      category income      (category code       )

  1 Sales
    A             US                                126,901.                           0.                   0.                   0.                        0.                   0.          126,901.
    B
    C
  2 Gross income from performance of services
    A
    B
    C
  3 Gross rental real estate income
    A
    B
    C
  4 Other gross rental income
    A
    B
    C
  5 Guaranteed payments          
  6 Interest income
    A             US                                        971.                       0.                   0.                   0.                        0.                   0.                 971.
    B
    C
  7 Ordinary dividends (exclude amount on
     line 8)
    A
    B
    C
                                                                                                                                                                              Schedule K-3 (Form 1065) 2022




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                                        Case 24-10856-JKS                Doc 1      Filed 04/25/24         Page 143 of 733

Schedule K-3 (Form 1065) 2022                                                                                                                                                Page 3
Name of partnership                                      EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                    XX-XXXXXXX                   RYAN N COTTON                                                                3657
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                          Foreign Source
                                                                                                                                              (f) Sourced by
                  Description          (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other            partner            (g) Total
                                                            category income     category income      category income   (category code     )

  8 Qualified dividends
    A
    B
   C
 9 Reserved for future use 
10 Royalties and license fees
    A
    B
   C
11 Net short-term capital gain
    A
    B
   C
12 Net long-term capital gain
    A
    B
   C
13 Collectibles (28%) gain
    A
    B
   C
14 Unrecaptured section 1250 gain
    A
    B
   C
15 Net section 1231 gain
    A
    B
    C
                                                                                                                                                         Schedule K-3 (Form 1065) 2022




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                                          Case 24-10856-JKS                Doc 1      Filed 04/25/24         Page 144 of 733

Schedule K-3 (Form 1065) 2022                                                                                                                                                   Page 4
Name of partnership                                        EIN                           Name of partner                                                SSN or TIN
STICKYS HOLDINGS, LLC                                      XX-XXXXXXX                   RYAN N COTTON                                                                 3657
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                            Foreign Source
                                                                                                                                                 (f) Sourced by
                   Description           (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other             partner            (g) Total
                                                              category income     category income      category income   (category code      )

16 Section 986(c) gain 
17 Section 987 gain 
18 Section 988 gain 
19 Section 951(a) inclusions
    A
    B
   C
20 Other income (see instructions)
    A             US                                 61.                    0.                  0.                  0.                      0.                0.                     61.
    B
   C
21 Reserved for future use
    A
    B
   C
22 Reserved for future use
    A
    B
   C
23 Reserved for future use
    A
    B
    C
24 Total gross income (combine lines 1
   through 23)                  127,933.                                                                                                                     127,933.
    A             US                       127,933.                         0.                  0.                  0.                      0.                0.        127,933.
    B
    C
                                                                                                                                                            Schedule K-3 (Form 1065) 2022




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                                                Case 24-10856-JKS                Doc 1      Filed 04/25/24         Page 145 of 733

Schedule K-3 (Form 1065) 2022                                                                                                                                                        Page 5
Name of partnership                                              EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                            XX-XXXXXXX                   RYAN N COTTON                                                                3657
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions
                                                                                                  Foreign Source
                  Description                  (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other       (f) Sourced by          (g) Total
                                                                    category income     category income      category income   (category code     )
                                                                                                                                                           partner

25 Expenses allocable to sales income           140,831.                                                                                                                    140,831.
26 Expenses allocable to gross income
     from performances of services 
27 Net short-term capital loss 
28 Net long-term capital loss 
29 Collectibles loss 
30 Net section 1231 loss 
31 Other losses 
32 Research & experimental (R&E) expenses
    A SIC code:                  
    B SIC code:                  
   C SIC code:                   
33 Allocable rental expenses - depreciation,
     depletion, and amortization 
34 Allocable rental expenses - other than
   depreciation, depletion, and amortization
35 Allocable royalty and licensing
   expenses - depreciation, depletion, and
     amortization 
36 Allocable royalty and licensing
   expenses - other than depreciation,
     depletion, and amortization 
37 Depreciation not included on line 33 or
   35                              4,017.                                                                                                                      4,017.
38 Charitable contributions                       6.                                                                                                                          6.
39 Interest expense specifically allocable
     under Regulations section 1.861-10(e)
40 Other interest expense specifically
   allocable under Regulations section
     1.861-10T                             564.                                                                                                                        564.
41 Other interest expense - business 
42 Other interest expense - investment 
43 Other interest expense - passive activity
44 Section 59(e)(2) expenditures, excluding
     R&E expenses on line 32    
45 Foreign taxes not creditable but
   deductible 
224175 12-07-22                                                                                                                                                  Schedule K-3 (Form 1065) 2022
                                                        Case 24-10856-JKS                 Doc 1        Filed 04/25/24            Page 146 of 733

Schedule K-3 (Form 1065) 2022                                                                                                                                                                                     Page 6
Name of partnership                                                     EIN                                Name of partner                                                             SSN or TIN
STICKYS HOLDINGS, LLC                                                    XX-XXXXXXX                       RYAN N COTTON                                                                                 3657
 Part II  Foreign Tax Credit Limitation (continued)
 Section 2 - Deductions (continued)
                                                                                                              Foreign Source
                                                                                                                                                                               (f) Sourced by
                      Description                     (a) U.S. source      (b) Foreign branch         (c) Passive             (d) General                (e) Other                  partner                (g) Total
                                                                            category income        category income         category income     (category code            )

 46 Section 986(c) loss 
 47 Section 987 loss 
 48 Section 988 loss 
 49 Other allocable deductions (see
          instructions)   
 50 Other apportioned share of
    deductions (see instructions) 
 51 Reserved for future use 
 52 Reserved for future use 
 53 Reserved for future use 
 54 Total deductions (combine lines 25
          through 53)                           145,418.                                                                                                                                       145,418.
 55 Net income (loss) (subtract line 54
    from line 24)           -17,485.                                                                                                                                                           -17,485.
 Part III Other Information for Preparation of Form 1116 or 1118
 Section 1 - R&E Expenses Apportionment Factors
                                                                                                      Foreign Source
                                                                                                                                                (e) Other                    (f) Sourced by
              Description                (a) U.S. source        (b) Foreign branch          (c) Passive              (d) General                                                  partner                 (g) Total
                                                                                         category income          category income       (category code               )
                                                                 category income
                                                                                                                                        (country code                )

  1 Gross receipts by SIC code
    A SIC code:
      B     SIC code:
      C     SIC code:
      E     SIC code:
      E     SIC code:
      F     SIC code:
  2         Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
      A     R&E expense with respect to activity performed in the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(ii)
             (iii) SIC code:               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 2A(iii)
      B     R&E expense with respect to activity performed outside the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(ii)
             (iii) SIC code:                                                                                                2B(iii)
224176 12-07-22                                                                                                                                                                               Schedule K-3 (Form 1065) 2022
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                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -16,754. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                            83.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                        -351.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                              881.           nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                     9,429.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                       STMT
                      9293                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  DAVID W HUMPHREY
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                       881.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *              512.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *              369.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          116,084.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 3.1616320 %                                             0.5216347 %
       Loss                   3.1616320 %                                             0.5216347 % 11 Other income (loss)
       Capital                1.0237620 %                                             1.1099834 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                          155,437. $                                 24,631.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                   5.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 55,532.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                             -6,533.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          48,999.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                   31,969.
      Ending  $                                    31,969.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                                7
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1          OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                  9,429.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                 9,429.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 1.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                              83.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                    84.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                          512.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                   512.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -16,754.
     W-2 WAGES                                                                         23,813.
     UNADJUSTED BASIS OF ASSETS                                                        47,858.




                                            110                     PARTNER NUMBER 7
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                            599.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                            369.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                        369.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    116,084.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   116,084.
                                                                                ~~~~~~~~~~~~~~




                                            111                     PARTNER NUMBER 7
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -16,754.
  INTEREST INCOME                                                   881.
  OTHER TAX-EXEMPT INCOME                                         9,429.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                             -6,444.

  CHARITABLE CONTRIBUTIONS                                           -5.
  NONDEDUCTIBLE EXPENSES                                            -84.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                   -89.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                   -6,533.
                                                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                               512.
  BUSINESS INTEREST INCOME                                                                881.

  GROSS RECEIPTS FOR 12/31/2019                                                        62,596.
  GROSS RECEIPTS FOR 12/31/2020                                                        78,567.
  GROSS RECEIPTS FOR 12/31/2021                                                        94,132.




                                            112                     PARTNER NUMBER 7
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                              -9293
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      DAVID W HUMPHREY
24 E 23RD STREET
NEW YORK, NY 10010
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2      X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
   For IRS Use Only




For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                          www.irs.gov/Form1065                       Schedule K-3 (Form 1065) 2022
LHA




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                                                    Case 24-10856-JKS                 Doc 1       Filed 04/25/24          Page 152 of 733

Schedule K-3 (Form 1065) 2022                                                                                                                                                                         Page 2
Name of partnership                                                 EIN                              Name of partner                                                      SSN or TIN
STICKYS HOLDINGS, LLC                             XX-XXXXXXX                DAVID W HUMPHREY                                                                                             9293
 Part I Partner's Share of Partnership's Other Current Year International Information
Check box(es) for additional specified attachments. See instructions.
    1. Gain on personal property sale                  5. High-taxed income                             8. Form 5471 information                            11. Dual consolidated loss
    2. Foreign oil and gas taxes                       6. Section 267A disallowed deduction             9. Other forms                                      12. Form 8865 information
    3. Splitter arrangements                           7. Form 8858 information                         10. Partner loan transactions                       13. Other international items
    4. Foreign tax translation                                                                                                                                   (attach description and statement)

 Part II Foreign Tax Credit Limitation
Section 1 - Gross Income
                                                                                                        Foreign Source
                   Description                    (a) U.S. source                                                                                                 (f) Sourced by
                                                                        (b) Foreign branch       (c) Passive          (d) General              (e) Other               partner              (g) Total
                                                                         category income      category income      category income      (category code       )

  1 Sales
    A             US                                115,232.                           0.                   0.                   0.                        0.                   0.          115,232.
    B
    C
  2 Gross income from performance of services
    A
    B
    C
  3 Gross rental real estate income
    A
    B
    C
  4 Other gross rental income
    A
    B
    C
  5 Guaranteed payments          
  6 Interest income
    A             US                                        881.                       0.                   0.                   0.                        0.                   0.                 881.
    B
    C
  7 Ordinary dividends (exclude amount on
     line 8)
    A
    B
    C
                                                                                                                                                                              Schedule K-3 (Form 1065) 2022




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                                        Case 24-10856-JKS                Doc 1      Filed 04/25/24         Page 153 of 733

Schedule K-3 (Form 1065) 2022                                                                                                                                                Page 3
Name of partnership                                      EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                    XX-XXXXXXX                   DAVID W HUMPHREY                                                             9293
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                          Foreign Source
                                                                                                                                              (f) Sourced by
                  Description          (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other            partner            (g) Total
                                                            category income     category income      category income   (category code     )

  8 Qualified dividends
    A
    B
   C
 9 Reserved for future use 
10 Royalties and license fees
    A
    B
   C
11 Net short-term capital gain
    A
    B
   C
12 Net long-term capital gain
    A
    B
   C
13 Collectibles (28%) gain
    A
    B
   C
14 Unrecaptured section 1250 gain
    A
    B
   C
15 Net section 1231 gain
    A
    B
    C
                                                                                                                                                         Schedule K-3 (Form 1065) 2022




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                                          Case 24-10856-JKS                Doc 1      Filed 04/25/24         Page 154 of 733

Schedule K-3 (Form 1065) 2022                                                                                                                                                   Page 4
Name of partnership                                        EIN                           Name of partner                                                SSN or TIN
STICKYS HOLDINGS, LLC                                      XX-XXXXXXX                   DAVID W HUMPHREY                                                              9293
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                            Foreign Source
                                                                                                                                                 (f) Sourced by
                   Description           (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other             partner            (g) Total
                                                              category income     category income      category income   (category code      )

16 Section 986(c) gain 
17 Section 987 gain 
18 Section 988 gain 
19 Section 951(a) inclusions
    A
    B
   C
20 Other income (see instructions)
    A             US                                 55.                    0.                  0.                  0.                      0.                0.                     55.
    B
   C
21 Reserved for future use
    A
    B
   C
22 Reserved for future use
    A
    B
   C
23 Reserved for future use
    A
    B
    C
24 Total gross income (combine lines 1
   through 23)                  116,168.                                                                                                                     116,168.
    A             US                       116,168.                         0.                  0.                  0.                      0.                0.        116,168.
    B
    C
                                                                                                                                                            Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                        Page 5
Name of partnership                                              EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                            XX-XXXXXXX                   DAVID W HUMPHREY                                                            -9293
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions
                                                                                                  Foreign Source
                  Description                  (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other       (f) Sourced by          (g) Total
                                                                    category income     category income      category income   (category code     )
                                                                                                                                                           partner

25 Expenses allocable to sales income           127,882.                                                                                                                    127,882.
26 Expenses allocable to gross income
     from performances of services 
27 Net short-term capital loss 
28 Net long-term capital loss 
29 Collectibles loss 
30 Net section 1231 loss 
31 Other losses 
32 Research & experimental (R&E) expenses
    A SIC code:                  
    B SIC code:                  
   C SIC code:                   
33 Allocable rental expenses - depreciation,
     depletion, and amortization 
34 Allocable rental expenses - other than
   depreciation, depletion, and amortization
35 Allocable royalty and licensing
   expenses - depreciation, depletion, and
     amortization 
36 Allocable royalty and licensing
   expenses - other than depreciation,
     depletion, and amortization 
37 Depreciation not included on line 33 or
   35                              3,648.                                                                                                                      3,648.
38 Charitable contributions                       5.                                                                                                                          5.
39 Interest expense specifically allocable
     under Regulations section 1.861-10(e)
40 Other interest expense specifically
   allocable under Regulations section
     1.861-10T                             513.                                                                                                                        513.
41 Other interest expense - business 
42 Other interest expense - investment 
43 Other interest expense - passive activity
44 Section 59(e)(2) expenditures, excluding
     R&E expenses on line 32    
45 Foreign taxes not creditable but
   deductible 
224175 12-07-22                                                                                                                                                  Schedule K-3 (Form 1065) 2022
                                                        Case 24-10856-JKS                 Doc 1        Filed 04/25/24            Page 156 of 733

Schedule K-3 (Form 1065) 2022                                                                                                                                                                                     Page 6
Name of partnership                                                     EIN                                Name of partner                                                             SSN or TIN
STICKYS HOLDINGS, LLC                                                    XX-XXXXXXX                       DAVID W HUMPHREY                                                                            -9293
 Part II  Foreign Tax Credit Limitation (continued)
 Section 2 - Deductions (continued)
                                                                                                              Foreign Source
                                                                                                                                                                               (f) Sourced by
                      Description                     (a) U.S. source      (b) Foreign branch         (c) Passive             (d) General                (e) Other                  partner                (g) Total
                                                                            category income        category income         category income     (category code            )

 46 Section 986(c) loss 
 47 Section 987 loss 
 48 Section 988 loss 
 49 Other allocable deductions (see
          instructions)   
 50 Other apportioned share of
    deductions (see instructions) 
 51 Reserved for future use 
 52 Reserved for future use 
 53 Reserved for future use 
 54 Total deductions (combine lines 25
          through 53)                           132,048.                                                                                                                                       132,048.
 55 Net income (loss) (subtract line 54
    from line 24)           -15,880.                                                                                                                                                           -15,880.
 Part III Other Information for Preparation of Form 1116 or 1118
 Section 1 - R&E Expenses Apportionment Factors
                                                                                                      Foreign Source
                                                                                                                                                (e) Other                    (f) Sourced by
              Description                (a) U.S. source        (b) Foreign branch          (c) Passive              (d) General                                                  partner                 (g) Total
                                                                                         category income          category income       (category code               )
                                                                 category income
                                                                                                                                        (country code                )

  1 Gross receipts by SIC code
    A SIC code:
      B     SIC code:
      C     SIC code:
      E     SIC code:
      E     SIC code:
      F     SIC code:
  2         Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
      A     R&E expense with respect to activity performed in the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(ii)
             (iii) SIC code:               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 2A(iii)
      B     R&E expense with respect to activity performed outside the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(ii)
             (iii) SIC code:                                                                                                2B(iii)
224176 12-07-22                                                                                                                                                                               Schedule K-3 (Form 1065) 2022
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                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -21,637. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                         108.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                        -452.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                        1,138.               nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                  12,178.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
                      0185                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  CHRISTOPHER NEUKERMANS
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                     1,138.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *              662.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *              477.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          149,913.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 3.6222570 %                                             0.6736482 %
       Loss                   3.6222570 %                                             0.6736482 % 11 Other income (loss)
       Capital                1.2345260 %                                             1.3308246 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                          178,083. $                                 31,808.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                   7.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 67,239.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                             -8,438.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          58,801.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                   38,274.
      Ending  $                                    38,274.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                                8
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 12,178.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                12,178.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 2.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             108.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   110.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                          662.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                   662.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -21,637.
     W-2 WAGES                                                                         30,752.
     UNADJUSTED BASIS OF ASSETS                                                        61,805.




                                            120                     PARTNER NUMBER 8
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 159 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



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  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                            772.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                            477.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                        477.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    149,913.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   149,913.
                                                                                ~~~~~~~~~~~~~~




                                            121                     PARTNER NUMBER 8
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -21,637.
  INTEREST INCOME                                                 1,138.
  OTHER TAX-EXEMPT INCOME                                        12,178.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                             -8,321.

  CHARITABLE CONTRIBUTIONS                                           -7.
  NONDEDUCTIBLE EXPENSES                                           -110.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                  -117.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                   -8,438.
                                                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                               661.
  BUSINESS INTEREST INCOME                                                              1,138.

  GROSS RECEIPTS FOR 12/31/2019                                                        80,838.
  GROSS RECEIPTS FOR 12/31/2020                                                       101,464.
  GROSS RECEIPTS FOR 12/31/2021                                                       121,563.




                                            122                     PARTNER NUMBER 8
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                              -0185
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      CHRISTOPHER NEUKERMANS
24 E 23RD STREET
NEW YORK, NY 10010
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2      X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
   For IRS Use Only




For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                          www.irs.gov/Form1065                       Schedule K-3 (Form 1065) 2022
LHA




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Schedule K-3 (Form 1065) 2022                                                                                                                                                                         Page 2
Name of partnership                                                 EIN                              Name of partner                                                      SSN or TIN
STICKYS HOLDINGS, LLC                             XX-XXXXXXX                CHRISTOPHER NEUKERMANS                                                                                       0185
 Part I Partner's Share of Partnership's Other Current Year International Information
Check box(es) for additional specified attachments. See instructions.
    1. Gain on personal property sale                  5. High-taxed income                             8. Form 5471 information                            11. Dual consolidated loss
    2. Foreign oil and gas taxes                       6. Section 267A disallowed deduction             9. Other forms                                      12. Form 8865 information
    3. Splitter arrangements                           7. Form 8858 information                         10. Partner loan transactions                       13. Other international items
    4. Foreign tax translation                                                                                                                                   (attach description and statement)

 Part II Foreign Tax Credit Limitation
Section 1 - Gross Income
                                                                                                        Foreign Source
                   Description                    (a) U.S. source                                                                                                 (f) Sourced by
                                                                        (b) Foreign branch       (c) Passive          (d) General              (e) Other               partner              (g) Total
                                                                         category income      category income      category income      (category code       )

  1 Sales
    A             US                                148,814.                           0.                   0.                   0.                        0.                   0.          148,814.
    B
    C
  2 Gross income from performance of services
    A
    B
    C
  3 Gross rental real estate income
    A
    B
    C
  4 Other gross rental income
    A
    B
    C
  5 Guaranteed payments          
  6 Interest income
    A             US                                    1,138.                         0.                   0.                   0.                        0.                   0.             1,138.
    B
    C
  7 Ordinary dividends (exclude amount on
     line 8)
    A
    B
    C
                                                                                                                                                                              Schedule K-3 (Form 1065) 2022




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                                        Case 24-10856-JKS                Doc 1      Filed 04/25/24         Page 163 of 733

Schedule K-3 (Form 1065) 2022                                                                                                                                                Page 3
Name of partnership                                      EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                    XX-XXXXXXX                   CHRISTOPHER NEUKERMANS                                                       0185
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                          Foreign Source
                                                                                                                                              (f) Sourced by
                  Description          (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other            partner            (g) Total
                                                            category income     category income      category income   (category code     )

  8 Qualified dividends
    A
    B
   C
 9 Reserved for future use 
10 Royalties and license fees
    A
    B
   C
11 Net short-term capital gain
    A
    B
   C
12 Net long-term capital gain
    A
    B
   C
13 Collectibles (28%) gain
    A
    B
   C
14 Unrecaptured section 1250 gain
    A
    B
   C
15 Net section 1231 gain
    A
    B
    C
                                                                                                                                                         Schedule K-3 (Form 1065) 2022




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                                          Case 24-10856-JKS                Doc 1      Filed 04/25/24         Page 164 of 733

Schedule K-3 (Form 1065) 2022                                                                                                                                                   Page 4
Name of partnership                                        EIN                           Name of partner                                                SSN or TIN
STICKYS HOLDINGS, LLC                                      XX-XXXXXXX                   CHRISTOPHER NEUKERMANS                                                        0185
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                            Foreign Source
                                                                                                                                                 (f) Sourced by
                   Description           (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other             partner            (g) Total
                                                              category income     category income      category income   (category code      )

16 Section 986(c) gain 
17 Section 987 gain 
18 Section 988 gain 
19 Section 951(a) inclusions
    A
    B
   C
20 Other income (see instructions)
    A             US                                 71.                    0.                  0.                  0.                      0.                0.                     71.
    B
   C
21 Reserved for future use
    A
    B
   C
22 Reserved for future use
    A
    B
   C
23 Reserved for future use
    A
    B
    C
24 Total gross income (combine lines 1
   through 23)                  150,023.                                                                                                                     150,023.
    A             US                       150,023.                         0.                  0.                  0.                      0.                0.        150,023.
    B
    C
                                                                                                                                                            Schedule K-3 (Form 1065) 2022




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                                                Case 24-10856-JKS                Doc 1      Filed 04/25/24         Page 165 of 733

Schedule K-3 (Form 1065) 2022                                                                                                                                                        Page 5
Name of partnership                                              EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                            XX-XXXXXXX                   CHRISTOPHER NEUKERMANS                                                       0185
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions
                                                                                                  Foreign Source
                  Description                  (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other       (f) Sourced by          (g) Total
                                                                    category income     category income      category income   (category code     )
                                                                                                                                                           partner

25 Expenses allocable to sales income           165,149.                                                                                                                    165,149.
26 Expenses allocable to gross income
     from performances of services 
27 Net short-term capital loss 
28 Net long-term capital loss 
29 Collectibles loss 
30 Net section 1231 loss 
31 Other losses 
32 Research & experimental (R&E) expenses
    A SIC code:                  
    B SIC code:                  
   C SIC code:                   
33 Allocable rental expenses - depreciation,
     depletion, and amortization 
34 Allocable rental expenses - other than
   depreciation, depletion, and amortization
35 Allocable royalty and licensing
   expenses - depreciation, depletion, and
     amortization 
36 Allocable royalty and licensing
   expenses - other than depreciation,
     depletion, and amortization 
37 Depreciation not included on line 33 or
   35                              4,711.                                                                                                                      4,711.
38 Charitable contributions                       7.                                                                                                                          7.
39 Interest expense specifically allocable
     under Regulations section 1.861-10(e)
40 Other interest expense specifically
   allocable under Regulations section
     1.861-10T                             661.                                                                                                                        661.
41 Other interest expense - business 
42 Other interest expense - investment 
43 Other interest expense - passive activity
44 Section 59(e)(2) expenditures, excluding
     R&E expenses on line 32    
45 Foreign taxes not creditable but
   deductible 
224175 12-07-22                                                                                                                                                  Schedule K-3 (Form 1065) 2022
                                                        Case 24-10856-JKS                 Doc 1        Filed 04/25/24            Page 166 of 733

Schedule K-3 (Form 1065) 2022                                                                                                                                                                                     Page 6
Name of partnership                                                     EIN                                Name of partner                                                             SSN or TIN
STICKYS HOLDINGS, LLC                                                    XX-XXXXXXX                       CHRISTOPHER NEUKERMANS                                                                      -0185
 Part II  Foreign Tax Credit Limitation (continued)
 Section 2 - Deductions (continued)
                                                                                                              Foreign Source
                                                                                                                                                                               (f) Sourced by
                      Description                     (a) U.S. source      (b) Foreign branch         (c) Passive             (d) General                (e) Other                  partner                (g) Total
                                                                            category income        category income         category income     (category code            )

 46 Section 986(c) loss 
 47 Section 987 loss 
 48 Section 988 loss 
 49 Other allocable deductions (see
          instructions)   
 50 Other apportioned share of
    deductions (see instructions) 
 51 Reserved for future use 
 52 Reserved for future use 
 53 Reserved for future use 
 54 Total deductions (combine lines 25
          through 53)                           170,528.                                                                                                                                       170,528.
 55 Net income (loss) (subtract line 54
    from line 24)           -20,505.                                                                                                                                                           -20,505.
 Part III Other Information for Preparation of Form 1116 or 1118
 Section 1 - R&E Expenses Apportionment Factors
                                                                                                      Foreign Source
                                                                                                                                                (e) Other                    (f) Sourced by
              Description                (a) U.S. source        (b) Foreign branch          (c) Passive              (d) General                                                  partner                 (g) Total
                                                                                         category income          category income       (category code               )
                                                                 category income
                                                                                                                                        (country code                )

  1 Gross receipts by SIC code
    A SIC code:
      B     SIC code:
      C     SIC code:
      E     SIC code:
      E     SIC code:
      F     SIC code:
  2         Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
      A     R&E expense with respect to activity performed in the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(ii)
             (iii) SIC code:               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 2A(iii)
      B     R&E expense with respect to activity performed outside the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(ii)
             (iii) SIC code:                                                                                                2B(iii)
224176 12-07-22                                                                                                                                                                               Schedule K-3 (Form 1065) 2022
        9                             Case 24-10856-JKS                               Doc 1            Filed 04/25/24                             Page 167 of 733

                                                                                                                                                                                                  651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                      Final K-1                Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                         OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)              14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                            -38,298.
Credits, etc.                          See separate instructions.                                                      2 Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                            15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)               N                            191.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                16 Schedule K-3 is attached if
                                                                                                                                                                         checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                    A                           -800.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                              18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                 2,015.               nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                              B*                   21,555.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                  C*                      STMT
  XX-XXXXXXX                                                                                                       6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                              19 Distributions
                                                                                                                   6c Dividend equivalents
  SEUNG JA CHUNG FAMILY TRUST EILEEN CH
  2729 BUNGALOW PLACE                                                                                                  7 Royalties                                    20 Other information
  CORONA DEL MAR, CA 92626                                                                                                                                            A                      2,015.
  G   General partner or LLC X Limited partner or other LLC                                                            8 Net short-term capital gain (loss)           N      *               1,171.
                member-manager                                               member                                                                                   Z      *                 STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)               AF     *                 843.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                     AG     *             265,352.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner?            TRUST
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 7.2265870 %                                             1.1923877 %
       Loss                   7.2265870 %                                             1.1923877 % 11 Other income (loss)
       Capital                2.3400280 %                                             2.5371050 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                           21 Foreign taxes paid or accrued
       Nonrecourse  $                          355,283. $                                 56,303.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                        13.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                     More than one activity for at-risk purposes*
                                                                                                                   23                     More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                              126,930.                                *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                          -14,935.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                       111,995.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                   73,071.
      Ending  $                                    73,071.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                              www.irs.gov/Form1065              Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                         9
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 21,555.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                21,555.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 3.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             191.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   194.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                        1,171.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                 1,171.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -38,298.
     W-2 WAGES                                                                         54,434.
     UNADJUSTED BASIS OF ASSETS                                                       109,398.




                                            130                     PARTNER NUMBER 9
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                            843.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                        843.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    265,352.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   265,352.
                                                                                ~~~~~~~~~~~~~~




                                            131                     PARTNER NUMBER 9
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -38,298.
  INTEREST INCOME                                                 2,015.
  OTHER TAX-EXEMPT INCOME                                        21,555.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                            -14,728.

  CHARITABLE CONTRIBUTIONS                                          -13.
  NONDEDUCTIBLE EXPENSES                                           -194.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                  -207.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                  -14,935.
                                                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                             1,171.
  BUSINESS INTEREST INCOME                                                              2,015.

  GROSS RECEIPTS FOR 12/31/2019                                                       143,086.
  GROSS RECEIPTS FOR 12/31/2020                                                       179,595.
  GROSS RECEIPTS FOR 12/31/2021                                                       215,173.




                                            132                     PARTNER NUMBER 9
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                 XX-XXXXXXX
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      SEUNG JA CHUNG FAMILY TRUST EILEEN CH
24 E 23RD STREET                                                                           2729 BUNGALOW PLACE
NEW YORK, NY 10010                                                                         CORONA DEL MAR, CA 92626
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2      X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
   For IRS Use Only




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LHA




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Schedule K-3 (Form 1065) 2022                                                                                                                                                                         Page 2
Name of partnership                                                 EIN                              Name of partner                                                      SSN or TIN
STICKYS HOLDINGS, LLC                             XX-XXXXXXX                SEUNG JA CHUNG FAMILY TRUST EILEE                                                              XX-XXXXXXX
 Part I Partner's Share of Partnership's Other Current Year International Information
Check box(es) for additional specified attachments. See instructions.
    1. Gain on personal property sale                  5. High-taxed income                             8. Form 5471 information                            11. Dual consolidated loss
    2. Foreign oil and gas taxes                       6. Section 267A disallowed deduction             9. Other forms                                      12. Form 8865 information
    3. Splitter arrangements                           7. Form 8858 information                         10. Partner loan transactions                       13. Other international items
    4. Foreign tax translation                                                                                                                                   (attach description and statement)

 Part II Foreign Tax Credit Limitation
Section 1 - Gross Income
                                                                                                        Foreign Source
                   Description                    (a) U.S. source                                                                                                 (f) Sourced by
                                                                        (b) Foreign branch       (c) Passive          (d) General              (e) Other               partner              (g) Total
                                                                         category income      category income      category income      (category code       )

  1 Sales
    A             US                                263,407.                           0.                   0.                   0.                        0.                   0.          263,407.
    B
    C
  2 Gross income from performance of services
    A
    B
    C
  3 Gross rental real estate income
    A
    B
    C
  4 Other gross rental income
    A
    B
    C
  5 Guaranteed payments          
  6 Interest income
    A             US                                    2,015.                         0.                   0.                   0.                        0.                   0.             2,015.
    B
    C
  7 Ordinary dividends (exclude amount on
     line 8)
    A
    B
    C
                                                                                                                                                                              Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                Page 3
Name of partnership                                      EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                    XX-XXXXXXX                   SEUNG JA CHUNG FAMILY TRUST EILEE                               XX-XXXXXXX
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                          Foreign Source
                                                                                                                                              (f) Sourced by
                  Description          (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other            partner            (g) Total
                                                            category income     category income      category income   (category code     )

  8 Qualified dividends
    A
    B
   C
 9 Reserved for future use 
10 Royalties and license fees
    A
    B
   C
11 Net short-term capital gain
    A
    B
   C
12 Net long-term capital gain
    A
    B
   C
13 Collectibles (28%) gain
    A
    B
   C
14 Unrecaptured section 1250 gain
    A
    B
   C
15 Net section 1231 gain
    A
    B
    C
                                                                                                                                                         Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                   Page 4
Name of partnership                                        EIN                           Name of partner                                                SSN or TIN
STICKYS HOLDINGS, LLC                                      XX-XXXXXXX                   SEUNG JA CHUNG FAMILY TRUST EILEE                                XX-XXXXXXX
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                            Foreign Source
                                                                                                                                                 (f) Sourced by
                   Description           (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other             partner            (g) Total
                                                              category income     category income      category income   (category code      )

16 Section 986(c) gain 
17 Section 987 gain 
18 Section 988 gain 
19 Section 951(a) inclusions
    A
    B
   C
20 Other income (see instructions)
    A             US                               126.                     0.                  0.                  0.                      0.                0.                126.
    B
   C
21 Reserved for future use
    A
    B
   C
22 Reserved for future use
    A
    B
   C
23 Reserved for future use
    A
    B
    C
24 Total gross income (combine lines 1
   through 23)                  265,548.                                                                                                                     265,548.
    A             US                       265,548.                         0.                  0.                  0.                      0.                0.        265,548.
    B
    C
                                                                                                                                                            Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                        Page 5
Name of partnership                                              EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                            XX-XXXXXXX                   SEUNG JA CHUNG FAMILY TRUST EILEE                               XX-XXXXXXX
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions
                                                                                                  Foreign Source
                  Description                  (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other       (f) Sourced by          (g) Total
                                                                    category income     category income      category income   (category code     )
                                                                                                                                                           partner

25 Expenses allocable to sales income           292,321.                                                                                                                    292,321.
26 Expenses allocable to gross income
     from performances of services 
27 Net short-term capital loss 
28 Net long-term capital loss 
29 Collectibles loss 
30 Net section 1231 loss 
31 Other losses 
32 Research & experimental (R&E) expenses
    A SIC code:                  
    B SIC code:                  
   C SIC code:                   
33 Allocable rental expenses - depreciation,
     depletion, and amortization 
34 Allocable rental expenses - other than
   depreciation, depletion, and amortization
35 Allocable royalty and licensing
   expenses - depreciation, depletion, and
     amortization 
36 Allocable royalty and licensing
   expenses - other than depreciation,
     depletion, and amortization 
37 Depreciation not included on line 33 or
   35                              8,339.                                                                                                                      8,339.
38 Charitable contributions                      13.                                                                                                                         13.
39 Interest expense specifically allocable
     under Regulations section 1.861-10(e)
40 Other interest expense specifically
   allocable under Regulations section
     1.861-10T                         1,171.                                                                                                                      1,171.
41 Other interest expense - business 
42 Other interest expense - investment 
43 Other interest expense - passive activity
44 Section 59(e)(2) expenditures, excluding
     R&E expenses on line 32    
45 Foreign taxes not creditable but
   deductible 
224175 12-07-22                                                                                                                                                  Schedule K-3 (Form 1065) 2022
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Schedule K-3 (Form 1065) 2022                                                                                                                                                                                     Page 6
Name of partnership                                                     EIN                                Name of partner                                                             SSN or TIN
STICKYS HOLDINGS, LLC                                                    XX-XXXXXXX                       SEUNG JA CHUNG FAMILY TRUST EILEE                                             XX-XXXXXXX
 Part II  Foreign Tax Credit Limitation (continued)
 Section 2 - Deductions (continued)
                                                                                                              Foreign Source
                                                                                                                                                                               (f) Sourced by
                      Description                     (a) U.S. source      (b) Foreign branch         (c) Passive             (d) General                (e) Other                  partner                (g) Total
                                                                            category income        category income         category income     (category code            )

 46 Section 986(c) loss 
 47 Section 987 loss 
 48 Section 988 loss 
 49 Other allocable deductions (see
          instructions)   
 50 Other apportioned share of
    deductions (see instructions) 
 51 Reserved for future use 
 52 Reserved for future use 
 53 Reserved for future use 
 54 Total deductions (combine lines 25
          through 53)                           301,844.                                                                                                                                       301,844.
 55 Net income (loss) (subtract line 54
    from line 24)           -36,296.                                                                                                                                                           -36,296.
 Part III Other Information for Preparation of Form 1116 or 1118
 Section 1 - R&E Expenses Apportionment Factors
                                                                                                      Foreign Source
                                                                                                                                                (e) Other                    (f) Sourced by
              Description                (a) U.S. source        (b) Foreign branch          (c) Passive              (d) General                                                  partner                 (g) Total
                                                                                         category income          category income       (category code               )
                                                                 category income
                                                                                                                                        (country code                )

  1 Gross receipts by SIC code
    A SIC code:
      B     SIC code:
      C     SIC code:
      E     SIC code:
      E     SIC code:
      F     SIC code:
  2         Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
      A     R&E expense with respect to activity performed in the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(ii)
             (iii) SIC code:               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 2A(iii)
      B     R&E expense with respect to activity performed outside the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(ii)
             (iii) SIC code:                                                                                                2B(iii)
224176 12-07-22                                                                                                                                                                               Schedule K-3 (Form 1065) 2022
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                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -10,540. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                            52.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                        -221.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                              554.           nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                     5,931.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                       STMT
                      5197                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  JAKE A BERGMAN
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                         554.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *                322.
                member-manager                                               member                                                                                          Z        *                STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *                233.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *             73,023.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *                STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 1.8101250 %                                             0.3281336 %
       Loss                   1.8101250 %                                             0.3281336 % 11 Other income (loss)
       Capital                0.6100390 %                                             0.6584391 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                             88,992. $                               15,494.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                   3.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 33,196.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                             -4,111.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          29,085.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                   18,943.
      Ending  $                                    18,943.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                              10
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1          OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                  5,931.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                 5,931.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 1.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                              52.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                    53.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                          322.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                   322.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -10,540.
     W-2 WAGES                                                                         14,979.
     UNADJUSTED BASIS OF ASSETS                                                        30,106.




                                            140                    PARTNER NUMBER 10
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                            376.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                            233.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                        233.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                     73,023.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                    73,023.
                                                                                ~~~~~~~~~~~~~~




                                            141                    PARTNER NUMBER 10
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -10,540.
  INTEREST INCOME                                                   554.
  OTHER TAX-EXEMPT INCOME                                         5,931.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                             -4,055.

  CHARITABLE CONTRIBUTIONS                                           -3.
  NONDEDUCTIBLE EXPENSES                                            -53.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                   -56.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                   -4,111.
                                                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                               322.
  BUSINESS INTEREST INCOME                                                                554.

  GROSS RECEIPTS FOR 12/31/2019                                                        39,376.
  GROSS RECEIPTS FOR 12/31/2020                                                        49,423.
  GROSS RECEIPTS FOR 12/31/2021                                                        59,214.




                                            142                    PARTNER NUMBER 10
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                              -5197
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      JAKE A BERGMAN
24 E 23RD STREET
NEW YORK, NY 10010
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2      X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
   For IRS Use Only




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LHA




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Schedule K-3 (Form 1065) 2022                                                                                                                                                                         Page 2
Name of partnership                                                 EIN                              Name of partner                                                      SSN or TIN
STICKYS HOLDINGS, LLC                             XX-XXXXXXX                JAKE A BERGMAN                                                                                               5197
 Part I Partner's Share of Partnership's Other Current Year International Information
Check box(es) for additional specified attachments. See instructions.
    1. Gain on personal property sale                  5. High-taxed income                             8. Form 5471 information                            11. Dual consolidated loss
    2. Foreign oil and gas taxes                       6. Section 267A disallowed deduction             9. Other forms                                      12. Form 8865 information
    3. Splitter arrangements                           7. Form 8858 information                         10. Partner loan transactions                       13. Other international items
    4. Foreign tax translation                                                                                                                                   (attach description and statement)

 Part II Foreign Tax Credit Limitation
Section 1 - Gross Income
                                                                                                        Foreign Source
                   Description                    (a) U.S. source                                                                                                 (f) Sourced by
                                                                        (b) Foreign branch       (c) Passive          (d) General              (e) Other               partner              (g) Total
                                                                         category income      category income      category income      (category code       )

  1 Sales
    A             US                                  72,487.                          0.                   0.                   0.                        0.                   0.          72,487.
    B
    C
  2 Gross income from performance of services
    A
    B
    C
  3 Gross rental real estate income
    A
    B
    C
  4 Other gross rental income
    A
    B
    C
  5 Guaranteed payments          
  6 Interest income
    A             US                                        554.                       0.                   0.                   0.                        0.                   0.                 554.
    B
    C
  7 Ordinary dividends (exclude amount on
     line 8)
    A
    B
    C
                                                                                                                                                                              Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                Page 3
Name of partnership                                      EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                    XX-XXXXXXX                   JAKE A BERGMAN                                                               5197
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                          Foreign Source
                                                                                                                                              (f) Sourced by
                  Description          (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other            partner            (g) Total
                                                            category income     category income      category income   (category code     )

  8 Qualified dividends
    A
    B
   C
 9 Reserved for future use 
10 Royalties and license fees
    A
    B
   C
11 Net short-term capital gain
    A
    B
   C
12 Net long-term capital gain
    A
    B
   C
13 Collectibles (28%) gain
    A
    B
   C
14 Unrecaptured section 1250 gain
    A
    B
   C
15 Net section 1231 gain
    A
    B
    C
                                                                                                                                                         Schedule K-3 (Form 1065) 2022




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                                          Case 24-10856-JKS                Doc 1      Filed 04/25/24         Page 184 of 733

Schedule K-3 (Form 1065) 2022                                                                                                                                                   Page 4
Name of partnership                                        EIN                           Name of partner                                                SSN or TIN
STICKYS HOLDINGS, LLC                                      XX-XXXXXXX                   JAKE A BERGMAN                                                               -5197
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                            Foreign Source
                                                                                                                                                 (f) Sourced by
                   Description           (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other             partner            (g) Total
                                                              category income     category income      category income   (category code      )

16 Section 986(c) gain 
17 Section 987 gain 
18 Section 988 gain 
19 Section 951(a) inclusions
    A
    B
   C
20 Other income (see instructions)
    A             US                                 34.                    0.                  0.                  0.                      0.                0.                     34.
    B
   C
21 Reserved for future use
    A
    B
   C
22 Reserved for future use
    A
    B
   C
23 Reserved for future use
    A
    B
    C
24 Total gross income (combine lines 1
   through 23)                    73,075.                                                                                                                      73,075.
    A             US                         73,075.                        0.                  0.                  0.                      0.                0.          73,075.
    B
    C
                                                                                                                                                            Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                        Page 5
Name of partnership                                              EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                            XX-XXXXXXX                   JAKE A BERGMAN                                                              -5197
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions
                                                                                                  Foreign Source
                  Description                  (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other       (f) Sourced by          (g) Total
                                                                    category income     category income      category income   (category code     )
                                                                                                                                                           partner

25 Expenses allocable to sales income             80,444.                                                                                                                     80,444.
26 Expenses allocable to gross income
     from performances of services 
27 Net short-term capital loss 
28 Net long-term capital loss 
29 Collectibles loss 
30 Net section 1231 loss 
31 Other losses 
32 Research & experimental (R&E) expenses
    A SIC code:                  
    B SIC code:                  
   C SIC code:                   
33 Allocable rental expenses - depreciation,
     depletion, and amortization 
34 Allocable rental expenses - other than
   depreciation, depletion, and amortization
35 Allocable royalty and licensing
   expenses - depreciation, depletion, and
     amortization 
36 Allocable royalty and licensing
   expenses - other than depreciation,
     depletion, and amortization 
37 Depreciation not included on line 33 or
   35                              2,295.                                                                                                                      2,295.
38 Charitable contributions                       3.                                                                                                                          3.
39 Interest expense specifically allocable
     under Regulations section 1.861-10(e)
40 Other interest expense specifically
   allocable under Regulations section
     1.861-10T                             322.                                                                                                                        322.
41 Other interest expense - business 
42 Other interest expense - investment 
43 Other interest expense - passive activity
44 Section 59(e)(2) expenditures, excluding
     R&E expenses on line 32    
45 Foreign taxes not creditable but
   deductible 
224175 12-07-22                                                                                                                                                  Schedule K-3 (Form 1065) 2022
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Schedule K-3 (Form 1065) 2022                                                                                                                                                                                     Page 6
Name of partnership                                                     EIN                                Name of partner                                                             SSN or TIN
STICKYS HOLDINGS, LLC                                                    XX-XXXXXXX                       JAKE A BERGMAN                                                                              -5197
 Part II  Foreign Tax Credit Limitation (continued)
 Section 2 - Deductions (continued)
                                                                                                              Foreign Source
                                                                                                                                                                               (f) Sourced by
                      Description                     (a) U.S. source      (b) Foreign branch         (c) Passive             (d) General                (e) Other                  partner                (g) Total
                                                                            category income        category income         category income     (category code            )

 46 Section 986(c) loss 
 47 Section 987 loss 
 48 Section 988 loss 
 49 Other allocable deductions (see
          instructions)   
 50 Other apportioned share of
    deductions (see instructions) 
 51 Reserved for future use 
 52 Reserved for future use 
 53 Reserved for future use 
 54 Total deductions (combine lines 25
          through 53)                           83,064.                                                                                                                                          83,064.
 55 Net income (loss) (subtract line 54
    from line 24)             -9,989.                                                                                                                                                            -9,989.
 Part III Other Information for Preparation of Form 1116 or 1118
 Section 1 - R&E Expenses Apportionment Factors
                                                                                                      Foreign Source
                                                                                                                                                (e) Other                    (f) Sourced by
              Description                (a) U.S. source        (b) Foreign branch          (c) Passive              (d) General                                                  partner                 (g) Total
                                                                                         category income          category income       (category code               )
                                                                 category income
                                                                                                                                        (country code                )

  1 Gross receipts by SIC code
    A SIC code:
      B     SIC code:
      C     SIC code:
      E     SIC code:
      E     SIC code:
      F     SIC code:
  2         Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
      A     R&E expense with respect to activity performed in the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(ii)
             (iii) SIC code:               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 2A(iii)
      B     R&E expense with respect to activity performed outside the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(ii)
             (iii) SIC code:                                                                                                2B(iii)
224176 12-07-22                                                                                                                                                                               Schedule K-3 (Form 1065) 2022
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                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -82,772. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                         413.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                   -1,730.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                        4,354.               nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                  46,585.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
  XX-XXXXXXX                                                                                                       6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  OCHO CAPITAL LLC
  98 SAN JACINTO BLVD, SUITE 2006                                                                                      7 Royalties                                           20 Other information
  AUSTIN, TX 78701                                                                                                                                                           A                     4,354.
  G   General partner or LLC X Limited partner or other LLC                                                            8 Net short-term capital gain (loss)                  N        *            2,531.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *            1,823.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          573,495.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            PARTNERSHIP
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit               11.1525390 %                                              2.5770557 %
       Loss                 11.1525390 %                                              2.5770557 % 11 Other income (loss)
       Capital               4.2080920 %                                              4.4881644 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                          548,298. $                              121,685.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                27.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                              242,231.                                *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                          -32,279.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                       209,952.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                117,430.
      Ending  $                                 117,430.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                              11
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 46,585.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                46,585.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 6.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             413.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   419.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                        2,531.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                 2,531.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -82,772.
     W-2 WAGES                                                                        117,645.
     UNADJUSTED BASIS OF ASSETS                                                       236,436.




                                            150                    PARTNER NUMBER 11
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                          2,955.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                         1,823.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                     1,823.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    573,495.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   573,495.
                                                                                ~~~~~~~~~~~~~~




                                            151                    PARTNER NUMBER 11
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -82,772.
  INTEREST INCOME                                                 4,354.
  OTHER TAX-EXEMPT INCOME                                        46,585.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                            -31,833.

  CHARITABLE CONTRIBUTIONS                                          -27.
  NONDEDUCTIBLE EXPENSES                                           -419.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                  -446.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                  -32,279.
                                                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                             2,531.
  BUSINESS INTEREST INCOME                                                              4,354.

  GROSS RECEIPTS FOR 12/31/2019                                                       309,247.
  GROSS RECEIPTS FOR 12/31/2020                                                       388,151.
  GROSS RECEIPTS FOR 12/31/2021                                                       465,044.




                                            152                    PARTNER NUMBER 11
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                 XX-XXXXXXX
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      OCHO CAPITAL LLC
24 E 23RD STREET                                                                           98 SAN JACINTO BLVD, SUITE 2006
NEW YORK, NY 10010                                                                         AUSTIN, TX 78701
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2      X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
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Schedule K-3 (Form 1065) 2022                                                                                                                                                                         Page 2
Name of partnership                                                 EIN                              Name of partner                                                      SSN or TIN
STICKYS HOLDINGS, LLC                             XX-XXXXXXX                OCHO CAPITAL LLC                                                                               XX-XXXXXXX
 Part I Partner's Share of Partnership's Other Current Year International Information
Check box(es) for additional specified attachments. See instructions.
    1. Gain on personal property sale                  5. High-taxed income                             8. Form 5471 information                            11. Dual consolidated loss
    2. Foreign oil and gas taxes                       6. Section 267A disallowed deduction             9. Other forms                                      12. Form 8865 information
    3. Splitter arrangements                           7. Form 8858 information                         10. Partner loan transactions                       13. Other international items
    4. Foreign tax translation                                                                                                                                   (attach description and statement)

 Part II Foreign Tax Credit Limitation
Section 1 - Gross Income
                                                                                                        Foreign Source
                   Description                    (a) U.S. source                                                                                                 (f) Sourced by
                                                                        (b) Foreign branch       (c) Passive          (d) General              (e) Other               partner              (g) Total
                                                                         category income      category income      category income      (category code       )

  1 Sales
    A             US                                569,291.                           0.                   0.                   0.                        0.                   0.          569,291.
    B
    C
  2 Gross income from performance of services
    A
    B
    C
  3 Gross rental real estate income
    A
    B
    C
  4 Other gross rental income
    A
    B
    C
  5 Guaranteed payments          
  6 Interest income
    A             US                                    4,354.                         0.                   0.                   0.                        0.                   0.             4,354.
    B
    C
  7 Ordinary dividends (exclude amount on
     line 8)
    A
    B
    C
                                                                                                                                                                              Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                Page 3
Name of partnership                                      EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                    XX-XXXXXXX                   OCHO CAPITAL LLC                                                XX-XXXXXXX
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                          Foreign Source
                                                                                                                                              (f) Sourced by
                  Description          (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other            partner            (g) Total
                                                            category income     category income      category income   (category code     )

  8 Qualified dividends
    A
    B
   C
 9 Reserved for future use 
10 Royalties and license fees
    A
    B
   C
11 Net short-term capital gain
    A
    B
   C
12 Net long-term capital gain
    A
    B
   C
13 Collectibles (28%) gain
    A
    B
   C
14 Unrecaptured section 1250 gain
    A
    B
   C
15 Net section 1231 gain
    A
    B
    C
                                                                                                                                                         Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                   Page 4
Name of partnership                                        EIN                           Name of partner                                                SSN or TIN
STICKYS HOLDINGS, LLC                                      XX-XXXXXXX                   OCHO CAPITAL LLC                                                 XX-XXXXXXX
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                            Foreign Source
                                                                                                                                                 (f) Sourced by
                   Description           (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other             partner            (g) Total
                                                              category income     category income      category income   (category code      )

16 Section 986(c) gain 
17 Section 987 gain 
18 Section 988 gain 
19 Section 951(a) inclusions
    A
    B
   C
20 Other income (see instructions)
    A             US                               272.                     0.                  0.                  0.                      0.                0.                272.
    B
   C
21 Reserved for future use
    A
    B
   C
22 Reserved for future use
    A
    B
   C
23 Reserved for future use
    A
    B
    C
24 Total gross income (combine lines 1
   through 23)                  573,917.                                                                                                                     573,917.
    A             US                       573,917.                         0.                  0.                  0.                      0.                0.        573,917.
    B
    C
                                                                                                                                                            Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                        Page 5
Name of partnership                                              EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                            XX-XXXXXXX                   OCHO CAPITAL LLC                                                XX-XXXXXXX
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions
                                                                                                  Foreign Source
                  Description                  (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other       (f) Sourced by          (g) Total
                                                                    category income     category income      category income   (category code     )
                                                                                                                                                           partner

25 Expenses allocable to sales income           631,781.                                                                                                                    631,781.
26 Expenses allocable to gross income
     from performances of services 
27 Net short-term capital loss 
28 Net long-term capital loss 
29 Collectibles loss 
30 Net section 1231 loss 
31 Other losses 
32 Research & experimental (R&E) expenses
    A SIC code:                  
    B SIC code:                  
   C SIC code:                   
33 Allocable rental expenses - depreciation,
     depletion, and amortization 
34 Allocable rental expenses - other than
   depreciation, depletion, and amortization
35 Allocable royalty and licensing
   expenses - depreciation, depletion, and
     amortization 
36 Allocable royalty and licensing
   expenses - other than depreciation,
     depletion, and amortization 
37 Depreciation not included on line 33 or
   35                            18,023.                                                                                                                     18,023.
38 Charitable contributions                     27.                                                                                                                         27.
39 Interest expense specifically allocable
     under Regulations section 1.861-10(e)
40 Other interest expense specifically
   allocable under Regulations section
     1.861-10T                         2,531.                                                                                                                      2,531.
41 Other interest expense - business 
42 Other interest expense - investment 
43 Other interest expense - passive activity
44 Section 59(e)(2) expenditures, excluding
     R&E expenses on line 32    
45 Foreign taxes not creditable but
   deductible 
224175 12-07-22                                                                                                                                                  Schedule K-3 (Form 1065) 2022
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Schedule K-3 (Form 1065) 2022                                                                                                                                                                                     Page 6
Name of partnership                                                     EIN                                Name of partner                                                             SSN or TIN
STICKYS HOLDINGS, LLC                                                    XX-XXXXXXX                       OCHO CAPITAL LLC                                                              XX-XXXXXXX
 Part II  Foreign Tax Credit Limitation (continued)
 Section 2 - Deductions (continued)
                                                                                                              Foreign Source
                                                                                                                                                                               (f) Sourced by
                      Description                     (a) U.S. source      (b) Foreign branch         (c) Passive             (d) General                (e) Other                  partner                (g) Total
                                                                            category income        category income         category income     (category code            )

 46 Section 986(c) loss 
 47 Section 987 loss 
 48 Section 988 loss 
 49 Other allocable deductions (see
          instructions)   
 50 Other apportioned share of
    deductions (see instructions) 
 51 Reserved for future use 
 52 Reserved for future use 
 53 Reserved for future use 
 54 Total deductions (combine lines 25
          through 53)                           652,362.                                                                                                                                       652,362.
 55 Net income (loss) (subtract line 54
    from line 24)           -78,445.                                                                                                                                                           -78,445.
 Part III Other Information for Preparation of Form 1116 or 1118
 Section 1 - R&E Expenses Apportionment Factors
                                                                                                      Foreign Source
                                                                                                                                                (e) Other                    (f) Sourced by
              Description                (a) U.S. source        (b) Foreign branch          (c) Passive              (d) General                                                  partner                 (g) Total
                                                                                         category income          category income       (category code               )
                                                                 category income
                                                                                                                                        (country code                )

  1 Gross receipts by SIC code
    A SIC code:
      B     SIC code:
      C     SIC code:
      E     SIC code:
      E     SIC code:
      F     SIC code:
  2         Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
      A     R&E expense with respect to activity performed in the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(ii)
             (iii) SIC code:               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 2A(iii)
      B     R&E expense with respect to activity performed outside the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(ii)
             (iii) SIC code:                                                                                                2B(iii)
224176 12-07-22                                                                                                                                                                               Schedule K-3 (Form 1065) 2022
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                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -68,216. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                         340.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                   -1,425.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                        3,589.               nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                  38,393.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
                    -3381                                                                                          6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  ALAN LIU
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                     3,589.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *            2,086.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *            1,503.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          472,642.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 2.3501050 %                                             2.1238634 %
       Loss                   2.3501050 %                                             2.1238634 % 11 Other income (loss)
       Capital                2.1669580 %                                             2.1743460 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                          115,539. $                              100,286.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                22.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                              132,424.                                *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                          -26,602.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                       105,822.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                   52,783.
      Ending  $                                    52,783.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                              12
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 38,393.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                38,393.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 6.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             340.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   346.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                        2,086.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                 2,086.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -68,216.
     W-2 WAGES                                                                         96,956.
     UNADJUSTED BASIS OF ASSETS                                                       194,858.




                                            160                    PARTNER NUMBER 12
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                          2,436.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                         1,503.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                     1,503.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    472,642.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   472,642.
                                                                                ~~~~~~~~~~~~~~




                                            161                    PARTNER NUMBER 12
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -68,216.
  INTEREST INCOME                                                 3,589.
  OTHER TAX-EXEMPT INCOME                                        38,393.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                            -26,234.

  CHARITABLE CONTRIBUTIONS                                          -22.
  NONDEDUCTIBLE EXPENSES                                           -346.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                  -368.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                  -26,602.
                                                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                             2,086.
  BUSINESS INTEREST INCOME                                                              3,589.

  GROSS RECEIPTS FOR 12/31/2019                                                       254,864.
  GROSS RECEIPTS FOR 12/31/2020                                                       319,892.
  GROSS RECEIPTS FOR 12/31/2021                                                       383,263.




                                            162                    PARTNER NUMBER 12
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                              -3381
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      ALAN LIU
24 E 23RD STREET
NEW YORK, NY 10010
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2      X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
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LHA




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Schedule K-3 (Form 1065) 2022                                                                                                                                                                         Page 2
Name of partnership                                                 EIN                              Name of partner                                                      SSN or TIN
STICKYS HOLDINGS, LLC                             XX-XXXXXXX                ALAN LIU                                                                                                   -3381
 Part I Partner's Share of Partnership's Other Current Year International Information
Check box(es) for additional specified attachments. See instructions.
    1. Gain on personal property sale                  5. High-taxed income                             8. Form 5471 information                            11. Dual consolidated loss
    2. Foreign oil and gas taxes                       6. Section 267A disallowed deduction             9. Other forms                                      12. Form 8865 information
    3. Splitter arrangements                           7. Form 8858 information                         10. Partner loan transactions                       13. Other international items
    4. Foreign tax translation                                                                                                                                   (attach description and statement)

 Part II Foreign Tax Credit Limitation
Section 1 - Gross Income
                                                                                                        Foreign Source
                   Description                    (a) U.S. source                                                                                                 (f) Sourced by
                                                                        (b) Foreign branch       (c) Passive          (d) General              (e) Other               partner              (g) Total
                                                                         category income      category income      category income      (category code       )

  1 Sales
    A             US                                469,177.                           0.                   0.                   0.                        0.                   0.          469,177.
    B
    C
  2 Gross income from performance of services
    A
    B
    C
  3 Gross rental real estate income
    A
    B
    C
  4 Other gross rental income
    A
    B
    C
  5 Guaranteed payments          
  6 Interest income
    A             US                                    3,589.                         0.                   0.                   0.                        0.                   0.             3,589.
    B
    C
  7 Ordinary dividends (exclude amount on
     line 8)
    A
    B
    C
                                                                                                                                                                              Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                Page 3
Name of partnership                                      EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                    XX-XXXXXXX                   ALAN LIU                                                                    -3381
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                          Foreign Source
                                                                                                                                              (f) Sourced by
                  Description          (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other            partner            (g) Total
                                                            category income     category income      category income   (category code     )

  8 Qualified dividends
    A
    B
   C
 9 Reserved for future use 
10 Royalties and license fees
    A
    B
   C
11 Net short-term capital gain
    A
    B
   C
12 Net long-term capital gain
    A
    B
   C
13 Collectibles (28%) gain
    A
    B
   C
14 Unrecaptured section 1250 gain
    A
    B
   C
15 Net section 1231 gain
    A
    B
    C
                                                                                                                                                         Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                   Page 4
Name of partnership                                        EIN                           Name of partner                                                SSN or TIN
STICKYS HOLDINGS, LLC                                      XX-XXXXXXX                   ALAN LIU                                                                     -3381
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                            Foreign Source
                                                                                                                                                 (f) Sourced by
                   Description           (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other             partner            (g) Total
                                                              category income     category income      category income   (category code      )

16 Section 986(c) gain 
17 Section 987 gain 
18 Section 988 gain 
19 Section 951(a) inclusions
    A
    B
   C
20 Other income (see instructions)
    A             US                               224.                     0.                  0.                  0.                      0.                0.                224.
    B
   C
21 Reserved for future use
    A
    B
   C
22 Reserved for future use
    A
    B
   C
23 Reserved for future use
    A
    B
    C
24 Total gross income (combine lines 1
   through 23)                  472,990.                                                                                                                     472,990.
    A             US                       472,990.                         0.                  0.                  0.                      0.                0.        472,990.
    B
    C
                                                                                                                                                            Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                        Page 5
Name of partnership                                              EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                            XX-XXXXXXX                   ALAN LIU                                                                    -3381
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions
                                                                                                  Foreign Source
                  Description                  (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other       (f) Sourced by          (g) Total
                                                                    category income     category income      category income   (category code     )
                                                                                                                                                           partner

25 Expenses allocable to sales income           520,678.                                                                                                                    520,678.
26 Expenses allocable to gross income
     from performances of services 
27 Net short-term capital loss 
28 Net long-term capital loss 
29 Collectibles loss 
30 Net section 1231 loss 
31 Other losses 
32 Research & experimental (R&E) expenses
    A SIC code:                  
    B SIC code:                  
   C SIC code:                   
33 Allocable rental expenses - depreciation,
     depletion, and amortization 
34 Allocable rental expenses - other than
   depreciation, depletion, and amortization
35 Allocable royalty and licensing
   expenses - depreciation, depletion, and
     amortization 
36 Allocable royalty and licensing
   expenses - other than depreciation,
     depletion, and amortization 
37 Depreciation not included on line 33 or
   35                            14,854.                                                                                                                     14,854.
38 Charitable contributions                     22.                                                                                                                         22.
39 Interest expense specifically allocable
     under Regulations section 1.861-10(e)
40 Other interest expense specifically
   allocable under Regulations section
     1.861-10T                         2,085.                                                                                                                      2,085.
41 Other interest expense - business 
42 Other interest expense - investment 
43 Other interest expense - passive activity
44 Section 59(e)(2) expenditures, excluding
     R&E expenses on line 32    
45 Foreign taxes not creditable but
   deductible 
224175 12-07-22                                                                                                                                                  Schedule K-3 (Form 1065) 2022
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Schedule K-3 (Form 1065) 2022                                                                                                                                                                                     Page 6
Name of partnership                                                     EIN                                Name of partner                                                             SSN or TIN
STICKYS HOLDINGS, LLC                                                    XX-XXXXXXX                       ALAN LIU                                                                                    -3381
 Part II  Foreign Tax Credit Limitation (continued)
 Section 2 - Deductions (continued)
                                                                                                              Foreign Source
                                                                                                                                                                               (f) Sourced by
                      Description                     (a) U.S. source      (b) Foreign branch         (c) Passive             (d) General                (e) Other                  partner                (g) Total
                                                                            category income        category income         category income     (category code            )

 46 Section 986(c) loss 
 47 Section 987 loss 
 48 Section 988 loss 
 49 Other allocable deductions (see
          instructions)   
 50 Other apportioned share of
    deductions (see instructions) 
 51 Reserved for future use 
 52 Reserved for future use 
 53 Reserved for future use 
 54 Total deductions (combine lines 25
          through 53)                           537,639.                                                                                                                                       537,639.
 55 Net income (loss) (subtract line 54
    from line 24)           -64,649.                                                                                                                                                           -64,649.
 Part III Other Information for Preparation of Form 1116 or 1118
 Section 1 - R&E Expenses Apportionment Factors
                                                                                                      Foreign Source
                                                                                                                                                (e) Other                    (f) Sourced by
              Description                (a) U.S. source        (b) Foreign branch          (c) Passive              (d) General                                                  partner                 (g) Total
                                                                                         category income          category income       (category code               )
                                                                 category income
                                                                                                                                        (country code                )

  1 Gross receipts by SIC code
    A SIC code:
      B     SIC code:
      C     SIC code:
      E     SIC code:
      E     SIC code:
      F     SIC code:
  2         Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
      A     R&E expense with respect to activity performed in the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(ii)
             (iii) SIC code:               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 2A(iii)
      B     R&E expense with respect to activity performed outside the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(ii)
             (iii) SIC code:                                                                                                2B(iii)
224176 12-07-22                                                                                                                                                                               Schedule K-3 (Form 1065) 2022
        13                            Case 24-10856-JKS                               Doc 1            Filed 04/25/24                                  Page 207 of 733

                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                        -1,361,867. A                                                   0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                      6,785.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                  -28,465.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                     71,639.                 nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                 766,477.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
  XX-XXXXXXX                                                                                                       6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  STICKY'S INVESTCO LLC
  477 BROOME STREET, #61                                                                                               7 Royalties                                           20 Other information
  NEW YORK, NY 10013                                                                                                                                                         A                  71,639.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *         41,637.
                member-manager                                               member                                                                                          Z        *            STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *         30,002.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *      9,435,830.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *            STMT
  I1 What type of entity is this partner?            PARTNERSHIP
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 4.9002010 %                                         42.4008070 %
       Loss                   4.9002010 %                                         42.4008070 % 11 Other income (loss)
       Capital                35.268123 %                                         34.0433677 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                          240,910. $                          2,002,108.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                              439.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                          2,063,681.                                  *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                       -531,081.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                   1,532,600.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                950,653.
      Ending  $                                 950,653.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                              13
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                766,477.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                               766,477.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                106.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                           6,785.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                 6,891.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                       41,637.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                41,637.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                        -1,361,867.
     W-2 WAGES                                                                      1,935,633.
     UNADJUSTED BASIS OF ASSETS                                                     3,890,140.




                                            170                    PARTNER NUMBER 13
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                         48,625.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                        30,002.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                    30,002.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                  9,435,830.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                 9,435,830.
                                                                                ~~~~~~~~~~~~~~




                                            171                    PARTNER NUMBER 13
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                     -1,361,867.
  INTEREST INCOME                                                71,639.
  OTHER TAX-EXEMPT INCOME                                       766,477.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                           -523,751.

  CHARITABLE CONTRIBUTIONS                                         -439.
  NONDEDUCTIBLE EXPENSES                                         -6,891.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                -7,330.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                 -531,081.
                                                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                            41,636.
  BUSINESS INTEREST INCOME                                                             71,639.

  GROSS RECEIPTS FOR 12/31/2019                                                     5,088,096.
  GROSS RECEIPTS FOR 12/31/2020                                                     6,386,328.
  GROSS RECEIPTS FOR 12/31/2021                                                     7,651,463.




                                            172                    PARTNER NUMBER 13
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                 XX-XXXXXXX
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      STICKY'S INVESTCO LLC
24 E 23RD STREET                                                                           477 BROOME STREET, #61
NEW YORK, NY 10010                                                                         NEW YORK, NY 10013
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2      X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
   For IRS Use Only




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LHA




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Schedule K-3 (Form 1065) 2022                                                                                                                                                                         Page 2
Name of partnership                                                 EIN                              Name of partner                                                      SSN or TIN
STICKYS HOLDINGS, LLC                             XX-XXXXXXX                STICKY'S INVESTCO LLC                                                                          XX-XXXXXXX
 Part I Partner's Share of Partnership's Other Current Year International Information
Check box(es) for additional specified attachments. See instructions.
    1. Gain on personal property sale                  5. High-taxed income                             8. Form 5471 information                            11. Dual consolidated loss
    2. Foreign oil and gas taxes                       6. Section 267A disallowed deduction             9. Other forms                                      12. Form 8865 information
    3. Splitter arrangements                           7. Form 8858 information                         10. Partner loan transactions                       13. Other international items
    4. Foreign tax translation                                                                                                                                   (attach description and statement)

 Part II Foreign Tax Credit Limitation
Section 1 - Gross Income
                                                                                                        Foreign Source
                   Description                    (a) U.S. source                                                                                                 (f) Sourced by
                                                                        (b) Foreign branch       (c) Passive          (d) General              (e) Other               partner              (g) Total
                                                                         category income      category income      category income      (category code       )

  1 Sales
    A             US                            9,366,647.                             0.                   0.                   0.                        0.                   0. 9,366,647.
    B
    C
  2 Gross income from performance of services
    A
    B
    C
  3 Gross rental real estate income
    A
    B
    C
  4 Other gross rental income
    A
    B
    C
  5 Guaranteed payments          
  6 Interest income
    A             US                                  71,639.                          0.                   0.                   0.                        0.                   0.          71,639.
    B
    C
  7 Ordinary dividends (exclude amount on
     line 8)
    A
    B
    C
                                                                                                                                                                              Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                Page 3
Name of partnership                                      EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                    XX-XXXXXXX                   STICKY'S INVESTCO LLC                                           XX-XXXXXXX
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                          Foreign Source
                                                                                                                                              (f) Sourced by
                  Description          (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other            partner            (g) Total
                                                            category income     category income      category income   (category code     )

  8 Qualified dividends
    A
    B
   C
 9 Reserved for future use 
10 Royalties and license fees
    A
    B
   C
11 Net short-term capital gain
    A
    B
   C
12 Net long-term capital gain
    A
    B
   C
13 Collectibles (28%) gain
    A
    B
   C
14 Unrecaptured section 1250 gain
    A
    B
   C
15 Net section 1231 gain
    A
    B
    C
                                                                                                                                                         Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                   Page 4
Name of partnership                                        EIN                           Name of partner                                                SSN or TIN
STICKYS HOLDINGS, LLC                                      XX-XXXXXXX                   STICKY'S INVESTCO LLC                                            XX-XXXXXXX
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                            Foreign Source
                                                                                                                                                 (f) Sourced by
                   Description           (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other             partner            (g) Total
                                                              category income     category income      category income   (category code      )

16 Section 986(c) gain 
17 Section 987 gain 
18 Section 988 gain 
19 Section 951(a) inclusions
    A
    B
   C
20 Other income (see instructions)
    A             US                           4,468.                       0.                  0.                  0.                      0.                0.            4,468.
    B
   C
21 Reserved for future use
    A
    B
   C
22 Reserved for future use
    A
    B
   C
23 Reserved for future use
    A
    B
    C
24 Total gross income (combine lines 1
   through 23)                9,442,754.                                                                                                              9,442,754.
    A             US                     9,442,754.                         0.                  0.                  0.                      0.                0. 9,442,754.
    B
    C
                                                                                                                                                            Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                         Page 5
Name of partnership                                               EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                             XX-XXXXXXX                   STICKY'S INVESTCO LLC                                           XX-XXXXXXX
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions
                                                                                                   Foreign Source
                  Description                   (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other       (f) Sourced by          (g) Total
                                                                     category income     category income      category income   (category code     )
                                                                                                                                                            partner

25 Expenses allocable to sales income         10,394,813.                                                                                                                 10,394,813.
26 Expenses allocable to gross income
     from performances of services 
27 Net short-term capital loss 
28 Net long-term capital loss 
29 Collectibles loss 
30 Net section 1231 loss 
31 Other losses 
32 Research & experimental (R&E) expenses
    A SIC code:                  
    B SIC code:                  
   C SIC code:                   
33 Allocable rental expenses - depreciation,
     depletion, and amortization 
34 Allocable rental expenses - other than
   depreciation, depletion, and amortization
35 Allocable royalty and licensing
   expenses - depreciation, depletion, and
     amortization 
36 Allocable royalty and licensing
   expenses - other than depreciation,
     depletion, and amortization 
37 Depreciation not included on line 33 or
   35                           296,533.                                                                                                                    296,533.
38 Charitable contributions                    439.                                                                                                                        439.
39 Interest expense specifically allocable
     under Regulations section 1.861-10(e)
40 Other interest expense specifically
   allocable under Regulations section
     1.861-10T                        41,636.                                                                                                                     41,636.
41 Other interest expense - business 
42 Other interest expense - investment 
43 Other interest expense - passive activity
44 Section 59(e)(2) expenditures, excluding
     R&E expenses on line 32    
45 Foreign taxes not creditable but
   deductible 
224175 12-07-22                                                                                                                                                   Schedule K-3 (Form 1065) 2022
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Schedule K-3 (Form 1065) 2022                                                                                                                                                                                     Page 6
Name of partnership                                                     EIN                                Name of partner                                                             SSN or TIN
STICKYS HOLDINGS, LLC                                                    XX-XXXXXXX                       STICKY'S INVESTCO LLC                                                         XX-XXXXXXX
 Part II  Foreign Tax Credit Limitation (continued)
 Section 2 - Deductions (continued)
                                                                                                              Foreign Source
                                                                                                                                                                               (f) Sourced by
                      Description                     (a) U.S. source      (b) Foreign branch         (c) Passive             (d) General                (e) Other                  partner                (g) Total
                                                                            category income        category income         category income     (category code            )

 46 Section 986(c) loss 
 47 Section 987 loss 
 48 Section 988 loss 
 49 Other allocable deductions (see
          instructions)   
 50 Other apportioned share of
    deductions (see instructions) 
 51 Reserved for future use 
 52 Reserved for future use 
 53 Reserved for future use 
 54 Total deductions (combine lines 25
          through 53)                  10,733,421.                                                                                                                                       10,733,421.
 55 Net income (loss) (subtract line 54
    from line 24)       -1,290,667.                                                                                                                                                      -1,290,667.
 Part III Other Information for Preparation of Form 1116 or 1118
 Section 1 - R&E Expenses Apportionment Factors
                                                                                                      Foreign Source
                                                                                                                                                (e) Other                    (f) Sourced by
              Description                (a) U.S. source        (b) Foreign branch          (c) Passive              (d) General                                                  partner                 (g) Total
                                                                                         category income          category income       (category code               )
                                                                 category income
                                                                                                                                        (country code                )

  1 Gross receipts by SIC code
    A SIC code:
      B     SIC code:
      C     SIC code:
      E     SIC code:
      E     SIC code:
      F     SIC code:
  2         Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
      A     R&E expense with respect to activity performed in the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(ii)
             (iii) SIC code:               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 2A(iii)
      B     R&E expense with respect to activity performed outside the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(ii)
             (iii) SIC code:                                                                                                2B(iii)
224176 12-07-22                                                                                                                                                                               Schedule K-3 (Form 1065) 2022
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                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -60,974. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                         304.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                   -1,274.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                        3,207.               nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                  34,317.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
                    -1958                                                                                          6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  MARK FIRST
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                     3,207.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *            1,864.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *            1,344.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          422,459.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 0.4964530 %                                             1.8983599 %
       Loss                   0.4964530 %                                             1.8983599 % 11 Other income (loss)
       Capital                1.6316690 %                                             1.5858858 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                             24,408. $                               89,638.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                20.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 96,995.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                          -23,778.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          73,217.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                   42,463.
      Ending  $                                    42,463.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                              14
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 34,317.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                34,317.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 4.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             304.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   308.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                        1,864.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                 1,864.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -60,974.
     W-2 WAGES                                                                         86,661.
     UNADJUSTED BASIS OF ASSETS                                                       174,169.




                                            180                    PARTNER NUMBER 14
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                          2,177.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                         1,344.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                     1,344.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    422,459.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   422,459.
                                                                                ~~~~~~~~~~~~~~




                                            181                    PARTNER NUMBER 14
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -60,974.
  INTEREST INCOME                                                 3,207.
  OTHER TAX-EXEMPT INCOME                                        34,317.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                            -23,450.

  CHARITABLE CONTRIBUTIONS                                          -20.
  NONDEDUCTIBLE EXPENSES                                           -308.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                  -328.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                  -23,778.
                                                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                             1,865.
  BUSINESS INTEREST INCOME                                                              3,207.

  GROSS RECEIPTS FOR 12/31/2019                                                       227,804.
  GROSS RECEIPTS FOR 12/31/2020                                                       285,927.
  GROSS RECEIPTS FOR 12/31/2021                                                       342,570.




                                            182                    PARTNER NUMBER 14
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                              -1958
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      MARK FIRST
24 E 23RD STREET
NEW YORK, NY 10010
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2      X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
   For IRS Use Only




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LHA




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Schedule K-3 (Form 1065) 2022                                                                                                                                                                         Page 2
Name of partnership                                                 EIN                              Name of partner                                                      SSN or TIN
STICKYS HOLDINGS, LLC                             XX-XXXXXXX                MARK FIRST                                                                                                 -1958
 Part I Partner's Share of Partnership's Other Current Year International Information
Check box(es) for additional specified attachments. See instructions.
    1. Gain on personal property sale                  5. High-taxed income                             8. Form 5471 information                            11. Dual consolidated loss
    2. Foreign oil and gas taxes                       6. Section 267A disallowed deduction             9. Other forms                                      12. Form 8865 information
    3. Splitter arrangements                           7. Form 8858 information                         10. Partner loan transactions                       13. Other international items
    4. Foreign tax translation                                                                                                                                   (attach description and statement)

 Part II Foreign Tax Credit Limitation
Section 1 - Gross Income
                                                                                                        Foreign Source
                   Description                    (a) U.S. source                                                                                                 (f) Sourced by
                                                                        (b) Foreign branch       (c) Passive          (d) General              (e) Other               partner              (g) Total
                                                                         category income      category income      category income      (category code       )

  1 Sales
    A             US                                419,361.                           0.                   0.                   0.                        0.                   0.          419,361.
    B
    C
  2 Gross income from performance of services
    A
    B
    C
  3 Gross rental real estate income
    A
    B
    C
  4 Other gross rental income
    A
    B
    C
  5 Guaranteed payments          
  6 Interest income
    A             US                                    3,207.                         0.                   0.                   0.                        0.                   0.             3,207.
    B
    C
  7 Ordinary dividends (exclude amount on
     line 8)
    A
    B
    C
                                                                                                                                                                              Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                Page 3
Name of partnership                                      EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                    XX-XXXXXXX                   MARK FIRST                                                                  -1958
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                          Foreign Source
                                                                                                                                              (f) Sourced by
                  Description          (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other            partner            (g) Total
                                                            category income     category income      category income   (category code     )

  8 Qualified dividends
    A
    B
   C
 9 Reserved for future use 
10 Royalties and license fees
    A
    B
   C
11 Net short-term capital gain
    A
    B
   C
12 Net long-term capital gain
    A
    B
   C
13 Collectibles (28%) gain
    A
    B
   C
14 Unrecaptured section 1250 gain
    A
    B
   C
15 Net section 1231 gain
    A
    B
    C
                                                                                                                                                         Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                   Page 4
Name of partnership                                        EIN                           Name of partner                                                SSN or TIN
STICKYS HOLDINGS, LLC                                      XX-XXXXXXX                   MARK FIRST                                                                   -1958
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                            Foreign Source
                                                                                                                                                 (f) Sourced by
                   Description           (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other             partner            (g) Total
                                                              category income     category income      category income   (category code      )

16 Section 986(c) gain 
17 Section 987 gain 
18 Section 988 gain 
19 Section 951(a) inclusions
    A
    B
   C
20 Other income (see instructions)
    A             US                               200.                     0.                  0.                  0.                      0.                0.                200.
    B
   C
21 Reserved for future use
    A
    B
   C
22 Reserved for future use
    A
    B
   C
23 Reserved for future use
    A
    B
    C
24 Total gross income (combine lines 1
   through 23)                  422,768.                                                                                                                     422,768.
    A             US                       422,768.                         0.                  0.                  0.                      0.                0.        422,768.
    B
    C
                                                                                                                                                            Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                        Page 5
Name of partnership                                              EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                            XX-XXXXXXX                   MARK FIRST                                                                  -1958
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions
                                                                                                  Foreign Source
                  Description                  (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other       (f) Sourced by          (g) Total
                                                                    category income     category income      category income   (category code     )
                                                                                                                                                           partner

25 Expenses allocable to sales income           465,394.                                                                                                                    465,394.
26 Expenses allocable to gross income
     from performances of services 
27 Net short-term capital loss 
28 Net long-term capital loss 
29 Collectibles loss 
30 Net section 1231 loss 
31 Other losses 
32 Research & experimental (R&E) expenses
    A SIC code:                  
    B SIC code:                  
   C SIC code:                   
33 Allocable rental expenses - depreciation,
     depletion, and amortization 
34 Allocable rental expenses - other than
   depreciation, depletion, and amortization
35 Allocable royalty and licensing
   expenses - depreciation, depletion, and
     amortization 
36 Allocable royalty and licensing
   expenses - other than depreciation,
     depletion, and amortization 
37 Depreciation not included on line 33 or
   35                            13,276.                                                                                                                     13,276.
38 Charitable contributions                     20.                                                                                                                         20.
39 Interest expense specifically allocable
     under Regulations section 1.861-10(e)
40 Other interest expense specifically
   allocable under Regulations section
     1.861-10T                         1,864.                                                                                                                      1,864.
41 Other interest expense - business 
42 Other interest expense - investment 
43 Other interest expense - passive activity
44 Section 59(e)(2) expenditures, excluding
     R&E expenses on line 32    
45 Foreign taxes not creditable but
   deductible 
224175 12-07-22                                                                                                                                                  Schedule K-3 (Form 1065) 2022
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Schedule K-3 (Form 1065) 2022                                                                                                                                                                                     Page 6
Name of partnership                                                     EIN                                Name of partner                                                             SSN or TIN
STICKYS HOLDINGS, LLC                                                    XX-XXXXXXX                       MARK FIRST                                                                                  -1958
 Part II  Foreign Tax Credit Limitation (continued)
 Section 2 - Deductions (continued)
                                                                                                              Foreign Source
                                                                                                                                                                               (f) Sourced by
                      Description                     (a) U.S. source      (b) Foreign branch         (c) Passive             (d) General                (e) Other                  partner                (g) Total
                                                                            category income        category income         category income     (category code            )

 46 Section 986(c) loss 
 47 Section 987 loss 
 48 Section 988 loss 
 49 Other allocable deductions (see
          instructions)   
 50 Other apportioned share of
    deductions (see instructions) 
 51 Reserved for future use 
 52 Reserved for future use 
 53 Reserved for future use 
 54 Total deductions (combine lines 25
          through 53)                           480,554.                                                                                                                                       480,554.
 55 Net income (loss) (subtract line 54
    from line 24)           -57,786.                                                                                                                                                           -57,786.
 Part III Other Information for Preparation of Form 1116 or 1118
 Section 1 - R&E Expenses Apportionment Factors
                                                                                                      Foreign Source
                                                                                                                                                (e) Other                    (f) Sourced by
              Description                (a) U.S. source        (b) Foreign branch          (c) Passive              (d) General                                                  partner                 (g) Total
                                                                                         category income          category income       (category code               )
                                                                 category income
                                                                                                                                        (country code                )

  1 Gross receipts by SIC code
    A SIC code:
      B     SIC code:
      C     SIC code:
      E     SIC code:
      E     SIC code:
      F     SIC code:
  2         Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
      A     R&E expense with respect to activity performed in the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(ii)
             (iii) SIC code:               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 2A(iii)
      B     R&E expense with respect to activity performed outside the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(ii)
             (iii) SIC code:                                                                                                2B(iii)
224176 12-07-22                                                                                                                                                                               Schedule K-3 (Form 1065) 2022
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                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -25,378. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                         126.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                        -531.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                        1,335.               nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                  14,283.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
                    -1865                                                                                          6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  JUSTIN GUTTMAN
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                     1,335.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *              776.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *              559.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          175,835.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 0.0913050 %                                             0.7901327 %
       Loss                   0.0913050 %                                             0.7901327 % 11 Other income (loss)
       Capital                0.6571500 %                                             0.6343291 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                               4,489. $                              37,309.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                   8.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 38,454.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                             -9,896.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          28,558.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                   17,713.
      Ending  $                                    17,713.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                              15
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 14,283.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                14,283.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 2.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             126.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   128.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                          776.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                   776.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -25,378.
     W-2 WAGES                                                                         36,071.
     UNADJUSTED BASIS OF ASSETS                                                        72,492.




                                            190                    PARTNER NUMBER 15
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                            906.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                            559.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                        559.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    175,835.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   175,835.
                                                                                ~~~~~~~~~~~~~~




                                            191                    PARTNER NUMBER 15
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -25,378.
  INTEREST INCOME                                                 1,335.
  OTHER TAX-EXEMPT INCOME                                        14,283.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                             -9,760.

  CHARITABLE CONTRIBUTIONS                                           -8.
  NONDEDUCTIBLE EXPENSES                                           -128.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                  -136.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                   -9,896.
                                                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                               775.
  BUSINESS INTEREST INCOME                                                              1,335.

  GROSS RECEIPTS FOR 12/31/2019                                                        94,816.
  GROSS RECEIPTS FOR 12/31/2020                                                       119,009.
  GROSS RECEIPTS FOR 12/31/2021                                                       142,584.




                                            192                    PARTNER NUMBER 15
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                              -1865
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      JUSTIN GUTTMAN
24 E 23RD STREET
NEW YORK, NY 10010
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2      X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
   For IRS Use Only




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LHA




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Schedule K-3 (Form 1065) 2022                                                                                                                                                                         Page 2
Name of partnership                                                 EIN                              Name of partner                                                      SSN or TIN
STICKYS HOLDINGS, LLC                             XX-XXXXXXX                JUSTIN GUTTMAN                                                                                             -1865
 Part I Partner's Share of Partnership's Other Current Year International Information
Check box(es) for additional specified attachments. See instructions.
    1. Gain on personal property sale                  5. High-taxed income                             8. Form 5471 information                            11. Dual consolidated loss
    2. Foreign oil and gas taxes                       6. Section 267A disallowed deduction             9. Other forms                                      12. Form 8865 information
    3. Splitter arrangements                           7. Form 8858 information                         10. Partner loan transactions                       13. Other international items
    4. Foreign tax translation                                                                                                                                   (attach description and statement)

 Part II Foreign Tax Credit Limitation
Section 1 - Gross Income
                                                                                                        Foreign Source
                   Description                    (a) U.S. source                                                                                                 (f) Sourced by
                                                                        (b) Foreign branch       (c) Passive          (d) General              (e) Other               partner              (g) Total
                                                                         category income      category income      category income      (category code       )

  1 Sales
    A             US                                174,546.                           0.                   0.                   0.                        0.                   0.          174,546.
    B
    C
  2 Gross income from performance of services
    A
    B
    C
  3 Gross rental real estate income
    A
    B
    C
  4 Other gross rental income
    A
    B
    C
  5 Guaranteed payments          
  6 Interest income
    A             US                                    1,335.                         0.                   0.                   0.                        0.                   0.             1,335.
    B
    C
  7 Ordinary dividends (exclude amount on
     line 8)
    A
    B
    C
                                                                                                                                                                              Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                Page 3
Name of partnership                                      EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                    XX-XXXXXXX                   JUSTIN GUTTMAN                                                              -1865
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                          Foreign Source
                                                                                                                                              (f) Sourced by
                  Description          (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other            partner            (g) Total
                                                            category income     category income      category income   (category code     )

  8 Qualified dividends
    A
    B
   C
 9 Reserved for future use 
10 Royalties and license fees
    A
    B
   C
11 Net short-term capital gain
    A
    B
   C
12 Net long-term capital gain
    A
    B
   C
13 Collectibles (28%) gain
    A
    B
   C
14 Unrecaptured section 1250 gain
    A
    B
   C
15 Net section 1231 gain
    A
    B
    C
                                                                                                                                                         Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                   Page 4
Name of partnership                                        EIN                           Name of partner                                                SSN or TIN
STICKYS HOLDINGS, LLC                                      XX-XXXXXXX                   JUSTIN GUTTMAN                                                               -1865
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                            Foreign Source
                                                                                                                                                 (f) Sourced by
                   Description           (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other             partner            (g) Total
                                                              category income     category income      category income   (category code      )

16 Section 986(c) gain 
17 Section 987 gain 
18 Section 988 gain 
19 Section 951(a) inclusions
    A
    B
   C
20 Other income (see instructions)
    A             US                                 83.                    0.                  0.                  0.                      0.                0.                     83.
    B
   C
21 Reserved for future use
    A
    B
   C
22 Reserved for future use
    A
    B
   C
23 Reserved for future use
    A
    B
    C
24 Total gross income (combine lines 1
   through 23)                  175,964.                                                                                                                     175,964.
    A             US                       175,964.                         0.                  0.                  0.                      0.                0.        175,964.
    B
    C
                                                                                                                                                            Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                        Page 5
Name of partnership                                              EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                            XX-XXXXXXX                   JUSTIN GUTTMAN                                                              -1865
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions
                                                                                                  Foreign Source
                  Description                  (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other       (f) Sourced by          (g) Total
                                                                    category income     category income      category income   (category code     )
                                                                                                                                                           partner

25 Expenses allocable to sales income           193,706.                                                                                                                    193,706.
26 Expenses allocable to gross income
     from performances of services 
27 Net short-term capital loss 
28 Net long-term capital loss 
29 Collectibles loss 
30 Net section 1231 loss 
31 Other losses 
32 Research & experimental (R&E) expenses
    A SIC code:                  
    B SIC code:                  
   C SIC code:                   
33 Allocable rental expenses - depreciation,
     depletion, and amortization 
34 Allocable rental expenses - other than
   depreciation, depletion, and amortization
35 Allocable royalty and licensing
   expenses - depreciation, depletion, and
     amortization 
36 Allocable royalty and licensing
   expenses - other than depreciation,
     depletion, and amortization 
37 Depreciation not included on line 33 or
   35                              5,526.                                                                                                                      5,526.
38 Charitable contributions                       8.                                                                                                                          8.
39 Interest expense specifically allocable
     under Regulations section 1.861-10(e)
40 Other interest expense specifically
   allocable under Regulations section
     1.861-10T                             776.                                                                                                                        776.
41 Other interest expense - business 
42 Other interest expense - investment 
43 Other interest expense - passive activity
44 Section 59(e)(2) expenditures, excluding
     R&E expenses on line 32    
45 Foreign taxes not creditable but
   deductible 
224175 12-07-22                                                                                                                                                  Schedule K-3 (Form 1065) 2022
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Schedule K-3 (Form 1065) 2022                                                                                                                                                                                     Page 6
Name of partnership                                                     EIN                                Name of partner                                                             SSN or TIN
STICKYS HOLDINGS, LLC                                                    XX-XXXXXXX                       JUSTIN GUTTMAN                                                                              -1865
 Part II  Foreign Tax Credit Limitation (continued)
 Section 2 - Deductions (continued)
                                                                                                              Foreign Source
                                                                                                                                                                               (f) Sourced by
                      Description                     (a) U.S. source      (b) Foreign branch         (c) Passive             (d) General                (e) Other                  partner                (g) Total
                                                                            category income        category income         category income     (category code            )

 46 Section 986(c) loss 
 47 Section 987 loss 
 48 Section 988 loss 
 49 Other allocable deductions (see
          instructions)   
 50 Other apportioned share of
    deductions (see instructions) 
 51 Reserved for future use 
 52 Reserved for future use 
 53 Reserved for future use 
 54 Total deductions (combine lines 25
          through 53)                           200,016.                                                                                                                                       200,016.
 55 Net income (loss) (subtract line 54
    from line 24)           -24,052.                                                                                                                                                           -24,052.
 Part III Other Information for Preparation of Form 1116 or 1118
 Section 1 - R&E Expenses Apportionment Factors
                                                                                                      Foreign Source
                                                                                                                                                (e) Other                    (f) Sourced by
              Description                (a) U.S. source        (b) Foreign branch          (c) Passive              (d) General                                                  partner                 (g) Total
                                                                                         category income          category income       (category code               )
                                                                 category income
                                                                                                                                        (country code                )

  1 Gross receipts by SIC code
    A SIC code:
      B     SIC code:
      C     SIC code:
      E     SIC code:
      E     SIC code:
      F     SIC code:
  2         Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
      A     R&E expense with respect to activity performed in the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(ii)
             (iii) SIC code:               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 2A(iii)
      B     R&E expense with respect to activity performed outside the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(ii)
             (iii) SIC code:                                                                                                2B(iii)
224176 12-07-22                                                                                                                                                                               Schedule K-3 (Form 1065) 2022
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                                                                                                                                                                                                     651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                         2022
                                                                            For calendar year 2022, or tax year
                                                                                                                                       Final K-1                       Amended K-1
                                                                                                                                 Part III Partner's Share of Current Year Income,
                                                                                                                                                                                               OMB No. 1545-0123

Internal Revenue Service                                                                                                                  Deductions, Credits, and Other Items
                            beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                                0. A                                   0.
Credits, etc.                          See separate instructions.                                                     2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                  15 Credits
  A Partnership's employer identification number                                                                      3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                        4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                               checked                 X
  STICKYS HOLDINGS, LLC                                                                                           4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET
  NEW YORK, NY 10010                                                                                              4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                              5 Interest income                                     18 Tax-exempt income and
  D            Check if this is a publicly traded partnership (PTP)                                                                                                            nondeductible expenses
   Part II         Information About the Partner                                                                  6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
                   -5300                                                                                          6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                    19 Distributions
                                                                                                                  6c Dividend equivalents
  LEOR WOLF
                                                                                                                      7 Royalties                                           20 Other information


  G            General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)
               member-manager                                               member
  H1 X Domestic partner                                      Foreign partner                                      9a Net long-term capital gain (loss)
  H2   If the partner is a disregarded entity (DE), enter the partner's:
      TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner?           INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                   9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                   Ending                           10 Net section 1231 gain (loss)
      Profit                 0.0000000 %                                             0.0000000 %
      Loss                   0.0000000 %                                             0.0000000 % 11 Other income (loss)
      Capital                0.0000000 %                                             0.0000000 %
      Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                               Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
      Nonrecourse  $                                          0. $                                    0.
      Qualified nonrecourse                                                                                       13 Other deductions
      financing  $                                                  $
      Recourse  $                                            0. $                                    0.
      Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                         Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                  23                         More than one activity for passive activity purposes*
      Beginning capital account ~~~~~~~~~ $                                                              0.                      *See attached statement for additional information.
      Capital contributed during the year ~~~~~~ $
      Current year net income (loss) ~~~~~~~~ $
      Other increase (decrease) (attach explanation) ~ $
                                                                                                                  For IRS Use Only




      Withdrawals and distributions ~~~~~~~~ $ (                                                              )
      Ending capital account          ~~~~~~~~~~ $                                                       0.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $
      Ending  $
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                 www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                             16
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                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                              -5300
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      LEOR WOLF
24 E 23RD STREET
NEW YORK, NY 10010
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2             X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
   For IRS Use Only




For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                          www.irs.gov/Form1065                       Schedule K-3 (Form 1065) 2022
LHA




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                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -14,300. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                            71.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                        -299.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                              752.           nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                     8,048.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                       STMT
                    -8775                                                                                          6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  JUSTIN HELLER
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                         752.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *                437.
                member-manager                                               member                                                                                          Z        *                STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *                315.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *             99,078.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *                STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 0.4392940 %                                             0.4452146 %
       Loss                   0.4392940 %                                             0.4452146 % 11 Other income (loss)
       Capital                0.4442310 %                                             0.4440346 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                             21,597. $                               21,023.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                   4.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 28,119.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                             -5,576.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          22,543.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                     9,848.
      Ending  $                                      9,848.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                              17
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1          OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                  8,048.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                 8,048.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 1.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                              71.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                    72.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                          437.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                   437.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -14,300.
     W-2 WAGES                                                                         20,324.
     UNADJUSTED BASIS OF ASSETS                                                        40,847.




                                            202                    PARTNER NUMBER 17
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                            511.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                            315.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                        315.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                     99,078.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                    99,078.
                                                                                ~~~~~~~~~~~~~~




                                            203                    PARTNER NUMBER 17
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 242 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -14,300.
  INTEREST INCOME                                                   752.
  OTHER TAX-EXEMPT INCOME                                         8,048.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                             -5,500.

  CHARITABLE CONTRIBUTIONS                                           -4.
  NONDEDUCTIBLE EXPENSES                                            -72.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                   -76.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                   -5,576.
                                                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                               438.
  BUSINESS INTEREST INCOME                                                                752.

  GROSS RECEIPTS FOR 12/31/2019                                                        53,425.
  GROSS RECEIPTS FOR 12/31/2020                                                        67,057.
  GROSS RECEIPTS FOR 12/31/2021                                                        80,341.




                                            204                    PARTNER NUMBER 17
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                                8775
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      JUSTIN HELLER
24 E 23RD STREET
NEW YORK, NY 10010
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2      X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
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Schedule K-3 (Form 1065) 2022                                                                                                                                                                         Page 2
Name of partnership                                                 EIN                              Name of partner                                                      SSN or TIN
STICKYS HOLDINGS, LLC                             XX-XXXXXXX                JUSTIN HELLER                                                                                              -8775
 Part I Partner's Share of Partnership's Other Current Year International Information
Check box(es) for additional specified attachments. See instructions.
    1. Gain on personal property sale                  5. High-taxed income                             8. Form 5471 information                            11. Dual consolidated loss
    2. Foreign oil and gas taxes                       6. Section 267A disallowed deduction             9. Other forms                                      12. Form 8865 information
    3. Splitter arrangements                           7. Form 8858 information                         10. Partner loan transactions                       13. Other international items
    4. Foreign tax translation                                                                                                                                   (attach description and statement)

 Part II Foreign Tax Credit Limitation
Section 1 - Gross Income
                                                                                                        Foreign Source
                   Description                    (a) U.S. source                                                                                                 (f) Sourced by
                                                                        (b) Foreign branch       (c) Passive          (d) General              (e) Other               partner              (g) Total
                                                                         category income      category income      category income      (category code       )

  1 Sales
    A             US                                  98,351.                          0.                   0.                   0.                        0.                   0.          98,351.
    B
    C
  2 Gross income from performance of services
    A
    B
    C
  3 Gross rental real estate income
    A
    B
    C
  4 Other gross rental income
    A
    B
    C
  5 Guaranteed payments          
  6 Interest income
    A             US                                        752.                       0.                   0.                   0.                        0.                   0.                 752.
    B
    C
  7 Ordinary dividends (exclude amount on
     line 8)
    A
    B
    C
                                                                                                                                                                              Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                Page 3
Name of partnership                                      EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                    XX-XXXXXXX                   JUSTIN HELLER                                                               -8775
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                          Foreign Source
                                                                                                                                              (f) Sourced by
                  Description          (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other            partner            (g) Total
                                                            category income     category income      category income   (category code     )

  8 Qualified dividends
    A
    B
   C
 9 Reserved for future use 
10 Royalties and license fees
    A
    B
   C
11 Net short-term capital gain
    A
    B
   C
12 Net long-term capital gain
    A
    B
   C
13 Collectibles (28%) gain
    A
    B
   C
14 Unrecaptured section 1250 gain
    A
    B
   C
15 Net section 1231 gain
    A
    B
    C
                                                                                                                                                         Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                   Page 4
Name of partnership                                        EIN                           Name of partner                                                SSN or TIN
STICKYS HOLDINGS, LLC                                      XX-XXXXXXX                   JUSTIN HELLER                                                                -8775
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                            Foreign Source
                                                                                                                                                 (f) Sourced by
                   Description           (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other             partner            (g) Total
                                                              category income     category income      category income   (category code      )

16 Section 986(c) gain 
17 Section 987 gain 
18 Section 988 gain 
19 Section 951(a) inclusions
    A
    B
   C
20 Other income (see instructions)
    A             US                                 47.                    0.                  0.                  0.                      0.                0.                     47.
    B
   C
21 Reserved for future use
    A
    B
   C
22 Reserved for future use
    A
    B
   C
23 Reserved for future use
    A
    B
    C
24 Total gross income (combine lines 1
   through 23)                    99,150.                                                                                                                      99,150.
    A             US                         99,150.                        0.                  0.                  0.                      0.                0.          99,150.
    B
    C
                                                                                                                                                            Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                        Page 5
Name of partnership                                              EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                            XX-XXXXXXX                   JUSTIN HELLER                                                               -8775
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions
                                                                                                  Foreign Source
                  Description                  (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other       (f) Sourced by          (g) Total
                                                                    category income     category income      category income   (category code     )
                                                                                                                                                           partner

25 Expenses allocable to sales income           109,147.                                                                                                                    109,147.
26 Expenses allocable to gross income
     from performances of services 
27 Net short-term capital loss 
28 Net long-term capital loss 
29 Collectibles loss 
30 Net section 1231 loss 
31 Other losses 
32 Research & experimental (R&E) expenses
    A SIC code:                  
    B SIC code:                  
   C SIC code:                   
33 Allocable rental expenses - depreciation,
     depletion, and amortization 
34 Allocable rental expenses - other than
   depreciation, depletion, and amortization
35 Allocable royalty and licensing
   expenses - depreciation, depletion, and
     amortization 
36 Allocable royalty and licensing
   expenses - other than depreciation,
     depletion, and amortization 
37 Depreciation not included on line 33 or
   35                              3,114.                                                                                                                      3,114.
38 Charitable contributions                       4.                                                                                                                          4.
39 Interest expense specifically allocable
     under Regulations section 1.861-10(e)
40 Other interest expense specifically
   allocable under Regulations section
     1.861-10T                             437.                                                                                                                        437.
41 Other interest expense - business 
42 Other interest expense - investment 
43 Other interest expense - passive activity
44 Section 59(e)(2) expenditures, excluding
     R&E expenses on line 32    
45 Foreign taxes not creditable but
   deductible 
224175 12-07-22                                                                                                                                                  Schedule K-3 (Form 1065) 2022
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Schedule K-3 (Form 1065) 2022                                                                                                                                                                                     Page 6
Name of partnership                                                     EIN                                Name of partner                                                             SSN or TIN
STICKYS HOLDINGS, LLC                                                    XX-XXXXXXX                       JUSTIN HELLER                                                                               -8775
 Part II  Foreign Tax Credit Limitation (continued)
 Section 2 - Deductions (continued)
                                                                                                              Foreign Source
                                                                                                                                                                               (f) Sourced by
                      Description                     (a) U.S. source      (b) Foreign branch         (c) Passive             (d) General                (e) Other                  partner                (g) Total
                                                                            category income        category income         category income     (category code            )

 46 Section 986(c) loss 
 47 Section 987 loss 
 48 Section 988 loss 
 49 Other allocable deductions (see
          instructions)   
 50 Other apportioned share of
    deductions (see instructions) 
 51 Reserved for future use 
 52 Reserved for future use 
 53 Reserved for future use 
 54 Total deductions (combine lines 25
          through 53)                           112,702.                                                                                                                                       112,702.
 55 Net income (loss) (subtract line 54
    from line 24)           -13,552.                                                                                                                                                           -13,552.
 Part III Other Information for Preparation of Form 1116 or 1118
 Section 1 - R&E Expenses Apportionment Factors
                                                                                                      Foreign Source
                                                                                                                                                (e) Other                    (f) Sourced by
              Description                (a) U.S. source        (b) Foreign branch          (c) Passive              (d) General                                                  partner                 (g) Total
                                                                                         category income          category income       (category code               )
                                                                 category income
                                                                                                                                        (country code                )

  1 Gross receipts by SIC code
    A SIC code:
      B     SIC code:
      C     SIC code:
      E     SIC code:
      E     SIC code:
      F     SIC code:
  2         Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
      A     R&E expense with respect to activity performed in the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(ii)
             (iii) SIC code:               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 2A(iii)
      B     R&E expense with respect to activity performed outside the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(ii)
             (iii) SIC code:                                                                                                2B(iii)
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Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                         2022
                                                                            For calendar year 2022, or tax year
                                                                                                                                       Final K-1                       Amended K-1
                                                                                                                                 Part III Partner's Share of Current Year Income,
                                                                                                                                                                                               OMB No. 1545-0123

Internal Revenue Service                                                                                                                  Deductions, Credits, and Other Items
                            beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                                0. A                                   0.
Credits, etc.                          See separate instructions.                                                     2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                  15 Credits
  A Partnership's employer identification number                                                                      3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                        4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                               checked                 X
  STICKYS HOLDINGS, LLC                                                                                           4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET
  NEW YORK, NY 10010                                                                                              4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                              5 Interest income                                     18 Tax-exempt income and
  D            Check if this is a publicly traded partnership (PTP)                                                                                                            nondeductible expenses
   Part II         Information About the Partner                                                                  6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
                     8556                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                    19 Distributions
                                                                                                                  6c Dividend equivalents
  JAMIE GREER
                                                                                                                      7 Royalties                                           20 Other information


  G            General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)
               member-manager                                               member
  H1 X Domestic partner                                      Foreign partner                                      9a Net long-term capital gain (loss)
  H2   If the partner is a disregarded entity (DE), enter the partner's:
      TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner?           INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                   9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                   Ending                           10 Net section 1231 gain (loss)
      Profit                 0.0000000 %                                             0.0000000 %
      Loss                   0.0000000 %                                             0.0000000 % 11 Other income (loss)
      Capital                0.0000000 %                                             0.0000000 %
      Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                               Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
      Nonrecourse  $                                          0. $                                    0.
      Qualified nonrecourse                                                                                       13 Other deductions
      financing  $                                                  $
      Recourse  $                                            0. $                                    0.
      Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                         Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                  23                         More than one activity for passive activity purposes*
      Beginning capital account ~~~~~~~~~ $                                                              0.                      *See attached statement for additional information.
      Capital contributed during the year ~~~~~~ $
      Current year net income (loss) ~~~~~~~~ $
      Other increase (decrease) (attach explanation) ~ $
                                                                                                                  For IRS Use Only




      Withdrawals and distributions ~~~~~~~~ $ (                                                              )
      Ending capital account          ~~~~~~~~~~ $                                                       0.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $
      Ending  $
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                 www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                             18
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                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                              -8556
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      JAMIE GREER
24 E 23RD STREET
NEW YORK, NY 10010
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2             X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
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Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                         2022
                                                                            For calendar year 2022, or tax year
                                                                                                                                       Final K-1                       Amended K-1
                                                                                                                                 Part III Partner's Share of Current Year Income,
                                                                                                                                                                                               OMB No. 1545-0123

Internal Revenue Service                                                                                                                  Deductions, Credits, and Other Items
                            beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                                0. A                                   0.
Credits, etc.                          See separate instructions.                                                     2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                  15 Credits
  A Partnership's employer identification number                                                                      3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                        4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                               checked                 X
  STICKYS HOLDINGS, LLC                                                                                           4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET
  NEW YORK, NY 10010                                                                                              4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                              5 Interest income                                     18 Tax-exempt income and
  D            Check if this is a publicly traded partnership (PTP)                                                                                                            nondeductible expenses
   Part II         Information About the Partner                                                                  6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
                   -8600                                                                                          6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                    19 Distributions
                                                                                                                  6c Dividend equivalents
  STEVE GORNIC
                                                                                                                      7 Royalties                                           20 Other information


  G            General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)
               member-manager                                               member
  H1 X Domestic partner                                      Foreign partner                                      9a Net long-term capital gain (loss)
  H2   If the partner is a disregarded entity (DE), enter the partner's:
      TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner?           INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                   9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                   Ending                           10 Net section 1231 gain (loss)
      Profit                 0.0000000 %                                             0.0000000 %
      Loss                   0.0000000 %                                             0.0000000 % 11 Other income (loss)
      Capital                0.0000000 %                                             0.0000000 %
      Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                               Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
      Nonrecourse  $                                          0. $                                    0.
      Qualified nonrecourse                                                                                       13 Other deductions
      financing  $                                                  $
      Recourse  $                                            0. $                                    0.
      Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                         Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                  23                         More than one activity for passive activity purposes*
      Beginning capital account ~~~~~~~~~ $                                                              0.                      *See attached statement for additional information.
      Capital contributed during the year ~~~~~~ $
      Current year net income (loss) ~~~~~~~~ $
      Other increase (decrease) (attach explanation) ~ $
                                                                                                                  For IRS Use Only




      Withdrawals and distributions ~~~~~~~~ $ (                                                              )
      Ending capital account          ~~~~~~~~~~ $                                                       0.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $
      Ending  $
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                                                                                                                                                                                                             19
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Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                              -8600
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      STEVE GORNIC
24 E 23RD STREET
NEW YORK, NY 10010
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2             X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
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Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                         2022
                                                                            For calendar year 2022, or tax year
                                                                                                                                       Final K-1                       Amended K-1
                                                                                                                                 Part III Partner's Share of Current Year Income,
                                                                                                                                                                                               OMB No. 1545-0123

Internal Revenue Service                                                                                                                  Deductions, Credits, and Other Items
                            beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                                0. A                                   0.
Credits, etc.                          See separate instructions.                                                     2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                  15 Credits
  A Partnership's employer identification number                                                                      3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                        4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                               checked                 X
  STICKYS HOLDINGS, LLC                                                                                           4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET
  NEW YORK, NY 10010                                                                                              4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                              5 Interest income                                     18 Tax-exempt income and
  D            Check if this is a publicly traded partnership (PTP)                                                                                                            nondeductible expenses
   Part II         Information About the Partner                                                                  6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
                   -4327                                                                                          6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                    19 Distributions
                                                                                                                  6c Dividend equivalents
  THEO DUBIN
                                                                                                                      7 Royalties                                           20 Other information


  G            General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)
               member-manager                                               member
  H1 X Domestic partner                                      Foreign partner                                      9a Net long-term capital gain (loss)
  H2   If the partner is a disregarded entity (DE), enter the partner's:
      TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner?           INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                   9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                   Ending                           10 Net section 1231 gain (loss)
      Profit                 0.0000000 %                                             0.0000000 %
      Loss                   0.0000000 %                                             0.0000000 % 11 Other income (loss)
      Capital                0.0000000 %                                             0.0000000 %
      Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                               Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
      Nonrecourse  $                                          0. $                                    0.
      Qualified nonrecourse                                                                                       13 Other deductions
      financing  $                                                  $
      Recourse  $                                            0. $                                    0.
      Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                         Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                  23                         More than one activity for passive activity purposes*
      Beginning capital account ~~~~~~~~~ $                                                              0.                      *See attached statement for additional information.
      Capital contributed during the year ~~~~~~ $
      Current year net income (loss) ~~~~~~~~ $
      Other increase (decrease) (attach explanation) ~ $
                                                                                                                  For IRS Use Only




      Withdrawals and distributions ~~~~~~~~ $ (                                                              )
      Ending capital account          ~~~~~~~~~~ $                                                       0.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $
      Ending  $
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                 www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                             20
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                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                              -4327
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      THEO DUBIN
24 E 23RD STREET
NEW YORK, NY 10010
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2             X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
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LHA




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                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                        -1,189,284. A                                                   0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                      5,926.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                  -24,857.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                     62,561.                 nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                 669,345.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
  XX-XXXXXXX                                                                                                       6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  STICKY'S INVESTCO II, LLC
  477 BROOME STREET, #61                                                                                               7 Royalties                                           20 Other information
  NEW YORK, NY 10013                                                                                                                                                         A                  62,561.
  G   General partner or LLC X Limited partner or other LLC                                                            8 Net short-term capital gain (loss)                  N        *         36,360.
                member-manager                                               member                                                                                          Z        *            STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *         26,200.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *      8,240,072.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *            STMT
  I1 What type of entity is this partner?            PARTNERSHIP
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit               36.5210720 %                                          37.0275556 %
       Loss                 36.5210720 %                                          37.0275556 % 11 Other income (loss)
       Capital              36.9314690 %                                          36.9149159 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                    1,795,501. $                              1,748,390.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                              384.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                          2,337,788.                                  *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                       -463,781.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                   1,874,007.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                818,707.
      Ending  $                                 818,707.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                              21
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                669,345.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                               669,345.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                93.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                           5,926.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                 6,019.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                       36,360.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                36,360.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                        -1,189,284.
     W-2 WAGES                                                                      1,690,339.
     UNADJUSTED BASIS OF ASSETS                                                     3,397,161.




                                            218                    PARTNER NUMBER 21
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                         42,463.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                        26,200.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                    26,200.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                  8,240,072.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                 8,240,072.
                                                                                ~~~~~~~~~~~~~~




                                            219                    PARTNER NUMBER 21
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                     -1,189,284.
  INTEREST INCOME                                                62,561.
  OTHER TAX-EXEMPT INCOME                                       669,345.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                           -457,378.

  CHARITABLE CONTRIBUTIONS                                         -384.
  NONDEDUCTIBLE EXPENSES                                         -6,019.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                -6,403.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                 -463,781.
                                                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                            36,360.
  BUSINESS INTEREST INCOME                                                             62,561.

  GROSS RECEIPTS FOR 12/31/2019                                                     4,443,307.
  GROSS RECEIPTS FOR 12/31/2020                                                     5,577,019.
  GROSS RECEIPTS FOR 12/31/2021                                                     6,681,830.




                                            220                    PARTNER NUMBER 21
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                                                                                           Final K-3                Amended K-3

Schedule K-3                                           Partner's Share of Income, Deductions,                                                            OMB No. 1545-0123

(Form 1065)                                                  Credits, etc.-International
Department of the Treasury
Internal Revenue Service
                                         For calendar year 2022, or tax year beginning
                                                                              See separate instructions.
                                                                                                                , ending                                    2022
                              Information About the Partnership                                                Information About the Partner
 A Partnership's employer identification number (EIN)                                       C Partner's SSN or Taxpayer Identification Number (TIN) (Do not use TIN of a
                                                                                              disregarded entity. See instructions.)
XX-XXXXXXX                                                                                 XX-XXXXXXX
 B Partnership's name, address, city, state, and ZIP code                                   D Name, address, city, state, and ZIP code for partner entered in C. See instr.

STICKYS HOLDINGS, LLC                                                                      STICKY'S INVESTCO II, LLC
24 E 23RD STREET                                                                           477 BROOME STREET, #61
NEW YORK, NY 10010                                                                         NEW YORK, NY 10013
 E                    Check to indicate the parts of Schedule K-3 that apply.                                                                                         Yes     No
                       1    Does Part I apply? If "Yes," complete and attach Part I     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1             X
                       2    Does Part II apply? If "Yes," complete and attach Part II     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2      X
                       3    Does Part III apply? If "Yes," complete and attach Part III ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             X
                       4    Does Part IV apply? If "Yes," complete and attach Part IV ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4             X
                       5    Does Part V apply? If "Yes," complete and attach Part V       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             X
                       6    Does Part VI apply? If "Yes," complete and attach Part VI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6             X
                       7    Does Part VII apply? If "Yes," complete and attach Part VII    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7             X
                       8    Does Part VIII apply? If "Yes," complete and attach Part VIII ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8             X
                       9    Does Part IX apply? If "Yes," complete and attach Part IX ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            9             X
                      10    Does Part X apply? If "Yes," complete and attach Part X       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10            X
                      11    Does Part XI apply? If "Yes," complete and attach Part XI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            11            X
                      12    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
                      13    Does Part XIII apply? If "Yes," complete and attach Part XIII                                          13            X
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LHA




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Schedule K-3 (Form 1065) 2022                                                                                                                                                                         Page 2
Name of partnership                                                 EIN                              Name of partner                                                      SSN or TIN
STICKYS HOLDINGS, LLC                             XX-XXXXXXX                STICKY'S INVESTCO II, LLC                                                                      XX-XXXXXXX
 Part I Partner's Share of Partnership's Other Current Year International Information
Check box(es) for additional specified attachments. See instructions.
    1. Gain on personal property sale                  5. High-taxed income                             8. Form 5471 information                            11. Dual consolidated loss
    2. Foreign oil and gas taxes                       6. Section 267A disallowed deduction             9. Other forms                                      12. Form 8865 information
    3. Splitter arrangements                           7. Form 8858 information                         10. Partner loan transactions                       13. Other international items
    4. Foreign tax translation                                                                                                                                   (attach description and statement)

 Part II Foreign Tax Credit Limitation
Section 1 - Gross Income
                                                                                                        Foreign Source
                   Description                    (a) U.S. source                                                                                                 (f) Sourced by
                                                                        (b) Foreign branch       (c) Passive          (d) General              (e) Other               partner              (g) Total
                                                                         category income      category income      category income      (category code       )

  1 Sales
    A             US                            8,179,657.                             0.                   0.                   0.                        0.                   0. 8,179,657.
    B
    C
  2 Gross income from performance of services
    A
    B
    C
  3 Gross rental real estate income
    A
    B
    C
  4 Other gross rental income
    A
    B
    C
  5 Guaranteed payments          
  6 Interest income
    A             US                                  62,561.                          0.                   0.                   0.                        0.                   0.          62,561.
    B
    C
  7 Ordinary dividends (exclude amount on
     line 8)
    A
    B
    C
                                                                                                                                                                              Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                Page 3
Name of partnership                                      EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                    XX-XXXXXXX                   STICKY'S INVESTCO II, LLC                                       XX-XXXXXXX
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                          Foreign Source
                                                                                                                                              (f) Sourced by
                  Description          (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other            partner            (g) Total
                                                            category income     category income      category income   (category code     )

  8 Qualified dividends
    A
    B
   C
 9 Reserved for future use 
10 Royalties and license fees
    A
    B
   C
11 Net short-term capital gain
    A
    B
   C
12 Net long-term capital gain
    A
    B
   C
13 Collectibles (28%) gain
    A
    B
   C
14 Unrecaptured section 1250 gain
    A
    B
   C
15 Net section 1231 gain
    A
    B
    C
                                                                                                                                                         Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                   Page 4
Name of partnership                                        EIN                           Name of partner                                                SSN or TIN
STICKYS HOLDINGS, LLC                                      XX-XXXXXXX                   STICKY'S INVESTCO II, LLC                                        XX-XXXXXXX
 Part II Foreign Tax Credit Limitation (continued)
Section 1 - Gross Income (continued)
                                                                                            Foreign Source
                                                                                                                                                 (f) Sourced by
                   Description           (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other             partner            (g) Total
                                                              category income     category income      category income   (category code      )

16 Section 986(c) gain 
17 Section 987 gain 
18 Section 988 gain 
19 Section 951(a) inclusions
    A
    B
   C
20 Other income (see instructions)
    A             US                           3,902.                       0.                  0.                  0.                      0.                0.            3,902.
    B
   C
21 Reserved for future use
    A
    B
   C
22 Reserved for future use
    A
    B
   C
23 Reserved for future use
    A
    B
    C
24 Total gross income (combine lines 1
   through 23)                8,246,120.                                                                                                              8,246,120.
    A             US                     8,246,120.                         0.                  0.                  0.                      0.                0. 8,246,120.
    B
    C
                                                                                                                                                            Schedule K-3 (Form 1065) 2022




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Schedule K-3 (Form 1065) 2022                                                                                                                                                        Page 5
Name of partnership                                              EIN                           Name of partner                                               SSN or TIN
STICKYS HOLDINGS, LLC                                            XX-XXXXXXX                   STICKY'S INVESTCO II, LLC                                       XX-XXXXXXX
 Part II  Foreign Tax Credit Limitation (continued)
Section 2 - Deductions
                                                                                                  Foreign Source
                  Description                  (a) U.S. source     (b) Foreign branch      (c) Passive          (d) General           (e) Other       (f) Sourced by          (g) Total
                                                                    category income     category income      category income   (category code     )
                                                                                                                                                           partner

25 Expenses allocable to sales income         9,077,528.                                                                                                                 9,077,528.
26 Expenses allocable to gross income
     from performances of services 
27 Net short-term capital loss 
28 Net long-term capital loss 
29 Collectibles loss 
30 Net section 1231 loss 
31 Other losses 
32 Research & experimental (R&E) expenses
    A SIC code:                  
    B SIC code:                  
   C SIC code:                   
33 Allocable rental expenses - depreciation,
     depletion, and amortization 
34 Allocable rental expenses - other than
   depreciation, depletion, and amortization
35 Allocable royalty and licensing
   expenses - depreciation, depletion, and
     amortization 
36 Allocable royalty and licensing
   expenses - other than depreciation,
     depletion, and amortization 
37 Depreciation not included on line 33 or
   35                          258,955.                                                                                                                    258,955.
38 Charitable contributions                   384.                                                                                                                        384.
39 Interest expense specifically allocable
     under Regulations section 1.861-10(e)
40 Other interest expense specifically
   allocable under Regulations section
     1.861-10T                       36,360.                                                                                                                     36,360.
41 Other interest expense - business 
42 Other interest expense - investment 
43 Other interest expense - passive activity
44 Section 59(e)(2) expenditures, excluding
     R&E expenses on line 32    
45 Foreign taxes not creditable but
   deductible 
224175 12-07-22                                                                                                                                                  Schedule K-3 (Form 1065) 2022
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Schedule K-3 (Form 1065) 2022                                                                                                                                                                                     Page 6
Name of partnership                                                     EIN                                Name of partner                                                             SSN or TIN
STICKYS HOLDINGS, LLC                                                    XX-XXXXXXX                       STICKY'S INVESTCO II, LLC                                                     XX-XXXXXXX
 Part II  Foreign Tax Credit Limitation (continued)
 Section 2 - Deductions (continued)
                                                                                                              Foreign Source
                                                                                                                                                                               (f) Sourced by
                      Description                     (a) U.S. source      (b) Foreign branch         (c) Passive             (d) General                (e) Other                  partner                (g) Total
                                                                            category income        category income         category income     (category code            )

 46 Section 986(c) loss 
 47 Section 987 loss 
 48 Section 988 loss 
 49 Other allocable deductions (see
          instructions)   
 50 Other apportioned share of
    deductions (see instructions) 
 51 Reserved for future use 
 52 Reserved for future use 
 53 Reserved for future use 
 54 Total deductions (combine lines 25
          through 53)                    9,373,227.                                                                                                                                        9,373,227.
 55 Net income (loss) (subtract line 54
    from line 24)       -1,127,107.                                                                                                                                                      -1,127,107.
 Part III Other Information for Preparation of Form 1116 or 1118
 Section 1 - R&E Expenses Apportionment Factors
                                                                                                      Foreign Source
                                                                                                                                                (e) Other                    (f) Sourced by
              Description                (a) U.S. source        (b) Foreign branch          (c) Passive              (d) General                                                  partner                 (g) Total
                                                                                         category income          category income       (category code               )
                                                                 category income
                                                                                                                                        (country code                )

  1 Gross receipts by SIC code
    A SIC code:
      B     SIC code:
      C     SIC code:
      E     SIC code:
      E     SIC code:
      F     SIC code:
  2         Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
      A     R&E expense with respect to activity performed in the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2A(ii)
             (iii) SIC code:               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 2A(iii)
      B     R&E expense with respect to activity performed outside the United States
             (i) SIC code:                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(i)
             (ii) SIC code:                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2B(ii)
             (iii) SIC code:                                                                                                2B(iii)
224176 12-07-22                                                                                                                                                                               Schedule K-3 (Form 1065) 2022
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                          Electronic Filing PDF Attachment




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                                Lessee’s Repor�ng under Reg 1.110-1(c)

                  Regarding Construc�on Allowances Excluded from Lessee’s Income



                                        STICKY’S HOLDINGS, LLC

                                           EIN: XX-XXXXXXX

                           FORM 1065, TAX YEAR ENDING DECEMBER 26, 2022



Lessor’s Name: Brooks Shopping Centers, LLC

Lessor’s Address: 10 Grand Central 155 East 44th Street 7th Floor New York, NY Y10017

Lessor’s EIN: XX-XXXXXXX

Loca�on of Retail space: 2060 Mall Walk Yonkers, NY 10704

Amount of construc�on allowance: $62,500

Amount of allowance that is a qualiﬁed lessee construc�on allowance under Reg 1.110-1(b): $62,500
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                 2022 TAX RETURN FILING INSTRUCTIONS
                               NEW JERSEY FORM NJ-1065

                              FOR THE YEAR ENDING
                                   DECEMBER 31, 2022

PREPARED FOR:

            STICKYS HOLDINGS, LLC
            24 E 23RD STREET
            NEW YORK, NY 10010

PREPARED BY:

            APRIO, LLP
            2002 SUMMIT BOULEVARD, SUITE 120
            ATLANTA, GA 30319

TO BE SIGNED AND DATED BY:

            NOT APPLICABLE

AMOUNT OF TAX:

            TOTAL TAX                      $                      1,416
            LESS: PAYMENTS AND CREDITS     $                      1,947
            PLUS OTHER AMOUNT              $                          0
            PLUS INTEREST AND PENALTIES    $                          0
            OVERPAYMENT                    $                        531


OVERPAYMENT:

            CREDIT TO YOUR ESTIMATED TAX   $                         0
            OTHER AMOUNT                   $                         0
            REFUNDED TO YOU                $                       531

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN TO:

            THE NEW JERSEY RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF
            YOU WISH TO HAVE IT TRANSMITTED TO THE DIVISION, PLEASE CONTACT OUR
            OFFICE. WE WILL THEN SUBMIT YOUR RETURN TO THE DIVISION.

FORMS TO BE DISTRIBUTED TO PARTNERS:

            ENCLOSED ARE COPIES OF SCHEDULE K-1 TO BE DISTRIBUTED TO THE
            MEMBERS.

RETURN MUST BE MAILED ON OR BEFORE:

            RETURN FEDERAL FORM 8879-PE TO US BY SEPTEMBER 15, 2023.

SPECIAL INSTRUCTIONS:

            DO NOT MAIL THE PAPER COPY OF THE RETURN TO THE DIVISION.
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                 2022 TAX RETURN FILING INSTRUCTIONS
                                NEW JERSEY FORM NJ-CBT

                              FOR THE YEAR ENDING
                                    DECEMBER 31, 2022

PREPARED FOR:

            STICKYS HOLDINGS, LLC
            24 E 23RD STREET
            NEW YORK, NY 10010

PREPARED BY:

            APRIO, LLP
            2002 SUMMIT BOULEVARD, SUITE 120
            ATLANTA, GA 30319

TO BE SIGNED AND DATED BY:

            NOT APPLICABLE

AMOUNT OF TAX:

            TOTAL TAX                       $                        30
            LESS: PAYMENTS AND CREDITS      $                         0
            PLUS: OTHER AMOUNT              $                         0
            PLUS: INTEREST AND PENALTIES    $                         0
            BALANCE DUE                     $                        30

OVERPAYMENT:
          NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            STATE OF NEW JERSEY - CBT

MAIL TAX RETURN TO:

            THE NEW JERSEY RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF
            YOU WISH TO HAVE IT TRANSMITTED TO THE DIVISION, PLEASE CONTACT OUR
            OFFICE. WE WILL THEN SUBMIT YOUR RETURN TO THE DIVISION.


RETURN MUST BE MAILED ON OR BEFORE:

            RETURN FEDERAL FORM 8879-PE TO US BY SEPTEMBER 15, 2023.

SPECIAL INSTRUCTIONS:

            DO NOT MAIL THE PAPER COPY OF THE RETURN TO THE DIVISION.

            YOUR PAYMENT SHOULD BE MADE AS INSTRUCTED BELOW ON OR BEFORE
            SEPTEMBER 15, 2023.

            ENCLOSE A CHECK OR MONEY ORDER FOR $30, PAYABLE TO STATE OF NEW
            JERSEY - CBT. WRITE YOUR FEIN AND THE TAX TYPE ON THE CHECK. MAIL
            THE PAYMENT ALONG WITH NJ-CBT-V TO:

                           STATE OF NEW JERSEY DIVISION OF TAXATION
                           REVENUE PROCESSING CENTER
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            P.O. BOX 642
            TRENTON, NJ 08646-0642
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                                                                                                    STATE OF NEW JERSEY INCOME TAX - PARTNERSHIP RETURN

                                                                                                                    For Privacy Act Notification, See Instructions
                                                                                                                        For Calendar Year 2022, or Tax Year
     NJ-1065
                                                                                                               Beginning                             and Ending
     2022
     Page 1




        STICKYS HOLDINGS, LLC



        24 E 23RD STREET

        NEW YORK                                                                   NY         10010

        462153586                     RESTAURANT                                                                 03202012

        1019                                                         12         P01278178                     571157523

                               2 # of Resident Partners
                                    # of Nonresident Partners with Physical Nexus to NJ
                           19 # of Nonresident Partners without Physical Nexus to NJ




                                                                                                                                                                                266971 10-18-22      1019
   Under the penalties of perjury, I declare that I have examined this return, including accompanying schedules and                                  Pay the amount on Line 6 of the Filing Fee
   statements, and to the best of my knowledge and belief, it is true, correct and complete. Declaration of preparer                                 Worksheet in full. Write your Federal EIN and the
   (other than general partner) is based on all information of which preparer has any knowledge.
                                                                                                                                                     tax year on the check or money order and make
                                                                                                                                                     payable to: STATE OF NEW JERSEY - PART


   |                                                                            |                                                                    DO NOT staple or otherwise attach your payment
     Signature of General Partner or Limited Liability Company Member              Date                                                              to return NJ-1065.

   Paid Preparer's Signature                                                       Date                  Check if Self-Employed                      Mail your completed Form NJ-1065 to: NJ Division
   JESSICA HUSSAIN, CPA                                                                                          09/12/23                            of Taxation - Revenue Processing Center, PO Box
                                                                                                                                                     194, Trenton, NJ 08646-0194.
   Firm's Name (or yours if self-employed)                                                               Preparer's SS# or PTIN
   APRIO, LLP                                                                                                    P01278178                           Mail your payment and completed NJ-1065-V
                                                                                                                                                     payment voucher to:
   Preparer's Address 2002 SUMMIT BOULEVARD, SUITE                                                       Preparer's Federal EIN#                     Filing Fee on Partnerships, PO Box 642,
   ATLANTA, GA 30319                                                                                             571157523                           Trenton, NJ 08646-0642.




                                                                                                    1
22470912 795476 95517                                                                            2022.04020 STICKYS HOLDINGS, LLC                                                            95517__1
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                                                                 STICKYS HOLDINGS, LLC

                                                                 462153586                                                                           1019

                                                              Check applicable boxes


                            Initial Return                                                   Investment Club
                            Final Return                                                     Composite Return is filed for Nonresident Partner
                            Amended Return                                                   Controlling Interest Transfer Tax
                            Application for Federal Extension is attached                    Tiered Partnership
                            Substitute Method of Allocation Granted                          General Partnership
                            Complete Liquidation                                             Limited Partnership
                            Qualified Investment Partnership                             X Limited Liability Company
                            Listed on U.S. National Stock Exchange                           Limited Liability Partnership
                            Hedge Fund
                                                                                                            Column A                              Column B
     Partnership Income                                                                               Amount from All Sources               Amount from NJ Sources
     1.   Ordinary Income (loss) from trade or business activities (See instruction page 6)     1.        -3211890               .
     2.   Net income (loss) from rental real estate activities                                  2.                               .
     3.   Net income (loss) from other rental activities                                        3.                               .
     4.   Guaranteed payments to partners                                                       4.              19014            .
     5.   Interest income                                                                       5.             168957            .
     6.   Dividend income                                                                       6.                               .
     7.   Royalty income                                                                        7.                               .
     8.   Net gain (loss) from disposition of property                                          8.                               .
     9.   Net IRC section 1231 gain (loss)                                                      9.                               .
     10. Other income (loss)                                                                   10.                               .
     11. Tax-exempt interest income                                                            11.                               .
     12. Subtotal (Add lines 1 through 11)                                                     12.        -3023919               .
     13a. Taxes based on income                                   13a.                               .
     13b. Other additions - specify:                              13b.                               .
     13c. Total additions (Add lines 13a and 13b)                                             13c.                               .
     14. Subtotal (Add lines 12 and 13c)                                                       14.        -3023919               .
     15a. Net income (loss) from rental real estate activities    15a.                               .
     15b. Net gain (loss) from disposition of real property       15b.                   5793        .
     15c. Guaranteed payments to partners                         15c.                  19014        .
     15d. Interest income from federal obligations                15d.                               .
     15e. Interest income from NJ obligations                     15e.                               .
     15f. IRC Section 179 expense                                 15f.                               .
     15g. Other Subtractions - specify:      STMT 1               15g.                  85168        .
     15h. Total Subtractions (Add lines 15a through 15g)                                      15h.          109975               .
     16a. Subtotal (Subtract line 15h from line 14)                                           16a.        -3133894               .
     16b. NJ Allocation (Line 16a times business allocation % of 0230393 %)                   16b.                                                 -722027             .
     17. Net income (loss) from rental real estate activities (see instruction page 8)         17.                               .                                     .
     18. Net gain (loss) from disposition of real property                                     18.            5793               .                                 0   .
     19. Net partnership income (loss) (Total lines 16a, 17 and 18 of column A)                19.        -3128101               .
                                             (Total lines 16b, 17 and 18 of column B)                                                              -722027             .
     20. Income (loss) from tiered partnership                                                 20.                               .                                     .
     21. Partnership income (loss) (total Lines 19 and 20)                                     21.        -3128101               .                 -722027             .
     22a. Guaranteed payments to partners                                                     22a.           19014               .
     22b. Guaranteed payments to partners- pension                                            22b.                               .
     22c. Net guaranteed payment to partners (subtract Line 22b from Line 22a)                22c.                 19014         .                       4381          .
     23. Net gain (loss) from disposition of assets as a result of complete liquidation        23.                               .                                     .
     24. Total Nonresident Non-corporate Partners Share of Tax (Line 2c, col. J of Dir.)       24.                                                            30       .
     25. Total Nonresident Corporate Partners Share of Tax (Line 2c, col. K of Directory)      25.                                                                     .

                                                                                                                                                 266972 10-18-22
                                                                                   2
22470912 795476 95517                                                           2022.04020 STICKYS HOLDINGS, LLC                                                   95517__1
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                                                                       STICKYS HOLDINGS, LLC

                                                                       462153586                                                                                   1019


       Partnership Filing Fee
        1a. Number of Resident Partners                                                2 X $150.00 =                                                      1a.          300         .
        1b. Number of Nonresident Partners with                                              X $150.00 =                                                  1b.                      .
               Physical Nexus to New Jersey
           1c. Number of Nonresident Partners without                                19 X $150.00 X              0225803 =                                1c.          644         .
               Physical Nexus to New Jersey                                                                    Corporation Allocation
                                                                                                                      Factor
        1d. Filing Fee (Add lines 1a - 1c, but do not                                                                                                     1d.          944         .
            enter more than $250,000)
            2. Installment Payment                                                                                                                         2.          472         .
            3. Less: Pass-Through Bus. Alt. Inc. Tax Credit                                                                                                3.                      .
            4. Less: Installment Payment from 2021                                                                                                         4.         447          .
            5. Less: PART-200-T Payment                                                                                                                    5.        1500          .
            6. Balance Due                                                                                                                                 6.                      .
            7. Refund                                                                                                                                      7.          531         .


       Partners Directory              List all partners, including principal address. Add additional sheets as necessary.          1. Corporation Allocation Factor 0225803


       Code      % owned by Partner Final             SS Number or FEIN                                                        Partner Name
      NP             03693                            851405901                            STICKY'S INVESTCO II, LLC
                                        Partner Address                                                                             City                             State
      477 BROOME STREET, #61                                                                          NEW YORK                                                       NY
            ZIP Code
      10013                    C.    -1158259 D.                         -267349 E.                                           F.                          G.


      H.       -1126723                I.                                       J.                                      K.                           L.

       Code      % owned by Partner Final             SS Number or FEIN                                                        Partner Name
      NP             03526                            825385733                            STICKY'S INVESTCO LLC
                                        Partner Address                                                                             City                             State
      477 BROOME STREET, #61                                                                          NEW YORK                                                       NY
            ZIP Code
      10013                    C.    -1326339 D.                         -306145 E.                                           F.                          G.


      H.       -1290228                I.                                       J.                                      K.                           L.


       Code      % owned by Partner Final             SS Number or FEIN                                                        Partner Name
      NR             00539                                          0556                   JAMES R HART III
                                        Partner Address                                                                             City                             State


            ZIP Code
                               C.           -79258 D.                       -18294 E.                                         F.                          G.


      H.           -77099              I.                                       J.                                      K.                           L.


    2a. Total This Page.                      Col. J                                    0          Col. K                            0     Col. L                        0
    2b. Total from Additional Pages Attached. Col. J                                   30          Col. K                            0     Col. L                        0
    2c. Total Tax (add Lines 2a and 2b)            Col. J                              30          Col. K                            0     Col. L                        0

                                                                                                                                                                266973 10-18-22


                                                                                              3
22470912 795476 95517                                                                      2022.04020 STICKYS HOLDINGS, LLC                                                       95517__1
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                                                                 STICKYS HOLDINGS, LLC

                                                                 462153586                                                                                 1019




      Partners Directory         List all partners, including principal address. Add additional sheets as necessary.



      Code    % owned by Partner Final          SS Number or FEIN                                                      Partner Name
     NP           00448                         462667464                            OCHO CAPITAL LLC
                                  Partner Address                                                                            City                            State
     98 SAN JACINTO BLVD, SUITE 2006                                                            AUSTIN                                                       TX
          ZIP Code
     78701                C.           -80613 D.                      -18607 E.                                        F.                          G.


     H.        -78418             I.                                      J.                                      K.                          L.

      Code    % owned by Partner Final          SS Number or FEIN                                                      Partner Name
     NR           00416                                       7273                   MICHAEL P SHERMAN
                                  Partner Address                                                                            City                            State


          ZIP Code
                          C.      -126685 D.                          -29241 E.                                        F.                          G.


     H.      -123235              I.                                      J.                                      K.                          L.


      Code    % owned by Partner Final          SS Number or FEIN                                                      Partner Name
     NT           00253                         467262670                            SEUNG JA CHUNG FAMILY TRUST EILEEN
                                  Partner Address                                                                            City                            State
     2729 BUNGALOW PLACE                                                                        CORONA DEL MAR                                               CA
          ZIP Code
     92626                C.           -37299 D.                         -8609 E.                                      F.                          G.


     H.        -36283             I.                                      J.                                      K.                          L.

      Code    % owned by Partner Final          SS Number or FEIN                                                      Partner Name
     NR           00217                                       3381                   ALAN LIU
                                  Partner Address                                                                            City                            State


          ZIP Code
                          C.           -66436 D.                      -15335 E.                                        F.                          G.


     H.        -64627             I.                                      J.                                      K.                          L.



     Total This Page.                        Col. J                                 0        Col. K                           0     Col. L                       0




                                                                                                                                                        266974 10-18-22


                                                                                        4
22470912 795476 95517                                                                2022.04020 STICKYS HOLDINGS, LLC                                                     95517__1
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                                                                 STICKYS HOLDINGS, LLC

                                                                 462153586                                                                                 1019




      Partners Directory         List all partners, including principal address. Add additional sheets as necessary.



      Code    % owned by Partner Final          SS Number or FEIN                                                      Partner Name
     NR           00217                                       9345                   PAUL TIETZ
                                  Partner Address                                                                            City                            State


          ZIP Code
                          C.           -68749 D.                      -15869 E.                                        F.                          G.


     H.        -66878             I.                                      J.                                      K.                          L.

      Code    % owned by Partner Final          SS Number or FEIN                                                      Partner Name
     NR           00163                                       1958                   MARK FIRST
                                  Partner Address                                                                            City                            State


          ZIP Code
                          C.           -59384 D.                      -13707 E.                                        F.                          G.


     H.        -57767             I.                                      J.                                      K.                          L.


      Code    % owned by Partner Final          SS Number or FEIN                                                      Partner Name
     NR           00133                                       0185                   CHRISTOPHER NEUKERMANS
                                  Partner Address                                                                            City                            State


          ZIP Code
                          C.           -21073 D.                         -4864 E.                                      F.                          G.


     H.        -20499             I.                                      J.                                      K.                          L.



     Total This Page.                        Col. J                                 0        Col. K                           0     Col. L                       0




                                                                                                                                                        266975 10-18-22


                                                                                        5
22470912 795476 95517                                                                2022.04020 STICKYS HOLDINGS, LLC                                                     95517__1
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                                                                                 STICKYS HOLDINGS, LLC
                                                                                 462153586
                      Partners Directory         List all partners, including principal address. Add additional sheets as necessary.



                      Code    % owned by Partner Final          SS Number or FEIN                                                      Partner Name
                     NR           00115                                       3657                   RYAN N COTTON
                                                  Partner Address                                                                            City                     State


                          ZIP Code
                                          C.        -17969 D.                            -4148 E.                                      F.                   G.


                     H.        -17480              I.                                     J.                                     K.                    L.

                      Code    % owned by Partner Final          SS Number or FEIN                                                      Partner Name
                     NR           00110                                       9293                   DAVID W HUMPHREY
                                                  Partner Address                                                                            City                     State


                          ZIP Code
                                          C.        -16317 D.                            -3766 E.                                      F.                   G.


                     H.        -15873              I.                                     J.                                     K.                    L.


                      Code    % owned by Partner Final          SS Number or FEIN                                                      Partner Name
                     NRG          00107                                       1191                   JONATHAN SHERMAN
                                                  Partner Address                                                                            City                     State


                          ZIP Code
                                          C.              1622 D.                              366 E.                                  F.                   G.


                     H.              2095          I.                   473               J.                      30             K.                    L.


                      Code    % owned by Partner Final          SS Number or FEIN                                                      Partner Name
                     NR           00065                                       5197                   JAKE A BERGMAN
                                                  Partner Address                                                                            City                     State


                          ZIP Code
                                          C.        -10265 D.                            -2369 E.                                      F.                   G.


                     H.          -9986             I.                                     J.                                     K.                    L.


                      Code    % owned by Partner Final          SS Number or FEIN                                                      Partner Name
                     RI           00065                                       1865                   JUSTIN GUTTMAN
                                                  Partner Address                                                                            City                     State


                          ZIP Code
                                          C.        -24716 D.                            -5705 E.                                      F.                   G.


                     H.                            I.                                     J.                                     K.                    L.


                      Code    % owned by Partner Final          SS Number or FEIN                                                      Partner Name
                     NR           00044                                       8775                   JUSTIN HELLER
                                                  Partner Address                                                                            City                     State


                          ZIP Code
                                                    -13927 D.                            -3215 E.                                                           G.
   266976 10-25-22




                                          C.                                                                                           F.


                     H.        -13548              I.                                     J.                                     K.                    L.


  Total This Page. Enter zero, if no tax reported in Column(s) J and/or K.                     Col. J          30 Col. K       0 Col. L                                               0
                                                                                                        6
22470912 795476 95517                                                                                2022.04020 STICKYS HOLDINGS, LLC                                         95517__1
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                                                                                 NJ-1065 (2022)                                                       PAGE - Additional Information
                                                                                 STICKYS HOLDINGS, LLC
                                                                                 462153586
                      Partners Directory         List all partners, including principal address. Add additional sheets as necessary.



                      Code    % owned by Partner Final          SS Number or FEIN                                                      Partner Name
                     RI           00012                                       4851                   PAUL ABRAHAMIAN
                                                  Partner Address                                                                            City                     State


                          ZIP Code
                                          C.             -3420 D.                           -789 E.                                    F.                   G.


                     H.                            I.                                     J.                                     K.                    L.

                      Code    % owned by Partner Final          SS Number or FEIN                                                      Partner Name
                     NR           00000                                       5300                   LEOR WOLF
                                                  Partner Address                                                                            City                     State


                          ZIP Code
                                          C.                            D.                                E.                           F.                   G.


                     H.                            I.                                     J.                                     K.                    L.


                      Code    % owned by Partner Final          SS Number or FEIN                                                      Partner Name
                     NR           00000                                       8556                   JAMIE GREER
                                                  Partner Address                                                                            City                     State


                          ZIP Code
                                          C.                            D.                                E.                           F.                   G.


                     H.                            I.                                     J.                                     K.                    L.


                      Code    % owned by Partner Final          SS Number or FEIN                                                      Partner Name
                     NR           00000                                       8600                   STEVE GORNIC
                                                  Partner Address                                                                            City                     State


                          ZIP Code
                                          C.                            D.                                E.                           F.                   G.


                     H.                            I.                                     J.                                     K.                    L.


                      Code    % owned by Partner Final          SS Number or FEIN                                                      Partner Name
                     NR           00000                                       4327                   THEO DUBIN
                                                  Partner Address                                                                            City                     State


                          ZIP Code
                                          C.                            D.                                E.                           F.                   G.


                     H.                            I.                                     J.                                     K.                    L.


                      Code    % owned by Partner Final          SS Number or FEIN                                                      Partner Name


                                                  Partner Address                                                                            City                     State


                          ZIP Code
                                                                                                                                                            G.
   266976 10-25-22




                                          C.                            D.                                E.                           F.


                     H.                            I.                                     J.                                     K.                    L.


  Total This Page. Enter zero, if no tax reported in Column(s) J and/or K.                     Col. J          30 Col. K       0 Col. L                                               0
                                                                                                        7
22470912 795476 95517                                                                                2022.04020 STICKYS HOLDINGS, LLC                                         95517__1
                                     Case 24-10856-JKS                          Doc 1       Filed 04/25/24              Page 277 of 733

    NJ-1065 - 2022                                                                                                                                    Schedule J                  1019
    Partnership name as shown on Form NJ-1065                                                 Federal EIN
     STICKYS HOLDINGS, LLC                                                                                              462153586
      Schedule J Corporation Allocation Schedule
                                 A partnership that is not a qualified investment partnership, investment club, and that is not listed on a United
                                 States National Stock Exchange but has a nonresident noncorporate or nonresident corporate partner should
                                 complete Schedule J. This schedule should be omitted if the taxpayer does not have receipts outside New
                                 Jersey; the allocation factor will be 100% (1.000000). Schedule J is not required for a partnership that meets
                                 hedge fund status if its only nonresident partners are individuals, estates, or trusts. Schedule J is required
                                 if the partnership includes nonresident partners who do not have physical nexus to New Jersey and the
                                 partnership wants to allocate the filing fee.

    Part I            All Allocating Companies Must Answer the Following:
    (a) Explain in detail internal controls used in distribution of receipts in and out of New Jersey, as shown in Part II
             PREPARED BY CORPORATE ACCOUNTING


    (b) State the location of the actual seat of management or control of the partnership             SEE STATEMENT 2

    Part II            Computation of Allocation Factor
                                                                                                             Amounts (omit cents)
    1. Receipts:
       (a) From sales of tangible personal property shipped to points within New Jersey.                              4,985,348
       (b) From services if the benefit of the service is received in New Jersey.                                             0
       (c) From rentals of property situated in New Jersey.                                                                   0                 Complete by carrying the fraction to

       (d) From royalties for the use in New Jersey of patents, copyrights, and trademarks.                                   0                 six (6) decimal places. Do not express
                                                                                                                                                as a percent. Example:
       (e) All other business receipts earned in New Jersey.                                                                  0                  123,456
       (f)    Total New Jersey receipts (Total of lines 1a to 1e, inclusive).                                         4,985,348                 1,000,000 = .   1 2      3   4    5 6
       (g) Total receipts from all sales, services, rentals, royalties and other business
              transactions everywhere.                                                                             22,078,281
       (h) Allocation Factor (Percentage in New Jersey (Line 1f divided by line 1g).
              Enter here and carry to line 1 of the Partners Directory on page 3 of
              Form NJ-1065.                                                                                . 2 2 5 8 0 3




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          NJ-NR-A                                                        New Jersey Gross Income Tax
            (6-22)                                               Business Allocation Schedule
                                                  Use this schedule if business activities are carried on both inside and outside New Jersey or
                                                                if business activities are carried on 100% outside New Jersey.
                                                        This form must be enclosed and filed with your New Jersey Income Tax return.
     Enter name, address, and Social Security/federal employer identification number as shown on Form NJ-1040NR, Form NJ-1041, Form NJ-1065, or Form PTE-100.
     Legal name of taxpayer                                                                                                                           Social Security Number/Federal EIN

     STICKYS HOLDINGS, LLC
                                                                                                                                                   462153586
     Trade name of business if different from legal name above                                                                                        For the Tax Year Ending
                                                                                                                                                      (Month, Day, Year)

     Address (number and street or rural route)                                                                                                          12/31/22
     24 E 23RD STREET
     City or Post Office                                                                      State                          ZIP Code

     NEW YORK, NY                         10010

    Section 1 - Business Locations
    List all places both inside and outside New Jersey where business is carried on.
                                                                                                                                                                         (d) Check One
                           (a) Street Address                                   (b) City and State                        (c) Description of Business Location
                                                                                                                                                                          Rent     Own


     1.


     2.


     3.


     4.

    Section 2 - Average Values
                                                                                                                                        Average Values
     Assets                                                                                                            Column A                                Column B
                                                                                                                       Everywhere                              New Jersey


     1.       Real Property Owned                                                                          1.           9,108,139. 1.                            2,955,090.

     2.       Real and Tangible Property Rented                                                            2.          31,044,608. 2.                            4,458,440.

     3.       Tangible Personal Property Owned                                                             3.                201,883. 3.                                53,903.

     4.       Totals (Add lines 1-3 in each column)                                                        4.          40,354,630. 4.                            7,467,433.

    Section 3 - Business Allocation Percentage
     Average Values of Property:
     1a.    In New Jersey (From Section 2, column B, line 4) ~~~~~~~~~~~~~~~~~                                   1a.          7,467,433.
     1b.    Everywhere (From Section 2, column A, line 4)          ~~~~~~~~~~~~~~~~~~                            1b.         40,354,630.
     1c.    Percentage in New Jersey (Divide line 1a by line 1b)                                                                         1c.      18.5045 %
     Total Receipts From All Sales, Services, and Other Business Transactions:
     2a.    In New Jersey ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      2a.          4,985,348.
     2b.    Everywhere ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        2b.         22,078,281.
     2c.    Percentage in New Jersey (Divide line 2a by line 2b)                                                                         2c.      22.5803 %
     Wages, Salaries, and Other Personal Compensation Paid During the Year:
     3a.    In New Jersey ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      3a.           1,279,741.
     3b.    Everywhere ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        3b.           4,565,084.
     3c.    Percentage in New Jersey (Divide line 3a by line 3b)                                                                         3c.      28.0332 %
      4.    Sum of New Jersey Percentages (Add lines 1c, 2c, and 3c)                                                                        4.       69.1180 %
      5.    Business Allocation Percentage. (Divide the total on line 4 by 3; if less than 3 fractions,
            see instructions)                                                                                            5.       23.0393 %

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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NJ-1065                    OTHER SUBTRACTIONS                    STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  FICA TIP CREDIT                                                                      16,003.
  NEW JERSEY DEPRECIATION ADJUSTMENT                                                   69,165.
                                                                                }}}}}}}}}}}}}}
  AMOUNT TO FORM NJ-1065, LINE 15G                                                     85,168.
                                                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE J LOCATION OF THE ACTUAL SEAT OF MANAGEMENT OR CONTROL STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  ADDRESS         24 E 23RD STEET
  CITY            NEW YORK
  STATE           NY
  ZIP/POSTAL CODE 10010
  COUNTRY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}




                                            10                     STATEMENT(S) 1, 2
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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GIT-DEP - Gross Income Tax Depreciation Adjustment Worksheet                                                                                                                      Revised 8/19 1019
  Name                                                                                                                                                             Social Security Number/FEIN
           STICKYS HOLDINGS, LLC                                                                                                                                   462153586
 For tax years beginning on or after January 1, 2004, use this worksheet to calculate the New Jersey depreciation adjustment required for assets placed in service on or after
 January 1, 2004, and for which any of the following criteria apply:
             ¥ Federal Section 179 expense was deducted
             ¥ Federal 50% Special Depreciation Allowance was deducted
             ¥ Federal income includes Section 179 recapture income
             ¥ Federal income includes a gain or loss from disposition of an asset for which a NJ depreciation adjustment was previously required.

  Part I          Complete Parts II, III, and IV as required and enter results on this worksheet


 1.   Total federal depreciation from Part II, column C                                                                                1.                                                  699,358
      Total NJ Section 179 deduction allowable from Part II, column E; total cannot exceed $25,000 unless
 2.   Liberty Zone Property is included                                                                                                2.


 3.   Total NJ depreciation allowable from Part II, column K                                                                           3.                                                  768,523

 4.   Subtotal (Subtract lines 2 and 3 from line 1)                                                                                    4.                                                  -69,165

 5.   Total NJ adjustment to federal 179 recapture income from Part III, column E                                                      5.


 6.   Total NJ adjustment to federal gain (loss) on disposition of asset(s) from Part IV, column F                                     6.


 7.   New Jersey Depreciation Adjustment (total of lines 4, 5, and 6)                                                                  7.                                                  -69,165
  Enter the amount from line 7, New Jersey Depreciation Adjustment, as a positive or negative amount on the applicable form, schedule, or worksheet as follows:
  S corporation income
  CBT-100S, Schedule K or Schedule K Liquidated, Part II, line 7
  Publication GIT-9S, Worksheet B or Worksheet B - Liquidated, Part I, line 7
  Partnership income
  NJ-1065 - If a net addition, include on line 13b; if a net subtraction, include on line 15g.
  Publication GIT-9P, Worksheet A - If a net addition, include on line 14b; if a net subtraction, include on line 16e.
  Net profits from business
  Enter on a schedule detailing the calculation of NJ net profits from business and attach to Forms NJ-1040, NJ-1040NR, NJ-1041
  Income from rents, royalties, patents, and copyrights
  Enter the total adjustments to income from lines 4 and 5 on:
           NJ-1040, NJ-BUS-1, Part IV
           NJ-1040NR, NJ-BUS-1, Part II
           NJ-1041, NJ-BUS-1, Part II
  Enter the adjustment to federal gain or loss on disposition from line 6 on:
           NJ-1040, Schedule NJ-DOP
           NJ-1040NR, Part I
           NJ-1041, Schedule A


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                                                                                                      11
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GIT-DEP - Gross Income Tax Depreciation Adjustment Worksheet                                                                                                                        Revised 8/19       1019
  Name                                                                                                                                                                Social Security Number/FEIN
          STICKYS HOLDINGS, LLC                                                                                                                                       462153586

  Part II       Calculation of New Jersey Depreciation
  For tax years beginning on or after January 1, 2004, use this section to calculate the NJ basis for depreciation and the NJ depreciation allowable for assets placed in service on or
  after January 1, 2004, and for which Section 179 expense or federal 50% special depreciation allowance were deducted.


            A                      B                C                     D                   E                    F                    G                   H                I     J               K
                                Date          Current Year                                                                      Prior Year New                           Federal Life      New Jersey
       Description            Placed in         Federal           Federal Basis        NJ Section 179                               Jersey          NJ Current Year      Method or         Depreciation
       of Property                          Depreciation/179     For Depreciation        Deduction             NJ Basis                                 Basis           of Depre- Rate
                               Service                                                                                           Depreciation                                               Allowable
                                               Deducted                                                                                                                  ciation




       Totals


Instructions (for Liberty Zone Property, see General Instructions)
   Column A: Classify consistent with Internal Revenue Code.
   Column B: Clearly segregate property placed in service during each year.
   Column C: Enter the total special depreciation allowance, 179 expense, and depreciation deducted for federal purposes for this year.
   Column D: Enter federal basis for depreciation prior to special depreciation allowance, 179 expense, or depreciation deduction.
   Column E: For the year placed in service, enter the NJ allowable Section 179 deduction, limited to a maximum of $25,000 for all assets unless Liberty Zone Property is included.
   Column F: Subtract column E from column D
   Column G: Enter amounts from prior years' worksheets.
   Column H: For the year placed in service, enter the amount from column F. For subsequent years, subtract column G from column D.
   Column I: Use the same method that was used for federal purposes.
   Column J: Use the same life that was used for federal purposes.
   Column K: Calculate the NJ depreciation. The 30% special depreciation allowance is allowed only if it was taken for federal tax purposes.
The 50% special depreciation allowance is not permitted.
Enter the total of column C on Part I, line 1.
Enter the total of column E on Part I, line 2; total cannot exceed $25,000 unless Liberty Zone Property is included.
Enter the total of column K on Part I, line 3                                                                                                                            266392 04-01-22
                                                                                                   12
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GIT-DEP - Gross Income Tax Depreciation Adjustment Worksheet                                                                                                                    Revised 8/19       1019
  Name                                                                                                                                                              Social Security Number/FEIN
           STICKYS HOLDINGS, LLC                                                                                                                                    462153586
  Part III      Calculation of Adjustment to Federal 179 Recapture Income
  For tax years beginning on or after January 1, 2004, if reported income includes the recapture of Section 179 expense on property placed in service on or after
  January 1, 2004, use this section to calculate the New Jersey adjustment to federal recapture income. A separate adjustment must be calculated for each asset
  on which there was recapture income.

                                                     A                                                          B                        C                          D                          E

                                                                                                                                 NJ Section 179          Federal Section 179      New Jersey Adjustment
                                                   Asset                                                   Date Placed          Recapture Income          Recapture Income         to Federal Recapture
                                                                                                            In Service                                                                   Income




                                                                                               Totals


Instructions
Column A: Identify the asset for which the federal recapture income was required.
Column B: Enter date the asset was placed in service.
Column C: Based on federal rules, calculate NJ Section 179 recapture income using amounts allowable for NJ tax purposes.
Column D: Enter the federal Section 179 recapture income that is included in income reported to NJ.
Column E: Subtract column D from column C. This is the NJ recapture income adjustment.
Enter the total of column E, as either a negative or positive, on Part I, line 5




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                                                                                                  13
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GIT-DEP - Gross Income Tax Depreciation Adjustment Worksheet                                                                                                                         Revised 8/19 1019
  Name                                                                                                                                                                Social Security Number/FEIN
          STICKYS HOLDINGS, LLC                                                                                                                                       462153586

  Part IV       Calculation of Adjustment to Federal Gain or Loss on Disposition of Asset
  For tax years beginning on or after January 1, 2004, use this section to calculate the NJ adjustment to federal gain or loss on disposition of an asset placed in service
  on or after January 1, 2004, for which Section 179 expense or federal 50% Special Depreciation Allowance were deducted.


                                             A                                                      B                 C                     D                          E                       F

                                                                                               Date Placed        Date of       Total NJ Depreciation          Total Federal         Adjustment to Federal
                                          Asset                                                 in Service      Disposition           Deducted             Depreciation Deducted          Gain (Loss)




                                                                                    Totals


Instructions
Column A: Identify the asset disposed of.
Column B: Enter date the asset was placed in service.
Column C: Enter date of disposition.
Column D: Enter the total federal Section 179 expense, special allowance, and depreciation deducted for NJ tax purposes.
Column E: Enter the total federal Section 179 expense, special allowance, and depreciation deducted for federal tax purposes.
Column F: Subtract column E from column D. This is the NJ adjustment to the federal gain (loss) included in income.
Enter the total of column F, as either a negative or positive, on Part 1, line 6.




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                                                                                                    14
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       1
     Schedule NJK-1                                                                  State of New Jersey                                                                                 1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,              .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

                      -4851                                                                           XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     PAUL ABRAHAMIAN                                                                                STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

                                                                                                    24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State        ZIP Code

                                                                                                    NEW YORK, NY                        10010
     What type of entity is partner?                                  RI                              Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing                 0.1928050 %                  0.1093462 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                   0.1928050 %                  0.1093462 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership              0.1251850 %                  0.1279123 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                  NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)                                          -3,420.                                                                -789.
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                               Line 23
            (Line 1 plus line 2 minus line 3)                              -3,420.                                                                -789.
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                               Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
                                                                               This Form May be Reproduced



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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NJ NJK-1                     GIT-DEP PRO-RATA SHARE
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTAL
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  FEDERAL DEPRECIATION                                               765.
  NJ SECTION 179 DEDUCTION ALLOWABLE                                   0.
  NJ DEPRECIATION ALLOWABLE                                          840.
       SUBTOTAL                                                                    -75.
  NJ ADJUSTMENT TO FEDERAL 179 RECAPTURE INCOME                        0.
  NJ ADJUSTMENT TO FEDERAL GAIN (LOSS) ON
    DISPOSITION OF ASSET(S)                                              0.
       SUBTOTAL                                                                             0.
                                                                                }}}}}}}}}}}}}}
  NEW JERSEY DEPRECIATION ADJUSTMENT                                                      -75.

                                                                                ~~~~~~~~~~~~~~




                                            16                      PARTNER NUMBER 1
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                        Case 24-10856-JKS                                 Doc 1    Filed 04/25/24                    Page 286 of 733
       2
     Schedule NJK-1                                                                  State of New Jersey                                                                                 1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,              .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

                      -1191                                                                           XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     JONATHAN SHERMAN                                                                               STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

                                                                                                    24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State        ZIP Code

                                                                                                    NEW YORK, NY                        10010
     What type of entity is partner?                                  NRG                             Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing                 2.8997650 %                  0.5559912 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                   2.8997650 %                  0.5559912 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership              1.0017210 %                  1.0782696 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                  NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)                                       -17,392.                                                              -4,015.
     2. Net Guaranteed Payments                                          19,014.                                                               4,381.
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                               Line 23
            (Line 1 plus line 2 minus line 3)                                  1,622.                                                               366.
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                               Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                             30.      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
                                                                               This Form May be Reproduced



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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NJ NJK-1                     GIT-DEP PRO-RATA SHARE
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTAL
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  FEDERAL DEPRECIATION                                            3,888.
  NJ SECTION 179 DEDUCTION ALLOWABLE                                  0.
  NJ DEPRECIATION ALLOWABLE                                       4,273.
       SUBTOTAL                                                                    -385.
  NJ ADJUSTMENT TO FEDERAL 179 RECAPTURE INCOME                       0.
  NJ ADJUSTMENT TO FEDERAL GAIN (LOSS) ON
    DISPOSITION OF ASSET(S)                                              0.
       SUBTOTAL                                                                             0.
                                                                                }}}}}}}}}}}}}}
  NEW JERSEY DEPRECIATION ADJUSTMENT                                                     -385.

                                                                                ~~~~~~~~~~~~~~




                                            18                      PARTNER NUMBER 2
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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       3
     Schedule NJK-1                                                                  State of New Jersey                                                                                 1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,              .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

                      -7273                                                                           XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     MICHAEL P SHERMAN                                                                              STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

                                                                                                    24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State        ZIP Code

                                                                                                    NEW YORK, NY                        10010
     What type of entity is partner?                                  NR                              Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing                 4.5441060 %                  4.0498997 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                   4.5441060 %                  4.0498997 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership              4.1439540 %                  4.1600925 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                  NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)                                    -126,685.                                                              -29,241.
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                               Line 23
            (Line 1 plus line 2 minus line 3)                        -126,685.                                                              -29,241.
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                               Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
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                                                                                                 19
22470912 795476 95517                                                                         2022.04020 STICKYS HOLDINGS, LLC                                                         95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NJ NJK-1                     GIT-DEP PRO-RATA SHARE
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  DESCRIPTION                                                 AMOUNT         TOTAL
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  FEDERAL DEPRECIATION                                           28,323.
  NJ SECTION 179 DEDUCTION ALLOWABLE                                  0.
  NJ DEPRECIATION ALLOWABLE                                      31,125.
       SUBTOTAL                                                                 -2,802.
  NJ ADJUSTMENT TO FEDERAL 179 RECAPTURE INCOME                       0.
  NJ ADJUSTMENT TO FEDERAL GAIN (LOSS) ON
    DISPOSITION OF ASSET(S)                                              0.
       SUBTOTAL                                                                             0.
                                                                                }}}}}}}}}}}}}}
  NEW JERSEY DEPRECIATION ADJUSTMENT                                                   -2,802.

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                                            20                      PARTNER NUMBER 3
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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       4
     Schedule NJK-1                                                                  State of New Jersey                                                                                 1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,              .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

                      -9345                                                                           XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     PAUL TIETZ                                                                                     STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

                                                                                                    24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State        ZIP Code

                                                                                                    NEW YORK, NY                        10010
     What type of entity is partner?                                  NR                              Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing                 2.0675390 %                  2.1977823 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                   2.0675390 %                  2.1977823 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership              2.1729660 %                  2.1687135 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                  NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)                                       -68,749.                                                            -15,869.
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                               Line 23
            (Line 1 plus line 2 minus line 3)                           -68,749.                                                            -15,869.
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                               Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
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                                                                                                 21
22470912 795476 95517                                                                         2022.04020 STICKYS HOLDINGS, LLC                                                         95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NJ NJK-1                     GIT-DEP PRO-RATA SHARE
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  DESCRIPTION                                                 AMOUNT         TOTAL
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  FEDERAL DEPRECIATION                                           15,371.
  NJ SECTION 179 DEDUCTION ALLOWABLE                                  0.
  NJ DEPRECIATION ALLOWABLE                                      16,890.
       SUBTOTAL                                                                 -1,519.
  NJ ADJUSTMENT TO FEDERAL 179 RECAPTURE INCOME                       0.
  NJ ADJUSTMENT TO FEDERAL GAIN (LOSS) ON
    DISPOSITION OF ASSET(S)                                              0.
       SUBTOTAL                                                                             0.
                                                                                }}}}}}}}}}}}}}
  NEW JERSEY DEPRECIATION ADJUSTMENT                                                   -1,519.

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                                            22                      PARTNER NUMBER 4
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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     Schedule NJK-1                                                                  State of New Jersey                                                                                 1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,              .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

                      -0556                                                                           XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     JAMES R HART III                                                                               STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

                                                                                                    24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State        ZIP Code

                                                                                                    NEW YORK, NY                        10010
     What type of entity is partner?                                  NR                              Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing              15.3564970 %                    2.5337341 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                15.3564970 %                    2.5337341 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership            4.9725590 %                    5.3913480 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                  NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)                                       -79,258.                                                            -18,294.
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                               Line 23
            (Line 1 plus line 2 minus line 3)                           -79,258.                                                            -18,294.
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                               Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
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                                                                                                 23
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NJ NJK-1                     GIT-DEP PRO-RATA SHARE
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  DESCRIPTION                                                 AMOUNT         TOTAL
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  FEDERAL DEPRECIATION                                           17,720.
  NJ SECTION 179 DEDUCTION ALLOWABLE                                  0.
  NJ DEPRECIATION ALLOWABLE                                      19,472.
       SUBTOTAL                                                                 -1,752.
  NJ ADJUSTMENT TO FEDERAL 179 RECAPTURE INCOME                       0.
  NJ ADJUSTMENT TO FEDERAL GAIN (LOSS) ON
    DISPOSITION OF ASSET(S)                                              0.
       SUBTOTAL                                                                             0.
                                                                                }}}}}}}}}}}}}}
  NEW JERSEY DEPRECIATION ADJUSTMENT                                                   -1,752.

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                                            24                      PARTNER NUMBER 5
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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     Schedule NJK-1                                                                  State of New Jersey                                                                                 1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,              .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

                      -3657                                                                           XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     RYAN N COTTON                                                                                  STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

                                                                                                    24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State        ZIP Code

                                                                                                    NEW YORK, NY                        10010
     What type of entity is partner?                                  NR                              Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing                 3.1677180 %                  0.5744534 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                   3.1677180 %                  0.5744534 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership              1.0675680 %                  1.1522685 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                  NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)                                       -17,969.                                                              -4,148.
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                               Line 23
            (Line 1 plus line 2 minus line 3)                           -17,969.                                                              -4,148.
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                               Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
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                                                                                                 25
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NJ NJK-1                     GIT-DEP PRO-RATA SHARE
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  DESCRIPTION                                                 AMOUNT         TOTAL
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  FEDERAL DEPRECIATION                                            4,017.
  NJ SECTION 179 DEDUCTION ALLOWABLE                                  0.
  NJ DEPRECIATION ALLOWABLE                                       4,415.
       SUBTOTAL                                                                    -398.
  NJ ADJUSTMENT TO FEDERAL 179 RECAPTURE INCOME                       0.
  NJ ADJUSTMENT TO FEDERAL GAIN (LOSS) ON
    DISPOSITION OF ASSET(S)                                              0.
       SUBTOTAL                                                                             0.
                                                                                }}}}}}}}}}}}}}
  NEW JERSEY DEPRECIATION ADJUSTMENT                                                     -398.

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                                            26                      PARTNER NUMBER 6
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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     Schedule NJK-1                                                                  State of New Jersey                                                                                 1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,              .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

                      -9293                                                                           XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     DAVID W HUMPHREY                                                                               STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

                                                                                                    24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State        ZIP Code

                                                                                                    NEW YORK, NY                        10010
     What type of entity is partner?                                  NR                              Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing                 3.1616320 %                  0.5216347 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                   3.1616320 %                  0.5216347 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership              1.0237620 %                  1.1099834 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                  NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)                                       -16,317.                                                              -3,766.
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                               Line 23
            (Line 1 plus line 2 minus line 3)                           -16,317.                                                              -3,766.
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                               Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NJ NJK-1                     GIT-DEP PRO-RATA SHARE
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  DESCRIPTION                                                 AMOUNT         TOTAL
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  FEDERAL DEPRECIATION                                            3,648.
  NJ SECTION 179 DEDUCTION ALLOWABLE                                  0.
  NJ DEPRECIATION ALLOWABLE                                       4,009.
       SUBTOTAL                                                                    -361.
  NJ ADJUSTMENT TO FEDERAL 179 RECAPTURE INCOME                       0.
  NJ ADJUSTMENT TO FEDERAL GAIN (LOSS) ON
    DISPOSITION OF ASSET(S)                                              0.
       SUBTOTAL                                                                             0.
                                                                                }}}}}}}}}}}}}}
  NEW JERSEY DEPRECIATION ADJUSTMENT                                                     -361.

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                                            28                      PARTNER NUMBER 7
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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     Schedule NJK-1                                                                  State of New Jersey                                                                                 1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,              .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

                      -0185                                                                           XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     CHRISTOPHER NEUKERMANS                                                                         STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

                                                                                                    24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State        ZIP Code

                                                                                                    NEW YORK, NY                        10010
     What type of entity is partner?                                  NR                              Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing                 3.6222570 %                  0.6736482 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                   3.6222570 %                  0.6736482 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership              1.2345260 %                  1.3308246 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                  NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)                                       -21,073.                                                              -4,864.
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                               Line 23
            (Line 1 plus line 2 minus line 3)                           -21,073.                                                              -4,864.
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                               Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NJ NJK-1                     GIT-DEP PRO-RATA SHARE
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  DESCRIPTION                                                 AMOUNT         TOTAL
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  FEDERAL DEPRECIATION                                            4,711.
  NJ SECTION 179 DEDUCTION ALLOWABLE                                  0.
  NJ DEPRECIATION ALLOWABLE                                       5,177.
       SUBTOTAL                                                                    -466.
  NJ ADJUSTMENT TO FEDERAL 179 RECAPTURE INCOME                       0.
  NJ ADJUSTMENT TO FEDERAL GAIN (LOSS) ON
    DISPOSITION OF ASSET(S)                                              0.
       SUBTOTAL                                                                             0.
                                                                                }}}}}}}}}}}}}}
  NEW JERSEY DEPRECIATION ADJUSTMENT                                                     -466.

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                                            30                      PARTNER NUMBER 8
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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     Schedule NJK-1                                                                  State of New Jersey                                                                                 1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,              .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

     XX-XXXXXXX                                                                                       XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     SEUNG JA CHUNG FAMILY TRUST EILEEN C STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

     2729 BUNGALOW PLACE                                                                            24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State        ZIP Code

     CORONA DEL MAR, CA                                     92626                                   NEW YORK, NY                        10010
     What type of entity is partner?                           NT                                     Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing                 7.2265870 %                  1.1923877 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                   7.2265870 %                  1.1923877 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership              2.3400280 %                  2.5371050 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                  NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)                                       -37,299.                                                              -8,609.
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                               Line 23
            (Line 1 plus line 2 minus line 3)                           -37,299.                                                              -8,609.
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                               Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
                                                                               This Form May be Reproduced



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                                                                                                 31
22470912 795476 95517                                                                         2022.04020 STICKYS HOLDINGS, LLC                                                         95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 301 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  NJ NJK-1                     GIT-DEP PRO-RATA SHARE
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  DESCRIPTION                                                 AMOUNT         TOTAL
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  FEDERAL DEPRECIATION                                            8,339.
  NJ SECTION 179 DEDUCTION ALLOWABLE                                  0.
  NJ DEPRECIATION ALLOWABLE                                       9,164.
       SUBTOTAL                                                                    -825.
  NJ ADJUSTMENT TO FEDERAL 179 RECAPTURE INCOME                       0.
  NJ ADJUSTMENT TO FEDERAL GAIN (LOSS) ON
    DISPOSITION OF ASSET(S)                                              0.
       SUBTOTAL                                                                             0.
                                                                                }}}}}}}}}}}}}}
  NEW JERSEY DEPRECIATION ADJUSTMENT                                                     -825.

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                                            32                      PARTNER NUMBER 9
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                        Case 24-10856-JKS                                 Doc 1    Filed 04/25/24                    Page 302 of 733
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     Schedule NJK-1                                                                  State of New Jersey                                                                                 1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,              .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

                      -5197                                                                           XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     JAKE A BERGMAN                                                                                 STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

                                                                                                    24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State        ZIP Code

                                                                                                    NEW YORK, NY                        10010
     What type of entity is partner?                                  NR                              Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing                 1.8101250 %                  0.3281336 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                   1.8101250 %                  0.3281336 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership              0.6100390 %                  0.6584391 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                  NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)                                       -10,265.                                                              -2,369.
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                               Line 23
            (Line 1 plus line 2 minus line 3)                           -10,265.                                                              -2,369.
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                               Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
                                                                               This Form May be Reproduced



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                                                                                                 33
22470912 795476 95517                                                                         2022.04020 STICKYS HOLDINGS, LLC                                                         95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  NJ NJK-1                     GIT-DEP PRO-RATA SHARE
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  DESCRIPTION                                                 AMOUNT         TOTAL
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  FEDERAL DEPRECIATION                                            2,295.
  NJ SECTION 179 DEDUCTION ALLOWABLE                                  0.
  NJ DEPRECIATION ALLOWABLE                                       2,522.
       SUBTOTAL                                                                    -227.
  NJ ADJUSTMENT TO FEDERAL 179 RECAPTURE INCOME                       0.
  NJ ADJUSTMENT TO FEDERAL GAIN (LOSS) ON
    DISPOSITION OF ASSET(S)                                              0.
       SUBTOTAL                                                                             0.
                                                                                }}}}}}}}}}}}}}
  NEW JERSEY DEPRECIATION ADJUSTMENT                                                     -227.

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                                            34                     PARTNER NUMBER 10
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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     Schedule NJK-1                                                                  State of New Jersey                                                                                 1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,              .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

     XX-XXXXXXX                                                                                       XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     OCHO CAPITAL LLC                                                                               STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

     98 SAN JACINTO BLVD, SUITE 2006                                                                24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State        ZIP Code

     AUSTIN, TX                       78701                                                         NEW YORK, NY                        10010
     What type of entity is partner?                                  NP                              Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing              11.1525390 %                    2.5770557 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                11.1525390 %                    2.5770557 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership            4.2080920 %                    4.4881644 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                  NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)                                       -80,613.                                                            -18,607.
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                               Line 23
            (Line 1 plus line 2 minus line 3)                           -80,613.                                                            -18,607.
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                               Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
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                                                                                                 35
22470912 795476 95517                                                                         2022.04020 STICKYS HOLDINGS, LLC                                                         95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 305 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  NJ NJK-1                     GIT-DEP PRO-RATA SHARE
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  DESCRIPTION                                                 AMOUNT         TOTAL
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  FEDERAL DEPRECIATION                                           18,023.
  NJ SECTION 179 DEDUCTION ALLOWABLE                                  0.
  NJ DEPRECIATION ALLOWABLE                                      19,805.
       SUBTOTAL                                                                 -1,782.
  NJ ADJUSTMENT TO FEDERAL 179 RECAPTURE INCOME                       0.
  NJ ADJUSTMENT TO FEDERAL GAIN (LOSS) ON
    DISPOSITION OF ASSET(S)                                              0.
       SUBTOTAL                                                                             0.
                                                                                }}}}}}}}}}}}}}
  NEW JERSEY DEPRECIATION ADJUSTMENT                                                   -1,782.

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                                            36                     PARTNER NUMBER 11
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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     Schedule NJK-1                                                                  State of New Jersey                                                                                 1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,              .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

                      -3381                                                                           XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     ALAN LIU                                                                                       STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

                                                                                                    24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State        ZIP Code

                                                                                                    NEW YORK, NY                        10010
     What type of entity is partner?                                  NR                              Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing                 2.3501050 %                  2.1238634 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                   2.3501050 %                  2.1238634 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership              2.1669580 %                  2.1743460 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                  NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)                                       -66,436.                                                            -15,335.
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                               Line 23
            (Line 1 plus line 2 minus line 3)                           -66,436.                                                            -15,335.
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                               Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
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                                                                                                 37
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NJ NJK-1                     GIT-DEP PRO-RATA SHARE
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  DESCRIPTION                                                 AMOUNT         TOTAL
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  FEDERAL DEPRECIATION                                           14,854.
  NJ SECTION 179 DEDUCTION ALLOWABLE                                  0.
  NJ DEPRECIATION ALLOWABLE                                      16,323.
       SUBTOTAL                                                                 -1,469.
  NJ ADJUSTMENT TO FEDERAL 179 RECAPTURE INCOME                       0.
  NJ ADJUSTMENT TO FEDERAL GAIN (LOSS) ON
    DISPOSITION OF ASSET(S)                                              0.
       SUBTOTAL                                                                             0.
                                                                                }}}}}}}}}}}}}}
  NEW JERSEY DEPRECIATION ADJUSTMENT                                                   -1,469.

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                                            38                     PARTNER NUMBER 12
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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     Schedule NJK-1                                                                  State of New Jersey                                                                                  1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                 2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,               .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

     XX-XXXXXXX                                                                                       XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     STICKY'S INVESTCO LLC                                                                          STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

     477 BROOME STREET, #61                                                                         24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State         ZIP Code

     NEW YORK, NY                          10013                                                    NEW YORK, NY                        10010
     What type of entity is partner?                                  NP                              Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing                 4.9002010 %                  42.4008070 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                   4.9002010 %                  42.4008070 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership              35.268123 %                  34.0433677 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                   NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)                               -1,326,339.                                                               -306,145.
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                                Line 23
            (Line 1 plus line 2 minus line 3)                   -1,326,339.                                                               -306,145.
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                                Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
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                                                                                                 39
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NJ NJK-1                     GIT-DEP PRO-RATA SHARE
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  DESCRIPTION                                                 AMOUNT         TOTAL
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  FEDERAL DEPRECIATION                                          296,533.
  NJ SECTION 179 DEDUCTION ALLOWABLE                                  0.
  NJ DEPRECIATION ALLOWABLE                                     325,859.
       SUBTOTAL                                                                -29,326.
  NJ ADJUSTMENT TO FEDERAL 179 RECAPTURE INCOME                       0.
  NJ ADJUSTMENT TO FEDERAL GAIN (LOSS) ON
    DISPOSITION OF ASSET(S)                                              0.
       SUBTOTAL                                                                             0.
                                                                                }}}}}}}}}}}}}}
  NEW JERSEY DEPRECIATION ADJUSTMENT                                                  -29,326.

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                                            40                     PARTNER NUMBER 13
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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     Schedule NJK-1                                                                  State of New Jersey                                                                                 1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,              .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

                      -1958                                                                           XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     MARK FIRST                                                                                     STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

                                                                                                    24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State        ZIP Code

                                                                                                    NEW YORK, NY                        10010
     What type of entity is partner?                                  NR                              Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing                 0.4964530 %                  1.8983599 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                   0.4964530 %                  1.8983599 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership              1.6316690 %                  1.5858858 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                  NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)                                       -59,384.                                                            -13,707.
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                               Line 23
            (Line 1 plus line 2 minus line 3)                           -59,384.                                                            -13,707.
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                               Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
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                                                                                                 41
22470912 795476 95517                                                                         2022.04020 STICKYS HOLDINGS, LLC                                                         95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  NJ NJK-1                     GIT-DEP PRO-RATA SHARE
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTAL
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  FEDERAL DEPRECIATION                                           13,276.
  NJ SECTION 179 DEDUCTION ALLOWABLE                                  0.
  NJ DEPRECIATION ALLOWABLE                                      14,590.
       SUBTOTAL                                                                 -1,314.
  NJ ADJUSTMENT TO FEDERAL 179 RECAPTURE INCOME                       0.
  NJ ADJUSTMENT TO FEDERAL GAIN (LOSS) ON
    DISPOSITION OF ASSET(S)                                              0.
       SUBTOTAL                                                                             0.
                                                                                }}}}}}}}}}}}}}
  NEW JERSEY DEPRECIATION ADJUSTMENT                                                   -1,314.

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                                            42                     PARTNER NUMBER 14
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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     Schedule NJK-1                                                                  State of New Jersey                                                                                 1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,              .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

                      -1865                                                                           XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     JUSTIN GUTTMAN                                                                                 STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

                                                                                                    24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State        ZIP Code

                                                                                                    NEW YORK, NY                        10010
     What type of entity is partner?                                  RI                              Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing                 0.0913050 %                  0.7901327 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                   0.0913050 %                  0.7901327 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership              0.6571500 %                  0.6343291 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                  NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)                                       -24,716.                                                              -5,705.
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                               Line 23
            (Line 1 plus line 2 minus line 3)                           -24,716.                                                              -5,705.
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                               Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
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                                                                                                 43
22470912 795476 95517                                                                         2022.04020 STICKYS HOLDINGS, LLC                                                         95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NJ NJK-1                     GIT-DEP PRO-RATA SHARE
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTAL
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  FEDERAL DEPRECIATION                                            5,526.
  NJ SECTION 179 DEDUCTION ALLOWABLE                                  0.
  NJ DEPRECIATION ALLOWABLE                                       6,072.
       SUBTOTAL                                                                    -546.
  NJ ADJUSTMENT TO FEDERAL 179 RECAPTURE INCOME                       0.
  NJ ADJUSTMENT TO FEDERAL GAIN (LOSS) ON
    DISPOSITION OF ASSET(S)                                              0.
       SUBTOTAL                                                                             0.
                                                                                }}}}}}}}}}}}}}
  NEW JERSEY DEPRECIATION ADJUSTMENT                                                     -546.

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                                            44                     PARTNER NUMBER 15
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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     Schedule NJK-1                                                                  State of New Jersey                                                                                 1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,              .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

                      -5300                                                                           XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     LEOR WOLF                                                                                      STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

                                                                                                    24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State        ZIP Code

                                                                                                    NEW YORK, NY                        10010
     What type of entity is partner?                                  NR                              Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing                 0.0000000 %                  0.0000000 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                   0.0000000 %                  0.0000000 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership              0.0000000 %                  0.0000000 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                  NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                               Line 23
            (Line 1 plus line 2 minus line 3)
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                               Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
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                                                                                                 45
22470912 795476 95517                                                                         2022.04020 STICKYS HOLDINGS, LLC                                                         95517__1
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     Schedule NJK-1                                                                  State of New Jersey                                                                                 1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,              .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

                      -8775                                                                           XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     JUSTIN HELLER                                                                                  STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

                                                                                                    24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State        ZIP Code

                                                                                                    NEW YORK, NY                        10010
     What type of entity is partner?                                  NR                              Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing                 0.4392940 %                  0.4452146 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                   0.4392940 %                  0.4452146 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership              0.4442310 %                  0.4440346 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                  NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)                                       -13,927.                                                              -3,215.
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                               Line 23
            (Line 1 plus line 2 minus line 3)                           -13,927.                                                              -3,215.
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                               Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
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                                                                                                 46
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NJ NJK-1                     GIT-DEP PRO-RATA SHARE
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTAL
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  FEDERAL DEPRECIATION                                            3,114.
  NJ SECTION 179 DEDUCTION ALLOWABLE                                  0.
  NJ DEPRECIATION ALLOWABLE                                       3,422.
       SUBTOTAL                                                                    -308.
  NJ ADJUSTMENT TO FEDERAL 179 RECAPTURE INCOME                       0.
  NJ ADJUSTMENT TO FEDERAL GAIN (LOSS) ON
    DISPOSITION OF ASSET(S)                                              0.
       SUBTOTAL                                                                             0.
                                                                                }}}}}}}}}}}}}}
  NEW JERSEY DEPRECIATION ADJUSTMENT                                                     -308.

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                                            47                     PARTNER NUMBER 17
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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     Schedule NJK-1                                                                  State of New Jersey                                                                                 1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,              .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

                      -8556                                                                           XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     JAMIE GREER                                                                                    STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

                                                                                                    24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State        ZIP Code

                                                                                                    NEW YORK, NY                        10010
     What type of entity is partner?                                  NR                              Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing                 0.0000000 %                  0.0000000 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                   0.0000000 %                  0.0000000 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership              0.0000000 %                  0.0000000 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                  NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                               Line 23
            (Line 1 plus line 2 minus line 3)
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                               Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
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     Schedule NJK-1                                                                  State of New Jersey                                                                                 1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,              .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

                      -8600                                                                           XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     STEVE GORNIC                                                                                   STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

                                                                                                    24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State        ZIP Code

                                                                                                    NEW YORK, NY                        10010
     What type of entity is partner?                                  NR                              Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing                 0.0000000 %                  0.0000000 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                   0.0000000 %                  0.0000000 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership              0.0000000 %                  0.0000000 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                  NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                               Line 23
            (Line 1 plus line 2 minus line 3)
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                               Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
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     Schedule NJK-1                                                                  State of New Jersey                                                                                 1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,              .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

                      -4327                                                                           XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     THEO DUBIN                                                                                     STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

                                                                                                    24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State        ZIP Code

                                                                                                    NEW YORK, NY                        10010
     What type of entity is partner?                                  NR                              Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing                 0.0000000 %                  0.0000000 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                   0.0000000 %                  0.0000000 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership              0.0000000 %                  0.0000000 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                  NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                               Line 23
            (Line 1 plus line 2 minus line 3)
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                               Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
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     Schedule NJK-1                                                                  State of New Jersey                                                                                  1019
             (Form NJ-1065)                                               Partner's Share of Income                                                                                 2022
                                  For Calendar Year 2022, or Fiscal Year Beginning                                    , 2022 and ending                       ,               .



     Part I                     General Information
     Partner's SS # or Federal EIN (Do not use EIN of a disregarded entity. See instr.)               Partnership's Federal EIN

     XX-XXXXXXX                                                                                       XX-XXXXXXX
     Partner's Name                                                                                   Partnership's Name



     STICKY'S INVESTCO II, LLC                                                                      STICKYS HOLDINGS, LLC
     Street Address                                                                                   Partnership's Street Address

     477 BROOME STREET, #61                                                                         24 E 23RD STREET
     City                                         State            ZIP Code                           City                                           State         ZIP Code

     NEW YORK, NY                          10013                                                    NEW YORK, NY                        10010
     What type of entity is partner?                                  NP                              Enter partner's percentage of:
     (see instructions)                                              Code                                                     (i) Before Decrease            (ii) End of Year
     Date partner's interest in partnership began:              03/20/2012                                                        or Termination
                                                                Month    Day       Year
                                                                                                      Profit Sharing              36.5210720 %                    37.0275556 %
                            Final NJK-1                            Hedge Fund                         Loss Sharing                36.5210720 %                    37.0275556 %
                            Amended NJK-1                          Member of Composite Return         Capital Ownership           36.9314690 %                    36.9149159 %
              If the partner is a disregarded entity, check the box and enter the partner's:


                  Federal EIN                                           Name

     Part II                    Income Information
                                                                                                    NJ-1040 Filers
                                                                                                                                     B. New Jersey Source
                 Income Classification                        A. Total Distribution               Enter Amounts on                                                   NJ-1040NR Filers
                                                                                                                                           Amounts
                                                                                                  Line Shown Below
     1. Partnership Income (Loss)                               -1,158,259.                                                               -267,349.
     2. Net Guaranteed Payments
     3. Partner's 401(k) Contribution
     4. Distributive Share of Partnership
            Income (loss)                                                                              Line 21                                                                Line 23
            (Line 1 plus line 2 minus line 3)                   -1,158,259.                                                               -267,349.
     5. Pension                                                                                       Line 20a
     6. Net Gain (Loss) From Disposition
        of Assets as a Result of a                                                                     Line 19                                                                Line 19
        Complete Liquidation

     Part III                   Partner's Information
                                                                                                                                                             Line 10b, Page 1, CBT-100
                                                                                                                                                             Line 8b, Page 1, CBT-100S
                                                                                                                                                             Line 10, Page 1, CBT-100U
                                                                                                                                                             Schedule T, NJ-CBT-1065
                                                                                                                                                             Line 52, NJ-1040NR
                                                                                                                                                             Line 23, NJ-1080C
     1. Nonresident Partner's Share of NJ Tax                                                  1.                                      Line 35a, NJ-1041


     2. Partner's HEZ Deduction                                                          2.


     3. Partner's Sheltered Workshop Tax Credit                                                 3.


     4. Share of Pass-Through Business Alternative Income Tax                                          4.

     Part IV                    Supplemental Information (Attach Schedule)
                                                                               This Form May be Reproduced



   266981 10-25-22
                                                                                                 51
22470912 795476 95517                                                                         2022.04020 STICKYS HOLDINGS, LLC                                                          95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 321 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NJ NJK-1                     GIT-DEP PRO-RATA SHARE
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTAL
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  FEDERAL DEPRECIATION                                          258,955.
  NJ SECTION 179 DEDUCTION ALLOWABLE                                  0.
  NJ DEPRECIATION ALLOWABLE                                     284,565.
       SUBTOTAL                                                                -25,610.
  NJ ADJUSTMENT TO FEDERAL 179 RECAPTURE INCOME                       0.
  NJ ADJUSTMENT TO FEDERAL GAIN (LOSS) ON
    DISPOSITION OF ASSET(S)                                              0.
       SUBTOTAL                                                                             0.
                                                                                }}}}}}}}}}}}}}
  NEW JERSEY DEPRECIATION ADJUSTMENT                                                  -25,610.

                                                                                ~~~~~~~~~~~~~~




                                            52                     PARTNER NUMBER 21
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                              Case 24-10856-JKS              Doc 1   Filed 04/25/24       Page 322 of 733

                                                              2022 NJ-CBT-V
                                                              NEW JERSEY CORPORATION BUSINESS TAX
                                                              PARTNERSHIP PAYMENT VOUCHER




290831 10-18-22                                         DO NOT CUT THIS PAGE
                                                                                   For Calendar Year 2022, or Tax Year
                                                                       Beginning                      and Ending,


                  New Jersey Corporation Business Tax                 XX-XXXXXXX   STIC
                  Partnership Payment Voucher                         STICKYS HOLDINGS, LLC
                  NJ-CBT-V                                            24 E 23RD STREET
                                                                      NEW YORK, NY 10010
  1019            2022



  Return this voucher with your payment.
  Make checks payable to: State of New Jersey - CBT
  Write your federal ID number and tax year on the check.


        Corporation Business Tax - Nonresident Partner Tax
        PO Box 642                                                                        Enter amount of payment here:
        Trenton, NJ 08646-0642
                                                                                                                    30.00




                                                             023524621535860003STIC2212060000003000
                                             Case 24-10856-JKS                   Doc 1      Filed 04/25/24             Page 323 of 733

                                                                                         STATE OF NEW JERSEY CORPORATION BUSINESS TAX -
                                                                                         PARTNERSHIP RETURN
                                                                                                       For Privacy Act Notification, See Instructions
                                                                                                           For Calendar Year 2022, or Tax Year
     NJ-CBT-1065                                                                               Beginning                             and Ending
     2022
     Page 1




        STICKYS HOLDINGS, LLC



        24 E 23RD STREET

        NEW YORK                                                              NY     10010

        462153586                          RESTAURANT                                             03202012

        1019                               30 .00                       12   P01278178          571157523




   290801 10-18-22



   Under the penalties of perjury, I declare that I have examined this return, including accompanying schedules and              Pay the amount on Line 11 of the NJ-CBT-1065
   statements, and to the best of my knowledge and belief, it is true, correct and complete. Declaration of preparer             in full. Write your Federal EIN and the tax year
                                                                                                                                 on the check or money order and make payable
   (other than general partner) is based on all information of which preparer has any knowledge.                                 to: STATE OF NEW JERSEY - CBT

                                                                                                                                 DO NOT staple or otherwise attach your
                                                                                                                                 payment to return NJ-CBT-1065.
   |                                                                         |
     Signature of General Partner or Limited Liability Company Member         Date
                                                                                                                                 Mail your completed Form NJ-CBT-1065 to: NJ
                                                                                                                                 Division of Taxation - Revenue Processing
   Paid Preparer's Signature                                                  Date          Check if Self-Employed               Center, PO Box 194, Trenton, NJ 08646-0194.
   JESSICA HUSSAIN, CPA                                                                              09/12/23
   Firm's Name (or yours if self-employed)                                                  Preparer's SS # or PTIN              Mail your payment and completed NJ-CBT-V
   APRIO, LLP                                                                                     P01278178                      payment voucher to:
                                                                                                                                 Corporation Business Tax - Nonresident Partner
   Preparer's Address2002 SUMMIT BOULEVARD, SUITE
                                                                                                                                 Tax, PO Box 642, Trenton, NJ 08646-0642
                                                                                            Preparer's Federal EIN #
   ATLANTA, GA 30319                                                                              571157523



                                                                                         54
22470912 795476 95517                                                                 2022.04020 STICKYS HOLDINGS, LLC                                                    95517__1
                                  Case 24-10856-JKS                    Doc 1         Filed 04/25/24            Page 324 of 733

                                                               NJ-CBT-1065 (2022)                                              PAGE 2



                                                               STICKYS HOLDINGS, LLC

                                                               462153586                                                                          1019




                               2 # of Resident Partners
                                   # of Nonresident Partners with Physical Nexus to NJ
                           19 # of Nonresident Partners without Physical Nexus to NJ

                                                                Check applicable boxes
              Initial Return            Final Return             Amended Return                  Applic. for Fed. Extension attached           Tiered Partnership


                                                                                                                                               Column A
                                                                                                                                        Amount from All Sources
          Non-Resident Partners Tax
         1. Total Income (from Line 12, NJ-1065)                                                                                1.           -3023919 .
         2. Total Nonresident Noncorporate Partner Share of Tax (Line 2c, col. J of Partners Directory)                         2.                 30 .
         3. Total Nonresident Corporate Partner Share of Tax (Line 2c, col. K of Partners Directory)                            3.                    .
         4. Total Tax (add Lines 2 and 3)                                                                                       4.                 30 .
         5. Penalty for Underpayment of Estimated Tax                                                                           5.                    .
              Check if CBT-160-P attached
         6. Total Due (add Lines 4 and 5)                                                                                       6.                          30 .
         7. Less: Pass-Through Business Alternative Income Tax Credit                                                           7.                             .
         8. Less: Total from Tiered Partnership Payment Schedule                                                                8.                             .
         9. Less: Estimated Payments/Credits from 2021                                                                          9.                             .
         10. Less: Payment from CBT-206                                                                                        10.                             .
         11. Total Balance Due                                                                                                 11.                          30 .
         12. Overpayment                                                                                                       12.                             .
         13. Credit to 2023                                                                                                    13.                             .
         14. Refund                                                                                                            14.                             .




   290802 10-18-22




                                                                                 55
22470912 795476 95517                                                         2022.04020 STICKYS HOLDINGS, LLC                                                    95517__1
                                                                                    Case 24-10856-JKS                                Doc 1          Filed 04/25/24                        Page 325 of 733
                                                                                  EXTENSION GRANTED TO 09/15/23
    Form
                                                     1065                                               U.S. Return of Partnership Income                                                                                         OMB No. 1545-0123


    Department of the Treasury
    Internal Revenue Service
                                                                                  For calendar year 2022, or tax year beginning                             ,
                                                                                                  Go to www.irs.gov/Form1065 for instructions and the latest information.
                                                                                                                                                                            , ending                         ,            .
                                                                                                                                                                                                                                     2022
    A                                               Principal business activity                   Name of partnership                                                                                                         D Employer identification
                                                                                                                                                                                                                                  number

    RESTAURANT                                                                                  STICKYS HOLDINGS, LLC                                                                                                          XX-XXXXXXX
                                                                                         Type Number, street, and room or suite no. If a P.O. box, see instructions.
    B                                       Principal product or service                  or                                                                                                                                  E Date business started
                                                                                         Print 24 E 23RD STREET                                                                                                                03/20/2012
    FOOD SERVICES                                                                                City or town, state or province, country, and ZIP or foreign postal code
                                                                                                                                                                                                                              F   Total assets
                                                                                                                                                                                                                                  (see instr.)
    C                                       Business code number
    722513                                                                                      NEW YORK                                                                                   NY 10010                           $   8,167,612.
    G                                               Check applicable boxes:   (1)       Initial return  (2)       Final return     (3)        Name change (4)                                          Address change (5)               Amended return
    H                                               Check accounting method: (1)        Cash            (2)  X Accrual             (3)        Other (specify)
    I                                               Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year                                                  21
    J                                               Check if Schedules C and M-3 are attached 
    K                                               Check if partnership:          (1)          Aggregated activities for section 465 at-risk purposes                 (2)             Grouped activities for section 469 passive activity purposes
      Caution: Include only trade or business income and expenses on lines 1a through 22 below. See instructions for more information.
           1 a Gross receipts or sales ~~~~~~~~~~~~~~~~~~~~~~~~~~~                           1a      22,084,935.
                                                          b Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~            1b
                                                          c Balance. Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             1c          22,084,935.
                                                      2     Cost of goods sold (attach Form 1125-A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                               2           7,862,215.
                                                                                                                                                                                                                               14,222,720.
       Income




                                                      3     Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           3
                                                      4     Ordinary income (loss) from other partnerships, estates, and trusts (attach statement)                                     ~~~~~~~~~~~                  4
                                                      5     Net farm profit (loss) (attach Schedule F (Form 1040)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                      5
                                                      6     Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~                                                               6               5,793.
                                                      7                                                            SEE STATEMENT 21
                                                            Other income (loss) (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                               7              10,538.
                                                      8     Total income (loss). Combine lines 3 through 7                                                                            8          14,239,051.
                                                      9     Salaries and wages (other than to partners) (less employment credits) ~~~~~~~~~~~~~~~~~~~                                                               9           7,149,571.
    Deductions (see instructions for limitations)




                                                    10      Guaranteed payments to partners                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  10              19,014.
                                                    11      Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                      11             518,055.
                                                    12      Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             12
                                                    13      Rent ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                               13             3,880,577.
                                                    14                                                   SEE STATEMENT 22
                                                            Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        14               963,838.
                                                    15      Interest (see instructions)                                                                                   15                98,198.
                                                    16 a Depreciation (if required, attach Form 4562) ~~~~~~~~~~~~~~~~~ 16a         699,358.
                                                       b Less depreciation reported on Form 1125-A and elsewhere on return ~~~~ 16b          16c                                                                                        699,358.
                                                    17 Depletion (Do not deduct oil and gas depletion.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~        17
                                                    18      Retirement plans, etc. ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     18
                                                    19      Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     19             202,589.
                                                    20                                                           SEE STATEMENT 23
                                                            Other deductions (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                20           3,919,741.
                                                    21      Total deductions. Add the amounts shown in the far right column for lines 9 through 20                                                       21          17,450,941.
                                                    22      Ordinary business income (loss). Subtract line 21 from line 8                                                                   22          -3,211,890.
                                                    23      Interest due under the look-back method-completed long-term contracts (attach Form 8697) ~~~~~~~~                                                      23
                                                    24      Interest due under the look-back method-income forecast method (attach Form 8866) ~~~~~~~~~~~                                                          24
       Tax and Payment




                                                    25      BBA AAR imputed underpayment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           25
                                                    26      Other taxes (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 26
                                                    27      Total balance due. Add lines 23 through 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            27
                                                    28      Payment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    28
                                                    29      Amount owed. If line 28 is smaller than line 27, enter amount owed ~~~~~~~~~~~~~~~~~~~~                                                                29
                                                    30      Overpayment. If line 28 is larger than line 27, enter overpayment                                                                 30
                                                                Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge
                                                                and belief, it is true,correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all information of
    Sign                                                        which preparer has any knowledge.
                                                                                                                                                                                                                  May the IRS discuss this return with
    Here                                                                                                                                                                                                          the preparer shown below?
                                                                  Signature of partner or limited liability company member                                                      Date                              See instr.
                                                                                                                                                                                                                                     X Yes              No
                                                                Print/Type preparer's name                                   Preparer's signature                                  Date                 Check        if       PTIN
                                                               JESSICA HUSSAIN, CPA JESSICA HUSSAIN, CPA 09/12/23 self-employed                                                                                                P01278178
    Paid                                                         Firm's name

    Preparer   APRIO, LLP                                                                   Firm's EIN  XX-XXXXXXX
    Use Only                 2002 SUMMIT BOULEVARD, SUITE 120    Firm's address
               ATLANTA, GA 30319                                                            Phone no.  (404) 892-9651
   LHA For Paperwork Reduction Act Notice, see separate instructions.    56
                                                                          211001 12-19-22                     Form 1065 (2022)
22470912 795476 95517                                                 2022.04020 STICKYS HOLDINGS, LLC              95517__1
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   Form 1065 (2022)       STICKYS HOLDINGS, LLC                                                                                                 XX-XXXXXXX                  Page 2
     Schedule B           Other Information
     1       What type of entity is filing this return? Check the applicable box:                                                                                    Yes         No
         a       Domestic general partnership                                 b         Domestic limited partnership
         c   X Domestic limited liability company                             d         Domestic limited liability partnership
         e       Foreign partnership                                          f         Other
     2       At the end of the tax year:
         a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-
             exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
             loss, or capital of the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule
             B-1, Information on Partners Owning 50% or More of the Partnership                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     X
         b   Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
             the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information
             on Partners Owning 50% or More of the Partnership                                                                              X
     3       At the end of the tax year, did the partnership:
         a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
             stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions.
             If "Yes," complete (i) through (iv) below                 X
                               (i) Name of Corporation                 (ii) Employer
                                                                                     (iii) Country of (iv) Percentage
                                                                                                   Identification                                                   Owned in
                                                                                                  Number (if any)                 Incorporation                    Voting Stock




         b   Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
             or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
             interest of a trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below      X
                       (i) Name of Entity                         (ii) Employer      (iii) Type of Entity              (iv) Country of     (v) Maximum
                                                                    Identification Number                                                                      Percentage Owned in
      SEE STATEMENT 24                                                       (if any)                                              Organization                Profit, Loss, or Capital




     4       Does the partnership satisfy all four of the following conditions?                                                                                       Yes        No
         a   The partnership's total receipts for the tax year were less than $250,000.
         b   The partnership's total assets at the end of the tax year were less than $ 1 million.
         c   Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
             extensions) for the partnership return.
         d   The partnership is not filing and is not required to file Schedule M-3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                X
             If "Yes," the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065;
             or item L on Schedule K-1.
     5       Is this partnership a publicly traded partnership, as defined in section 469(k)(2)?                                                          X
     6       During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified
             so as to reduce the principal amount of the debt?                                                                             X
     7       Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
             information on any reportable transaction?                                                                                 X
     8       At any time during calendar year 2022, did the partnership have an interest in or a signature or other authority over
             a financial account in a foreign country (such as a bank account, securities account, or other financial account)?
             See instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and
             Financial Accounts (FBAR). If "Yes," enter the name of the foreign country                                                                                           X
     9       At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
             transferor to, a foreign trust? If "Yes," the partnership may have to file Form 3520, Annual Return To Report
             Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions                                                          X
   10 a      Is the partnership making, or had it previously made (and not revoked), a sec. 754 election? See instr. for details regarding a sec. 754 election ~                  X
         b   Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If "Yes,"
             attach a statement showing the computation and allocation of the basis adjustment. See instructions                                                     X
         c   Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a substantial built-in loss
             (as defined under section 743(d)) or substantial basis reduction (as defined under section 734(d))? If "Yes," attach a statement showing the
             computation and allocation of the basis adjustment. See instruction                                                                X
   211011 12-19-22                                                                      57                                                                  Form 1065 (2022)
22470912 795476 95517                                                                2022.04020 STICKYS HOLDINGS, LLC                                                  95517__1
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   Form 1065 (2022)        STICKYS HOLDINGS, LLC                                                                                   XX-XXXXXXX              Page 3
     Schedule B            Other Information (continued)
   11       Check this box if, during the current or prior tax year, the partnership distributed any property received in a                           Yes    No
            like-kind exchange or contributed such property to another entity (other than disregarded entities wholly
            owned by the partnership throughout the tax year)             
   12       At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
            undivided interest in partnership property?                                                            X
   13       If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect to Foreign
            Disregarded Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached. See
            instructions     
   14       Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's
            Information Statement of Section 1446 Withholding Tax, filed for this partnership                                                         X
   15       Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
            to this return 
   16 a     Did you make any payments in 2022 that would require you to file Form(s) 1099? See instructions ~~~~~~~~~~~~~~~                            X
        b   If "Yes," did you or will you file required Form(s) 1099?                                              X
   17       Enter the number of Forms 5471, Information Return of U.S. Persons With Respect to Certain Foreign
            Corporations, attached to this return 
   18       Enter the number of partners that are foreign governments under section 892 
   19       During the partnership's tax year, did the partnership make any payments that would require it to file Form 1042
            and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)?                                  X
   20       Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions
            for Form 8938                                                                            X
   21       Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1(b)(14)?                              X
   22       During the tax year, did the partnership pay or accrue any interest or royalty for which one or more partners are
            not allowed a deduction under section 267A? See instructions           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          X
            If "Yes," enter the total amount of the disallowed deductions                          $
   23       Did the partnership have an election under section 163(j) for any real property trade or business or any farming
            business in effect during the tax year? See instructions                                                     X
   24       Does the partnership satisfy one or more of the following? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~                                     X
        a   The partnership owns a pass-through entity with current, or prior year carryover, excess business interest expense.
        b   The partnership's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
            preceding the current tax year are more than $27 million and the partnership has business interest expense.
        c   The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
            If "Yes" to any, complete and attach Form 8990.
   25       Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund?       ~~~~~~~~~~~~~~~~~~~~~~                                  X
            If "Yes," enter the amount from Form 8996, line 15                                 $
   26       Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
            interest in the partnership or of receiving a distribution from the partnership 
            Complete Schedule K-3 (Form 1065), Part XIII, for each foreign partner subject to section 864(c)(8) on a transfer or distribution.
   27       At any time during the tax year, were there any transfers between the partnership and its partners subject to the
            disclosure requirements of Regulations section 1.707-8?                                                       X
   28       Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties
            constituting a trade or business of your partnership, and was the ownership percentage (by vote or value) for
            purposes of section 7874 greater than 50% (for example, the partners held more than 50% of the stock of
            the foreign corporation)? If "Yes," list the ownership percentage by vote and by value. See instructions.
            Percentage:                                                      By vote                          By value                                       X
   29       Reserved for future use 
   30       Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions                              X
            If "Yes," the partnership must complete Sch. B-2 (Form 1065). Enter the total from Sch. B-2, Part III, line 3
           If "No," complete Designation of Partnership Representative below.
   Designation of Partnership Representative (see instructions)
   Enter below the information for the partnership representative (PR) for the tax year covered by this return.
   Name of PR        JONATHAN SHERMAN
                        25 FOX DEN ROAD                                                             U.S. phone
   U.S. address of PR
                        MOUNT KISCO, NY                              10549                          number of PR         917-755-1770
   If the PR is an entity, name of the designated individual for the PR
                                                                                                    U.S. phone
   U.S. address of                                                                                  number of
   designated                                                                                       designated
   individual                                                                                       individual

   211021 12-19-22                                                                                                                               Form 1065 (2022)


                                                                                 58
22470912 795476 95517                                                         2022.04020 STICKYS HOLDINGS, LLC                                         95517__1
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   Form 1065 (2022)                      STICKYS HOLDINGS, LLC                                                                            XX-XXXXXXX            Page 4
      Schedule K                         Partners' Distributive Share Items                                                                      Total amount
                           1     Ordinary business income (loss) (page 1, line 22)    ~~~~~~~~~~~~~~~~~~~~~~~~~~                          1      -3,211,890.
                           2     Net rental real estate income (loss) (attach Form 8825)                           2
                           3 a Other gross rental income (loss) ~~~~~~~~~~~~~~~~~~~                  3a
                             b Expenses from other rental activities (attach statement) ~~~~~~~               3b
                               c Other net rental income (loss). Subtract line 3b from line 3a                      3c
                           4
                                 Guaranteed
                                 payments:      a Services   4a                19,014.          b Capital 4b
                                 c Total. Add lines 4a and 4b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       4c           19,014.
      Income (Loss)




                                                                       SEE STATEMENT 25
                           5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  5          168,957.
                           6     Dividends and dividend equivalents:       a Ordinary dividends                      6a
                                 b Qualified dividends 6b                              c Dividend equivalents 6c
                           7     Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 7
                           8     Net short-term capital gain (loss) (attach Schedule D (Form 1065)) ~~~~~~~~~~~~~~~~~~                    8
                           9 a Net long-term capital gain (loss) (attach Schedule D (Form 1065))                       9a
                             b Collectibles (28%) gain (loss) ~~~~~~~~~~~~~~~~~~~~                   9b
                             c Unrecaptured section 1250 gain (attach statement) ~~~~~~~~~           9c
                          10     Net section 1231 gain (loss) (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             10
                          11     Other income (loss) (see instructions) Type                                                             11
                          12     Section 179 deduction (attach Form 4562)       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            12
      Deductions




                                                                              SEE STATEMENT 26
                          13 a Contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                13a            1,036.
                             b Investment interest expense ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          13b
                               c Section 59(e)(2) expenditures: (1) Type                                                  (2) Amount    13c(2)
                             d Other deductions (see instructions) Type  HEALTH INSURANCE PREMIUMS                                       13d          19,014.
                                                                                                                                                       1,124.
    Employ-




                          14 a Net earnings (loss) from self-employment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   14a
     ment
     Self-




                               b Gross farming or fishing income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     14b
                               c Gross nonfarm income                                             14c          79,136.
                          15 a Low-income housing credit (section 42(j)(5)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                15a
                             b Low-income housing credit (other) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      15b
      Credits




                               c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) ~~~~~~~    15c
                               d Other rental real estate credits (see instructions) Type                                                15d
                               e Other rental credits (see instructions)             Type                                                15e
                               f Other credits (see instructions)                    Type              SEE STATEMENT 27                  15f          16,003.
                          16     Attach Schedule K-2 (Form 1065), Partners' Distributive Share Items-International, and check
      national
       Inter-




                                 this box to indicate that you are reporting items of international tax relevance   ~~~~~~~~      X

                          17a Post-1986 depreciation adjustment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        17a         -67,132.
   Minimum Tax
   (AMT) Items




                            b Adjusted gain or loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             17b
   Alternative




                               c Depletion (other than oil and gas) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   17c
                               d Oil, gas, and geothermal properties - gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                            17d
                               e Oil, gas, and geothermal properties - deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~                             17e
                               f Other AMT items (attach statement)                                     17f
                          18 a Tax-exempt interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          18a
                                                                              SEE STATEMENT 28
                             b Other tax-exempt income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            18b     1,807,694.
      Other Information




                                                                             SEE STATEMENT 29
                               c Nondeductible expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           18c        16,253.
                          19 a Distributions of cash and marketable securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               19a
                             b Distributions of other property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      19b
                          20 a Investment income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               20a         168,957.
                             b Investment expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              20b
                            c Other items and amounts (attach statement)                  STMT 30
                          21 Total foreign taxes paid or accrued                                        21
   211041 12-19-22                                                                                                                                  Form 1065 (2022)




                                                                                               59
22470912 795476 95517                                                                       2022.04020 STICKYS HOLDINGS, LLC                              95517__1
                                        Case 24-10856-JKS                             Doc 1          Filed 04/25/24                    Page 329 of 733
                  STICKYS HOLDINGS, LLC
   Form 1065 (2022)                                                                                                                                          XX-XXXXXXX             Page 5
   Analysis of Net Income (Loss) per Return
   1 Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of Schedule K, lines 12 through 13d, and 21          1       -3,043,969.
   2 Analysis by                                              (ii) Individual                (iii) Individual                                       (v) Exempt                  (vi)
                                 (i) Corporate                    (active)                       (passive)                (iv) Partnership         Organization            Nominee/Other
       partner type:
     a General partners
     b Limited partners                                                                    -511,454. -2,496,219.                                                             -36,296.

     Schedule L               Balance Sheets per Books
                                                                                      Beginning of tax year                                              End of tax year
                             Assets
                                                                                (a)                                (b)                            (c)                         (d)
     1 Cash ~~~~~~~~~~~~~~~~                                                                               1,964,844.                                                        771,895.
     2a Trade notes and accounts receivable ~                                 116,632.                                                           148,223.
      b Less allowance for bad debts ~~~~                                                                        116,632.                                                    148,223.
     3 Inventories ~~~~~~~~~~~~~                                                                                 220,617.                                                    183,148.
     4 U.S. government obligations ~~~~~
     5 Tax-exempt securities ~~~~~~~~
     6 Other current assets (attach statement) ~                 STATEMENT 31                                    673,700.                                                    448,871.
     7a Loans to partners (or persons related to partners) ~
      b Mortgage and real estate loans ~~~
     8 Other investments (attach statement) ~
     9a Buildings and other depreciable assets                          8,876,169.                                                              9,277,609.
        b Less accumulated depreciation ~~~                             3,351,025.                         5,525,144.                           4,044,590.            5,233,019.
   10a Depletable assets ~~~~~~~~~~
     b Less accumulated depletion ~~~~~
   11 Land (net of any amortization) ~~~~
   12a Intangible assets (amortizable only) ~~                        123,838.                                                                   140,254.
     b Less accumulated amortization ~~~                               32,090.                                91,748.                             52,431.                87,823.
   13 Other assets (attach statement) ~~~                        STATEMENT 32                                955,274.                                                 1,294,633.
   14 Total assets ~~~~~~~~~~~~~                                                                           9,547,959.                                                 8,167,612.
           Liabilities and Capital
   15 Accounts payable ~~~~~~~~~~                                                                          1,539,660.                                                 1,077,615.
   16    Mortgages, notes, bonds payable in less than 1 year

   17 Other current liabilities (attach statement) ~             STATEMENT 33                                    927,706.                                                    889,439.
   18 All nonrecourse loans ~~~~~~~~
   19a Loans from partners (or persons related to partners)
     b Mortgages, notes, bonds payable in 1 year or more                                                   2,544,361.                                                 2,754,809.
   20 Other liabilities (attach statement) ~~
   21 Partners' capital accounts ~~~~~~                                    4,536,232.                              3,445,749.
   22 Total liabilities and capital                                  9,547,959.                              8,167,612.
     Schedule M-1                 Reconciliation of Income (Loss) per Books With Analysis of Net Income (Loss) per Return
                                  Note: The partnership may be required to file Schedule M-3. See instructions.
    1    Net income (loss) per books ~~~~~~~                               -1,090,483. 6 Income recorded on books this year not included
    2    Income included on Schedule K, lines 1, 2, 3c,                                                       on Schedule K, lines 1 through 11 (itemize):
         5, 6a, 7, 8, 9a, 10, and 11, not recorded on books                                                 a Tax-exempt interest $
         this year (itemize):          STMT 35                                        13,797.                  STMT 37                          1,807,694.            1,807,694.
    3 Guaranteed payments (other than health                                                              7 Deductions included on Schedule K, lines 1
      insurance) ~~~~~~~~~~~~~~~~                                                                           through 13d, and 21, not charged against
    4   Expenses recorded on books this year not included on                                                  book income this year (itemize):
        Schedule K, lines 1 through 13d, and 21 (itemize):                                                  a Depreciation $
         STMT 36                                    16,253.                                                    STMT 38                            175,842.              175,842.
     a Depreciation $                                                                                     8 Add lines 6 and 7 ~~~~~~~~~~~~                            1,983,536.
     b Travel and entertainment $                16,253. 9 Income (loss) (Analysis of Net Income (Loss),
    5 Add lines 1 through 4     -1,060,433.     line 1). Subtract line 8 from line 5                                                               -3,043,969.
     Schedule M-2 Analysis of Partners' Capital Accounts
    1 Balance at beginning of year ~~~~~~~  5,678,256. 6 Distributions: a Cash ~~~~~~~~~
    2 Capital contributed: a Cash ~~~~~~~                                                                                    b Property ~~~~~~~~
                           b Property ~~~~~~                                                              7 Other decreases (itemize):
    3 Net income (loss) (see instructions) ~~~~                            -3,043,969.      STMT 40                                                  16,253.
    4 Other increases (itemize): STMT 39                                    1,807,694. 8 Add lines 6 and 7 ~~~~~~~~~~~~                              16,253.
    5 Add lines 1 through 4                                      4,441,981. 9 Balance at end of year. Subtract line 8 from line 5  4,425,728.
   211042 12-19-22                                                                   60                                                           Form 1065 (2022)
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                                    FOOTNOTES                      STATEMENT 20
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  52/53 WEEK TAX YEAR INFORMATIONAL FOOTNOTE:

  THE TAXPAYER HAS IN PLACE AN ELECTION UNDER THE PROVISIONS
  OF IRC SECTION 411(F) TO USE A 52-53 WEEK FISCAL YEAR.
  THE FOLLOWING INFORMATION IS SUBMITTED AS IT RELATES TO THE
  CURRENT YEAR TAX RETURN FILLING:

  YEAR BEGINNING: DECEMBER 28, 2021
  YEAR ENDING: DECEMBER 26, 2022


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1065                        OTHER INCOME                    STATEMENT 21
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  OTHER INCOME                                                                         10,538.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM 1065, LINE 7                                                           10,538.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1065                        TAX EXPENSE                     STATEMENT 22
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  EMPLOYER TAXES                                                                      296,340.
  LESS FORM 8846 CREDIT                                                               -16,003.
  LICENSES & PERMITS                                                                   12,964.
  OTHER STATE TAXES                                                                     5,706.
  PAYROLL TAXES                                                                       527,320.
  REAL ESTATE TAXES                                                                   137,511.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM 1065, LINE 14                                                         963,838.
                                                                                ~~~~~~~~~~~~~~




                                            61               STATEMENT(S) 20, 21, 22
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1065                      OTHER DEDUCTIONS                  STATEMENT 23
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  ADVERTISING                                                                         171,360.
  AMORTIZATION EXPENSE                                                                 20,340.
  BANK & CC FEES                                                                      349,333.
  CASH SHORT                                                                           12,015.
  DE MINIMIS EQUIPMENT EXPENSE                                                         47,913.
  DELIVERY FEE EXPENSE                                                              1,335,234.
  DUES & SUBSCRIPTIONS                                                                170,277.
  EXPENSE ADJUSTMENTS/REIMBURSEMENTS                                                  -77,823.
  GENERAL EXPENSES                                                                     16,223.
  INSURANCE                                                                             2,575.
  KITCHEN EXPENSE                                                                     291,851.
  LINEN & UNIFORM                                                                      30,000.
  MEALS NOT SUBJECT TO LIMITATION                                                       1,990.
  MISCELLANEOUS EXPENSE                                                                    970.
  OFFICE SUPPLIES                                                                      27,962.
  OPERATING EXPENSES                                                                  146,176.
  PAYROLL PROCESSING FEES                                                              85,084.
  PROFESSIONAL FEES                                                                   342,125.
  SUPPLIES                                                                             29,020.
  TRAVEL                                                                               74,380.
  UTILITIES AND TELEPHONE                                                             842,736.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM 1065, LINE 20                                                       3,919,741.
                                                                                ~~~~~~~~~~~~~~




                                            62                       STATEMENT(S) 23
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                       THE ENTITY OWNS 20% OR MORE DIRECTLY OR     STATEMENT 24
                    50% OR MORE OVERALL OF PARTNERSHIPS OR TRUSTS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

               NAME OF ENTITY                EIN NUMBER
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}
                                          COUNTRY OF ORGANIZATION                  PCT OWNED
                                      }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}
  STICKY FINGERS LLC                         XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKY FINGERS II LLC                      XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKY FINGERS III LLC                     XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKY FINGERS IV LLC                      XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKY FINGERS V LLC                       XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKY FINGERS VI LLC                      XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKY FINGERS VII LLC                     XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKY FINGERS VIII LLC                    XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKY FINGERS IX LLC                      XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKYS BK I LLC                           XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKYS NJ I LLC                           XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKYS NJ II LLC                          XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKYS NJ III LLC                         XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKYS NJ IV LLC                          XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKYS WC I LLC                           XX-XXXXXXX
                                      UNITED STATES                                  100.00




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  SCHEDULE K                     INTEREST INCOME                   STATEMENT 25
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                              U.S. BONDS               OTHER
  }}}}}}}}}}}                                            }}}}}}}}}}}}}}         }}}}}}}}}}}}}}
  INTEREST INCOME                                                                     168,957.
                                                         }}}}}}}}}}}}}}         }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K, LINE 5                                                         168,957.
                                                         ~~~~~~~~~~~~~~         ~~~~~~~~~~~~~~




                                            63                   STATEMENT(S) 24, 25
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K                 CHARITABLE CONTRIBUTIONS              STATEMENT 26
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                             TYPE              AMOUNT
  }}}}}}}}}}}                                    }}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}
  CHARITY                                        CASH (60%)                    1,036.
                                                                         }}}}}}}}}}}}
  TOTALS TO SCHEDULE K, LINE 13A                                               1,036.
                                                                         ~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K                        OTHER CREDITS                  STATEMENT 27
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  CREDIT FOR SOC. SEC. AND MEDICARE TAXES PAID                                         16,003.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K, LINE 15F                                                        16,003.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K                 OTHER TAX-EXEMPT INCOME               STATEMENT 28
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                              1,807,694.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K, LINE 18B                                                     1,807,694.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K                  NONDEDUCTIBLE EXPENSE                STATEMENT 29
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  PENALTIES                                                                                250.
  TAX DEDUCTION ADJUSTMENT FOR FORM 8846                                               16,003.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K, LINE 18C                                                        16,253.
                                                                                ~~~~~~~~~~~~~~




                                            64           STATEMENT(S) 26, 27, 28, 29
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K                       OTHER ITEMS                     STATEMENT 30
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME                                                      70,759.
  GROSS RECEIPTS FOR SECTION 448(C)                                                22,253,892.
  SECTION 199A - ORDINARY INCOME (LOSS)                                            -3,211,890.
  SECTION 199A W-2 WAGES                                                            4,565,084.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                                           9,174,684.
  BUSINESS INTEREST EXPENSE                                                            98,198.
  SEC 179 EXPENSE DISALLOWED DUE TO TRADE OR BUSINESS INCOME
  LIMIT                                                                               114,680.




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L                  OTHER CURRENT ASSETS                 STATEMENT 31
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
  DESCRIPTION                                                TAX YEAR         YEAR
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CORPORATE ACCOUNTS                                                  0.        52,007.
  ERTC CREDIT RECEIVABLE                                        540,215.              0.
  PREPAID EXPENSES                                              133,485.       396,864.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 6                                   673,700.       448,871.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L                      OTHER ASSETS                     STATEMENT 32
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
  DESCRIPTION                                                TAX YEAR         YEAR
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  SECURITY DEPOSITS                                             955,274.     1,294,633.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 13                                  955,274.     1,294,633.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            65               STATEMENT(S) 30, 31, 32
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L                OTHER CURRENT LIABILITIES              STATEMENT 33
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
  DESCRIPTION                                                TAX YEAR         YEAR
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ACCRUED EXPENSES                                              798,582.       301,468.
  CREDIT CARD PAYABLE                                           -10,151.        65,797.
  DEFERRED MARKETING                                                  0.        14,705.
  DEFERRED RENT                                                       0.       339,700.
  GIFT CARD LIABILITY                                            11,896.        13,797.
  SALES TAX PAYABLE                                             127,379.       127,141.
  TIPS PAYABLE                                                        0.        14,579.
  TRAVELER'S INSURANCE                                                0.        12,252.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 17                                  927,706.       889,439.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            66                       STATEMENT(S) 33
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1065             PARTNERS' CAPITAL ACCOUNT SUMMARY          STATEMENT 34
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  PARTNER    BEGINNING         CAPITAL       SCHEDULE M-2        WITH-            ENDING
  NUMBER      CAPITAL        CONTRIBUTED     LNS 3, 4 & 7       DRAWALS           CAPITAL
  }}}}}}}   }}}}}}}}}}}}     }}}}}}}}}}}}    }}}}}}}}}}}}     }}}}}}}}}}}}      }}}}}}}}}}}}

        1        16,266.                          -1,368.                            14,898.


        2       -37,888.                          -6,966.                           -44,854.


        3        89,631.                         -50,726.                            38,905.


        4        59,837.                         -27,528.                            32,309.


        5       269,725.                         -31,736.                           237,989.


        6        58,096.                          -7,194.                            50,902.


        7        55,532.                          -6,533.                            48,999.


        8        67,239.                          -8,438.                            58,801.


        9       126,930.                         -14,935.                           111,995.


       10        33,196.                          -4,111.                            29,085.


       11       242,231.                         -32,279.                           209,952.


       12       132,424.                         -26,602.                           105,822.


       13     2,063,681.                        -531,081.                         1,532,600.


       14        96,995.                         -23,778.                            73,217.


       15        38,454.                          -9,896.                            28,558.


       16               0.                               0.                               0.


       17        28,119.                          -5,576.                            22,543.




                                            67                       STATEMENT(S) 34
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                                            XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                                            }}}}}}}}}}
       18             0.                                   0.                              0.


          19             0.                                0.                              0.


          20             0.                                0.                              0.


          21     2,337,788.                       -463,781.                         1,874,007.


               }}}}}}}}}}}}   }}}}}}}}}}}}     }}}}}}}}}}}}      }}}}}}}}}}}}     }}}}}}}}}}}}
  TOTAL          5,678,256.                     -1,252,528.                         4,425,728.
               ~~~~~~~~~~~~   ~~~~~~~~~~~~     ~~~~~~~~~~~~     ~~~~~~~~~~~~      ~~~~~~~~~~~~




                                              68                       STATEMENT(S) 34
22470912 795476 95517                      2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-1        INCOME NOT RECORDED ON BOOKS THIS YEAR       STATEMENT 35
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  GIFT CARD INCOME                                                                     13,797.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-1, LINE 2                                                        13,797.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-1 EXPENSES RECORDED ON BOOKS NOT DEDUCTED IN RETURN   STATEMENT 36
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  ADJUSTMENT FOR FORM 8846 CREDIT                                                      16,003.
  PENALTIES                                                                                250.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-1, LINE 4                                                        16,253.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-1   INCOME RECORDED ON BOOKS NOT INCLUDED ON RETURN   STATEMENT 37
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                              1,807,694.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-1, LINE 6                                                     1,807,694.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-1    DEDUCTIONS ON RETURN NOT CHARGED AGAINST BOOKS   STATEMENT 38
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  DEFERRED PAYROLL TAXES                                                               75,388.
  DEFERRED RENT                                                                       100,454.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-1, LINE 7                                                       175,842.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-2                   OTHER INCREASES                   STATEMENT 39
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  OTHER TAX-EXEMPT INCOME                                                           1,807,694.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-2, LINE 4                                                     1,807,694.
                                                                                ~~~~~~~~~~~~~~



                                            69       STATEMENT(S) 35, 36, 37, 38, 39
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-2                   OTHER DECREASES                   STATEMENT 40
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  NONDEDUCTIBLE EXPENSES                                                               16,253.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-2, LINE 7                                                        16,253.
                                                                                ~~~~~~~~~~~~~~




                                            70                       STATEMENT(S) 40
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                 2022 TAX RETURN FILING INSTRUCTIONS
                                 NEW YORK FORM IT-204

                              FOR THE YEAR ENDING
                                   DECEMBER 31, 2022

PREPARED FOR:

            STICKYS HOLDINGS, LLC
            24 E 23RD STREET
            NEW YORK, NY 10010

PREPARED BY:

            APRIO, LLP
            2002 SUMMIT BOULEVARD, SUITE 120
            ATLANTA, GA 30319

TO BE SIGNED AND DATED BY:

            A MEMBER OF THE LLC

AMOUNT OF TAX:

            TOTAL TAX                      $                         0
            LESS: PAYMENTS AND CREDITS     $                         0
            PLUS OTHER AMOUNT              $                         0
            PLUS INTEREST AND PENALTIES    $                         0
            NO PMT REQUIRED                $


OVERPAYMENT:

            NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN TO:

            THE NEW YORK RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF
            YOU WISH TO HAVE IT TRANSMITTED TO THE NYSDTF, PLEASE SIGN, DATE AND
            RETURN FORM TR-579-PT TO OUR OFFICE. WE WILL THEN SUBMIT THE
            ELECTRONIC RETURN TO THE NYSDTF.

FORMS TO BE DISTRIBUTED TO PARTNERS:

            ENCLOSED ARE COPIES OF SCHEDULE K-1 TO BE DISTRIBUTED TO THE
            PARTNERS.

RETURN MUST BE MAILED ON OR BEFORE:

            RETURN FORM TR-579-PT TO US BY SEPTEMBER 15, 2023.

SPECIAL INSTRUCTIONS:

            DO NOT MAIL THE PAPER COPY OF THE RETURN TO THE NYSDTF.
          Case 24-10856-JKS         Doc 1       Filed 04/25/24   Page 341 of 733


                 2022 TAX RETURN FILING INSTRUCTIONS
                        LLC/LLP FILING FEE- DE FORM IT-204-LL DE

                              FOR THE YEAR ENDING
                                    DECEMBER 31, 2022

PREPARED FOR:

            STICKYS HOLDINGS, LLC
            24 E 23RD STREET
            NEW YORK, NY 10010

PREPARED BY:

            APRIO, LLP
            2002 SUMMIT BOULEVARD, SUITE 120
            ATLANTA, GA 30319

TO BE SIGNED AND DATED BY:

            A MEMBER OF THE LLC

AMOUNT OF TAX:

            TOTAL TAX                       $                       275
            LESS: PAYMENTS AND CREDITS      $                         0
            PLUS: OTHER AMOUNT              $                         0
            PLUS: INTEREST AND PENALTIES    $                        22
            BALANCE DUE                     $                       297

OVERPAYMENT:
          NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN TO:

            THE LLC/LLP FILING FEE- DE RETURN HAS BEEN PREPARED FOR ELECTRONIC
            FILING. IF YOU WISH TO HAVE IT TRANSMITTED TO THE NYSDTF, PLEASE SIGN,
            DATE AND RETURN FORM TR-579-PT TO OUR OFFICE. WE WILL THEN SUBMIT
            THE ELECTRONIC RETURN TO THE NYSDTF.


RETURN MUST BE MAILED ON OR BEFORE:

            RETURN FORM TR-579-PT TO US AS SOON AS POSSIBLE.

SPECIAL INSTRUCTIONS:

            DO NOT MAIL THE PAPER COPY OF THE RETURN TO THE NYSDTF.
                                Case 24-10856-JKS                  Doc 1           Filed 04/25/24          Page 342 of 733
                          Department of Taxation and Finance                                                                                       288375 09-19-22

                          New York State E-File Signature Authorization for
                          Tax Year 2022 for Forms IT-204 and IT-204-LL
   Electronic return originator (ERO): Do not mail this form to the Tax Department. Keep it for your records.

    Partnership name:
     STICKYS HOLDINGS LLC
   Return type (mark an X to indicate which form you are e-filing):                 X IT-204                     IT-204-LL

   Purpose                                                                            EROs must complete Part B prior to transmitting an electronically
   Form TR-579-PT must be completed to authorize an ERO to e-file                     filed Form IT-204 or IT-204-LL.
   Form IT-204, Partnership Return , or Form IT-204-LL, Partnership,
   Limited Liability Company, and Limited Liability Partnership Filing                Both the paid preparer and the ERO are required to sign Part B.
   Fee Payment Form. For the purposes of this form, all three forms of                However, an individual performing as both the paid preparer and the
                                                                                      ERO is only required to sign as the paid preparer. It is
   business entities will be referred to hereinafter as a partnership.
                                                                                      not necessary to include the ERO signature in this case. Note that
                                                                                      an alternative signature can be used as described in Publication 58,
   General instructions                                                               Information for Income Tax Return Preparers, available on our website.
   Part A must be completed by an authorized member or general partner                This form is not required for electronically filed Form IT-370 -PF,
   before the ERO transmits the electronically filed Form IT-204 or                   Application for Automatic Extension of Time to File for Partnerships and
   IT-204-LL. Note that an electronic signature can be used as described              Fiduciaries.
   in TSB-M-20(1)C, (2)I, E-File Authorizations (TR-579 forms) for
   Taxpayers Using a Paid Preparer for Electronically Filed Tax Returns.


   Financial institution information for Form IT-204-LL filers (must be completed if electronic payment is authorized)
   1 Amount owed on return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         1.
   2 Financial institution routing number ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~               2.
   3 Financial institution account number                 3.
   4 Account type:        Personal checking  Personal savings Business checking Business savings


   Part A - Declaration of authorized member or general                              any authorized payment transaction. If I am paying my New York State
   partner and authorizations for Form IT-204 or IT-204-LL                           partnership fees due by electronic funds withdrawal, I certify that the
                                                                                     account holder has authorized the New York State Tax Department and
   Under penalty of perjury, I declare that I have examined the information          its designated financial agents to initiate an electronic funds withdrawal
   on this 2022 New York State electronic partnership return, including any          from the financial institution account indicated on this 2022 electronic
   accompanying schedules, attachments, and statements, and certify that             return, and authorized the financial institution to withdraw the amount
   this electronic return is true, correct, and complete. The ERO has my             from that account. As New York does not support International ACH
   consent to send this 2022 New York State electronic partnership return to         Transactions (IAT), I attest the source for these funds is within the United
   New York State through the Internal Revenue Service (IRS). I understand           States. I understand and agree that I may revoke this authorization for
   that by executing this Form TR-579-PT, I am authorizing the ERO to                payment only by contacting the Tax Department no later than two (2)
   sign and file this return on behalf of the partnership and agree that the         business days prior to the payment date.
   ERO's submission of the partnership's return to the IRS, together with
   this authorization, will serve as the electronic signature for the return and

    Signature of authorized member or general partner                                                                        Date


    Print your name                                            Title
     JOHNATHAN SHERMAN                                          MANAGING PARTNER


   Part B - Declaration of ERO and paid preparer                                     2022 New York State electronic partnership tax return is identical to that
   Under penalty of perjury, I declare that the information contained in this        contained in the paper return. If I am the paid preparer, under penalty
   2022 New York State electronic partnership return is the information              of perjury I declare that I have examined this 2022 New York State
   furnished to me by the partnership. If the partnership furnished me a             electronic partnership tax return, and, to the best of my knowledge
   completed paper 2022 New York State partnership return signed by a                and belief, the return is true, correct, and complete. I have based this
   paid preparer, I declare that the information contained in the partnership's      declaration on all information available to me.


   Do not mail Form TR-579-PT to the Tax Department:
   EROs must keep this form for three years and present it to the Tax Department upon request.


    ERO's signature                                            Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
    Paid preparer's signature                                  Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
                                                                                                                                         www.tax.ny.gov
   TR-579-PT (9/22)                                                                                                                                          1019

22470912 795476 95517                                                       2022.04020 STICKYS HOLDINGS, LLC                                           95517__1
                                Case 24-10856-JKS                  Doc 1           Filed 04/25/24          Page 343 of 733
                          Department of Taxation and Finance                                                                                       288375 09-19-22

                          New York State E-File Signature Authorization for
                          Tax Year 2022 for Forms IT-204 and IT-204-LL
   Electronic return originator (ERO): Do not mail this form to the Tax Department. Keep it for your records.

    Partnership name:
     STICKYS FINGERS LLC
   Return type (mark an X to indicate which form you are e-filing):                     IT-204               X IT-204-LL
   Purpose                                                                            EROs must complete Part B prior to transmitting an electronically
   Form TR-579-PT must be completed to authorize an ERO to e-file                     filed Form IT-204 or IT-204-LL.
   Form IT-204, Partnership Return , or Form IT-204-LL, Partnership,
   Limited Liability Company, and Limited Liability Partnership Filing                Both the paid preparer and the ERO are required to sign Part B.
   Fee Payment Form. For the purposes of this form, all three forms of                However, an individual performing as both the paid preparer and the
                                                                                      ERO is only required to sign as the paid preparer. It is
   business entities will be referred to hereinafter as a partnership.
                                                                                      not necessary to include the ERO signature in this case. Note that
                                                                                      an alternative signature can be used as described in Publication 58,
   General instructions                                                               Information for Income Tax Return Preparers, available on our website.
   Part A must be completed by an authorized member or general partner                This form is not required for electronically filed Form IT-370 -PF,
   before the ERO transmits the electronically filed Form IT-204 or                   Application for Automatic Extension of Time to File for Partnerships and
   IT-204-LL. Note that an electronic signature can be used as described              Fiduciaries.
   in TSB-M-20(1)C, (2)I, E-File Authorizations (TR-579 forms) for
   Taxpayers Using a Paid Preparer for Electronically Filed Tax Returns.


   Financial institution information for Form IT-204-LL filers (must be completed if electronic payment is authorized)
   1 Amount owed on return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         1.                          25.
   2 Financial institution routing number ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                2. 021000021
   3 Financial institution account number                                                  3. 661396833
   4 Account type:        Personal checking  Personal savings X Business checking Business savings


   Part A - Declaration of authorized member or general                              any authorized payment transaction. If I am paying my New York State
   partner and authorizations for Form IT-204 or IT-204-LL                           partnership fees due by electronic funds withdrawal, I certify that the
                                                                                     account holder has authorized the New York State Tax Department and
   Under penalty of perjury, I declare that I have examined the information          its designated financial agents to initiate an electronic funds withdrawal
   on this 2022 New York State electronic partnership return, including any          from the financial institution account indicated on this 2022 electronic
   accompanying schedules, attachments, and statements, and certify that             return, and authorized the financial institution to withdraw the amount
   this electronic return is true, correct, and complete. The ERO has my             from that account. As New York does not support International ACH
   consent to send this 2022 New York State electronic partnership return to         Transactions (IAT), I attest the source for these funds is within the United
   New York State through the Internal Revenue Service (IRS). I understand           States. I understand and agree that I may revoke this authorization for
   that by executing this Form TR-579-PT, I am authorizing the ERO to                payment only by contacting the Tax Department no later than two (2)
   sign and file this return on behalf of the partnership and agree that the         business days prior to the payment date.
   ERO's submission of the partnership's return to the IRS, together with
   this authorization, will serve as the electronic signature for the return and

    Signature of authorized member or general partner                                                                        Date


    Print your name                                            Title
     JOHNATHAN SHERMAN                                          MANAGING PARTNER


   Part B - Declaration of ERO and paid preparer                                     2022 New York State electronic partnership tax return is identical to that
   Under penalty of perjury, I declare that the information contained in this        contained in the paper return. If I am the paid preparer, under penalty
   2022 New York State electronic partnership return is the information              of perjury I declare that I have examined this 2022 New York State
   furnished to me by the partnership. If the partnership furnished me a             electronic partnership tax return, and, to the best of my knowledge
   completed paper 2022 New York State partnership return signed by a                and belief, the return is true, correct, and complete. I have based this
   paid preparer, I declare that the information contained in the partnership's      declaration on all information available to me.


   Do not mail Form TR-579-PT to the Tax Department:
   EROs must keep this form for three years and present it to the Tax Department upon request.


    ERO's signature                                            Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
    Paid preparer's signature                                  Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
                                                                                                                                         www.tax.ny.gov
   TR-579-PT (9/22)                                                                                                                                          1019

22470912 795476 95517                                                       2022.04020 STICKYS HOLDINGS, LLC                                           95517__1
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                          Department of Taxation and Finance                                                                                       288375 09-19-22

                          New York State E-File Signature Authorization for
                          Tax Year 2022 for Forms IT-204 and IT-204-LL
   Electronic return originator (ERO): Do not mail this form to the Tax Department. Keep it for your records.

    Partnership name:
     STICKYS FINGERS II LLC
   Return type (mark an X to indicate which form you are e-filing):                     IT-204               X IT-204-LL
   Purpose                                                                            EROs must complete Part B prior to transmitting an electronically
   Form TR-579-PT must be completed to authorize an ERO to e-file                     filed Form IT-204 or IT-204-LL.
   Form IT-204, Partnership Return , or Form IT-204-LL, Partnership,
   Limited Liability Company, and Limited Liability Partnership Filing                Both the paid preparer and the ERO are required to sign Part B.
   Fee Payment Form. For the purposes of this form, all three forms of                However, an individual performing as both the paid preparer and the
                                                                                      ERO is only required to sign as the paid preparer. It is
   business entities will be referred to hereinafter as a partnership.
                                                                                      not necessary to include the ERO signature in this case. Note that
                                                                                      an alternative signature can be used as described in Publication 58,
   General instructions                                                               Information for Income Tax Return Preparers, available on our website.
   Part A must be completed by an authorized member or general partner                This form is not required for electronically filed Form IT-370 -PF,
   before the ERO transmits the electronically filed Form IT-204 or                   Application for Automatic Extension of Time to File for Partnerships and
   IT-204-LL. Note that an electronic signature can be used as described              Fiduciaries.
   in TSB-M-20(1)C, (2)I, E-File Authorizations (TR-579 forms) for
   Taxpayers Using a Paid Preparer for Electronically Filed Tax Returns.


   Financial institution information for Form IT-204-LL filers (must be completed if electronic payment is authorized)
   1 Amount owed on return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         1.                          25.
   2 Financial institution routing number ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                2. 021000021
   3 Financial institution account number                                                  3. 661396833
   4 Account type:        Personal checking  Personal savings X Business checking Business savings


   Part A - Declaration of authorized member or general                              any authorized payment transaction. If I am paying my New York State
   partner and authorizations for Form IT-204 or IT-204-LL                           partnership fees due by electronic funds withdrawal, I certify that the
                                                                                     account holder has authorized the New York State Tax Department and
   Under penalty of perjury, I declare that I have examined the information          its designated financial agents to initiate an electronic funds withdrawal
   on this 2022 New York State electronic partnership return, including any          from the financial institution account indicated on this 2022 electronic
   accompanying schedules, attachments, and statements, and certify that             return, and authorized the financial institution to withdraw the amount
   this electronic return is true, correct, and complete. The ERO has my             from that account. As New York does not support International ACH
   consent to send this 2022 New York State electronic partnership return to         Transactions (IAT), I attest the source for these funds is within the United
   New York State through the Internal Revenue Service (IRS). I understand           States. I understand and agree that I may revoke this authorization for
   that by executing this Form TR-579-PT, I am authorizing the ERO to                payment only by contacting the Tax Department no later than two (2)
   sign and file this return on behalf of the partnership and agree that the         business days prior to the payment date.
   ERO's submission of the partnership's return to the IRS, together with
   this authorization, will serve as the electronic signature for the return and

    Signature of authorized member or general partner                                                                        Date


    Print your name                                            Title
     JOHNATHAN SHERMAN                                          MANAGING PARTNER


   Part B - Declaration of ERO and paid preparer                                     2022 New York State electronic partnership tax return is identical to that
   Under penalty of perjury, I declare that the information contained in this        contained in the paper return. If I am the paid preparer, under penalty
   2022 New York State electronic partnership return is the information              of perjury I declare that I have examined this 2022 New York State
   furnished to me by the partnership. If the partnership furnished me a             electronic partnership tax return, and, to the best of my knowledge
   completed paper 2022 New York State partnership return signed by a                and belief, the return is true, correct, and complete. I have based this
   paid preparer, I declare that the information contained in the partnership's      declaration on all information available to me.


   Do not mail Form TR-579-PT to the Tax Department:
   EROs must keep this form for three years and present it to the Tax Department upon request.


    ERO's signature                                            Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
    Paid preparer's signature                                  Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
                                                                                                                                         www.tax.ny.gov
   TR-579-PT (9/22)                                                                                                                                          1019

22470912 795476 95517                                                       2022.04020 STICKYS HOLDINGS, LLC                                           95517__1
                                Case 24-10856-JKS                  Doc 1           Filed 04/25/24          Page 345 of 733
                          Department of Taxation and Finance                                                                                       288375 09-19-22

                          New York State E-File Signature Authorization for
                          Tax Year 2022 for Forms IT-204 and IT-204-LL
   Electronic return originator (ERO): Do not mail this form to the Tax Department. Keep it for your records.

    Partnership name:
     STICKYS FINGERS III LLC
   Return type (mark an X to indicate which form you are e-filing):                     IT-204               X IT-204-LL
   Purpose                                                                            EROs must complete Part B prior to transmitting an electronically
   Form TR-579-PT must be completed to authorize an ERO to e-file                     filed Form IT-204 or IT-204-LL.
   Form IT-204, Partnership Return , or Form IT-204-LL, Partnership,
   Limited Liability Company, and Limited Liability Partnership Filing                Both the paid preparer and the ERO are required to sign Part B.
   Fee Payment Form. For the purposes of this form, all three forms of                However, an individual performing as both the paid preparer and the
                                                                                      ERO is only required to sign as the paid preparer. It is
   business entities will be referred to hereinafter as a partnership.
                                                                                      not necessary to include the ERO signature in this case. Note that
                                                                                      an alternative signature can be used as described in Publication 58,
   General instructions                                                               Information for Income Tax Return Preparers, available on our website.
   Part A must be completed by an authorized member or general partner                This form is not required for electronically filed Form IT-370 -PF,
   before the ERO transmits the electronically filed Form IT-204 or                   Application for Automatic Extension of Time to File for Partnerships and
   IT-204-LL. Note that an electronic signature can be used as described              Fiduciaries.
   in TSB-M-20(1)C, (2)I, E-File Authorizations (TR-579 forms) for
   Taxpayers Using a Paid Preparer for Electronically Filed Tax Returns.


   Financial institution information for Form IT-204-LL filers (must be completed if electronic payment is authorized)
   1 Amount owed on return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         1.                          25.
   2 Financial institution routing number ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                2. 021000021
   3 Financial institution account number                                                  3. 661396833
   4 Account type:        Personal checking  Personal savings X Business checking Business savings


   Part A - Declaration of authorized member or general                              any authorized payment transaction. If I am paying my New York State
   partner and authorizations for Form IT-204 or IT-204-LL                           partnership fees due by electronic funds withdrawal, I certify that the
                                                                                     account holder has authorized the New York State Tax Department and
   Under penalty of perjury, I declare that I have examined the information          its designated financial agents to initiate an electronic funds withdrawal
   on this 2022 New York State electronic partnership return, including any          from the financial institution account indicated on this 2022 electronic
   accompanying schedules, attachments, and statements, and certify that             return, and authorized the financial institution to withdraw the amount
   this electronic return is true, correct, and complete. The ERO has my             from that account. As New York does not support International ACH
   consent to send this 2022 New York State electronic partnership return to         Transactions (IAT), I attest the source for these funds is within the United
   New York State through the Internal Revenue Service (IRS). I understand           States. I understand and agree that I may revoke this authorization for
   that by executing this Form TR-579-PT, I am authorizing the ERO to                payment only by contacting the Tax Department no later than two (2)
   sign and file this return on behalf of the partnership and agree that the         business days prior to the payment date.
   ERO's submission of the partnership's return to the IRS, together with
   this authorization, will serve as the electronic signature for the return and

    Signature of authorized member or general partner                                                                        Date


    Print your name                                            Title
     JOHNATHAN SHERMAN                                          MANAGING PARTNER


   Part B - Declaration of ERO and paid preparer                                     2022 New York State electronic partnership tax return is identical to that
   Under penalty of perjury, I declare that the information contained in this        contained in the paper return. If I am the paid preparer, under penalty
   2022 New York State electronic partnership return is the information              of perjury I declare that I have examined this 2022 New York State
   furnished to me by the partnership. If the partnership furnished me a             electronic partnership tax return, and, to the best of my knowledge
   completed paper 2022 New York State partnership return signed by a                and belief, the return is true, correct, and complete. I have based this
   paid preparer, I declare that the information contained in the partnership's      declaration on all information available to me.


   Do not mail Form TR-579-PT to the Tax Department:
   EROs must keep this form for three years and present it to the Tax Department upon request.


    ERO's signature                                            Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
    Paid preparer's signature                                  Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
                                                                                                                                         www.tax.ny.gov
   TR-579-PT (9/22)                                                                                                                                          1019

22470912 795476 95517                                                       2022.04020 STICKYS HOLDINGS, LLC                                           95517__1
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                          Department of Taxation and Finance                                                                                       288375 09-19-22

                          New York State E-File Signature Authorization for
                          Tax Year 2022 for Forms IT-204 and IT-204-LL
   Electronic return originator (ERO): Do not mail this form to the Tax Department. Keep it for your records.

    Partnership name:
     STICKYS FINGERS IV LLC
   Return type (mark an X to indicate which form you are e-filing):                     IT-204               X IT-204-LL
   Purpose                                                                            EROs must complete Part B prior to transmitting an electronically
   Form TR-579-PT must be completed to authorize an ERO to e-file                     filed Form IT-204 or IT-204-LL.
   Form IT-204, Partnership Return , or Form IT-204-LL, Partnership,
   Limited Liability Company, and Limited Liability Partnership Filing                Both the paid preparer and the ERO are required to sign Part B.
   Fee Payment Form. For the purposes of this form, all three forms of                However, an individual performing as both the paid preparer and the
                                                                                      ERO is only required to sign as the paid preparer. It is
   business entities will be referred to hereinafter as a partnership.
                                                                                      not necessary to include the ERO signature in this case. Note that
                                                                                      an alternative signature can be used as described in Publication 58,
   General instructions                                                               Information for Income Tax Return Preparers, available on our website.
   Part A must be completed by an authorized member or general partner                This form is not required for electronically filed Form IT-370 -PF,
   before the ERO transmits the electronically filed Form IT-204 or                   Application for Automatic Extension of Time to File for Partnerships and
   IT-204-LL. Note that an electronic signature can be used as described              Fiduciaries.
   in TSB-M-20(1)C, (2)I, E-File Authorizations (TR-579 forms) for
   Taxpayers Using a Paid Preparer for Electronically Filed Tax Returns.


   Financial institution information for Form IT-204-LL filers (must be completed if electronic payment is authorized)
   1 Amount owed on return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         1.                          25.
   2 Financial institution routing number ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                2. 021000021
   3 Financial institution account number                                                  3. 661396833
   4 Account type:        Personal checking  Personal savings X Business checking Business savings


   Part A - Declaration of authorized member or general                              any authorized payment transaction. If I am paying my New York State
   partner and authorizations for Form IT-204 or IT-204-LL                           partnership fees due by electronic funds withdrawal, I certify that the
                                                                                     account holder has authorized the New York State Tax Department and
   Under penalty of perjury, I declare that I have examined the information          its designated financial agents to initiate an electronic funds withdrawal
   on this 2022 New York State electronic partnership return, including any          from the financial institution account indicated on this 2022 electronic
   accompanying schedules, attachments, and statements, and certify that             return, and authorized the financial institution to withdraw the amount
   this electronic return is true, correct, and complete. The ERO has my             from that account. As New York does not support International ACH
   consent to send this 2022 New York State electronic partnership return to         Transactions (IAT), I attest the source for these funds is within the United
   New York State through the Internal Revenue Service (IRS). I understand           States. I understand and agree that I may revoke this authorization for
   that by executing this Form TR-579-PT, I am authorizing the ERO to                payment only by contacting the Tax Department no later than two (2)
   sign and file this return on behalf of the partnership and agree that the         business days prior to the payment date.
   ERO's submission of the partnership's return to the IRS, together with
   this authorization, will serve as the electronic signature for the return and

    Signature of authorized member or general partner                                                                        Date


    Print your name                                            Title
     JOHNATHAN SHERMAN                                          MANAGING PARTNER


   Part B - Declaration of ERO and paid preparer                                     2022 New York State electronic partnership tax return is identical to that
   Under penalty of perjury, I declare that the information contained in this        contained in the paper return. If I am the paid preparer, under penalty
   2022 New York State electronic partnership return is the information              of perjury I declare that I have examined this 2022 New York State
   furnished to me by the partnership. If the partnership furnished me a             electronic partnership tax return, and, to the best of my knowledge
   completed paper 2022 New York State partnership return signed by a                and belief, the return is true, correct, and complete. I have based this
   paid preparer, I declare that the information contained in the partnership's      declaration on all information available to me.


   Do not mail Form TR-579-PT to the Tax Department:
   EROs must keep this form for three years and present it to the Tax Department upon request.


    ERO's signature                                            Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
    Paid preparer's signature                                  Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
                                                                                                                                         www.tax.ny.gov
   TR-579-PT (9/22)                                                                                                                                          1019

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                          Department of Taxation and Finance                                                                                       288375 09-19-22

                          New York State E-File Signature Authorization for
                          Tax Year 2022 for Forms IT-204 and IT-204-LL
   Electronic return originator (ERO): Do not mail this form to the Tax Department. Keep it for your records.

    Partnership name:
     STICKYS FINGERS V LLC
   Return type (mark an X to indicate which form you are e-filing):                     IT-204               X IT-204-LL
   Purpose                                                                            EROs must complete Part B prior to transmitting an electronically
   Form TR-579-PT must be completed to authorize an ERO to e-file                     filed Form IT-204 or IT-204-LL.
   Form IT-204, Partnership Return , or Form IT-204-LL, Partnership,
   Limited Liability Company, and Limited Liability Partnership Filing                Both the paid preparer and the ERO are required to sign Part B.
   Fee Payment Form. For the purposes of this form, all three forms of                However, an individual performing as both the paid preparer and the
                                                                                      ERO is only required to sign as the paid preparer. It is
   business entities will be referred to hereinafter as a partnership.
                                                                                      not necessary to include the ERO signature in this case. Note that
                                                                                      an alternative signature can be used as described in Publication 58,
   General instructions                                                               Information for Income Tax Return Preparers, available on our website.
   Part A must be completed by an authorized member or general partner                This form is not required for electronically filed Form IT-370 -PF,
   before the ERO transmits the electronically filed Form IT-204 or                   Application for Automatic Extension of Time to File for Partnerships and
   IT-204-LL. Note that an electronic signature can be used as described              Fiduciaries.
   in TSB-M-20(1)C, (2)I, E-File Authorizations (TR-579 forms) for
   Taxpayers Using a Paid Preparer for Electronically Filed Tax Returns.


   Financial institution information for Form IT-204-LL filers (must be completed if electronic payment is authorized)
   1 Amount owed on return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         1.                          25.
   2 Financial institution routing number ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                2. 021000021
   3 Financial institution account number                                                  3. 661396833
   4 Account type:        Personal checking  Personal savings X Business checking Business savings


   Part A - Declaration of authorized member or general                              any authorized payment transaction. If I am paying my New York State
   partner and authorizations for Form IT-204 or IT-204-LL                           partnership fees due by electronic funds withdrawal, I certify that the
                                                                                     account holder has authorized the New York State Tax Department and
   Under penalty of perjury, I declare that I have examined the information          its designated financial agents to initiate an electronic funds withdrawal
   on this 2022 New York State electronic partnership return, including any          from the financial institution account indicated on this 2022 electronic
   accompanying schedules, attachments, and statements, and certify that             return, and authorized the financial institution to withdraw the amount
   this electronic return is true, correct, and complete. The ERO has my             from that account. As New York does not support International ACH
   consent to send this 2022 New York State electronic partnership return to         Transactions (IAT), I attest the source for these funds is within the United
   New York State through the Internal Revenue Service (IRS). I understand           States. I understand and agree that I may revoke this authorization for
   that by executing this Form TR-579-PT, I am authorizing the ERO to                payment only by contacting the Tax Department no later than two (2)
   sign and file this return on behalf of the partnership and agree that the         business days prior to the payment date.
   ERO's submission of the partnership's return to the IRS, together with
   this authorization, will serve as the electronic signature for the return and

    Signature of authorized member or general partner                                                                        Date


    Print your name                                            Title
     JOHNATHAN SHERMAN                                          MANAGING PARTNER


   Part B - Declaration of ERO and paid preparer                                     2022 New York State electronic partnership tax return is identical to that
   Under penalty of perjury, I declare that the information contained in this        contained in the paper return. If I am the paid preparer, under penalty
   2022 New York State electronic partnership return is the information              of perjury I declare that I have examined this 2022 New York State
   furnished to me by the partnership. If the partnership furnished me a             electronic partnership tax return, and, to the best of my knowledge
   completed paper 2022 New York State partnership return signed by a                and belief, the return is true, correct, and complete. I have based this
   paid preparer, I declare that the information contained in the partnership's      declaration on all information available to me.


   Do not mail Form TR-579-PT to the Tax Department:
   EROs must keep this form for three years and present it to the Tax Department upon request.


    ERO's signature                                            Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
    Paid preparer's signature                                  Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
                                                                                                                                         www.tax.ny.gov
   TR-579-PT (9/22)                                                                                                                                          1019

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                          Department of Taxation and Finance                                                                                       288375 09-19-22

                          New York State E-File Signature Authorization for
                          Tax Year 2022 for Forms IT-204 and IT-204-LL
   Electronic return originator (ERO): Do not mail this form to the Tax Department. Keep it for your records.

    Partnership name:
     STICKYS FINGERS VI LLC
   Return type (mark an X to indicate which form you are e-filing):                     IT-204               X IT-204-LL
   Purpose                                                                            EROs must complete Part B prior to transmitting an electronically
   Form TR-579-PT must be completed to authorize an ERO to e-file                     filed Form IT-204 or IT-204-LL.
   Form IT-204, Partnership Return , or Form IT-204-LL, Partnership,
   Limited Liability Company, and Limited Liability Partnership Filing                Both the paid preparer and the ERO are required to sign Part B.
   Fee Payment Form. For the purposes of this form, all three forms of                However, an individual performing as both the paid preparer and the
                                                                                      ERO is only required to sign as the paid preparer. It is
   business entities will be referred to hereinafter as a partnership.
                                                                                      not necessary to include the ERO signature in this case. Note that
                                                                                      an alternative signature can be used as described in Publication 58,
   General instructions                                                               Information for Income Tax Return Preparers, available on our website.
   Part A must be completed by an authorized member or general partner                This form is not required for electronically filed Form IT-370 -PF,
   before the ERO transmits the electronically filed Form IT-204 or                   Application for Automatic Extension of Time to File for Partnerships and
   IT-204-LL. Note that an electronic signature can be used as described              Fiduciaries.
   in TSB-M-20(1)C, (2)I, E-File Authorizations (TR-579 forms) for
   Taxpayers Using a Paid Preparer for Electronically Filed Tax Returns.


   Financial institution information for Form IT-204-LL filers (must be completed if electronic payment is authorized)
   1 Amount owed on return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         1.                          25.
   2 Financial institution routing number ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                2. 021000021
   3 Financial institution account number                                                  3. 661396833
   4 Account type:        Personal checking  Personal savings X Business checking Business savings


   Part A - Declaration of authorized member or general                              any authorized payment transaction. If I am paying my New York State
   partner and authorizations for Form IT-204 or IT-204-LL                           partnership fees due by electronic funds withdrawal, I certify that the
                                                                                     account holder has authorized the New York State Tax Department and
   Under penalty of perjury, I declare that I have examined the information          its designated financial agents to initiate an electronic funds withdrawal
   on this 2022 New York State electronic partnership return, including any          from the financial institution account indicated on this 2022 electronic
   accompanying schedules, attachments, and statements, and certify that             return, and authorized the financial institution to withdraw the amount
   this electronic return is true, correct, and complete. The ERO has my             from that account. As New York does not support International ACH
   consent to send this 2022 New York State electronic partnership return to         Transactions (IAT), I attest the source for these funds is within the United
   New York State through the Internal Revenue Service (IRS). I understand           States. I understand and agree that I may revoke this authorization for
   that by executing this Form TR-579-PT, I am authorizing the ERO to                payment only by contacting the Tax Department no later than two (2)
   sign and file this return on behalf of the partnership and agree that the         business days prior to the payment date.
   ERO's submission of the partnership's return to the IRS, together with
   this authorization, will serve as the electronic signature for the return and

    Signature of authorized member or general partner                                                                        Date


    Print your name                                            Title
     JOHNATHAN SHERMAN                                          MANAGING PARTNER


   Part B - Declaration of ERO and paid preparer                                     2022 New York State electronic partnership tax return is identical to that
   Under penalty of perjury, I declare that the information contained in this        contained in the paper return. If I am the paid preparer, under penalty
   2022 New York State electronic partnership return is the information              of perjury I declare that I have examined this 2022 New York State
   furnished to me by the partnership. If the partnership furnished me a             electronic partnership tax return, and, to the best of my knowledge
   completed paper 2022 New York State partnership return signed by a                and belief, the return is true, correct, and complete. I have based this
   paid preparer, I declare that the information contained in the partnership's      declaration on all information available to me.


   Do not mail Form TR-579-PT to the Tax Department:
   EROs must keep this form for three years and present it to the Tax Department upon request.


    ERO's signature                                            Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
    Paid preparer's signature                                  Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
                                                                                                                                         www.tax.ny.gov
   TR-579-PT (9/22)                                                                                                                                          1019

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                          Department of Taxation and Finance                                                                                       288375 09-19-22

                          New York State E-File Signature Authorization for
                          Tax Year 2022 for Forms IT-204 and IT-204-LL
   Electronic return originator (ERO): Do not mail this form to the Tax Department. Keep it for your records.

    Partnership name:
     STICKYS FINGERS VII LLC
   Return type (mark an X to indicate which form you are e-filing):                     IT-204               X IT-204-LL
   Purpose                                                                            EROs must complete Part B prior to transmitting an electronically
   Form TR-579-PT must be completed to authorize an ERO to e-file                     filed Form IT-204 or IT-204-LL.
   Form IT-204, Partnership Return , or Form IT-204-LL, Partnership,
   Limited Liability Company, and Limited Liability Partnership Filing                Both the paid preparer and the ERO are required to sign Part B.
   Fee Payment Form. For the purposes of this form, all three forms of                However, an individual performing as both the paid preparer and the
                                                                                      ERO is only required to sign as the paid preparer. It is
   business entities will be referred to hereinafter as a partnership.
                                                                                      not necessary to include the ERO signature in this case. Note that
                                                                                      an alternative signature can be used as described in Publication 58,
   General instructions                                                               Information for Income Tax Return Preparers, available on our website.
   Part A must be completed by an authorized member or general partner                This form is not required for electronically filed Form IT-370 -PF,
   before the ERO transmits the electronically filed Form IT-204 or                   Application for Automatic Extension of Time to File for Partnerships and
   IT-204-LL. Note that an electronic signature can be used as described              Fiduciaries.
   in TSB-M-20(1)C, (2)I, E-File Authorizations (TR-579 forms) for
   Taxpayers Using a Paid Preparer for Electronically Filed Tax Returns.


   Financial institution information for Form IT-204-LL filers (must be completed if electronic payment is authorized)
   1 Amount owed on return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         1.                          25.
   2 Financial institution routing number ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                2. 021000021
   3 Financial institution account number                                                  3. 661396833
   4 Account type:        Personal checking  Personal savings X Business checking Business savings


   Part A - Declaration of authorized member or general                              any authorized payment transaction. If I am paying my New York State
   partner and authorizations for Form IT-204 or IT-204-LL                           partnership fees due by electronic funds withdrawal, I certify that the
                                                                                     account holder has authorized the New York State Tax Department and
   Under penalty of perjury, I declare that I have examined the information          its designated financial agents to initiate an electronic funds withdrawal
   on this 2022 New York State electronic partnership return, including any          from the financial institution account indicated on this 2022 electronic
   accompanying schedules, attachments, and statements, and certify that             return, and authorized the financial institution to withdraw the amount
   this electronic return is true, correct, and complete. The ERO has my             from that account. As New York does not support International ACH
   consent to send this 2022 New York State electronic partnership return to         Transactions (IAT), I attest the source for these funds is within the United
   New York State through the Internal Revenue Service (IRS). I understand           States. I understand and agree that I may revoke this authorization for
   that by executing this Form TR-579-PT, I am authorizing the ERO to                payment only by contacting the Tax Department no later than two (2)
   sign and file this return on behalf of the partnership and agree that the         business days prior to the payment date.
   ERO's submission of the partnership's return to the IRS, together with
   this authorization, will serve as the electronic signature for the return and

    Signature of authorized member or general partner                                                                        Date


    Print your name                                            Title
     JOHNATHAN SHERMAN                                          MANAGING PARTNER


   Part B - Declaration of ERO and paid preparer                                     2022 New York State electronic partnership tax return is identical to that
   Under penalty of perjury, I declare that the information contained in this        contained in the paper return. If I am the paid preparer, under penalty
   2022 New York State electronic partnership return is the information              of perjury I declare that I have examined this 2022 New York State
   furnished to me by the partnership. If the partnership furnished me a             electronic partnership tax return, and, to the best of my knowledge
   completed paper 2022 New York State partnership return signed by a                and belief, the return is true, correct, and complete. I have based this
   paid preparer, I declare that the information contained in the partnership's      declaration on all information available to me.


   Do not mail Form TR-579-PT to the Tax Department:
   EROs must keep this form for three years and present it to the Tax Department upon request.


    ERO's signature                                            Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
    Paid preparer's signature                                  Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
                                                                                                                                         www.tax.ny.gov
   TR-579-PT (9/22)                                                                                                                                          1019

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                          Department of Taxation and Finance                                                                                       288375 09-19-22

                          New York State E-File Signature Authorization for
                          Tax Year 2022 for Forms IT-204 and IT-204-LL
   Electronic return originator (ERO): Do not mail this form to the Tax Department. Keep it for your records.

    Partnership name:
     STICKYS FINGERS VIII LLC
   Return type (mark an X to indicate which form you are e-filing):                     IT-204               X IT-204-LL
   Purpose                                                                            EROs must complete Part B prior to transmitting an electronically
   Form TR-579-PT must be completed to authorize an ERO to e-file                     filed Form IT-204 or IT-204-LL.
   Form IT-204, Partnership Return , or Form IT-204-LL, Partnership,
   Limited Liability Company, and Limited Liability Partnership Filing                Both the paid preparer and the ERO are required to sign Part B.
   Fee Payment Form. For the purposes of this form, all three forms of                However, an individual performing as both the paid preparer and the
                                                                                      ERO is only required to sign as the paid preparer. It is
   business entities will be referred to hereinafter as a partnership.
                                                                                      not necessary to include the ERO signature in this case. Note that
                                                                                      an alternative signature can be used as described in Publication 58,
   General instructions                                                               Information for Income Tax Return Preparers, available on our website.
   Part A must be completed by an authorized member or general partner                This form is not required for electronically filed Form IT-370 -PF,
   before the ERO transmits the electronically filed Form IT-204 or                   Application for Automatic Extension of Time to File for Partnerships and
   IT-204-LL. Note that an electronic signature can be used as described              Fiduciaries.
   in TSB-M-20(1)C, (2)I, E-File Authorizations (TR-579 forms) for
   Taxpayers Using a Paid Preparer for Electronically Filed Tax Returns.


   Financial institution information for Form IT-204-LL filers (must be completed if electronic payment is authorized)
   1 Amount owed on return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         1.                          25.
   2 Financial institution routing number ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                2. 021000021
   3 Financial institution account number                                                  3. 661396833
   4 Account type:        Personal checking  Personal savings X Business checking Business savings


   Part A - Declaration of authorized member or general                              any authorized payment transaction. If I am paying my New York State
   partner and authorizations for Form IT-204 or IT-204-LL                           partnership fees due by electronic funds withdrawal, I certify that the
                                                                                     account holder has authorized the New York State Tax Department and
   Under penalty of perjury, I declare that I have examined the information          its designated financial agents to initiate an electronic funds withdrawal
   on this 2022 New York State electronic partnership return, including any          from the financial institution account indicated on this 2022 electronic
   accompanying schedules, attachments, and statements, and certify that             return, and authorized the financial institution to withdraw the amount
   this electronic return is true, correct, and complete. The ERO has my             from that account. As New York does not support International ACH
   consent to send this 2022 New York State electronic partnership return to         Transactions (IAT), I attest the source for these funds is within the United
   New York State through the Internal Revenue Service (IRS). I understand           States. I understand and agree that I may revoke this authorization for
   that by executing this Form TR-579-PT, I am authorizing the ERO to                payment only by contacting the Tax Department no later than two (2)
   sign and file this return on behalf of the partnership and agree that the         business days prior to the payment date.
   ERO's submission of the partnership's return to the IRS, together with
   this authorization, will serve as the electronic signature for the return and

    Signature of authorized member or general partner                                                                        Date


    Print your name                                            Title
     JOHNATHAN SHERMAN                                          MANAGING PARTNER


   Part B - Declaration of ERO and paid preparer                                     2022 New York State electronic partnership tax return is identical to that
   Under penalty of perjury, I declare that the information contained in this        contained in the paper return. If I am the paid preparer, under penalty
   2022 New York State electronic partnership return is the information              of perjury I declare that I have examined this 2022 New York State
   furnished to me by the partnership. If the partnership furnished me a             electronic partnership tax return, and, to the best of my knowledge
   completed paper 2022 New York State partnership return signed by a                and belief, the return is true, correct, and complete. I have based this
   paid preparer, I declare that the information contained in the partnership's      declaration on all information available to me.


   Do not mail Form TR-579-PT to the Tax Department:
   EROs must keep this form for three years and present it to the Tax Department upon request.


    ERO's signature                                            Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
    Paid preparer's signature                                  Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
                                                                                                                                         www.tax.ny.gov
   TR-579-PT (9/22)                                                                                                                                          1019

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                          Department of Taxation and Finance                                                                                       288375 09-19-22

                          New York State E-File Signature Authorization for
                          Tax Year 2022 for Forms IT-204 and IT-204-LL
   Electronic return originator (ERO): Do not mail this form to the Tax Department. Keep it for your records.

    Partnership name:
     STICKYS FINGERS IX LLC
   Return type (mark an X to indicate which form you are e-filing):                     IT-204               X IT-204-LL
   Purpose                                                                            EROs must complete Part B prior to transmitting an electronically
   Form TR-579-PT must be completed to authorize an ERO to e-file                     filed Form IT-204 or IT-204-LL.
   Form IT-204, Partnership Return , or Form IT-204-LL, Partnership,
   Limited Liability Company, and Limited Liability Partnership Filing                Both the paid preparer and the ERO are required to sign Part B.
   Fee Payment Form. For the purposes of this form, all three forms of                However, an individual performing as both the paid preparer and the
                                                                                      ERO is only required to sign as the paid preparer. It is
   business entities will be referred to hereinafter as a partnership.
                                                                                      not necessary to include the ERO signature in this case. Note that
                                                                                      an alternative signature can be used as described in Publication 58,
   General instructions                                                               Information for Income Tax Return Preparers, available on our website.
   Part A must be completed by an authorized member or general partner                This form is not required for electronically filed Form IT-370 -PF,
   before the ERO transmits the electronically filed Form IT-204 or                   Application for Automatic Extension of Time to File for Partnerships and
   IT-204-LL. Note that an electronic signature can be used as described              Fiduciaries.
   in TSB-M-20(1)C, (2)I, E-File Authorizations (TR-579 forms) for
   Taxpayers Using a Paid Preparer for Electronically Filed Tax Returns.


   Financial institution information for Form IT-204-LL filers (must be completed if electronic payment is authorized)
   1 Amount owed on return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         1.                          25.
   2 Financial institution routing number ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                2. 021000021
   3 Financial institution account number                                                  3. 661396833
   4 Account type:        Personal checking  Personal savings X Business checking Business savings


   Part A - Declaration of authorized member or general                              any authorized payment transaction. If I am paying my New York State
   partner and authorizations for Form IT-204 or IT-204-LL                           partnership fees due by electronic funds withdrawal, I certify that the
                                                                                     account holder has authorized the New York State Tax Department and
   Under penalty of perjury, I declare that I have examined the information          its designated financial agents to initiate an electronic funds withdrawal
   on this 2022 New York State electronic partnership return, including any          from the financial institution account indicated on this 2022 electronic
   accompanying schedules, attachments, and statements, and certify that             return, and authorized the financial institution to withdraw the amount
   this electronic return is true, correct, and complete. The ERO has my             from that account. As New York does not support International ACH
   consent to send this 2022 New York State electronic partnership return to         Transactions (IAT), I attest the source for these funds is within the United
   New York State through the Internal Revenue Service (IRS). I understand           States. I understand and agree that I may revoke this authorization for
   that by executing this Form TR-579-PT, I am authorizing the ERO to                payment only by contacting the Tax Department no later than two (2)
   sign and file this return on behalf of the partnership and agree that the         business days prior to the payment date.
   ERO's submission of the partnership's return to the IRS, together with
   this authorization, will serve as the electronic signature for the return and

    Signature of authorized member or general partner                                                                        Date


    Print your name                                            Title
     JOHNATHAN SHERMAN                                          MANAGING PARTNER


   Part B - Declaration of ERO and paid preparer                                     2022 New York State electronic partnership tax return is identical to that
   Under penalty of perjury, I declare that the information contained in this        contained in the paper return. If I am the paid preparer, under penalty
   2022 New York State electronic partnership return is the information              of perjury I declare that I have examined this 2022 New York State
   furnished to me by the partnership. If the partnership furnished me a             electronic partnership tax return, and, to the best of my knowledge
   completed paper 2022 New York State partnership return signed by a                and belief, the return is true, correct, and complete. I have based this
   paid preparer, I declare that the information contained in the partnership's      declaration on all information available to me.


   Do not mail Form TR-579-PT to the Tax Department:
   EROs must keep this form for three years and present it to the Tax Department upon request.


    ERO's signature                                            Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
    Paid preparer's signature                                  Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
                                                                                                                                         www.tax.ny.gov
   TR-579-PT (9/22)                                                                                                                                          1019

22470912 795476 95517                                                       2022.04020 STICKYS HOLDINGS, LLC                                           95517__1
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                          Department of Taxation and Finance                                                                                       288375 09-19-22

                          New York State E-File Signature Authorization for
                          Tax Year 2022 for Forms IT-204 and IT-204-LL
   Electronic return originator (ERO): Do not mail this form to the Tax Department. Keep it for your records.

    Partnership name:
     STICKYS BK I LLC
   Return type (mark an X to indicate which form you are e-filing):                     IT-204               X IT-204-LL
   Purpose                                                                            EROs must complete Part B prior to transmitting an electronically
   Form TR-579-PT must be completed to authorize an ERO to e-file                     filed Form IT-204 or IT-204-LL.
   Form IT-204, Partnership Return , or Form IT-204-LL, Partnership,
   Limited Liability Company, and Limited Liability Partnership Filing                Both the paid preparer and the ERO are required to sign Part B.
   Fee Payment Form. For the purposes of this form, all three forms of                However, an individual performing as both the paid preparer and the
                                                                                      ERO is only required to sign as the paid preparer. It is
   business entities will be referred to hereinafter as a partnership.
                                                                                      not necessary to include the ERO signature in this case. Note that
                                                                                      an alternative signature can be used as described in Publication 58,
   General instructions                                                               Information for Income Tax Return Preparers, available on our website.
   Part A must be completed by an authorized member or general partner                This form is not required for electronically filed Form IT-370 -PF,
   before the ERO transmits the electronically filed Form IT-204 or                   Application for Automatic Extension of Time to File for Partnerships and
   IT-204-LL. Note that an electronic signature can be used as described              Fiduciaries.
   in TSB-M-20(1)C, (2)I, E-File Authorizations (TR-579 forms) for
   Taxpayers Using a Paid Preparer for Electronically Filed Tax Returns.


   Financial institution information for Form IT-204-LL filers (must be completed if electronic payment is authorized)
   1 Amount owed on return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         1.                          25.
   2 Financial institution routing number ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                2. 021000021
   3 Financial institution account number                                                  3. 661396833
   4 Account type:        Personal checking  Personal savings X Business checking Business savings


   Part A - Declaration of authorized member or general                              any authorized payment transaction. If I am paying my New York State
   partner and authorizations for Form IT-204 or IT-204-LL                           partnership fees due by electronic funds withdrawal, I certify that the
                                                                                     account holder has authorized the New York State Tax Department and
   Under penalty of perjury, I declare that I have examined the information          its designated financial agents to initiate an electronic funds withdrawal
   on this 2022 New York State electronic partnership return, including any          from the financial institution account indicated on this 2022 electronic
   accompanying schedules, attachments, and statements, and certify that             return, and authorized the financial institution to withdraw the amount
   this electronic return is true, correct, and complete. The ERO has my             from that account. As New York does not support International ACH
   consent to send this 2022 New York State electronic partnership return to         Transactions (IAT), I attest the source for these funds is within the United
   New York State through the Internal Revenue Service (IRS). I understand           States. I understand and agree that I may revoke this authorization for
   that by executing this Form TR-579-PT, I am authorizing the ERO to                payment only by contacting the Tax Department no later than two (2)
   sign and file this return on behalf of the partnership and agree that the         business days prior to the payment date.
   ERO's submission of the partnership's return to the IRS, together with
   this authorization, will serve as the electronic signature for the return and

    Signature of authorized member or general partner                                                                        Date


    Print your name                                            Title
     JOHNATHAN SHERMAN                                          MANAGING PARTNER


   Part B - Declaration of ERO and paid preparer                                     2022 New York State electronic partnership tax return is identical to that
   Under penalty of perjury, I declare that the information contained in this        contained in the paper return. If I am the paid preparer, under penalty
   2022 New York State electronic partnership return is the information              of perjury I declare that I have examined this 2022 New York State
   furnished to me by the partnership. If the partnership furnished me a             electronic partnership tax return, and, to the best of my knowledge
   completed paper 2022 New York State partnership return signed by a                and belief, the return is true, correct, and complete. I have based this
   paid preparer, I declare that the information contained in the partnership's      declaration on all information available to me.


   Do not mail Form TR-579-PT to the Tax Department:
   EROs must keep this form for three years and present it to the Tax Department upon request.


    ERO's signature                                            Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
    Paid preparer's signature                                  Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
                                                                                                                                         www.tax.ny.gov
   TR-579-PT (9/22)                                                                                                                                          1019

22470912 795476 95517                                                       2022.04020 STICKYS HOLDINGS, LLC                                           95517__1
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                          Department of Taxation and Finance                                                                                       288375 09-19-22

                          New York State E-File Signature Authorization for
                          Tax Year 2022 for Forms IT-204 and IT-204-LL
   Electronic return originator (ERO): Do not mail this form to the Tax Department. Keep it for your records.

    Partnership name:
     STICKYS WC I LLC
   Return type (mark an X to indicate which form you are e-filing):                     IT-204               X IT-204-LL
   Purpose                                                                            EROs must complete Part B prior to transmitting an electronically
   Form TR-579-PT must be completed to authorize an ERO to e-file                     filed Form IT-204 or IT-204-LL.
   Form IT-204, Partnership Return , or Form IT-204-LL, Partnership,
   Limited Liability Company, and Limited Liability Partnership Filing                Both the paid preparer and the ERO are required to sign Part B.
   Fee Payment Form. For the purposes of this form, all three forms of                However, an individual performing as both the paid preparer and the
                                                                                      ERO is only required to sign as the paid preparer. It is
   business entities will be referred to hereinafter as a partnership.
                                                                                      not necessary to include the ERO signature in this case. Note that
                                                                                      an alternative signature can be used as described in Publication 58,
   General instructions                                                               Information for Income Tax Return Preparers, available on our website.
   Part A must be completed by an authorized member or general partner                This form is not required for electronically filed Form IT-370 -PF,
   before the ERO transmits the electronically filed Form IT-204 or                   Application for Automatic Extension of Time to File for Partnerships and
   IT-204-LL. Note that an electronic signature can be used as described              Fiduciaries.
   in TSB-M-20(1)C, (2)I, E-File Authorizations (TR-579 forms) for
   Taxpayers Using a Paid Preparer for Electronically Filed Tax Returns.


   Financial institution information for Form IT-204-LL filers (must be completed if electronic payment is authorized)
   1 Amount owed on return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         1.                          25.
   2 Financial institution routing number ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                2. 021000021
   3 Financial institution account number                                                  3. 661396833
   4 Account type:        Personal checking  Personal savings X Business checking Business savings


   Part A - Declaration of authorized member or general                              any authorized payment transaction. If I am paying my New York State
   partner and authorizations for Form IT-204 or IT-204-LL                           partnership fees due by electronic funds withdrawal, I certify that the
                                                                                     account holder has authorized the New York State Tax Department and
   Under penalty of perjury, I declare that I have examined the information          its designated financial agents to initiate an electronic funds withdrawal
   on this 2022 New York State electronic partnership return, including any          from the financial institution account indicated on this 2022 electronic
   accompanying schedules, attachments, and statements, and certify that             return, and authorized the financial institution to withdraw the amount
   this electronic return is true, correct, and complete. The ERO has my             from that account. As New York does not support International ACH
   consent to send this 2022 New York State electronic partnership return to         Transactions (IAT), I attest the source for these funds is within the United
   New York State through the Internal Revenue Service (IRS). I understand           States. I understand and agree that I may revoke this authorization for
   that by executing this Form TR-579-PT, I am authorizing the ERO to                payment only by contacting the Tax Department no later than two (2)
   sign and file this return on behalf of the partnership and agree that the         business days prior to the payment date.
   ERO's submission of the partnership's return to the IRS, together with
   this authorization, will serve as the electronic signature for the return and

    Signature of authorized member or general partner                                                                        Date


    Print your name                                            Title
     JOHNATHAN SHERMAN                                          MANAGING PARTNER


   Part B - Declaration of ERO and paid preparer                                     2022 New York State electronic partnership tax return is identical to that
   Under penalty of perjury, I declare that the information contained in this        contained in the paper return. If I am the paid preparer, under penalty
   2022 New York State electronic partnership return is the information              of perjury I declare that I have examined this 2022 New York State
   furnished to me by the partnership. If the partnership furnished me a             electronic partnership tax return, and, to the best of my knowledge
   completed paper 2022 New York State partnership return signed by a                and belief, the return is true, correct, and complete. I have based this
   paid preparer, I declare that the information contained in the partnership's      declaration on all information available to me.


   Do not mail Form TR-579-PT to the Tax Department:
   EROs must keep this form for three years and present it to the Tax Department upon request.


    ERO's signature                                            Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
    Paid preparer's signature                                  Print name                                                    Date
     JESSICA HUSSAIN, CPA                                       JESSICA HUSSAIN, CPA                                                09-12-23
                                                                                                                                         www.tax.ny.gov
   TR-579-PT (9/22)                                                                                                                                          1019

22470912 795476 95517                                                       2022.04020 STICKYS HOLDINGS, LLC                                           95517__1
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                                     Department of Taxation and Finance                                                                                         268361 10-07-22


                                     Partnership, Limited Liability Company, and                                                                   IT-204-LL
                                     Limited Liability Partnership     For calendar year 2022 or tax year
                                     Filing Fee Payment Form           beginning                      and ending

 Legal name                                                                                                              Identification number (see instructions)
  STICKYS FINGERS LLC                                                                                                                       452463212
 Trade name of business if different from legal name above                                                               Change of business information
                                                                                                                              Mark X here if you have changed your mailing
 Address (number and street or rural route)                                                                              address and have not previously notified us (see instr.)
  24 E 23RD STREET                                                                                                       Date business started             03022012
 City, village, or post office                                State                         ZIP code                     Contact person's telephone number
  NEW YORK                                                     NY                         10010                                         917 755 1770
 Principal business activity                                                                                             Enter your 2-digit special condition
  RESTAURANT                                                                                                             code if applicable (see instructions) ~
Mark an X in the box identifying the entity for which you are filing this form (mark only one box) :
       Regular partnership                   X Limited liability company (LLC) or limited liability partnership (LLP)

Part 1 - General information (mark an X in the appropriate box(es))

Mark applicable box(es) (see instructions):
                                                                 Amended Form IT-204-LL                                 Refund                       Final Form IT-204-LL
1 Did this entity have any income, gain, loss, or deduction derived from New York sources during
     the 2022 tax year? (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  Yes    X           No
      If you answered No, stop; you do not owe a fee. Do not file this form.
2 Did this entity have an interest in real property in New York State during the last three years? ~~~~~~~~~~~~~ Yes                                        X           No
3 Has there been a transfer or acquisition of the controlling interest in the entity during the last three years? ~~~~~~~ Yes                                           No     X

Part 2 - Partnerships, and LLCs and LLPs treated as partnerships for federal income tax purposes
LLCs that are disregarded entities for federal income tax purposes: Skip Part 2 and continue with Part 3.
4 Enter the amount from line 15, column B, of the New York source gross income worksheet in
     the instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     4                                      .00


5 NYS filing fee - Enter the amount from the appropriate filing fee table in the instructions             ~~~~~~~~~~                    5                                      .00

Part 3 - LLCs that are disregarded entities for federal income tax purposes
6 LLC disregarded entity: Enter the identification number (EIN or SSN)
      of the entity or individual who will be reporting the income or loss                     6          462153586

7 LLC disregarded entity NYS filing fee - Enter 25 on this line ~~~~~~~~~~~~~~~~~~~~~~~~                                                7                                 25 .00

Part 4 - Payment amount

                                                  *INT                   1.
8 Payment amount (from line 5 or line 7)       *PEN             1.                                    8                                 27 .00
     Make check or money order for the line 8 amount payable to NYS filing fee; write your EIN or
     SSN and 2022 filing fee on the remittance and submit it with this form.
Certification: I certify that all information contained on this form is true and correct to the best of my knowledge and belief.

  L                                      L
           Paid preparer must complete (see instr.)
                                                                   Date
                                                                              09122023                                              L    Sign here      L
 Preparer's signature   JESSICA HUSSAIN, CPA                              Preparer's
                                                                          NYTPRIN                        Signature of general partner

 Firm's name (or yours, if self-employed)                           Preparer's PTIN or SSN
  APRIO, LLP                                                               P01278178
 Address                                                            Employer identification number       Date                                Daytime phone number
  2002 SUMMIT BOULEVARD, SUITE 120                                         571157523                                                         917 755 1770
  ATLANTA GA 30319                                                                     NYTPRIN
                                                                                       excl. code   03   Email:
 Email: JESSICA.HUSSAIN@APRIO.COM


                                                     File this form with payment on or before the 15th day of the third month following the close of
                                                     your tax year (see instructions).
                                                     Mail to: STATE PROCESSING CENTER, PO BOX 15310, ALBANY NY 12212-5310.
                                                     For private delivery services, see Publication 55, Designated Private Delivery Services.
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NY IT-204-LL (DISREGARDED ENTITY)        PENALTIES               STATEMENT 1
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  DESCRIPTION                                                                       AMOUNT
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  LATE PAYMENT PENALTY                                                                      1.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-LL PENALTIES                                                         1.
                                                                                ~~~~~~~~~~~~~~




                                            1                         STATEMENT(S) 1
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                     Department of Taxation and Finance                                                                                         268361 10-07-22


                                     Partnership, Limited Liability Company, and                                                                   IT-204-LL
                                     Limited Liability Partnership     For calendar year 2022 or tax year
                                     Filing Fee Payment Form           beginning                      and ending

 Legal name                                                                                                              Identification number (see instructions)
  STICKYS FINGERS II LLC                                                                                                                    800957125
 Trade name of business if different from legal name above                                                               Change of business information
                                                                                                                              Mark X here if you have changed your mailing
 Address (number and street or rural route)                                                                              address and have not previously notified us (see instr.)
  24 E 23RD STREET                                                                                                       Date business started             03022012
 City, village, or post office                                State                         ZIP code                     Contact person's telephone number
  NEW YORK                                                     NY                         10010                                         917 755 1770
 Principal business activity                                                                                             Enter your 2-digit special condition
  RESTAURANT                                                                                                             code if applicable (see instructions) ~
Mark an X in the box identifying the entity for which you are filing this form (mark only one box) :
       Regular partnership                   X Limited liability company (LLC) or limited liability partnership (LLP)

Part 1 - General information (mark an X in the appropriate box(es))

Mark applicable box(es) (see instructions):
                                                                 Amended Form IT-204-LL                                 Refund                       Final Form IT-204-LL
1 Did this entity have any income, gain, loss, or deduction derived from New York sources during
     the 2022 tax year? (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  Yes    X           No
      If you answered No, stop; you do not owe a fee. Do not file this form.
2 Did this entity have an interest in real property in New York State during the last three years? ~~~~~~~~~~~~~ Yes                                        X           No
3 Has there been a transfer or acquisition of the controlling interest in the entity during the last three years? ~~~~~~~ Yes                                           No     X

Part 2 - Partnerships, and LLCs and LLPs treated as partnerships for federal income tax purposes
LLCs that are disregarded entities for federal income tax purposes: Skip Part 2 and continue with Part 3.
4 Enter the amount from line 15, column B, of the New York source gross income worksheet in
     the instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     4                                      .00


5 NYS filing fee - Enter the amount from the appropriate filing fee table in the instructions             ~~~~~~~~~~                    5                                      .00

Part 3 - LLCs that are disregarded entities for federal income tax purposes
6 LLC disregarded entity: Enter the identification number (EIN or SSN)
      of the entity or individual who will be reporting the income or loss                     6          462153586

7 LLC disregarded entity NYS filing fee - Enter 25 on this line ~~~~~~~~~~~~~~~~~~~~~~~~                                                7                                 25 .00

Part 4 - Payment amount

                                                  *INT                   1.
8 Payment amount (from line 5 or line 7)       *PEN             1.                                    8                                 27 .00
     Make check or money order for the line 8 amount payable to NYS filing fee; write your EIN or
     SSN and 2022 filing fee on the remittance and submit it with this form.
Certification: I certify that all information contained on this form is true and correct to the best of my knowledge and belief.

  L                                      L
           Paid preparer must complete (see instr.)
                                                                   Date
                                                                              09122023                                              L    Sign here      L
 Preparer's signature   JESSICA HUSSAIN, CPA                              Preparer's
                                                                          NYTPRIN                        Signature of general partner

 Firm's name (or yours, if self-employed)                           Preparer's PTIN or SSN
  APRIO, LLP                                                               P01278178
 Address                                                            Employer identification number       Date                                Daytime phone number
  2002 SUMMIT BOULEVARD, SUITE 120                                         571157523                                                         917 755 1770
  ATLANTA GA 30319                                                                     NYTPRIN
                                                                                       excl. code   03   Email:
 Email: JESSICA.HUSSAIN@APRIO.COM


                                                     File this form with payment on or before the 15th day of the third month following the close of
                                                     your tax year (see instructions).
                                                     Mail to: STATE PROCESSING CENTER, PO BOX 15310, ALBANY NY 12212-5310.
                                                     For private delivery services, see Publication 55, Designated Private Delivery Services.
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 357 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  NY IT-204-LL (DISREGARDED ENTITY)        PENALTIES               STATEMENT 2
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  DESCRIPTION                                                                       AMOUNT
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  LATE PAYMENT PENALTY                                                                      1.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-LL PENALTIES                                                         1.
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                                            3                         STATEMENT(S) 2
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                     Case 24-10856-JKS                    Doc 1           Filed 04/25/24             Page 358 of 733
                                     Department of Taxation and Finance                                                                                         268361 10-07-22


                                     Partnership, Limited Liability Company, and                                                                   IT-204-LL
                                     Limited Liability Partnership     For calendar year 2022 or tax year
                                     Filing Fee Payment Form           beginning                      and ending

 Legal name                                                                                                              Identification number (see instructions)
  STICKYS FINGERS III LLC                                                                                                                   474233914
 Trade name of business if different from legal name above                                                               Change of business information
                                                                                                                              Mark X here if you have changed your mailing
 Address (number and street or rural route)                                                                              address and have not previously notified us (see instr.)
  24 E 23RD STREET                                                                                                       Date business started             03022012
 City, village, or post office                                State                         ZIP code                     Contact person's telephone number
  NEW YORK                                                     NY                         10010                                         917 755 1770
 Principal business activity                                                                                             Enter your 2-digit special condition
  RESTAURANT                                                                                                             code if applicable (see instructions) ~
Mark an X in the box identifying the entity for which you are filing this form (mark only one box) :
       Regular partnership                   X Limited liability company (LLC) or limited liability partnership (LLP)

Part 1 - General information (mark an X in the appropriate box(es))

Mark applicable box(es) (see instructions):
                                                                 Amended Form IT-204-LL                                 Refund                       Final Form IT-204-LL
1 Did this entity have any income, gain, loss, or deduction derived from New York sources during
     the 2022 tax year? (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  Yes    X           No
      If you answered No, stop; you do not owe a fee. Do not file this form.
2 Did this entity have an interest in real property in New York State during the last three years? ~~~~~~~~~~~~~ Yes                                        X           No
3 Has there been a transfer or acquisition of the controlling interest in the entity during the last three years? ~~~~~~~ Yes                                           No     X

Part 2 - Partnerships, and LLCs and LLPs treated as partnerships for federal income tax purposes
LLCs that are disregarded entities for federal income tax purposes: Skip Part 2 and continue with Part 3.
4 Enter the amount from line 15, column B, of the New York source gross income worksheet in
     the instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     4                                      .00


5 NYS filing fee - Enter the amount from the appropriate filing fee table in the instructions             ~~~~~~~~~~                    5                                      .00

Part 3 - LLCs that are disregarded entities for federal income tax purposes
6 LLC disregarded entity: Enter the identification number (EIN or SSN)
      of the entity or individual who will be reporting the income or loss                     6          462153586

7 LLC disregarded entity NYS filing fee - Enter 25 on this line ~~~~~~~~~~~~~~~~~~~~~~~~                                                7                                 25 .00

Part 4 - Payment amount

                                                  *INT                   1.
8 Payment amount (from line 5 or line 7)       *PEN             1.                                    8                                 27 .00
     Make check or money order for the line 8 amount payable to NYS filing fee; write your EIN or
     SSN and 2022 filing fee on the remittance and submit it with this form.
Certification: I certify that all information contained on this form is true and correct to the best of my knowledge and belief.

  L                                      L
           Paid preparer must complete (see instr.)
                                                                   Date
                                                                              09122023                                              L    Sign here      L
 Preparer's signature   JESSICA HUSSAIN, CPA                              Preparer's
                                                                          NYTPRIN                        Signature of general partner

 Firm's name (or yours, if self-employed)                           Preparer's PTIN or SSN
  APRIO, LLP                                                               P01278178
 Address                                                            Employer identification number       Date                                Daytime phone number
  2002 SUMMIT BOULEVARD, SUITE 120                                         571157523                                                         917 755 1770
  ATLANTA GA 30319                                                                     NYTPRIN
                                                                                       excl. code   03   Email:
 Email: JESSICA.HUSSAIN@APRIO.COM


                                                     File this form with payment on or before the 15th day of the third month following the close of
                                                     your tax year (see instructions).
                                                     Mail to: STATE PROCESSING CENTER, PO BOX 15310, ALBANY NY 12212-5310.
                                                     For private delivery services, see Publication 55, Designated Private Delivery Services.
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 359 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-LL (DISREGARDED ENTITY)        PENALTIES               STATEMENT 3
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  LATE PAYMENT PENALTY                                                                      1.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-LL PENALTIES                                                         1.
                                                                                ~~~~~~~~~~~~~~




                                            5                         STATEMENT(S) 3
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                     Case 24-10856-JKS                    Doc 1           Filed 04/25/24             Page 360 of 733
                                     Department of Taxation and Finance                                                                                         268361 10-07-22


                                     Partnership, Limited Liability Company, and                                                                   IT-204-LL
                                     Limited Liability Partnership     For calendar year 2022 or tax year
                                     Filing Fee Payment Form           beginning                      and ending

 Legal name                                                                                                              Identification number (see instructions)
  STICKYS FINGERS IV LLC                                                                                                                    813219412
 Trade name of business if different from legal name above                                                               Change of business information
                                                                                                                              Mark X here if you have changed your mailing
 Address (number and street or rural route)                                                                              address and have not previously notified us (see instr.)
  24 E 23RD STREET                                                                                                       Date business started             03022012
 City, village, or post office                                State                         ZIP code                     Contact person's telephone number
  NEW YORK                                                     NY                         10010                                         917 755 1770
 Principal business activity                                                                                             Enter your 2-digit special condition
  RESTAURANT                                                                                                             code if applicable (see instructions) ~
Mark an X in the box identifying the entity for which you are filing this form (mark only one box) :
       Regular partnership                   X Limited liability company (LLC) or limited liability partnership (LLP)

Part 1 - General information (mark an X in the appropriate box(es))

Mark applicable box(es) (see instructions):
                                                                 Amended Form IT-204-LL                                 Refund                       Final Form IT-204-LL
1 Did this entity have any income, gain, loss, or deduction derived from New York sources during
     the 2022 tax year? (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  Yes    X           No
      If you answered No, stop; you do not owe a fee. Do not file this form.
2 Did this entity have an interest in real property in New York State during the last three years? ~~~~~~~~~~~~~ Yes                                        X           No
3 Has there been a transfer or acquisition of the controlling interest in the entity during the last three years? ~~~~~~~ Yes                                           No     X

Part 2 - Partnerships, and LLCs and LLPs treated as partnerships for federal income tax purposes
LLCs that are disregarded entities for federal income tax purposes: Skip Part 2 and continue with Part 3.
4 Enter the amount from line 15, column B, of the New York source gross income worksheet in
     the instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     4                                      .00


5 NYS filing fee - Enter the amount from the appropriate filing fee table in the instructions             ~~~~~~~~~~                    5                                      .00

Part 3 - LLCs that are disregarded entities for federal income tax purposes
6 LLC disregarded entity: Enter the identification number (EIN or SSN)
      of the entity or individual who will be reporting the income or loss                     6          462153586

7 LLC disregarded entity NYS filing fee - Enter 25 on this line ~~~~~~~~~~~~~~~~~~~~~~~~                                                7                                 25 .00

Part 4 - Payment amount

                                                  *INT                   1.
8 Payment amount (from line 5 or line 7)       *PEN             1.                                    8                                 27 .00
     Make check or money order for the line 8 amount payable to NYS filing fee; write your EIN or
     SSN and 2022 filing fee on the remittance and submit it with this form.
Certification: I certify that all information contained on this form is true and correct to the best of my knowledge and belief.

  L                                      L
           Paid preparer must complete (see instr.)
                                                                   Date
                                                                              09122023                                              L    Sign here      L
 Preparer's signature   JESSICA HUSSAIN, CPA                              Preparer's
                                                                          NYTPRIN                        Signature of general partner

 Firm's name (or yours, if self-employed)                           Preparer's PTIN or SSN
  APRIO, LLP                                                               P01278178
 Address                                                            Employer identification number       Date                                Daytime phone number
  2002 SUMMIT BOULEVARD, SUITE 120                                         571157523                                                         917 755 1770
  ATLANTA GA 30319                                                                     NYTPRIN
                                                                                       excl. code   03   Email:
 Email: JESSICA.HUSSAIN@APRIO.COM


                                                     File this form with payment on or before the 15th day of the third month following the close of
                                                     your tax year (see instructions).
                                                     Mail to: STATE PROCESSING CENTER, PO BOX 15310, ALBANY NY 12212-5310.
                                                     For private delivery services, see Publication 55, Designated Private Delivery Services.
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 361 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NY IT-204-LL (DISREGARDED ENTITY)        PENALTIES               STATEMENT 4
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  DESCRIPTION                                                                       AMOUNT
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  LATE PAYMENT PENALTY                                                                      1.
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  TOTAL TO FORM IT-204-LL PENALTIES                                                         1.
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                                            7                         STATEMENT(S) 4
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                     Case 24-10856-JKS                    Doc 1           Filed 04/25/24             Page 362 of 733
                                     Department of Taxation and Finance                                                                                         268361 10-07-22


                                     Partnership, Limited Liability Company, and                                                                   IT-204-LL
                                     Limited Liability Partnership     For calendar year 2022 or tax year
                                     Filing Fee Payment Form           beginning                      and ending

 Legal name                                                                                                              Identification number (see instructions)
  STICKYS FINGERS V LLC                                                                                                                     823181465
 Trade name of business if different from legal name above                                                               Change of business information
                                                                                                                              Mark X here if you have changed your mailing
 Address (number and street or rural route)                                                                              address and have not previously notified us (see instr.)
  24 E 23RD STREET                                                                                                       Date business started             03022012
 City, village, or post office                                State                         ZIP code                     Contact person's telephone number
  NEW YORK                                                     NY                         10010                                         917 755 1770
 Principal business activity                                                                                             Enter your 2-digit special condition
  RESTAURANT                                                                                                             code if applicable (see instructions) ~
Mark an X in the box identifying the entity for which you are filing this form (mark only one box) :
       Regular partnership                   X Limited liability company (LLC) or limited liability partnership (LLP)

Part 1 - General information (mark an X in the appropriate box(es))

Mark applicable box(es) (see instructions):
                                                                 Amended Form IT-204-LL                                 Refund                       Final Form IT-204-LL
1 Did this entity have any income, gain, loss, or deduction derived from New York sources during
     the 2022 tax year? (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  Yes    X           No
      If you answered No, stop; you do not owe a fee. Do not file this form.
2 Did this entity have an interest in real property in New York State during the last three years? ~~~~~~~~~~~~~ Yes                                        X           No
3 Has there been a transfer or acquisition of the controlling interest in the entity during the last three years? ~~~~~~~ Yes                                           No     X

Part 2 - Partnerships, and LLCs and LLPs treated as partnerships for federal income tax purposes
LLCs that are disregarded entities for federal income tax purposes: Skip Part 2 and continue with Part 3.
4 Enter the amount from line 15, column B, of the New York source gross income worksheet in
     the instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     4                                      .00


5 NYS filing fee - Enter the amount from the appropriate filing fee table in the instructions             ~~~~~~~~~~                    5                                      .00

Part 3 - LLCs that are disregarded entities for federal income tax purposes
6 LLC disregarded entity: Enter the identification number (EIN or SSN)
      of the entity or individual who will be reporting the income or loss                     6          462153586

7 LLC disregarded entity NYS filing fee - Enter 25 on this line ~~~~~~~~~~~~~~~~~~~~~~~~                                                7                                 25 .00

Part 4 - Payment amount

                                                  *INT                   1.
8 Payment amount (from line 5 or line 7)       *PEN             1.                                    8                                 27 .00
     Make check or money order for the line 8 amount payable to NYS filing fee; write your EIN or
     SSN and 2022 filing fee on the remittance and submit it with this form.
Certification: I certify that all information contained on this form is true and correct to the best of my knowledge and belief.

  L                                      L
           Paid preparer must complete (see instr.)
                                                                   Date
                                                                              09122023                                              L    Sign here      L
 Preparer's signature   JESSICA HUSSAIN, CPA                              Preparer's
                                                                          NYTPRIN                        Signature of general partner

 Firm's name (or yours, if self-employed)                           Preparer's PTIN or SSN
  APRIO, LLP                                                               P01278178
 Address                                                            Employer identification number       Date                                Daytime phone number
  2002 SUMMIT BOULEVARD, SUITE 120                                         571157523                                                         917 755 1770
  ATLANTA GA 30319                                                                     NYTPRIN
                                                                                       excl. code   03   Email:
 Email: JESSICA.HUSSAIN@APRIO.COM


                                                     File this form with payment on or before the 15th day of the third month following the close of
                                                     your tax year (see instructions).
                                                     Mail to: STATE PROCESSING CENTER, PO BOX 15310, ALBANY NY 12212-5310.
                                                     For private delivery services, see Publication 55, Designated Private Delivery Services.
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 363 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NY IT-204-LL (DISREGARDED ENTITY)        PENALTIES               STATEMENT 5
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  DESCRIPTION                                                                       AMOUNT
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  LATE PAYMENT PENALTY                                                                      1.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-LL PENALTIES                                                         1.
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                                            9                         STATEMENT(S) 5
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                     Case 24-10856-JKS                    Doc 1           Filed 04/25/24             Page 364 of 733
                                     Department of Taxation and Finance                                                                                         268361 10-07-22


                                     Partnership, Limited Liability Company, and                                                                   IT-204-LL
                                     Limited Liability Partnership     For calendar year 2022 or tax year
                                     Filing Fee Payment Form           beginning                      and ending

 Legal name                                                                                                              Identification number (see instructions)
  STICKYS FINGERS VI LLC                                                                                                                    823210578
 Trade name of business if different from legal name above                                                               Change of business information
                                                                                                                              Mark X here if you have changed your mailing
 Address (number and street or rural route)                                                                              address and have not previously notified us (see instr.)
  24 E 23RD STREET                                                                                                       Date business started             03022012
 City, village, or post office                                State                         ZIP code                     Contact person's telephone number
  NEW YORK                                                     NY                         10010                                         917 755 1770
 Principal business activity                                                                                             Enter your 2-digit special condition
  RESTAURANT                                                                                                             code if applicable (see instructions) ~
Mark an X in the box identifying the entity for which you are filing this form (mark only one box) :
       Regular partnership                   X Limited liability company (LLC) or limited liability partnership (LLP)

Part 1 - General information (mark an X in the appropriate box(es))

Mark applicable box(es) (see instructions):
                                                                 Amended Form IT-204-LL                                 Refund                       Final Form IT-204-LL
1 Did this entity have any income, gain, loss, or deduction derived from New York sources during
     the 2022 tax year? (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  Yes    X           No
      If you answered No, stop; you do not owe a fee. Do not file this form.
2 Did this entity have an interest in real property in New York State during the last three years? ~~~~~~~~~~~~~ Yes                                        X           No
3 Has there been a transfer or acquisition of the controlling interest in the entity during the last three years? ~~~~~~~ Yes                                           No     X

Part 2 - Partnerships, and LLCs and LLPs treated as partnerships for federal income tax purposes
LLCs that are disregarded entities for federal income tax purposes: Skip Part 2 and continue with Part 3.
4 Enter the amount from line 15, column B, of the New York source gross income worksheet in
     the instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     4                                      .00


5 NYS filing fee - Enter the amount from the appropriate filing fee table in the instructions             ~~~~~~~~~~                    5                                      .00

Part 3 - LLCs that are disregarded entities for federal income tax purposes
6 LLC disregarded entity: Enter the identification number (EIN or SSN)
      of the entity or individual who will be reporting the income or loss                     6          462153586

7 LLC disregarded entity NYS filing fee - Enter 25 on this line ~~~~~~~~~~~~~~~~~~~~~~~~                                                7                                 25 .00

Part 4 - Payment amount

                                                  *INT                   1.
8 Payment amount (from line 5 or line 7)       *PEN             1.                                    8                                 27 .00
     Make check or money order for the line 8 amount payable to NYS filing fee; write your EIN or
     SSN and 2022 filing fee on the remittance and submit it with this form.
Certification: I certify that all information contained on this form is true and correct to the best of my knowledge and belief.

  L                                      L
           Paid preparer must complete (see instr.)
                                                                   Date
                                                                              09122023                                              L    Sign here      L
 Preparer's signature   JESSICA HUSSAIN, CPA                              Preparer's
                                                                          NYTPRIN                        Signature of general partner

 Firm's name (or yours, if self-employed)                           Preparer's PTIN or SSN
  APRIO, LLP                                                               P01278178
 Address                                                            Employer identification number       Date                                Daytime phone number
  2002 SUMMIT BOULEVARD, SUITE 120                                         571157523                                                         917 755 1770
  ATLANTA GA 30319                                                                     NYTPRIN
                                                                                       excl. code   03   Email:
 Email: JESSICA.HUSSAIN@APRIO.COM


                                                     File this form with payment on or before the 15th day of the third month following the close of
                                                     your tax year (see instructions).
                                                     Mail to: STATE PROCESSING CENTER, PO BOX 15310, ALBANY NY 12212-5310.
                                                     For private delivery services, see Publication 55, Designated Private Delivery Services.
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 365 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NY IT-204-LL (DISREGARDED ENTITY)        PENALTIES               STATEMENT 6
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  DESCRIPTION                                                                       AMOUNT
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  LATE PAYMENT PENALTY                                                                      1.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-LL PENALTIES                                                         1.
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                                            11                        STATEMENT(S) 6
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                     Case 24-10856-JKS                    Doc 1           Filed 04/25/24             Page 366 of 733
                                     Department of Taxation and Finance                                                                                         268361 10-07-22


                                     Partnership, Limited Liability Company, and                                                                   IT-204-LL
                                     Limited Liability Partnership     For calendar year 2022 or tax year
                                     Filing Fee Payment Form           beginning                      and ending

 Legal name                                                                                                              Identification number (see instructions)
  STICKYS FINGERS VII LLC                                                                                                                   831511491
 Trade name of business if different from legal name above                                                               Change of business information
                                                                                                                              Mark X here if you have changed your mailing
 Address (number and street or rural route)                                                                              address and have not previously notified us (see instr.)
  24 E 23RD STREET                                                                                                       Date business started             03022012
 City, village, or post office                                State                         ZIP code                     Contact person's telephone number
  NEW YORK                                                     NY                         10010                                         917 755 1770
 Principal business activity                                                                                             Enter your 2-digit special condition
  RESTAURANT                                                                                                             code if applicable (see instructions) ~
Mark an X in the box identifying the entity for which you are filing this form (mark only one box) :
       Regular partnership                   X Limited liability company (LLC) or limited liability partnership (LLP)

Part 1 - General information (mark an X in the appropriate box(es))

Mark applicable box(es) (see instructions):
                                                                 Amended Form IT-204-LL                                 Refund                       Final Form IT-204-LL
1 Did this entity have any income, gain, loss, or deduction derived from New York sources during
     the 2022 tax year? (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  Yes    X           No
      If you answered No, stop; you do not owe a fee. Do not file this form.
2 Did this entity have an interest in real property in New York State during the last three years? ~~~~~~~~~~~~~ Yes                                        X           No
3 Has there been a transfer or acquisition of the controlling interest in the entity during the last three years? ~~~~~~~ Yes                                           No     X

Part 2 - Partnerships, and LLCs and LLPs treated as partnerships for federal income tax purposes
LLCs that are disregarded entities for federal income tax purposes: Skip Part 2 and continue with Part 3.
4 Enter the amount from line 15, column B, of the New York source gross income worksheet in
     the instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     4                                      .00


5 NYS filing fee - Enter the amount from the appropriate filing fee table in the instructions             ~~~~~~~~~~                    5                                      .00

Part 3 - LLCs that are disregarded entities for federal income tax purposes
6 LLC disregarded entity: Enter the identification number (EIN or SSN)
      of the entity or individual who will be reporting the income or loss                     6          462153586

7 LLC disregarded entity NYS filing fee - Enter 25 on this line ~~~~~~~~~~~~~~~~~~~~~~~~                                                7                                 25 .00

Part 4 - Payment amount

                                                  *INT                   1.
8 Payment amount (from line 5 or line 7)       *PEN             1.                                    8                                 27 .00
     Make check or money order for the line 8 amount payable to NYS filing fee; write your EIN or
     SSN and 2022 filing fee on the remittance and submit it with this form.
Certification: I certify that all information contained on this form is true and correct to the best of my knowledge and belief.

  L                                      L
           Paid preparer must complete (see instr.)
                                                                   Date
                                                                              09122023                                              L    Sign here      L
 Preparer's signature   JESSICA HUSSAIN, CPA                              Preparer's
                                                                          NYTPRIN                        Signature of general partner

 Firm's name (or yours, if self-employed)                           Preparer's PTIN or SSN
  APRIO, LLP                                                               P01278178
 Address                                                            Employer identification number       Date                                Daytime phone number
  2002 SUMMIT BOULEVARD, SUITE 120                                         571157523                                                         917 755 1770
  ATLANTA GA 30319                                                                     NYTPRIN
                                                                                       excl. code   03   Email:
 Email: JESSICA.HUSSAIN@APRIO.COM


                                                     File this form with payment on or before the 15th day of the third month following the close of
                                                     your tax year (see instructions).
                                                     Mail to: STATE PROCESSING CENTER, PO BOX 15310, ALBANY NY 12212-5310.
                                                     For private delivery services, see Publication 55, Designated Private Delivery Services.
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 367 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NY IT-204-LL (DISREGARDED ENTITY)        PENALTIES               STATEMENT 7
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  DESCRIPTION                                                                       AMOUNT
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  LATE PAYMENT PENALTY                                                                      1.
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  TOTAL TO FORM IT-204-LL PENALTIES                                                         1.
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                                            13                        STATEMENT(S) 7
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                     Case 24-10856-JKS                    Doc 1           Filed 04/25/24             Page 368 of 733
                                     Department of Taxation and Finance                                                                                         268361 10-07-22


                                     Partnership, Limited Liability Company, and                                                                   IT-204-LL
                                     Limited Liability Partnership     For calendar year 2022 or tax year
                                     Filing Fee Payment Form           beginning                      and ending

 Legal name                                                                                                              Identification number (see instructions)
  STICKYS FINGERS VIII LLC                                                                                                                  842040080
 Trade name of business if different from legal name above                                                               Change of business information
                                                                                                                              Mark X here if you have changed your mailing
 Address (number and street or rural route)                                                                              address and have not previously notified us (see instr.)
  24 E 23RD STREET                                                                                                       Date business started             03022012
 City, village, or post office                                State                         ZIP code                     Contact person's telephone number
  NEW YORK                                                     NY                         10010                                         917 755 1770
 Principal business activity                                                                                             Enter your 2-digit special condition
  RESTAURANT                                                                                                             code if applicable (see instructions) ~
Mark an X in the box identifying the entity for which you are filing this form (mark only one box) :
       Regular partnership                   X Limited liability company (LLC) or limited liability partnership (LLP)

Part 1 - General information (mark an X in the appropriate box(es))

Mark applicable box(es) (see instructions):
                                                                 Amended Form IT-204-LL                                 Refund                       Final Form IT-204-LL
1 Did this entity have any income, gain, loss, or deduction derived from New York sources during
     the 2022 tax year? (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  Yes    X           No
      If you answered No, stop; you do not owe a fee. Do not file this form.
2 Did this entity have an interest in real property in New York State during the last three years? ~~~~~~~~~~~~~ Yes                                        X           No
3 Has there been a transfer or acquisition of the controlling interest in the entity during the last three years? ~~~~~~~ Yes                                           No     X

Part 2 - Partnerships, and LLCs and LLPs treated as partnerships for federal income tax purposes
LLCs that are disregarded entities for federal income tax purposes: Skip Part 2 and continue with Part 3.
4 Enter the amount from line 15, column B, of the New York source gross income worksheet in
     the instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     4                                      .00


5 NYS filing fee - Enter the amount from the appropriate filing fee table in the instructions             ~~~~~~~~~~                    5                                      .00

Part 3 - LLCs that are disregarded entities for federal income tax purposes
6 LLC disregarded entity: Enter the identification number (EIN or SSN)
      of the entity or individual who will be reporting the income or loss                     6          462153586

7 LLC disregarded entity NYS filing fee - Enter 25 on this line ~~~~~~~~~~~~~~~~~~~~~~~~                                                7                                 25 .00

Part 4 - Payment amount

                                                  *INT                   1.
8 Payment amount (from line 5 or line 7)       *PEN             1.                                    8                                 27 .00
     Make check or money order for the line 8 amount payable to NYS filing fee; write your EIN or
     SSN and 2022 filing fee on the remittance and submit it with this form.
Certification: I certify that all information contained on this form is true and correct to the best of my knowledge and belief.

  L                                      L
           Paid preparer must complete (see instr.)
                                                                   Date
                                                                              09122023                                              L    Sign here      L
 Preparer's signature   JESSICA HUSSAIN, CPA                              Preparer's
                                                                          NYTPRIN                        Signature of general partner

 Firm's name (or yours, if self-employed)                           Preparer's PTIN or SSN
  APRIO, LLP                                                               P01278178
 Address                                                            Employer identification number       Date                                Daytime phone number
  2002 SUMMIT BOULEVARD, SUITE 120                                         571157523                                                         917 755 1770
  ATLANTA GA 30319                                                                     NYTPRIN
                                                                                       excl. code   03   Email:
 Email: JESSICA.HUSSAIN@APRIO.COM


                                                     File this form with payment on or before the 15th day of the third month following the close of
                                                     your tax year (see instructions).
                                                     Mail to: STATE PROCESSING CENTER, PO BOX 15310, ALBANY NY 12212-5310.
                                                     For private delivery services, see Publication 55, Designated Private Delivery Services.
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 369 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-LL (DISREGARDED ENTITY)        PENALTIES               STATEMENT 8
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
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  LATE PAYMENT PENALTY                                                                      1.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-LL PENALTIES                                                         1.
                                                                                ~~~~~~~~~~~~~~




                                            15                        STATEMENT(S) 8
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                     Case 24-10856-JKS                    Doc 1           Filed 04/25/24             Page 370 of 733
                                     Department of Taxation and Finance                                                                                         268361 10-07-22


                                     Partnership, Limited Liability Company, and                                                                   IT-204-LL
                                     Limited Liability Partnership     For calendar year 2022 or tax year
                                     Filing Fee Payment Form           beginning                      and ending

 Legal name                                                                                                              Identification number (see instructions)
  STICKYS FINGERS IX LLC                                                                                                                    842555036
 Trade name of business if different from legal name above                                                               Change of business information
                                                                                                                              Mark X here if you have changed your mailing
 Address (number and street or rural route)                                                                              address and have not previously notified us (see instr.)
  24 E 23RD STREET                                                                                                       Date business started             03022012
 City, village, or post office                                State                         ZIP code                     Contact person's telephone number
  NEW YORK                                                     NY                         10010                                         917 755 1770
 Principal business activity                                                                                             Enter your 2-digit special condition
  RESTAURANT                                                                                                             code if applicable (see instructions) ~
Mark an X in the box identifying the entity for which you are filing this form (mark only one box) :
       Regular partnership                   X Limited liability company (LLC) or limited liability partnership (LLP)

Part 1 - General information (mark an X in the appropriate box(es))

Mark applicable box(es) (see instructions):
                                                                 Amended Form IT-204-LL                                 Refund                       Final Form IT-204-LL
1 Did this entity have any income, gain, loss, or deduction derived from New York sources during
     the 2022 tax year? (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  Yes    X           No
      If you answered No, stop; you do not owe a fee. Do not file this form.
2 Did this entity have an interest in real property in New York State during the last three years? ~~~~~~~~~~~~~ Yes                                        X           No
3 Has there been a transfer or acquisition of the controlling interest in the entity during the last three years? ~~~~~~~ Yes                                           No     X

Part 2 - Partnerships, and LLCs and LLPs treated as partnerships for federal income tax purposes
LLCs that are disregarded entities for federal income tax purposes: Skip Part 2 and continue with Part 3.
4 Enter the amount from line 15, column B, of the New York source gross income worksheet in
     the instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     4                                      .00


5 NYS filing fee - Enter the amount from the appropriate filing fee table in the instructions             ~~~~~~~~~~                    5                                      .00

Part 3 - LLCs that are disregarded entities for federal income tax purposes
6 LLC disregarded entity: Enter the identification number (EIN or SSN)
      of the entity or individual who will be reporting the income or loss                     6          462153586

7 LLC disregarded entity NYS filing fee - Enter 25 on this line ~~~~~~~~~~~~~~~~~~~~~~~~                                                7                                 25 .00

Part 4 - Payment amount

                                                  *INT                   1.
8 Payment amount (from line 5 or line 7)       *PEN             1.                                    8                                 27 .00
     Make check or money order for the line 8 amount payable to NYS filing fee; write your EIN or
     SSN and 2022 filing fee on the remittance and submit it with this form.
Certification: I certify that all information contained on this form is true and correct to the best of my knowledge and belief.

  L                                      L
           Paid preparer must complete (see instr.)
                                                                   Date
                                                                              09122023                                              L    Sign here      L
 Preparer's signature   JESSICA HUSSAIN, CPA                              Preparer's
                                                                          NYTPRIN                        Signature of general partner

 Firm's name (or yours, if self-employed)                           Preparer's PTIN or SSN
  APRIO, LLP                                                               P01278178
 Address                                                            Employer identification number       Date                                Daytime phone number
  2002 SUMMIT BOULEVARD, SUITE 120                                         571157523                                                         917 755 1770
  ATLANTA GA 30319                                                                     NYTPRIN
                                                                                       excl. code   03   Email:
 Email: JESSICA.HUSSAIN@APRIO.COM


                                                     File this form with payment on or before the 15th day of the third month following the close of
                                                     your tax year (see instructions).
                                                     Mail to: STATE PROCESSING CENTER, PO BOX 15310, ALBANY NY 12212-5310.
                                                     For private delivery services, see Publication 55, Designated Private Delivery Services.
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 371 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  NY IT-204-LL (DISREGARDED ENTITY)        PENALTIES               STATEMENT 9
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  DESCRIPTION                                                                       AMOUNT
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  LATE PAYMENT PENALTY                                                                      1.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-LL PENALTIES                                                         1.
                                                                                ~~~~~~~~~~~~~~




                                            17                        STATEMENT(S) 9
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                     Case 24-10856-JKS                    Doc 1           Filed 04/25/24             Page 372 of 733
                                     Department of Taxation and Finance                                                                                         268361 10-07-22


                                     Partnership, Limited Liability Company, and                                                                   IT-204-LL
                                     Limited Liability Partnership     For calendar year 2022 or tax year
                                     Filing Fee Payment Form           beginning                      and ending

 Legal name                                                                                                              Identification number (see instructions)
  STICKYS BK I LLC                                                                                                                          832820423
 Trade name of business if different from legal name above                                                               Change of business information
                                                                                                                              Mark X here if you have changed your mailing
 Address (number and street or rural route)                                                                              address and have not previously notified us (see instr.)
  24 E 23RD STREET                                                                                                       Date business started             03022012
 City, village, or post office                                State                         ZIP code                     Contact person's telephone number
  NEW YORK                                                     NY                         10010                                         917 755 1770
 Principal business activity                                                                                             Enter your 2-digit special condition
  RESTAURANT                                                                                                             code if applicable (see instructions) ~
Mark an X in the box identifying the entity for which you are filing this form (mark only one box) :
       Regular partnership                   X Limited liability company (LLC) or limited liability partnership (LLP)

Part 1 - General information (mark an X in the appropriate box(es))

Mark applicable box(es) (see instructions):
                                                                 Amended Form IT-204-LL                                 Refund                       Final Form IT-204-LL
1 Did this entity have any income, gain, loss, or deduction derived from New York sources during
     the 2022 tax year? (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  Yes    X           No
      If you answered No, stop; you do not owe a fee. Do not file this form.
2 Did this entity have an interest in real property in New York State during the last three years? ~~~~~~~~~~~~~ Yes                                        X           No
3 Has there been a transfer or acquisition of the controlling interest in the entity during the last three years? ~~~~~~~ Yes                                           No     X

Part 2 - Partnerships, and LLCs and LLPs treated as partnerships for federal income tax purposes
LLCs that are disregarded entities for federal income tax purposes: Skip Part 2 and continue with Part 3.
4 Enter the amount from line 15, column B, of the New York source gross income worksheet in
     the instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     4                                      .00


5 NYS filing fee - Enter the amount from the appropriate filing fee table in the instructions             ~~~~~~~~~~                    5                                      .00

Part 3 - LLCs that are disregarded entities for federal income tax purposes
6 LLC disregarded entity: Enter the identification number (EIN or SSN)
      of the entity or individual who will be reporting the income or loss                     6          462153586

7 LLC disregarded entity NYS filing fee - Enter 25 on this line ~~~~~~~~~~~~~~~~~~~~~~~~                                                7                                 25 .00

Part 4 - Payment amount

                                                  *INT                   1.
8 Payment amount (from line 5 or line 7)       *PEN             1.                                    8                                 27 .00
     Make check or money order for the line 8 amount payable to NYS filing fee; write your EIN or
     SSN and 2022 filing fee on the remittance and submit it with this form.
Certification: I certify that all information contained on this form is true and correct to the best of my knowledge and belief.

  L                                      L
           Paid preparer must complete (see instr.)
                                                                   Date
                                                                              09122023                                              L    Sign here      L
 Preparer's signature   JESSICA HUSSAIN, CPA                              Preparer's
                                                                          NYTPRIN                        Signature of general partner

 Firm's name (or yours, if self-employed)                           Preparer's PTIN or SSN
  APRIO, LLP                                                               P01278178
 Address                                                            Employer identification number       Date                                Daytime phone number
  2002 SUMMIT BOULEVARD, SUITE 120                                         571157523                                                         917 755 1770
  ATLANTA GA 30319                                                                     NYTPRIN
                                                                                       excl. code   03   Email:
 Email: JESSICA.HUSSAIN@APRIO.COM


                                                     File this form with payment on or before the 15th day of the third month following the close of
                                                     your tax year (see instructions).
                                                     Mail to: STATE PROCESSING CENTER, PO BOX 15310, ALBANY NY 12212-5310.
                                                     For private delivery services, see Publication 55, Designated Private Delivery Services.
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-LL (DISREGARDED ENTITY)        PENALTIES               STATEMENT 10
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  LATE PAYMENT PENALTY                                                                      1.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-LL PENALTIES                                                         1.
                                                                                ~~~~~~~~~~~~~~




                                            19                       STATEMENT(S) 10
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                     Case 24-10856-JKS                    Doc 1           Filed 04/25/24             Page 374 of 733
                                     Department of Taxation and Finance                                                                                         268361 10-07-22


                                     Partnership, Limited Liability Company, and                                                                   IT-204-LL
                                     Limited Liability Partnership     For calendar year 2022 or tax year
                                     Filing Fee Payment Form           beginning                      and ending

 Legal name                                                                                                              Identification number (see instructions)
  STICKYS WC I LLC                                                                                                                          874490427
 Trade name of business if different from legal name above                                                               Change of business information
                                                                                                                              Mark X here if you have changed your mailing
 Address (number and street or rural route)                                                                              address and have not previously notified us (see instr.)
  24 E 23RD STREET                                                                                                       Date business started             03022012
 City, village, or post office                                State                         ZIP code                     Contact person's telephone number
  NEW YORK                                                     NY                         10010                                         917 755 1770
 Principal business activity                                                                                             Enter your 2-digit special condition
  RESTAURANT                                                                                                             code if applicable (see instructions) ~
Mark an X in the box identifying the entity for which you are filing this form (mark only one box) :
       Regular partnership                   X Limited liability company (LLC) or limited liability partnership (LLP)

Part 1 - General information (mark an X in the appropriate box(es))

Mark applicable box(es) (see instructions):
                                                                 Amended Form IT-204-LL                                 Refund                       Final Form IT-204-LL
1 Did this entity have any income, gain, loss, or deduction derived from New York sources during
     the 2022 tax year? (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  Yes    X           No
      If you answered No, stop; you do not owe a fee. Do not file this form.
2 Did this entity have an interest in real property in New York State during the last three years? ~~~~~~~~~~~~~ Yes                                        X           No
3 Has there been a transfer or acquisition of the controlling interest in the entity during the last three years? ~~~~~~~ Yes                                           No     X

Part 2 - Partnerships, and LLCs and LLPs treated as partnerships for federal income tax purposes
LLCs that are disregarded entities for federal income tax purposes: Skip Part 2 and continue with Part 3.
4 Enter the amount from line 15, column B, of the New York source gross income worksheet in
     the instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     4                                      .00


5 NYS filing fee - Enter the amount from the appropriate filing fee table in the instructions             ~~~~~~~~~~                    5                                      .00

Part 3 - LLCs that are disregarded entities for federal income tax purposes
6 LLC disregarded entity: Enter the identification number (EIN or SSN)
      of the entity or individual who will be reporting the income or loss                     6          462153586

7 LLC disregarded entity NYS filing fee - Enter 25 on this line ~~~~~~~~~~~~~~~~~~~~~~~~                                                7                                 25 .00

Part 4 - Payment amount

                                                  *INT                   1.
8 Payment amount (from line 5 or line 7)       *PEN             1.                                    8                                 27 .00
     Make check or money order for the line 8 amount payable to NYS filing fee; write your EIN or
     SSN and 2022 filing fee on the remittance and submit it with this form.
Certification: I certify that all information contained on this form is true and correct to the best of my knowledge and belief.

  L                                      L
           Paid preparer must complete (see instr.)
                                                                   Date
                                                                              09122023                                              L    Sign here      L
 Preparer's signature   JESSICA HUSSAIN, CPA                              Preparer's
                                                                          NYTPRIN                        Signature of general partner

 Firm's name (or yours, if self-employed)                           Preparer's PTIN or SSN
  APRIO, LLP                                                               P01278178
 Address                                                            Employer identification number       Date                                Daytime phone number
  2002 SUMMIT BOULEVARD, SUITE 120                                         571157523                                                         917 755 1770
  ATLANTA GA 30319                                                                     NYTPRIN
                                                                                       excl. code   03   Email:
 Email: JESSICA.HUSSAIN@APRIO.COM


                                                     File this form with payment on or before the 15th day of the third month following the close of
                                                     your tax year (see instructions).
                                                     Mail to: STATE PROCESSING CENTER, PO BOX 15310, ALBANY NY 12212-5310.
                                                     For private delivery services, see Publication 55, Designated Private Delivery Services.
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-LL (DISREGARDED ENTITY)        PENALTIES               STATEMENT 11
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  LATE PAYMENT PENALTY                                                                      1.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-LL PENALTIES                                                         1.
                                                                                ~~~~~~~~~~~~~~




                                            21                       STATEMENT(S) 11
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                     Case 24-10856-JKS                    Doc 1            Filed 04/25/24               Page 376 of 733
                                                                Department of Taxation and Finance                                                                           268501 11-04-22

                                                                Partnership Return                                                                                     IT-204
                                                                                  For calendar year 2022                                                 and
                           See the instructions, Form IT-204-I.                    or tax year beginning                                              ending
    Legal name                                                                                                                               Employer identification number (EIN)

     STICKYS HOLDINGS LLC                                                                                                                            462153586
    Trade name of business if different from legal name above                                                                                NYS principal business activity

                                                                                                                                             RESTAURANT
    Address (number and street or rural route)                                City, village, or post office                                  NAICS business code number (from NYS Pub 910)

     24 E 23RD STREET                                                         NEW YORK                                                                    722513
    State           ZIP code               Country                                                                         Principal product or service        Date business started

     NY           10010                                                                                                     FOOD SERVIC                             01012022
                                                                                                                            Special conditions for filing your
Section 1 - Partnership information                                                                                         2021 tax return (see instr) ~~~



A       Mark an X in the box that applies to your entity
                    Regular partnership                  Limited liability partnership (LLP)                 Portfolio investment partnership (see instr.)                             Other
             X      Limited liability company (LLC - including limited liability investment company and a limited liability trust company)
B       1) Did the partnership have any income, gain, loss, or deduction derived from NY sources during the
              tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                B1     Yes     X          No
        2) If No, enter the number of resident partners                                                               B2
C       Mark applicable box(es)                      Change of address                  Initial return                Amended return                Final return (submit explanation)
D       1) Is this return the result of federal audit changes? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            D1     Yes                No    X
              If Yes: 2) Enter date of final federal determination ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          D2
                       3) Do you concede the federal audit changes? ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           D3     Yes                No
E       Did you file a NYS partnership return for: 1) 2020? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              E1     Yes X              No
                                                          2) 2021?                                                        E2     Yes X              No
          If No, state reason:
F       Number of partners              1) Article 22 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              F1                   21
                                        2) Article 9-A ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             F2
                                        3) Other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 F3
                                  4) Total ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       F4                   21
G       Does the partnership currently have tax accounts with NYS for the following taxes?
                     1) Sales and use tax              Yes              No X ~~~ (if Yes, enter ID number) ~ G1
                     2) Withholding tax                Yes              No X ~~~ (if Yes, enter ID number) ~ G2
H       Did the partnership have an interest in real property located in NYS during the last three years?       ~~~~~~~~~~~ H                                    Yes     X          No
I       Has there been a transfer or acquisition of a controlling interest in this entity during the last three years? ~~~~~~~ I                                 Yes                No X
J       Did the partnership engage in a like-kind transaction under IRC 1031 during the tax year?                   ~~~~~~~~~~~~~~ J                             Yes                No X


        Third-party              Print designee's name                                                   Designee's phone number                                    Personal identification
                                                                                                                                                                        number (PIN)
    designee? (see instr.)

Yes X No          Email:
L Paid preparer must complete (see instr.)  L   Date       09122023                                                               L Sign here                    L
    Preparer's signature   JESSICA HUSSAIN, CPA    Preparer's
                                                   NYTPRIN                                                   Signature of general partner
    Firm's name (or yours, if self-employed)                           Preparer's PTIN or SSN
     APRIO, LLP                                                              P01278178
    Address                                                            Employer identification number

     2002 SUMMIT BOULEVARD, SUITE 120                                        571157523                       Date                                Daytime phone number
     ATLANTA GA 30319                                                           excl. code 03
                                                                                NYTPRIN
                                                                                                                                               917-755-1770
    Email: JESSICA.HUSSAIN@APRIO.COM                                                                         Email:

Mail your return to: STATE PROCESSING CENTER, PO BOX 15198, ALBANY NY 12212-5198.
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                                                                                                                                         268502 11-04-22
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Section 1 - Partnership information (continued)

K     Did the partnership sell property during the tax year that had a deferred gain from a previous IRC 1031
      or IRC 1033 transaction? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              K       Yes         No X
L     Was there a distribution of property or a transfer of a partnership interest during the tax year? ~~~~~~~~~~~           L   Yes         No X
M Does the partnership have a valid IRC section 754 election in place for this reporting period? ~~~~~~~~~~~~             M       Yes         No X
N Is this partnership under audit by the IRS or has it been audited in a prior year? ~~~~~~~~~~~~~~~~~~                   N       Yes         No X
O     Is the partnership required to file Form DTF-686 or DTF-686-ATT for this filing period, to report a
        reportable transaction, New York reportable transaction, listed transaction or registered tax shelter? ~~~~~~~    O       Yes         No    X
          If Yes, complete and submit Form(s) DTF-686, DTF-686-ATT, and any applicable federal forms.
P     Did the partnership make purchases subject to sales and compensating use tax for which NYS tax
        was not paid? (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        P       Yes         No X
Q     Did the partnership have a financial account located in a foreign country? (see instructions) ~~~~~~~~~~~~          Q       Yes         No X

Section 2 - Federal ordinary business income (loss)
Part 1 - Income from federal Form 1065
  1 Gross receipts or sales ~~~~~~~~~~~~~~~~~~~~~                                1                    22084935
     2 Returns and allowances ~~~~~~~~~~~~~~~~~~~~       2
     3 Subtract line 2 from line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            3                 22084935
     4 Cost of goods sold ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  4                  7862215
     5 Gross profit (subtract line 4 from line 3) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    5                 14222720
     6 Ordinary income (loss) from other partnerships, estates, and trusts (submit statement) ~~~~~~~~~               6
     7 Net farm profit (loss) (submit federal Form 1040, Schedule F) ~~~~~~~~~~~~~~~~~~~~~~                           7
     8 Net gain (loss) from federal Form 4797, Part II, line 17 (submit federal Form 4797) ~~~~~~~~~~~                8                     5793
     9 Other income (loss) (submit statement)~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~      SEE STATEMENT 13                  9                    10538
    10 Total income (loss) (combine lines 5 through 9) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 10                 14239051
Part 2 - Deductions from federal Form 1065
 11 Salaries and wages (other than to partners) (less employment credits) ~~~~~~~~~~~~~~~~~                          11                  7149571
    12 Guaranteed payments to partners ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            12                    19014
    13 Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               13                   518055
    14 Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      14
    15 Rent ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        15                  3880577
    16 Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~          16                                                          963838
    17 Interest               17                                                           98198
    18 Depreciation (if required, submit federal Form 4562) ~~~~~~~ 18 699358
    19 Depreciation reported on federal Form 1125-A
        and elsewhere on return ~~~~~~~~~~~~~~~~~~~              19
    20 Subtract line 19 from line 18 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           20                    699358
    21 Depletion (do not deduct oil and gas depletion) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  21
    22 Retirement plans, etc ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               22
    23 Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              23                   202589
    24 Other deductions (submit statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~SEE STATEMENT 14                         24                  3919741
    25 Total deductions (add lines 11 through 17 and lines 20 through 24) ~~~~~~~~~~~~~~~~~~                         25                 17450941
 26 Ordinary business income (loss) (subtract line 25 from line 10) ~~~~~~~~~~~~~~~~~~~~~                            26                 -3211890
Important: You must make an entry on line 26a.
26a Recomputed ordinary business income (loss) (see instructions) ~~~~~~~~~~~~~~~~~~~~                              26a                 -3211890
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Section 3 - Cost of goods sold (from federal Form 1125-A, see instructions)
 27 Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          27                220617
 28 Purchases ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     28               7824746
 29 Cost of labor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  29
 30 Additional IRC section 263A costs (submit statement) ~~~~~~~~~~~~~~~~~~~~~~~~~                               30
 31 Other costs (submit statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          31
 32 Total (add lines 27 through 31) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        32               8045363
 33 Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            33                183148
 34 Cost of goods sold (subtract line 33 from line 32) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              34               7862215
 35 Methods used for valuing closing inventory (mark an X in applicable boxes)
         Cost
         X Lower of cost or market
             Other (specify method used and explain)




 36 Was there a writedown of subnormal goods? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        Yes         No   X

37a Was LIFO inventory method adopted this tax year for any goods? (If Yes , submit federal Form 970.) ~~~~~~~~~~          Yes         No   X
37b If the LIFO inventory method was used for this tax year, enter the amount of closing inventory
      computed under LIFO     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       37b


 38 Do the rules of IRC section 263A (for property produced or acquired for resale) apply to the partnership? ~~~~~~~~     Yes         No   X

 39 Was there any change in determining quantities, cost, or valuations between opening and closing inventory?    ~~~~~ Yes            No   X

      If Yes, explain
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                                                                                                                            268504 11-04-22
Page 4 of 9     IT-204 (2022)
Section 4 - Balance sheets per books (from federal Form 1065, Schedule L)

               Assets                                Beginning of tax year                               End of tax year
                                                    (a)                       (b)                  (c)                      (d)
40    Cash ~~~~~~~~~~~~                   40                                 1964844                                          771895
41    Trade notes and accounts
         receivable ~~~~~~~~              41        116632                                           148223
42    Less allowances for bad
         debts ~~~~~~~~~~                 42                                      116632                                      148223
43    Inventories ~~~~~~~~~               43                                      220617                                      183148
44    U.S. government obligations         44
45    Tax-exempt securities ~~~           45
46    Other current assets (submit
                     STMT 15
         statement) ~~~~~~~~              46                                      673700                                      448871
47a Loans to partners (or
      persons related to partners)       47a
47b Mortgage and real estate
      loans ~~~~~~~~~~                   47b
48 Other investments (submit
         statement) ~~~~~~~~              48
49    Buildings and other
         depreciable assets ~~~~          49       8876169                                         9277609
50    Less accumulated
         depreciation ~~~~~~~             50       3351025                   5525144               4044590                  5233019
51    Depletable assets     ~~~~~         51
52    Less accumulated depletion          52
53    Land (net any amortization)         53
54    Intangible assets
         (amortizable only) ~~~~          54        123838                                           140254
55    Less accumulated
        amortization ~~~~~~~              55          32090                         91748                52431                    87823
56    Other assets (submit
                     STMT 16
         statement) ~~~~~~~~              56                                  955274                                        1294633
57    Total assets ~~~~~~~~               57                                 9547959                                        8167612


      Liabilities and capital                             Beginning of tax year                           End of tax year
                                                    (a)                           (b)              (c)                      (d)
 58   Accounts payable      ~~~~~         58                                 1539660                                        1077615
 59   Mortgages, notes, bonds
         payable in less than
         one year   ~~~~~~~~              59
 60   Other current liabilities
        (submit statement) ~~~~           60   STMT 17                            927706                                      889439
 61   All nonrecourse loans ~~~~          61
62a   Loans from partners (or
         persons related to partners)    62a
62b Mortgages, notes, bonds
      payable in one year or more        62b                                 2544361                                        2754809
 63 Other liabilities (submit
         statement) ~~~~~~~~              63
 64   Partners' capital accounts    ~     64                                 4536232                                        3445749
 65   Total liabilities and capital ~~    65                                 9547959                                        8167612
                         Case 24-10856-JKS                Doc 1        Filed 04/25/24          Page 380 of 733
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                                                                                                                    IT-204 (2022)     Page 5 of 9
Section 5 - Reconciliation of income (loss) per books with income (loss) per return (From federal
                  Form 1065, Schedule M-1; see instructions. If Schedule M-3 was filed, mark an X in the box                          ;
                  file Schedule M-3 and any related documents with Form IT-204; skip Section 5 and
                  continue with Section 6.)


 66 Net income (loss) per books ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         66                   -1090483
 67 Income included on return not recorded on books this year, from Schedule M-1, line 2              67                      13797
       Identify: SEE STATEMENT 18



 68 Guaranteed payments (other than health insurance) ~~~~~~~~~~~~~~~~~~~~~~~~~~                               68
 69 Expenses recorded on books this year not included on return, from Schedule M-1, line 4             69                         16253
      Identify: SEE STATEMENT 19



 70 Add lines 66 through 69 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           70                   -1060433
 71 Income recorded on books this year not included on return,
         from Schedule M-1, line 6                   71                     1807694
          Identify: SEE STATEMENT 20



 72 Deductions included on return not charged against book
     income this year, from Schedule M-1, line 7              72                       175842
      Identify: SEE STATEMENT 21



 73 Add lines 71 and 72 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             73                    1983536

 74 Income (loss) (subtract line 73 from line 70) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               74                   -3043969


Section 6 - Analysis of partners' capital accounts (from federal Form 1065, Schedule M-2)


 75 Balance at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         75                    5678256
 76 Capital contributed - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         76
 77 Capital contributed - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       77
 78 Net income (loss) per books ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          78                   -3043969
 79 Other increases                                                79                    1807694
      Identify: SEE STATEMENT 22



 80 Add lines 75 through 79                                            80                    4441981
 81 Distributions - cash ~~~~~~~~~~~~~~~~~~~~~~~ 81
 82 Distributions - property ~~~~~~~~~~~~~~~~~~~~~                      82
 83 Other decreases                             83                         16253
       Identify: SEE STATEMENT 23



 84 Add lines 81, 82, and 83 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           84                         16253

 85 Balance at end of year (subtract line 84 from line 80) ~~~~~~~~~~~~~~~~~~~~~~~~~~                          85                    4425728
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                                                                                                                             268506 11-04-22
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Section 7 - Partners' share of income, deductions, etc. (from federal Form 1065, Schedule K)

Partners' distributive share items
 86 Ordinary business income (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    86             -3211890
 87 Net rental real estate income (loss) (submit federal Form 8825) ~~~~~~~~~~~~~~~~~~~~~                   87


88a Other gross rental income (loss) ~~~~~~~~~~~~~~~~                   88a
88b Expenses from other rental activities ~~~~~~~~~~~~~                 88b


 89 Other net rental income (loss) (subtract line 88b from line 88a) ~~~~~~~~~~~~~~~~~~~~~                  89
 90 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            90                  19014
 91 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            91                 168957
 92 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           92
 93 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               93
 94 Net short-term capital gain (loss) (submit federal Schedule D) ~~~~~~~~~~~~~~~~~~~~~~                   94
 95 Net long-term capital gain (loss) (submit federal Schedule D) ~~~~~~~~~~~~~~~~~~~~~~                    95
 96 Net section 1231 gain (loss) (submit federal Form 4797) ~~~~~~~~~~~~~~~~~~~~~~~~                        96
 97 Other income (loss) (see instructions)                                 97
      Identify:



 98 Section 179 deduction (submit federal Form 4562) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                            98
 99 Other deductions (see instructions)                                   99                   20050
      Identify:   SEE STATEMENT 24


100 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                100




101 Net earnings (loss) from self-employment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               101                  1124
102 Tax-exempt income and nondeductible expenses (see instructions) ~~~~~~~~~~~~~~~~~~                     102               1823947
103 Distributions - cash and marketable securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           103
104 Distributions - other property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   104
105 Other items not included above that are required to be reported separately to partners (see instr.)    105             33234364
        Identify:   SEE STATEMENT 25


Analysis of net income (loss)
106 Enter the amount from line 1 of the Analysis of Net Income (Loss ) section on federal Form 1065   ~~~~ 106             -3043969

Analysis by type of partner

                               A                     B                    C                    D                E              F
                           Corporate            Individual            Individual          Partnership        Exempt       Nominee/other
                                                  (active)             (passive)                           organization

General partners


Limited partners                                                       -511454           -2496219                              -36296
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                                                                                                        IT-204 (2022)   Page 7 of 9
Section 8 - New York modifications (see instructions)

  107    This line intentionally left blank


  108    Total addition modifications (from Form IT-225, line 9) ~~~~~~~~~~~~~~~~~~~~~~~~         108


  109    This line intentionally left blank


  110    Total subtraction modifications (from Form IT-225, line 18) ~~~~~~~~~~~~~~~~~~~~~~       110                    85336

  111    Additions to itemized deductions
        Letter               Amount                          Letter       Amount
111a                                                  111d
111b                                                  111e
111c                                                  111f


  112    Total additions to itemized deductions (add lines 111a through 111f) ~~~~~~~~~~~~~~~~~   112


  113    Subtractions from itemized deductions
        Letter              Amount                           Letter       Amount
113a                                                  113d
113b                                                  113e
113c                                                  113f


  114    Total subtractions from itemized deductions (add lines 113a through 113f) ~~~~~~~~~~~~~~ 114


  115    This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                   115


Section 9 - Other information

 116a New York source gross income (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~ 116a              17280951
 116b MCTD allocation percentage    (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 116b  100.0000  %
 116c Total receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~~~~~~~~ 116c
 116d New York adjusted basis of qualified manufacturing property     ~~~~~~~~~~~~~~~~~~~~ 116d


 117a Did the partnership sell assets subject to IRC 1060?                  Yes          No   X
 117b If the partnership filed a group return on behalf of any nonresident partners, enter the special
         NYS identification number ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 117b
 117c Is this partnership a partner in another partnership or LLC? (If Yes, list the names and EINs below;
         submit additional sheets if necessary.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                     Yes          No   X

                                                 Name of entity                                               EIN
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                                                                                                                                            268508 11-04-22
Page 8 of 9    IT-204 (2022)
Section 10 - New York allocation schedule
Part 1 - List all places, both in and outside of NYS, where the partnership carries on business (submit additional sheets if necessary)

                      Street address                                       City and state                           Description (see instructions)




  118 Was the books and records method used to reflect income earned in New York? (If No, complete Part 2.) ~~~~~~~~Yes                          No    X

Part 2 - Formula basis allocation of income if books and records do not reflect income earned in New York

  Items used as factors                      A - Totals - in and outside of NYS             B - New York State amounts            C - Percent col. B
  Property percentage (see inst.)                          Dollars                                     Dollars                        is of col. A
  119 Real property owned ~~~~~             119                   9108139            119                      6130665
  120 Real property rented from others      120                  31044608            120                     26586168
  121 Tangible personal propert y owned     121                    201883            121                       174931
 121a Tangible personal property
          rented from others               121a                                   0 121a                                   0
  122 Property percentage (add lines
        119 through 121a; see instruct.)   122                   40354630            122                     32891764 122            81.5068               %
  123 Payroll percentage (see instruct.) 123                      4565084            123                      3285343 123            71.9668               %
  124 Gross income percentage (see instr.) 124                   22078281       124                          17092933 124            77.4197               %
  125 Total of percentages (total column C, lines 122, 123, and 124) ~~~~~~~~~~~~~~~~~~~~~~~~~                                  125 230.8933               %
  126 Business allocation percentage (divide line 125 by three or by actual number of percentages if less than three)           126  76.9644               %


Section 11 - Partners' credit information (see instructions)

Has the partnership (or an entity of which the partnership is an owner) been convicted of Bribery
  Involving Public Servants and Related Offenses, Corrupting the Government, or Defrauding the
   Government (NYS Penal Law Article 200 or 496, or section 195.20)? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     Yes        No    X

Part 1 - Flow-through credit bases and information

Brownfield redevelopment tax credit (Form IT-611, IT-611.1, and/or IT-611.2)
  127 Site preparation credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          127
  128 Tangible property credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          128
  129 On-site groundwater remediation credit component ~~~~~~~~~~~~~~~~~~~~~~~~~                                   129


  130 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       130
  131 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       131
 132 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        132
QEZE tax reduction credit (Form IT-604)
  133 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            133
  134 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            134
  135 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             135
Excelsior jobs program tax credit (Form IT-607)
  136 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          136
  137 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       137
  138 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~                                 138
  139 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     139
139a Excelsior child care services tax credit component      ~~~~~~~~~~~~~~~~~~~~~~~~                             139a
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                                                                                                                            IT-204 (2022)   Page 9 of 9

Part 1 - Flow-through credit bases and information (continued)
Farmers' school tax credit (Form IT-217)
  140 Acres of qualified agricultural property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      140
  141 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        141
  142 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    142
  143 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~                     143
Other flow-through credit bases and information
        Credit bases
           Code                 Amount                                  Code                  Amount
 144a                                                          144d
 144b                                                          144e
 144c                                                          144f


         Credit information
           Code                Information                              Code                 Information
 144g                                                          144j
 144h                                                          144k
 144i                                                          144l

Part 2 - Flow-through credits, addbacks and recaptures
  145 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      145
 146a Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212) 146a
 146b Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~ 146b
  147 Other flow-through credits
           Code                 Amount                                  Code                  Amount
 147a                                                          147e
 147b                                                          147f
 147c                                                          147g
 147d                                                          147h


  148 Addbacks of credits and recaptures
           Code                 Amount                                  Code                  Amount
 148a                                                          148d
 148b                                                          148e
 148c                                                          148f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
   149 START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~                                  149
   150 Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~                                    150
   151 START-UP NY area allocation factor      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      151

Section 12 - New York adjustments due to decoupling from the IRC                             (see instructions)


     1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                1
     2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              2
                            Case 24-10856-JKS                 Doc 1         Filed 04/25/24   Page 385 of 733
                                                                                                                                 288811 12-01-22
                       Department of Taxation and Finance
                       New York Corporate Partners' Schedule K
                       Tax Law - Article 9-A
                                                                                                                              IT-204.1
For calendar year 2022 or tax year beginning                                  and ending

Partnership's name (as shown on Form IT-204)                                                              Partnership's EIN

 STICKYS HOLDINGS LLC                                                                                               462153586

Entire net income (ENI) information when the corporate partner's New York tax filing status is a C corporation

ENI addition modifications

  1    Total additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1

         A - Number                B - Amount                               A - Number       B - Amount
  1a      EA -                                                      1d      EA -
  1b      EA -                                                      1e      EA -
  1c      EA -                                                       1f     EA -




ENI subtraction modifications

  2    Total subtractions   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      2                           85336

         A - Number                B - Amount                               A - Number       B - Amount
  2a      ES - 205                              16003               2d      ES -
  2b      ES - 507                              69333               2e      ES -
  2c      ES -                                                       2f     ES -




Assets and liabilities (see instructions)
                                                                                                                        Average value
  3    Total assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           3                      8857786
  4    Real property and marketable securities included on line 3   ~~~~~~~~~~~~~~~~~~~~~~                  4
  5    Real property and marketable securities at fair market value (FMV)    ~~~~~~~~~~~~~~~~~~             5
  6    Average value of adjusted total assets   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            6                      8857786
  7    Total liabilities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       7                      4866795
  8    Liabilities directly attributable to business capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~                    8
  9    Liabilities directly attributable to investment capital ~~~~~~~~~~~~~~~~~~~~~~~~~~                   9
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                                                                                                                                           288812 11-04-22
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Items related to investment capital under Article 9-A
Part 1 - Investment capital that generates income claimed not taxable by New York under the U.S. Constitution
Description of asset (identify each asset, and enter number of shares (if applicable) and date acquired here; for each asset complete columns D
through G on the corresponding lines below; enter only directly owned assets in items A through F and Total from additional sheet(s))
 Item                                     A - Description of asset                                    B - Number of shares         C - Date acquired
                                                                                                      acquired, if applicable
  A
  B
  C
  D
  E
  F
 Item               D                           E                          F                                G                            H
                Number of                    Date sold                  Average                   Liabilities directly              Net average
         shares sold, if applicable                                      FMV                         attributable                       FMV
  A
  B
  C
  D
  E
  F
 Total from additional sheet(s)   
 Total from partnerships 
 10 Total columns F and G ~~~~~~~~~~~~                    10


Part 2 - Investment capital - stocks actually held more than one year
Description of investment (identify each investment, and enter number of shares and date acquired here; for each investment complete columns D
through G on the corresponding lines below; enter only directly owned investments in items A through F and Total from additional sheet(s))
 Item                                 A - Name/CUSIP/CINS/lot number                               B - Number of shares acquired   C - Date acquired
  A
  B
  C
  D
  E
  F
 Item               D                           E                          F                                G                            H
               Number of                     Date sold                  Average                   Liabilities directly              Net average
               shares sold                                               FMV                         attributable                       FMV
  A
  B
  C
  D
  E
  F
 Total from additional sheet(s)   
 Total from partnerships 
 11 Total columns F and G ~~~~~~~~~~~~                    11
                              Case 24-10856-JKS               Doc 1       Filed 04/25/24            Page 387 of 733

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Part 3 - Investment capital - stocks presumed held more than one year
Description of investment (identify each investment, and enter number of shares and date acquired here; for each investment complete columns F
and G on the corresponding lines below; enter only directly owned investments in items A through F and Total from additional sheet(s))
 Item                              A - Name/CUSIP/CINS/lot number                                  B - Number of shares acquired     C - Date acquired
   A
   B
   C
   D
   E
   F
 Item             D - Number of          E - Date sold             F - Average FMV             G - Liabilities directly            H - Net average
                   shares sold                                                                      attributable                        FMV
   A
   B
   C
   D
   E
   F
 Total from additional sheet(s) 
 Total from partnerships 
 12 Total columns F and G ~~~~~~~~~~~~                   12

Part 4 - Total investment capital
 13 Total average FMV and liabilities directly attributable (add lines 10, 11, and 12 in columns F and G)
                                                         13


Part 5 - Prior year investment capital - stocks that did not meet holding period requirement (see instructions)
Description of investment (identify each investment, and enter number of shares and date acquired here; for each investment complete columns D
through G on the corresponding lines below; enter only directly owned investments in items A through F and Total from additional sheet(s))
 Item                              A - Name/CUSIP/CINS/lot number                                  B - Number of shares acquired     C - Date acquired
   A
   B
   C
   D
   E
   F
 Item             D - Number of          E - Date sold              F - Average FMV              G - Liabilities directly          H - Net average
                   shares sold                                   as previously reported    attributable as previously reported          FMV
   A
   B
   C
   D
   E
   F
 Total from additional sheet(s) 
 Total from partnerships 
 14 Total columns F and G ~~~~~~~~~~~~                   14


Part 6 - Prior year gross investment income for stocks that did not meet holding period requirement


 15 Prior year presumed gross investment income from stocks presumed in the prior year to be held
      more than one year that failed to meet the presumption ~~~~~~~~~~~~~~~~~~~~~~~~~                                    15
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Items related to investment and other exempt income under Article 9-A
 16 Gross exempt cross-article dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   16
 17 Gross exempt controlled foreign corporation (CFC) income ~~~~~~~~~~~~~~~~~~~~~~                          17
 18 Gross exempt unitary corporation dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 18
 19 Gross investment income from investments generating income not taxable by New York
       State under the U.S. Constitution ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  19
 20 Dividend income from investment capital from stocks actually held more than one year ~~~~~~~~            20
 21 Net capital gains or losses from investment capital from stocks actually held more than
       one year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               21
 22 Dividend income from investment capital from stocks presumed held more than one year ~~~~~~~             22

Items related to interest deductions directly attributable to investment and other exempt income under Article 9-A
  23 Total interest expense per federal Form 1065, line 15 ~~~~~~~~~~~~~~~~~~~~~~~~~   23                  98198
 24 Interest deductions directly attributable to income reported on line 16   ~~~~~~~~~~~~~~~~               24
 25 Interest deductions directly attributable to income reported on line 17   ~~~~~~~~~~~~~~~~               25
 26 Interest deductions directly attributable to income reported on line 18   ~~~~~~~~~~~~~~~~               26
 27 Interest deductions directly attributable to income reported on line 19   ~~~~~~~~~~~~~~~~               27
 28 Interest deductions directly attributable to income reported on line 20   ~~~~~~~~~~~~~~~~               28
 29 Interest deductions directly attributable to income reported on line 21   ~~~~~~~~~~~~~~~~               29
 30 Interest deductions directly attributable to income reported on line 22 ~~~~~~~~~~~~~~~~                 30
 31 Interest deductions directly attributable to business capital ~~~~~~~~~~~~~~~~~~~~~                      31

Items related to subtraction modifications for qualified banks
 32 Qualified residential loan portfolio assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              32
 33 Gross interest income from qualifying loans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               33
33a Gross interest income from all loans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  33a
33b Gross interest expense from all loans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 33b

Items related to manufacturing
 34 Total receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~~~~~~~~~                          34
 35 New York adjusted basis of qualified manufacturing property ~~~~~~~~~~~~~~~~~~~~~                        35
 36 Number of employees employed in manufacturing in New York          ~~~~~~~~~~~~~~~~~~~~                  36

Apportionment and Metropolitan Commuter Transportation District (MCTD) information
Apportionment - Part 1
  1 During the reporting year, did the partnership do business, employ capital, own or lease property,
     maintain an office, or derive receipts from activity, in New York State? (mark an X in the appropriate box) ~~~~~ Yes            No
  2 During the reporting year, did the partnership do business, employ capital, own or lease property,
     maintain an office, or derive receipts from activity, in the MCTD? (mark an X in the appropriate box) ~~~~~~~ Yes                No


Average value of property                                                                           A                             B
 (see instructions for Apportionment - Part 1, lines 3 through 7)                                  MCTD                      New York State
  3 Real estate owned ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  3
  4 Real estate rented ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 4
  5 Inventories owned ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  5
  6 Tangible personal property owned       ~~~~~~~~~~~~~~~~~~~~~~                     6
  7 Tangible personal property rented ~~~~~~~~~~~~~~~~~~~~~~~                         7
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Apportionment - Part 2                                                           A                  B                        C
Receipts from: (see instructions for Apportionment -                            MCTD           New York State           Everywhere
  Part 2, lines 1 through 53a)
Section 210-A.2
  1 Sales of tangible personal property ~~~~~~~~~~~                     1
   2 Sales of electricity ~~~~~~~~~~~~~~~~~~~                           2
   3 Net gains from sales of real property                    3
Section 210-A.3
  4 Rentals of real and tangible personal property ~~~~~~               4
   5 Royalties from patents, copyrights, trademarks, and
      similar intangible personal property ~~~~~~~~~~                   5
   6 Sales of rights for certain closed-circuit and cable
      TV transmissions of an event                         6
Section 210-A.4
  7 Sale, licensing, or granting access to digital products             7
 7a Sale, licensing, or granting access to digital products            7a
  8 This line intentionally left blank                     8
Section 210-A.5(a)(2)(A)
  9 Interest from loans secured by real property ~~~~~~~                9
 10 Net gains from sales of loans secured by real property             10
 11 Interest from loans not secured by real property                   11
 12 Net gains from sales of loans not secured by
      real property                                  12
Section 210-A.5(a)(2)(B)
 13 Interest from federal debt                         13
 14
 15 Interest from NYS and its political subdivisions debt              15
 16 Net gains from federal, NYS, and NYS political subdivisions debt   16
 17 Interest from other states and their political
      subdivisions debt ~~~~~~~~~~~~~~~~~~~                            17
 18 Net gains from other states and their political
     subdivisions debt                              18
Section 210-A.5(a)(2)(C)
 19 Interest from asset-backed securities and other
         government agency debt ~~~~~~~~~~~~~~~                        19
 20 Net gains from government agency debt or
     asset-backed securities sold through an exchange                  20
 21 Net gains from all other asset-backed securities ~~~~~             21
Section 210-A.5(a)(2)(D)
 22 Interest from corporate bonds        ~~~~~~~~~~~~~                 22
 23 Net gains from corporate bonds sold through
     broker/dealer or licensed exchange ~~~~~~~~~~                     23
 24 Net gains from other corporate bonds ~~~~~~~~~~                    24
Section 210-A.5(a)(2)(E)
 25 Net interest from reverse repurchase and securities
       borrowing agreements                            25
Section 210-A.5(a)(2)(F)
 26 Net interest from federal funds ~~~~~~~~~~~~~                      26
Section 210-A.5(a)(2)(I)
 27 Net income from sales of physical commodities ~~~~~                27
Section 210-A.5(a)(2)(J)
 28 Marked to market net gains                          28
                           Case 24-10856-JKS                  Doc 1   Filed 04/25/24   Page 390 of 733
                                                                                                              288816 11-04-22
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                                                                           A                  B                C
Receipts from: (continued)                                                MCTD           New York State   Everywhere
Section 210-A.5(a)(2)(H)
        210-A.5(a)(2)(G)
  29 Interest from other financial instruments ~~~~~~~~          29
  30 Net gains from other financial instruments ~~~~~~~          30
 30a Net gains from other financial instruments
      (broker/dealer/exchange) ~~~~~~~~~~~~~~~ 30a
 30b Other income from other financial instruments ~~~~~ 30b
 30c Other income from other financial instruments
       (broker/dealer/exchange) ~~~~~~~~~~~~~~~ 30c
 30d Dividends from stock that is business capital ~~~~~~ 30d
 30e Net gains from sales of stock that is business capital ~~ 30e
 30f Net gains from sales of partnership interests  30f
Section 210-A.5(b)
  31 Brokerage commissions       ~~~~~~~~~~~~~~~~                31
  32 Margin interest earned on behalf of brokerage accounts      32
  33 Fees for advisory services for underwriting
        or management of underwriting ~~~~~~~~~~~~               33
  34 Receipts from primary spread of selling concessions         34
  35 Receipts from account maintenance fees ~~~~~~~~             35
  36 Fees for management or advisory services ~~~~~~~            36
  37 Interest from an affiliated corporation           37
Section 210-A.5(c)
  38 Interest, fees, and penalties from credit cards ~~~~~~      38
  39 Service charges and fees from credit cards ~~~~~~~          39
  40 Receipts from merchant discounts ~~~~~~~~~~~                40
  41 Receipts from credit card authorizations and
      settlement processing ~~~~~~~~~~~~~~~~                     41
  42 Other credit card processing receipts             42
Section 210-A.5(d)
  43 Receipts from certain services to investment companies      43
  44 This line intentionally left blank             44
Section 210-A.6
  45 Receipts from railroad and trucking business          45
Section 210-A.6-a
  46 Receipts from the operation of vessels             46
Section 210-A.7
  47 Receipts from air freight forwarding ~~~~~~~~~~~            47
  48 Receipts from other aviation services             48
Section 210-A.8
  49 Advertising in newspapers or periodicals ~~~~~~~~           49
  50 Advertising on television or radio ~~~~~~~~~~~~             50
  51 Advertising via other means                   51
Section 210-A.9
  52 Transportation or transmission of gas through pipes         52
Section 210-A.10
  53 Receipts from other services/activities not specified       53
 53a Receipts from other services/activities not specified      53a
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                                                                                                        A                          B
Payroll                                                                                                MCTD                   New York State
 54 Wages and other compensation of employees except general executive officers ~~~~~~~   54
 55 Average number of individuals employed full-time in New York State (excluding employees with
         partnership-wide authority) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55



Gross proceeds or receipts from certain sales                                   A                       B                           C
  (for apportionment purposes) (see instructions)                              MCTD                New York State              Everywhere
 56 Sales of loans secured by real property ~~~~~~~~~            56
 57 Sales of loans not secured by real property ~~~~~~~          57
 58 Sales of other asset-backed securities ~~~~~~~~~             58
 59 Sales of corporate bonds ~~~~~~~~~~~~~~~~                    59
 60 Sales of physical commodities ~~~~~~~~~~~~~                  60


Marked to market net gain or loss from deemed sales (for apportionment purposes)
 61 Of loans secured by real property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   61
 62 Of loans not secured by real property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 62
 63 Of federal debt instruments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      63
 64 Of New York State and its political subdivisions debt instruments ~~~~~~~~~~~~~~~~~~~                   64
 65 Of other states and their political subdivisions debt instruments ~~~~~~~~~~~~~~~~~~~~                  65
 66 Of government agency debt or asset-backed securities (through exchange) ~~~~~~~~~~~~~~                  66
 67 Of all other asset-backed securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 67
 68 Of corporate bonds through licensed exchange or broker/dealer ~~~~~~~~~~~~~~~~~~~~                      68
 69 Of other corporate bonds ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        69
 70 Of physical commodities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         70
 71 Of other financial instruments of one type ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              71


Items related to repurchase agreements and securities borrowing/lending agreements
 72   Value of reverse repurchase agreements when partnership is purchaser/lender   ~~~~~~~~~~~~            72
 73   Value of borrowing agreements when partnership is securities borrower ~~~~~~~~~~~~~~~~                73
 74   Value of repurchase agreements when partnership is seller/borrower    ~~~~~~~~~~~~~~~~~               74
 75   Value of lending agreements when partnership is securities lender ~~~~~~~~~~~~~~~~~~~                 75
 76   Interest income from reverse repurchase agreements and securities borrowing agreements   ~~~~~~       76
 77   Interest expense from repurchase agreements and securities lending agreements ~~~~~~~~~~~             77


New York adjustments due to decoupling from the IRC (see instructions)
  1   Total of New York additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      1
  2   Total of New York subtractions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     2
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                            DISREGARDED ENTITIES INCLUDED          STATEMENT 12
                                   IN THIS RETURN
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                 NAME                                            FEIN
    }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                    }}}}}}}}}}
    STICKYS FINGERS LLC                                       XX-XXXXXXX
    STICKYS FINGERS II LLC                                    XX-XXXXXXX
    STICKYS FINGERS III LLC                                   XX-XXXXXXX
    STICKYS FINGERS IV LLC                                    XX-XXXXXXX
    STICKYS FINGERS V LLC                                     XX-XXXXXXX
    STICKYS FINGERS VI LLC                                    XX-XXXXXXX
    STICKYS FINGERS VII LLC                                   XX-XXXXXXX
    STICKYS FINGERS VIII LLC                                  XX-XXXXXXX
    STICKYS FINGERS IX LLC                                    XX-XXXXXXX
    STICKYS BK I LLC                                          XX-XXXXXXX
    STICKYS WC I LLC                                          XX-XXXXXXX




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204                         OTHER INCOME                   STATEMENT 13
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                        AMOUNT
  }}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
  OTHER INCOME                                                                          10,538.
                                                                                 }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204, PAGE 2, LINE 9                                                  10,538.
                                                                                 ~~~~~~~~~~~~~~




                                            38                   STATEMENT(S) 12, 13
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 393 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204                       OTHER DEDUCTIONS                 STATEMENT 14
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  ADVERTISING                                                                         171,360.
  AMORTIZATION EXPENSE                                                                 20,340.
  BANK & CC FEES                                                                      349,333.
  CASH SHORT                                                                           12,015.
  DE MINIMIS EQUIPMENT EXPENSE                                                         47,913.
  DELIVERY FEE EXPENSE                                                              1,335,234.
  DUES & SUBSCRIPTIONS                                                                170,277.
  EXPENSE ADJUSTMENTS/REIMBURSEMENTS                                                  -77,823.
  GENERAL EXPENSES                                                                     16,223.
  INSURANCE                                                                             2,575.
  KITCHEN EXPENSE                                                                     291,851.
  LINEN & UNIFORM                                                                      30,000.
  MEALS NOT SUBJECT TO LIMITATION                                                       1,990.
  MISCELLANEOUS EXPENSE                                                                    970.
  OFFICE SUPPLIES                                                                      27,962.
  OPERATING EXPENSES                                                                  146,176.
  PAYROLL PROCESSING FEES                                                              85,084.
  PROFESSIONAL FEES                                                                   342,125.
  SUPPLIES                                                                             29,020.
  TRAVEL                                                                               74,380.
  UTILITIES AND TELEPHONE                                                             842,736.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204, PAGE 2, LINE 24                                             3,919,741.
                                                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204                     OTHER CURRENT ASSETS               STATEMENT 15
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
  DESCRIPTION                                                TAX YEAR         YEAR
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CORPORATE ACCOUNTS                                                  0.        52,007.
  ERTC CREDIT RECEIVABLE                                        540,215.              0.
  PREPAID EXPENSES                                              133,485.       396,864.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204, PAGE 4, LINE 46                         673,700.       448,871.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            39                   STATEMENT(S) 14, 15
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 394 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204                         OTHER ASSETS                   STATEMENT 16
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
  DESCRIPTION                                                TAX YEAR         YEAR
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  SECURITY DEPOSITS                                             955,274.     1,294,633.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204, PAGE 4, LINE 56                         955,274.     1,294,633.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204                   OTHER CURRENT LIABILITIES            STATEMENT 17
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
  DESCRIPTION                                                TAX YEAR         YEAR
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CREDIT CARD PAYABLE                                           -10,151.        65,797.
  ACCRUED EXPENSES                                              798,582.       301,468.
  SALES TAX PAYABLE                                             127,379.       127,141.
  GIFT CARD LIABILITY                                            11,896.        13,797.
  TIPS PAYABLE                                                        0.        14,579.
  DEFERRED RENT                                                       0.       339,700.
  TRAVELER'S INSURANCE                                                0.        12,252.
  DEFERRED MARKETING                                                  0.        14,705.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204, PAGE 4, LINE 60                         927,706.       889,439.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204            INCOME NOT RECORDED ON BOOKS THIS YEAR      STATEMENT 18
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}


  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  GIFT CARD INCOME                                                                     13,797.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204, PAGE 5, LINE 67                                                13,797.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204       EXPENSES RECORDED ON BOOKS NOT DEDUCTED IN RETURN STATEMENT 19
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  ADJUSTMENT FOR FORM 8846 CREDIT                                                      16,003.
  PENALTIES                                                                                250.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204, PAGE 5, LINE 69                                                16,253.
                                                                                ~~~~~~~~~~~~~~



                                            40           STATEMENT(S) 16, 17, 18, 19
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 395 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204        INCOME RECORDED ON BOOKS NOT INCLUDED ON RETURN STATEMENT 20
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                              1,807,694.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204, PAGE 5, LINE 71                                             1,807,694.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204        DEDUCTIONS ON RETURN NOT CHARGED AGAINST BOOKS  STATEMENT 21
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  DEFERRED PAYROLL TAXES                                                               75,388.
  DEFERRED RENT                                                                       100,454.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204, PAGE 5, LINE 72                                               175,842.
                                                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204                        OTHER INCREASES                 STATEMENT 22
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  OTHER TAX-EXEMPT INCOME                                                           1,807,694.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204, PAGE 5, LINE 79                                             1,807,694.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204                        OTHER DECREASES                 STATEMENT 23
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                        AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  NONDEDUCTIBLE EXPENSES                                                               16,253.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204, PAGE 5, LINE 83                                                16,253.
                                                                                ~~~~~~~~~~~~~~




                                            41           STATEMENT(S) 20, 21, 22, 23
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 396 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204                       OTHER DEDUCTIONS                 STATEMENT 24
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                        AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  HEALTH INSURANCE PREMIUMS                                                            19,014.
  CONTRIBUTIONS                                                                         1,036.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204, PAGE 6, LINE 99                                                20,050.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204             ITEMS REPORTED SEPARATELY TO PARTNERS      STATEMENT 25
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                        AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  INVESTMENT INCOME                                                                   168,957.
  EXCESS BUSINESS INTEREST INCOME                                                      70,759.
  GROSS RECEIPTS FOR SECTION 448(C)                                                22,253,892.
  SECTION 199A - ORDINARY INCOME (LOSS)                                            -3,211,890.
  SECTION 199A W-2 WAGES                                                            4,565,084.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                                           9,174,684.
  BUSINESS INTEREST EXPENSE                                                            98,198.
  SEC 179 EXPENSE DISALLOWED DUE TO TRADE OR BUSINESS INCOME
  LIMIT                                                                               114,680.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204, PAGE 6, LINE 105                                           33,234,364.
                                                                                ~~~~~~~~~~~~~~




                                            42                   STATEMENT(S) 24, 25
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                            Case 24-10856-JKS                 Doc 1        Filed 04/25/24        Page 397 of 733
                                      Department of Taxation and Finance                                                                  288391 12-14-22

                                      New York State Modifications                                                                   IT-225
                                      Attachment to Form IT-201, IT-203, IT-204, or IT-205

 Name(s) as shown on return                                                                                      Identifying number as shown on return


  STICKYS HOLDINGS LLC                                                                                                    462153586
Complete all parts that apply to you; see instructions (Form IT-225-I). Submit this form with Form IT-201, IT-203, IT-204, or IT-205.


Mark an X in the box identifying the return you are filing:       IT-201            IT-203        IT-204    X        IT-205



Schedule A - New York State additions (enter whole dollars only)

Part 1 - Individuals, partnerships, and estates or trusts
 1     New York State additions
           Number                        A - Total amount                     B - NYS allocated amount
 1a     A-                                                       .00                                       .00
 1b     A-                                                       .00                                       .00
 1c     A-                                                       .00                                       .00
 1d     A-                                                       .00                                       .00
 1e     A-                                                       .00                                       .00
  1f    A-                                                       .00                                       .00
 1g     A-                                                       .00                                       .00


 2     Total (add column A, lines 1a through 1g)    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                2                                   .00
 3     Total of Schedule A, Part 1, column A amounts from additional Form(s) IT-225, if any   ~~~~~~~~           3                                   .00



 4     Add lines 2 and 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              4                                   .00

Part 2 - Partners, shareholders, and beneficiaries

          Form IT-201 filers: do not enter EA-113
          Form IT-203 filers: do not enter EA-113
          Form IT-205 filers: do not enter EA-113 or EA-201

 5     New York State additions
           Number                        A - Total amount                     B - NYS allocated amount
 5a     EA -                                                     .00                                       .00
 5b     EA -                                                     .00                                       .00
 5c     EA -                                                     .00                                       .00
 5d     EA -                                                     .00                                       .00
 5e     EA -                                                     .00                                       .00
  5f    EA -                                                     .00                                       .00
 5g     EA -                                                     .00                                       .00


 6     Total (add column A, lines 5a through 5g)    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                6                                   .00
 7     Total of Schedule A, Part 2, column A amounts from additional Form(s) IT-225, if any   ~~~~~~~~           7                                   .00



 8     Add lines 6 and 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              8                                   .00



 9     Total additions (add lines 4 and 8; see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~                           9                                  .00
                                                                                                                                            (continued)
                              Case 24-10856-JKS              Doc 1       Filed 04/25/24         Page 398 of 733

IT-225 (2022) (Page 2 of 2)                                                                                        288392 12-14-22




Schedule B - New York State subtractions (enter whole dollars only)
Part 1 - Individuals, partnerships, and estates or trusts

10    New York State subtractions
            Number                      A - Total amount                     B - NYS allocated amount
10a    S-  205                                        16003 .00                               12317 .00
10b    S - 210                                        68676 .00                               68676 .00
10c    S - 214                                          657 .00                                 657 .00
10d    S-                                                       .00                                     .00
10e    S-                                                       .00                                     .00
10f    S-                                                       .00                                     .00
10g    S-                                                       .00                                     .00


11    Total (add column A, lines 10a through 10g)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              11   85336 .00
12    Total of Schedule B, Part 1, column A amounts from additional Form(s) IT-225, if any   ~~~~~~~~         12              .00



13    Add lines 11 and 12     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        13   85336 .00

Part 2 - Partners, shareholders, and beneficiaries

         Form IT-201 filers: do not enter ES-106, ES-107, or ES-125
         Form IT-203 filers: do not enter ES-106, ES-107, or ES-125
         Form IT-205 filers: do not enter ES-125

14    New York State subtractions
            Number                      A - Total amount                     B - NYS allocated amount
14a    ES -                                                     .00                                     .00
14b    ES -                                                     .00                                     .00
14c    ES -                                                     .00                                     .00
14d    ES -                                                     .00                                     .00
14e    ES -                                                     .00                                     .00
14f    ES -                                                     .00                                     .00
14g    ES -                                                     .00                                     .00


15    Total (add column A, lines 14a through 14g)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              15              .00
16    Total of Schedule B, Part 2, column A amounts from additional Form(s) IT-225, if any   ~~~~~~~~         16              .00



17    Add lines 15 and 16     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        17              .00



18    Total subtractions (add lines 13 and 17; see instructions) ~~~~~~~~~~~~~~~~~~~~~~                       18   85336 .00
                                   Case 24-10856-JKS                      Doc 1          Filed 04/25/24           Page 399 of 733
                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1                  1
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    PAUL ABRAHAMIAN                                                                                                                                      4851
    Partner's address


    City                                                                      State                  ZIP code


D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)   X    Individual             Estate/trust            Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1           0.1928%                 0.1093%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2           0.1928%                 0.1093%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3           0.1252%                 0.1279%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1                              5163
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1                            16266
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4                            -1368
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7                            14898
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
                 NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
            X    NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 400 of 733
                                                                                                                                            288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                            Yes            No   X

N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                        Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                        Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P             Yes            No   X
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)       Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                 C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                       -3512          1                         -2703
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                      2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                      3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                      4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                            185       5                              142
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                      6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                      7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                      8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                      9
    10 Net section 1231 gain (loss)                        10                                     10
    11 Other income (loss)     Identify:                                     11                                     11
    12 Section 179 deduction                             12                                     12
    13 Other deductions    Identify: SEE STATEMENT                           13                               1     13                                  1
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                     14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                     15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                        1994         16                           1535
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                     17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                     18
    19 Other items not included above that are required to be
          reported separately to partners                     19                       36340         19                         27968
           Identify:  SEE STATEMENT
                          Case 24-10856-JKS           Doc 1      Filed 04/25/24            Page 401 of 733

288861 11-04-22                                                                                          IT-204-IP (2022)   Page 3 of 5
Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount        B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount        B - New York State allocated amount
 22a      ES- 205                               17                            13
 22b      ES- 210                               75                            75
 22c      ES- 214                                1                             1
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~   23                             93

    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~        25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~      27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                       28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 402 of 733

Page 4 of 5       IT-204-IP (2022)                                                                                              288862 11-04-22

Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a                   18896
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
                           Case 24-10856-JKS                   Doc 1        Filed 04/25/24           Page 403 of 733

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Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 404 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                     AMOUNT FROM     NEW YORK
                                                       FEDERAL         STATE
  DESCRIPTION                                       SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                     1.             1.
                                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 13                     1.             1.
                                                   ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            AMOUNT FROM     NEW YORK
                                                              FEDERAL         STATE
  DESCRIPTION                                              SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INVESTMENT INCOME                                                 185.            142.
  BUSINESS INTEREST EXPENSE                                         107.             82.
  EXCESS BUSINESS INTEREST INCOME                                     77.            59.
  GROSS RECEIPTS FOR SECTION 448(C)                              24,334.        18,729.
  SECTION 179 EXPENSE DISALLOWED DUE TO BUSINESS
  INC                                                               125.            96.
  SECTION 199A W-2 WAGES                                          4,992.         3,842.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                        10,032.         7,721.
  SECTION 199A ORDINARY INCOME/LOSS                              -3,512.        -2,703.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 19                       36,340.        27,968.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            50                      PARTNER NUMBER 1
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                   Case 24-10856-JKS                      Doc 1          Filed 04/25/24           Page 405 of 733
                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1                  2
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    JONATHAN SHERMAN                                                                                                                                     1191
    Partner's address


    City                                                                      State                  ZIP code


D      The partner is a (mark an X in the appropriate box)      X      General partner or LLC member-manager                     Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)   X    Individual             Estate/trust            Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1           2.8998%                 0.5560%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2           2.8998%                 0.5560%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3           1.0017%                 1.0783%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1                           26253
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1                          -37888
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4                            -6966
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7                          -44854
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
            X    NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
                 NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 406 of 733
                                                                                                                                           288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                           Yes            No


N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P            Yes            No   X
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)      Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                       -17858        1                       -17858
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                     2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                     3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                        19014        4                         19014
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                          939        5                           939
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                     6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                     7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                     8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                     9
    10 Net section 1231 gain (loss)                        10                                    10
    11 Other income (loss)     Identify:                                     11                                    11
    12 Section 179 deduction                             12                                    12
    13 Other deductions    Identify: SEE STATEMENT                           13                        19020       13                         19020
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                    14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                         1124       15                          1124
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                        10141       16                         10141
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                    17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                    18
    19 Other items not included above that are required to be
          reported separately to partners                     19                       184780       19                       184780
           Identify:  SEE STATEMENT
                          Case 24-10856-JKS            Doc 1      Filed 04/25/24            Page 407 of 733

288861 11-04-22                                                                                           IT-204-IP (2022)   Page 3 of 5
Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount         B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount         B - New York State allocated amount
 22a      ES- 205                                89                           89
 22b      ES- 210                               382                          382
 22c      ES- 214                                 3                            3
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~    23                           474

    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~         25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~       27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 408 of 733

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Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a                   96081
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
                           Case 24-10856-JKS                   Doc 1        Filed 04/25/24           Page 409 of 733

288863 11-04-22                                                                                                            IT-204-IP (2022)        Page 5 of 5
Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 410 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                     AMOUNT FROM     NEW YORK
                                                       FEDERAL         STATE
  DESCRIPTION                                       SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                     6.             6.
  AMOUNTS PAID FOR MEDICAL INSURANCE                      19,014.        19,014.
                                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 13                19,020.        19,020.
                                                   ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            AMOUNT FROM     NEW YORK
                                                              FEDERAL         STATE
  DESCRIPTION                                              SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INVESTMENT INCOME                                                 939.            939.
  BUSINESS INTEREST EXPENSE                                         546.            546.
  EXCESS BUSINESS INTEREST INCOME                                   394.            394.
  GROSS RECEIPTS FOR SECTION 448(C)                             123,729.       123,729.
  SECTION 179 EXPENSE DISALLOWED DUE TO BUSINESS
  INC                                                               638.           638.
  SECTION 199A W-2 WAGES                                         25,381.        25,381.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                        51,011.        51,011.
  SECTION 199A ORDINARY INCOME/LOSS                             -17,858.       -17,858.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 19                      184,780.       184,780.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            56                      PARTNER NUMBER 2
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1                  3
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    MICHAEL P SHERMAN                                                                                                                                    7273
    Partner's address


    City                                                                      State                  ZIP code


D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)   X    Individual             Estate/trust            Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1           4.5441%                 4.0499%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2           4.5441%                 4.0499%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3           4.1440%                 4.1601%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1                         191231
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1                            89631
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4                          -50726
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7                            38905
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
            X    NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
                 NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24            Page 412 of 733
                                                                                                                                           288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                           Yes            No


N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                               Date                      Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                 Date                      Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?    ~~~~~~~~~~~~~ P           Yes            No   X
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)      Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                       -130078       1                     -130078
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                     2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                     3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                     4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                         6843        5                           6843
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                     6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                     7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                     8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                     9
    10 Net section 1231 gain (loss)                        10                                    10
    11 Other income (loss)     Identify:                                     11                                    11
    12 Section 179 deduction                             12                                    12
    13 Other deductions    Identify: SEE STATEMENT                           13                            42      13                                42
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                    14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                    15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                        73869       16                         73869
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                    17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                    18
    19 Other items not included above that are required to be
          reported separately to partners                     19                       1345959      19                     1345959
           Identify:  SEE STATEMENT
                          Case 24-10856-JKS            Doc 1      Filed 04/25/24            Page 413 of 733

288861 11-04-22                                                                                           IT-204-IP (2022)   Page 3 of 5
Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount         B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount         B - New York State allocated amount
 22a      ES- 205                               648                          648
 22b      ES- 210                              2781                         2781
 22c      ES- 214                                27                           27
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~    23                         3456

    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~         25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~       27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 414 of 733

Page 4 of 5       IT-204-IP (2022)                                                                                              288862 11-04-22

Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a                 699861
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
                           Case 24-10856-JKS                   Doc 1        Filed 04/25/24           Page 415 of 733

288863 11-04-22                                                                                                            IT-204-IP (2022)        Page 5 of 5
Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 416 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                     AMOUNT FROM     NEW YORK
                                                       FEDERAL         STATE
  DESCRIPTION                                       SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                     42.            42.
                                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 13                     42.            42.
                                                   ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            AMOUNT FROM     NEW YORK
                                                              FEDERAL         STATE
  DESCRIPTION                                              SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INVESTMENT INCOME                                               6,843.         6,843.
  BUSINESS INTEREST EXPENSE                                       3,977.         3,977.
  EXCESS BUSINESS INTEREST INCOME                                 2,865.         2,865.
  GROSS RECEIPTS FOR SECTION 448(C)                             901,261.       901,261.
  SECTION 179 EXPENSE DISALLOWED DUE TO BUSINESS
  INC                                                             4,644.         4,644.
  SECTION 199A W-2 WAGES                                        184,882.       184,882.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                       371,565.       371,565.
  SECTION 199A ORDINARY INCOME/LOSS                            -130,078.      -130,078.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 19                    1,345,959.     1,345,959.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            62                      PARTNER NUMBER 3
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                   Case 24-10856-JKS                      Doc 1          Filed 04/25/24           Page 417 of 733
                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1                  4
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    PAUL TIETZ                                                                                                                                           9345
    Partner's address


    City                                                                      State                  ZIP code


D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)   X    Individual             Estate/trust            Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1           2.0675%                 2.1978%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2           2.0675%                 2.1978%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3           2.1730%                 2.1687%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1                         103776
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1                            59837
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4                          -27528
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7                            32309
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
            X    NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
                 NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 418 of 733
                                                                                                                                           288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                           Yes            No


N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P            Yes            No   X
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)      Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                       -70591        1                       -70591
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                     2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                     3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                     4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                         3713        5                           3713
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                     6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                     7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                     8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                     9
    10 Net section 1231 gain (loss)                        10                                    10
    11 Other income (loss)     Identify:                                     11                                    11
    12 Section 179 deduction                             12                                    12
    13 Other deductions    Identify: SEE STATEMENT                           13                            23      13                                23
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                    14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                    15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                        40085       16                         40085
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                    17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                    18
    19 Other items not included above that are required to be
          reported separately to partners                     19                       730419       19                       730419
           Identify:  SEE STATEMENT
                          Case 24-10856-JKS            Doc 1      Filed 04/25/24            Page 419 of 733

288861 11-04-22                                                                                           IT-204-IP (2022)   Page 3 of 5
Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount         B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount         B - New York State allocated amount
 22a      ES- 205                               352                          352
 22b      ES- 210                              1510                         1510
 22c      ES- 214                                14                           14
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~    23                         1876

    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~         25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~       27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 420 of 733

Page 4 of 5       IT-204-IP (2022)                                                                                              288862 11-04-22

Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a                 379798
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
                           Case 24-10856-JKS                   Doc 1        Filed 04/25/24           Page 421 of 733

288863 11-04-22                                                                                                            IT-204-IP (2022)        Page 5 of 5
Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 422 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                     AMOUNT FROM     NEW YORK
                                                       FEDERAL         STATE
  DESCRIPTION                                       SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                     23.            23.
                                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 13                     23.            23.
                                                   ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            AMOUNT FROM     NEW YORK
                                                              FEDERAL         STATE
  DESCRIPTION                                              SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INVESTMENT INCOME                                               3,713.         3,713.
  BUSINESS INTEREST EXPENSE                                       2,158.         2,158.
  EXCESS BUSINESS INTEREST INCOME                                 1,556.         1,556.
  GROSS RECEIPTS FOR SECTION 448(C)                             489,092.       489,092.
  SECTION 179 EXPENSE DISALLOWED DUE TO BUSINESS
  INC                                                             2,521.         2,521.
  SECTION 199A W-2 WAGES                                        100,330.       100,330.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                       201,640.       201,640.
  SECTION 199A ORDINARY INCOME/LOSS                             -70,591.       -70,591.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 19                      730,419.       730,419.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            68                      PARTNER NUMBER 4
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                   Case 24-10856-JKS                      Doc 1          Filed 04/25/24           Page 423 of 733
                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1                  5
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    JAMES R HART III                                                                                                                                     0556
    Partner's address


    City                                                                      State                  ZIP code


D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)   X    Individual             Estate/trust            Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1        15.3565%                   2.5337%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2        15.3565%                   2.5337%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3         4.9726%                   5.3913%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1                         119640
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1                          269725
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4                          -31736
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7                          237989
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
                 NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
            X    NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 424 of 733
                                                                                                                                           288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                           Yes            No   X

N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P            Yes            No   X
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)      Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                       -81380        1                       -62634
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                     2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                     3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                     4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                         4281        5                           3295
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                     6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                     7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                     8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                     9
    10 Net section 1231 gain (loss)                        10                                    10
    11 Other income (loss)     Identify:                                     11                                    11
    12 Section 179 deduction                             12                                    12
    13 Other deductions    Identify: SEE STATEMENT                           13                            26      13                                20
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                    14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                    15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                        46215       16                         35569
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                    17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                    18
    19 Other items not included above that are required to be
          reported separately to partners                     19                       842070       19                       648094
           Identify:  SEE STATEMENT
                          Case 24-10856-JKS            Doc 1      Filed 04/25/24            Page 425 of 733

288861 11-04-22                                                                                           IT-204-IP (2022)   Page 3 of 5
Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount         B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount         B - New York State allocated amount
 22a      ES- 205                               405                          312
 22b      ES- 210                              1740                         1740
 22c      ES- 214                                17                           17
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~    23                         2162

    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~         25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~       27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 426 of 733

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Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a                 437853
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
                           Case 24-10856-JKS                   Doc 1        Filed 04/25/24           Page 427 of 733

288863 11-04-22                                                                                                            IT-204-IP (2022)        Page 5 of 5
Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 428 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                     AMOUNT FROM     NEW YORK
                                                       FEDERAL         STATE
  DESCRIPTION                                       SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                     26.            20.
                                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 13                     26.            20.
                                                   ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            AMOUNT FROM     NEW YORK
                                                              FEDERAL         STATE
  DESCRIPTION                                              SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INVESTMENT INCOME                                               4,281.         3,295.
  BUSINESS INTEREST EXPENSE                                       2,488.         1,915.
  EXCESS BUSINESS INTEREST INCOME                                 1,792.         1,379.
  GROSS RECEIPTS FOR SECTION 448(C)                             563,854.       433,967.
  SECTION 179 EXPENSE DISALLOWED DUE TO BUSINESS
  INC                                                             2,906.         2,237.
  SECTION 199A W-2 WAGES                                        115,667.        89,022.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                       232,462.       178,913.
  SECTION 199A ORDINARY INCOME/LOSS                             -81,380.       -62,634.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 19                      842,070.       648,094.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            74                      PARTNER NUMBER 5
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                   Case 24-10856-JKS                      Doc 1          Filed 04/25/24           Page 429 of 733
                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1                  6
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    RYAN N COTTON                                                                                                                                        3657
    Partner's address


    City                                                                      State                  ZIP code


D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)   X    Individual             Estate/trust            Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1           3.1677%                 0.5745%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2           3.1677%                 0.5745%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3           1.0676%                 1.1523%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1                           27125
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1                            58096
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4                            -7194
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7                            50902
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
                 NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
            X    NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 430 of 733
                                                                                                                                            288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                            Yes            No   X

N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                        Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                        Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P             Yes            No   X
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)       Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                 C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                       -18451         1                       -14201
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                      2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                      3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                      4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                            971       5                              747
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                      6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                      7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                      8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                      9
    10 Net section 1231 gain (loss)                        10                                     10
    11 Other income (loss)     Identify:                                     11                                     11
    12 Section 179 deduction                             12                                     12
    13 Other deductions    Identify: SEE STATEMENT                           13                               6     13                                  5
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                     14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                     15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                        10478        16                           8064
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                     17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                     18
    19 Other items not included above that are required to be
          reported separately to partners                     19                       190917        19                       146937
           Identify:  SEE STATEMENT
                          Case 24-10856-JKS            Doc 1      Filed 04/25/24            Page 431 of 733

288861 11-04-22                                                                                           IT-204-IP (2022)   Page 3 of 5
Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount         B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount         B - New York State allocated amount
 22a      ES- 205                                92                           71
 22b      ES- 210                               394                          394
 22c      ES- 214                                 4                            4
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~    23                           490

    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~         25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~       27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 432 of 733

Page 4 of 5       IT-204-IP (2022)                                                                                              288862 11-04-22

Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a                   99271
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
                           Case 24-10856-JKS                   Doc 1        Filed 04/25/24           Page 433 of 733

288863 11-04-22                                                                                                            IT-204-IP (2022)        Page 5 of 5
Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 434 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                     AMOUNT FROM     NEW YORK
                                                       FEDERAL         STATE
  DESCRIPTION                                       SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                     6.             5.
                                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 13                     6.             5.
                                                   ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            AMOUNT FROM     NEW YORK
                                                              FEDERAL         STATE
  DESCRIPTION                                              SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INVESTMENT INCOME                                                 971.            747.
  BUSINESS INTEREST EXPENSE                                         564.            434.
  EXCESS BUSINESS INTEREST INCOME                                   407.            313.
  GROSS RECEIPTS FOR SECTION 448(C)                             127,839.        98,391.
  SECTION 179 EXPENSE DISALLOWED DUE TO BUSINESS
  INC                                                               658.           506.
  SECTION 199A W-2 WAGES                                         26,225.        20,184.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                        52,704.        40,563.
  SECTION 199A ORDINARY INCOME/LOSS                             -18,451.       -14,201.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 19                      190,917.       146,937.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            80                      PARTNER NUMBER 6
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                   Case 24-10856-JKS                      Doc 1          Filed 04/25/24           Page 435 of 733
                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1                  7
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    DAVID W HUMPHREY                                                                                                                                     9293
    Partner's address


    City                                                                      State                  ZIP code


D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)   X    Individual             Estate/trust            Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1           3.1616%                 0.5216%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2           3.1616%                 0.5216%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3           1.0238%                 1.1100%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1                           24631
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1                            55532
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4                            -6533
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7                            48999
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
                 NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
            X    NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 436 of 733
                                                                                                                                            288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                            Yes            No   X

N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                        Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                        Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P             Yes            No   X
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)       Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                 C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                       -16754         1                       -12895
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                      2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                      3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                      4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                            881       5                              678
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                      6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                      7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                      8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                      9
    10 Net section 1231 gain (loss)                        10                                     10
    11 Other income (loss)     Identify:                                     11                                     11
    12 Section 179 deduction                             12                                     12
    13 Other deductions    Identify: SEE STATEMENT                           13                               5     13                                  4
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                     14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                     15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                        9513         16                           7322
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                     17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                     18
    19 Other items not included above that are required to be
          reported separately to partners                     19                       173362        19                       133427
           Identify:  SEE STATEMENT
                          Case 24-10856-JKS            Doc 1      Filed 04/25/24            Page 437 of 733

288861 11-04-22                                                                                           IT-204-IP (2022)   Page 3 of 5
Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount         B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount         B - New York State allocated amount
 22a      ES- 205                                83                           64
 22b      ES- 210                               358                          358
 22c      ES- 214                                 3                            3
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~    23                           444

    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~         25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~       27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 438 of 733

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Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a                   90143
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
                           Case 24-10856-JKS                   Doc 1        Filed 04/25/24           Page 439 of 733

288863 11-04-22                                                                                                            IT-204-IP (2022)        Page 5 of 5
Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 440 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                     AMOUNT FROM     NEW YORK
                                                       FEDERAL         STATE
  DESCRIPTION                                       SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                     5.             4.
                                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 13                     5.             4.
                                                   ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            AMOUNT FROM     NEW YORK
                                                              FEDERAL         STATE
  DESCRIPTION                                              SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INVESTMENT INCOME                                                 881.            678.
  BUSINESS INTEREST EXPENSE                                         512.            394.
  EXCESS BUSINESS INTEREST INCOME                                   369.            284.
  GROSS RECEIPTS FOR SECTION 448(C)                             116,084.        89,343.
  SECTION 179 EXPENSE DISALLOWED DUE TO BUSINESS
  INC                                                               599.           461.
  SECTION 199A W-2 WAGES                                         23,813.        18,328.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                        47,858.        36,834.
  SECTION 199A ORDINARY INCOME/LOSS                             -16,754.       -12,895.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 19                      173,362.       133,427.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            86                      PARTNER NUMBER 7
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                   Case 24-10856-JKS                      Doc 1          Filed 04/25/24           Page 441 of 733
                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1                  8
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    CHRISTOPHER NEUKERMANS                                                                                                                               0185
    Partner's address


    City                                                                      State                  ZIP code


D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)   X    Individual             Estate/trust            Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1           3.6223%                 0.6736%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2           3.6223%                 0.6736%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3           1.2345%                 1.3308%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1                           31808
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1                            67239
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4                            -8438
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7                            58801
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
                 NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
            X    NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 442 of 733
                                                                                                                                            288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                            Yes            No   X

N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                        Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                        Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P             Yes            No   X
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)       Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                 C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                       -21637         1                       -16653
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                      2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                      3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                      4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                         1138         5                              876
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                      6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                      7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                      8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                      9
    10 Net section 1231 gain (loss)                        10                                     10
    11 Other income (loss)     Identify:                                     11                                     11
    12 Section 179 deduction                             12                                     12
    13 Other deductions    Identify: SEE STATEMENT                           13                               7     13                                  5
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                     14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                     15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                        12288        16                           9457
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                     17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                     18
    19 Other items not included above that are required to be
          reported separately to partners                     19                       223882        19                       172310
           Identify:  SEE STATEMENT
                          Case 24-10856-JKS            Doc 1      Filed 04/25/24            Page 443 of 733

288861 11-04-22                                                                                           IT-204-IP (2022)   Page 3 of 5
Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount         B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount         B - New York State allocated amount
 22a      ES- 205                               108                           83
 22b      ES- 210                               463                          463
 22c      ES- 214                                 5                            5
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~    23                           576

    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~         25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~       27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 444 of 733

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Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a                 116413
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
                           Case 24-10856-JKS                   Doc 1        Filed 04/25/24           Page 445 of 733

288863 11-04-22                                                                                                            IT-204-IP (2022)        Page 5 of 5
Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 446 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                     AMOUNT FROM     NEW YORK
                                                       FEDERAL         STATE
  DESCRIPTION                                       SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                     7.             5.
                                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 13                     7.             5.
                                                   ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            AMOUNT FROM     NEW YORK
                                                              FEDERAL         STATE
  DESCRIPTION                                              SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INVESTMENT INCOME                                               1,138.            876.
  BUSINESS INTEREST EXPENSE                                         662.            510.
  EXCESS BUSINESS INTEREST INCOME                                   477.            367.
  GROSS RECEIPTS FOR SECTION 448(C)                             149,913.       115,380.
  SECTION 179 EXPENSE DISALLOWED DUE TO BUSINESS
  INC                                                               772.           594.
  SECTION 199A W-2 WAGES                                         30,752.        23,668.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                        61,805.        47,568.
  SECTION 199A ORDINARY INCOME/LOSS                             -21,637.       -16,653.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 19                      223,882.       172,310.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            92                      PARTNER NUMBER 8
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1                  9
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    SEUNG JA CHUNG FAMILY TRUST EILEEN CH                                                                                                   467262670
    Partner's address
    2729 BUNGALOW PLACE
    City                                                                      State                  ZIP code
    CORONA DEL MAR                                                              CA                   92626
D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)        Individual     X       Estate/trust            Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1           7.2266%                 1.1924%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2           7.2266%                 1.1924%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3           2.3400%                 2.5371%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1                           56303
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1                          126930
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4                          -14935
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7                          111995
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
                 NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
            X    NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 448 of 733
                                                                                                                                           288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                           Yes            No


N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P            Yes            No   X
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)      Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                       -38298        1                       -29476
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                     2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                     3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                     4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                         2015        5                           1551
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                     6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                     7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                     8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                     9
    10 Net section 1231 gain (loss)                        10                                    10
    11 Other income (loss)     Identify:                                     11                                    11
    12 Section 179 deduction                             12                                    12
    13 Other deductions    Identify: SEE STATEMENT                           13                            13      13                                10
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                    14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                    15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                        21749       16                         16739
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                    17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                    18
    19 Other items not included above that are required to be
          reported separately to partners                     19                       394915       19                       303945
           Identify:  SEE STATEMENT
                          Case 24-10856-JKS            Doc 1      Filed 04/25/24            Page 449 of 733

288861 11-04-22                                                                                           IT-204-IP (2022)   Page 3 of 5
Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount         B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount         B - New York State allocated amount
 22a      ES- 205                               191                          147
 22b      ES- 210                               819                          819
 22c      ES- 214                                 8                            8
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~    23                         1018

    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~         25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~       27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 450 of 733

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Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a                 206056
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
                           Case 24-10856-JKS                   Doc 1        Filed 04/25/24           Page 451 of 733

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Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 452 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                     AMOUNT FROM     NEW YORK
                                                       FEDERAL         STATE
  DESCRIPTION                                       SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                     13.            10.
                                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 13                     13.            10.
                                                   ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            AMOUNT FROM     NEW YORK
                                                              FEDERAL         STATE
  DESCRIPTION                                              SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INVESTMENT INCOME                                               2,015.         1,551.
  BUSINESS INTEREST EXPENSE                                       1,171.            901.
  EXCESS BUSINESS INTEREST INCOME                                   843.            649.
  GROSS RECEIPTS FOR SECTION 448(C)                             265,352.       204,227.
  SECTION 199A W-2 WAGES                                         54,434.        41,895.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                       109,398.        84,198.
  SECTION 199A ORDINARY INCOME/LOSS                             -38,298.       -29,476.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 19                      394,915.       303,945.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            98                      PARTNER NUMBER 9
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                   Case 24-10856-JKS                      Doc 1          Filed 04/25/24           Page 453 of 733
                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1              10
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    JAKE A BERGMAN                                                                                                                                       5197
    Partner's address


    City                                                                      State                  ZIP code


D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)   X    Individual             Estate/trust            Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1           1.8101%                 0.3281%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2           1.8101%                 0.3281%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3           0.6100%                 0.6584%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1                           15494
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1                            33196
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4                            -4111
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7                            29085
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
                 NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
            X    NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 454 of 733
                                                                                                                                            288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                            Yes            No   X

N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                        Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                        Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P             Yes            No   X
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)       Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                 C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                       -10540         1                         -8112
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                      2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                      3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                      4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                            554       5                              426
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                      6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                      7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                      8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                      9
    10 Net section 1231 gain (loss)                        10                                     10
    11 Other income (loss)     Identify:                                     11                                     11
    12 Section 179 deduction                             12                                     12
    13 Other deductions    Identify: SEE STATEMENT                           13                               3     13                                  2
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                     14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                     15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                        5984         16                           4606
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                     17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                     18
    19 Other items not included above that are required to be
          reported separately to partners                     19                       109053        19                         83931
           Identify:  SEE STATEMENT
                          Case 24-10856-JKS            Doc 1      Filed 04/25/24            Page 455 of 733

288861 11-04-22                                                                                           IT-204-IP (2022)   Page 3 of 5
Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount         B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount         B - New York State allocated amount
 22a      ES- 205                                53                           41
 22b      ES- 210                               225                          225
 22c      ES- 214                                 2                            2
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~    23                           280

    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~         25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~       27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 456 of 733

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Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a                   56705
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
                           Case 24-10856-JKS                   Doc 1        Filed 04/25/24           Page 457 of 733

288863 11-04-22                                                                                                            IT-204-IP (2022)        Page 5 of 5
Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 458 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                     AMOUNT FROM     NEW YORK
                                                       FEDERAL         STATE
  DESCRIPTION                                       SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                     3.             2.
                                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 13                     3.             2.
                                                   ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            AMOUNT FROM     NEW YORK
                                                              FEDERAL         STATE
  DESCRIPTION                                              SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INVESTMENT INCOME                                                 554.            426.
  BUSINESS INTEREST EXPENSE                                         322.            248.
  EXCESS BUSINESS INTEREST INCOME                                   233.            179.
  GROSS RECEIPTS FOR SECTION 448(C)                              73,023.        56,202.
  SECTION 179 EXPENSE DISALLOWED DUE TO BUSINESS
  INC                                                               376.           289.
  SECTION 199A W-2 WAGES                                         14,979.        11,528.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                        30,106.        23,171.
  SECTION 199A ORDINARY INCOME/LOSS                             -10,540.        -8,112.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 19                      109,053.        83,931.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            104                    PARTNER NUMBER 10
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1              11
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    OCHO CAPITAL LLC                                                                                                                        462667464
    Partner's address
    98 SAN JACINTO BLVD, SUITE 2006
    City                                                                      State                  ZIP code
    AUSTIN                                                                      TX                   78701
D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)        Individual             Estate/trust      X     Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1        11.1525%                   2.5771%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2        11.1525%                   2.5771%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3         4.2081%                   4.4882%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1                         121685
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1                          242231
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4                          -32279
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7                          209952
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
                 NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
                 NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 460 of 733
                                                                                                                                           288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                           Yes            No


N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P            Yes            No
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)      Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                       -82772        1                       -63705
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                     2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                     3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                     4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                         4354        5                           3351
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                     6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                     7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                     8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                     9
    10 Net section 1231 gain (loss)                        10                                    10
    11 Other income (loss)     Identify:                                     11                                    11
    12 Section 179 deduction                             12                                    12
    13 Other deductions    Identify: SEE STATEMENT                           13                            27      13                                21
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                    14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                    15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                        47004       16                         36176
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                    17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                    18
    19 Other items not included above that are required to be
          reported separately to partners                     19                       856467       19                       659175
           Identify:  SEE STATEMENT
                          Case 24-10856-JKS            Doc 1      Filed 04/25/24            Page 461 of 733

288861 11-04-22                                                                                           IT-204-IP (2022)   Page 3 of 5
Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount         B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount         B - New York State allocated amount
 22a      ES- 205                               412                          317
 22b      ES- 210                              1770                         1770
 22c      ES- 214                                17                           17
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~    23                         2199

    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~         25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~       27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 462 of 733

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Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a                 445340
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
                           Case 24-10856-JKS                   Doc 1        Filed 04/25/24           Page 463 of 733

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Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 464 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                     AMOUNT FROM     NEW YORK
                                                       FEDERAL         STATE
  DESCRIPTION                                       SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                     27.            21.
                                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 13                     27.            21.
                                                   ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            AMOUNT FROM     NEW YORK
                                                              FEDERAL         STATE
  DESCRIPTION                                              SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INVESTMENT INCOME                                               4,354.         3,351.
  BUSINESS INTEREST EXPENSE                                       2,531.         1,948.
  EXCESS BUSINESS INTEREST INCOME                                 1,823.         1,403.
  GROSS RECEIPTS FOR SECTION 448(C)                             573,495.       441,387.
  SECTION 179 EXPENSE DISALLOWED DUE TO BUSINESS
  INC                                                             2,955.         2,274.
  SECTION 199A W-2 WAGES                                        117,645.        90,545.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                       236,436.       181,972.
  SECTION 199A ORDINARY INCOME/LOSS                             -82,772.       -63,705.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 19                      856,467.       659,175.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            110                    PARTNER NUMBER 11
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                   Case 24-10856-JKS                       Doc 1        Filed 04/25/24            Page 465 of 733
                                              Department of Taxation and Finance                                                                         288821 11-04-22

                                              New York Corporate Partner's
                                              Schedule K-1
                                                                                                                                         IT-204-CP
                                                                                                                                                         11
                                              Tax Law - Article 9-A
                                                                                                                                             Final K-1


For calendar year 2022 or tax year beginning                                            and ending                                           Amended K-1


Partners : Before completing your franchise tax return, see Form IT-204-CP-I, Partner's Instructions for Form IT-204-CP (available at www.tax.ny.gov).
Partnership's information
    Partnership's name (as shown on Form IT-204)                                                                                Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                 462153586
A      Mark an X in the box if either applies to your entity                     Publicly traded partnership              Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            B

Partner's information (see instructions)
    Partner's name                                                                                                           Partner's EIN
    OCHO CAPITAL LLC                                                                                                                     462667464
    Partner's address
    98 SAN JACINTO BLVD, SUITE 2006
    City                                                                    State                    ZIP code
    AUSTIN                                                                      TX                     78701
C      The partner is a (mark an X in the appropriate box)           General partner or LLC member-manager            X      Limited partner or other LLC member


D      What is the New York tax filing status of the partner? (Mark an X in the appropriate box, if known.)
                 C corporation                      S corporation           X    Partnership
E      If the partner is a disregarded entity, enter the EIN of the entity reporting the income of
           the partner (if known)~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  E


F      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          F   Yes          No    X

G      Partner's share of profit, loss, and capital                                                                             Beginning                Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G1                                                            11.1525%                 2.5771%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G2                                                              11.1525%                 2.5771%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G3                                                             4.2081%                 4.4882%

H      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           H1                         121685
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                H2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            H3


I      Partner's capital account analysis
           1) Beginning capital account         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             I1                        242231
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           I2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         I3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 I4                        -32279
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     I5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            I6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      I7                        209952
           8) Method of accounting (mark an X in the appropriate box)
                   X     Tax basis               GAAP               Book             Other (submit explanation)
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J   Was Form CT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ J Yes                                  No


K   NYS estimated tax paid on behalf of partner (from Form CT-2658)                          Date                  Amount
         1) First installment    ~~~~~~~~~~~~~~~~~~~~~~~~~~~                         K1
         2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~                            K2
         3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~                         K3
         4) Fourth installment
                             ~~~~~~~~~~~~~~~~~~~~~~~~~~ K4
    Total NYS estimated tax paid on behalf of partner (add lines K1 through K4) ~~~~~~~~~~~~~~~~ K



Partner's share of entire net income (ENI) information when the corporate partner's New York tax filing
status is a C corporation

ENI addition modifications
  1 Total additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           1


           A - Number                  B - Amount                           A - Number       B - Amount
    1a     EA -                                                        1d   EA -
    1b     EA -                                                        1e   EA -
    1c     EA -                                                        1f   EA -


ENI subtraction modifications
  2 Total subtractions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         2                    2199

           A - Number                  B - Amount                           A - Number       B - Amount
    2a     ES - 507                                  1787              2d   ES -
    2b     ES - 205                                   412              2e   ES -
    2c     ES -                                                        2f   ES -


Partner's proportionate part of assets and liabilities (for New York C corporate partners only)

                                                                                                               Average value
    3    Total assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       3                 228270
    4    Real property and marketable securities included on line 3 ~~~~~~~~~~~~~~~~~~~~~~                4
    5    Real property and marketable securities at fair market value (FMV) ~~~~~~~~~~~~~~~~~~            5
    6    Average value of adjusted total assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          6                 228270
    7    Total liabilities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   7                 125420
    8    Liabilities directly attributable to business capital     ~~~~~~~~~~~~~~~~~~~~~~~~~~             8
    9    Liabilities directly attributable to investment capital    ~~~~~~~~~~~~~~~~~~~~~~~~~             9
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Partner's proportionate part of items related to investment capital under Article 9-A                             (for New York
C corporate partners only)

Part 1 - Investment capital that generates income claimed not taxable by New York under the U.S. Constitution
Description of asset (identify each asset, and enter number of shares (if applicable) and date acquired here; for each asset complete columns D
through G on the corresponding lines below; enter only directly owned assets in items A through F and Total from additional sheet(s))
For each item listed, in columns A through G, enter the information for the partnership as a whole.
 Item                                      A - Description of asset                                    B - Number of shares           C - Date acquired
                                                                                                       acquired, if applicable
   A
   B
   C
   D
   E
   F
 Item                D                           E                          F                                G                             H
                 Number of                    Date sold                  Average                   Liabilities directly               Net average
          shares sold, if applicable                                      FMV                         attributable                       FMV
   A
   B
   C
   D
   E
   F
 Total from additional sheet(s) 
 Total from partnerships 
  10 Total proportionate part of columns F
       and G (see instructions) ~~~~~~~~~~                  10


Part 2 - Investment capital - stocks actually held more than one year
Description of investment (identify each investment, and enter number of shares and date acquired here; for each investment complete columns D
through G on the corresponding lines below; enter only directly owned investments in items A through F and Total from additional sheet(s))
For each item listed, in columns A through G, enter the information for the partnership as a whole.
 Item                                  A - Name/CUSIP/CINS/lot number                                  B - Number of shares           C - Date acquired
                                                                                                             acquired
   A
   B
   C
   D
   E
   F
 Item                  D                         E                          F                               G                              H
                  Number of                   Date sold                  Average                  Liabilities directly                Net average
                  shares sold                                             FMV                        attributable                        FMV
   A
   B
   C
   D
   E
   F
 Total from additional sheet(s) 
 Total from partnerships 
  11 Total proportionate part of columns F
       and G (see instructions) ~~~~~~~~~~                  11
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                                                                                                                                            288832 11-04-22
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Part 3 - Investment capital - stocks presumed held more than one year
Description of investment (identify each investment, and enter number of shares and date acquired here; for each investment complete columns F
and G on the corresponding lines below; enter only directly owned investments in items A through F and Total from additional sheet(s))
For each item listed, in columns A through G, enter the information for the partnership as a whole.
 Item                                 A - Name/CUSIP/CINS/lot number                                 B - Number of shares acquired   C - Date acquired
   A
  B
  C
  D
   E
   F
 Item                D                            E                           F                              G                            H
                Number of                      Date sold                   Average                 Liabilities directly              Net average
                shares sold                                                 FMV                       attributable                      FMV
   A
  B
  C
  D
   E
   F
 Total from additional sheet(s) 
 Total from partnerships 
 12 Total proportionate part of columns F
      and G (see instructions) ~~~~~~~~~~~                    12


Part 4 - Total investment capital
 13 Total average FMV and liabilities directly attributable
        (add lines 10, 11, and 12 in columns F and G) ~       13


Part 5 - Prior year investment capital - stocks that did not meet holding period requirement
Description of investment (identify each investment, and enter number of shares and date acquired here; for each investment complete columns D
through G on the corresponding lines below; enter only directly owned investments in items A through F and Total from additional sheet(s))
For each item listed, in columns A through G, enter the information for the partnership as a whole.
 Item                                 A - Name/CUSIP/CINS/lot number                                 B - Number of shares acquired   C - Date acquired
   A
  B
  C
  D
   E
   F
 Item                D                           E                            F                              G                            H
                Number of                     Date sold                 Average FMV          Liabilities directly attributable       Net average
                shares sold                                         as previously reported       as previously reported                 FMV
   A
  B
  C
  D
   E
   F
 Total from additional sheet(s) 
 Total from partnerships 
 14 Total proportionate part of columns F
      and G (see instructions) ~~~~~~~~~~~                    14
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Part 6 - Prior year gross investment income for stocks that did not meet holding period requirement

 15 Prior year presumed gross investment income from stocks presumed in the prior year to
      be held more than one year that failed to meet the presumption (see instructions) ~~~~~~~~~~~~        15



Partner's share of items related to investment and other exempt income under Article 9-A                         (for New York
C corporate partners only)


 16   Gross exempt cross-article dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           16
 17   Gross exempt controlled foreign corporation (CFC) income        ~~~~~~~~~~~~~~~~~~~~~~           17
 18   Gross exempt unitary corporation dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        18
 19   Gross investment income from investments generating income not taxable by New York
         State under the U.S. Constitution ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          19
 20   Dividend income from investment capital from stocks actually held more than one year ~~~~~~~~    20
 21   Net capital gains or losses from investment capital from stocks actually held more
         than one year   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   21
 22   Dividend income from investment capital from stocks presumed held more than one year ~~~~~~~     22



Partner's share of items related to interest deductions directly attributable to investment and other
exempt income under Article 9-A (for New York C corporate partners only)

 23   Interest expense per federal Form 1065, line 15 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                     23                              2531
 24   Interest deductions directly attributable to income reported on line 16   ~~~~~~~~~~~~~~~~       24
 25   Interest deductions directly attributable to income reported on line 17   ~~~~~~~~~~~~~~~~       25
 26   Interest deductions directly attributable to income reported on line 18   ~~~~~~~~~~~~~~~~       26
 27   Interest deductions directly attributable to income reported on line 19   ~~~~~~~~~~~~~~~~       27
 28   Interest deductions directly attributable to income reported on line 20   ~~~~~~~~~~~~~~~~       28
 29   Interest deductions directly attributable to income reported on line 21   ~~~~~~~~~~~~~~~~       29
 30   Interest deductions directly attributable to income reported on line 22   ~~~~~~~~~~~~~~~~       30
 31   Interest deductions directly attributable to business capital    ~~~~~~~~~~~~~~~~~~~~~           31



Partner's share and proportionate part of items related to subtraction modification for qualified banks

 32 Qualified residential loan portfolio assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        32
 33 Gross interest income from qualifying loans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         33
33a Gross interest income from all loans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           33a
33b Gross interest expense from all loans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           33b



Partner's share and proportionate part of items related to manufacturing

 34 Total receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~~~~~~~~~                    34
 35 New York adjusted basis of qualified manufacturing property ~~~~~~~~~~~~~~~~~~~~~                  35
35a Number of employees employed in manufacturing in New York           ~~~~~~~~~~~~~~~~~~~~          35a
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Partner's share of New York modifications (for New York S corporate partners only)

  36    New York State additions
          Number               A - Total amount
 36a     EA -
 36b     EA -
 36c     EA -
 36d     EA -
 36e     EA -
 36f     EA -


  37    Total addition modifications (total of column A, lines 36a through 36f) ~~~~~~~~~~~~~~~~~    37


  38    New York State subtractions
          Number              A - Total amount
 38a     ES - 205                                412
 38b     ES - 210                               1770
 38c     ES - 214                                 17
 38d     ES -
 38e     ES -
 38f     ES -


  39    Total subtraction modifications (total of column A, lines 38a through 38f) ~~~~~~~~~~~~~~~   39           2199

  40    Additions to itemized deductions
       Letter            Amount
 40a
 40b
 40c
 40d
 40e
 40f


  41    Total additions to itemized deductions (add lines 40a through 40f) ~~~~~~~~~~~~~~~~~~        41


  42    Subtractions from itemized deductions
       Letter            Amount
 42a
 42b
 42c
 42d
 42e
 42f


 43     Total subtractions from itemized deductions (add lines 42a through 42f) ~~~~~~~~~~~~~~~      43
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Partner's share of income, deductions, etc. (from federal Form 1065, Schedule K-1)
Partner's distributive share items
 44   Ordinary business income (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44                   -82772
 45   Net rental real estate income (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46   Other net rental income (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   46
 47   Guaranteed payments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           47
 48   Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           48                       4354
 49   Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          49
 50   Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              50
 51   Net short-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 51
 52   Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 52
 53   Net section 1231 gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    53
 54   Other income (loss)                                          54
        Identify:


 55   Section 179 deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55
 56   Other deductions                                            56                          27
        Identify:
            SEE STATEMENT
 57   Tax-exempt income and nondeductible expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               57                     47004
 58   Distributions - cash and marketable securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           58
 59   Distributions - other property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   59
 60   Other items not included above that are required to be reported separately to partners         60                   856467
        Identify:
            SEE STATEMENT



Partner's credit information (see instructions)
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form CT-611, Form CT-611.1, or Form CT-611.2)


                                                                           A - Form CT-611        B - Form CT-611.1     C - Form CT-611.2
 61   Site preparation credit component ~~~~~~~~~~~                61
 62   Tangible property credit component    ~~~~~~~~~~             62
 63   On-site groundwater remediation credit component ~~~         63



 64   This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                64
 65   This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                65


QEZE tax reduction credit (Form CT-604-CP)
 66 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       66
 67   QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     67
 68   QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      68


Excelsior jobs program tax credit (Form CT-607)
 69 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    69
 70   Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                70
 71   Excelsior research and development tax credit component     ~~~~~~~~~~~~~~~~~~~~~                      71
 72   Excelsior real property tax credit component                                                           72
72a   Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~                         72a
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Partner's credit information (continued)
Farmers' school tax credit (Form CT-47)
 73 Acres of qualified agricultural property      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            73
 74    Acres of qualified conservation property       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         74
 75    Eligible school district property taxes paid    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         75
 76    Acres of qualified agricultural property converted to nonqualified use   ~~~~~~~~~~~~~~~~~             76


Other flow-through credit bases and information
     Credit bases
           Code                    Amount                                Code             Amount
 77a                                                            77d
 77b                                                            77e
 77c                                                            77f


       Credit information
           Code                  Information                             Code          Information
 77g                                                            77j
 77h                                                            77k
 77i                                                            77l

Part 2 - Flow-through credits, addbacks, and recaptures
 78    Flow-through credits
           Code                    Amount                                Code             Amount
 78a                                                            78e
 78b                                                            78f
 78c                                                            78g
 78d                                                            78h


 79    Addbacks of credits and recaptures
           Code                    Amount                                Code             Amount
 79a                                                            79d
 79b                                                            79e
 79c                                                            79f

Part 3 - START-UP NY tax elimination credit information (Form CT-638)
 80    START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                          80
 81    Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                            81
 82    START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  82

Partner's share of apportionment and Metropolitan Commuter Transportation District (MCTD) information
Part 1
  1 During the reporting year, did the partnership do business, employ capital, own or lease property, maintain
     an office, or derive receipts from activity, in New York State? (mark an X in the appropriate box) ~~~~~~~~~   Yes         No
  2 During the reporting year, did the partnership do business, employ capital, own or lease property, maintain
     an office, or derive receipts from activity, in the MCTD? (mark an X in the appropriate box) ~~~~~~~~~~~~      Yes         No


Average value of property                                                                          A - MCTD          B - New York State
  3 Real estate owned ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  3
  4 Real estate rented ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 4
  5 Inventories owned ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  5
  6 Tangible personal property owned         ~~~~~~~~~~~~~~~~~~~~~~                   6
  7 Tangible personal property rented ~~~~~~~~~~~~~~~~~~~~~~~                         7
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Part 2                                                                            A                  B                        C
Receipts from:                                                                   MCTD           New York State           Everywhere
Section 210-A.2
   1 Sales of tangible personal property ~~~~~~~~~~~                     1
    2 Sales of electricity ~~~~~~~~~~~~~~~~~~~                           2
    3 Net gains from sales of real property                    3
Section 210-A.3
   4 Rentals of real and tangible personal property ~~~~~~               4
    5 Royalties from patents, copyrights, trademarks,
       and similar intangible personal property ~~~~~~~~                 5
    6 Sales of rights for certain closed-circuit and
       cable TV transmissions of an event                      6
Section 210-A.4
   7 Sale, licensing, or granting access to digital products ~~          7
  7a Sale, licensing, or granting access to digital products ~~         7a
   8 This line intentionally left blank                     8
Section 210-A.5(a)(2)(A)
   9 Interest from loans secured by real property        ~~~~~~          9
  10 Net gains from sales of loans secured by real property           10
  11 Interest from loans not secured by real property                   11
  12 Net gains from sales of loans not secured by
      real property                                   12
Section 210-A.5(a)(2)(B)
  13 Interest from federal debt                         13
  14
  15 Interest from NYS and its political subdivisions debt              15
  16 Net gains from federal, NYS, and NYS political subdivisions debt   16
  17 Interest from other states and their political
       subdivisions debt ~~~~~~~~~~~~~~~~~~~                            17
  18 Net gains from other states and their political
      subdivisions debt                              18
Section 210-A.5(a)(2)(C)
  19 Interest from asset-backed securities and other
         government agency debt ~~~~~~~~~~~~~~~                         19
  20 Net gains from government agency debt or
      asset-backed securities sold through an exchange            ~~    20
  21 Net gains from all other asset-backed securities ~~~~~             21
Section 210-A.5(a)(2)(D)
  22 Interest from corporate bonds       ~~~~~~~~~~~~~                  22
  23 Net gains from corporate bonds sold through
      broker/dealer or licensed exchange ~~~~~~~~~~                     23
  24 Net gains from other corporate bonds         ~~~~~~~~~             24
Section 210-A.5(a)(2)(E)
  25 Net interest from reverse repurchase and
         securities borrowing agreements                     25
Section 210-A.5(a)(2)(F)
  26 Net interest from federal funds ~~~~~~~~~~~~~                      26
Section 210-A.5(a)(2)(I)
  27 Net income from sales of physical commodities ~~~~~                27
Section 210-A.5(a)(2)(J)
  28 Marked to market net gains ~~~~~~~~~~~~~~~                         28
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Part 2                                                                     A                  B                C
Receipts from:                                                            MCTD           New York State   Everywhere
Section 210-A.5(a)(2)(H)
        210-A.5(a)(2)(G)
  29 Interest from other financial instruments ~~~~~~~~          29
  30 Net gains from other financial instruments ~~~~~~~          30
 30a Net gains from other financial instruments
      (broker/dealer/exchange) ~~~~~~~~~~~~~~~ 30a
 30b Other income from other financial instruments ~~~~~~ 30b
 30c Other income from other financial instruments
       (broker/dealer/exchange)  30c
 30d Dividends from stock that is business capital ~~~~~~ 30d
 30e Net gains from sales of stock that is business capital ~~ 30e
 30f Net gains from sales of partnership interests  30f
Section 210-A.5(b)
  31 Brokerage commissions      ~~~~~~~~~~~~~~~~                 31
  32 Margin interest earned on behalf of brokerage accounts      32
  33 Fees for advisory services for underwriting
        or management of underwriting ~~~~~~~~~~~~               33
  34 Receipts from primary spread of selling concessions         34
  35 Receipts from account maintenance fees ~~~~~~~~             35
  36 Fees for management or advisory services ~~~~~~~            36
  37 Interest from an affiliated corporation           37
Section 210-A.5(c)
  38 Interest, fees, and penalties from credit cards ~~~~~~      38
  39 Service charges and fees from credit cards ~~~~~~~          39
  40 Receipts from merchant discounts ~~~~~~~~~~~                40
  41 Receipts from credit card authorizations and
      settlement processing ~~~~~~~~~~~~~~~~                     41
  42 Other credit card processing receipts             42
Section 210-A.5(d)
  43 Receipts from certain services to investment companies      43
  44 This line intentionally left blank             44
Section 210-A.6
  45 Receipts from railroad and trucking business          45
Section 210-A.6-a
  46 Receipts from the operation of vessels             46
Section 210-A.7
  47 Receipts from air freight forwarding ~~~~~~~~~~~            47
  48 Receipts from other aviation services             48
Section 210-A.8
  49 Advertising in newspapers or periodicals ~~~~~~~~           49
  50 Advertising on television or radio ~~~~~~~~~~~~             50
  51 Advertising via other means                   51
Section 210-A.9
  52 Transportation or transmission of gas through pipes         52
Section 210-A.10
  53 Receipts from other services/activities not specified       53
 53a Receipts from other services/activities not specified      53a
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                                                                                                        A                         B
Payroll
                                                                                                       MCTD                  New York State
 54 Wages and other compensation of employees except general executive officers          54
 55 Average number of individuals employed full time in New York State (excluding employees with
         partnership-wide authority) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        55



Gross proceeds or receipts from certain sales                                 A                         B                           C
 (for apportionment purposes) (see instructions)                             MCTD                  New York State              Everywhere
 56 Sales of loans secured by real property ~~~~~~~~~          56
 57 Sales of loans not secured by real property ~~~~~~~        57
 58 Sales of other asset-backed securities ~~~~~~~~~           58
 59 Sales of corporate bonds ~~~~~~~~~~~~~~~~                  59
 60 Sales of physical commodities ~~~~~~~~~~~~~                60


Marked to market net gain or loss from deemed sales (for apportionment purposes)
 61 Of loans secured by real property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      61
 62 Of loans not secured by real property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    62
 63 Of federal debt instruments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         63
 64 Of New York State and its political subdivisions debt instruments ~~~~~~~~~~~~~~~~~~~                      64
 65 Of other states and their political subdivisions debt instruments ~~~~~~~~~~~~~~~~~~~~                     65
 66 Of government agency debt or asset-backed securities (through exchange) ~~~~~~~~~~~~~~                     66
 67 Of all other asset-backed securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    67
 68 Of corporate bonds through licensed exchange or broker/dealer ~~~~~~~~~~~~~~~~~~~~                         68
 69 Of other corporate bonds ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           69
 70 Of physical commodities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            70
 71 Of other financial instruments of one type ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 71


Items related to repurchase agreements and securities borrowing/lending agreements
 72 Value of reverse repurchase agreements when partnership is purchaser/lender ~~~~~~~~~~~~                   72
 73 Value of borrowing agreements when partnership is securities borrower ~~~~~~~~~~~~~~~~                     73
 74 Value of repurchase agreements when partnership is seller/borrower ~~~~~~~~~~~~~~~~~                       74
 75 Value of lending agreements when partnership is securities lender ~~~~~~~~~~~~~~~~~~~                      75
 76 Interest income from reverse repurchase agreements and securities borrowing agreements ~~~~~~              76
 77 Interest expense from repurchase agreements and securities lending agreements ~~~~~~~~~~~                  77


Partner's share of New York adjustments due to decoupling from the IRC                        (see instructions)

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           2
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-CP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                                  AMOUNT FROM
                                                                                    FEDERAL
  DESCRIPTION                                                                    SCHEDULE K-1
  }}}}}}}}}}}}}}}}                                                              }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                                                  27.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-CP, PAGE 7, LINE 56                                                  27.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-CP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                                  AMOUNT FROM
                                                                                    FEDERAL
  DESCRIPTION                                                                    SCHEDULE K-1
  }}}}}}}}}}}}}}}}                                                              }}}}}}}}}}}}}}
  INVESTMENT INCOME                                                                     4,354.
  BUSINESS INTEREST EXPENSE                                                             2,531.
  EXCESS BUSINESS INTEREST INCOME                                                       1,823.
  GROSS RECEIPTS FOR SECTION 448(C)                                                   573,495.
  SECTION 179 EXPENSE DISALLOWED DUE TO BUSINESS
  INC                                                                                   2,955.
  SECTION 199A W-2 WAGES                                                              117,645.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                                             236,436.
  SECTION 199A ORDINARY INCOME/LOSS                                                   -82,772.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-CP, PAGE 7, LINE 60                                            856,467.
                                                                                ~~~~~~~~~~~~~~




                                            122                    PARTNER NUMBER 11
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1              12
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    ALAN LIU                                                                                                                                             3381
    Partner's address


    City                                                                      State                  ZIP code


D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)   X    Individual             Estate/trust            Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1           2.3501%                 2.1239%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2           2.3501%                 2.1239%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3           2.1670%                 2.1743%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1                         100286
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1                          132424
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4                          -26602
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7                          105822
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
            X    NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
                 NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 478 of 733
                                                                                                                                           288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                           Yes            No


N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P            Yes            No   X
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)      Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                       -68216        1                       -68216
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                     2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                     3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                     4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                         3589        5                           3589
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                     6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                     7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                     8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                     9
    10 Net section 1231 gain (loss)                        10                                    10
    11 Other income (loss)     Identify:                                     11                                    11
    12 Section 179 deduction                             12                                    12
    13 Other deductions    Identify: SEE STATEMENT                           13                            22      13                                22
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                    14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                    15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                        38739       16                         38739
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                    17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                    18
    19 Other items not included above that are required to be
          reported separately to partners                     19                       705854       19                       705854
           Identify:  SEE STATEMENT
                          Case 24-10856-JKS            Doc 1      Filed 04/25/24            Page 479 of 733

288861 11-04-22                                                                                           IT-204-IP (2022)   Page 3 of 5
Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount         B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount         B - New York State allocated amount
 22a      ES- 205                               340                          340
 22b      ES- 210                              1459                         1459
 22c      ES- 214                                14                           14
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~    23                         1813

    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~         25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~       27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 480 of 733

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Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a                 367024
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
                           Case 24-10856-JKS                   Doc 1        Filed 04/25/24           Page 481 of 733

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Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 482 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                     AMOUNT FROM     NEW YORK
                                                       FEDERAL         STATE
  DESCRIPTION                                       SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                     22.            22.
                                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 13                     22.            22.
                                                   ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            AMOUNT FROM     NEW YORK
                                                              FEDERAL         STATE
  DESCRIPTION                                              SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INVESTMENT INCOME                                               3,589.         3,589.
  BUSINESS INTEREST EXPENSE                                       2,086.         2,086.
  EXCESS BUSINESS INTEREST INCOME                                 1,503.         1,503.
  GROSS RECEIPTS FOR SECTION 448(C)                             472,642.       472,642.
  SECTION 179 EXPENSE DISALLOWED DUE TO BUSINESS
  INC                                                             2,436.         2,436.
  SECTION 199A W-2 WAGES                                         96,956.        96,956.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                       194,858.       194,858.
  SECTION 199A ORDINARY INCOME/LOSS                             -68,216.       -68,216.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 19                      705,854.       705,854.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            128                    PARTNER NUMBER 12
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1              13
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    STICKY'S INVESTCO LLC                                                                                                                   825385733
    Partner's address
    477 BROOME STREET, #61
    City                                                                      State                  ZIP code
    NEW YORK                                                                    NY                   10013
D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)        Individual             Estate/trust      X     Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1         4.9002%                  42.4008%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2         4.9002%                  42.4008%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3        35.2681%                  34.0434%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1                        2002108
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1                         2063681
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4                         -531081
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7                         1532600
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
                 NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
                 NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 484 of 733
                                                                                                                                           288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                           Yes            No


N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P            Yes            No
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)      Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                  -1361867           1                   -1361867
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                     2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                     3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                     4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                        71639        5                         71639
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                     6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                     7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                     8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                     9
    10 Net section 1231 gain (loss)                        10                                    10
    11 Other income (loss)     Identify:                                     11                                    11
    12 Section 179 deduction                             12                                    12
    13 Other deductions    Identify: SEE STATEMENT                           13                            439     13                              439
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                    14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                    15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                       773368       16                       773368
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                    17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                    18
    19 Other items not included above that are required to be
          reported separately to partners                     19                  14091639          19                   14091639
           Identify:  SEE STATEMENT
                          Case 24-10856-JKS           Doc 1      Filed 04/25/24           Page 485 of 733

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Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount        B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount       B - New York State allocated amount
 22a      ES- 205                           6785                          6785
 22b      ES- 210                          29119                         29119
 22c      ES- 214                            278                           278
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~   23                       36182

    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~        25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~      27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                       28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 486 of 733

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Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a               7327263
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
                           Case 24-10856-JKS                   Doc 1        Filed 04/25/24           Page 487 of 733

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Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 488 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                     AMOUNT FROM     NEW YORK
                                                       FEDERAL         STATE
  DESCRIPTION                                       SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                   439.            439.
                                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 13                   439.            439.
                                                   ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            AMOUNT FROM     NEW YORK
                                                              FEDERAL         STATE
  DESCRIPTION                                              SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INVESTMENT INCOME                                              71,639.        71,639.
  BUSINESS INTEREST EXPENSE                                      41,637.        41,637.
  EXCESS BUSINESS INTEREST INCOME                                30,002.        30,002.
  GROSS RECEIPTS FOR SECTION 448(C)                           9,435,830.     9,435,830.
  SECTION 179 EXPENSE DISALLOWED DUE TO BUSINESS
  INC                                                            48,625.        48,625.
  SECTION 199A W-2 WAGES                                      1,935,633.     1,935,633.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                     3,890,140.     3,890,140.
  SECTION 199A ORDINARY INCOME/LOSS                          -1,361,867.    -1,361,867.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 19                   14,091,639.    14,091,639.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            134                    PARTNER NUMBER 13
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                              Department of Taxation and Finance                                                                         288821 11-04-22

                                              New York Corporate Partner's
                                              Schedule K-1
                                                                                                                                         IT-204-CP
                                                                                                                                                         13
                                              Tax Law - Article 9-A
                                                                                                                                             Final K-1


For calendar year 2022 or tax year beginning                                            and ending                                           Amended K-1


Partners : Before completing your franchise tax return, see Form IT-204-CP-I, Partner's Instructions for Form IT-204-CP (available at www.tax.ny.gov).
Partnership's information
    Partnership's name (as shown on Form IT-204)                                                                                Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                 462153586
A      Mark an X in the box if either applies to your entity                     Publicly traded partnership              Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            B

Partner's information (see instructions)
    Partner's name                                                                                                           Partner's EIN
    STICKY'S INVESTCO LLC                                                                                                                825385733
    Partner's address
    477 BROOME STREET, #61
    City                                                                    State                    ZIP code
    NEW YORK                                                                    NY                     10013
C      The partner is a (mark an X in the appropriate box)           General partner or LLC member-manager            X      Limited partner or other LLC member


D      What is the New York tax filing status of the partner? (Mark an X in the appropriate box, if known.)
                 C corporation                      S corporation           X    Partnership
E      If the partner is a disregarded entity, enter the EIN of the entity reporting the income of
           the partner (if known)~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  E


F      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          F   Yes          No    X

G      Partner's share of profit, loss, and capital                                                                             Beginning                Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G1                                                             4.9002%                 42.4008%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G2                                                               4.9002%                 42.4008%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G3                                                            35.2681%                 34.0434%

H      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           H1                       2002108
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                H2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            H3


I      Partner's capital account analysis
           1) Beginning capital account         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             I1                      2063681
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           I2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         I3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 I4                      -531081
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     I5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            I6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      I7                      1532600
           8) Method of accounting (mark an X in the appropriate box)
                   X     Tax basis               GAAP               Book             Other (submit explanation)
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J   Was Form CT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ J Yes                                  No


K   NYS estimated tax paid on behalf of partner (from Form CT-2658)                          Date                  Amount
         1) First installment    ~~~~~~~~~~~~~~~~~~~~~~~~~~~                         K1
         2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~                            K2
         3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~                         K3
         4) Fourth installment
                             ~~~~~~~~~~~~~~~~~~~~~~~~~~ K4
    Total NYS estimated tax paid on behalf of partner (add lines K1 through K4) ~~~~~~~~~~~~~~~~ K



Partner's share of entire net income (ENI) information when the corporate partner's New York tax filing
status is a C corporation

ENI addition modifications
  1 Total additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           1


           A - Number                  B - Amount                           A - Number       B - Amount
    1a     EA -                                                        1d   EA -
    1b     EA -                                                        1e   EA -
    1c     EA -                                                        1f   EA -


ENI subtraction modifications
  2 Total subtractions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         2                    36184

           A - Number                  B - Amount                           A - Number       B - Amount
    2a     ES - 507                                29398               2d   ES -
    2b     ES - 205                                 6786               2e   ES -
    2c     ES -                                                        2f   ES -


Partner's proportionate part of assets and liabilities (for New York C corporate partners only)

                                                                                                               Average value
    3    Total assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       3              3755773
    4    Real property and marketable securities included on line 3 ~~~~~~~~~~~~~~~~~~~~~~                4
    5    Real property and marketable securities at fair market value (FMV) ~~~~~~~~~~~~~~~~~~            5
    6    Average value of adjusted total assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          6              3755773
    7    Total liabilities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   7              2063560
    8    Liabilities directly attributable to business capital     ~~~~~~~~~~~~~~~~~~~~~~~~~~             8
    9    Liabilities directly attributable to investment capital    ~~~~~~~~~~~~~~~~~~~~~~~~~             9
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Partner's proportionate part of items related to investment capital under Article 9-A                             (for New York
C corporate partners only)

Part 1 - Investment capital that generates income claimed not taxable by New York under the U.S. Constitution
Description of asset (identify each asset, and enter number of shares (if applicable) and date acquired here; for each asset complete columns D
through G on the corresponding lines below; enter only directly owned assets in items A through F and Total from additional sheet(s))
For each item listed, in columns A through G, enter the information for the partnership as a whole.
 Item                                      A - Description of asset                                    B - Number of shares           C - Date acquired
                                                                                                       acquired, if applicable
   A
   B
   C
   D
   E
   F
 Item                D                           E                          F                                G                             H
                 Number of                    Date sold                  Average                   Liabilities directly               Net average
          shares sold, if applicable                                      FMV                         attributable                       FMV
   A
   B
   C
   D
   E
   F
 Total from additional sheet(s) 
 Total from partnerships 
  10 Total proportionate part of columns F
       and G (see instructions) ~~~~~~~~~~                  10


Part 2 - Investment capital - stocks actually held more than one year
Description of investment (identify each investment, and enter number of shares and date acquired here; for each investment complete columns D
through G on the corresponding lines below; enter only directly owned investments in items A through F and Total from additional sheet(s))
For each item listed, in columns A through G, enter the information for the partnership as a whole.
 Item                                  A - Name/CUSIP/CINS/lot number                                  B - Number of shares           C - Date acquired
                                                                                                             acquired
   A
   B
   C
   D
   E
   F
 Item                  D                         E                          F                               G                              H
                  Number of                   Date sold                  Average                  Liabilities directly                Net average
                  shares sold                                             FMV                        attributable                        FMV
   A
   B
   C
   D
   E
   F
 Total from additional sheet(s) 
 Total from partnerships 
  11 Total proportionate part of columns F
       and G (see instructions) ~~~~~~~~~~                  11
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                                                                                                                                            288832 11-04-22
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Part 3 - Investment capital - stocks presumed held more than one year
Description of investment (identify each investment, and enter number of shares and date acquired here; for each investment complete columns F
and G on the corresponding lines below; enter only directly owned investments in items A through F and Total from additional sheet(s))
For each item listed, in columns A through G, enter the information for the partnership as a whole.
 Item                                 A - Name/CUSIP/CINS/lot number                                 B - Number of shares acquired   C - Date acquired
   A
  B
  C
  D
   E
   F
 Item                D                            E                           F                              G                            H
                Number of                      Date sold                   Average                 Liabilities directly              Net average
                shares sold                                                 FMV                       attributable                      FMV
   A
  B
  C
  D
   E
   F
 Total from additional sheet(s) 
 Total from partnerships 
 12 Total proportionate part of columns F
      and G (see instructions) ~~~~~~~~~~~                    12


Part 4 - Total investment capital
 13 Total average FMV and liabilities directly attributable
        (add lines 10, 11, and 12 in columns F and G) ~       13


Part 5 - Prior year investment capital - stocks that did not meet holding period requirement
Description of investment (identify each investment, and enter number of shares and date acquired here; for each investment complete columns D
through G on the corresponding lines below; enter only directly owned investments in items A through F and Total from additional sheet(s))
For each item listed, in columns A through G, enter the information for the partnership as a whole.
 Item                                 A - Name/CUSIP/CINS/lot number                                 B - Number of shares acquired   C - Date acquired
   A
  B
  C
  D
   E
   F
 Item                D                           E                            F                              G                            H
                Number of                     Date sold                 Average FMV          Liabilities directly attributable       Net average
                shares sold                                         as previously reported       as previously reported                 FMV
   A
  B
  C
  D
   E
   F
 Total from additional sheet(s) 
 Total from partnerships 
 14 Total proportionate part of columns F
      and G (see instructions) ~~~~~~~~~~~                    14
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Part 6 - Prior year gross investment income for stocks that did not meet holding period requirement

 15 Prior year presumed gross investment income from stocks presumed in the prior year to
      be held more than one year that failed to meet the presumption (see instructions) ~~~~~~~~~~~~        15



Partner's share of items related to investment and other exempt income under Article 9-A                         (for New York
C corporate partners only)


 16   Gross exempt cross-article dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           16
 17   Gross exempt controlled foreign corporation (CFC) income        ~~~~~~~~~~~~~~~~~~~~~~           17
 18   Gross exempt unitary corporation dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        18
 19   Gross investment income from investments generating income not taxable by New York
         State under the U.S. Constitution ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          19
 20   Dividend income from investment capital from stocks actually held more than one year ~~~~~~~~    20
 21   Net capital gains or losses from investment capital from stocks actually held more
         than one year   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   21
 22   Dividend income from investment capital from stocks presumed held more than one year ~~~~~~~     22



Partner's share of items related to interest deductions directly attributable to investment and other
exempt income under Article 9-A (for New York C corporate partners only)

 23   Interest expense per federal Form 1065, line 15 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                     23                            41636
 24   Interest deductions directly attributable to income reported on line 16   ~~~~~~~~~~~~~~~~       24
 25   Interest deductions directly attributable to income reported on line 17   ~~~~~~~~~~~~~~~~       25
 26   Interest deductions directly attributable to income reported on line 18   ~~~~~~~~~~~~~~~~       26
 27   Interest deductions directly attributable to income reported on line 19   ~~~~~~~~~~~~~~~~       27
 28   Interest deductions directly attributable to income reported on line 20   ~~~~~~~~~~~~~~~~       28
 29   Interest deductions directly attributable to income reported on line 21   ~~~~~~~~~~~~~~~~       29
 30   Interest deductions directly attributable to income reported on line 22   ~~~~~~~~~~~~~~~~       30
 31   Interest deductions directly attributable to business capital    ~~~~~~~~~~~~~~~~~~~~~           31



Partner's share and proportionate part of items related to subtraction modification for qualified banks

 32 Qualified residential loan portfolio assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        32
 33 Gross interest income from qualifying loans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         33
33a Gross interest income from all loans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           33a
33b Gross interest expense from all loans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           33b



Partner's share and proportionate part of items related to manufacturing

 34 Total receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~~~~~~~~~                    34
 35 New York adjusted basis of qualified manufacturing property ~~~~~~~~~~~~~~~~~~~~~                  35
35a Number of employees employed in manufacturing in New York           ~~~~~~~~~~~~~~~~~~~~          35a
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Partner's share of New York modifications (for New York S corporate partners only)

  36    New York State additions
          Number               A - Total amount
 36a     EA -
 36b     EA -
 36c     EA -
 36d     EA -
 36e     EA -
 36f     EA -


  37    Total addition modifications (total of column A, lines 36a through 36f) ~~~~~~~~~~~~~~~~~    37


  38    New York State subtractions
          Number              A - Total amount
 38a     ES - 205                            6785
 38b     ES - 210                           29119
 38c     ES - 214                             279
 38d     ES -
 38e     ES -
 38f     ES -


  39    Total subtraction modifications (total of column A, lines 38a through 38f) ~~~~~~~~~~~~~~~   39         36183

  40    Additions to itemized deductions
       Letter            Amount
 40a
 40b
 40c
 40d
 40e
 40f


  41    Total additions to itemized deductions (add lines 40a through 40f) ~~~~~~~~~~~~~~~~~~        41


  42    Subtractions from itemized deductions
       Letter            Amount
 42a
 42b
 42c
 42d
 42e
 42f


 43     Total subtractions from itemized deductions (add lines 42a through 42f) ~~~~~~~~~~~~~~~      43
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Partner's share of income, deductions, etc. (from federal Form 1065, Schedule K-1)
Partner's distributive share items
 44   Ordinary business income (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44                 -1361867
 45   Net rental real estate income (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46   Other net rental income (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   46
 47   Guaranteed payments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           47
 48   Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           48                     71639
 49   Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          49
 50   Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              50
 51   Net short-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 51
 52   Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 52
 53   Net section 1231 gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    53
 54   Other income (loss)                                          54
        Identify:


 55   Section 179 deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55
 56   Other deductions                                            56                         439
        Identify:
            SEE STATEMENT
 57   Tax-exempt income and nondeductible expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               57                   773368
 58   Distributions - cash and marketable securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           58
 59   Distributions - other property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   59
 60   Other items not included above that are required to be reported separately to partners         60                 14091639
        Identify:
            SEE STATEMENT



Partner's credit information (see instructions)
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form CT-611, Form CT-611.1, or Form CT-611.2)


                                                                           A - Form CT-611        B - Form CT-611.1     C - Form CT-611.2
 61   Site preparation credit component ~~~~~~~~~~~                61
 62   Tangible property credit component    ~~~~~~~~~~             62
 63   On-site groundwater remediation credit component ~~~         63



 64   This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                64
 65   This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                65


QEZE tax reduction credit (Form CT-604-CP)
 66 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       66
 67   QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     67
 68   QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      68


Excelsior jobs program tax credit (Form CT-607)
 69 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    69
 70   Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                70
 71   Excelsior research and development tax credit component     ~~~~~~~~~~~~~~~~~~~~~                      71
 72   Excelsior real property tax credit component                                                           72
72a   Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~                         72a
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Partner's credit information (continued)
Farmers' school tax credit (Form CT-47)
 73 Acres of qualified agricultural property      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            73
 74    Acres of qualified conservation property       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         74
 75    Eligible school district property taxes paid    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         75
 76    Acres of qualified agricultural property converted to nonqualified use   ~~~~~~~~~~~~~~~~~             76


Other flow-through credit bases and information
     Credit bases
           Code                    Amount                                Code             Amount
 77a                                                            77d
 77b                                                            77e
 77c                                                            77f


       Credit information
           Code                  Information                             Code          Information
 77g                                                            77j
 77h                                                            77k
 77i                                                            77l

Part 2 - Flow-through credits, addbacks, and recaptures
 78    Flow-through credits
           Code                    Amount                                Code             Amount
 78a                                                            78e
 78b                                                            78f
 78c                                                            78g
 78d                                                            78h


 79    Addbacks of credits and recaptures
           Code                    Amount                                Code             Amount
 79a                                                            79d
 79b                                                            79e
 79c                                                            79f

Part 3 - START-UP NY tax elimination credit information (Form CT-638)
 80    START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                          80
 81    Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                            81
 82    START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  82

Partner's share of apportionment and Metropolitan Commuter Transportation District (MCTD) information
Part 1
  1 During the reporting year, did the partnership do business, employ capital, own or lease property, maintain
     an office, or derive receipts from activity, in New York State? (mark an X in the appropriate box) ~~~~~~~~~   Yes         No
  2 During the reporting year, did the partnership do business, employ capital, own or lease property, maintain
     an office, or derive receipts from activity, in the MCTD? (mark an X in the appropriate box) ~~~~~~~~~~~~      Yes         No


Average value of property                                                                          A - MCTD          B - New York State
  3 Real estate owned ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  3
  4 Real estate rented ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 4
  5 Inventories owned ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  5
  6 Tangible personal property owned         ~~~~~~~~~~~~~~~~~~~~~~                   6
  7 Tangible personal property rented ~~~~~~~~~~~~~~~~~~~~~~~                         7
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Part 2                                                                            A                  B                        C
Receipts from:                                                                   MCTD           New York State           Everywhere
Section 210-A.2
   1 Sales of tangible personal property ~~~~~~~~~~~                     1
    2 Sales of electricity ~~~~~~~~~~~~~~~~~~~                           2
    3 Net gains from sales of real property                    3
Section 210-A.3
   4 Rentals of real and tangible personal property ~~~~~~               4
    5 Royalties from patents, copyrights, trademarks,
       and similar intangible personal property ~~~~~~~~                 5
    6 Sales of rights for certain closed-circuit and
       cable TV transmissions of an event                      6
Section 210-A.4
   7 Sale, licensing, or granting access to digital products ~~          7
  7a Sale, licensing, or granting access to digital products ~~         7a
   8 This line intentionally left blank                     8
Section 210-A.5(a)(2)(A)
   9 Interest from loans secured by real property        ~~~~~~          9
  10 Net gains from sales of loans secured by real property           10
  11 Interest from loans not secured by real property                   11
  12 Net gains from sales of loans not secured by
      real property                                   12
Section 210-A.5(a)(2)(B)
  13 Interest from federal debt                         13
  14
  15 Interest from NYS and its political subdivisions debt              15
  16 Net gains from federal, NYS, and NYS political subdivisions debt   16
  17 Interest from other states and their political
       subdivisions debt ~~~~~~~~~~~~~~~~~~~                            17
  18 Net gains from other states and their political
      subdivisions debt                              18
Section 210-A.5(a)(2)(C)
  19 Interest from asset-backed securities and other
         government agency debt ~~~~~~~~~~~~~~~                         19
  20 Net gains from government agency debt or
      asset-backed securities sold through an exchange            ~~    20
  21 Net gains from all other asset-backed securities ~~~~~             21
Section 210-A.5(a)(2)(D)
  22 Interest from corporate bonds       ~~~~~~~~~~~~~                  22
  23 Net gains from corporate bonds sold through
      broker/dealer or licensed exchange ~~~~~~~~~~                     23
  24 Net gains from other corporate bonds         ~~~~~~~~~             24
Section 210-A.5(a)(2)(E)
  25 Net interest from reverse repurchase and
         securities borrowing agreements                     25
Section 210-A.5(a)(2)(F)
  26 Net interest from federal funds ~~~~~~~~~~~~~                      26
Section 210-A.5(a)(2)(I)
  27 Net income from sales of physical commodities ~~~~~                27
Section 210-A.5(a)(2)(J)
  28 Marked to market net gains ~~~~~~~~~~~~~~~                         28
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Part 2                                                                     A                  B                C
Receipts from:                                                            MCTD           New York State   Everywhere
Section 210-A.5(a)(2)(H)
        210-A.5(a)(2)(G)
  29 Interest from other financial instruments ~~~~~~~~          29
  30 Net gains from other financial instruments ~~~~~~~          30
 30a Net gains from other financial instruments
      (broker/dealer/exchange) ~~~~~~~~~~~~~~~ 30a
 30b Other income from other financial instruments ~~~~~~ 30b
 30c Other income from other financial instruments
       (broker/dealer/exchange)  30c
 30d Dividends from stock that is business capital ~~~~~~ 30d
 30e Net gains from sales of stock that is business capital ~~ 30e
 30f Net gains from sales of partnership interests  30f
Section 210-A.5(b)
  31 Brokerage commissions      ~~~~~~~~~~~~~~~~                 31
  32 Margin interest earned on behalf of brokerage accounts      32
  33 Fees for advisory services for underwriting
        or management of underwriting ~~~~~~~~~~~~               33
  34 Receipts from primary spread of selling concessions         34
  35 Receipts from account maintenance fees ~~~~~~~~             35
  36 Fees for management or advisory services ~~~~~~~            36
  37 Interest from an affiliated corporation           37
Section 210-A.5(c)
  38 Interest, fees, and penalties from credit cards ~~~~~~      38
  39 Service charges and fees from credit cards ~~~~~~~          39
  40 Receipts from merchant discounts ~~~~~~~~~~~                40
  41 Receipts from credit card authorizations and
      settlement processing ~~~~~~~~~~~~~~~~                     41
  42 Other credit card processing receipts             42
Section 210-A.5(d)
  43 Receipts from certain services to investment companies      43
  44 This line intentionally left blank             44
Section 210-A.6
  45 Receipts from railroad and trucking business          45
Section 210-A.6-a
  46 Receipts from the operation of vessels             46
Section 210-A.7
  47 Receipts from air freight forwarding ~~~~~~~~~~~            47
  48 Receipts from other aviation services             48
Section 210-A.8
  49 Advertising in newspapers or periodicals ~~~~~~~~           49
  50 Advertising on television or radio ~~~~~~~~~~~~             50
  51 Advertising via other means                   51
Section 210-A.9
  52 Transportation or transmission of gas through pipes         52
Section 210-A.10
  53 Receipts from other services/activities not specified       53
 53a Receipts from other services/activities not specified      53a
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                                                                                                        A                         B
Payroll
                                                                                                       MCTD                  New York State
 54 Wages and other compensation of employees except general executive officers          54
 55 Average number of individuals employed full time in New York State (excluding employees with
         partnership-wide authority) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        55



Gross proceeds or receipts from certain sales                                 A                         B                           C
 (for apportionment purposes) (see instructions)                             MCTD                  New York State              Everywhere
 56 Sales of loans secured by real property ~~~~~~~~~          56
 57 Sales of loans not secured by real property ~~~~~~~        57
 58 Sales of other asset-backed securities ~~~~~~~~~           58
 59 Sales of corporate bonds ~~~~~~~~~~~~~~~~                  59
 60 Sales of physical commodities ~~~~~~~~~~~~~                60


Marked to market net gain or loss from deemed sales (for apportionment purposes)
 61 Of loans secured by real property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      61
 62 Of loans not secured by real property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    62
 63 Of federal debt instruments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         63
 64 Of New York State and its political subdivisions debt instruments ~~~~~~~~~~~~~~~~~~~                      64
 65 Of other states and their political subdivisions debt instruments ~~~~~~~~~~~~~~~~~~~~                     65
 66 Of government agency debt or asset-backed securities (through exchange) ~~~~~~~~~~~~~~                     66
 67 Of all other asset-backed securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    67
 68 Of corporate bonds through licensed exchange or broker/dealer ~~~~~~~~~~~~~~~~~~~~                         68
 69 Of other corporate bonds ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           69
 70 Of physical commodities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            70
 71 Of other financial instruments of one type ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 71


Items related to repurchase agreements and securities borrowing/lending agreements
 72 Value of reverse repurchase agreements when partnership is purchaser/lender ~~~~~~~~~~~~                   72
 73 Value of borrowing agreements when partnership is securities borrower ~~~~~~~~~~~~~~~~                     73
 74 Value of repurchase agreements when partnership is seller/borrower ~~~~~~~~~~~~~~~~~                       74
 75 Value of lending agreements when partnership is securities lender ~~~~~~~~~~~~~~~~~~~                      75
 76 Interest income from reverse repurchase agreements and securities borrowing agreements ~~~~~~              76
 77 Interest expense from repurchase agreements and securities lending agreements ~~~~~~~~~~~                  77


Partner's share of New York adjustments due to decoupling from the IRC                        (see instructions)

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           2
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-CP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                                  AMOUNT FROM
                                                                                    FEDERAL
  DESCRIPTION                                                                    SCHEDULE K-1
  }}}}}}}}}}}}}}}}                                                              }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                                                439.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-CP, PAGE 7, LINE 56                                                439.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-CP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                                  AMOUNT FROM
                                                                                    FEDERAL
  DESCRIPTION                                                                    SCHEDULE K-1
  }}}}}}}}}}}}}}}}                                                              }}}}}}}}}}}}}}
  INVESTMENT INCOME                                                                    71,639.
  BUSINESS INTEREST EXPENSE                                                            41,637.
  EXCESS BUSINESS INTEREST INCOME                                                      30,002.
  GROSS RECEIPTS FOR SECTION 448(C)                                                 9,435,830.
  SECTION 179 EXPENSE DISALLOWED DUE TO BUSINESS
  INC                                                                                  48,625.
  SECTION 199A W-2 WAGES                                                            1,935,633.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                                           3,890,140.
  SECTION 199A ORDINARY INCOME/LOSS                                                -1,361,867.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-CP, PAGE 7, LINE 60                                         14,091,639.
                                                                                ~~~~~~~~~~~~~~




                                            146                    PARTNER NUMBER 13
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1              14
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    MARK FIRST                                                                                                                                           1958
    Partner's address


    City                                                                      State                  ZIP code


D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)   X    Individual             Estate/trust            Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1           0.4965%                 1.8984%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2           0.4965%                 1.8984%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3           1.6317%                 1.5859%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1                           89638
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1                            96995
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4                          -23778
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7                            73217
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
            X    NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
                 NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 502 of 733
                                                                                                                                           288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                           Yes            No


N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P            Yes            No   X
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)      Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                       -60974        1                       -60974
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                     2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                     3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                     4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                         3207        5                           3207
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                     6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                     7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                     8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                     9
    10 Net section 1231 gain (loss)                        10                                    10
    11 Other income (loss)     Identify:                                     11                                    11
    12 Section 179 deduction                             12                                    12
    13 Other deductions    Identify: SEE STATEMENT                           13                            20      13                                20
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                    14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                    15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                        34625       16                         34625
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                    17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                    18
    19 Other items not included above that are required to be
          reported separately to partners                     19                       630907       19                       630907
           Identify:  SEE STATEMENT
                          Case 24-10856-JKS            Doc 1      Filed 04/25/24            Page 503 of 733

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Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount         B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount         B - New York State allocated amount
 22a      ES- 205                               304                          304
 22b      ES- 210                              1304                         1304
 22c      ES- 214                                13                           13
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~    23                         1621

    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~         25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~       27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 504 of 733

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Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a                 328055
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
                           Case 24-10856-JKS                   Doc 1        Filed 04/25/24           Page 505 of 733

288863 11-04-22                                                                                                            IT-204-IP (2022)        Page 5 of 5
Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 506 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                     AMOUNT FROM     NEW YORK
                                                       FEDERAL         STATE
  DESCRIPTION                                       SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                     20.            20.
                                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 13                     20.            20.
                                                   ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            AMOUNT FROM     NEW YORK
                                                              FEDERAL         STATE
  DESCRIPTION                                              SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INVESTMENT INCOME                                               3,207.         3,207.
  BUSINESS INTEREST EXPENSE                                       1,864.         1,864.
  EXCESS BUSINESS INTEREST INCOME                                 1,344.         1,344.
  GROSS RECEIPTS FOR SECTION 448(C)                             422,459.       422,459.
  SECTION 179 EXPENSE DISALLOWED DUE TO BUSINESS
  INC                                                             2,177.         2,177.
  SECTION 199A W-2 WAGES                                         86,661.        86,661.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                       174,169.       174,169.
  SECTION 199A ORDINARY INCOME/LOSS                             -60,974.       -60,974.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 19                      630,907.       630,907.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            152                    PARTNER NUMBER 14
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                   Case 24-10856-JKS                      Doc 1          Filed 04/25/24           Page 507 of 733
                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1              15
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    JUSTIN GUTTMAN                                                                                                                                       1865
    Partner's address


    City                                                                      State                  ZIP code


D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)   X    Individual             Estate/trust            Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1           0.0913%                 0.7901%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2           0.0913%                 0.7901%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3           0.6572%                 0.6343%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1                           37309
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1                            38454
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4                            -9896
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7                            28558
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
                 NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
            X    NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 508 of 733
                                                                                                                                            288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                            Yes            No   X

N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                        Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                        Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P             Yes            No   X
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)       Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                 C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                       -25378         1                       -19532
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                      2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                      3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                      4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                         1335         5                           1027
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                      6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                      7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                      8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                      9
    10 Net section 1231 gain (loss)                        10                                     10
    11 Other income (loss)     Identify:                                     11                                     11
    12 Section 179 deduction                             12                                     12
    13 Other deductions    Identify: SEE STATEMENT                           13                               8     13                                  6
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                     14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                     15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                        14411        16                         11091
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                     17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                     18
    19 Other items not included above that are required to be
          reported separately to partners                     19                       262596        19                       202104
           Identify:  SEE STATEMENT
                          Case 24-10856-JKS            Doc 1      Filed 04/25/24            Page 509 of 733

288861 11-04-22                                                                                           IT-204-IP (2022)   Page 3 of 5
Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount         B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount         B - New York State allocated amount
 22a      ES- 205                               126                           97
 22b      ES- 210                               542                          542
 22c      ES- 214                                 5                            5
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~    23                           673

    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~         25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~       27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 510 of 733

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Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a                 136542
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
                           Case 24-10856-JKS                   Doc 1        Filed 04/25/24           Page 511 of 733

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Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 512 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                     AMOUNT FROM     NEW YORK
                                                       FEDERAL         STATE
  DESCRIPTION                                       SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                     8.             6.
                                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 13                     8.             6.
                                                   ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            AMOUNT FROM     NEW YORK
                                                              FEDERAL         STATE
  DESCRIPTION                                              SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INVESTMENT INCOME                                               1,335.         1,027.
  BUSINESS INTEREST EXPENSE                                         776.            597.
  EXCESS BUSINESS INTEREST INCOME                                   559.            430.
  GROSS RECEIPTS FOR SECTION 448(C)                             175,835.       135,330.
  SECTION 179 EXPENSE DISALLOWED DUE TO BUSINESS
  INC                                                               906.           697.
  SECTION 199A W-2 WAGES                                         36,071.        27,762.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                        72,492.        55,793.
  SECTION 199A ORDINARY INCOME/LOSS                             -25,378.       -19,532.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 19                      262,596.       202,104.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            158                    PARTNER NUMBER 15
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                   Case 24-10856-JKS                      Doc 1          Filed 04/25/24           Page 513 of 733
                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1              16
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    LEOR WOLF                                                                                                                                            5300
    Partner's address


    City                                                                      State                  ZIP code


D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)   X    Individual             Estate/trust            Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1           0.0000%                 0.0000%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2           0.0000%                 0.0000%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3           0.0000%                 0.0000%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
            X    NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
                 NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 514 of 733
                                                                                                                                           288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                           Yes            No


N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P            Yes            No   X
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)      Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                                     1
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                     2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                     3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                     4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                                     5
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                     6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                     7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                     8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                     9
    10 Net section 1231 gain (loss)                        10                                    10
    11 Other income (loss)     Identify:                                     11                                    11
    12 Section 179 deduction                             12                                    12
    13 Other deductions    Identify:                                         13                                    13
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                    14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                    15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                                    16
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                    17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                    18
    19 Other items not included above that are required to be
          reported separately to partners                     19                                    19
           Identify:
                          Case 24-10856-JKS           Doc 1      Filed 04/25/24           Page 515 of 733

288861 11-04-22                                                                                          IT-204-IP (2022)   Page 3 of 5
Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount        B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount       B - New York State allocated amount
 22a      ES-
 22b      ES-
 22c      ES-
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~   23


    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~        25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~      27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                       28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 516 of 733

Page 4 of 5       IT-204-IP (2022)                                                                                              288862 11-04-22

Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
                           Case 24-10856-JKS                   Doc 1        Filed 04/25/24           Page 517 of 733

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Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                                   Case 24-10856-JKS                      Doc 1          Filed 04/25/24           Page 518 of 733
                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1              17
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    JUSTIN HELLER                                                                                                                                        8775
    Partner's address


    City                                                                      State                  ZIP code


D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)   X    Individual             Estate/trust            Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1           0.4393%                 0.4452%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2           0.4393%                 0.4452%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3           0.4442%                 0.4440%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1                           21023
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1                            28119
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4                            -5576
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7                            22543
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
            X    NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
                 NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 519 of 733
                                                                                                                                            288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                            Yes            No


N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                        Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                        Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P             Yes            No   X
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)       Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                 C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                       -14300         1                       -14300
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                      2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                      3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                      4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                            752       5                              752
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                      6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                      7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                      8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                      9
    10 Net section 1231 gain (loss)                        10                                     10
    11 Other income (loss)     Identify:                                     11                                     11
    12 Section 179 deduction                             12                                     12
    13 Other deductions    Identify: SEE STATEMENT                           13                               4     13                                  4
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                     14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                     15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                        8120         16                           8120
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                     17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                     18
    19 Other items not included above that are required to be
          reported separately to partners                     19                       147964        19                       147964
           Identify:  SEE STATEMENT
                          Case 24-10856-JKS            Doc 1      Filed 04/25/24            Page 520 of 733

288861 11-04-22                                                                                           IT-204-IP (2022)   Page 3 of 5
Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount         B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount         B - New York State allocated amount
 22a      ES- 205                                71                           71
 22b      ES- 210                               306                          306
 22c      ES- 214                                 3                            3
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~    23                           380

    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~         25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~       27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 521 of 733

Page 4 of 5       IT-204-IP (2022)                                                                                              288862 11-04-22

Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a                   76937
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
                           Case 24-10856-JKS                   Doc 1        Filed 04/25/24           Page 522 of 733

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Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 523 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                     AMOUNT FROM     NEW YORK
                                                       FEDERAL         STATE
  DESCRIPTION                                       SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                     4.             4.
                                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 13                     4.             4.
                                                   ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            AMOUNT FROM     NEW YORK
                                                              FEDERAL         STATE
  DESCRIPTION                                              SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INVESTMENT INCOME                                                 752.            752.
  BUSINESS INTEREST EXPENSE                                         437.            437.
  EXCESS BUSINESS INTEREST INCOME                                   315.            315.
  GROSS RECEIPTS FOR SECTION 448(C)                              99,078.        99,078.
  SECTION 179 EXPENSE DISALLOWED DUE TO BUSINESS
  INC                                                               511.           511.
  SECTION 199A W-2 WAGES                                         20,324.        20,324.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                        40,847.        40,847.
  SECTION 199A ORDINARY INCOME/LOSS                             -14,300.       -14,300.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 19                      147,964.       147,964.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            169                    PARTNER NUMBER 17
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1              18
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    JAMIE GREER                                                                                                                                          8556
    Partner's address


    City                                                                      State                  ZIP code


D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)   X    Individual             Estate/trust            Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1           0.0000%                 0.0000%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2           0.0000%                 0.0000%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3           0.0000%                 0.0000%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
            X    NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
                 NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 525 of 733
                                                                                                                                           288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                           Yes            No


N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P            Yes            No   X
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)      Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                                     1
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                     2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                     3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                     4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                                     5
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                     6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                     7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                     8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                     9
    10 Net section 1231 gain (loss)                        10                                    10
    11 Other income (loss)     Identify:                                     11                                    11
    12 Section 179 deduction                             12                                    12
    13 Other deductions    Identify:                                         13                                    13
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                    14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                    15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                                    16
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                    17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                    18
    19 Other items not included above that are required to be
          reported separately to partners                     19                                    19
           Identify:
                          Case 24-10856-JKS           Doc 1      Filed 04/25/24           Page 526 of 733

288861 11-04-22                                                                                          IT-204-IP (2022)   Page 3 of 5
Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount        B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount       B - New York State allocated amount
 22a      ES-
 22b      ES-
 22c      ES-
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~   23


    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~        25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~      27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                       28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 527 of 733

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Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
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Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                                   Case 24-10856-JKS                      Doc 1          Filed 04/25/24           Page 529 of 733
                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1              19
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    STEVE GORNIC                                                                                                                                         8600
    Partner's address


    City                                                                      State                  ZIP code


D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)   X    Individual             Estate/trust            Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1           0.0000%                 0.0000%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2           0.0000%                 0.0000%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3           0.0000%                 0.0000%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
                 NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
            X    NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 530 of 733
                                                                                                                                           288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                           Yes            No   X

N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P            Yes            No   X
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)      Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                                     1
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                     2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                     3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                     4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                                     5
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                     6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                     7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                     8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                     9
    10 Net section 1231 gain (loss)                        10                                    10
    11 Other income (loss)     Identify:                                     11                                    11
    12 Section 179 deduction                             12                                    12
    13 Other deductions    Identify:                                         13                                    13
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                    14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                    15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                                    16
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                    17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                    18
    19 Other items not included above that are required to be
          reported separately to partners                     19                                    19
           Identify:
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288861 11-04-22                                                                                          IT-204-IP (2022)   Page 3 of 5
Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount        B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount       B - New York State allocated amount
 22a      ES-
 22b      ES-
 22c      ES-
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~   23


    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~        25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~      27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                       28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 532 of 733

Page 4 of 5       IT-204-IP (2022)                                                                                              288862 11-04-22

Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
                           Case 24-10856-JKS                   Doc 1        Filed 04/25/24           Page 533 of 733

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Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                                   Case 24-10856-JKS                      Doc 1          Filed 04/25/24           Page 534 of 733
                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1              20
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    THEO DUBIN                                                                                                                                           4327
    Partner's address


    City                                                                      State                  ZIP code


D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)   X    Individual             Estate/trust            Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1           0.0000%                 0.0000%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2           0.0000%                 0.0000%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3           0.0000%                 0.0000%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
            X    NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
                 NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 535 of 733
                                                                                                                                           288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                           Yes            No


N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P            Yes            No   X
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)      Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                                     1
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                     2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                     3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                     4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                                     5
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                     6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                     7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                     8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                     9
    10 Net section 1231 gain (loss)                        10                                    10
    11 Other income (loss)     Identify:                                     11                                    11
    12 Section 179 deduction                             12                                    12
    13 Other deductions    Identify:                                         13                                    13
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                    14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                    15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                                    16
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                    17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                    18
    19 Other items not included above that are required to be
          reported separately to partners                     19                                    19
           Identify:
                          Case 24-10856-JKS           Doc 1      Filed 04/25/24           Page 536 of 733

288861 11-04-22                                                                                          IT-204-IP (2022)   Page 3 of 5
Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount        B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount       B - New York State allocated amount
 22a      ES-
 22b      ES-
 22c      ES-
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~   23


    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~        25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~      27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                       28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 537 of 733

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Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
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Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
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                                           Department of Taxation and Finance                                                                            288851 11-04-22

                                           New York Partner's Schedule K-1
                                           Tax Law - Article 22 (Personal Income Tax)
                                                                                                                                                IT-204-IP
                                                                                                                                                Final K-1              21
For calendar year 2022 or tax year beginning                                          and ending
                                                                                                                                                Amended K-1
Partners: Before completing your income tax return, see Form IT-204-IP-I, Partner's Instructions for Form IT-204-IP (available at www.tax.ny.gov).

Partnership's information (see instructions)
    Partnership's name (as shown on Form IT-204)                                                                                 Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                    462153586
A      Mark an X in the box if either applies to your entity                        Publicly traded partnership           Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B


C      Business allocation percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                C        76.9644 %

Partner's information (see instructions)
    Partner's name                                                                                                               Partner's identifying number
    STICKY'S INVESTCO II, LLC                                                                                                               851405901
    Partner's address
    477 BROOME STREET, #61
    City                                                                      State                  ZIP code
    NEW YORK                                                                    NY                   10013
D      The partner is a (mark an X in the appropriate box)             General partner or LLC member-manager             X       Limited partner or other LLC member


E      What is the tax filing status of the partner? (Mark an X in the appropriate box, if known.)        Individual             Estate/trust      X     Partnership
F      If the partner is a disregarded entity or grantor trust,
           enter the tax ID of the entity or individual reporting the income, if known ~~~~~~~~~~~~~~                        F


G      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G                                              Yes           No        X
H      Partner's share of profit, loss, and capital                                            Beginning                                                    Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H1        36.5211%                  37.0276%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          H2        36.5211%                  37.0276%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        H3        36.9315%                  36.9149%
I      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              I1                        1748390
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   I2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               I3
J      Partner's capital account analysis
           1) Beginning capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     J1                         2337788
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            J2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          J3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  J4                         -463781
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      J5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             J6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       J7                         1874007
           8) Method of accounting (mark an X in the appropriate box)
                 X Tax basis               GAAP             Book          Other (submit explanation)
K      Resident status (mark an X in all boxes that apply; see instructions)
                 NYS full-year resident                          Yonkers full-year resident                 NYC full-year resident
                 NYS part-year resident                          Yonkers part-year resident                 NYC part-year resident
                 NYS nonresident                                 Yonkers nonresident
L      If the partner was included in a group return, enter the special NYS identification number, if known            ~~ L
                              Case 24-10856-JKS                  Doc 1        Filed 04/25/24           Page 540 of 733
                                                                                                                                           288852 11-04-22
Page 2 of 5  IT-204-IP (2022)
M Was Form IT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ M                                           Yes            No


N     NYS estimated tax paid on behalf of partner (from Form IT-2658-NYS)                              Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ N1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ N3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ N4
      Total NYS estimated tax paid on behalf of partner (add lines N1 through N4) ~~~~~~~~~~~~~~~~ N


O     Estimated MCTMT paid on behalf of partner (from Form IT-2658-MTA)                                Date                       Amount
        1) First installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ O1
        2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O2
        3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ O3
        4) Fourth installment ~~~~~~~~~~~~~~~~~~~~~~~~~~ O4
      Total estimated MCTMT paid on behalf of partner (add lines O1 through O4) ~~~~~~~~~~~~~~~~ O


P     Did the partnership elect to pay the pass-through entity tax (PTET) for the current tax year?   ~~~~~~~~~~~~~ P            Yes            No
         If Yes, what residency status was assigned to this partner for purposes of computing the pass-through
           entity taxable income (PTE taxable income)? (Mark an X in the appropriate box; see instructions)      Resident              Nonresident



Partner's share of income, deductions, etc.
               A - Partner's distributive share items                             B - Federal K-1 amount                C - New York State amount
     1 Ordinary business income (loss) ~~~~~~~~~~~~~~~~                       1                  -1189284           1                   -1189284
     2 Net rental real estate income (loss) ~~~~~~~~~~~~~~                    2                                     2
     3 Other net rental income (loss) ~~~~~~~~~~~~~~~~~                       3                                     3
     4 Guaranteed payments ~~~~~~~~~~~~~~~~~~~~                               4                                     4
     5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~                               5                        62561        5                         62561
     6 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~                              6                                     6
     7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  7                                     7
     8 Net short-term capital gain (loss) ~~~~~~~~~~~~~~~                     8                                     8
     9 Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~                     9                                     9
    10 Net section 1231 gain (loss)                        10                                    10
    11 Other income (loss)     Identify:                                     11                                    11
    12 Section 179 deduction                             12                                    12
    13 Other deductions    Identify: SEE STATEMENT                           13                            384     13                              384
    14 This line intentionally left blank ~~~~~~~~~~~~~~~~                   14                                    14
    15 Net earnings (loss) from self-employment ~~~~~~~~~~~                  15                                    15
    16 Tax-exempt income and nondeductible expenses ~~~~~~~                  16                       675364       16                       675364
    17 Distributions - cash and marketable securities ~~~~~~~~~              17                                    17
    18 Distributions - other property ~~~~~~~~~~~~~~~~~                      18                                    18
    19 Other items not included above that are required to be
          reported separately to partners                     19                  12305872          19                   12305872
           Identify:  SEE STATEMENT
                          Case 24-10856-JKS           Doc 1      Filed 04/25/24           Page 541 of 733

288861 11-04-22                                                                                          IT-204-IP (2022)   Page 3 of 5
Partner's share of New York modifications (see instructions)

    20 New York State additions
         Number              A - Total amount        B - New York State allocated amount
 20a      EA-
 20b      EA-
 20c      EA-
 20d      EA-
 20e      EA-
 20f      EA-


    21 Total addition modifications (total of column A, lines 20a through 20f) ~~~~~~~~~~~~~~~~~    21


    22 New York State subtractions
         Number              A - Total amount       B - New York State allocated amount
 22a      ES- 205                           5926                          5926
 22b      ES- 210                          25429                         25429
 22c      ES- 214                            243                           243
 22d      ES-
 22e      ES-
  22f     ES-


    23 Total subtraction modifications (total of column A, lines 22a through 22f) ~~~~~~~~~~~~~~~   23                       31598

    24 Additions to itemized deductions
        Letter           Amount
 24a
 24b
 24c
 24d
 24e
  24f


    25 Total additions to itemized deductions (add lines 24a through 24f) ~~~~~~~~~~~~~~~~~~        25


    26 Subtractions from itemized deductions
        Letter           Amount
 26a
 26b
 26c
 26d
 26e
  26f


    27 Total subtractions from itemized deductions (add lines 26a through 26f) ~~~~~~~~~~~~~~~      27


    28 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                       28
                             Case 24-10856-JKS               Doc 1        Filed 04/25/24          Page 542 of 733

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Partner's other information

  29a Partner's share of New York source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                               29a               6398714
  29b MCTD allocation percentage (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               29b           %
  29c Partner's share of receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~                    29c
  29d Partner's share of New York adjusted basis of qualified manufacturing property ~~~~~~~~~~               29d


Partner's credit information
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form IT-611, IT-611.1, or IT-611.2)
                                                                             A - Form IT-611        B - Form IT-611.1   C - Form IT-611.2
 30 Site preparation credit component ~~~~~~~~~~~                   30
 31 Tangible property credit component ~~~~~~~~~~                   31
 32 On-site groundwater remediation credit component ~~~            32


 33 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33
 34 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    34
 35 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    35


QEZE tax reduction credit (Form IT-604)
 36 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         36
 37 QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         37
 38 QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          38


Excelsior jobs program tax credit (Form IT-607)
 39 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      39
 40 Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   40
 41 Excelsior research and development tax credit component ~~~~~~~~~~~~~~~~~~~~~~                             41
 42 Excelsior real property tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 42
42a Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             42a


Farmers' school tax credit (Form IT-217)
 43 Acres of qualified agricultural property   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                43
 44 Acres of qualified conservation property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44
 45 Eligible school district property taxes paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46 Acres of qualified agricultural property converted to nonqualified use    ~~~~~~~~~~~~~~~~~                46


Other flow-through credit bases and information
     Credit bases
          Code                Amount                                     Code                  Amount
  47a                                                        47d
  47b                                                        47e
  47c                                                         47f


        Credit information
           Code                 Information                              Code              Information
  47g                                                         47j
  47h                                                        47k
  47i                                                         47l
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Partner's credit information (continued)

Part 2 - Flow-through credits, addbacks, and recaptures
 48 Long-term care insurance credit (Form IT-249) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       48
 49 Investment credit (including employment incentive credit and historic barn rehabilitation credit; Form IT-212)    49
 50 Research and development - investment credit (Form IT-212) ~~~~~~~~~~~~~~~~~~~~~                                  50
 51 Other flow-through credits
       Code                    Amount                                    Code                   Amount
  51a                                                          51e
  51b                                                          51f
  51c                                                          51g
  51d                                                          51h


 52 Addbacks of credits and recaptures
       Code                   Amount                                     Code                   Amount
  52a                                                          52d
  52b                                                          52e
  52c                                                          52f

Part 3 - START-UP NY tax elimination credit information (Form IT-638)
 53     START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                                 53
 54     Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   54
 55     START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55


Partner's share of New York adjustments due to decoupling from the IRC                               (see instructions)

                                                                                            A - Total amount               B - New York State allocated amount

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~                           1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~                          2
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 544 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                     AMOUNT FROM     NEW YORK
                                                       FEDERAL         STATE
  DESCRIPTION                                       SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                   384.            384.
                                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 13                   384.            384.
                                                   ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-IP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            AMOUNT FROM     NEW YORK
                                                              FEDERAL         STATE
  DESCRIPTION                                              SCHEDULE K-1      AMOUNT
  }}}}}}}}}}}}}}}}                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INVESTMENT INCOME                                              62,561.        62,561.
  BUSINESS INTEREST EXPENSE                                      36,360.        36,360.
  EXCESS BUSINESS INTEREST INCOME                                26,200.        26,200.
  GROSS RECEIPTS FOR SECTION 448(C)                           8,240,072.     8,240,072.
  SECTION 179 EXPENSE DISALLOWED DUE TO BUSINESS
  INC                                                            42,463.        42,463.
  SECTION 199A W-2 WAGES                                      1,690,339.     1,690,339.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                     3,397,161.     3,397,161.
  SECTION 199A ORDINARY INCOME/LOSS                          -1,189,284.    -1,189,284.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-IP, PAGE 2, LINE 19                   12,305,872.    12,305,872.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                            190                    PARTNER NUMBER 21
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                   Case 24-10856-JKS                       Doc 1        Filed 04/25/24            Page 545 of 733
                                              Department of Taxation and Finance                                                                         288821 11-04-22

                                              New York Corporate Partner's
                                              Schedule K-1
                                                                                                                                         IT-204-CP
                                                                                                                                                         21
                                              Tax Law - Article 9-A
                                                                                                                                             Final K-1


For calendar year 2022 or tax year beginning                                            and ending                                           Amended K-1


Partners : Before completing your franchise tax return, see Form IT-204-CP-I, Partner's Instructions for Form IT-204-CP (available at www.tax.ny.gov).
Partnership's information
    Partnership's name (as shown on Form IT-204)                                                                                Partnership's EIN
    STICKYS HOLDINGS LLC                                                                                                                 462153586
A      Mark an X in the box if either applies to your entity                     Publicly traded partnership              Portfolio investment partnership


B      Tax shelter registration number, if any ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            B

Partner's information (see instructions)
    Partner's name                                                                                                           Partner's EIN
    STICKY'S INVESTCO II, LLC                                                                                                            851405901
    Partner's address
    477 BROOME STREET, #61
    City                                                                    State                    ZIP code
    NEW YORK                                                                    NY                     10013
C      The partner is a (mark an X in the appropriate box)           General partner or LLC member-manager            X      Limited partner or other LLC member


D      What is the New York tax filing status of the partner? (Mark an X in the appropriate box, if known.)
                 C corporation                      S corporation           X    Partnership
E      If the partner is a disregarded entity, enter the EIN of the entity reporting the income of
           the partner (if known)~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  E


F      Did the partner sell its entire interest during the tax year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          F   Yes          No    X

G      Partner's share of profit, loss, and capital                                                                             Beginning                Ending
           1) Profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G1                                                            36.5211%                 37.0276%
           2) Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G2                                                              36.5211%                 37.0276%
           3) Capital ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ G3                                                            36.9315%                 36.9149%

H      Partner's share of liabilities at the end of the year
           1) Nonrecourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           H1                       1748390
           2) Qualified nonrecourse financing ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                H2
           3) Recourse ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            H3


I      Partner's capital account analysis
           1) Beginning capital account         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             I1                      2337788
           2) Capital contributed during the year - cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           I2
           3) Capital contributed during the year - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         I3
           4) Current year increase (decrease) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 I4                      -463781
           5) Withdrawals and distributions - cash           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     I5
           6) Withdrawals and distributions - property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            I6
           7) Ending capital account ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      I7                      1874007
           8) Method of accounting (mark an X in the appropriate box)
                   X     Tax basis               GAAP               Book             Other (submit explanation)
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                                                                                                                         288822 11-04-22
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J   Was Form CT-2658-E filed with the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ J Yes                                  No


K   NYS estimated tax paid on behalf of partner (from Form CT-2658)                          Date                  Amount
         1) First installment    ~~~~~~~~~~~~~~~~~~~~~~~~~~~                         K1
         2) Second installment ~~~~~~~~~~~~~~~~~~~~~~~~~~                            K2
         3) Third installment ~~~~~~~~~~~~~~~~~~~~~~~~~~~                         K3
         4) Fourth installment
                             ~~~~~~~~~~~~~~~~~~~~~~~~~~ K4
    Total NYS estimated tax paid on behalf of partner (add lines K1 through K4) ~~~~~~~~~~~~~~~~ K



Partner's share of entire net income (ENI) information when the corporate partner's New York tax filing
status is a C corporation

ENI addition modifications
  1 Total additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           1


           A - Number                  B - Amount                           A - Number       B - Amount
    1a     EA -                                                        1d   EA -
    1b     EA -                                                        1e   EA -
    1c     EA -                                                        1f   EA -


ENI subtraction modifications
  2 Total subtractions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         2                    31597

           A - Number                  B - Amount                           A - Number       B - Amount
    2a     ES - 507                                25672               2d   ES -
    2b     ES - 205                                 5925               2e   ES -
    2c     ES -                                                        2f   ES -


Partner's proportionate part of assets and liabilities (for New York C corporate partners only)

                                                                                                               Average value
    3    Total assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       3              3279821
    4    Real property and marketable securities included on line 3 ~~~~~~~~~~~~~~~~~~~~~~                4
    5    Real property and marketable securities at fair market value (FMV) ~~~~~~~~~~~~~~~~~~            5
    6    Average value of adjusted total assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          6              3279821
    7    Total liabilities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   7              1802056
    8    Liabilities directly attributable to business capital     ~~~~~~~~~~~~~~~~~~~~~~~~~~             8
    9    Liabilities directly attributable to investment capital    ~~~~~~~~~~~~~~~~~~~~~~~~~             9
                                Case 24-10856-JKS                Doc 1     Filed 04/25/24             Page 547 of 733

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Partner's proportionate part of items related to investment capital under Article 9-A                             (for New York
C corporate partners only)

Part 1 - Investment capital that generates income claimed not taxable by New York under the U.S. Constitution
Description of asset (identify each asset, and enter number of shares (if applicable) and date acquired here; for each asset complete columns D
through G on the corresponding lines below; enter only directly owned assets in items A through F and Total from additional sheet(s))
For each item listed, in columns A through G, enter the information for the partnership as a whole.
 Item                                      A - Description of asset                                    B - Number of shares           C - Date acquired
                                                                                                       acquired, if applicable
   A
   B
   C
   D
   E
   F
 Item                D                           E                          F                                G                             H
                 Number of                    Date sold                  Average                   Liabilities directly               Net average
          shares sold, if applicable                                      FMV                         attributable                       FMV
   A
   B
   C
   D
   E
   F
 Total from additional sheet(s) 
 Total from partnerships 
  10 Total proportionate part of columns F
       and G (see instructions) ~~~~~~~~~~                  10


Part 2 - Investment capital - stocks actually held more than one year
Description of investment (identify each investment, and enter number of shares and date acquired here; for each investment complete columns D
through G on the corresponding lines below; enter only directly owned investments in items A through F and Total from additional sheet(s))
For each item listed, in columns A through G, enter the information for the partnership as a whole.
 Item                                  A - Name/CUSIP/CINS/lot number                                  B - Number of shares           C - Date acquired
                                                                                                             acquired
   A
   B
   C
   D
   E
   F
 Item                  D                         E                          F                               G                              H
                  Number of                   Date sold                  Average                  Liabilities directly                Net average
                  shares sold                                             FMV                        attributable                        FMV
   A
   B
   C
   D
   E
   F
 Total from additional sheet(s) 
 Total from partnerships 
  11 Total proportionate part of columns F
       and G (see instructions) ~~~~~~~~~~                  11
                              Case 24-10856-JKS                    Doc 1     Filed 04/25/24           Page 548 of 733
                                                                                                                                            288832 11-04-22
Page 4 of 11     IT-204-CP (2022)
Part 3 - Investment capital - stocks presumed held more than one year
Description of investment (identify each investment, and enter number of shares and date acquired here; for each investment complete columns F
and G on the corresponding lines below; enter only directly owned investments in items A through F and Total from additional sheet(s))
For each item listed, in columns A through G, enter the information for the partnership as a whole.
 Item                                 A - Name/CUSIP/CINS/lot number                                 B - Number of shares acquired   C - Date acquired
   A
  B
  C
  D
   E
   F
 Item                D                            E                           F                              G                            H
                Number of                      Date sold                   Average                 Liabilities directly              Net average
                shares sold                                                 FMV                       attributable                      FMV
   A
  B
  C
  D
   E
   F
 Total from additional sheet(s) 
 Total from partnerships 
 12 Total proportionate part of columns F
      and G (see instructions) ~~~~~~~~~~~                    12


Part 4 - Total investment capital
 13 Total average FMV and liabilities directly attributable
        (add lines 10, 11, and 12 in columns F and G) ~       13


Part 5 - Prior year investment capital - stocks that did not meet holding period requirement
Description of investment (identify each investment, and enter number of shares and date acquired here; for each investment complete columns D
through G on the corresponding lines below; enter only directly owned investments in items A through F and Total from additional sheet(s))
For each item listed, in columns A through G, enter the information for the partnership as a whole.
 Item                                 A - Name/CUSIP/CINS/lot number                                 B - Number of shares acquired   C - Date acquired
   A
  B
  C
  D
   E
   F
 Item                D                           E                            F                              G                            H
                Number of                     Date sold                 Average FMV          Liabilities directly attributable       Net average
                shares sold                                         as previously reported       as previously reported                 FMV
   A
  B
  C
  D
   E
   F
 Total from additional sheet(s) 
 Total from partnerships 
 14 Total proportionate part of columns F
      and G (see instructions) ~~~~~~~~~~~                    14
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Part 6 - Prior year gross investment income for stocks that did not meet holding period requirement

 15 Prior year presumed gross investment income from stocks presumed in the prior year to
      be held more than one year that failed to meet the presumption (see instructions) ~~~~~~~~~~~~        15



Partner's share of items related to investment and other exempt income under Article 9-A                         (for New York
C corporate partners only)


 16   Gross exempt cross-article dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           16
 17   Gross exempt controlled foreign corporation (CFC) income        ~~~~~~~~~~~~~~~~~~~~~~           17
 18   Gross exempt unitary corporation dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        18
 19   Gross investment income from investments generating income not taxable by New York
         State under the U.S. Constitution ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          19
 20   Dividend income from investment capital from stocks actually held more than one year ~~~~~~~~    20
 21   Net capital gains or losses from investment capital from stocks actually held more
         than one year   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   21
 22   Dividend income from investment capital from stocks presumed held more than one year ~~~~~~~     22



Partner's share of items related to interest deductions directly attributable to investment and other
exempt income under Article 9-A (for New York C corporate partners only)

 23   Interest expense per federal Form 1065, line 15 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                     23                            36361
 24   Interest deductions directly attributable to income reported on line 16   ~~~~~~~~~~~~~~~~       24
 25   Interest deductions directly attributable to income reported on line 17   ~~~~~~~~~~~~~~~~       25
 26   Interest deductions directly attributable to income reported on line 18   ~~~~~~~~~~~~~~~~       26
 27   Interest deductions directly attributable to income reported on line 19   ~~~~~~~~~~~~~~~~       27
 28   Interest deductions directly attributable to income reported on line 20   ~~~~~~~~~~~~~~~~       28
 29   Interest deductions directly attributable to income reported on line 21   ~~~~~~~~~~~~~~~~       29
 30   Interest deductions directly attributable to income reported on line 22   ~~~~~~~~~~~~~~~~       30
 31   Interest deductions directly attributable to business capital    ~~~~~~~~~~~~~~~~~~~~~           31



Partner's share and proportionate part of items related to subtraction modification for qualified banks

 32 Qualified residential loan portfolio assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        32
 33 Gross interest income from qualifying loans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         33
33a Gross interest income from all loans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           33a
33b Gross interest expense from all loans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           33b



Partner's share and proportionate part of items related to manufacturing

 34 Total receipts from the sale of goods by manufacturing ~~~~~~~~~~~~~~~~~~~~~~~~                    34
 35 New York adjusted basis of qualified manufacturing property ~~~~~~~~~~~~~~~~~~~~~                  35
35a Number of employees employed in manufacturing in New York           ~~~~~~~~~~~~~~~~~~~~          35a
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Partner's share of New York modifications (for New York S corporate partners only)

  36    New York State additions
          Number               A - Total amount
 36a     EA -
 36b     EA -
 36c     EA -
 36d     EA -
 36e     EA -
 36f     EA -


  37    Total addition modifications (total of column A, lines 36a through 36f) ~~~~~~~~~~~~~~~~~    37


  38    New York State subtractions
          Number              A - Total amount
 38a     ES - 205                            5926
 38b     ES - 210                           25429
 38c     ES - 214                             243
 38d     ES -
 38e     ES -
 38f     ES -


  39    Total subtraction modifications (total of column A, lines 38a through 38f) ~~~~~~~~~~~~~~~   39         31598

  40    Additions to itemized deductions
       Letter            Amount
 40a
 40b
 40c
 40d
 40e
 40f


  41    Total additions to itemized deductions (add lines 40a through 40f) ~~~~~~~~~~~~~~~~~~        41


  42    Subtractions from itemized deductions
       Letter            Amount
 42a
 42b
 42c
 42d
 42e
 42f


 43     Total subtractions from itemized deductions (add lines 42a through 42f) ~~~~~~~~~~~~~~~      43
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Partner's share of income, deductions, etc. (from federal Form 1065, Schedule K-1)
Partner's distributive share items
 44   Ordinary business income (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   44                 -1189284
 45   Net rental real estate income (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                45
 46   Other net rental income (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   46
 47   Guaranteed payments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           47
 48   Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           48                     62561
 49   Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          49
 50   Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              50
 51   Net short-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 51
 52   Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 52
 53   Net section 1231 gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    53
 54   Other income (loss)                                          54
        Identify:


 55   Section 179 deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         55
 56   Other deductions                                            56                         384
        Identify:
            SEE STATEMENT
 57   Tax-exempt income and nondeductible expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               57                   675364
 58   Distributions - cash and marketable securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           58
 59   Distributions - other property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   59
 60   Other items not included above that are required to be reported separately to partners         60                 12305872
        Identify:
            SEE STATEMENT



Partner's credit information (see instructions)
Part 1 - Flow-through credit bases and information
Brownfield redevelopment tax credit (Form CT-611, Form CT-611.1, or Form CT-611.2)


                                                                           A - Form CT-611        B - Form CT-611.1     C - Form CT-611.2
 61   Site preparation credit component ~~~~~~~~~~~                61
 62   Tangible property credit component    ~~~~~~~~~~             62
 63   On-site groundwater remediation credit component ~~~         63



 64   This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                64
 65   This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                65


QEZE tax reduction credit (Form CT-604-CP)
 66 QEZE employment increase factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       66
 67   QEZE zone allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     67
 68   QEZE benefit period factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      68


Excelsior jobs program tax credit (Form CT-607)
 69 Excelsior jobs tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    69
 70   Excelsior investment tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                70
 71   Excelsior research and development tax credit component     ~~~~~~~~~~~~~~~~~~~~~                      71
 72   Excelsior real property tax credit component                                                           72
72a   Excelsior child care services tax credit component ~~~~~~~~~~~~~~~~~~~~~~~~~~                         72a
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Partner's credit information (continued)
Farmers' school tax credit (Form CT-47)
 73 Acres of qualified agricultural property      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            73
 74    Acres of qualified conservation property       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         74
 75    Eligible school district property taxes paid    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         75
 76    Acres of qualified agricultural property converted to nonqualified use   ~~~~~~~~~~~~~~~~~             76


Other flow-through credit bases and information
     Credit bases
           Code                    Amount                                Code             Amount
 77a                                                            77d
 77b                                                            77e
 77c                                                            77f


       Credit information
           Code                  Information                             Code          Information
 77g                                                            77j
 77h                                                            77k
 77i                                                            77l

Part 2 - Flow-through credits, addbacks, and recaptures
 78    Flow-through credits
           Code                    Amount                                Code             Amount
 78a                                                            78e
 78b                                                            78f
 78c                                                            78g
 78d                                                            78h


 79    Addbacks of credits and recaptures
           Code                    Amount                                Code             Amount
 79a                                                            79d
 79b                                                            79e
 79c                                                            79f

Part 3 - START-UP NY tax elimination credit information (Form CT-638)
 80    START-UP NY business certificate number (Form DTF-74) ~~~~~~~~~~~~~~~~~~~~~~~                          80
 81    Year of START-UP NY business tax benefit period ~~~~~~~~~~~~~~~~~~~~~~~~~~~                            81
 82    START-UP NY area allocation factor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  82

Partner's share of apportionment and Metropolitan Commuter Transportation District (MCTD) information
Part 1
  1 During the reporting year, did the partnership do business, employ capital, own or lease property, maintain
     an office, or derive receipts from activity, in New York State? (mark an X in the appropriate box) ~~~~~~~~~   Yes         No
  2 During the reporting year, did the partnership do business, employ capital, own or lease property, maintain
     an office, or derive receipts from activity, in the MCTD? (mark an X in the appropriate box) ~~~~~~~~~~~~      Yes         No


Average value of property                                                                          A - MCTD          B - New York State
  3 Real estate owned ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  3
  4 Real estate rented ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 4
  5 Inventories owned ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  5
  6 Tangible personal property owned         ~~~~~~~~~~~~~~~~~~~~~~                   6
  7 Tangible personal property rented ~~~~~~~~~~~~~~~~~~~~~~~                         7
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Part 2                                                                            A                  B                        C
Receipts from:                                                                   MCTD           New York State           Everywhere
Section 210-A.2
   1 Sales of tangible personal property ~~~~~~~~~~~                     1
    2 Sales of electricity ~~~~~~~~~~~~~~~~~~~                           2
    3 Net gains from sales of real property                    3
Section 210-A.3
   4 Rentals of real and tangible personal property ~~~~~~               4
    5 Royalties from patents, copyrights, trademarks,
       and similar intangible personal property ~~~~~~~~                 5
    6 Sales of rights for certain closed-circuit and
       cable TV transmissions of an event                      6
Section 210-A.4
   7 Sale, licensing, or granting access to digital products ~~          7
  7a Sale, licensing, or granting access to digital products ~~         7a
   8 This line intentionally left blank                     8
Section 210-A.5(a)(2)(A)
   9 Interest from loans secured by real property        ~~~~~~          9
  10 Net gains from sales of loans secured by real property           10
  11 Interest from loans not secured by real property                   11
  12 Net gains from sales of loans not secured by
      real property                                   12
Section 210-A.5(a)(2)(B)
  13 Interest from federal debt                         13
  14
  15 Interest from NYS and its political subdivisions debt              15
  16 Net gains from federal, NYS, and NYS political subdivisions debt   16
  17 Interest from other states and their political
       subdivisions debt ~~~~~~~~~~~~~~~~~~~                            17
  18 Net gains from other states and their political
      subdivisions debt                              18
Section 210-A.5(a)(2)(C)
  19 Interest from asset-backed securities and other
         government agency debt ~~~~~~~~~~~~~~~                         19
  20 Net gains from government agency debt or
      asset-backed securities sold through an exchange            ~~    20
  21 Net gains from all other asset-backed securities ~~~~~             21
Section 210-A.5(a)(2)(D)
  22 Interest from corporate bonds       ~~~~~~~~~~~~~                  22
  23 Net gains from corporate bonds sold through
      broker/dealer or licensed exchange ~~~~~~~~~~                     23
  24 Net gains from other corporate bonds         ~~~~~~~~~             24
Section 210-A.5(a)(2)(E)
  25 Net interest from reverse repurchase and
         securities borrowing agreements                     25
Section 210-A.5(a)(2)(F)
  26 Net interest from federal funds ~~~~~~~~~~~~~                      26
Section 210-A.5(a)(2)(I)
  27 Net income from sales of physical commodities ~~~~~                27
Section 210-A.5(a)(2)(J)
  28 Marked to market net gains ~~~~~~~~~~~~~~~                         28
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                                                                                                              288846 11-04-22
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Part 2                                                                     A                  B                C
Receipts from:                                                            MCTD           New York State   Everywhere
Section 210-A.5(a)(2)(H)
        210-A.5(a)(2)(G)
  29 Interest from other financial instruments ~~~~~~~~          29
  30 Net gains from other financial instruments ~~~~~~~          30
 30a Net gains from other financial instruments
      (broker/dealer/exchange) ~~~~~~~~~~~~~~~ 30a
 30b Other income from other financial instruments ~~~~~~ 30b
 30c Other income from other financial instruments
       (broker/dealer/exchange)  30c
 30d Dividends from stock that is business capital ~~~~~~ 30d
 30e Net gains from sales of stock that is business capital ~~ 30e
 30f Net gains from sales of partnership interests  30f
Section 210-A.5(b)
  31 Brokerage commissions      ~~~~~~~~~~~~~~~~                 31
  32 Margin interest earned on behalf of brokerage accounts      32
  33 Fees for advisory services for underwriting
        or management of underwriting ~~~~~~~~~~~~               33
  34 Receipts from primary spread of selling concessions         34
  35 Receipts from account maintenance fees ~~~~~~~~             35
  36 Fees for management or advisory services ~~~~~~~            36
  37 Interest from an affiliated corporation           37
Section 210-A.5(c)
  38 Interest, fees, and penalties from credit cards ~~~~~~      38
  39 Service charges and fees from credit cards ~~~~~~~          39
  40 Receipts from merchant discounts ~~~~~~~~~~~                40
  41 Receipts from credit card authorizations and
      settlement processing ~~~~~~~~~~~~~~~~                     41
  42 Other credit card processing receipts             42
Section 210-A.5(d)
  43 Receipts from certain services to investment companies      43
  44 This line intentionally left blank             44
Section 210-A.6
  45 Receipts from railroad and trucking business          45
Section 210-A.6-a
  46 Receipts from the operation of vessels             46
Section 210-A.7
  47 Receipts from air freight forwarding ~~~~~~~~~~~            47
  48 Receipts from other aviation services             48
Section 210-A.8
  49 Advertising in newspapers or periodicals ~~~~~~~~           49
  50 Advertising on television or radio ~~~~~~~~~~~~             50
  51 Advertising via other means                   51
Section 210-A.9
  52 Transportation or transmission of gas through pipes         52
Section 210-A.10
  53 Receipts from other services/activities not specified       53
 53a Receipts from other services/activities not specified      53a
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                                                                                                        A                         B
Payroll
                                                                                                       MCTD                  New York State
 54 Wages and other compensation of employees except general executive officers          54
 55 Average number of individuals employed full time in New York State (excluding employees with
         partnership-wide authority) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        55



Gross proceeds or receipts from certain sales                                 A                         B                           C
 (for apportionment purposes) (see instructions)                             MCTD                  New York State              Everywhere
 56 Sales of loans secured by real property ~~~~~~~~~          56
 57 Sales of loans not secured by real property ~~~~~~~        57
 58 Sales of other asset-backed securities ~~~~~~~~~           58
 59 Sales of corporate bonds ~~~~~~~~~~~~~~~~                  59
 60 Sales of physical commodities ~~~~~~~~~~~~~                60


Marked to market net gain or loss from deemed sales (for apportionment purposes)
 61 Of loans secured by real property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      61
 62 Of loans not secured by real property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    62
 63 Of federal debt instruments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         63
 64 Of New York State and its political subdivisions debt instruments ~~~~~~~~~~~~~~~~~~~                      64
 65 Of other states and their political subdivisions debt instruments ~~~~~~~~~~~~~~~~~~~~                     65
 66 Of government agency debt or asset-backed securities (through exchange) ~~~~~~~~~~~~~~                     66
 67 Of all other asset-backed securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    67
 68 Of corporate bonds through licensed exchange or broker/dealer ~~~~~~~~~~~~~~~~~~~~                         68
 69 Of other corporate bonds ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           69
 70 Of physical commodities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            70
 71 Of other financial instruments of one type ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 71


Items related to repurchase agreements and securities borrowing/lending agreements
 72 Value of reverse repurchase agreements when partnership is purchaser/lender ~~~~~~~~~~~~                   72
 73 Value of borrowing agreements when partnership is securities borrower ~~~~~~~~~~~~~~~~                     73
 74 Value of repurchase agreements when partnership is seller/borrower ~~~~~~~~~~~~~~~~~                       74
 75 Value of lending agreements when partnership is securities lender ~~~~~~~~~~~~~~~~~~~                      75
 76 Interest income from reverse repurchase agreements and securities borrowing agreements ~~~~~~              76
 77 Interest expense from repurchase agreements and securities lending agreements ~~~~~~~~~~~                  77


Partner's share of New York adjustments due to decoupling from the IRC                        (see instructions)

   1 Total of New York additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1
   2 Total of New York subtractions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           2
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-CP                    OTHER DEDUCTIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                                  AMOUNT FROM
                                                                                    FEDERAL
  DESCRIPTION                                                                    SCHEDULE K-1
  }}}}}}}}}}}}}}}}                                                              }}}}}}}}}}}}}}
  CASH CONTRIBUTIONS (60%)                                                                384.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-CP, PAGE 7, LINE 56                                                384.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY IT-204-CP     OTHER ITEMS REQUIRED TO BE REPORTED SEPARATELY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                                  AMOUNT FROM
                                                                                    FEDERAL
  DESCRIPTION                                                                    SCHEDULE K-1
  }}}}}}}}}}}}}}}}                                                              }}}}}}}}}}}}}}
  INVESTMENT INCOME                                                                    62,561.
  BUSINESS INTEREST EXPENSE                                                            36,360.
  EXCESS BUSINESS INTEREST INCOME                                                      26,200.
  GROSS RECEIPTS FOR SECTION 448(C)                                                 8,240,072.
  SECTION 179 EXPENSE DISALLOWED DUE TO BUSINESS
  INC                                                                                  42,463.
  SECTION 199A W-2 WAGES                                                            1,690,339.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                                           3,397,161.
  SECTION 199A ORDINARY INCOME/LOSS                                                -1,189,284.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM IT-204-CP, PAGE 7, LINE 60                                         12,305,872.
                                                                                ~~~~~~~~~~~~~~




                                            202                    PARTNER NUMBER 21
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                 2022 TAX RETURN FILING INSTRUCTIONS
                             NEW YORK CITY FORM NYC-204

                              FOR THE YEAR ENDING
                                   DECEMBER 31, 2022

PREPARED FOR:

            STICKYS HOLDINGS, LLC
            24 E 23RD STREET
            NEW YORK, NY 10010

PREPARED BY:

            APRIO, LLP
            2002 SUMMIT BOULEVARD, SUITE 120
            ATLANTA, GA 30319

TO BE SIGNED AND DATED BY:

            A MEMBER OF THE LLC

AMOUNT OF TAX:

            TOTAL TAX                      $                         0
            LESS: PAYMENTS AND CREDITS     $                         0
            PLUS OTHER AMOUNT              $                         0
            PLUS INTEREST AND PENALTIES    $                         0
            NO PMT REQUIRED                $


OVERPAYMENT:

            NOT APPLICABLE

MAKE CHECK PAYABLE TO:

            NOT APPLICABLE

MAIL TAX RETURN TO:

            THE NEW YORK CITY RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING.
            IF YOU WISH TO HAVE IT TRANSMITTED TO THE NYC DOF, PLEASE SIGN, DATE
            AND RETURN NYC-579-UBTP TO OUR OFFICE. WE WILL THEN SUBMIT THE
            ELECTRONIC RETURN TO THE NYC DOF.

FORMS TO BE DISTRIBUTED TO PARTNERS:

            ENCLOSED ARE COPIES OF SCHEDULE K-1 TO BE DISTRIBUTED TO THE
            MEMBERS.

RETURN MUST BE MAILED ON OR BEFORE:

            RETURN NYC-579-UBTP TO US BY SEPTEMBER 15, 2023.

SPECIAL INSTRUCTIONS:

            DO NOT MAIL THE PAPER COPY OF THE RETURN TO THE NYC DOF.
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                                                              NEW YORK CITY DEPARTMENT OF FINANCE
       NYC
   Department of Finance
                             NYC
                           579-UBTP
                                                                      Signature Authorization for
                                                      E-Filed Unincorporated Business Tax Return for Partnerships
                                                                                                                                                               2022
            ELECTRONIC RETURN ORIGINATORS (ERO): DO NOT MAIL THIS FORM TO THE DEPARTMENT OF FINANCE. KEEP THIS FOR YOUR RECORDS.
    LEGAL NAME OF PARTNERSHIP:                                                            EMPLOYER IDENTIFICATION NUMBER
                                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC
    EMAIL ADDRESS:                                                                                                 TYPE OF             NYC-EXT              NYC-5UB (2023)
                                                                                                                   FORM:          X NYC-204                 NYC-204EZ


    Financial Institution Information - must be included if electronic payment is authorized
    AMOUNT OF AUTHORIZED DEBIT:                     FINANCIAL INSTITUTION ROUTING NUMBER:                          FINANCIAL INSTITUTION ACCOUNT NUMBER:

    Part A - Declaration and authorization of Partner or limited liability company member manager
    Under penalty of perjury, I declare that I am the general partner or limited liability company manager of the taxpayer and that I have examined the
    information on its 2022 New York City electronically filed Unincorporated Business Tax return, including any accompanying schedules, attachments
    and statements or other report and to the best of my knowledge and belief, the electronically filed document is true, correct and complete. The ERO
    has my consent to send the 2022 New York City electronically filed Unincorporated Business Tax return or other report checked above to the New
    York City Department of Finance through the Internal Revenue Service. I authorize the ERO to enter my PIN as my signature on the 2022 New York
    City electronically filed Unincorporated Business Tax return or other report, as indicated above or I will enter my PIN as my signature on the
    document indicated above. If I am paying the New York City Unincorporated Business Tax owed by electronic funds withdrawal, I authorize the New
    York City Department of Finance and its designated financial agents to initiate an electronic funds withdrawal from the financial institution account
    indicated on the Partnership's electronically filed the Unincorporated Business Tax return or other report, and I authorize the financial institution to
    debit the amount from that account.
     X            I authorize   APRIO, LLP                                                                   to enter my PIN:     15252
                                                        ERO FIRM NAME

                  as my signature on the electronically filed 2022 Unincorporated Business Tax return or other report, as indicated above


                  As a general partner or limited liability company member manager, I will enter my PIN as my signature on the electronically filed 2022
                  Unincorporated Business Tax return or other report, as indicated above.

                                                                                 MANAGING PARTNER
         Signature of General Partner or Limited Liability                       Official title                                          Date
         Company Member Manager


    Part B - Declaration of electronic return originator (ERO) and paid preparer
    Under penalty of perjury, I declare that the information contained in the above-named partnership's or limited liability company's 2022 New York City
    electronically filed Unincorporated Business Tax return or other report, as indicated above, is the information furnished to me by the taxpayer. If the
    taxpayer furnished me with a completed 2022 New York City paper Unincorporated Business Tax return or other report signed by a paid preparer, I
    declare that the information contained in the electronically filed Unincorporated Business Tax return or other report is identical to that contained in
    the paper return. If I am the paid preparer, under penalty of perjury I declare that I have examined this electronically filed 2022 Unincorporated
    Business Tax Return or other report, and to the best of my knowledge and belief, the return or other report is true, correct and complete. I have
    based this declaration on all the information available to me.

    ERO EFIN/PIN: Enter your six-digit EFIN followed by your five digit PIN:            67627252152

         JESSICA HUSSAIN, CPA                                                                                                              09/12/23
         ERO's Signature                                                  Print Name                                                       Date
         JESSICA HUSSAIN, CPA                                             JESSICA HUSSAIN, CPA                                             09/12/23
         Paid Preparer's Signature                                        Print Name                                                       Date
    PURPOSE - A completed Form NYC-579-UBTP provides documentation that an ERO has been authorized to electronically file an Unincorporated Business Tax Return
    or other report for a taxpayer. The general partner or limited liability company manager of the taxpayer may designate the ERO to electronically sign the return or report
    by entering the personal identification number (PIN). The form also authorizes payment of tax due on an electronically submitted return or report by an automatic
    clearing house (ACH) debit from a designated checking or saving account of the partnership. You cannot revoke this authorization.
    GENERAL INSTRUCTIONS
    Part A - Part A must be completed by the general partner or limited liability company manager of the taxpayer before the ERO transmits the electronically filed Form
                 NYC-204 (Unincorporated Business Tax Return for Partnerships, including Limited Liability Companies); NYC-204EZ (Unincorporated Business Tax Return
                 for Partnerships, including Limited Liability Companies - EZ Form); NYC-EXT (Application for 6-Month Extension to File Business Income Tax Return); or
                 NYC-5UB (Declaration of Estimated Unincorporated Business Tax for Partnerships).
    EROs/paid preparers must complete Part B prior to transmitting electronically filed unincorporated business tax returns or reports (Forms NYC-204, NYC-204EZ,
    NYC-EXT or NYC-5UB). Both the paid preparer and the ERO are required to sign Part B. However, if an individual performs as both the paid preparer and the ERO,
    he or she is only required to sign as the paid preparer. It is not necessary to include the ERO signature in this case.
    Do not mail Form NYC-579-UBTP to the Department of Finance. The EROs/paid preparers must keep the completed Form NYC-579-UBTP for three years from the due
    date of the return or report or the date the return or report was filed, whichever is later, and must present it to the Department of Finance upon request.
   294891 12-13-22                                                                                                                                     05   NYC-579-UBTP    2022


22470912 795476 95517                                                            2022.04020 STICKYS HOLDINGS, LLC                                                    95517__1
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                                                                              Single member LLCs using SSN as their primary identifier must use Form NYC-202
                     NYC - 204
                     Department of Finance                                  UNINCORPORATED BUSINESS TAX RETURN                                                                                                  2022
                                                                            FOR PARTNERSHIPS (INCLUDING LIMITED LIABILITY COMPANIES)
                                                                            For CALENDAR YEAR 2022 or FISCAL YEAR beginning 01-01-2022 , and ending 12-31-2022
                                                                                                                                                                  Name
                          Name                                                                                                                                    Change                    TAXPAYER'S EMAIL ADDRESS
                                                 STICKYS HOLDINGS, LLC
                          In Care of
                                                                                                                                                                  Address
                          Address (number and street)                                                                                                             Change                 EMPLOYER IDENTIFICATION NUMBER
                               24 E 23RD STREET                                                                                                                                            XX-XXXXXXX
                          State NEW YORK                                                        NY ZIP   Code10010
                          City and                                                                                                         Country                                            BUSINESS CODE NUMBER
                                                                                                                                           (if not US)                                        AS PER FEDERAL RETURN
                          Telephone No. 917-755-1770                                                          03-20-12                                                                            722513
                          Business                                                             Date business                               Date business
                                                                                               began in NYC                                ended in NYC



                                            Entity Type:            general partnership                  registered limited liability partnership              limited partnership            X     limited liability company
                     CHECK ALL THAT APPLY




                                                 Amended return        If the purpose of the amended return is to report a               IRS change            Date of Final
                                                                       federal or state change, check the appropriate box:               NYS change            Determination

                                                 Final return - Check this box if you have ceased operations in NYC.                     Engaged in a partially exempt unincorporated business activity

                                                 Engaged in a fully exempt unincorporated business activity                              Claim any 9/11/01-related federal tax benefits (see instructions)

                                                      Enter 2-character special condition code, if applicable (see instructions)


   SCHEDULE A                               Computation of Tax           BEGIN WITH SCHEDULE B ON PAGE 3. COMPLETE ALL OTHER SCHEDULES. TRANSFER APPLICABLE AMOUNTS TO SCHEDULE A.
                                                                                                                                                                 Payment Amount
  A. Payment Amount being paid electronically with this return                                        ~~~~~~~~~~~~~~~~~~~~~~~~~                                                  A.


 1. Business income (from page 3, Schedule B, line 31) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                               1.                -3093073.
 2. Intentionally Omitted ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                           2.
 3a. If business allocation percentage on Schedule E, Part 3, Line 2 is less than 100%, enter income or
     loss on NYC real property (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             3a.
 3b. Enter allocated business income, or subtract business loss, from other partnerships ~~~~~~~~~~~~                                                                           3b.
 4. Balance (line 1 less line 3a) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                       4.                -3093073.
 5. Multiply Line 4 by the business allocation percentage on Schedule E, Part 3, Line 2 ~~~~~~~~~~~~~                                                                             5.                -2291658.
 6. Total of Lines 3a and 3b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                           6.
 7a. Investment income (from page 3, Schedule B, line 30) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                           7a.
 7b. Add allocated investment income, or subtract investment loss, from other partnerships ~~~~~~~~~~~                                                                          7b.
 8. Intentionally Omitted ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                           8.
 9. Multiply Line 7a by the investment allocation percentage on Schedule D, Line 2.
    Add the amount on Line 7b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                            9.
10. Total before NOL deduction (enter the sum of the amount on line 9 and the amounts on lines 5 and 6) ~~~~                                                                    10.                 -2291658.
11. Deduct NYC net operating loss deduction (from Form NYC-NOLD-UBTP, line 11) ~~~~~~~~~~~~~~                                                                                   11.
12. Balance before allowance for active partners' services (line 10 less line 11) ~~~~~~~~~~~~~~~~~                                                                             12.                 -2291658.
13. Less: allowance for active partners' services (if line 12 is a loss, enter "0") Number of active partners claimed # 21.                                                     13.                        0.
14. Balance before specific exemption (line 12 less line 13) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        14.                 -2291658.
15. Less: specific exemption (attach schedule) (if line 12 is a loss, enter "0") ~~~~~~~~~~~~~~~~~~~                                                                            15.                        0.
16. Taxable income (line 14 less line 15) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                  16.                 -2291658.
17. Tax before business tax credit (4% of amount on line 16) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                         17.                        0.
18. Less: business tax credit (select the applicable credit condition from the sch. on page 2 and enter amount) ~                                                               18.                        0.
19. Total tax before Unincorporated Business Tax paid credit (line 17 less line 18) ~~~~~~~~~~~~~~~                                                                             19.                        0.
20. Less: UBT Paid Credit (from Schedule A, line 3 of attached Form NYC-114.7) ~~~~~~~~~~~~~~~~                                                                                 20.
21. UNINCORPORATED BUSINESS TAX (line 19 less line 20) (if the balance is less than "0", enter "0")                                                         ~~~~~               21.                                    0.




                                                            THIS RETURN MUST BE SIGNED, (SEE PAGE 6 FOR SIGNATURE BOX AND MAILING INSTRUCTIONS)                                                              NYC-204 - 2022

60412205     294801 12-14-22                                                                                                                                                                                           05
                              Case 24-10856-JKS                      Doc 1           Filed 04/25/24         Page 560 of 733

Form NYC-204 - 2022                                                                                                                            Page 2


Name STICKYS HOLDINGS, LLC                                                                                  EIN        XX-XXXXXXX
 SCHEDULE A  Computation of Tax - Continued
22a. REAP Credit (attach NYC-114.5)         ~~~~~~~~~~~~~~~~~~~~                             22a.
22b. Real Estate Tax Escalation, Employment Opportunity Relocation Costs
       and IBZ Credits (attach NYC-114.6) ~~~~~~~~~~~~~~~~~~~                                22b.
22c. LMREAP Credit (attach NYC-114.8) ~~~~~~~~~~~~~~~~~~~                                    22c.
22d. Intentionally left blank    ~~~~~~~~~~~~~~~~~~~~~~~~~                                   22d.
22e. Beer Production Credit (attach NYC-114.12) ~~~~~~~~~~~~~~~                      22e.
23.    Net tax after credits (line 21 less sum of lines 22a through 22e)      ~~~~~~~~~~~~~~~~~~~~~~                          23.                0.
24.    Payment of estimated tax, including credit from preceding year and payment with extension, NYC-EXT              ~~     24.
25.    If line 23 is larger than line 24, enter balance due     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 25.                0.
26.    If line 23 is smaller than line 24, enter overpayment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     26.
27a. Interest    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            27a.
27b. Additional charges ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          27b.
27c. Penalty for underpayment of estimated tax (attach Form NYC-221) ~~~
                                                              27c.
28.    Total of lines 27a, 27b and 27c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 28.
29.    Net overpayment (line 26 less line 28) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             29.
30.    Amount of line 29 to be:
       (a) Refunded -         Direct deposit - fill out line 30c OR
                                                               Paper check ~~~~~~~~~~~~~~                                     30a.
       (b) Credited to 2023 estimated tax on Form NYC-5UB ~~~~~~~~~~~~~~~~~~~~~~~~~~                                          30b.
30c. Routing                          Account                                                             ACCOUNT TYPE
       Number                         Number                                                        Checking    Savings
31.    TOTAL REMITTANCE DUE (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                31.
32.    NYC rent deducted on federal tax return or NYC rent from Schedule E, Part 1 ~~~~~~~~~~~~~~~                            32.          3323271.
33.    Gross receipts or sales from federal return        ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    33.         22084935.
34.    Total assets from federal return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                34.          8167612.

                                                                     Business Tax Credit Computation
                 1. If the amount on page 1, line 17, is $3,400 or less, your credit on line 18 is the entire amount of tax on line 17.
                    (NO TAX WILL BE DUE)
                 2. If the amount on page 1, line 17, is $5,400 or over, no credit is allowed. Enter "0" on line 18.
                 3. If the amount on page 1, line 17, is over $3,400 but less than $5,400, your credit is computed by the following formula:




                                                   v                                 w
                     tax on page 1, line 17 X          $5,400 minus tax on line 17       =                         = your credit
                                                                $2,000


                                                           Payments of Estimated Tax Computation

                  PREPAYMENTS CLAIMED ON SCHEDULE A, LINE 24                                 DATE                     AMOUNT
                  A. Payment with declaration, Form NYC-5UB (1) ~~~~~
                  B. Payment with Notice of Estimated Tax Due (2) ~~~~~
                  C. Payment with Notice of Estimated Tax Due (3) ~~~~~
                  D. Payment with Notice of Estimated Tax Due (4) ~~~~~
                  E. Payment with extension, Form NYC-EXT ~~~~~~~~
                  F. Overpayment credited from preceding year ~~~~~~~
                  G. TOTAL of A through F. (Enter on Schedule A, line 24) 




                60422205         294802 12-14-22                                                                                                 05
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Form NYC-204 - 2022                                                                                                                              Page 3


Name   STICKYS HOLDINGS, LLC                                                                               EIN          XX-XXXXXXX
 SCHEDULE B         Computation of Total Income
 Part 1 Items of income, gain, loss or deduction
 1. Ordinary income (loss) from federal Form 1065, line 22      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 1.     -3211890.
 2. Net income (loss) from all rental real estate activity not included in Form 1065, line 22
    but included on federal Schedule K ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                2.
 3. All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition of
    property not included in Form 1065, line 22 but included on federal Sch. K                      STMT 2
                                                                                    ~~~~~~~~~~~~~~~~~~~~~~                       3.        168957.
 4. Guaranteed payments to partners from federal Schedule K            ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            4.         19014.
 5. Payments to current and retired partners included in other deductions from federal Form 1065, line 20 ~~~~~~~~~              5.
 6. Other income not included in Form 1065, line 22 but included on federal Sch. K ~~~~~~~~~~~~~~~~~~~~                          6.
 7. Charitable contributions from federal Schedule K ~~~~~~~~~~~~~~~~~~~~                        7.          1036.
 8. Other deductions included in Form 1065, line 22 but not allowed for UBT ~~~~~~~~~~~~~~~~~~~~~~~                8.
 9. Other income and expenses not included above that are required to be reported separately to partners ~~~~~~~~  9.
10. Total federal income (combine lines 1 through 9, do not include line 7) ~~~~~~~~~~~~~~~~~~~~~~~~~                           10.     -3023919.
11. Subtract net income or gain (or add net loss) from rental, sale or exchange of real property
    situated outside NYC if included in line 10 above (attach schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~                              11.
12. Total income before New York City modifications (combine line 10 and line 11) ~~~~~~~~~~~~~~~~~~~~~                         12.     -3023919.
 Part 2      New York City modifications (see instructions for Schedule B, part 2)
  SEE ATTACHED K-1S                                                     PARTNER A           PARTNER B            PARTNER C             TOTAL
    ADDITIONS                                     EIN OR SSN |
13a. All income taxes and Unincorporated Business Taxes 13a.                                                                    13a.
13b. NYS Pass Through Entity Tax (PTET) and similar taxes from
     other jurisdictions deducted from Federal Taxable Income ~ 13b.                                                            13b.
13c. NYC Pass Through Entity Tax (PTET) deducted from
     Federal Taxable Income (see instructions) ~~~~~~~~ 13c.                                                                    13c.
14. (a) Relocation credits ~~~~~~~~~~~~~~~ 14a.                                                                                 14a.
    (b) Expenses related to exempt income ~~~~~~ 14b.                                                                           14b.
    (c) Depr. adj. (attach Form NYC-399 and/or NYC-399Z) 14c.                                                                   14c.
    (d) Exempt Activities ~~~~~~~~~~~~~~~~ 14d.                                                                                 14d.
15. Other additions (attach schedules) ~~~~~~~~~ 15.                                                                             15.
16. Total additions (add lines 13 through 15)  16.                                                                        16.
    SUBTRACTIONS                                                        PARTNER A           PARTNER B            PARTNER C             TOTAL
17. All income tax and Unincorporated Business Tax
    refunds (included in part 1) ~~~~~~~~~~~~~ 17.                                                                               17.
18. Wages and salaries subject to federal jobs credit
    (see instructions) ~~~~~~~~~~~~~~~~~~ 18.                                                                                    18.
19. Depr. adj. (attach Form NYC-399 and/or NYC-399Z) ~~ 19.                                                                      19.           68676.
20. Exempt income (included in part 1, line 10) ~~~~~ 20.                                                                        20.
21. 50% of dividends ~~~~~~~~~~~~~~~~~~ 21.                                                                                      21.
22. Exempt Activities ~~~~~~~~~~~~~~~~~~ 22.                                                                                     22.
23. Other subtractions (attach schedule) ~~~~~~~~ 23.                                            SEE STATEMENT 1                 23.         478.
24. Total subtractions (add lines 17 through 23) ~~~~~ 24.                                                                       24.       69154.
                 25. Combine lines 16 and 24 (total) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        25.       -69154.
                  26. Total income (combine lines 12 and 25) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~         STATEMENT 3           26.          -3093073.
                  27. Less:  Charitable contributions (not to exceed line 7, or 5% of line 26, whichever is less) ~~~~~~~~ 27.                 0.
                  28. Balance (line 26 less line 27) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 28.                                           -3093073.
                  29. Investment income - (complete lines a through g below)
                      (a) Dividends from stocks held for investment ~~~~~~~~~~~~~~~~~~~~~~~~~~~ 29a.
                      (b) Interest from investment capital (include non-exempt governmental obligations) (itemize on rider) 29b.
                      (c) Net capital gain (loss) from sales or exchanges of securities held for investment ~~~~~~~~~ 29c.
                      (d) Income from assets included on line 3 of Schedule D ~~~~~~~~~~~~~~~~~~~~~~ 29d.
                       (e) Add lines 29a through 29d inclusive ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 29e.
                       (f) Deductions directly or indirectly attributable to investment income ~~~~~~~~~~~~~~~ 29f.
                       (g) Interest on bank accounts included in income reported on line 29d ~ 29g.
                  30. Investment income (line 29e less line 29f) (enter on page 1, Sch. A, line 7a) ~~~~~~~~~~~~~ 30.
                  31. Business income (line 28 less line 30) (enter here and transfer this amount to page 1, Sch. A, line 1.) ~ 31.     -3093073.
                  60432205      294811 12-14-22                                                                                                  05
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Form NYC-204 - 2022                                                                                                                                                                                  Page 4
Name STICKYS HOLDINGS, LLC                                                                                                          EIN           XX-XXXXXXX

 SCHEDULE C

                                                      1                                                                                                      1
                                                      THIS SCHEDULE MUST BE COMPLETED FOR PARTNERSHIPS TO CLAIM ALLOWANCE FOR PARTNER'S SERVICES



e                                                                                                       e
                          Partnership Information -   AND FOR PARTNERS TO CLAIM THE UBT PAID CREDIT ON THEIR UBT, GCT, BCT OR PIT RETURNS.

    How many partners are in this partnership?                                 21                              Number of active partners                                             21
Please provide the following information: Full Name and Address, Employer Identification Number or Social Security Number, check Yes or No if
individual partner is a resident of NYC, enter type of partner (C if Corporation, S if S Corporation, I if Individual, P if Partnership, LLP or LLC, O if Other), check
the appropriate box if partner is a general or a limited partner.

                              A                              B               C            D             E                   F                            G                            H                  I
                                                                                     Is Individual
            Name and ZIP Code (if within USA)                             Percentage   Partner a                      Partner                                                     Partner's      Percentage of
                                                         Interest           of Time                  Partner                              Employer Identification Number         Distributive     Distributive
           Name and Country (if outside of USA)
                                                                                      Resident of
                                                                                                      Type              ( U)                          - or -
                                                             %             Devoted     NYC?(
                                                                                               U )
                                                                                                                                             Social Security Number
                                                                                                                                                                                    Share            Share
                                                                         to Business                                                                                             (see instr.)     (see instr.)
                                                                                      YES NO                     GENERAL LIMITED


 (a)
                                                                 %               %                                                                                                                           %

 (b)
                                                                 %               %                                                                                                                           %

 (c)
                                                                 %               %                                                                                                                           %

 (d)
                                                                 %               %                                                                                                                           %

 (e)
                                                                 %               %                                                                                                                           %
SEE STATEMENT NYC SCHEDULE C - PARTNERSHIP INFORMATION
                                                                                                                                                              TOTALS:                                100%
 SCHEDULE D               Investment Capital and Allocation and Cash Election
                             A                                   B                      C                         D                              E                      F                        G
            DESCRIPTION OF INVESTMENT                    No. of Shares or            Average                  Liabilities                 Net Average Value          Issuer's              Value Allocated

             LIST EACH STOCK AND SECURITY                  Amount of                  Value                 Attributable to               (column C minus           Allocation                  to NYC

                  (USE RIDER IF NECESSARY)                  Securities                                  Investment Capital                   column D)             Percentage           (column E X column F)

                                                                                                                                                                                  %




1. Totals (including items on rider) ~~~~~ |
2. Investment allocation percentage (line 1G divided by line 1E. Round to the nearest hundredth of a percent )                                                                    %
          (To treat cash as investment capital,
3. Cash - you must include it on this line.)    ~~~~~~~~~~~ |
4. Investment capital. Total of line 1e and 3e ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       |

                                   ATTACH FEDERAL FORM 1065 AND ALL ACCOMPANYING SCHEDULES
                                                  INCLUDING THE INDIVIDUAL K-1s




       60442205         294812 12-14-22                                                                                                                                                              05
                                  Case 24-10856-JKS                 Doc 1         Filed 04/25/24            Page 563 of 733
Form NYC-204 - 2022                                                                                                                                                Page 5


Name   STICKYS HOLDINGS, LLC                                                                                 EIN         XX-XXXXXXX

SCHEDULE E            Locations of Places of Business Inside and Outside New York City

All taxpayers must complete Schedule E, Parts 1 and 2.



Part 1     Location for each place of business INSIDE New York City (see instructions; attach rider if necessary)
                                                                                                           No. of
               Complete Address                          Rent                  Nature of Activities      Employees       Wages, Salaries, Etc.            Duties
AVAILABLE UPON REQUEST
NEW YORK  NY 10010                                 3323271.              RESTAURANT                             0                           0.




Total ~~~~~~~~~~~~~~~~~                    |       3323271.


Part 2     Location for each place of business OUTSIDE New York City (see instructions; attach rider, if necessary)
                                                                                                           No. of
               Complete Address                          Rent                  Nature of Activities      Employees       Wages, Salaries, Etc.            Duties
AVAILABLE UPON REQUEST
NEW YORK  NY 10010                                   557305.             RESTAURANT                             0                           0.




Total ~~~~~~~~~~~~~~~~~                    |         557305.

           Single Receipts Factor Business Allocation Percentage
Part 3
           Taxpayers must report their Business Allocation Percentage in this schedule for this return to be accepted.
 Taxpayers who do not allocate business income outside New York City must enter 100% on Schedule E, Part 3, line 2.
 Taxpayers who are allocating business income inside and outside New York City must complete Schedule E, Part 3.



                                                                                                                      COLUMN A -                       COLUMN B -
                                  DESCRIPTION OF ITEM USED AS FACTOR
                                                                                                                     NEW YORK CITY                    EVERYWHERE


1. Gross sales of merchandise or charges for services during the year      ~~~~~~~~~~~~~~~ 1.                            16358613.                     22078281.

2. Business Allocation Percentage      (line 1, column A divided by line 1, column B rounded to the nearest hundredth of a percent) ~~~          2.    74.09             %




                                                                                                                                                       294813 12-14-22



   60452205         ATTACH FEDERAL FORM 1065 AND ALL ACCOMPANYING SCHEDULES INCLUDING THE INDIVIDUAL K-1'S                                                         05
                                                Case 24-10856-JKS                              Doc 1            Filed 04/25/24                     Page 564 of 733
Form NYC-204 - 2022                                                                                                                                                                                                   Page 6


Name      STICKYS HOLDINGS, LLC                                                                                                                       EIN          XX-XXXXXXX
                                 If you are taking a Net Operating Loss Deduction this year, please attach Form NYC-NOLD-UBTP. If you have a loss on Page 1,
 SCHEDULE F
                                 Line 10 which you are carrying forward, please attach Form NYC-NOLD-UBTP and enter that value on Line 5.


 SCHEDULE G                      The following information must be entered for this return to be complete
 1. Nature of business or profession: RESTAURANT
 2. New York State Sales Tax ID Number:
 3. Did you file a New York City Partnership Return for the following years:                                   ~ 2020:         X YES                  NO               2021:       X YES               NO
    If "NO," state reason:
 4. If business terminated during the current taxable year, state date terminated. (mm-dd-yy)                                                                       (Attach a statement showing disposition of bus. property.)

 5. Has the Internal Revenue Service or the New York State Department of Taxation and Finance increased or decreased any taxable income reported in any
    tax period, or are you currently being audited? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            YES X NO
     If "YES", by whom? ~~~~                              Internal Revenue Service                                                      State period(s): Beg.:                                End.:
                                                                                                                                                                           MM-DD-YY                          MM-DD-YY

                                                          New York State Department of Taxation and Finance                             State period(s): Beg.:                                End.:
                                                                                                                                                                           MM-DD-YY                          MM-DD-YY
 6. If "YES" to question 5:
    6a. For years prior to 1/1/15, has Form(s) NYC-115 (Report of Federal/State Change in Taxable Income) been filed? ~~~~~~                                                                           YES        X    NO
    6b. For years beginning on or after 1/1/15, has an amended return(s) been filed? ~~~~~~~~~~~~~~~~~~~~~~~~                                                                                          YES        X    NO
 7. Did you calculate a depreciation deduction by the application of the federal Accelerated Cost Recovery System (ACRS)? ~~~~                                                                         YES        X    NO
 8. Were you a participant in a "Safe Harbor Leasing" transaction during the period covered by this return? ~~~~~~~~~~~~                                                                               YES        X    NO
 9. At any time during the taxable year, did the partnership have an interest in real property (including a leasehold
    interest) located in NYC or in an entity owning such real property? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                YES        X NO
10. If "YES" to 9:
    a) Attach a schedule of the property, indicating the nature of the interest and including the street address, borough, block and lot number.
     b) Was any NYC real property (including a leasehold interest) or interest in an entity owning NYC real property,
          acquired or transferred with or without consideration? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                   YES             NO
     c)   Was there a partial or complete liquidation of the partnership? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                              YES             NO
     d) Was 50% or more of the partnership ownership transferred during the tax year, over a three-year period, or according to a plan?                                        ~~~~~                   YES             NO
11. If "YES" to 10b, 10c or 10d, was a Real Property Transfer Tax Return filed? ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             YES             NO
12. If "NO" to 11, explain:


13. Does this taxpayer pay rent greater than $200,000 for any premises in NYC in the borough of Manhattan south of
    96th Street for the purpose of carrying on any trade, business, profession, vocation or commercial activity? ~~~~~~~~~~                                                                            YES        X NO
14. If "YES", were all required Commercial Rent Tax Returns filed? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                    YES             NO
    Please enter Employer Identification Number which was used on the Commercial Rent Tax Return:
                                                                                                                    CERTIFICATION
                                       I hereby certify that this return, including any accompanying rider, is, to the best of my knowledge and belief, true, correct and
                                       complete. I authorize the Department of Finance to discuss this return with the preparer listed below. (see instructions)       ~ YES   X     Firm's Email Address:
                           |                                                                                                                                                          JESSICA.HUSSAI
                          HERE
                          SIGN




                                       Signature of taxpayer:                         Title:                                                  Date:                                 Preparer's Social Security Number or PTIN
                                                                                                                                                            MM-DD-YY                     P01278178
                           |           Preparer's                                       Preparer's
                                                                                                      JESSICA HUSSAI Date:09-12-23
                                       signature:                                       printed name:                                                                               Firm's Employer Identification Number
                                       APRIO, LLP                                                                                                           MM-DD-YY                     XX-XXXXXXX
                                       2002 SUMMIT BOULEVARD, SUITE 120
                          PREPARER'S
                          USE ONLY




                                       ATLANTA, GA 30319                                                                                                Check if
                                                                                                                                                        self-employed
                                       Firm's name
                                                     K Address      K ZIP Code
                                                                                                             MAILING INSTRUCTIONS
                                                                 Attach federal form 1065 and all accompanying schedules including the individual K-1s
                                       Make remittance payable to the order of NYC DEPARTMENT OF FINANCE. Payment must be made in U.S. dollars and drawn on a U.S. bank.
                                               To receive proper credit, you must enter your correct Employer Identification Number on your tax return and remittance.
                                                                     The due date for the calendar year 2022 return is on or before March 15, 2023.
                                                For fiscal years beginning in 2022, file on or before the 15th day of the third month following the close of the fiscal year.



                           ALL RETURNS EXCEPT REFUND RETURNS                                                          REMITTANCES                                                  RETURNS CLAIMING REFUNDS
                           NYC DEPARTMENT OF FINANCE                                                        PAY ONLINE WITH FORM NYC-200V                                          NYC DEPARTMENT OF FINANCE
                           UNINCORPORATED BUSINESS TAX                                                            AT NYC.GOV/ESERVICES                                             UNINCORPORATED BUSINESS TAX
                           P.O. BOX 5564                                                                                     OR                                                    P.O. BOX 5563
                           BINGHAMTON, NY 13902-5564                                                     Mail Payment and Form NYC-200V ONLY to:                                   BINGHAMTON, NY 13902-5563
                                                                                                               NYC DEPARTMENT OF FINANCE
                                                                                                                       P.O. BOX 3933
                                                                                                                 NEW YORK, NY 10008-3933
60462205             294814 12-14-22                                                                                                                                                                                  05
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 565 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NYC 204                       OTHER SUBTRACTIONS                 STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                        AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  GAIN/LOSS ADJUSTMENT                                                                    478.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM 204, SCHEDULE B, PART 2, LINE 23                                          478.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NYC 204                        PORTFOLIO INCOME                  STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  INTEREST INCOME                                                                     168,957.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM 204, SCHEDULE B, PART 1, LINE 3                                       168,957.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NYC 204           CURRENT YEAR BUSINESS LOSS                     STATEMENT 3
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}
  FORM NYC-204, SCHEDULE B, PART 1, LINE 12                                       -3,023,919.
  FORM NYC-204, SCHEDULE B, PART 2, LINE 25                                          -69,154.
                                                                                }}}}}}}}}}}}}
  TOTAL TO FORM 204, SCHEDULE B, PART 2, LINE 26                                  -3,093,073.
                                                                                ~~~~~~~~~~~~~




                                            7                   STATEMENT(S) 1, 2, 3
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                                                               Case 24-10856-JKS                Doc 1         Filed 04/25/24          Page 566 of 733

NYC - NOLD-UBTP
Department of Finance
                                                       NET OPERATING LOSS DEDUCTION COMPUTATION                                                                                                              2022
                                                       FOR UNINCORPORATED BUSINESS TAX FOR PARTNERSHIPS (INCLUDING LIMITED LIABILITY COMPANIES)
                                                       Attach to Form NYC-204



                  <
                                                       For CALENDAR YEAR 2022 or FISCAL YEAR beginning    01-01-2022                   and ending       12-31-2022
 Print or Type

 Name as shown on NYC-204:                                                                                                                                        EMPLOYER IDENTIFICATION NUMBER
  STICKYS HOLDINGS, LLC                                                                                                                           XX-XXXXXXX

                                                       YEAR 1                              YEAR 2                           YEAR 3                               YEAR 4                             YEAR 5
                                          MM-DD-YYYY                          MM-DD-YYYY                       MM-DD-YYYY                           MM-DD-YYYY                         MM-DD-YYYY

 1a. Loss year ended                      12-31-14
 1b. Allocated NYC net
     operating loss incurred                                  180794.
                                          MM-DD-YYYY:          AMOUNT:        MM-DD-YYYY:       AMOUNT:        MM-DD-YYYY:        AMOUNT:           MM-DD-YYYY:          AMOUNT:       MM-DD-YYYY:        AMOUNT:
 2.    Amount of Line 1b
       previously absorbed
       by year ended                      12-31-15            113711.
 3.    Add line 2 plus any
       additional year(s)                   STMT 4
       (Attach schedules)                                     180794.
 4.    Subtract Line 3 from Line 1b                                0.
 5.    Enter the amount from Form
       NYC-204, Page 1, Schedule A,
       Line 10 (See instructions)                                        0.
 5a. Enter 80% of Form NYC-204,
       Page 1, Schedule A, Line 10
       (See instructions)

 5b. Subtract from line 5a the sum of
       amounts entered on line 10 of
       prior loss years and divide by
       line 9. Enter results. (See
       instructions)

 6.    Enter the lesser of Lines 4, 5,

       5a or 5b                                                          0.
 7.    Compute and enter the total
       percentage interests in income
       and deductions for the loss year
       partners who were also partners
       during the current year.                             100.00 %                                      %                                   %                                    %                                %
 8.    Is this percentage equal to or
       greater than 80%?If "NO," the
       loss cannot be applied to the
       current year                        YES X               NO             YES               NO             YES                NO                YES                  NO            YES                NO
       Compute and enter the total
 9.    percentage interests in income
       and deductions for the current
       year of those partners who were
       partners in both the loss year
       and the current year.                                100.00 %                                      %                                   %                                    %                                %
       Multiply amount on Line 6 by
 10.   Loss Limitation Percentage
       on Line 9                                                         0.

 11. Sum of the amounts on Line 10. Enter here and on Form NYC-204, Page 1, Schedule A, Line 11. This is your Net Operating Loss Deduction.
                                                                                                                                                                                       )                            0.
294261 11-30-22                                                                                                                                                                               2022 NYC-NOLD-UBTP    05
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 567 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NYC 204 SCHEDULE NOLD - NET OPERATING LOSS PREVIOUSLY ABSORBED   STATEMENT 4
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
     ALLOCATED NYC NOL FOR TAX YEAR ENDED   12-31-14

     ADDITIONAL YEARS - YEAR / AMOUNT ABSORBED:
       12-31-15      113,711.
       12-31-16       67,083.




                                                                       }}}}}}}}}}}}}}
     TOTAL TO FORM NOLD-UBTP, LINE 3                                         180,794.
                                                                       ~~~~~~~~~~~~~~




                                            9                         STATEMENT(S) 4
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                                   NYC Schedule C - Partnership Information

   Partnership Name     STICKYS HOLDINGS, LLC                                                       Partnership I.D. Number   XX-XXXXXXX


                                     Name and Address                                                                     Resident of NYC
   Partner                           PAUL ABRAHAMIAN                                                                                Yes     X     No
   Number         Interest %                                                                                              Partner Type
              1     0.1093462 %                                                                                           INDIVIDUAL

   General          Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                       Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                    X                            4851                                                          0.                    .000000 %


                                     Name and Address                                                                     Resident of NYC
   Partner                           JONATHAN SHERMAN                                                                         X     Yes           No
   Number         Interest %                                                                                              Partner Type
              2     0.5559912 %                                                                                           INDIVIDUAL

   General          Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                       Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                    X                          -1191                                                   1,705.                 100.000000 %


                                     Name and Address                                                                     Resident of NYC
   Partner                           MICHAEL P SHERMAN                                                                        X     Yes           No
   Number         Interest %                                                                                              Partner Type
              3     4.0498997 %                                                                                           INDIVIDUAL

   General          Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                       Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                    X                          -7273                                                           0.                    .000000 %


                                     Name and Address                                                                     Resident of NYC
   Partner                           PAUL TIETZ                                                                               X     Yes           No
   Number         Interest %                                                                                              Partner Type
              4     2.1977823 %                                                                                           INDIVIDUAL

   General          Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                       Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                    X                            9345                                                          0.                    .000000 %


                                     Name and Address                                                                     Resident of NYC
   Partner                           JAMES R HART III                                                                               Yes     X     No
   Number         Interest %                                                                                              Partner Type
              5     2.5337341 %                                                                                           INDIVIDUAL

   General          Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                       Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                    X                            0556                                                          0.                    .000000 %




   294441
   04-01-22
                                                                     10
22470912 795476 95517                                             2022.04020 STICKYS HOLDINGS, LLC                                          95517__1
                               Case 24-10856-JKS             Doc 1     Filed 04/25/24       Page 569 of 733

                                                   NYC Schedule C - Partnership Information

   Partnership Name     STICKYS HOLDINGS, LLC                                                       Partnership I.D. Number   XX-XXXXXXX


                                     Name and Address                                                                     Resident of NYC
   Partner                           RYAN N COTTON                                                                                  Yes     X     No
   Number         Interest %                                                                                              Partner Type
              6     0.5744534 %                                                                                           INDIVIDUAL

   General          Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                       Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                    X                          -3657                                                           0.                    .000000 %


                                     Name and Address                                                                     Resident of NYC
   Partner                           DAVID W HUMPHREY                                                                               Yes     X     No
   Number         Interest %                                                                                              Partner Type
              7     0.5216347 %                                                                                           INDIVIDUAL

   General          Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                       Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                    X                          -9293                                                           0.                    .000000 %


                                     Name and Address                                                                     Resident of NYC
   Partner                           CHRISTOPHER NEUKERMANS                                                                         Yes     X     No
   Number         Interest %                                                                                              Partner Type
              8     0.6736482 %                                                                                           INDIVIDUAL

   General          Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                       Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                    X                          -0185                                                           0.                    .000000 %


                                     Name and Address                                                                     Resident of NYC
   Partner                SEUNG JA CHUNG FAMILY TRUST EILEEN CH                                                                     Yes     X     No
   Number   Interest %    2729 BUNGALOW PLACE                                                                             Partner Type
          9   1.1923877 % CORONA DEL MAR, CA 92626                                                                        OTHER

   General          Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                       Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                    X            XX-XXXXXXX                                                                    0.                    .000000 %


                                     Name and Address                                                                     Resident of NYC
   Partner                           JAKE A BERGMAN                                                                                 Yes     X     No
   Number         Interest %                                                                                              Partner Type
         10         0.3281336 %                                                                                           INDIVIDUAL

   General          Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                       Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                    X                            5197                                                          0.                    .000000 %




   294441
   04-01-22
                                                                     11
22470912 795476 95517                                             2022.04020 STICKYS HOLDINGS, LLC                                          95517__1
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                                                NYC Schedule C - Partnership Information

   Partnership Name   STICKYS HOLDINGS, LLC                                                      Partnership I.D. Number   XX-XXXXXXX


                                  Name and Address                                                                     Resident of NYC
   Partner              OCHO CAPITAL LLC                                                                                         Yes     X     No
   Number Interest %    98 SAN JACINTO BLVD, SUITE 2006                                                                Partner Type
       11   2.5770557 % AUSTIN, TX 78701                                                                               PARTNERSHIP

   General       Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                    Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                 X            XX-XXXXXXX                                                                    0.                    .000000 %


                                  Name and Address                                                                     Resident of NYC
   Partner                        ALAN LIU                                                                                 X     Yes           No
   Number      Interest %                                                                                              Partner Type
         12      2.1238634 %                                                                                           INDIVIDUAL

   General       Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                    Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                 X                          -3381                                                           0.                    .000000 %


                                  Name and Address                                                                     Resident of NYC
   Partner             STICKY'S INVESTCO LLC                                                                               X     Yes           No
   Number Interest %   477 BROOME STREET, #61                                                                          Partner Type
       13 42.4008070 % NEW YORK, NY 10013                                                                              PARTNERSHIP

   General       Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                    Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                 X            XX-XXXXXXX                                                                    0.                    .000000 %


                                  Name and Address                                                                     Resident of NYC
   Partner                        MARK FIRST                                                                               X     Yes           No
   Number      Interest %                                                                                              Partner Type
         14      1.8983599 %                                                                                           INDIVIDUAL

   General       Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                    Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                 X                          -1958                                                           0.                    .000000 %


                                  Name and Address                                                                     Resident of NYC
   Partner                        JUSTIN GUTTMAN                                                                                 Yes     X     No
   Number      Interest %                                                                                              Partner Type
         15      0.7901327 %                                                                                           INDIVIDUAL

   General       Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                    Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                 X                            1865                                                          0.                    .000000 %




   294441
   04-01-22
                                                                  12
22470912 795476 95517                                          2022.04020 STICKYS HOLDINGS, LLC                                          95517__1
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                                                NYC Schedule C - Partnership Information

   Partnership Name   STICKYS HOLDINGS, LLC                                                      Partnership I.D. Number   XX-XXXXXXX


                                  Name and Address                                                                     Resident of NYC
   Partner                        LEOR WOLF                                                                                X     Yes           No
   Number      Interest %                                                                                              Partner Type
         16      0.0000000 %                                                                                           INDIVIDUAL

   General       Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                    Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                 X                            5300                                                          0.                    .000000 %


                                  Name and Address                                                                     Resident of NYC
   Partner                        JUSTIN HELLER                                                                            X     Yes           No
   Number      Interest %                                                                                              Partner Type
         17      0.4452146 %                                                                                           INDIVIDUAL

   General       Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                    Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                 X                            8775                                                          0.                    .000000 %


                                  Name and Address                                                                     Resident of NYC
   Partner                        JAMIE GREER                                                                              X     Yes           No
   Number      Interest %                                                                                              Partner Type
         18      0.0000000 %                                                                                           INDIVIDUAL

   General       Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                    Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                 X                          -8556                                                           0.                    .000000 %


                                  Name and Address                                                                     Resident of NYC
   Partner                        STEVE GORNIC                                                                                   Yes     X     No
   Number      Interest %                                                                                              Partner Type
         19      0.0000000 %                                                                                           INDIVIDUAL

   General       Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                    Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                 X                            8600                                                          0.                    .000000 %


                                  Name and Address                                                                     Resident of NYC
   Partner                        THEO DUBIN                                                                               X     Yes           No
   Number      Interest %                                                                                              Partner Type
         20      0.0000000 %                                                                                           INDIVIDUAL

   General       Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                    Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                 X                            4327                                                          0.                    .000000 %




   294441
   04-01-22
                                                                  13
22470912 795476 95517                                          2022.04020 STICKYS HOLDINGS, LLC                                          95517__1
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                                                NYC Schedule C - Partnership Information

   Partnership Name   STICKYS HOLDINGS, LLC                                                      Partnership I.D. Number   XX-XXXXXXX


                                  Name and Address                                                                     Resident of NYC
   Partner             STICKY'S INVESTCO II, LLC                                                                           X     Yes           No
   Number Interest %   477 BROOME STREET, #61                                                                          Partner Type
       21 37.0275556 % NEW YORK, NY 10013                                                                              PARTNERSHIP

   General       Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                    Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                 X            XX-XXXXXXX                                                                    0.                    .000000 %


                                  Name and Address                                                                     Resident of NYC
   Partner                                                                                                                       Yes           No
   Number      Interest %                                                                                              Partner Type
                              %


   General       Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                    Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                                                                                                                                                    %



                                  Name and Address                                                                     Resident of NYC
   Partner                                                                                                                       Yes           No
   Number      Interest %                                                                                              Partner Type
                              %


   General       Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                    Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                                                                                                                                                    %



                                  Name and Address                                                                     Resident of NYC
   Partner                                                                                                                       Yes           No
   Number      Interest %                                                                                              Partner Type
                              %


   General       Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                    Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                                                                                                                                                    %



                                  Name and Address                                                                     Resident of NYC
   Partner                                                                                                                       Yes           No
   Number      Interest %                                                                                              Partner Type
                              %


   General       Limited      Partner's Identification         Percentage of Time    Partner's                             Partner's
   Partner                    Number                           Devoted to Business   Distributive Share                    Distributive Pct.
                                                                                                                                                    %




   294441
   04-01-22
                                                                  14
22470912 795476 95517                                          2022.04020 STICKYS HOLDINGS, LLC                                          95517__1
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   NEW YORK CITY                               Partner's New York City Information
                                                        For Calendar Year 2022 or Fiscal Year
   SCHEDULE K-1                                                                                                                                  2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                   1
                                                                                                    Partner's Identifying Number
   PAUL ABRAHAMIAN                                                                                                    4851

                                                                                                    Resident                              Nonresident          X
                                                                                                    Amended Schedule K-1                  Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership          0.1279123 %
   NEW YORK, NY 10010                                                                               Profit and Loss     0.1093462 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares        .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION


      1    Ordinary income (loss)                                                                                                    1                  -3512.
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                             2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                         3                    185.
      4    Guaranteed payments to partners                                                                                           4
      5    Payments to retired partners included in other deductions from federal Form 1065                                          5
      6    Other income not included in lines 1, 2 and 3                                                                             6
      7    Charitable contributions                                                             7                            1.
      8    Other deductions not included in lines 1, 2 and 3                                                                         8
      9    Other items and amounts not included above that are required to be reported separately to partners                        9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                          10                 -3327.
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                        11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                            12                 -3327.




   294821 01-12-23
                                                                              15
22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                              95517__1
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   NEW YORK CITY
                                              Partner's New York City Information
   SCHEDULE K-1
                                                       For Calendar Year 2022 or Fiscal Year
                                                                                                                        2022
    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19           75.
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                           SEE STATEMENT             23            1.
     24    Total subtractions (add lines 17 through 24)                                                           24           76.




   294822 01-12-23
                                                                          16
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NYC SCHEDULE K-1        OTHER SUBTRACTIONS FROM INCOME
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  GAIN/LOSS ADJUSTMENT                                                                      1.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 23                                                            1.
                                                                                ~~~~~~~~~~~~~~




                                            17                      PARTNER NUMBER 1
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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   NEW YORK CITY                               Partner's New York City Information
                                                        For Calendar Year 2022 or Fiscal Year
   SCHEDULE K-1                                                                                                                                    2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                    2
                                                                                                    Partner's Identifying Number
   JONATHAN SHERMAN                                                                                                   1191

                                                                                                    Resident                      X         Nonresident
                                                                                                    Amended Schedule K-1                    Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership          1.0782696 %
   NEW YORK, NY 10010                                                                               Profit and Loss     0.5559912 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares        100.000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION


      1    Ordinary income (loss)                                                                                                     1              -17858.
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                              2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                          3                     939.
      4    Guaranteed payments to partners                                                                                            4                   19014.
      5    Payments to retired partners included in other deductions from federal Form 1065                                           5
      6    Other income not included in lines 1, 2 and 3                                                                              6
      7    Charitable contributions                                                             7                            6.
      8    Other deductions not included in lines 1, 2 and 3                                                                          8
      9    Other items and amounts not included above that are required to be reported separately to partners                         9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                           10                   2095.
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                         11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                             12                   2095.




   294821 01-12-23
                                                                              18
22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                                95517__1
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   NEW YORK CITY
                                              Partner's New York City Information
   SCHEDULE K-1
                                                       For Calendar Year 2022 or Fiscal Year
                                                                                                                        2022
    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19       382.
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                           SEE STATEMENT             23         2.
     24    Total subtractions (add lines 17 through 24)                                                           24       384.




   294822 01-12-23
                                                                          19
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NYC SCHEDULE K-1        OTHER SUBTRACTIONS FROM INCOME
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  GAIN/LOSS ADJUSTMENT                                                                      2.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 23                                                            2.
                                                                                ~~~~~~~~~~~~~~




                                            20                      PARTNER NUMBER 2
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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   NEW YORK CITY                               Partner's New York City Information
                                                        For Calendar Year 2022 or Fiscal Year
   SCHEDULE K-1                                                                                                                                   2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                    3
                                                                                                    Partner's Identifying Number
   MICHAEL P SHERMAN                                                                                                  7273

                                                                                                    Resident                      X        Nonresident
                                                                                                    Amended Schedule K-1                   Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership          4.1600925 %
   NEW YORK, NY 10010                                                                               Profit and Loss     4.0498997 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares         .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION


      1    Ordinary income (loss)                                                                                                     1           -130078.
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                              2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                          3                  6843.
      4    Guaranteed payments to partners                                                                                            4
      5    Payments to retired partners included in other deductions from federal Form 1065                                           5
      6    Other income not included in lines 1, 2 and 3                                                                              6
      7    Charitable contributions                                                             7                         42.
      8    Other deductions not included in lines 1, 2 and 3                                                                          8
      9    Other items and amounts not included above that are required to be reported separately to partners                         9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                           10          -123235.
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                         11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                             12          -123235.




   294821 01-12-23
                                                                              21
22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                              95517__1
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   NEW YORK CITY
                                              Partner's New York City Information
   SCHEDULE K-1
                                                       For Calendar Year 2022 or Fiscal Year
                                                                                                                        2022
    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19      2781.
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                           SEE STATEMENT             23        20.
     24    Total subtractions (add lines 17 through 24)                                                           24      2801.




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                                                                          22
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NYC SCHEDULE K-1        OTHER SUBTRACTIONS FROM INCOME
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  DESCRIPTION                                                                       AMOUNT
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  GAIN/LOSS ADJUSTMENT                                                                     20.
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  TOTAL TO SCHEDULE K-1, LINE 23                                                           20.
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                                            23                      PARTNER NUMBER 3
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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   NEW YORK CITY                               Partner's New York City Information
                                                        For Calendar Year 2022 or Fiscal Year
   SCHEDULE K-1                                                                                                                                   2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                    4
                                                                                                    Partner's Identifying Number
   PAUL TIETZ                                                                                                         9345

                                                                                                    Resident                      X        Nonresident
                                                                                                    Amended Schedule K-1                   Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership          2.1687135 %
   NEW YORK, NY 10010                                                                               Profit and Loss     2.1977823 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares         .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION


      1    Ordinary income (loss)                                                                                                     1             -70591.
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                              2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                          3                  3713.
      4    Guaranteed payments to partners                                                                                            4
      5    Payments to retired partners included in other deductions from federal Form 1065                                           5
      6    Other income not included in lines 1, 2 and 3                                                                              6
      7    Charitable contributions                                                             7                         23.
      8    Other deductions not included in lines 1, 2 and 3                                                                          8
      9    Other items and amounts not included above that are required to be reported separately to partners                         9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                           10            -66878.
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                         11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                             12            -66878.




   294821 01-12-23
                                                                              24
22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                              95517__1
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   NEW YORK CITY
                                              Partner's New York City Information
   SCHEDULE K-1
                                                       For Calendar Year 2022 or Fiscal Year
                                                                                                                        2022
    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19      1510.
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                           SEE STATEMENT             23        10.
     24    Total subtractions (add lines 17 through 24)                                                           24      1520.




   294822 01-12-23
                                                                          25
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NYC SCHEDULE K-1        OTHER SUBTRACTIONS FROM INCOME
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  DESCRIPTION                                                                       AMOUNT
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  GAIN/LOSS ADJUSTMENT                                                                     10.
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  TOTAL TO SCHEDULE K-1, LINE 23                                                           10.
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                                            26                      PARTNER NUMBER 4
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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   NEW YORK CITY                               Partner's New York City Information
                                                        For Calendar Year 2022 or Fiscal Year
   SCHEDULE K-1                                                                                                                                  2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                   5
                                                                                                    Partner's Identifying Number
   JAMES R HART III                                                                                                   0556

                                                                                                    Resident                              Nonresident          X
                                                                                                    Amended Schedule K-1                  Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership          5.3913480 %
   NEW YORK, NY 10010                                                                               Profit and Loss     2.5337341 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares        .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION


      1    Ordinary income (loss)                                                                                                    1             -81380.
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                             2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                         3                  4281.
      4    Guaranteed payments to partners                                                                                           4
      5    Payments to retired partners included in other deductions from federal Form 1065                                          5
      6    Other income not included in lines 1, 2 and 3                                                                             6
      7    Charitable contributions                                                             7                         26.
      8    Other deductions not included in lines 1, 2 and 3                                                                         8
      9    Other items and amounts not included above that are required to be reported separately to partners                        9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                          10            -77099.
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                        11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                            12            -77099.




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22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                             95517__1
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   NEW YORK CITY
                                              Partner's New York City Information
   SCHEDULE K-1
                                                       For Calendar Year 2022 or Fiscal Year
                                                                                                                        2022
    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19      1740.
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                           SEE STATEMENT             23        12.
     24    Total subtractions (add lines 17 through 24)                                                           24      1752.




   294822 01-12-23
                                                                          28
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NYC SCHEDULE K-1        OTHER SUBTRACTIONS FROM INCOME
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  DESCRIPTION                                                                       AMOUNT
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  GAIN/LOSS ADJUSTMENT                                                                     12.
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  TOTAL TO SCHEDULE K-1, LINE 23                                                           12.
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                                            29                      PARTNER NUMBER 5
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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   NEW YORK CITY                               Partner's New York City Information
                                                        For Calendar Year 2022 or Fiscal Year
   SCHEDULE K-1                                                                                                                                  2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                   6
                                                                                                    Partner's Identifying Number
   RYAN N COTTON                                                                                                      3657

                                                                                                    Resident                              Nonresident          X
                                                                                                    Amended Schedule K-1                  Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership          1.1522685 %
   NEW YORK, NY 10010                                                                               Profit and Loss     0.5744534 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares        .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION


      1    Ordinary income (loss)                                                                                                    1             -18451.
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                             2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                         3                    971.
      4    Guaranteed payments to partners                                                                                           4
      5    Payments to retired partners included in other deductions from federal Form 1065                                          5
      6    Other income not included in lines 1, 2 and 3                                                                             6
      7    Charitable contributions                                                             7                            6.
      8    Other deductions not included in lines 1, 2 and 3                                                                         8
      9    Other items and amounts not included above that are required to be reported separately to partners                        9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                          10            -17480.
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                        11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                            12            -17480.




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22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                             95517__1
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   NEW YORK CITY
                                              Partner's New York City Information
   SCHEDULE K-1
                                                       For Calendar Year 2022 or Fiscal Year
                                                                                                                        2022
    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19       394.
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                           SEE STATEMENT             23         3.
     24    Total subtractions (add lines 17 through 24)                                                           24       397.




   294822 01-12-23
                                                                          31
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NYC SCHEDULE K-1        OTHER SUBTRACTIONS FROM INCOME
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  DESCRIPTION                                                                       AMOUNT
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  GAIN/LOSS ADJUSTMENT                                                                      3.
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  TOTAL TO SCHEDULE K-1, LINE 23                                                            3.
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                                            32                      PARTNER NUMBER 6
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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   NEW YORK CITY                               Partner's New York City Information
                                                        For Calendar Year 2022 or Fiscal Year
   SCHEDULE K-1                                                                                                                                  2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                   7
                                                                                                    Partner's Identifying Number
   DAVID W HUMPHREY                                                                                                   9293

                                                                                                    Resident                              Nonresident          X
                                                                                                    Amended Schedule K-1                  Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership          1.1099834 %
   NEW YORK, NY 10010                                                                               Profit and Loss     0.5216347 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares        .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION


      1    Ordinary income (loss)                                                                                                    1             -16754.
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                             2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                         3                    881.
      4    Guaranteed payments to partners                                                                                           4
      5    Payments to retired partners included in other deductions from federal Form 1065                                          5
      6    Other income not included in lines 1, 2 and 3                                                                             6
      7    Charitable contributions                                                             7                            5.
      8    Other deductions not included in lines 1, 2 and 3                                                                         8
      9    Other items and amounts not included above that are required to be reported separately to partners                        9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                          10            -15873.
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                        11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                            12            -15873.




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                                                                              33
22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                             95517__1
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   NEW YORK CITY
                                              Partner's New York City Information
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                                                                                                                        2022
    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19       358.
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                           SEE STATEMENT             23         2.
     24    Total subtractions (add lines 17 through 24)                                                           24       360.




   294822 01-12-23
                                                                          34
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NYC SCHEDULE K-1        OTHER SUBTRACTIONS FROM INCOME
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  DESCRIPTION                                                                       AMOUNT
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  GAIN/LOSS ADJUSTMENT                                                                      2.
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  TOTAL TO SCHEDULE K-1, LINE 23                                                            2.
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                                            35                      PARTNER NUMBER 7
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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   NEW YORK CITY                               Partner's New York City Information
                                                        For Calendar Year 2022 or Fiscal Year
   SCHEDULE K-1                                                                                                                                  2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                   8
                                                                                                    Partner's Identifying Number
   CHRISTOPHER NEUKERMANS                                                                                           -0185

                                                                                                    Resident                              Nonresident          X
                                                                                                    Amended Schedule K-1                  Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership          1.3308246 %
   NEW YORK, NY 10010                                                                               Profit and Loss     0.6736482 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares        .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION


      1    Ordinary income (loss)                                                                                                    1             -21637.
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                             2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                         3                  1138.
      4    Guaranteed payments to partners                                                                                           4
      5    Payments to retired partners included in other deductions from federal Form 1065                                          5
      6    Other income not included in lines 1, 2 and 3                                                                             6
      7    Charitable contributions                                                             7                           7.
      8    Other deductions not included in lines 1, 2 and 3                                                                         8
      9    Other items and amounts not included above that are required to be reported separately to partners                        9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                          10            -20499.
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                        11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                            12            -20499.




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                                                                              36
22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                             95517__1
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   NEW YORK CITY
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   SCHEDULE K-1
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                                                                                                                        2022
    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19       463.
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                           SEE STATEMENT             23         4.
     24    Total subtractions (add lines 17 through 24)                                                           24       467.




   294822 01-12-23
                                                                          37
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NYC SCHEDULE K-1        OTHER SUBTRACTIONS FROM INCOME
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  DESCRIPTION                                                                       AMOUNT
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  GAIN/LOSS ADJUSTMENT                                                                      4.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 23                                                            4.
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                                            38                      PARTNER NUMBER 8
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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   NEW YORK CITY                               Partner's New York City Information
                                                        For Calendar Year 2022 or Fiscal Year
   SCHEDULE K-1                                                                                                                                  2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                   9
                                                                                                    Partner's Identifying Number
   SEUNG JA CHUNG FAMILY TRUST EILEEN CH                                                            XX-XXXXXXX
   2729 BUNGALOW PLACE
   CORONA DEL MAR, CA 92626                                                                         Resident                              Nonresident          X
                                                                                                    Amended Schedule K-1                  Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership          2.5371050 %
   NEW YORK, NY 10010                                                                               Profit and Loss     1.1923877 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares        .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION


      1    Ordinary income (loss)                                                                                                    1             -38298.
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                             2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                         3                  2015.
      4    Guaranteed payments to partners                                                                                           4
      5    Payments to retired partners included in other deductions from federal Form 1065                                          5
      6    Other income not included in lines 1, 2 and 3                                                                             6
      7    Charitable contributions                                                             7                         13.
      8    Other deductions not included in lines 1, 2 and 3                                                                         8
      9    Other items and amounts not included above that are required to be reported separately to partners                        9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                          10            -36283.
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                        11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                            12            -36283.




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22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                             95517__1
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   NEW YORK CITY
                                              Partner's New York City Information
   SCHEDULE K-1
                                                       For Calendar Year 2022 or Fiscal Year
                                                                                                                        2022
    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19       819.
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                           SEE STATEMENT             23         5.
     24    Total subtractions (add lines 17 through 24)                                                           24       824.




   294822 01-12-23
                                                                          40
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NYC SCHEDULE K-1        OTHER SUBTRACTIONS FROM INCOME
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  DESCRIPTION                                                                       AMOUNT
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  GAIN/LOSS ADJUSTMENT                                                                      5.
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  TOTAL TO SCHEDULE K-1, LINE 23                                                            5.
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                                            41                      PARTNER NUMBER 9
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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   NEW YORK CITY                               Partner's New York City Information
                                                        For Calendar Year 2022 or Fiscal Year
   SCHEDULE K-1                                                                                                                                  2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                 10
                                                                                                    Partner's Identifying Number
   JAKE A BERGMAN                                                                                                     5197

                                                                                                    Resident                              Nonresident          X
                                                                                                    Amended Schedule K-1                  Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership          0.6584391 %
   NEW YORK, NY 10010                                                                               Profit and Loss     0.3281336 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares        .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION


      1    Ordinary income (loss)                                                                                                    1             -10540.
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                             2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                         3                    554.
      4    Guaranteed payments to partners                                                                                           4
      5    Payments to retired partners included in other deductions from federal Form 1065                                          5
      6    Other income not included in lines 1, 2 and 3                                                                             6
      7    Charitable contributions                                                             7                            3.
      8    Other deductions not included in lines 1, 2 and 3                                                                         8
      9    Other items and amounts not included above that are required to be reported separately to partners                        9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                          10                 -9986.
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                        11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                            12                 -9986.




   294821 01-12-23
                                                                              42
22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                              95517__1
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   NEW YORK CITY
                                              Partner's New York City Information
   SCHEDULE K-1
                                                       For Calendar Year 2022 or Fiscal Year
                                                                                                                        2022
    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19       225.
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                           SEE STATEMENT             23         2.
     24    Total subtractions (add lines 17 through 24)                                                           24       227.




   294822 01-12-23
                                                                          43
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NYC SCHEDULE K-1        OTHER SUBTRACTIONS FROM INCOME
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  DESCRIPTION                                                                       AMOUNT
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  GAIN/LOSS ADJUSTMENT                                                                      2.
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  TOTAL TO SCHEDULE K-1, LINE 23                                                            2.
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                                            44                     PARTNER NUMBER 10
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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   NEW YORK CITY                               Partner's New York City Information
                                                        For Calendar Year 2022 or Fiscal Year
   SCHEDULE K-1                                                                                                                                  2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                 11
                                                                                                    Partner's Identifying Number
   OCHO CAPITAL LLC                                                                                 XX-XXXXXXX
   98 SAN JACINTO BLVD, SUITE 2006
   AUSTIN, TX 78701                                                                                 Resident                              Nonresident          X
                                                                                                    Amended Schedule K-1                  Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership          4.4881644 %
   NEW YORK, NY 10010                                                                               Profit and Loss     2.5770557 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares        .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION


      1    Ordinary income (loss)                                                                                                    1             -82772.
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                             2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                         3                  4354.
      4    Guaranteed payments to partners                                                                                           4
      5    Payments to retired partners included in other deductions from federal Form 1065                                          5
      6    Other income not included in lines 1, 2 and 3                                                                             6
      7    Charitable contributions                                                             7                         27.
      8    Other deductions not included in lines 1, 2 and 3                                                                         8
      9    Other items and amounts not included above that are required to be reported separately to partners                        9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                          10            -78418.
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                        11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                            12            -78418.




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22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                             95517__1
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   NEW YORK CITY
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    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19      1770.
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                           SEE STATEMENT             23        12.
     24    Total subtractions (add lines 17 through 24)                                                           24      1782.




   294822 01-12-23
                                                                          46
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NYC SCHEDULE K-1        OTHER SUBTRACTIONS FROM INCOME
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  DESCRIPTION                                                                       AMOUNT
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  GAIN/LOSS ADJUSTMENT                                                                     12.
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  TOTAL TO SCHEDULE K-1, LINE 23                                                           12.
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                                            47                     PARTNER NUMBER 11
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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   NEW YORK CITY                               Partner's New York City Information
                                                        For Calendar Year 2022 or Fiscal Year
   SCHEDULE K-1                                                                                                                                   2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                 12
                                                                                                    Partner's Identifying Number
   ALAN LIU                                                                                                           3381

                                                                                                    Resident                      X        Nonresident
                                                                                                    Amended Schedule K-1                   Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership          2.1743460 %
   NEW YORK, NY 10010                                                                               Profit and Loss     2.1238634 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares         .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION


      1    Ordinary income (loss)                                                                                                     1             -68216.
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                              2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                          3                  3589.
      4    Guaranteed payments to partners                                                                                            4
      5    Payments to retired partners included in other deductions from federal Form 1065                                           5
      6    Other income not included in lines 1, 2 and 3                                                                              6
      7    Charitable contributions                                                             7                         22.
      8    Other deductions not included in lines 1, 2 and 3                                                                          8
      9    Other items and amounts not included above that are required to be reported separately to partners                         9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                           10            -64627.
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                         11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                             12            -64627.




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                                                                              48
22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                              95517__1
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                                                       For Calendar Year 2022 or Fiscal Year
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    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19      1459.
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                           SEE STATEMENT             23        10.
     24    Total subtractions (add lines 17 through 24)                                                           24      1469.




   294822 01-12-23
                                                                          49
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NYC SCHEDULE K-1        OTHER SUBTRACTIONS FROM INCOME
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  DESCRIPTION                                                                       AMOUNT
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  GAIN/LOSS ADJUSTMENT                                                                     10.
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  TOTAL TO SCHEDULE K-1, LINE 23                                                           10.
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                                            50                     PARTNER NUMBER 12
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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   NEW YORK CITY                               Partner's New York City Information
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   SCHEDULE K-1                                                                                                                                   2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                 13
                                                                                                    Partner's Identifying Number
   STICKY'S INVESTCO LLC                                                                            XX-XXXXXXX
   477 BROOME STREET, #61
   NEW YORK, NY 10013                                                                               Resident                      X        Nonresident
                                                                                                    Amended Schedule K-1                   Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership        34.0433677 %
   NEW YORK, NY 10010                                                                               Profit and Loss     42.4008070 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares         .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION


      1    Ordinary income (loss)                                                                                                     1         -1361867.
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                              2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                          3                  71639.
      4    Guaranteed payments to partners                                                                                            4
      5    Payments to retired partners included in other deductions from federal Form 1065                                           5
      6    Other income not included in lines 1, 2 and 3                                                                              6
      7    Charitable contributions                                                             7                       439.
      8    Other deductions not included in lines 1, 2 and 3                                                                          8
      9    Other items and amounts not included above that are required to be reported separately to partners                         9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                           10        -1290228.
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                         11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                             12        -1290228.




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                                                                              51
22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                               95517__1
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    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19     29119.
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                           SEE STATEMENT             23       203.
     24    Total subtractions (add lines 17 through 24)                                                           24     29322.




   294822 01-12-23
                                                                          52
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NYC SCHEDULE K-1        OTHER SUBTRACTIONS FROM INCOME
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  DESCRIPTION                                                                       AMOUNT
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  GAIN/LOSS ADJUSTMENT                                                                     203.
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  TOTAL TO SCHEDULE K-1, LINE 23                                                           203.
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                                            53                     PARTNER NUMBER 13
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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   NEW YORK CITY                               Partner's New York City Information
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   SCHEDULE K-1                                                                                                                                   2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                 14
                                                                                                    Partner's Identifying Number
   MARK FIRST                                                                                                         1958

                                                                                                    Resident                      X        Nonresident
                                                                                                    Amended Schedule K-1                   Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership          1.5858858 %
   NEW YORK, NY 10010                                                                               Profit and Loss     1.8983599 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares         .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION


      1    Ordinary income (loss)                                                                                                     1             -60974.
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                              2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                          3                  3207.
      4    Guaranteed payments to partners                                                                                            4
      5    Payments to retired partners included in other deductions from federal Form 1065                                           5
      6    Other income not included in lines 1, 2 and 3                                                                              6
      7    Charitable contributions                                                             7                         20.
      8    Other deductions not included in lines 1, 2 and 3                                                                          8
      9    Other items and amounts not included above that are required to be reported separately to partners                         9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                           10            -57767.
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                         11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                             12            -57767.




   294821 01-12-23
                                                                              54
22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                              95517__1
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   NEW YORK CITY
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    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19      1304.
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                           SEE STATEMENT             23         9.
     24    Total subtractions (add lines 17 through 24)                                                           24      1313.




   294822 01-12-23
                                                                          55
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NYC SCHEDULE K-1        OTHER SUBTRACTIONS FROM INCOME
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  DESCRIPTION                                                                       AMOUNT
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  GAIN/LOSS ADJUSTMENT                                                                      9.
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  TOTAL TO SCHEDULE K-1, LINE 23                                                            9.
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                                            56                     PARTNER NUMBER 14
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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   NEW YORK CITY                               Partner's New York City Information
                                                        For Calendar Year 2022 or Fiscal Year
   SCHEDULE K-1                                                                                                                                  2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                 15
                                                                                                    Partner's Identifying Number
   JUSTIN GUTTMAN                                                                                                   -1865

                                                                                                    Resident                              Nonresident          X
                                                                                                    Amended Schedule K-1                  Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership          0.6343291 %
   NEW YORK, NY 10010                                                                               Profit and Loss     0.7901327 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares        .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION


      1    Ordinary income (loss)                                                                                                    1             -25378.
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                             2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                         3                  1335.
      4    Guaranteed payments to partners                                                                                           4
      5    Payments to retired partners included in other deductions from federal Form 1065                                          5
      6    Other income not included in lines 1, 2 and 3                                                                             6
      7    Charitable contributions                                                             7                           8.
      8    Other deductions not included in lines 1, 2 and 3                                                                         8
      9    Other items and amounts not included above that are required to be reported separately to partners                        9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                          10            -24043.
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                        11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                            12            -24043.




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                                                                              57
22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                             95517__1
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   NEW YORK CITY
                                              Partner's New York City Information
   SCHEDULE K-1
                                                       For Calendar Year 2022 or Fiscal Year
                                                                                                                        2022
    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19       542.
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                           SEE STATEMENT             23         4.
     24    Total subtractions (add lines 17 through 24)                                                           24       546.




   294822 01-12-23
                                                                          58
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  NYC SCHEDULE K-1        OTHER SUBTRACTIONS FROM INCOME
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  GAIN/LOSS ADJUSTMENT                                                                      4.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 23                                                            4.
                                                                                ~~~~~~~~~~~~~~




                                            59                     PARTNER NUMBER 15
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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   NEW YORK CITY                               Partner's New York City Information
                                                        For Calendar Year 2022 or Fiscal Year
   SCHEDULE K-1                                                                                                                                   2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                 16
                                                                                                    Partner's Identifying Number
   LEOR WOLF                                                                                                        -5300

                                                                                                    Resident                      X        Nonresident
                                                                                                    Amended Schedule K-1                   Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership          0.0000000 %
   NEW YORK, NY 10010                                                                               Profit and Loss     0.0000000 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares         .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION
            THERE ARE NO ADJUSTMENTS OR CREDITS FOR THIS PARTNER.
      1    Ordinary income (loss)                                                                                                     1
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                              2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                          3
      4    Guaranteed payments to partners                                                                                            4
      5    Payments to retired partners included in other deductions from federal Form 1065                                           5
      6    Other income not included in lines 1, 2 and 3                                                                              6
      7    Charitable contributions                                                             7
      8    Other deductions not included in lines 1, 2 and 3                                                                          8
      9    Other items and amounts not included above that are required to be reported separately to partners                         9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                           10
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                         11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                             12




   294821 01-12-23
                                                                              60
22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                              95517__1
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   NEW YORK CITY
                                              Partner's New York City Information
   SCHEDULE K-1
                                                       For Calendar Year 2022 or Fiscal Year
                                                                                                                        2022
    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                                                     23
     24    Total subtractions (add lines 17 through 24)                                                           24




   294822 01-12-23
                                                                          61
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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   NEW YORK CITY                               Partner's New York City Information
                                                        For Calendar Year 2022 or Fiscal Year
   SCHEDULE K-1                                                                                                                                   2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                 17
                                                                                                    Partner's Identifying Number
   JUSTIN HELLER                                                                                                    -8775

                                                                                                    Resident                      X        Nonresident
                                                                                                    Amended Schedule K-1                   Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership          0.4440346 %
   NEW YORK, NY 10010                                                                               Profit and Loss     0.4452146 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares         .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION


      1    Ordinary income (loss)                                                                                                     1             -14300.
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                              2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                          3                    752.
      4    Guaranteed payments to partners                                                                                            4
      5    Payments to retired partners included in other deductions from federal Form 1065                                           5
      6    Other income not included in lines 1, 2 and 3                                                                              6
      7    Charitable contributions                                                             7                           4.
      8    Other deductions not included in lines 1, 2 and 3                                                                          8
      9    Other items and amounts not included above that are required to be reported separately to partners                         9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                           10            -13548.
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                         11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                             12            -13548.




   294821 01-12-23
                                                                              62
22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                              95517__1
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   NEW YORK CITY
                                              Partner's New York City Information
   SCHEDULE K-1
                                                       For Calendar Year 2022 or Fiscal Year
                                                                                                                        2022
    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19       306.
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                           SEE STATEMENT             23         2.
     24    Total subtractions (add lines 17 through 24)                                                           24       308.




   294822 01-12-23
                                                                          63
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  NYC SCHEDULE K-1        OTHER SUBTRACTIONS FROM INCOME
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  GAIN/LOSS ADJUSTMENT                                                                      2.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 23                                                            2.
                                                                                ~~~~~~~~~~~~~~




                                            64                     PARTNER NUMBER 17
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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   NEW YORK CITY                               Partner's New York City Information
                                                        For Calendar Year 2022 or Fiscal Year
   SCHEDULE K-1                                                                                                                                   2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                 18
                                                                                                    Partner's Identifying Number
   JAMIE GREER                                                                                                      -8556

                                                                                                    Resident                      X        Nonresident
                                                                                                    Amended Schedule K-1                   Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership          0.0000000 %
   NEW YORK, NY 10010                                                                               Profit and Loss     0.0000000 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares         .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION
            THERE ARE NO ADJUSTMENTS OR CREDITS FOR THIS PARTNER.
      1    Ordinary income (loss)                                                                                                     1
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                              2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                          3
      4    Guaranteed payments to partners                                                                                            4
      5    Payments to retired partners included in other deductions from federal Form 1065                                           5
      6    Other income not included in lines 1, 2 and 3                                                                              6
      7    Charitable contributions                                                             7
      8    Other deductions not included in lines 1, 2 and 3                                                                          8
      9    Other items and amounts not included above that are required to be reported separately to partners                         9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                           10
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                         11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                             12




   294821 01-12-23
                                                                              65
22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                              95517__1
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   NEW YORK CITY
                                              Partner's New York City Information
   SCHEDULE K-1
                                                       For Calendar Year 2022 or Fiscal Year
                                                                                                                        2022
    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                                                     23
     24    Total subtractions (add lines 17 through 24)                                                           24




   294822 01-12-23
                                                                          66
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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   NEW YORK CITY                               Partner's New York City Information
                                                        For Calendar Year 2022 or Fiscal Year
   SCHEDULE K-1                                                                                                                                  2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                 19
                                                                                                    Partner's Identifying Number
   STEVE GORNIC                                                                                                     -8600

                                                                                                    Resident                              Nonresident          X
                                                                                                    Amended Schedule K-1                  Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership          0.0000000 %
   NEW YORK, NY 10010                                                                               Profit and Loss     0.0000000 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares        .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION
            THERE ARE NO ADJUSTMENTS OR CREDITS FOR THIS PARTNER.
      1    Ordinary income (loss)                                                                                                    1
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                             2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                         3
      4    Guaranteed payments to partners                                                                                           4
      5    Payments to retired partners included in other deductions from federal Form 1065                                          5
      6    Other income not included in lines 1, 2 and 3                                                                             6
      7    Charitable contributions                                                             7
      8    Other deductions not included in lines 1, 2 and 3                                                                         8
      9    Other items and amounts not included above that are required to be reported separately to partners                        9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                          10
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                        11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                            12




   294821 01-12-23
                                                                              67
22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                             95517__1
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   NEW YORK CITY
                                              Partner's New York City Information
   SCHEDULE K-1
                                                       For Calendar Year 2022 or Fiscal Year
                                                                                                                        2022
    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                                                     23
     24    Total subtractions (add lines 17 through 24)                                                           24




   294822 01-12-23
                                                                          68
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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   NEW YORK CITY                               Partner's New York City Information
                                                        For Calendar Year 2022 or Fiscal Year
   SCHEDULE K-1                                                                                                                                   2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                 20
                                                                                                    Partner's Identifying Number
   THEO DUBIN                                                                                                       -4327

                                                                                                    Resident                      X        Nonresident
                                                                                                    Amended Schedule K-1                   Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership          0.0000000 %
   NEW YORK, NY 10010                                                                               Profit and Loss     0.0000000 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares         .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION
            THERE ARE NO ADJUSTMENTS OR CREDITS FOR THIS PARTNER.
      1    Ordinary income (loss)                                                                                                     1
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                              2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                          3
      4    Guaranteed payments to partners                                                                                            4
      5    Payments to retired partners included in other deductions from federal Form 1065                                           5
      6    Other income not included in lines 1, 2 and 3                                                                              6
      7    Charitable contributions                                                             7
      8    Other deductions not included in lines 1, 2 and 3                                                                          8
      9    Other items and amounts not included above that are required to be reported separately to partners                         9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                           10
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                         11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                             12




   294821 01-12-23
                                                                              69
22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                              95517__1
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   NEW YORK CITY
                                              Partner's New York City Information
   SCHEDULE K-1
                                                       For Calendar Year 2022 or Fiscal Year
                                                                                                                        2022
    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                                                     23
     24    Total subtractions (add lines 17 through 24)                                                           24




   294822 01-12-23
                                                                          70
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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   NEW YORK CITY                               Partner's New York City Information
                                                        For Calendar Year 2022 or Fiscal Year
   SCHEDULE K-1                                                                                                                                   2022
    EQUIVALENT                         Beginning                        , 2022; and Ending                      ,             .


   Partner's Name, Address and ZIP Code                                                             Partner Number                 21
                                                                                                    Partner's Identifying Number
   STICKY'S INVESTCO II, LLC                                                                        XX-XXXXXXX
   477 BROOME STREET, #61
   NEW YORK, NY 10013                                                                               Resident                      X        Nonresident
                                                                                                    Amended Schedule K-1                   Final Schedule K-1


   Partnership's Name, Address and ZIP Code                                                         Partnership's Identifying Number
                                                                                                    XX-XXXXXXX
   STICKYS HOLDINGS, LLC                                                                            Partner's Percentage of:
   24 E 23RD STREET                                                                                 Ownership        36.9149159 %
   NEW YORK, NY 10010                                                                               Profit and Loss     37.0275556 %
                                                                                                    % of time devoted
                                                                                                    Time devoted
                                                                                                    % of Total Distributive Shares         .000000 %

                                                      ITEMS OF BUSINESS INCOME, GAIN, LOSS OR DEDUCTION


      1    Ordinary income (loss)                                                                                                     1         -1189284.
      2    Net income (loss) from ALL rental real estate activity not included in line 1                                              2
      3    All portfolio income such as interest, dividends, royalties, annuity income and gain (loss) on the disposition
           of property held for investment not included in line 1 and line 2                                                          3                  62561.
      4    Guaranteed payments to partners                                                                                            4
      5    Payments to retired partners included in other deductions from federal Form 1065                                           5
      6    Other income not included in lines 1, 2 and 3                                                                              6
      7    Charitable contributions                                                             7                       384.
      8    Other deductions not included in lines 1, 2 and 3                                                                          8
      9    Other items and amounts not included above that are required to be reported separately to partners                         9
     10    Total income ( combine lines 1 through 9. DO NOT INCLUDE LINE 7)                                                           10        -1126723.
     11    Subtract (If loss, add) net income from rental or gain from sale or exchange of real property situated
           outside New York City if included in line 10 above                                                                         11
     12    Total income before New York City modifications ( combine line 10 and line 11)                                             12        -1126723.




   294821 01-12-23
                                                                              71
22470912 795476 95517                                                      2022.04020 STICKYS HOLDINGS, LLC                                               95517__1
                                Case 24-10856-JKS               Doc 1       Filed 04/25/24           Page 630 of 733


   NEW YORK CITY
                                              Partner's New York City Information
   SCHEDULE K-1
                                                       For Calendar Year 2022 or Fiscal Year
                                                                                                                        2022
    EQUIVALENT


                                                               NEW YORK CITY MODIFICATIONS


    Additions
     13 (a) All income taxes and unincorporated business taxes                                                    13a
           (b) NYS Pass Through Entity Tax (PTET) and similar taxes from other jurisdictions deducted from
               Federal Taxable Income                                                                             13b
           (c) NYC Pass Through Entity Tax (PTET) deducted from Federal Taxable Income (see instructions)         13c
     14    (a) Relocation credits                                                                                 14a
           (b) Expenses related to exempt income                                                                  14b
           (c) Depreciation adjustments                                                                           14c
           (d) Exempt activities                                                                                  14d
     15    Other additions                                                                                        15
     16    Total additions (add lines 13 through 15)                                                              16
    Subtractions
     17 All income taxes and unincorporated business tax refunds                                                  17
     18    Wages and salaries subject to federal jobs credit                                                      18
     19    Depreciation adjustments                                                                               19     25429.
     20    Exempt income included in Part I, line 10                                                              20
     21    50% of dividends                                                                                       21
     22    Exempt activities                                                                                      22
     23    Other subtractions                                                           SEE STATEMENT             23       177.
     24    Total subtractions (add lines 17 through 24)                                                           24     25606.




   294822 01-12-23
                                                                          72
22470912 795476 95517                                                  2022.04020 STICKYS HOLDINGS, LLC                   95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NYC SCHEDULE K-1        OTHER SUBTRACTIONS FROM INCOME
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  GAIN/LOSS ADJUSTMENT                                                                     177.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 23                                                           177.
                                                                                ~~~~~~~~~~~~~~




                                            73                     PARTNER NUMBER 21
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                              Case 24-10856-JKS                  Doc 1           Filed 04/25/24          Page 632 of 733
                                         Limitation on Business Interest Expense
Form   8990
(Rev. December 2022)
                                                   Under Section 163(j)                                                             OMB No. 1545-0123
                                                                    Attach to your tax return.
Department of the Treasury
Internal Revenue Service           Go to www.irs.gov/Form8990 for instructions and the latest information.
Taxpayer name(s) shown on tax return                                                                                   Identification number
       STICKYS HOLDINGS, LLC                                                                                              XX-XXXXXXX
   A     If Form 8990 relates to an information return for a foreign entity (for example, Form 5471), enter:
              Name of foreign entity
              Employer identification number, if any
              Reference ID number
   B     Is the foreign entity a CFC group member? See instructions       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              Yes         No
   C     Is this Form 8990 filed by the specified group parent for an entire CFC group? See instructions ~~~~~~~~~~~~                Yes         No
   D     Has a CFC or a CFC group made a safe harbor election? If yes, see instructions for which lines of Form 8990
         to complete                                                            Yes         No
 Part I        Computation of Allowable Business Interest Expense
 Part I is completed by all taxpayers subject to section 163(j). Schedule A and Schedule B need to be completed before Part I when the
 taxpayer is a partner or shareholder of a pass-through entity subject to section 163(j).

Section I - Business Interest Expense
   1      Current year business interest expense (not including floor plan
          financing interest expense), before the section 163(j) limitation ~~~~~~~               1             98,198.
   2      Disallowed business interest expense carryforwards from prior
          years. (Does not apply to a partnership) ~~~~~~~~~~~~~~~~~~                             2
   3      Partner's excess business interest expense treated as paid or
          accrued in current year (Schedule A, line 44, column (h)) ~~~~~~~~~~                    3
   4      Floor plan financing interest expense. See instructions     ~~~~~~~~~~
                                                                            4
   5      Total business interest expense. Add lines 1 through 4                                  5              98,198.
Section II - Adjusted Taxable Income

                                                                       Tentative Taxable Income

   6      Tentative taxable income. See instructions                                        6      -3,062,983.

                                 Additions (adjustments to be made if amounts are taken into account on line 6)

   7      Any item of loss or deduction that is not properly allocable to a trade or
          business of the taxpayer. See instructions    ~~~~~~~~~~~~~~~~                          7
   8      Any business interest expense not from a pass-through entity. See instr.        ~       8             98,198.
   9      Amount of any net operating loss deduction under section 172        ~~~~~~              9
 10       Amount of any qualified business income deduction allowed under
          section 199A ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           10
 11       Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~                                     11
 12       Amount of any loss or deduction items from a pass-through entity.
          See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         12
 13       Other additions. See instructions ~~~~~~~~~~~~~~~~~~~~~                                13
 14       Total current year partner's excess taxable income (Schedule A, line
          44, column (f)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         14
 15       Total current year S corporation shareholder's excess taxable
          income (Schedule B, line 46, column (c))     ~~~~~~~~~~~~~~~~~                         15
 16       Total. Add lines 7 through 15                                             16             98,198.

                                 Reductions (adjustments to be made if amounts are taken into account on line 6)

 17       Any item of income or gain that is not properly allocable to a trade
          or business of the taxpayer. See instructions ~~~~~~~~~~~~~~~                          17 (                  )
 18       Any business interest income not from a pass-through entity. See instructions          18 (          168,957.)
 19       Amount of any income or gain items from a pass-through entity.
          See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         19 (                  )
 20       Other reductions. See instructions   ~~~~~~~~~~~~~~~~~~~~                              20 (                  )
 21       Total. Combine lines 17 through 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          21 (          168,957.)
 22       Adjusted taxable income. Combine lines 6, 16, and 21. See instructions                          22
LHA For Paperwork Reduction Act Notice, see the instructions.                          223211 01-25-23                       Form 8990 (Rev. 12-2022)
                            Case 24-10856-JKS                   Doc 1        Filed 04/25/24            Page 633 of 733

Form 8990 (Rev. 12-2022)                                                                                                                             Page 2

Section III - Business Interest Income
 23      Current year business interest income. See instructions ~~~~~~~~~~                  23            168,957.
 24      Excess business interest income from pass-through entities (total of
         Schedule A, line 44, column (g), and Schedule B, line 46, column (d)) ~~~~          24
 25      Total. Add lines 23 and 24                                                    25           168,957.
Section IV - Section 163(j) Limitation Calculations

                                                      Limitation on Business Interest Expense

 26      Multiply the adjusted taxable income from line 22 by the applicable
         percentage. See instructions ~~~~~~~~~~~~~~~~~~~~~~~                                26
 27      Business interest income (line 25) ~~~~~~~~~~~~~~~~~~~~~                            27            168,957.
 28      Floor plan financing interest expense (line 4) ~~~~~~~~~~~~~~~~                     28
 29      Total. Add lines 26, 27, and 28                                                 29           168,957.

                                                        Allowable Business Interest Expense

 30      Total current year business interest expense deduction. See instructions                              30             98,198.

                                                                      Carryforward

 31      Disallowed business interest expense. Subtract line 29 from line 5. (If zero or less, enter -0-.)              31
 Part II     Partnership Pass-Through Items
 Part II is only completed by a partnership that is subject to section 163(j). The partnership items below are allocated to the partners
 and are not carried forward by the partnership. See the instructions for more information.

                                                          Excess Business Interest Expense

 32      Excess business interest expense. Enter amount from line 31                                     32

                               Excess Taxable Income (If you entered an amount on line 32, skip lines 33 through 37.)

 33      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      33
 34      Subtract line 33 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              34
 35      Divide line 34 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              35
 36      Excess taxable income. Multiply line 35 by line 22                                        36

                                                          Excess Business Interest Income

 37      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
         less, enter -0-.)                                                       37             70,759.
 Part III S Corporation Pass-Through Items
 Part III is only completed by S corporations that are subject to section 163(j). The S corporation items below are allocated to the shareholders.
 See the instructions for more information.

                                                                Excess Taxable Income

 38      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      38
 39      Subtract line 38 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              39
 40      Divide line 39 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              40
 41      Excess taxable income. Multiply line 40 by line 22                                        41

                                                          Excess Business Interest Income

 42      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
         less, enter -0-.)                                                       42
                                                                                                                                 Form 8990 (Rev. 12-2022)




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                              Case 24-10856-JKS                  Doc 1           Filed 04/25/24          Page 634 of 733
                                         Limitation on Business Interest Expense
Form   8990
(Rev. December 2022)
                                                   Under Section 163(j)                                                             OMB No. 1545-0123
                                                                    Attach to your tax return.                            NY
Department of the Treasury
Internal Revenue Service           Go to www.irs.gov/Form8990 for instructions and the latest information.
Taxpayer name(s) shown on tax return                                                                                   Identification number
       STICKYS HOLDINGS, LLC                                                                                              XX-XXXXXXX
   A     If Form 8990 relates to an information return for a foreign entity (for example, Form 5471), enter:
              Name of foreign entity
              Employer identification number, if any
              Reference ID number
   B     Is the foreign entity a CFC group member? See instructions       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              Yes         No
   C     Is this Form 8990 filed by the specified group parent for an entire CFC group? See instructions ~~~~~~~~~~~~                Yes         No
   D     Has a CFC or a CFC group made a safe harbor election? If yes, see instructions for which lines of Form 8990
         to complete                                                            Yes         No
 Part I        Computation of Allowable Business Interest Expense
 Part I is completed by all taxpayers subject to section 163(j). Schedule A and Schedule B need to be completed before Part I when the
 taxpayer is a partner or shareholder of a pass-through entity subject to section 163(j).

Section I - Business Interest Expense
   1      Current year business interest expense (not including floor plan
          financing interest expense), before the section 163(j) limitation ~~~~~~~               1             98,198.
   2      Disallowed business interest expense carryforwards from prior
          years. (Does not apply to a partnership) ~~~~~~~~~~~~~~~~~~                             2
   3      Partner's excess business interest expense treated as paid or
          accrued in current year (Schedule A, line 44, column (h)) ~~~~~~~~~~                    3
   4      Floor plan financing interest expense. See instructions     ~~~~~~~~~~
                                                                            4
   5      Total business interest expense. Add lines 1 through 4                                  5              98,198.
Section II - Adjusted Taxable Income

                                                                       Tentative Taxable Income

   6      Tentative taxable income. See instructions                                        6      -3,062,983.

                                 Additions (adjustments to be made if amounts are taken into account on line 6)

   7      Any item of loss or deduction that is not properly allocable to a trade or
          business of the taxpayer. See instructions    ~~~~~~~~~~~~~~~~                          7
   8      Any business interest expense not from a pass-through entity. See instr.        ~       8             98,198.
   9      Amount of any net operating loss deduction under section 172        ~~~~~~              9
 10       Amount of any qualified business income deduction allowed under
          section 199A ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           10
 11       Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~                                     11
 12       Amount of any loss or deduction items from a pass-through entity.
          See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         12
 13       Other additions. See instructions ~~~~~~~~~~~~~~~~~~~~~                                13
 14       Total current year partner's excess taxable income (Schedule A, line
          44, column (f)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         14
 15       Total current year S corporation shareholder's excess taxable
          income (Schedule B, line 46, column (c))     ~~~~~~~~~~~~~~~~~                         15
 16       Total. Add lines 7 through 15                                             16             98,198.

                                 Reductions (adjustments to be made if amounts are taken into account on line 6)

 17       Any item of income or gain that is not properly allocable to a trade
          or business of the taxpayer. See instructions ~~~~~~~~~~~~~~~                          17 (                  )
 18       Any business interest income not from a pass-through entity. See instructions          18 (          168,957.)
 19       Amount of any income or gain items from a pass-through entity.
          See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         19 (                  )
 20       Other reductions. See instructions   ~~~~~~~~~~~~~~~~~~~~                              20 (                  )
 21       Total. Combine lines 17 through 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          21 (          168,957.)
 22       Adjusted taxable income. Combine lines 6, 16, and 21. See instructions                          22
LHA For Paperwork Reduction Act Notice, see the instructions.                          223211 01-25-23                       Form 8990 (Rev. 12-2022)
                            Case 24-10856-JKS                   Doc 1        Filed 04/25/24            Page 635 of 733

Form 8990 (Rev. 12-2022)                                                                                                                             Page 2

Section III - Business Interest Income
 23      Current year business interest income. See instructions ~~~~~~~~~~                  23            168,957.
 24      Excess business interest income from pass-through entities (total of
         Schedule A, line 44, column (g), and Schedule B, line 46, column (d)) ~~~~          24
 25      Total. Add lines 23 and 24                                                    25           168,957.
Section IV - Section 163(j) Limitation Calculations

                                                      Limitation on Business Interest Expense

 26      Multiply the adjusted taxable income from line 22 by the applicable
         percentage. See instructions ~~~~~~~~~~~~~~~~~~~~~~~                                26
 27      Business interest income (line 25) ~~~~~~~~~~~~~~~~~~~~~                            27            168,957.
 28      Floor plan financing interest expense (line 4) ~~~~~~~~~~~~~~~~                     28
 29      Total. Add lines 26, 27, and 28                                                 29           168,957.

                                                        Allowable Business Interest Expense

 30      Total current year business interest expense deduction. See instructions                              30             98,198.

                                                                      Carryforward

 31      Disallowed business interest expense. Subtract line 29 from line 5. (If zero or less, enter -0-.)              31
 Part II     Partnership Pass-Through Items
 Part II is only completed by a partnership that is subject to section 163(j). The partnership items below are allocated to the partners
 and are not carried forward by the partnership. See the instructions for more information.

                                                          Excess Business Interest Expense

 32      Excess business interest expense. Enter amount from line 31                                     32

                               Excess Taxable Income (If you entered an amount on line 32, skip lines 33 through 37.)

 33      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      33
 34      Subtract line 33 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              34
 35      Divide line 34 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              35
 36      Excess taxable income. Multiply line 35 by line 22                                        36

                                                          Excess Business Interest Income

 37      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
         less, enter -0-.)                                                       37
 Part III S Corporation Pass-Through Items
 Part III is only completed by S corporations that are subject to section 163(j). The S corporation items below are allocated to the shareholders.
 See the instructions for more information.

                                                                Excess Taxable Income

 38      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      38
 39      Subtract line 38 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              39
 40      Divide line 39 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              40
 41      Excess taxable income. Multiply line 40 by line 22                                        41

                                                          Excess Business Interest Income

 42      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
         less, enter -0-.)                                                       42
                                                                                                                                 Form 8990 (Rev. 12-2022)




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                                                                                Case 24-10856-JKS                                Doc 1          Filed 04/25/24                        Page 636 of 733
                                                                              EXTENSION GRANTED TO 09/15/23
Form
                                                 1065                                               U.S. Return of Partnership Income                                                                                          OMB No. 1545-0123


Department of the Treasury
Internal Revenue Service
                                                                              For calendar year 2022, or tax year beginning                             ,
                                                                                              Go to www.irs.gov/Form1065 for instructions and the latest information.
                                                                                                                                                                        , ending                         ,             .
                                                                                                                                                                                                                                  2022
A                                               Principal business activity                   Name of partnership                                                                                                          D Employer identification
                                                                                                                                                                                                                               number

RESTAURANT                                                                                  STICKYS HOLDINGS, LLC                                                                                                           XX-XXXXXXX
                                                                                     Type Number, street, and room or suite no. If a P.O. box, see instructions.
B                                       Principal product or service                  or                                                                                                                                   E Date business started
                                                                                     Print 24 E 23RD STREET                                                                                                                 03/20/2012
FOOD SERVICES                                                                                City or town, state or province, country, and ZIP or foreign postal code
                                                                                                                                                                                                                           F   Total assets
                                                                                                                                                                                                                               (see instr.)
C                                       Business code number
722513                                                                                      NEW YORK                                                                                   NY 10010                            $   8,167,612.
G                                               Check applicable boxes:   (1)       Initial return  (2)       Final return     (3)        Name change (4)                                          Address change (5)                Amended return
H                                               Check accounting method: (1)        Cash            (2)  X Accrual             (3)        Other (specify)
I                                               Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year                                                  21
J                                               Check if Schedules C and M-3 are attached 
K                                               Check if partnership:          (1)          Aggregated activities for section 465 at-risk purposes                 (2)             Grouped activities for section 469 passive activity purposes
  Caution: Include only trade or business income and expenses on lines 1a through 22 below. See instructions for more information.
       1 a Gross receipts or sales ~~~~~~~~~~~~~~~~~~~~~~~~~~~                           1a      22,084,935.
                                                      b Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~            1b
                                                      c Balance. Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                               1c         22,084,935.
                                                  2     Cost of goods sold (attach Form 1125-A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                2           7,862,215.
                                                                                                                                                                                                                            14,222,720.
   Income




                                                  3     Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            3
                                                  4     Ordinary income (loss) from other partnerships, estates, and trusts (attach statement)                                     ~~~~~~~~~~~                   4
                                                  5     Net farm profit (loss) (attach Schedule F (Form 1040)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       5
                                                  6     Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~                                                                6               5,793.
                                                  7                                                            SEE STATEMENT 2
                                                        Other income (loss) (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                7              10,538.
                                                  8     Total income (loss). Combine lines 3 through 7                                                                             8          14,239,051.
                                                  9     Salaries and wages (other than to partners) (less employment credits) ~~~~~~~~~~~~~~~~~~~                                                                9           7,149,571.
Deductions (see instructions for limitations)




                                                10      Guaranteed payments to partners                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    10             19,014.
                                                11      Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        11            518,055.
                                                12      Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                               12
                                                13      Rent ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                 13            3,880,577.
                                                14                                                   SEE STATEMENT 3
                                                        Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                          14              963,838.
                                                15      Interest (see instructions)                                                                                     15               98,198.
                                                16 a Depreciation (if required, attach Form 4562) ~~~~~~~~~~~~~~~~~ 16a         699,358.
                                                   b Less depreciation reported on Form 1125-A and elsewhere on return ~~~~ 16b          16c                                                                                         699,358.
                                                17 Depletion (Do not deduct oil and gas depletion.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~        17
                                                18      Retirement plans, etc. ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                       18
                                                19      Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                       19            202,589.
                                                20                                                           SEE STATEMENT 4
                                                        Other deductions (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  20          3,919,741.
                                                21      Total deductions. Add the amounts shown in the far right column for lines 9 through 20                                                         21         17,450,941.
                                                22      Ordinary business income (loss). Subtract line 21 from line 8                                                                     22         -3,211,890.
                                                23      Interest due under the look-back method-completed long-term contracts (attach Form 8697) ~~~~~~~~                                                        23
                                                24      Interest due under the look-back method-income forecast method (attach Form 8866) ~~~~~~~~~~~                                                            24
   Tax and Payment




                                                25      BBA AAR imputed underpayment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             25
                                                26      Other taxes (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                   26
                                                27      Total balance due. Add lines 23 through 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              27
                                                28      Payment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                      28
                                                29      Amount owed. If line 28 is smaller than line 27, enter amount owed ~~~~~~~~~~~~~~~~~~~~                                                                  29
                                                30      Overpayment. If line 28 is larger than line 27, enter overpayment                                                                   30
                                                            Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge
                                                            and belief, it is true,correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all information of
Sign                                                        which preparer has any knowledge.
                                                                                                                                                                                                                May the IRS discuss this return with
Here                                                                                                                                                                                                            the preparer shown below?
                                                              Signature of partner or limited liability company member                                                      Date                                See instr.
                                                                                                                                                                                                                                  X Yes              No
                                                            Print/Type preparer's name                                   Preparer's signature                                  Date                 Check         if       PTIN
                                                           JESSICA HUSSAIN, CPA JESSICA HUSSAIN, CPA 09/12/23 self-employed                                                                                                 P01278178
Paid                                                         Firm's name

Preparer                                                      APRIO, LLP                                                                                                                           Firm's EIN     XX-XXXXXXX
Use Only                                                             2002 SUMMIT BOULEVARD, SUITE 120
                                                             Firm's address
                                                              ATLANTA, GA 30319                                                                                                                    Phone no.    (404) 892-9651
LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                 211001 12-19-22                                                                 Form 1065 (2022)
                                   Case 24-10856-JKS                       Doc 1            Filed 04/25/24            Page 637 of 733

   Form 1065 (2022)       STICKYS HOLDINGS, LLC                                                                                                 XX-XXXXXXX                  Page 2
     Schedule B           Other Information
     1       What type of entity is filing this return? Check the applicable box:                                                                                    Yes         No
         a       Domestic general partnership                                 b         Domestic limited partnership
         c   X Domestic limited liability company                             d         Domestic limited liability partnership
         e       Foreign partnership                                          f         Other
     2       At the end of the tax year:
         a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-
             exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
             loss, or capital of the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule
             B-1, Information on Partners Owning 50% or More of the Partnership                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     X
         b   Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
             the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information
             on Partners Owning 50% or More of the Partnership                                                                              X
     3       At the end of the tax year, did the partnership:
         a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
             stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions.
             If "Yes," complete (i) through (iv) below                 X
                               (i) Name of Corporation                 (ii) Employer
                                                                                     (iii) Country of (iv) Percentage
                                                                                                   Identification                                                   Owned in
                                                                                                  Number (if any)                 Incorporation                    Voting Stock




         b   Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
             or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
             interest of a trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below      X
                       (i) Name of Entity                         (ii) Employer      (iii) Type of Entity              (iv) Country of     (v) Maximum
                                                                    Identification Number                                                                      Percentage Owned in
      SEE STATEMENT 5                                                        (if any)                                              Organization                Profit, Loss, or Capital




     4       Does the partnership satisfy all four of the following conditions?                                                                                       Yes        No
         a   The partnership's total receipts for the tax year were less than $250,000.
         b   The partnership's total assets at the end of the tax year were less than $ 1 million.
         c   Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
             extensions) for the partnership return.
         d   The partnership is not filing and is not required to file Schedule M-3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                X
             If "Yes," the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065;
             or item L on Schedule K-1.
     5       Is this partnership a publicly traded partnership, as defined in section 469(k)(2)?                                                          X
     6       During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified
             so as to reduce the principal amount of the debt?                                                                             X
     7       Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
             information on any reportable transaction?                                                                                 X
     8       At any time during calendar year 2022, did the partnership have an interest in or a signature or other authority over
             a financial account in a foreign country (such as a bank account, securities account, or other financial account)?
             See instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and
             Financial Accounts (FBAR). If "Yes," enter the name of the foreign country                                                                                           X
     9       At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
             transferor to, a foreign trust? If "Yes," the partnership may have to file Form 3520, Annual Return To Report
             Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions                                                          X
   10 a      Is the partnership making, or had it previously made (and not revoked), a sec. 754 election? See instr. for details regarding a sec. 754 election ~                  X
         b   Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If "Yes,"
             attach a statement showing the computation and allocation of the basis adjustment. See instructions                                                     X
         c   Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a substantial built-in loss
             (as defined under section 743(d)) or substantial basis reduction (as defined under section 734(d))? If "Yes," attach a statement showing the
             computation and allocation of the basis adjustment. See instruction                                                                X
   211011 12-19-22                                                                                                                                          Form 1065 (2022)
22470912 795476 95517                                                                2022.04020 STICKYS HOLDINGS, LLC                                                  95517__1
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   Form 1065 (2022)        STICKYS HOLDINGS, LLC                                                                                   XX-XXXXXXX              Page 3
     Schedule B            Other Information (continued)
   11       Check this box if, during the current or prior tax year, the partnership distributed any property received in a                           Yes    No
            like-kind exchange or contributed such property to another entity (other than disregarded entities wholly
            owned by the partnership throughout the tax year)             
   12       At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
            undivided interest in partnership property?                                                            X
   13       If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect to Foreign
            Disregarded Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached. See
            instructions     
   14       Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's
            Information Statement of Section 1446 Withholding Tax, filed for this partnership                                                         X
   15       Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
            to this return 
   16 a     Did you make any payments in 2022 that would require you to file Form(s) 1099? See instructions ~~~~~~~~~~~~~~~                            X
        b   If "Yes," did you or will you file required Form(s) 1099?                                              X
   17       Enter the number of Forms 5471, Information Return of U.S. Persons With Respect to Certain Foreign
            Corporations, attached to this return 
   18       Enter the number of partners that are foreign governments under section 892 
   19       During the partnership's tax year, did the partnership make any payments that would require it to file Form 1042
            and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)?                                  X
   20       Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions
            for Form 8938                                                                            X
   21       Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1(b)(14)?                              X
   22       During the tax year, did the partnership pay or accrue any interest or royalty for which one or more partners are
            not allowed a deduction under section 267A? See instructions           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          X
            If "Yes," enter the total amount of the disallowed deductions                          $
   23       Did the partnership have an election under section 163(j) for any real property trade or business or any farming
            business in effect during the tax year? See instructions                                                     X
   24       Does the partnership satisfy one or more of the following? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~                                     X
        a   The partnership owns a pass-through entity with current, or prior year carryover, excess business interest expense.
        b   The partnership's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
            preceding the current tax year are more than $27 million and the partnership has business interest expense.
        c   The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
            If "Yes" to any, complete and attach Form 8990.
   25       Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund?       ~~~~~~~~~~~~~~~~~~~~~~                                  X
            If "Yes," enter the amount from Form 8996, line 15                                 $
   26       Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
            interest in the partnership or of receiving a distribution from the partnership 
            Complete Schedule K-3 (Form 1065), Part XIII, for each foreign partner subject to section 864(c)(8) on a transfer or distribution.
   27       At any time during the tax year, were there any transfers between the partnership and its partners subject to the
            disclosure requirements of Regulations section 1.707-8?                                                       X
   28       Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties
            constituting a trade or business of your partnership, and was the ownership percentage (by vote or value) for
            purposes of section 7874 greater than 50% (for example, the partners held more than 50% of the stock of
            the foreign corporation)? If "Yes," list the ownership percentage by vote and by value. See instructions.
            Percentage:                                                      By vote                          By value                                       X
   29       Reserved for future use 
   30       Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions                              X
            If "Yes," the partnership must complete Sch. B-2 (Form 1065). Enter the total from Sch. B-2, Part III, line 3
           If "No," complete Designation of Partnership Representative below.
   Designation of Partnership Representative (see instructions)
   Enter below the information for the partnership representative (PR) for the tax year covered by this return.
   Name of PR        JONATHAN SHERMAN
                        25 FOX DEN ROAD                                                             U.S. phone
   U.S. address of PR
                        MOUNT KISCO, NY                              10549                          number of PR         917-755-1770
   If the PR is an entity, name of the designated individual for the PR
                                                                                                    U.S. phone
   U.S. address of                                                                                  number of
   designated                                                                                       designated
   individual                                                                                       individual

   211021 12-19-22                                                                                                                               Form 1065 (2022)



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   Form 1065 (2022)                      STICKYS HOLDINGS, LLC                                                                            XX-XXXXXXX            Page 4
      Schedule K                         Partners' Distributive Share Items                                                                      Total amount
                           1     Ordinary business income (loss) (page 1, line 22)    ~~~~~~~~~~~~~~~~~~~~~~~~~~                          1      -3,211,890.
                           2     Net rental real estate income (loss) (attach Form 8825)                           2
                           3 a Other gross rental income (loss) ~~~~~~~~~~~~~~~~~~~                  3a
                             b Expenses from other rental activities (attach statement) ~~~~~~~               3b
                               c Other net rental income (loss). Subtract line 3b from line 3a                      3c
                           4
                                 Guaranteed
                                 payments:      a Services   4a                19,014.          b Capital 4b
                                 c Total. Add lines 4a and 4b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       4c           19,014.
      Income (Loss)




                                                                       SEE STATEMENT 6
                           5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  5          168,957.
                           6     Dividends and dividend equivalents:       a Ordinary dividends                      6a
                                 b Qualified dividends 6b                              c Dividend equivalents 6c
                           7     Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 7
                           8     Net short-term capital gain (loss) (attach Schedule D (Form 1065)) ~~~~~~~~~~~~~~~~~~                    8
                           9 a Net long-term capital gain (loss) (attach Schedule D (Form 1065))                       9a
                             b Collectibles (28%) gain (loss) ~~~~~~~~~~~~~~~~~~~~                   9b
                             c Unrecaptured section 1250 gain (attach statement) ~~~~~~~~~           9c
                          10     Net section 1231 gain (loss) (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             10
                          11     Other income (loss) (see instructions) Type                                                             11
                          12     Section 179 deduction (attach Form 4562)       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            12
      Deductions




                                                                              SEE STATEMENT 7
                          13 a Contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                13a            1,036.
                             b Investment interest expense ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          13b
                               c Section 59(e)(2) expenditures: (1) Type                                                  (2) Amount    13c(2)
                             d Other deductions (see instructions) Type  HEALTH INSURANCE PREMIUMS                                       13d          19,014.
                                                                                                                                                       1,124.
    Employ-




                          14 a Net earnings (loss) from self-employment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   14a
     ment
     Self-




                               b Gross farming or fishing income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     14b
                               c Gross nonfarm income                                             14c          79,136.
                          15 a Low-income housing credit (section 42(j)(5)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                15a
                             b Low-income housing credit (other) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      15b
      Credits




                               c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) ~~~~~~~    15c
                               d Other rental real estate credits (see instructions) Type                                                15d
                               e Other rental credits (see instructions)             Type                                                15e
                               f Other credits (see instructions)                    Type              SEE STATEMENT 8                   15f          16,003.
                          16     Attach Schedule K-2 (Form 1065), Partners' Distributive Share Items-International, and check
      national
       Inter-




                                 this box to indicate that you are reporting items of international tax relevance   ~~~~~~~~      X

                          17a Post-1986 depreciation adjustment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        17a         -67,132.
   Minimum Tax
   (AMT) Items




                            b Adjusted gain or loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             17b
   Alternative




                               c Depletion (other than oil and gas) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   17c
                               d Oil, gas, and geothermal properties - gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                            17d
                               e Oil, gas, and geothermal properties - deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~                             17e
                               f Other AMT items (attach statement)                                     17f
                          18 a Tax-exempt interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          18a
                                                                              SEE STATEMENT 9
                             b Other tax-exempt income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            18b     1,807,694.
      Other Information




                                                                             SEE STATEMENT 10
                               c Nondeductible expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           18c        16,253.
                          19 a Distributions of cash and marketable securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               19a
                             b Distributions of other property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      19b
                          20 a Investment income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               20a         168,957.
                             b Investment expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              20b
                            c Other items and amounts (attach statement)                  STMT 11
                          21 Total foreign taxes paid or accrued                                        21
   211041 12-19-22                                                                                                                                  Form 1065 (2022)




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                  STICKYS HOLDINGS, LLC
   Form 1065 (2022)                                                                                                                                          XX-XXXXXXX              Page 5
   Analysis of Net Income (Loss) per Return
   1 Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of Schedule K, lines 12 through 13d, and 21          1       -3,043,969.
   2 Analysis by                                              (ii) Individual                (iii) Individual                                       (v) Exempt                  (vi)
                                 (i) Corporate                    (active)                       (passive)                (iv) Partnership         Organization            Nominee/Other
       partner type:
     a General partners
     b Limited partners                                                                    -511,454. -2,496,219.                                                             -36,296.

     Schedule L               Balance Sheets per Books
                                                                                      Beginning of tax year                                              End of tax year
                             Assets
                                                                                (a)                                (b)                            (c)                         (d)
     1 Cash ~~~~~~~~~~~~~~~~                                                                               1,964,844.                                                        771,895.
     2a Trade notes and accounts receivable ~                                 116,632.                                                           148,223.
      b Less allowance for bad debts ~~~~                                                                        116,632.                                                    148,223.
     3 Inventories ~~~~~~~~~~~~~                                                                                 220,617.                                                    183,148.
     4 U.S. government obligations ~~~~~
     5 Tax-exempt securities ~~~~~~~~
     6 Other current assets (attach statement) ~                 STATEMENT 12                                    673,700.                                                    448,871.
     7a Loans to partners (or persons related to partners) ~
      b Mortgage and real estate loans ~~~
     8 Other investments (attach statement) ~
     9a Buildings and other depreciable assets                          8,876,169.                                                              9,277,609.
        b Less accumulated depreciation ~~~                             3,351,025.                         5,525,144.                           4,044,590.            5,233,019.
   10a Depletable assets ~~~~~~~~~~
     b Less accumulated depletion ~~~~~
   11 Land (net of any amortization) ~~~~
   12a Intangible assets (amortizable only) ~~                        123,838.                                                                   140,254.
     b Less accumulated amortization ~~~                               32,090.                                91,748.                             52,431.                87,823.
   13 Other assets (attach statement) ~~~                        STATEMENT 13                                955,274.                                                 1,294,633.
   14 Total assets ~~~~~~~~~~~~~                                                                           9,547,959.                                                 8,167,612.
           Liabilities and Capital
   15 Accounts payable ~~~~~~~~~~                                                                          1,539,660.                                                 1,077,615.
   16    Mortgages, notes, bonds payable in less than 1 year

   17 Other current liabilities (attach statement) ~             STATEMENT 14                                    927,706.                                                    889,439.
   18 All nonrecourse loans ~~~~~~~~
   19a Loans from partners (or persons related to partners)
     b Mortgages, notes, bonds payable in 1 year or more                                                   2,544,361.                                                 2,754,809.
   20 Other liabilities (attach statement) ~~
   21 Partners' capital accounts ~~~~~~                                    4,536,232.                              3,445,749.
   22 Total liabilities and capital                                  9,547,959.                              8,167,612.
     Schedule M-1                 Reconciliation of Income (Loss) per Books With Analysis of Net Income (Loss) per Return
                                  Note: The partnership may be required to file Schedule M-3. See instructions.
    1    Net income (loss) per books ~~~~~~~                               -1,090,483. 6 Income recorded on books this year not included
    2    Income included on Schedule K, lines 1, 2, 3c,                                                       on Schedule K, lines 1 through 11 (itemize):
         5, 6a, 7, 8, 9a, 10, and 11, not recorded on books                                                 a Tax-exempt interest $
         this year (itemize):          STMT 16                                        13,797.                  STMT 18                          1,807,694.            1,807,694.
    3 Guaranteed payments (other than health                                                              7 Deductions included on Schedule K, lines 1
      insurance) ~~~~~~~~~~~~~~~~                                                                           through 13d, and 21, not charged against
    4   Expenses recorded on books this year not included on                                                  book income this year (itemize):
        Schedule K, lines 1 through 13d, and 21 (itemize):                                                  a Depreciation $
         STMT 17                                    16,253.                                                    STMT 19                            175,842.              175,842.
     a Depreciation $                                                                                     8 Add lines 6 and 7 ~~~~~~~~~~~~                            1,983,536.
     b Travel and entertainment $                16,253. 9 Income (loss) (Analysis of Net Income (Loss),
    5 Add lines 1 through 4     -1,060,433.     line 1). Subtract line 8 from line 5                                                               -3,043,969.
     Schedule M-2 Analysis of Partners' Capital Accounts
    1 Balance at beginning of year ~~~~~~~  5,678,256. 6 Distributions: a Cash ~~~~~~~~~
    2 Capital contributed: a Cash ~~~~~~~                                                                                    b Property ~~~~~~~~
                           b Property ~~~~~~                                                              7 Other decreases (itemize):
    3 Net income (loss) (see instructions) ~~~~                            -3,043,969.      STMT 21                                                                      16,253.
    4 Other increases (itemize): STMT 20                                    1,807,694. 8 Add lines 6 and 7 ~~~~~~~~~~~~                                                  16,253.
    5 Add lines 1 through 4                                      4,441,981. 9 Balance at end of year. Subtract line 8 from line 5                        4,425,728.
   211042 12-19-22                                                                                                                                                          Form 1065 (2022)
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   Form          1125-A                                             Cost of Goods Sold
   (Rev. November 2018)                                | Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.                                OMB No. 1545-0123
   Department of the Treasury                         | Go to www.irs.gov/Form1125A for the latest information.
   Internal Revenue Service
   Name                                                                                                                             Employer Identification number

            STICKYS HOLDINGS, LLC                                                                                                      XX-XXXXXXX
   1     Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1              220,617.
   2     Purchases       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   2            7,824,746.
   3     Cost of labor       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                3
   4     Additional section 263A costs (attach schedule)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 4
   5     Other costs (attach schedule)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           5
   6     Total. Add lines 1 through 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              6                8,045,363.
   7     Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               7                  183,148.
   8     Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
         appropriate line of your tax return. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              8                7,862,215.
   9 a Check all methods used for valuing closing inventory:
         (i)          Cost
         (ii)     X Lower of cost or market
         (iii)        Other (Specify method used and attach explanation) |


       b Check if there was a writedown of subnormal goods ~~~~~~~~~~~~~~~~~~~~~~~                                                     |
       c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) ~~~~~~~~~~~~~~~~~~~~ |
       d If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
         under LIFO ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               9d
       e If property is produced or acquired for resale, do the rules of Section 263A apply to the entity? See instructions ~~~~~~~~~~~~~~             Yes X No
       f Was there any change in determining quantities, cost, or valuations between opening and closing inventory? ~~~~~~~~~~~~~~~                    Yes X No
         If "Yes," attach explanation.


   For Paperwork Reduction Act Notice, see separate instructions.                                                                   Form 1125-A (Rev. 11-2018)




   224441
   04-01-22         LHA

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              4562                                                     Depreciation and Amortization                                                                                         OMB No. 1545-0172

   Form


   Department of the Treasury
                                                                           (Including Information on Listed Property)
                                                                                            Attach to your tax return.
                                                                                                                                                          OTHER                       1
                                                                                                                                                                                               2022
                                                                                                                                                                                               Attachment
   Internal Revenue Service                              Go to www.irs.gov/Form4562 for instructions and the latest information.                                                               Sequence No. 179
   Name(s) shown on return                                                                                             Business or activity to which this form relates                      Identifying number



   STICKYS HOLDINGS, LLC                                                                                                                                   XX-XXXXXXX
    Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
    1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            1  1,080,000.
    2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                      2    333,529.
    3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                       3  2,700,000.
    4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                               4          0.
    5 Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions  5  1,080,000.
    6                                        (a) Description of property                                       (b) Cost (business use only)              (c) Elected cost




    7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
    8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                       8
    9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                   9
   10 Carryover of disallowed deduction from line 13 of your 2021 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                               10                 114,680.
   11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                11                       0.
   12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                        12
   13 Carryover of disallowed deduction to 2023. Add lines 9 and 10, less line 12                                                   13                  114,680.
   Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
    Part II             Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
   14 Special depreciation allowance for qualified property (other than listed property) placed in service during
      the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                           14
   15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                         15
   16 Other depreciation (including ACRS)                                                                                                 16
    Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                   Section A
   17 MACRS deductions for assets placed in service in tax years beginning before 2022                                                                           17                 618,525.
   18                                                                                                        
            If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                      Section B - Assets Placed in Service During 2022 Tax Year Using the General Depreciation System
                                                                           (b) Month and        (c) Basis for depreciation
                      (a) Classification of property                        year placed        (business/investment use            (d) Recovery      (e) Convention      (f) Method       (g) Depreciation deduction
                                                                              in service         only - see instructions)              period


   19a           3-year property
        b        5-year property                                                                       333,529. 5                                         HY          200DB                          66,706.
        c        7-year property
        d        10-year property
        e        15-year property                                                                      272,515. 15                                        HY          SL                             14,127.
        f        20-year property
        g        25-year property                                                                                                   25 yrs.                                 S/L
                                                                                  /                                                27.5 yrs.              MM                S/L
        h        Residential rental property
                                                                                  /                                                27.5 yrs.              MM                S/L
                                                                                  /                                                 39 yrs.               MM                S/L
        i        Nonresidential real property
                                                                  /                                                 MM         S/L
                                    Section C - Assets Placed in Service During 2022 Tax Year Using the Alternative Depreciation System
   20a           Class life                                                                                                                                                 S/L
     b           12-year                                                                                                             12 yrs.                                S/L
     c           30-year                                                          /                                                  30 yrs.              MM                S/L
     d           40-year                                                          /                                                  40 yrs.              MM                S/L
    Part IV             Summary (See instructions.)
   21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            21
   22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
            Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                        22                 699,358.
   23 For assets shown above and placed in service during the current year, enter the
      portion of the basis attributable to section 263A costs                                                            23
   216251 12-08-22         LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                   Form 4562 (2022)
22470912 795476 95517                                                                               2022.04020 STICKYS HOLDINGS, LLC                                                                       95517__1
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   Form 4562 (2022)                 STICKYS HOLDINGS, LLC                                                                XX-XXXXXXX                                                Page 2
    Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
               entertainment, recreation, or amusement.)
               Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
               24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                  Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles. )
   24a Do you have evidence to support the business/investment use claimed?               Yes              No 24b If "Yes," is the evidence written?                      Yes        No
                 (a)                 (b)              (c)                (d)                       (e)             (f)          (g)             (h)                              (i)
         Type of property            Date          Business/                             Basis for depreciation
                                                                                                                Recovery     Method/       Depreciation                      Elected
                                  placed in       investment           Cost or
        (list vehicles first)                                       other basis
                                                                                         (business/investment
                                                                                                                 period    Convention       deduction                      section 179
                                   service      use percentage                                  use only)
                                                                                                                                                                               cost
   25 Special depreciation allowance for qualified listed property placed in service during the tax year and
      used more than 50% in a qualified business use                                                      25



                                         ! !
   26 Property used more than 50% in a qualified business use:



                                         ! !
                                                             %



                                         ! !
                                                             %
                                                             %



                                         ! !
   27 Property used 50% or less in a qualified business use:



                                         ! !
                                                             %                                                           S/L -



                                         ! !
                                                             %                                                           S/L -
                                                             %                                                           S/L -
   28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28
   29 Add amounts in column (i), line 26. Enter here and on line 7, page 1                                                             29
                                                            Section B - Information on Use of Vehicles
   Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
   to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                         (a)               (b)               (c)               (d)                        (e)                     (f)
   30 Total business/investment miles driven during the                Vehicle           Vehicle           Vehicle           Vehicle                    Vehicle                 Vehicle
      year (don't include commuting miles) ~~~~~~~
   31 Total commuting miles driven during the year ~
   32 Total other personal (noncommuting) miles
       driven~~~~~~~~~~~~~~~~~~~~~
   33 Total miles driven during the year.
      Add lines 30 through 32 ~~~~~~~~~~~~
   34 Was the vehicle available for personal use                  Yes         No      Yes         No     Yes     No       Yes        No          Yes          No          Yes         No
      during off-duty hours? ~~~~~~~~~~~~
   35 Was the vehicle used primarily by a more
      than 5% owner or related person? ~~~~~~
   36 Is another vehicle available for personal
      use? 
                               Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
   Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
   more than 5% owners or related persons.
   37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                                 Yes        No
      employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
      employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
   39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   40 Do you provide more than five vehicles to your employees, obtain information from your employees about
       the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
      Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
    Part VI Amortization
                         (a)                               (b)                (c)                    (d)         (e)                                                      (f)
                      Description of costs                Date amortization         Amortizable                 Code                 Amortization                  Amortization
                                                               begins                amount                    section           period or percentage              for this year




                                                               ! !
   42 Amortization of costs that begins during your 2022 tax year:
   STICKYS HOLDINGS-SOFTWARE 120522                                                      2,592.             197                     36                                       72.

                                                               ! !
   STICKYS HOLDINGS-SOFTWARE 120622                                                     13,824.             197                     36                                      384.
   43 Amortization of costs that began before your 2022 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     43                       19,884.
   44 Total. Add amounts in column (f). See the instructions for where to report                                             44                       20,340.
   216252 12-08-22                                                                                                                                                     Form 4562 (2022)

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                                                                                                                                                                 OMB No. 1545-0184
                                                                 Sales of Business Property
Form       4797                           (Also Involuntary Conversions and Recapture Amounts Under Sections 179 and 280F(b)(2))
                                                                                                                                                                  2022
Department of the Treasury                                                Attach to your tax return.
                                                                                                                                                                 Attachment
Internal Revenue Service                            Go to www.irs.gov/Form4797 for instructions and the latest information.                                      Sequence No.   27
Name(s) shown on return                                                                                                              Identifying number


      STICKYS HOLDINGS, LLC                                                                                                           XX-XXXXXXX
 1a Enter the gross proceeds from sales or exchanges reported to you for 2022 on Form(s) 1099-B or 1099-S
    (or substitute statement) that you are including on line 2, 10, or 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1a
     b Enter the total amount of gain that you are including on lines 2, 10, and 24 due to the partial dispositions of
       MACRS assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            1b
     c Enter the total amount of loss that you are including on lines 2 and 10 due to the partial dispositions of MACRS
       assets                                                                               1c
  Part I          Sales or Exchanges of Property Used in a Trade or Business and Involuntary Conversions From Other
                  Than Casualty or Theft - Most Property Held More Than 1 Year (see instructions)
                                                                                                               (e) Depreciation        (f) Cost or other            (g) Gain or (loss)
 2                                                 (b) Date          (c) Date            (d) Gross                                       basis, plus                 Subtract (f) from
                  (a) Description of                 acquired            sold              sales price
                                                                                                            allowed or allowable      improvements and            the sum of (d) and (e)
                      property                     (mo., day, yr.)   (mo., day, yr.)                          since acquisition        expense of sale




 3      Gain, if any, from Form 4684, line 39 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   3
 4      Section 1231 gain from installment sales from Form 6252, line 26 or 37           ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        4
 5      Section 1231 gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    5
 6      Gain, if any, from line 32, from other than casualty or theft       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               6
 7      Combine lines 2 through 6. Enter the gain or (loss) here and on the appropriate line as follows      ~~~~~~~~~~~~~~~~~                              7
        Partnerships and S corporations. Report the gain or (loss) following the instructions for Form 1065, Schedule K,
        line 10, or Form 1120-S, Schedule K, line 9. Skip lines 8, 9, 11, and 12 below.
        Individuals, partners, S corporation shareholders, and all others. If line 7 is zero or a loss, enter the amount
        from line 7 on line 11 below and skip lines 8 and 9. If line 7 is a gain and you didn't have any prior year section
        1231 losses, or they were recaptured in an earlier year, enter the gain from line 7 as a long-term capital gain on
        the Schedule D filed with your return and skip lines 8, 9, 11, and 12 below.

 8      Nonrecaptured net section 1231 losses from prior years. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                8
 9      Subtract line 8 from line 7. If zero or less, enter -0-. If line 9 is zero, enter the gain from line 7 on line 12 below. If
        line 9 is more than zero, enter the amount from line 8 on line 12 below and enter the gain from line 9 as a long-term
        capital gain on the Schedule D filed with your return. See instructions                                                 9

  Part II         Ordinary Gains and Losses (see instructions)
10       Ordinary gains and losses not included on lines 11 through 16 (include property held 1 year or less):
PARTIAL DISPOSITION - LHI
                    123121041522                                                        168,000.                    5,793.              168,000.                         5,793.


11      Loss, if any, from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        11 (                            )
12      Gain, if any, from line 7 or amount from line 8, if applicable ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   12
13      Gain, if any, from line 31 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        13
14      Net gain or (loss) from Form 4684, lines 31 and 38a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           14
15      Ordinary gain from installment sales from Form 6252, line 25 or 36             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       15
16      Ordinary gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     16
17      Combine lines 10 through 16 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         17            5,793.
18      For all except individual returns, enter the amount from line 17 on the appropriate line of your return and skip lines
        a and b below. For individual returns, complete lines a and b below.
     a If the loss on line 11 includes a loss from Form 4684, line 35, column (b)(ii), enter that part of the loss here. Enter the
       loss from income-producing property on Schedule A (Form 1040), line 16. (Do not include any loss on property used
        as an employee.) Identify as from "Form 4797, line 18a." See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              18a
     b Redetermine the gain or (loss) on line 17 excluding the loss, if any, on line 18a. Enter here and on Schedule 1
       (Form 1040), Part I, line 4                                                                          18b
 LHA       For Paperwork Reduction Act Notice, see separate instructions.                                                                                          Form 4797 (2022)
218001
12-14-22
STICKYS HOLDINGS,
              Case LLC
                   24-10856-JKS                                           Doc 1       Filed 04/25/24                Page 645 of 733                        XX-XXXXXXX
Form 4797 (2022)                                                                                                                                                           Page 2
  Part III         Gain From Disposition of Property Under Sections 1245, 1250, 1252, 1254, and 1255 (see instructions)
                                                                                                                                              (b) Date acquired     (c) Date sold
                                                                                                                                               (mo., day, yr.)      (mo., day, yr.)
 19 (a) Description of section 1245, 1250, 1252, 1254, or 1255 property:
   A
   B
   C
   D
        These columns relate to the properties on
        lines 19A through 19D.                                                  Property A               Property B             Property C                   Property D
 20     Gross sales price (Note: See line 1a before completing.)     20
 21     Cost or other basis plus expense of sale ~~~~~~              21
 22     Depreciation (or depletion) allowed or allowable ~~~         22
 23     Adjusted basis. Subtract line 22 from line 21 ~~~~           23


 24     Total gain. Subtract line 23 from line 20              24
 25     If section 1245 property:
      a Depreciation allowed or allowable from line 22 ~~~           25a
   b Enter the smaller of line 24 or 25a                     25b
 26 If section 1250 property: If straight line depreciation
        was used, enter -0- on line 26g, except for a corporation
        subject to section 291.
      a Additional depreciation after 1975 ~~~~~~~~~                 26a
      b Applicable percentage multiplied by the smaller of
        line 24 or line 26a   ~~~~~~~~~~~~~~~                        26b
      c Subtract line 26a from line 24. If residential rental
        property or line 24 isn't more than line 26a, skip lines
        26d and 26e ~~~~~~~~~~~~~~~~~~                               26c
      d Additional depreciation after 1969 and before 1976 ~         26d
      e Enter the smaller of line 26c or 26d ~~~~~~~~                26e
      f Section 291 amount (corporations only) ~~~~~~                26f
      g Add lines 26b, 26e, and 26f                       26g
 27     If section 1252 property: Skip this section if you didn't
        dispose of farmland or if this form is being completed for
        a partnership.
      a Soil, water, and land clearing expenses ~~~~~~               27a
      b Line 27a multiplied by applicable percentage ~~~~            27b
      c Enter the smaller of line 24 or 27b                  27c
 28     If section 1254 property:
      a Intangible drilling and development costs, expenditures
        for development of mines and other natural deposits,
        mining exploration costs, and depletion ~~~~~~               28a
      b Enter the smaller of line 24 or 28a                  28b
 29     If section 1255 property:
      a Applicable percentage of payments excluded from
        income under section 126 ~~~~~~~~~~~~                        29a
  b Enter the smaller of line 24 or 29a   29b
Summary of Part III Gains. Complete property columns A through D through line 29b before going to line 30.

 30     Total gains for all properties. Add property columns A through D, line 24 ~~~~~~~~~~~~~~~~~~~~~~~~~                                     30


 31     Add property columns A through D, lines 25b, 26g, 27c, 28b, and 29b. Enter here and on line 13      ~~~~~~~~~~~~~~                      31
 32     Subtract line 31 from line 30. Enter the portion from casualty or theft on Form 4684, line 33. Enter the portion
        from other than casualty or theft on Form 4797, line 6                                                 32
  Part IV          Recapture Amounts Under Sections 179 and 280F(b)(2) When Business Use Drops to 50% or Less
                   (see instructions)
                                                                                                                                (a) Section                  (b) Section
                                                                                                                                    179                       280F(b)(2)
 33     Section 179 expense deduction or depreciation allowable in prior years     ~~~~~~~~~~~~~~                          33
 34     Recomputed depreciation. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              34
 35     Recapture amount. Subtract line 34 from line 33. See the instructions for where to report                    35
218002
12-14-22                                                                                                                                                         Form 4797 (2022)
                                  Case 24-10856-JKS                     Doc 1         Filed 04/25/24               Page 646 of 733


             8846
                                              Credit for Employer Social Security and Medicare Taxes                                      OMB No. 1545-0123


                                                                                                                                            2022
   Form                                                    Paid on Certain Employee Tips
                                                                            Attach to your tax return.
   Department of the Treasury                                                                                                              Attachment
   Internal Revenue Service                                 Go to www.irs.gov/Form8846 for the latest information.                         Sequence No. 846
   Name(s) shown on return                                                                                                          Identifying number

   STICKYS HOLDINGS, LLC                                                                                                                XX-XXXXXXX
   Note: Claim this credit only for employer social security and Medicare taxes paid by a food or beverage employer where tipping is customary for
   providing food or beverages. See the instructions for line 1.


     1    Tips received by employees for services on which you paid or incurred employer social security and Medicare taxes
          during the tax year (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             1            209,185.

     2    Tips not subject to the credit provisions (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                2
     3    Creditable tips. Subtract line 2 from line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         3            209,185.
     4    Multiply line 3 by 7.65% (0.0765). If you had any tipped employees whose wages (including tips) exceeded
          $147,000, see instructions and check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 4              16,003.
     5    Credit for employer social security and Medicare taxes paid on certain employee tips from partnerships
          and S corporations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         5
     6    Add lines 4 and 5. Partnerships and S corporations, report this amount on Schedule K. All others, report this amount on
          Form 3800, Part III, line 4f                                                   6              16,003.
   LHA For Paperwork Reduction Act Notice, see instructions.                                                                                     Form 8846 (2022)




   220421 11-22-22




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                                 Case 24-10856-JKS                  Doc 1           Filed 04/25/24          Page 647 of 733
                                            Limitation on Business Interest Expense
   Form   8990
   (Rev. December 2022)
                                                      Under Section 163(j)                                                             OMB No. 1545-0123
                                                                       Attach to your tax return.
   Department of the Treasury
   Internal Revenue Service           Go to www.irs.gov/Form8990 for instructions and the latest information.
   Taxpayer name(s) shown on tax return                                                                                   Identification number
          STICKYS HOLDINGS, LLC                                                                                              XX-XXXXXXX
      A     If Form 8990 relates to an information return for a foreign entity (for example, Form 5471), enter:
                 Name of foreign entity
                 Employer identification number, if any
                 Reference ID number
      B     Is the foreign entity a CFC group member? See instructions       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              Yes         No
      C     Is this Form 8990 filed by the specified group parent for an entire CFC group? See instructions ~~~~~~~~~~~~                Yes         No
      D     Has a CFC or a CFC group made a safe harbor election? If yes, see instructions for which lines of Form 8990
            to complete                                                            Yes         No
    Part I        Computation of Allowable Business Interest Expense
    Part I is completed by all taxpayers subject to section 163(j). Schedule A and Schedule B need to be completed before Part I when the
    taxpayer is a partner or shareholder of a pass-through entity subject to section 163(j).

   Section I - Business Interest Expense
      1      Current year business interest expense (not including floor plan
             financing interest expense), before the section 163(j) limitation ~~~~~~~               1             98,198.
      2      Disallowed business interest expense carryforwards from prior
             years. (Does not apply to a partnership) ~~~~~~~~~~~~~~~~~~                             2
      3      Partner's excess business interest expense treated as paid or
             accrued in current year (Schedule A, line 44, column (h)) ~~~~~~~~~~                    3
      4      Floor plan financing interest expense. See instructions     ~~~~~~~~~~
                                                                               4
      5      Total business interest expense. Add lines 1 through 4                                  5              98,198.
   Section II - Adjusted Taxable Income

                                                                          Tentative Taxable Income

      6      Tentative taxable income. See instructions                                        6      -3,062,983.

                                    Additions (adjustments to be made if amounts are taken into account on line 6)

      7      Any item of loss or deduction that is not properly allocable to a trade or
             business of the taxpayer. See instructions    ~~~~~~~~~~~~~~~~                          7
      8      Any business interest expense not from a pass-through entity. See instr.        ~       8             98,198.
      9      Amount of any net operating loss deduction under section 172        ~~~~~~              9
    10       Amount of any qualified business income deduction allowed under
             section 199A ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           10
    11       Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~                                     11
    12       Amount of any loss or deduction items from a pass-through entity.
             See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         12
    13       Other additions. See instructions ~~~~~~~~~~~~~~~~~~~~~                                13
    14       Total current year partner's excess taxable income (Schedule A, line
             44, column (f)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         14
    15       Total current year S corporation shareholder's excess taxable
             income (Schedule B, line 46, column (c))     ~~~~~~~~~~~~~~~~~                         15
    16       Total. Add lines 7 through 15                                             16             98,198.

                                    Reductions (adjustments to be made if amounts are taken into account on line 6)

    17       Any item of income or gain that is not properly allocable to a trade
             or business of the taxpayer. See instructions ~~~~~~~~~~~~~~~                          17 (                  )
    18       Any business interest income not from a pass-through entity. See instructions          18 (          168,957.)
    19       Amount of any income or gain items from a pass-through entity.
             See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         19 (                  )
    20       Other reductions. See instructions   ~~~~~~~~~~~~~~~~~~~~                              20 (                  )
    21       Total. Combine lines 17 through 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          21 (          168,957.)
    22       Adjusted taxable income. Combine lines 6, 16, and 21. See instructions                          22
   LHA For Paperwork Reduction Act Notice, see the instructions.                          223211 01-25-23                       Form 8990 (Rev. 12-2022)

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   Form 8990 (Rev. 12-2022)                                                                                                                              Page 2

   Section III - Business Interest Income
    23      Current year business interest income. See instructions ~~~~~~~~~~                  23            168,957.
    24      Excess business interest income from pass-through entities (total of
            Schedule A, line 44, column (g), and Schedule B, line 46, column (d)) ~~~~          24
    25      Total. Add lines 23 and 24                                                    25           168,957.
   Section IV - Section 163(j) Limitation Calculations

                                                         Limitation on Business Interest Expense

    26      Multiply the adjusted taxable income from line 22 by the applicable
            percentage. See instructions ~~~~~~~~~~~~~~~~~~~~~~~                                26
    27      Business interest income (line 25) ~~~~~~~~~~~~~~~~~~~~~                            27            168,957.
    28      Floor plan financing interest expense (line 4) ~~~~~~~~~~~~~~~~                     28
    29      Total. Add lines 26, 27, and 28                                                 29           168,957.

                                                           Allowable Business Interest Expense

    30      Total current year business interest expense deduction. See instructions                              30             98,198.

                                                                         Carryforward

    31      Disallowed business interest expense. Subtract line 29 from line 5. (If zero or less, enter -0-.)              31
    Part II     Partnership Pass-Through Items
    Part II is only completed by a partnership that is subject to section 163(j). The partnership items below are allocated to the partners
    and are not carried forward by the partnership. See the instructions for more information.

                                                             Excess Business Interest Expense

    32      Excess business interest expense. Enter amount from line 31                                     32

                                  Excess Taxable Income (If you entered an amount on line 32, skip lines 33 through 37.)

    33      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      33
    34      Subtract line 33 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              34
    35      Divide line 34 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              35
    36      Excess taxable income. Multiply line 35 by line 22                                        36

                                                             Excess Business Interest Income

    37      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
            less, enter -0-.)                                                       37             70,759.
    Part III S Corporation Pass-Through Items
    Part III is only completed by S corporations that are subject to section 163(j). The S corporation items below are allocated to the shareholders.
    See the instructions for more information.

                                                                   Excess Taxable Income

    38      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      38
    39      Subtract line 38 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              39
    40      Divide line 39 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              40
    41      Excess taxable income. Multiply line 40 by line 22                                        41

                                                             Excess Business Interest Income

    42      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
            less, enter -0-.)                                                       42
                                                                                                                                    Form 8990 (Rev. 12-2022)




   223212 01-25-23


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                           Case 24-10856-JKS   Doc 1   Filed 04/25/24         Page 649 of 733
STICKYS HOLDINGS, LLC                      Business Interest Expense                                                                      XX-XXXXXXX
                                                          Prior Disallowed    Business Interest   Business Interest   Limited Business      Disallowed
                             Description                  Business Interest                                                              Business Interest
                                                                                  Expense          Expense Ratio      Interest Expense
                                                              Expense                                                                        Expense

                                                                                      98,198.          1.000000              98,198.




Total ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 98,198.          1.000000              98,198.                   0.

                                                                                                                                              223301 04-01-22
Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 650 of 733
Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 651 of 733
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 652 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                                    FOOTNOTES                      STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  52/53 WEEK TAX YEAR INFORMATIONAL FOOTNOTE:

  THE TAXPAYER HAS IN PLACE AN ELECTION UNDER THE PROVISIONS
  OF IRC SECTION 411(F) TO USE A 52-53 WEEK FISCAL YEAR.
  THE FOLLOWING INFORMATION IS SUBMITTED AS IT RELATES TO THE
  CURRENT YEAR TAX RETURN FILLING:

  YEAR BEGINNING: DECEMBER 28, 2021
  YEAR ENDING: DECEMBER 26, 2022


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1065                        OTHER INCOME                    STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  OTHER INCOME                                                                         10,538.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM 1065, LINE 7                                                           10,538.
                                                                                ~~~~~~~~~~~~~~


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  FORM 1065                        TAX EXPENSE                     STATEMENT 3
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  EMPLOYER TAXES                                                                      296,340.
  LESS FORM 8846 CREDIT                                                               -16,003.
  LICENSES & PERMITS                                                                   12,964.
  OTHER STATE TAXES                                                                     5,706.
  PAYROLL TAXES                                                                       527,320.
  REAL ESTATE TAXES                                                                   137,511.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM 1065, LINE 14                                                         963,838.
                                                                                ~~~~~~~~~~~~~~




                                                                STATEMENT(S) 1, 2, 3
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 653 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1065                      OTHER DEDUCTIONS                  STATEMENT 4
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  ADVERTISING                                                                         171,360.
  AMORTIZATION EXPENSE                                                                 20,340.
  BANK & CC FEES                                                                      349,333.
  CASH SHORT                                                                           12,015.
  DE MINIMIS EQUIPMENT EXPENSE                                                         47,913.
  DELIVERY FEE EXPENSE                                                              1,335,234.
  DUES & SUBSCRIPTIONS                                                                170,277.
  EXPENSE ADJUSTMENTS/REIMBURSEMENTS                                                  -77,823.
  GENERAL EXPENSES                                                                     16,223.
  INSURANCE                                                                             2,575.
  KITCHEN EXPENSE                                                                     291,851.
  LINEN & UNIFORM                                                                      30,000.
  MEALS NOT SUBJECT TO LIMITATION                                                       1,990.
  MISCELLANEOUS EXPENSE                                                                    970.
  OFFICE SUPPLIES                                                                      27,962.
  OPERATING EXPENSES                                                                  146,176.
  PAYROLL PROCESSING FEES                                                              85,084.
  PROFESSIONAL FEES                                                                   342,125.
  SUPPLIES                                                                             29,020.
  TRAVEL                                                                               74,380.
  UTILITIES AND TELEPHONE                                                             842,736.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO FORM 1065, LINE 20                                                       3,919,741.
                                                                                ~~~~~~~~~~~~~~




                                                                      STATEMENT(S) 4
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 654 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                       THE ENTITY OWNS 20% OR MORE DIRECTLY OR     STATEMENT 5
                    50% OR MORE OVERALL OF PARTNERSHIPS OR TRUSTS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

               NAME OF ENTITY                EIN NUMBER
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}
                                          COUNTRY OF ORGANIZATION                  PCT OWNED
                                      }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}
  STICKY FINGERS LLC                         XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKY FINGERS II LLC                      XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKY FINGERS III LLC                     XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKY FINGERS IV LLC                      XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKY FINGERS V LLC                       XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKY FINGERS VI LLC                      XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKY FINGERS VII LLC                     XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKY FINGERS VIII LLC                    XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKY FINGERS IX LLC                      XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKYS BK I LLC                           XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKYS NJ I LLC                           XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKYS NJ II LLC                          XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKYS NJ III LLC                         XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKYS NJ IV LLC                          XX-XXXXXXX
                                      UNITED STATES                                  100.00
  STICKYS WC I LLC                           XX-XXXXXXX
                                      UNITED STATES                                  100.00




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  SCHEDULE K                     INTEREST INCOME                   STATEMENT 6
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                              U.S. BONDS               OTHER
  }}}}}}}}}}}                                            }}}}}}}}}}}}}}         }}}}}}}}}}}}}}
  INTEREST INCOME                                                                     168,957.
                                                         }}}}}}}}}}}}}}         }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K, LINE 5                                                         168,957.
                                                         ~~~~~~~~~~~~~~         ~~~~~~~~~~~~~~




                                                                   STATEMENT(S) 5, 6
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 655 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K                 CHARITABLE CONTRIBUTIONS              STATEMENT 7
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                             TYPE              AMOUNT
  }}}}}}}}}}}                                    }}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}
  CHARITY                                        CASH (60%)                    1,036.
                                                                         }}}}}}}}}}}}
  TOTALS TO SCHEDULE K, LINE 13A                                               1,036.
                                                                         ~~~~~~~~~~~~


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  SCHEDULE K                        OTHER CREDITS                  STATEMENT 8
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  CREDIT FOR SOC. SEC. AND MEDICARE TAXES PAID                                         16,003.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K, LINE 15F                                                        16,003.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K                 OTHER TAX-EXEMPT INCOME               STATEMENT 9
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                              1,807,694.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K, LINE 18B                                                     1,807,694.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K                  NONDEDUCTIBLE EXPENSE                STATEMENT 10
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  PENALTIES                                                                                250.
  TAX DEDUCTION ADJUSTMENT FOR FORM 8846                                               16,003.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K, LINE 18C                                                        16,253.
                                                                                ~~~~~~~~~~~~~~




                                                            STATEMENT(S) 7, 8, 9, 10
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 656 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K                       OTHER ITEMS                     STATEMENT 11
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME                                                      70,759.
  GROSS RECEIPTS FOR SECTION 448(C)                                                22,253,892.
  SECTION 199A - ORDINARY INCOME (LOSS)                                            -3,211,890.
  SECTION 199A W-2 WAGES                                                            4,565,084.
  SECTION 199A UNADJUSTED BASIS OF ASSETS                                           9,174,684.
  BUSINESS INTEREST EXPENSE                                                            98,198.
  SEC 179 EXPENSE DISALLOWED DUE TO TRADE OR BUSINESS INCOME
  LIMIT                                                                               114,680.




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  SCHEDULE L                  OTHER CURRENT ASSETS                 STATEMENT 12
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
  DESCRIPTION                                                TAX YEAR         YEAR
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CORPORATE ACCOUNTS                                                  0.        52,007.
  ERTC CREDIT RECEIVABLE                                        540,215.              0.
  PREPAID EXPENSES                                              133,485.       396,864.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 6                                   673,700.       448,871.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

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  SCHEDULE L                      OTHER ASSETS                     STATEMENT 13
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
  DESCRIPTION                                                TAX YEAR         YEAR
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  SECURITY DEPOSITS                                             955,274.     1,294,633.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 13                                  955,274.     1,294,633.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                             STATEMENT(S) 11, 12, 13
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 657 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L                OTHER CURRENT LIABILITIES              STATEMENT 14
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
  DESCRIPTION                                                TAX YEAR         YEAR
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ACCRUED EXPENSES                                              798,582.       301,468.
  CREDIT CARD PAYABLE                                           -10,151.        65,797.
  DEFERRED MARKETING                                                  0.        14,705.
  DEFERRED RENT                                                       0.       339,700.
  GIFT CARD LIABILITY                                            11,896.        13,797.
  SALES TAX PAYABLE                                             127,379.       127,141.
  TIPS PAYABLE                                                        0.        14,579.
  TRAVELER'S INSURANCE                                                0.        12,252.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 17                                  927,706.       889,439.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                                     STATEMENT(S) 14
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 658 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1065             PARTNERS' CAPITAL ACCOUNT SUMMARY          STATEMENT 15
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  PARTNER    BEGINNING         CAPITAL       SCHEDULE M-2        WITH-            ENDING
  NUMBER      CAPITAL        CONTRIBUTED     LNS 3, 4 & 7       DRAWALS           CAPITAL
  }}}}}}}   }}}}}}}}}}}}     }}}}}}}}}}}}    }}}}}}}}}}}}     }}}}}}}}}}}}      }}}}}}}}}}}}

        1        16,266.                          -1,368.                            14,898.


        2       -37,888.                          -6,966.                           -44,854.


        3        89,631.                         -50,726.                            38,905.


        4        59,837.                         -27,528.                            32,309.


        5       269,725.                         -31,736.                           237,989.


        6        58,096.                          -7,194.                            50,902.


        7        55,532.                          -6,533.                            48,999.


        8        67,239.                          -8,438.                            58,801.


        9       126,930.                         -14,935.                           111,995.


       10        33,196.                          -4,111.                            29,085.


       11       242,231.                         -32,279.                           209,952.


       12       132,424.                         -26,602.                           105,822.


       13     2,063,681.                        -531,081.                         1,532,600.


       14        96,995.                         -23,778.                            73,217.


       15        38,454.                          -9,896.                            28,558.


       16               0.                               0.                               0.


       17        28,119.                          -5,576.                            22,543.




                                                                     STATEMENT(S) 15
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                   Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 659 of 733
  STICKYS HOLDINGS, LLC                                                            XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                                            }}}}}}}}}}
       18             0.                                   0.                              0.


          19             0.                                0.                              0.


          20             0.                                0.                              0.


          21     2,337,788.                       -463,781.                         1,874,007.


               }}}}}}}}}}}}   }}}}}}}}}}}}     }}}}}}}}}}}}      }}}}}}}}}}}}     }}}}}}}}}}}}
  TOTAL          5,678,256.                     -1,252,528.                         4,425,728.
               ~~~~~~~~~~~~   ~~~~~~~~~~~~     ~~~~~~~~~~~~     ~~~~~~~~~~~~      ~~~~~~~~~~~~




                                                                       STATEMENT(S) 15
22470912 795476 95517                      2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 660 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-1        INCOME NOT RECORDED ON BOOKS THIS YEAR       STATEMENT 16
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  GIFT CARD INCOME                                                                     13,797.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-1, LINE 2                                                        13,797.
                                                                                ~~~~~~~~~~~~~~

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  SCHEDULE M-1 EXPENSES RECORDED ON BOOKS NOT DEDUCTED IN RETURN   STATEMENT 17
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  ADJUSTMENT FOR FORM 8846 CREDIT                                                      16,003.
  PENALTIES                                                                                250.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-1, LINE 4                                                        16,253.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE M-1   INCOME RECORDED ON BOOKS NOT INCLUDED ON RETURN   STATEMENT 18
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                              1,807,694.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-1, LINE 6                                                     1,807,694.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE M-1    DEDUCTIONS ON RETURN NOT CHARGED AGAINST BOOKS   STATEMENT 19
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  DEFERRED PAYROLL TAXES                                                               75,388.
  DEFERRED RENT                                                                       100,454.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-1, LINE 7                                                       175,842.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE M-2                   OTHER INCREASES                   STATEMENT 20
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  OTHER TAX-EXEMPT INCOME                                                           1,807,694.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-2, LINE 4                                                     1,807,694.
                                                                                ~~~~~~~~~~~~~~



                                                     STATEMENT(S) 16, 17, 18, 19, 20
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 661 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-2                   OTHER DECREASES                   STATEMENT 21
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  NONDEDUCTIBLE EXPENSES                                                               16,253.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-2, LINE 7                                                        16,253.
                                                                                ~~~~~~~~~~~~~~




                                                                     STATEMENT(S) 21
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
        1                             Case 24-10856-JKS                               Doc 1            Filed 04/25/24                                  Page 662 of 733

                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                   -3,512. A                                            0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                            17.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                         -73.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                              185.           nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                     1,977.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                        17.
                    -4851                                                                                          6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  PAUL ABRAHAMIAN
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                         185.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *                107.
                member-manager                                               member                                                                                          Z        *                STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *                 77.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *             24,334.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *                STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 0.1928050 %                                             0.1093462 %
       Loss                   0.1928050 %                                             0.1093462 % 11 Other income (loss)
       Capital                0.1251850 %                                             0.1279123 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                               9,479. $                                 5,163.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                   1.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 16,266.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                             -1,368.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          14,898.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                   -5,566.
      Ending  $                                    -5,566.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                                1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 663 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1          OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                  1,977.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                 1,977.
                                                                                ~~~~~~~~~~~~~~

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  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                              17.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                    17.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                          107.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                   107.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                            -3,512.
     W-2 WAGES                                                                          4,992.
     UNADJUSTED BASIS OF ASSETS                                                        10,032.




                                                                    PARTNER NUMBER 1
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 664 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



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  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
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  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                            125.



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  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
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  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                            77.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                        77.
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  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
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  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                     24,334.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                    24,334.
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                                                                    PARTNER NUMBER 1
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 665 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
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  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                         -3,512.
  INTEREST INCOME                                                   185.
  OTHER TAX-EXEMPT INCOME                                         1,977.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                             -1,350.

  CHARITABLE CONTRIBUTIONS                                           -1.
  NONDEDUCTIBLE EXPENSES                                            -17.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                   -18.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                   -1,368.
                                                                                ~~~~~~~~~~~~~~




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  SCHEDULE K-1                      FOOTNOTES
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  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                               107.
  BUSINESS INTEREST INCOME                                                                185.

  GROSS RECEIPTS FOR 12/31/2019                                                        13,122.
  GROSS RECEIPTS FOR 12/31/2020                                                        16,470.
  GROSS RECEIPTS FOR 12/31/2021                                                        19,732.




                                                                    PARTNER NUMBER 1
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
       2                             Case 24-10856-JKS                               Doc 1            Filed 04/25/24                             Page 666 of 733

                                                                                                                                                                                                 651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                         2022
                                                                            For calendar year 2022, or tax year
                                                                                                                                     Final K-1                Amended K-1
                                                                                                                                 Part III Partner's Share of Current Year Income,
                                                                                                                                                                                        OMB No. 1545-0123

Internal Revenue Service                                                                                                                  Deductions, Credits, and Other Items
                            beginning                                       ending                                    1 Ordinary business income (loss)              14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                   -17,858. A                                        1,124.
Credits, etc.                          See separate instructions.                                                     2 Net rental real estate income (loss) C                            79,136.
  Part I Information About the Partnership                                                                                                                           15 Credits
  A Partnership's employer identification number                                                                      3 Other net rental income (loss)               N                             89.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                        4a Guaranteed payments for services                16 Schedule K-3 is attached if
                                                                                                                                                  19,014.               checked                 X
  STICKYS HOLDINGS, LLC                                                                                           4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                   A                           -374.
  NEW YORK, NY 10010                                                                                              4c Total guaranteed payments
  C IRS center where partnership filed return:                                                                                                    19,014.
  E-FILE                                                                                                              5 Interest income                              18 Tax-exempt income and
  D            Check if this is a publicly traded partnership (PTP)                                                                                      939.            nondeductible expenses
   Part II         Information About the Partner                                                                  6a Ordinary dividends                              B*                   10,050.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                 C*                      STMT
                     1191                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                             19 Distributions
                                                                                                                  6c Dividend equivalents
  JONATHAN SHERMAN
                                                                                                                      7 Royalties                                    20 Other information
                                                                                                                                                                     A                        939.
  G X General partner or LLC                                                Limited partner or other LLC              8 Net short-term capital gain (loss)           N      *                 546.
               member-manager                                               member                                                                                   Z      *                 STMT
  H1 X Domestic partner                                      Foreign partner                                      9a Net long-term capital gain (loss)               AF     *                 394.
  H2   If the partner is a disregarded entity (DE), enter the partner's:                                                                                             AG     *             123,729.
      TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                  AH     *                 STMT
  I1 What type of entity is this partner?           INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                   9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                   Ending                           10 Net section 1231 gain (loss)
      Profit                 2.8997650 %                                             0.5559912 %
      Loss                   2.8997650 %                                             0.5559912 % 11 Other income (loss)
      Capital                1.0017210 %                                             1.0782696 %
      Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                               Beginning                                  Ending                  12 Section 179 deduction                           21 Foreign taxes paid or accrued
      Nonrecourse  $                          142,562. $                                 26,253.
      Qualified nonrecourse                                                                                       13 Other deductions
      financing  $                                                  $                                   A                                          6.
      Recourse  $                               95,384. $                                            0. M                                     19,014.
      Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                         Partner's Capital Account Analysis                                                    22                     More than one activity for at-risk purposes*
                                                                                                                  23                     More than one activity for passive activity purposes*
      Beginning capital account ~~~~~~~~~ $                                              -37,888.                                *See attached statement for additional information.
      Capital contributed during the year ~~~~~~ $
      Current year net income (loss) ~~~~~~~~ $                                             -6,966.
      Other increase (decrease) (attach explanation) ~ $
                                                                                                                  For IRS Use Only




      Withdrawals and distributions ~~~~~~~~ $ (                                                              )
      Ending capital account          ~~~~~~~~~~ $                                       -44,854.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                123,505.
      Ending  $                                 123,505.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                             www.irs.gov/Form1065              Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                        2
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 667 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 10,050.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                10,050.
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  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 2.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                              89.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                    91.
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  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                          546.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                   546.
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  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
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  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -17,858.
     SELF-EMPLOYMENT EARNINGS(LOSS)                                                   -17,890.
     HEALTH INSURANCE PAYMENTS                                                         19,014.
     W-2 WAGES                                                                         25,381.
     UNADJUSTED BASIS OF ASSETS                                                        51,011.




                                                                    PARTNER NUMBER 2
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 668 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
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   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



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  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
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  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                            638.



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  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                            394.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                        394.
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  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    123,729.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   123,729.
                                                                                ~~~~~~~~~~~~~~




                                                                    PARTNER NUMBER 2
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 669 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -17,858.
  INTEREST INCOME                                                   939.
  OTHER TAX-EXEMPT INCOME                                        10,050.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                             -6,869.

  CHARITABLE CONTRIBUTIONS                                           -6.
  NONDEDUCTIBLE EXPENSES                                            -91.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                   -97.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                   -6,966.
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  SCHEDULE K-1                      FOOTNOTES
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  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                               546.
  BUSINESS INTEREST INCOME                                                                939.

  GROSS RECEIPTS FOR 12/31/2019                                                        66,718.
  GROSS RECEIPTS FOR 12/31/2020                                                        83,742.
  GROSS RECEIPTS FOR 12/31/2021                                                       100,332.




                                                                    PARTNER NUMBER 2
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
        3                             Case 24-10856-JKS                               Doc 1            Filed 04/25/24                                  Page 670 of 733

                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                              -130,078. A                                               0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                         649.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                   -2,718.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                        6,843.               nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                  73,210.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
                      7273                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  MICHAEL P SHERMAN
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                     6,843.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *            3,977.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *            2,865.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          901,261.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 4.5441060 %                                             4.0498997 %
       Loss                   4.5441060 %                                             4.0498997 % 11 Other income (loss)
       Capital                4.1439540 %                                             4.1600925 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                          223,404. $                              191,231.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                42.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 89,631.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                          -50,726.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          38,905.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                264,548.
      Ending  $                                 264,548.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                                3
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 671 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 73,210.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                73,210.
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  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                10.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             649.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   659.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                        3,977.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                 3,977.
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  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
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  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                          -130,078.
     W-2 WAGES                                                                        184,882.
     UNADJUSTED BASIS OF ASSETS                                                       371,565.




                                                                    PARTNER NUMBER 3
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 672 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



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  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                          4,644.



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  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                         2,865.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                     2,865.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    901,261.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   901,261.
                                                                                ~~~~~~~~~~~~~~




                                                                    PARTNER NUMBER 3
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 673 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                       -130,078.
  INTEREST INCOME                                                 6,843.
  OTHER TAX-EXEMPT INCOME                                        73,210.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                            -50,025.

  CHARITABLE CONTRIBUTIONS                                          -42.
  NONDEDUCTIBLE EXPENSES                                           -659.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                  -701.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                  -50,726.
                                                                                ~~~~~~~~~~~~~~




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  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                             3,977.
  BUSINESS INTEREST INCOME                                                              6,843.

  GROSS RECEIPTS FOR 12/31/2019                                                       485,988.
  GROSS RECEIPTS FOR 12/31/2020                                                       609,988.
  GROSS RECEIPTS FOR 12/31/2021                                                       730,827.




                                                                    PARTNER NUMBER 3
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
        4                             Case 24-10856-JKS                               Doc 1            Filed 04/25/24                                  Page 674 of 733

                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -70,591. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                         351.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                   -1,476.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                        3,713.               nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                  39,729.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
                      9345                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  PAUL TIETZ
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                     3,713.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *            2,158.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *            1,556.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          489,092.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 2.0675390 %                                             2.1977823 %
       Loss                   2.0675390 %                                             2.1977823 % 11 Other income (loss)
       Capital                2.1729660 %                                             2.1687135 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                          101,647. $                              103,776.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                23.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 59,837.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                          -27,528.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          32,309.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                125,885.
      Ending  $                                 125,885.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                                4
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 675 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 39,729.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                39,729.
                                                                                ~~~~~~~~~~~~~~

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  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 5.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             351.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   356.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                        2,158.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                 2,158.
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  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -70,591.
     W-2 WAGES                                                                        100,330.
     UNADJUSTED BASIS OF ASSETS                                                       201,640.




                                                                    PARTNER NUMBER 4
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 676 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



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  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                          2,521.



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  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                         1,556.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                     1,556.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    489,092.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   489,092.
                                                                                ~~~~~~~~~~~~~~




                                                                    PARTNER NUMBER 4
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 677 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -70,591.
  INTEREST INCOME                                                 3,713.
  OTHER TAX-EXEMPT INCOME                                        39,729.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                            -27,149.

  CHARITABLE CONTRIBUTIONS                                          -23.
  NONDEDUCTIBLE EXPENSES                                           -356.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                  -379.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                  -27,528.
                                                                                ~~~~~~~~~~~~~~




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  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                             2,158.
  BUSINESS INTEREST INCOME                                                              3,713.

  GROSS RECEIPTS FOR 12/31/2019                                                       263,734.
  GROSS RECEIPTS FOR 12/31/2020                                                       331,026.
  GROSS RECEIPTS FOR 12/31/2021                                                       396,602.




                                                                    PARTNER NUMBER 4
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
        5                             Case 24-10856-JKS                               Doc 1            Filed 04/25/24                                  Page 678 of 733

                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -81,380. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                         406.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                   -1,701.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                        4,281.               nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                  45,802.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
                      0556                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  JAMES R HART III
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                     4,281.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *            2,488.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *            1,792.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          563,854.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit               15.3564970 %                                              2.5337341 %
       Loss                 15.3564970 %                                              2.5337341 % 11 Other income (loss)
       Capital               4.9725590 %                                              5.3913480 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                          754,979. $                              119,640.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                26.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                              269,725.                                *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                          -31,736.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                       237,989.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                155,276.
      Ending  $                                 155,276.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                                5
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 679 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 45,802.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                45,802.
                                                                                ~~~~~~~~~~~~~~

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  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 7.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             406.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   413.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                        2,488.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                 2,488.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -81,380.
     W-2 WAGES                                                                        115,667.
     UNADJUSTED BASIS OF ASSETS                                                       232,462.




                                                                    PARTNER NUMBER 5
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 680 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



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  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                          2,906.



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  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                         1,792.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                     1,792.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    563,854.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   563,854.
                                                                                ~~~~~~~~~~~~~~




                                                                    PARTNER NUMBER 5
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 681 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -81,380.
  INTEREST INCOME                                                 4,281.
  OTHER TAX-EXEMPT INCOME                                        45,802.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                            -31,297.

  CHARITABLE CONTRIBUTIONS                                          -26.
  NONDEDUCTIBLE EXPENSES                                           -413.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                  -439.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                  -31,736.
                                                                                ~~~~~~~~~~~~~~




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  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                             2,489.
  BUSINESS INTEREST INCOME                                                              4,281.

  GROSS RECEIPTS FOR 12/31/2019                                                       304,048.
  GROSS RECEIPTS FOR 12/31/2020                                                       381,626.
  GROSS RECEIPTS FOR 12/31/2021                                                       457,227.




                                                                    PARTNER NUMBER 5
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
        6                             Case 24-10856-JKS                               Doc 1            Filed 04/25/24                                  Page 682 of 733

                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -18,451. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                            92.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                        -385.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                              971.           nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                  10,385.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
                      3657                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  RYAN N COTTON
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                       971.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *              564.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *              407.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          127,839.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 3.1677180 %                                             0.5744534 %
       Loss                   3.1677180 %                                             0.5744534 % 11 Other income (loss)
       Capital                1.0675680 %                                             1.1522685 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                          155,735. $                                 27,125.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                   6.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 58,096.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                             -7,194.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          50,902.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                   33,149.
      Ending  $                                    33,149.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                                6
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 683 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 10,385.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                10,385.
                                                                                ~~~~~~~~~~~~~~

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  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 1.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                              92.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                    93.
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  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                          564.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                   564.
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  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
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  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -18,451.
     W-2 WAGES                                                                         26,225.
     UNADJUSTED BASIS OF ASSETS                                                        52,704.




                                                                    PARTNER NUMBER 6
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 684 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



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  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                            658.



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  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                            407.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                        407.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    127,839.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   127,839.
                                                                                ~~~~~~~~~~~~~~




                                                                    PARTNER NUMBER 6
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 685 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -18,451.
  INTEREST INCOME                                                   971.
  OTHER TAX-EXEMPT INCOME                                        10,385.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                             -7,095.

  CHARITABLE CONTRIBUTIONS                                           -6.
  NONDEDUCTIBLE EXPENSES                                            -93.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                   -99.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                   -7,194.
                                                                                ~~~~~~~~~~~~~~




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  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                               564.
  BUSINESS INTEREST INCOME                                                                971.

  GROSS RECEIPTS FOR 12/31/2019                                                        68,935.
  GROSS RECEIPTS FOR 12/31/2020                                                        86,523.
  GROSS RECEIPTS FOR 12/31/2021                                                       103,663.




                                                                    PARTNER NUMBER 6
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
        7                             Case 24-10856-JKS                               Doc 1            Filed 04/25/24                                  Page 686 of 733

                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -16,754. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                            83.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                        -351.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                              881.           nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                     9,429.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                       STMT
                      9293                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  DAVID W HUMPHREY
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                       881.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *              512.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *              369.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          116,084.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 3.1616320 %                                             0.5216347 %
       Loss                   3.1616320 %                                             0.5216347 % 11 Other income (loss)
       Capital                1.0237620 %                                             1.1099834 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                          155,437. $                                 24,631.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                   5.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 55,532.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                             -6,533.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          48,999.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                   31,969.
      Ending  $                                    31,969.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                                7
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 687 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1          OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                  9,429.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                 9,429.
                                                                                ~~~~~~~~~~~~~~

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  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 1.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                              83.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                    84.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                          512.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                   512.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
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  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -16,754.
     W-2 WAGES                                                                         23,813.
     UNADJUSTED BASIS OF ASSETS                                                        47,858.




                                                                    PARTNER NUMBER 7
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 688 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



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  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                            599.



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  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                            369.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                        369.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    116,084.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   116,084.
                                                                                ~~~~~~~~~~~~~~




                                                                    PARTNER NUMBER 7
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 689 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -16,754.
  INTEREST INCOME                                                   881.
  OTHER TAX-EXEMPT INCOME                                         9,429.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                             -6,444.

  CHARITABLE CONTRIBUTIONS                                           -5.
  NONDEDUCTIBLE EXPENSES                                            -84.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                   -89.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                   -6,533.
                                                                                ~~~~~~~~~~~~~~




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  SCHEDULE K-1                      FOOTNOTES
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  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                               512.
  BUSINESS INTEREST INCOME                                                                881.

  GROSS RECEIPTS FOR 12/31/2019                                                        62,596.
  GROSS RECEIPTS FOR 12/31/2020                                                        78,567.
  GROSS RECEIPTS FOR 12/31/2021                                                        94,132.




                                                                    PARTNER NUMBER 7
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
        8                             Case 24-10856-JKS                               Doc 1            Filed 04/25/24                                  Page 690 of 733

                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -21,637. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                         108.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                        -452.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                        1,138.               nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                  12,178.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
                      0185                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  CHRISTOPHER NEUKERMANS
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                     1,138.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *              662.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *              477.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          149,913.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 3.6222570 %                                             0.6736482 %
       Loss                   3.6222570 %                                             0.6736482 % 11 Other income (loss)
       Capital                1.2345260 %                                             1.3308246 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                          178,083. $                                 31,808.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                   7.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 67,239.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                             -8,438.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          58,801.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                   38,274.
      Ending  $                                    38,274.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                                8
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 691 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 12,178.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                12,178.
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  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 2.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             108.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   110.
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  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                          662.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                   662.
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  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
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  DESCRIPTION                                                                       AMOUNT
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  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -21,637.
     W-2 WAGES                                                                         30,752.
     UNADJUSTED BASIS OF ASSETS                                                        61,805.




                                                                    PARTNER NUMBER 8
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 692 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



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  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                            772.



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  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
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  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                            477.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                        477.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    149,913.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   149,913.
                                                                                ~~~~~~~~~~~~~~




                                                                    PARTNER NUMBER 8
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 693 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -21,637.
  INTEREST INCOME                                                 1,138.
  OTHER TAX-EXEMPT INCOME                                        12,178.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                             -8,321.

  CHARITABLE CONTRIBUTIONS                                           -7.
  NONDEDUCTIBLE EXPENSES                                           -110.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                  -117.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                   -8,438.
                                                                                ~~~~~~~~~~~~~~




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  SCHEDULE K-1                      FOOTNOTES
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  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                               661.
  BUSINESS INTEREST INCOME                                                              1,138.

  GROSS RECEIPTS FOR 12/31/2019                                                        80,838.
  GROSS RECEIPTS FOR 12/31/2020                                                       101,464.
  GROSS RECEIPTS FOR 12/31/2021                                                       121,563.




                                                                    PARTNER NUMBER 8
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
        9                             Case 24-10856-JKS                               Doc 1            Filed 04/25/24                             Page 694 of 733

                                                                                                                                                                                                  651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                      Final K-1                Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                         OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)              14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                            -38,298.
Credits, etc.                          See separate instructions.                                                      2 Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                            15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)               N                            191.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                16 Schedule K-3 is attached if
                                                                                                                                                                         checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                    A                           -800.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                              18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                 2,015.               nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                              B*                   21,555.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                  C*                      STMT
  XX-XXXXXXX                                                                                                       6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                              19 Distributions
                                                                                                                   6c Dividend equivalents
  SEUNG JA CHUNG FAMILY TRUST EILEEN CH
  2729 BUNGALOW PLACE                                                                                                  7 Royalties                                    20 Other information
  CORONA DEL MAR, CA 92626                                                                                                                                            A                      2,015.
  G   General partner or LLC X Limited partner or other LLC                                                            8 Net short-term capital gain (loss)           N      *               1,171.
                member-manager                                               member                                                                                   Z      *                 STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)               AF     *                 843.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                     AG     *             265,352.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner?            TRUST
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 7.2265870 %                                             1.1923877 %
       Loss                   7.2265870 %                                             1.1923877 % 11 Other income (loss)
       Capital                2.3400280 %                                             2.5371050 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                           21 Foreign taxes paid or accrued
       Nonrecourse  $                          355,283. $                                 56,303.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                        13.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                     More than one activity for at-risk purposes*
                                                                                                                   23                     More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                              126,930.                                *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                          -14,935.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                       111,995.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                   73,071.
      Ending  $                                    73,071.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                              www.irs.gov/Form1065              Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                         9
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 695 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 21,555.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                21,555.
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  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 3.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             191.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   194.
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  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                        1,171.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                 1,171.
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  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
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  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -38,298.
     W-2 WAGES                                                                         54,434.
     UNADJUSTED BASIS OF ASSETS                                                       109,398.




                                                                    PARTNER NUMBER 9
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 696 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
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   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



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  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                            843.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                        843.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    265,352.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   265,352.
                                                                                ~~~~~~~~~~~~~~




                                                                    PARTNER NUMBER 9
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 697 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -38,298.
  INTEREST INCOME                                                 2,015.
  OTHER TAX-EXEMPT INCOME                                        21,555.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                            -14,728.

  CHARITABLE CONTRIBUTIONS                                          -13.
  NONDEDUCTIBLE EXPENSES                                           -194.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                  -207.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                  -14,935.
                                                                                ~~~~~~~~~~~~~~




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  SCHEDULE K-1                      FOOTNOTES
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  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                             1,171.
  BUSINESS INTEREST INCOME                                                              2,015.

  GROSS RECEIPTS FOR 12/31/2019                                                       143,086.
  GROSS RECEIPTS FOR 12/31/2020                                                       179,595.
  GROSS RECEIPTS FOR 12/31/2021                                                       215,173.




                                                                    PARTNER NUMBER 9
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
        10                            Case 24-10856-JKS                               Doc 1            Filed 04/25/24                                  Page 698 of 733

                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -10,540. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                            52.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                        -221.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                              554.           nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                     5,931.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                       STMT
                      5197                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  JAKE A BERGMAN
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                         554.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *                322.
                member-manager                                               member                                                                                          Z        *                STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *                233.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *             73,023.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *                STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 1.8101250 %                                             0.3281336 %
       Loss                   1.8101250 %                                             0.3281336 % 11 Other income (loss)
       Capital                0.6100390 %                                             0.6584391 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                             88,992. $                               15,494.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                   3.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 33,196.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                             -4,111.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          29,085.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                   18,943.
      Ending  $                                    18,943.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                              10
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 699 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1          OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                  5,931.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                 5,931.
                                                                                ~~~~~~~~~~~~~~

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  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 1.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                              52.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                    53.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                          322.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                   322.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -10,540.
     W-2 WAGES                                                                         14,979.
     UNADJUSTED BASIS OF ASSETS                                                        30,106.




                                                                   PARTNER NUMBER 10
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 700 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
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   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



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  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                            376.



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  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
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  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                            233.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                        233.
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  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
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  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                     73,023.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                    73,023.
                                                                                ~~~~~~~~~~~~~~




                                                                   PARTNER NUMBER 10
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 701 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
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  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -10,540.
  INTEREST INCOME                                                   554.
  OTHER TAX-EXEMPT INCOME                                         5,931.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                             -4,055.

  CHARITABLE CONTRIBUTIONS                                           -3.
  NONDEDUCTIBLE EXPENSES                                            -53.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                   -56.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                   -4,111.
                                                                                ~~~~~~~~~~~~~~




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  SCHEDULE K-1                      FOOTNOTES
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  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                               322.
  BUSINESS INTEREST INCOME                                                                554.

  GROSS RECEIPTS FOR 12/31/2019                                                        39,376.
  GROSS RECEIPTS FOR 12/31/2020                                                        49,423.
  GROSS RECEIPTS FOR 12/31/2021                                                        59,214.




                                                                   PARTNER NUMBER 10
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
        11                            Case 24-10856-JKS                               Doc 1            Filed 04/25/24                                  Page 702 of 733

                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -82,772. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                         413.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                   -1,730.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                        4,354.               nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                  46,585.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
  XX-XXXXXXX                                                                                                       6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  OCHO CAPITAL LLC
  98 SAN JACINTO BLVD, SUITE 2006                                                                                      7 Royalties                                           20 Other information
  AUSTIN, TX 78701                                                                                                                                                           A                     4,354.
  G   General partner or LLC X Limited partner or other LLC                                                            8 Net short-term capital gain (loss)                  N        *            2,531.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *            1,823.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          573,495.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            PARTNERSHIP
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit               11.1525390 %                                              2.5770557 %
       Loss                 11.1525390 %                                              2.5770557 % 11 Other income (loss)
       Capital               4.2080920 %                                              4.4881644 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                          548,298. $                              121,685.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                27.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                              242,231.                                *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                          -32,279.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                       209,952.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                117,430.
      Ending  $                                 117,430.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                              11
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 703 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 46,585.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                46,585.
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  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
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  PENALTIES                                                                                 6.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             413.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   419.
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  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                        2,531.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                 2,531.
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  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
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  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -82,772.
     W-2 WAGES                                                                        117,645.
     UNADJUSTED BASIS OF ASSETS                                                       236,436.




                                                                   PARTNER NUMBER 11
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
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   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



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  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
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  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                          2,955.



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  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                         1,823.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                     1,823.
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  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    573,495.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   573,495.
                                                                                ~~~~~~~~~~~~~~




                                                                   PARTNER NUMBER 11
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 705 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -82,772.
  INTEREST INCOME                                                 4,354.
  OTHER TAX-EXEMPT INCOME                                        46,585.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                            -31,833.

  CHARITABLE CONTRIBUTIONS                                          -27.
  NONDEDUCTIBLE EXPENSES                                           -419.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                  -446.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                  -32,279.
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  SCHEDULE K-1                      FOOTNOTES
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  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                             2,531.
  BUSINESS INTEREST INCOME                                                              4,354.

  GROSS RECEIPTS FOR 12/31/2019                                                       309,247.
  GROSS RECEIPTS FOR 12/31/2020                                                       388,151.
  GROSS RECEIPTS FOR 12/31/2021                                                       465,044.




                                                                   PARTNER NUMBER 11
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
        12                            Case 24-10856-JKS                               Doc 1            Filed 04/25/24                                  Page 706 of 733

                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -68,216. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                         340.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                   -1,425.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                        3,589.               nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                  38,393.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
                    -3381                                                                                          6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  ALAN LIU
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                     3,589.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *            2,086.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *            1,503.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          472,642.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 2.3501050 %                                             2.1238634 %
       Loss                   2.3501050 %                                             2.1238634 % 11 Other income (loss)
       Capital                2.1669580 %                                             2.1743460 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                          115,539. $                              100,286.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                22.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                              132,424.                                *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                          -26,602.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                       105,822.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                   52,783.
      Ending  $                                    52,783.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                              12
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 707 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 38,393.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                38,393.
                                                                                ~~~~~~~~~~~~~~

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  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 6.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             340.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   346.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                        2,086.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                 2,086.
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  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
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  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -68,216.
     W-2 WAGES                                                                         96,956.
     UNADJUSTED BASIS OF ASSETS                                                       194,858.




                                                                   PARTNER NUMBER 12
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 708 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
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  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
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   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



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  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
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  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                          2,436.



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  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                         1,503.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                     1,503.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    472,642.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   472,642.
                                                                                ~~~~~~~~~~~~~~




                                                                   PARTNER NUMBER 12
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 709 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -68,216.
  INTEREST INCOME                                                 3,589.
  OTHER TAX-EXEMPT INCOME                                        38,393.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                            -26,234.

  CHARITABLE CONTRIBUTIONS                                          -22.
  NONDEDUCTIBLE EXPENSES                                           -346.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                  -368.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                  -26,602.
                                                                                ~~~~~~~~~~~~~~




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  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                             2,086.
  BUSINESS INTEREST INCOME                                                              3,589.

  GROSS RECEIPTS FOR 12/31/2019                                                       254,864.
  GROSS RECEIPTS FOR 12/31/2020                                                       319,892.
  GROSS RECEIPTS FOR 12/31/2021                                                       383,263.




                                                                   PARTNER NUMBER 12
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
        13                            Case 24-10856-JKS                               Doc 1            Filed 04/25/24                                  Page 710 of 733

                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                        -1,361,867. A                                                   0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                      6,785.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                  -28,465.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                     71,639.                 nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                 766,477.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
  XX-XXXXXXX                                                                                                       6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  STICKY'S INVESTCO LLC
  477 BROOME STREET, #61                                                                                               7 Royalties                                           20 Other information
  NEW YORK, NY 10013                                                                                                                                                         A                  71,639.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *         41,637.
                member-manager                                               member                                                                                          Z        *            STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *         30,002.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *      9,435,830.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *            STMT
  I1 What type of entity is this partner?            PARTNERSHIP
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 4.9002010 %                                         42.4008070 %
       Loss                   4.9002010 %                                         42.4008070 % 11 Other income (loss)
       Capital                35.268123 %                                         34.0433677 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                          240,910. $                          2,002,108.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                              439.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                          2,063,681.                                  *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                       -531,081.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                   1,532,600.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                950,653.
      Ending  $                                 950,653.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                              13
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 711 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                766,477.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                               766,477.
                                                                                ~~~~~~~~~~~~~~

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  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                106.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                           6,785.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                 6,891.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                       41,637.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                41,637.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
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  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                        -1,361,867.
     W-2 WAGES                                                                      1,935,633.
     UNADJUSTED BASIS OF ASSETS                                                     3,890,140.




                                                                   PARTNER NUMBER 13
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 712 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



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  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                         48,625.



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  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                        30,002.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                    30,002.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                  9,435,830.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                 9,435,830.
                                                                                ~~~~~~~~~~~~~~




                                                                   PARTNER NUMBER 13
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 713 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                     -1,361,867.
  INTEREST INCOME                                                71,639.
  OTHER TAX-EXEMPT INCOME                                       766,477.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                           -523,751.

  CHARITABLE CONTRIBUTIONS                                         -439.
  NONDEDUCTIBLE EXPENSES                                         -6,891.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                -7,330.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                 -531,081.
                                                                                ~~~~~~~~~~~~~~




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  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                            41,636.
  BUSINESS INTEREST INCOME                                                             71,639.

  GROSS RECEIPTS FOR 12/31/2019                                                     5,088,096.
  GROSS RECEIPTS FOR 12/31/2020                                                     6,386,328.
  GROSS RECEIPTS FOR 12/31/2021                                                     7,651,463.




                                                                   PARTNER NUMBER 13
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
        14                            Case 24-10856-JKS                               Doc 1            Filed 04/25/24                                  Page 714 of 733

                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -60,974. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                         304.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                   -1,274.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                        3,207.               nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                  34,317.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
                    -1958                                                                                          6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  MARK FIRST
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                     3,207.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *            1,864.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *            1,344.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          422,459.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 0.4964530 %                                             1.8983599 %
       Loss                   0.4964530 %                                             1.8983599 % 11 Other income (loss)
       Capital                1.6316690 %                                             1.5858858 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                             24,408. $                               89,638.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                20.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 96,995.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                          -23,778.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          73,217.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                   42,463.
      Ending  $                                    42,463.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                              14
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 715 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
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  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 34,317.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                34,317.
                                                                                ~~~~~~~~~~~~~~

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  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 4.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             304.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   308.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                        1,864.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                 1,864.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
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  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -60,974.
     W-2 WAGES                                                                         86,661.
     UNADJUSTED BASIS OF ASSETS                                                       174,169.




                                                                   PARTNER NUMBER 14
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 716 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



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  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                          2,177.



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  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
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  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                         1,344.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                     1,344.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    422,459.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   422,459.
                                                                                ~~~~~~~~~~~~~~




                                                                   PARTNER NUMBER 14
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 717 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -60,974.
  INTEREST INCOME                                                 3,207.
  OTHER TAX-EXEMPT INCOME                                        34,317.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                            -23,450.

  CHARITABLE CONTRIBUTIONS                                          -20.
  NONDEDUCTIBLE EXPENSES                                           -308.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                  -328.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                  -23,778.
                                                                                ~~~~~~~~~~~~~~




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  SCHEDULE K-1                      FOOTNOTES
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  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                             1,865.
  BUSINESS INTEREST INCOME                                                              3,207.

  GROSS RECEIPTS FOR 12/31/2019                                                       227,804.
  GROSS RECEIPTS FOR 12/31/2020                                                       285,927.
  GROSS RECEIPTS FOR 12/31/2021                                                       342,570.




                                                                   PARTNER NUMBER 14
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
        15                            Case 24-10856-JKS                               Doc 1            Filed 04/25/24                                  Page 718 of 733

                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -25,378. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                         126.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                        -531.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                        1,335.               nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                  14,283.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
                    -1865                                                                                          6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  JUSTIN GUTTMAN
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                     1,335.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *              776.
                member-manager                                               member                                                                                          Z        *              STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *              559.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *          175,835.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *              STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 0.0913050 %                                             0.7901327 %
       Loss                   0.0913050 %                                             0.7901327 % 11 Other income (loss)
       Capital                0.6571500 %                                             0.6343291 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                               4,489. $                              37,309.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                   8.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 38,454.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                             -9,896.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          28,558.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                   17,713.
      Ending  $                                    17,713.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                              15
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 719 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                 14,283.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                14,283.
                                                                                ~~~~~~~~~~~~~~

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  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 2.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                             126.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                   128.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                          776.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                   776.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -25,378.
     W-2 WAGES                                                                         36,071.
     UNADJUSTED BASIS OF ASSETS                                                        72,492.




                                                                   PARTNER NUMBER 15
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 720 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



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  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                            906.



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  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                            559.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                        559.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                    175,835.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                   175,835.
                                                                                ~~~~~~~~~~~~~~




                                                                   PARTNER NUMBER 15
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 721 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -25,378.
  INTEREST INCOME                                                 1,335.
  OTHER TAX-EXEMPT INCOME                                        14,283.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                             -9,760.

  CHARITABLE CONTRIBUTIONS                                           -8.
  NONDEDUCTIBLE EXPENSES                                           -128.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                  -136.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                   -9,896.
                                                                                ~~~~~~~~~~~~~~




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  SCHEDULE K-1                      FOOTNOTES
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  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                               775.
  BUSINESS INTEREST INCOME                                                              1,335.

  GROSS RECEIPTS FOR 12/31/2019                                                        94,816.
  GROSS RECEIPTS FOR 12/31/2020                                                       119,009.
  GROSS RECEIPTS FOR 12/31/2021                                                       142,584.




                                                                   PARTNER NUMBER 15
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
       16                            Case 24-10856-JKS                               Doc 1            Filed 04/25/24                                  Page 722 of 733

                                                                                                                                                                                                     651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                         2022
                                                                            For calendar year 2022, or tax year
                                                                                                                                       Final K-1                       Amended K-1
                                                                                                                                 Part III Partner's Share of Current Year Income,
                                                                                                                                                                                               OMB No. 1545-0123

Internal Revenue Service                                                                                                                  Deductions, Credits, and Other Items
                            beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                                0. A                                   0.
Credits, etc.                          See separate instructions.                                                     2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                  15 Credits
  A Partnership's employer identification number                                                                      3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                        4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                               checked                 X
  STICKYS HOLDINGS, LLC                                                                                           4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET
  NEW YORK, NY 10010                                                                                              4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                              5 Interest income                                     18 Tax-exempt income and
  D            Check if this is a publicly traded partnership (PTP)                                                                                                            nondeductible expenses
   Part II         Information About the Partner                                                                  6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
                   -5300                                                                                          6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                    19 Distributions
                                                                                                                  6c Dividend equivalents
  LEOR WOLF
                                                                                                                      7 Royalties                                           20 Other information


  G            General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)
               member-manager                                               member
  H1 X Domestic partner                                      Foreign partner                                      9a Net long-term capital gain (loss)
  H2   If the partner is a disregarded entity (DE), enter the partner's:
      TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner?           INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                   9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                   Ending                           10 Net section 1231 gain (loss)
      Profit                 0.0000000 %                                             0.0000000 %
      Loss                   0.0000000 %                                             0.0000000 % 11 Other income (loss)
      Capital                0.0000000 %                                             0.0000000 %
      Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                               Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
      Nonrecourse  $                                          0. $                                    0.
      Qualified nonrecourse                                                                                       13 Other deductions
      financing  $                                                  $
      Recourse  $                                            0. $                                    0.
      Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                         Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                  23                         More than one activity for passive activity purposes*
      Beginning capital account ~~~~~~~~~ $                                                              0.                      *See attached statement for additional information.
      Capital contributed during the year ~~~~~~ $
      Current year net income (loss) ~~~~~~~~ $
      Other increase (decrease) (attach explanation) ~ $
                                                                                                                  For IRS Use Only




      Withdrawals and distributions ~~~~~~~~ $ (                                                              )
      Ending capital account          ~~~~~~~~~~ $                                                       0.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $
      Ending  $
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                 www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                             16
        17                            Case 24-10856-JKS                               Doc 1            Filed 04/25/24                                  Page 723 of 733

                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                -14,300. A                                              0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                            71.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                        -299.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                              752.           nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                     8,048.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                       STMT
                    -8775                                                                                          6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  JUSTIN HELLER
                                                                                                                       7 Royalties                                           20 Other information
                                                                                                                                                                             A                         752.
  G             General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)                  N        *                437.
                member-manager                                               member                                                                                          Z        *                STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *                315.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *             99,078.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *                STMT
  I1 What type of entity is this partner?            INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit                 0.4392940 %                                             0.4452146 %
       Loss                   0.4392940 %                                             0.4452146 % 11 Other income (loss)
       Capital                0.4442310 %                                             0.4440346 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                             21,597. $                               21,023.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                                   4.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                                 28,119.                              *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                             -5,576.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                          22,543.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                     9,848.
      Ending  $                                      9,848.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                              17
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 724 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1          OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                  8,048.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                                 8,048.
                                                                                ~~~~~~~~~~~~~~

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  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                 1.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                              71.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                    72.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                          437.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                   437.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                           -14,300.
     W-2 WAGES                                                                         20,324.
     UNADJUSTED BASIS OF ASSETS                                                        40,847.




                                                                   PARTNER NUMBER 17
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 725 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



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  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
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  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                            511.



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  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                            315.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                        315.
                                                                                ~~~~~~~~~~~~~~


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  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                     99,078.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                    99,078.
                                                                                ~~~~~~~~~~~~~~




                                                                   PARTNER NUMBER 17
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 726 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                        -14,300.
  INTEREST INCOME                                                   752.
  OTHER TAX-EXEMPT INCOME                                         8,048.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                             -5,500.

  CHARITABLE CONTRIBUTIONS                                           -4.
  NONDEDUCTIBLE EXPENSES                                            -72.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                   -76.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                   -5,576.
                                                                                ~~~~~~~~~~~~~~




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  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                               438.
  BUSINESS INTEREST INCOME                                                                752.

  GROSS RECEIPTS FOR 12/31/2019                                                        53,425.
  GROSS RECEIPTS FOR 12/31/2020                                                        67,057.
  GROSS RECEIPTS FOR 12/31/2021                                                        80,341.




                                                                   PARTNER NUMBER 17
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
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                                                                                                                                                                                                     651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                         2022
                                                                            For calendar year 2022, or tax year
                                                                                                                                       Final K-1                       Amended K-1
                                                                                                                                 Part III Partner's Share of Current Year Income,
                                                                                                                                                                                               OMB No. 1545-0123

Internal Revenue Service                                                                                                                  Deductions, Credits, and Other Items
                            beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                                0. A                                   0.
Credits, etc.                          See separate instructions.                                                     2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                  15 Credits
  A Partnership's employer identification number                                                                      3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                        4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                               checked                 X
  STICKYS HOLDINGS, LLC                                                                                           4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET
  NEW YORK, NY 10010                                                                                              4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                              5 Interest income                                     18 Tax-exempt income and
  D            Check if this is a publicly traded partnership (PTP)                                                                                                            nondeductible expenses
   Part II         Information About the Partner                                                                  6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
                     8556                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                    19 Distributions
                                                                                                                  6c Dividend equivalents
  JAMIE GREER
                                                                                                                      7 Royalties                                           20 Other information


  G            General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)
               member-manager                                               member
  H1 X Domestic partner                                      Foreign partner                                      9a Net long-term capital gain (loss)
  H2   If the partner is a disregarded entity (DE), enter the partner's:
      TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner?           INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                   9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                   Ending                           10 Net section 1231 gain (loss)
      Profit                 0.0000000 %                                             0.0000000 %
      Loss                   0.0000000 %                                             0.0000000 % 11 Other income (loss)
      Capital                0.0000000 %                                             0.0000000 %
      Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                               Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
      Nonrecourse  $                                          0. $                                    0.
      Qualified nonrecourse                                                                                       13 Other deductions
      financing  $                                                  $
      Recourse  $                                            0. $                                    0.
      Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                         Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                  23                         More than one activity for passive activity purposes*
      Beginning capital account ~~~~~~~~~ $                                                              0.                      *See attached statement for additional information.
      Capital contributed during the year ~~~~~~ $
      Current year net income (loss) ~~~~~~~~ $
      Other increase (decrease) (attach explanation) ~ $
                                                                                                                  For IRS Use Only




      Withdrawals and distributions ~~~~~~~~ $ (                                                              )
      Ending capital account          ~~~~~~~~~~ $                                                       0.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $
      Ending  $
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                 www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                             18
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                                                                                                                                                                                                     651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                         2022
                                                                            For calendar year 2022, or tax year
                                                                                                                                       Final K-1                       Amended K-1
                                                                                                                                 Part III Partner's Share of Current Year Income,
                                                                                                                                                                                               OMB No. 1545-0123

Internal Revenue Service                                                                                                                  Deductions, Credits, and Other Items
                            beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                                0. A                                   0.
Credits, etc.                          See separate instructions.                                                     2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                  15 Credits
  A Partnership's employer identification number                                                                      3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                        4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                               checked                 X
  STICKYS HOLDINGS, LLC                                                                                           4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET
  NEW YORK, NY 10010                                                                                              4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                              5 Interest income                                     18 Tax-exempt income and
  D            Check if this is a publicly traded partnership (PTP)                                                                                                            nondeductible expenses
   Part II         Information About the Partner                                                                  6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
                   -8600                                                                                          6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                    19 Distributions
                                                                                                                  6c Dividend equivalents
  STEVE GORNIC
                                                                                                                      7 Royalties                                           20 Other information


  G            General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)
               member-manager                                               member
  H1 X Domestic partner                                      Foreign partner                                      9a Net long-term capital gain (loss)
  H2   If the partner is a disregarded entity (DE), enter the partner's:
      TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner?           INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                   9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                   Ending                           10 Net section 1231 gain (loss)
      Profit                 0.0000000 %                                             0.0000000 %
      Loss                   0.0000000 %                                             0.0000000 % 11 Other income (loss)
      Capital                0.0000000 %                                             0.0000000 %
      Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                               Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
      Nonrecourse  $                                          0. $                                    0.
      Qualified nonrecourse                                                                                       13 Other deductions
      financing  $                                                  $
      Recourse  $                                            0. $                                    0.
      Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                         Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                  23                         More than one activity for passive activity purposes*
      Beginning capital account ~~~~~~~~~ $                                                              0.                      *See attached statement for additional information.
      Capital contributed during the year ~~~~~~ $
      Current year net income (loss) ~~~~~~~~ $
      Other increase (decrease) (attach explanation) ~ $
                                                                                                                  For IRS Use Only




      Withdrawals and distributions ~~~~~~~~ $ (                                                              )
      Ending capital account          ~~~~~~~~~~ $                                                       0.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $
      Ending  $
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                 www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                             19
       20                            Case 24-10856-JKS                               Doc 1            Filed 04/25/24                                  Page 729 of 733

                                                                                                                                                                                                     651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                         2022
                                                                            For calendar year 2022, or tax year
                                                                                                                                       Final K-1                       Amended K-1
                                                                                                                                 Part III Partner's Share of Current Year Income,
                                                                                                                                                                                               OMB No. 1545-0123

Internal Revenue Service                                                                                                                  Deductions, Credits, and Other Items
                            beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                                0. A                                   0.
Credits, etc.                          See separate instructions.                                                     2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                  15 Credits
  A Partnership's employer identification number                                                                      3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                        4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                               checked                 X
  STICKYS HOLDINGS, LLC                                                                                           4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET
  NEW YORK, NY 10010                                                                                              4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                              5 Interest income                                     18 Tax-exempt income and
  D            Check if this is a publicly traded partnership (PTP)                                                                                                            nondeductible expenses
   Part II         Information About the Partner                                                                  6a Ordinary dividends
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
                   -4327                                                                                          6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                    19 Distributions
                                                                                                                  6c Dividend equivalents
  THEO DUBIN
                                                                                                                      7 Royalties                                           20 Other information


  G            General partner or LLC                                X Limited partner or other LLC                   8 Net short-term capital gain (loss)
               member-manager                                               member
  H1 X Domestic partner                                      Foreign partner                                      9a Net long-term capital gain (loss)
  H2   If the partner is a disregarded entity (DE), enter the partner's:
      TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner?           INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                   9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                   Ending                           10 Net section 1231 gain (loss)
      Profit                 0.0000000 %                                             0.0000000 %
      Loss                   0.0000000 %                                             0.0000000 % 11 Other income (loss)
      Capital                0.0000000 %                                             0.0000000 %
      Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                               Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
      Nonrecourse  $                                          0. $                                    0.
      Qualified nonrecourse                                                                                       13 Other deductions
      financing  $                                                  $
      Recourse  $                                            0. $                                    0.
      Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                         Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                  23                         More than one activity for passive activity purposes*
      Beginning capital account ~~~~~~~~~ $                                                              0.                      *See attached statement for additional information.
      Capital contributed during the year ~~~~~~ $
      Current year net income (loss) ~~~~~~~~ $
      Other increase (decrease) (attach explanation) ~ $
                                                                                                                  For IRS Use Only




      Withdrawals and distributions ~~~~~~~~ $ (                                                              )
      Ending capital account          ~~~~~~~~~~ $                                                       0.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $
      Ending  $
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                 www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                             20
        21                            Case 24-10856-JKS                               Doc 1            Filed 04/25/24                                  Page 730 of 733

                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                          2022
                                                                             For calendar year 2022, or tax year
                                                                                                                                        Final K-1                       Amended K-1
                                                                                                                                  Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                OMB No. 1545-0123

Internal Revenue Service                                                                                                                   Deductions, Credits, and Other Items
                             beginning                                       ending                                    1 Ordinary business income (loss)                     14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                        -1,189,284. A                                                   0.
Credits, etc.                          See separate instructions.                                                      2              Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                                   15 Credits
  A Partnership's employer identification number                                                                       3 Other net rental income (loss)                      N                      5,926.
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                         4a Guaranteed payments for services                       16 Schedule K-3 is attached if
                                                                                                                                                                                checked                 X
  STICKYS HOLDINGS, LLC                                                                                            4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  24 E 23RD STREET                                                                                                                                                           A                  -24,857.
  NEW YORK, NY 10010                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                               5 Interest income                                     18 Tax-exempt income and
  D             Check if this is a publicly traded partnership (PTP)                                                                                     62,561.                 nondeductible expenses
   Part II          Information About the Partner                                                                  6a Ordinary dividends                                     B*                 669,345.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                         C*                     STMT
  XX-XXXXXXX                                                                                                       6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                     19 Distributions
                                                                                                                   6c Dividend equivalents
  STICKY'S INVESTCO II, LLC
  477 BROOME STREET, #61                                                                                               7 Royalties                                           20 Other information
  NEW YORK, NY 10013                                                                                                                                                         A                  62,561.
  G   General partner or LLC X Limited partner or other LLC                                                            8 Net short-term capital gain (loss)                  N        *         36,360.
                member-manager                                               member                                                                                          Z        *            STMT
  H1 X Domestic partner                                                      Foreign partner                       9a Net long-term capital gain (loss)                      AF       *         26,200.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                            AG       *      8,240,072.
       TIN                                 Name                                                                    9b Collectibles (28%) gain (loss)                         AH       *            STMT
  I1 What type of entity is this partner?            PARTNERSHIP
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                    9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                     Beginning                                                    Ending                           10 Net section 1231 gain (loss)
       Profit               36.5210720 %                                          37.0275556 %
       Loss                 36.5210720 %                                          37.0275556 % 11 Other income (loss)
       Capital              36.9314690 %                                          36.9149159 %
       Check if decrease is due to sale or exchange of partnership interest                  ~~~~
  K Partner's share of liabilities:
                                                Beginning                                  Ending                  12 Section 179 deduction                                  21 Foreign taxes paid or accrued
       Nonrecourse  $                    1,795,501. $                              1,748,390.
       Qualified nonrecourse                                                                                       13 Other deductions
       financing  $                                                  $                                         A                                              384.
       Recourse  $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   
  L                          Partner's Capital Account Analysis                                                    22                         More than one activity for at-risk purposes*
                                                                                                                   23                         More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~ $                                          2,337,788.                                  *See attached statement for additional information.
       Capital contributed during the year ~~~~~~ $
       Current year net income (loss) ~~~~~~~~ $                                       -463,781.
       Other increase (decrease) (attach explanation) ~ $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~ $ (                                                              )
       Ending capital account          ~~~~~~~~~~ $                                   1,874,007.
  M Did the partner contribute property with a built-in gain (loss)?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~ $                                818,707.
      Ending  $                                 818,707.
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                              21
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 731 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 18, CODE B
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  PPP LOAN FORGIVENESS                                                                669,345.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE B                                               669,345.
                                                                                ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  PENALTIES                                                                                93.
  TAX EXPENSE ADJUSTMENT FOR FORM NONDEDUCTIBLE PORTION
  8846 CREDIT                                                                           5,926.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                 6,019.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  BUSINESS INTEREST EXPENSE          SEE PARTNERS INSTRUCTIONS
  (INCLUDED IN ORDINARY BUSINESS
  INCOME (LOSS))                                                                       36,360.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                36,360.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}

  TRADE OR BUSINESS -

     ORDINARY INCOME (LOSS)                                                        -1,189,284.
     W-2 WAGES                                                                      1,690,339.
     UNADJUSTED BASIS OF ASSETS                                                     3,397,161.




                                                                   PARTNER NUMBER 21
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 732 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
   INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
   Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
   BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
   THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
   STATEMENT.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  SECTION 179 EXPENSE DISALLOWED     CARRIED OVER TO NEXT YEAR
  DUE TO BUSINESS INCOME LIMIT                                                         42,463.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 EXCESS BUSINESS INTEREST INCOME, BOX 20, CODE AF
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                     PARTNER FILING INSTRUCTIONS                       AMOUNT
  }}}}}}}}}}}                     }}}}}}}}}}}}}}}}}}}}}}}}}}}                   }}}}}}}}}}}}}}
  EXCESS BUSINESS INTEREST INCOME SEE IRS SCH. K-1 INSTRUCTIONS                        26,200.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AF                                                    26,200.
                                                                                ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 20, CODE AG
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                        PARTNER FILING INSTRUCTIONS                    AMOUNT
  }}}}}}}}}}}                        }}}}}}}}}}}}}}}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  GROSS RECEIPTS - CURRENT YEAR      SEE IRS SCH. K-1 INSTRUCTIONS                  8,240,072.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE K-1, LINE 20 AG                                                 8,240,072.
                                                                                ~~~~~~~~~~~~~~




                                                                   PARTNER NUMBER 21
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
                 Case 24-10856-JKS   Doc 1   Filed 04/25/24   Page 733 of 733
  STICKYS HOLDINGS, LLC                                               XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}                                               }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                           OTHER INCREASES(DECREASES)
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                 AMOUNT         TOTALS
  }}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ORDINARY INCOME (LOSS)                                     -1,189,284.
  INTEREST INCOME                                                62,561.
  OTHER TAX-EXEMPT INCOME                                       669,345.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 INCOME SUBTOTAL                                           -457,378.

  CHARITABLE CONTRIBUTIONS                                         -384.
  NONDEDUCTIBLE EXPENSES                                         -6,019.
                                                          }}}}}}}}}}}}}}
       SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                -6,403.
                                                                                }}}}}}}}}}}}}}
  NET INCOME (LOSS) PER SCHEDULE K-1                                                 -463,781.
                                                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE K-1                      FOOTNOTES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  TRADE OR BUSINESS IS NOT A SSTB AS DEFINED BY SECTION 199A.

  THE ENTITY IS A SMALL BUSINESS AND UNDER IRC SEC. 163(J)(3)
  IT IS EXEMPT FROM THE IRC SEC. 163(J) BUSINESS INTEREST
  EXPENSE LIMITATION.

  ADJUSTED TAXABLE INCOME                                                                   0.
  BUSINESS INTEREST EXPENSE                                                            36,360.
  BUSINESS INTEREST INCOME                                                             62,561.

  GROSS RECEIPTS FOR 12/31/2019                                                     4,443,307.
  GROSS RECEIPTS FOR 12/31/2020                                                     5,577,019.
  GROSS RECEIPTS FOR 12/31/2021                                                     6,681,830.




                                                                   PARTNER NUMBER 21
22470912 795476 95517                    2022.04020 STICKYS HOLDINGS, LLC     95517__1
